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                            Exhibit A
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                                                                         (Doc. # 229) on October 19, 2011. The Trustee filed a Reply
                                                                         in support of its Countermotion for Summary Judgment and
     KeyCite Yellow Flag - Negative Treatment                            its Motion for Sanctions (Doc. # 231) on November 3, 2011.
Holding Limited by Nautilus, Inc. v. Yang, Cal.App. 4 Dist., April 21,
2017
                                                                         Also before the Court are Rio's Motions in Limine to Exclude
                    2013 WL 164247                                       the Expert Testimony of Robert Leahy, Alex Seddio, and
         United States District Court, D. Nevada.                        Peter Djinis (Doc.204–206), filed on September 1, 2011. The
                                                                         Trustee filed an Omnibus Opposition to Rio's Motions in
               In re NATIONAL CONSUMER                                   Limine (Doc. # 228) on October 19, 2011.
                MORTGAGE, LLC, Debtor.
                 John P. Brincko, Plaintiff,
                                                                         I. BACKGROUND
                             v.                                          The parties are familiar with the facts of this case and the
              Rio Properties, Inc., Defendant.                           Court will not repeat them here except where necessary. The
                                                                         parties have submitted nearly 400 pages in briefs and over
               No. 2:10–CV–00930–PMP–PAL.
                                                                         6,800 pages of exhibits. As Magistrate Judge Leen stated in
                               |
                                                                         a prior Order (Doc. # 156) in this case, the Court does not
                        Jan. 14, 2013.
                                                                         have the time and resources to systematically cite to the entire
Attorneys and Law Firms                                                  record to resolve the pending motions.

Lita Beth Wright, Bijan Amini, Storch Amini & Munves P.C.,               Debtor National Consumer Mortgage, LLC (“NCM”) is a
Jason Levin, New York, NY, Jay A. Ghoreichi, Ghoreichi                   California limited liability company that operated a mortgage
Law Firm, Los Angeles, CA, Brandon P. Kemble, Dennis L.                  broker business beginning in 2001. NCM was owned
Kennedy, Bailey Kennedy, Las Vegas, NV, for Plaintiff.                   by Sandra Favata and Dorothy Morisette (“Morisette”).
                                                                         Salvatore Favata, also known as Sam Favata (“Favata”), is the
Genevieve G. Weiner, James P. Fogelman, Oscar Garza,                     husband of Sandra Favata, and the son of Morisette. Although
Samuel A. Newman, Shannon E. Mader, Gibson, Dunn &                       Favata was not an owner or named officer of NCM, Sandra
Crutcher LLP, Los Angeles, CA, James D. Boyle, Cotton,                   Favata and Morisette turned financial control of NCM over
Driggs, Walch, Holley, Woloson & Thompson, Las Vegas,                    to Favata.
NV, for Defendant.
                                                                         In 2004, NCM created a division called the Private Money
                                                                         Group, through which Favata solicited investments from
                              ORDER                                      individuals for funding residential mortgages which were
                                                                         supposed to be secured by deeds of trust, but generally were
PHILIP M. PRO, District Judge.
                                                                         not. Funds from the investors were deposited into NCM's
 *1 Presently before the Court is Defendant Rio Properties,              bank account and commingled with NCM's other funds
Inc.'s (“Rio”) Motion for Summary Judgment on the                        obtained through the mortgage broker business.
Actual and Constructive Intent Fraudulent Transfer Claims
(Doc.183–187), filed on August 15, 2011. Also before the                 On April 3, 2006, NCM filed for bankruptcy, and the Trustee
Court is Rio's Motion for Summary Judgment on the Good                   subsequently was appointed for the debtor's estate. The
Faith Defense (Doc.189–193), filed on August 15, 2011.                   Trustee initiated this adversary proceeding against Rio in
Plaintiff John P. Brincko (“Trustee”) filed an Omnibus                   the United States Bankruptcy Court for the Central District
Opposition, a Countermotion for Summary Judgment on the                  of California on April 2, 2008. (Compl.(Doc.# 36).) In the
Fraudulent Transfer Claims and Rio's Good Faith Defense,                 adversary proceeding, the Trustee alleges that Favata operated
and a Motion for Sanctions (Doc. 217–224) on September                   the Private Money Group as a Ponzi scheme. The Trustee
19, 2011. Rio filed a Reply in support of its Motions                    further contends Favata wrote NCM business checks to
for Summary Judgment and an Opposition to the Trustee's                  himself for over $10 million, used those funds to purchase 66
Countermotion (Doc. # 226) on October 19, 2011. Rio also                 cashier's checks from several banks made payable to himself,
filed an Opposition to the Trustee's Motion for Sanctions                put those checks on deposit at the Rio, and then gambled
                                                                         the proceeds at the Rio's sports book. Through this adversary


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proceeding, the Trustee seeks to recover the $10 million          is relevant if it “logically advances a material aspect of
from the Rio under the bankruptcy code and California's           the proposing party's case”). To be helpful to the jury, the
Uniform Fraudulent Transfer Act (“CUFTA”). Rio denies it          testimony must be “ ‘tied to the facts' “ of the particular case.
must return the funds to the bankruptcy estate, contending,       Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591
among other things, that it verified the cashier's checks were    (1993) (quoting United States v.. Downing, 753 F.2d 1224,
legitimate, and it therefore is a good faith transferee.          1242 (3d Cir.1985)).

 *2 On March 29, 2010, the United States District Court           Expert testimony is reliable if it is “based on sufficient facts
for the Central District of California granted Rio's motion to    or data,” “the product of reliable principles and methods,” and
withdraw the reference of the adversary proceeding from the       the expert “has reliably applied the principles and methods
bankruptcy court. (Order (Doc. # 28).) The Trustee thereafter     to the facts of the case.” Fed.R.Evid. 702. Reliability is
filed an Amended Complaint alleging claims for actual intent      not determined based on the “correctness of the expert's
fraudulent transfer under 11 U.S.C. §§ 548(a)(1)(A) and 550       conclusions but the soundness of his methodology.” Stilwell
(count one), constructive fraudulent transfer under 11 U.S.C.     v. Smith & Nephew, Inc., 482 F.3d 1187, 1192 (9th Cir.2007)
§§ 548(a)(1)(B) and 550 (count two), avoidance of actual          (quotation omitted). The trial court should ensure the expert
intent fraudulent transfers under 11 U.S.C. §§ 544 and 550        “employs in the courtroom the same level of intellectual rigor
and California Civil Code § 3439.04(a)(1) (count three),          that characterizes the practice of an expert in the relevant
and avoidance of constructive fraudulent transfers under 11       field.” Kumho Tire, 526 U.S. at 152.
U.S.C. §§ 544 and 550 and California Civil Code § 3439.04(a)
(2) (count four). (Second Am. Compl. (Doc. # 40).) Rio             *3 Whether to admit expert testimony, as well as deciding
filed an Answer in which it raised the affirmative defense of     how to determine the testimony is reliable, lies within the trial
good faith. (Am. Answer (Doc. # 71) at 5–6.) On June 10,          court's discretion. Kumho Tire, 526 U.S. at 152; United States
2010, the United States District Court for the Central District   v. Calderon–Segura, 512 F.3d 1104, 1109 (9th Cir.2008).
of California granted Rio's motion to transfer venue to this      The party offering the expert testimony bears the burden
Court. (Order (Doc. # 109).)                                      of establishing its admissibility. Lust By & Through Lust v.
                                                                  Merrell Dow Pharms., Inc., 89 F.3d 594, 598 (9th Cir.1996).
Rio filed two motions for summary judgment. In its first
Motion, Rio argues the Trustee cannot establish a prima
facie case of actual or constructive fraudulent transfers. In        A. Rio's Motion to Exclude Alex Seddio's Testimony
its second Motion, Rio argues it is entitled to summary           Rio moves to exclude the report and testimony of the
judgment on its good faith defense. The Trustee opposes           Trustee's expert, Alex Seddio (“Seddio”). Rio argues Seddio
Rio's Motions and countermoves for summary judgment on            is not qualified to opine on the good faith inquiry of what
the same issues. Rio also filed related motions in limine to      a reasonable Las Vegas casino would have done during
exclude the Trustee's experts' reports and testimony, which the   the relevant time because he has no familiarity with the
Trustee opposes.                                                  standards and practices of Las Vegas casinos. Rio also argues
                                                                  Seddio's testimony is irrelevant because the federal anti-
                                                                  money laundering regulations are irrelevant, as the Trustee
II. MOTIONS TO EXCLUDE                                            does not and cannot bring a federal money laundering
Federal Rule of Evidence 702 permits testimony based on           claim against Rio. Rio also argues Seddio's testimony
“scientific, technical, or other specialized knowledge” by        consists of inadmissible conclusions because Seddio does
experts qualified by “knowledge, skill, experience, training,     not identify at what point in time Rio was on inquiry
or education” if the testimony is both relevant and reliable.     notice; rather, Seddio does a totality of the circumstances
The trial court acts as a “gatekeeper” to exclude expert          analysis based on hindsight. Rio also contends Seddio's
testimony that is not both relevant and reliable. Kumho Tire      testimony consists of inadmissible legal opinions about what
Co. v. Carmichael, 526 U.S. 137, 147 (1999).                      the federal anti-money laundering regulations require. Rio
                                                                  further contends Seddio improperly relied on another expert
Testimony is relevant if it will “help the trier of fact to       for the Trustee, Robert Leahy (“Leahy”), to opine Favata
understand the evidence or to determine a fact in issue.”         engaged in structuring, even though Leahy admitted he was
Fed.R.Evid. 702; see also Daubert v. Merrell Dow Pharms.,         not an expert in structuring.
Inc., 43 F.3d 1311, 1315 (9th Cir.1995) (stating testimony


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Finally, Rio argues the probative value of Seddio's testimony      Rio's argument regarding Seddio's lack of familiarity with the
is substantially outweighed by the risk of prejudice,              standards and practices of Las Vegas casinos rests on Rio's
confusion, and misleading the jury. Specifically, Rio argues       erroneous statement of the applicable standard. The standard
Seddio's testimony will confuse the jury into thinking Rio is      is not, as Rio put it, what other Las Vegas casinos “would have
on trial for violating the anti-money laundering regulations.      done (or did do) under similar circumstances,” or “whether
Additionally, Rio contends allowing testimony on the alleged       the Rio's actions were consistent or inconsistent with other
connection between money laundering and the September 11           Las Vegas casinos .” (Rio's Mot. in Lim. to Exclude Alex
attacks is prejudicial.                                            Seddio (Doc. # 205) at 13 & 16 n. 4.) The good faith inquiry,
                                                                   as set forth more fully below, is what a reasonable casino
The Trustee responds that Rio improperly attempts to change        would do, not what Las Vegas casinos actually were doing.
the good faith standard from what a reasonable casino would        Seddio opines a reasonable casino would comply with federal
have done to what other Las Vegas casinos were doing at            anti-money laundering standards that applied to the Rio,
the relevant time. The Trustee argues Seddio properly opines       other casinos, and other financial institutions regardless of
that the federal regulations applied to all casinos nationwide,    geographic location within the United States. To the extent the
and imposed obligations upon all casinos which, had Rio            casinos' actual practices bear on this analysis, Rio's criticism
complied, would have raised red flags to the Rio regarding         goes to the weight of Seddio's testimony, not its admissibility.
Favata's activities. The Trustee contends Seddio therefore         The Court therefore will not exclude Seddio's report based on
does not need specific experience or knowledge regarding           a lack of familiarity with the practices of Las Vegas casinos
the actual practices of Las Vegas casinos. The Trustee argues      during the relevant time frame.
Rio has offered experts on whether Rio acted in good faith,
and the experts at least in part rely on Rio's compliance with     For similar reasons, the Court rejects Rio's argument
Nevada regulations. The Trustee contends he therefore may          that Seddio's testimony regarding the federal anti-money
offer Seddio as a rebuttal witness to opine that Rio failed to     laundering regulations is irrelevant. The Trustee does not
comply with other applicable regulations, and therefore Rio        assert a federal money laundering claim against Rio. Rather,
did not act in good faith.                                         the Trustee offers Seddio's testimony regarding the federal
                                                                   regulations to rebut Rio's good faith defense which is based,
 *4 As to Seddio's report being conclusory, the Trustee            at least in part, on Rio's own expert testimony that Rio acted
contends Seddio explained what he meant by totality of             in good faith as shown by its compliance with applicable
the circumstances, and identified that Rio was suspicious of       Nevada regulations. Rio's expert testified that Nevada gaming
Favata from the time it filed a Suspicious Activity Report         law would require casinos to comply with federal regulations.
against him prior to any of the transactions at issue in this      (Trustee's Omnibus Mem. P. & A. in Opp'n to Rio's Three
case. As to Seddio offering legal opinions, the Trustee argues     Mots. in Limine (Doc. # 228) [“Trustee's Limine Opp'n”],
that expert testimony which opines Rio failed to comply with       Ex. A–1 at 213–14.) Other courts have looked to a casino's
industry standards properly may include testimony related          compliance with applicable regulations as part of the good
to whether Rio complied with applicable legal requirements.        faith inquiry. See In re Armstrong, 285 F.3d 1092, 1094, 1096–
As to Seddio's reliance on Leahy, the Trustee argues Leahy's       98 (8th Cir.2002) (finding casino did not act in good faith
charts and summaries are admissible, and are based on Rio's        based in part on casino's failure to comply with Louisiana
own data. The Trustee notes that Leahy is not an expert on         gaming regulations). Seddio's opinion that a reasonable
structuring, but Seddio is, and he properly relied on Leahy's      casino would comply with applicable federal anti-money
analysis of the data to reach an opinion on structuring.           laundering regulations therefore is relevant.

Finally, as to the probative value being outweighed by              *5 Moreover, such testimony is not inadmissible legal
prejudice, the Trustee argues that Rio put the issue of whether    opinion testimony. See Hangarter v. Provident Life & Acc.
it complied with all applicable regulations at issue in its good   Ins. Co., 373 F.3d 998, 1016 (9th Cir.2004) (holding an
faith defense, and therefore the Trustee is entitled to respond.   expert's opinion that the defendants “deviated from industry
As for the September 11 attacks, the Trustee argues revealing      standards” was admissible so long as the expert did not
the history of federal regulations will not evoke an emotional     “reach[ ] a legal conclusion that Defendants actually acted
response in the jury.                                              in bad faith”). Rio's own expert on good faith offered
                                                                   opinions on Rio's compliance with Nevada regulations.



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Rio's other criticisms, including that Seddio's opinions do       Motion to Exclude Seddio's testimony to the extent Seddio
not comport with his prior experience regarding money             references the September 11 terror attacks. 1
laundering behavior, go to the weight of Seddio's testimony,
not its admissibility. The Court therefore will not exclude       1      Rio also moves to exclude the testimony of Peter
Seddio's report for reaching improper legal conclusions.
                                                                         Djinis (“Djinis”), another expert of the Trustee.
                                                                         However, the Trustee does not rely upon Djinis's
Additionally, the Court will not exclude Seddio's testimony
                                                                         testimony in either his opposition to Rio's Motions
based on Seddio not identifying a precise point in time
                                                                         or in support of his own Countermotion for
Rio was on inquiry notice. It is for the fact finder to
                                                                         Summary Judgment. The Court therefore will deny
determine when along the continuum, if ever, Rio acted
                                                                         Rio's Motion to Exclude Djinis's testimony as
in bad faith, and Seddio's testimony may assist the fact
                                                                         moot, without prejudice to renew at trial.
finder in making this determination. Rio's argument on this
point goes to the weight, not the admissibility, of Seddio's
testimony. United States v. Rahm, 993 F.2d 1405, 1412 (9th         B. Rio's Motion to Exclude Robert Leahy's Testimony
Cir.1993) (“Absolute certainty of result is not required for      *6 Rio moves to strike the testimony of the Trustee's other
admissibility” of expert opinions. (quotation omitted)).          expert, Leahy, 2 on a variety of grounds. The Trustee opposes.

The Court also rejects Rio's argument that Seddio improperly      2      On January 8, 2013, the Trustee informed the Court
relied on Leahy's report for the underlying data because Leahy           that Leahy passed away. (Letter (Doc. # 245).)
is not an expert in structuring. The Trustee does not offer              Given the lack of a comparable expert by Rio and
Leahy as an expert in structuring. Seddio is offered as an               the Court's ruling denying Rio's Motion to Exclude,
expert in structuring, and Rio does not offer any argument,              it is unclear whether a replacement expert will be
authority, or evidence that Seddio could not rely on Leahy's             necessary or whether Leahy's deposition testimony
data analysis to reach his opinion on structuring. The Court             will suffice for trial. However, should a motion for
therefore will not exclude Seddio's report for relying on                a replacement expert be filed, the Court will refer
Leahy's report.                                                          the matter to the Magistrate Judge.

Finally, the probative value of Seddio's testimony is not
                                                                     1. Qualifications
substantially outweighed by the danger of unfair prejudice,
                                                                  Rio argues Leahy is not qualified as an expert because he is
confusion, or misleading the jury. See Fed.R.Evid. 403. The
                                                                  not a certified public accountant, and thus he is not qualified
jury will be instructed on the appropriate legal standards
                                                                  to opine on whether Rio complied with Generally Accepted
governing the claims the Trustee is asserting against Rio. Rio
                                                                  Accounting Principles (“GAAP”). Rio also argues Leahy is
argues it acted in good faith as demonstrated by its compliance
                                                                  not qualified because he is not a lawyer, he has never worked
with applicable regulations. The Trustee may attempt to rebut
                                                                  for FinCEN or the Treasury Department, and he admitted he
that defense with evidence that Rio did not comply with all
                                                                  is not an expert on structuring. Rio thus contends Leahy is not
applicable regulations. The Court therefore will deny Rio's
                                                                  qualified to opine on whether Favata engaged in structuring.
Motion on this basis.
                                                                  Next, Rio argues Leahy has never worked for a Las Vegas
                                                                  casino and has no knowledge of casino practices during the
However, the Court agrees with Rio that any testimony
                                                                  relevant time frame, and thus Leahy is not qualified to opine
referencing the alleged connection between money
                                                                  on what a reasonable casino would have done during the
laundering and the September 11, 2001 terrorist attacks is of
                                                                  relevant time period. Finally, as to qualifications, Rio argues
little to no probative value, and is substantially outweighed
                                                                  Leahy is not an expert on the handling of cashier's checks, as
by potential prejudice. The reason the federal government
                                                                  he has no experience in the matter.
enacted the regulations is irrelevant to whether Rio complied
with those regulations and any consequent impact Rio's
                                                                  The Trustee responds that Leahy is not offering an opinion
noncompliance may have on the issue of good faith in this
                                                                  on whether Rio complied with GAAP, whether Favata
fraudulent transfer action. Seddio can identify the regulations
                                                                  was engaged in structuring, or on cashier's check handling
and when they went into effect without tying the regulations to
                                                                  procedures, and thus these arguments are irrelevant. The
the September 11 attacks. The Court therefore will grant Rio's
                                                                  Trustee argues Leahy is qualified to opine on what a


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reasonable casino would have done because of his extensive         Leahy does not opine that GAAP required Rio to perform
experience in internal controls in the gaming industry. The        the analyses he performed. Rather, he testified that he
Trustee contends the geographic location of a casino is            performed his own analysis in conformity with GAAP.
irrelevant to this inquiry.                                        Leahy described the processes he used to create his graphs,
                                                                   which are visual summaries of information Leahy obtained
Rio does not provide any evidence that Leahy is opining that       from Rio. (Trustee's Limine Opp'n, Ex. A–13 at 72–74,
Rio failed to comply with GAAP, that Favata was engaged            78–79.) Specifically, Leahy identified his methodology as
in structuring, or on any topic regarding Rio's cashier's check    “accounting for financial analysis,” and he described that
handling procedures. The Trustee denies Leahy will offer           analysis. (Id. at 78–80.) Rio does not dispute the accuracy of
opinions on these subjects. The Court therefore will deny          any of Leahy's calculations or graphs. Because Leahy does
Rio's Motion to Exclude on these grounds as moot.                  not offer the opinion to which Rio objects, Leahy describes
                                                                   his methodology, and Rio does not dispute the accuracy of
As to whether Leahy is qualified to construct financial            Leahy's calculations or graphs, the Court will deny Rio's
analyses and draw conclusions therefrom, Leahy has an              Motion to Exclude on this basis.
accounting degree. He was employed for over nine years
with a gaming resort, and held positions such as Manager
of Information Technology, Director of Accounting and                 3. Opinions on Rio's Management
Operational Analysis, Vice President of Finance, and Vice          Rio argues Leahy's opinions about what Rio management
President of Process Improvement. Leahy currently is               should have done lack a reliable foundation because Leahy
employed for a company which owns, operates, and manages           has no experience in the operation and management of Las
casino resort properties. Through his positions, Leahy has         Vegas casinos. The Trustee responds that Leahy does not
acquired experience in preparing and reviewing financial           need experience in Las Vegas casino management because the
reports, operating analyses, financial data, operating data, and   internal control principles about which he is opining would
internal controls within the gaming industry setting. Leahy        apply to any casino, regardless of geographic location.
has reviewed company internal controls and has received
training on the subject throughout his career.                     As discussed above, Leahy need not have experience
                                                                   specifically related to Las Vegas casinos. Rio's argument is
Rio does not dispute Leahy's qualifications except to note         based on its erroneous statement of the applicable standard,
that Leahy has not worked for any Las Vegas casinos. Rio's         and Rio does not identify any material difference between Las
insistence that Leahy must have Las Vegas casino experience        Vegas casinos and other casinos that would render Leahy's
is based on Rio's erroneous statement of the good faith            testimony inadmissible. The Court will deny Rio's Motion to
standard, as discussed above with respect to Seddio. Leahy         Exclude on this basis.
need not have worked for a Las Vegas casino to opine on
the internal controls or financial and operational data of
                                                                      4. Assisting the Trier of Fact
casinos generally, and Rio does not identify any difference
                                                                   Rio argues Leahy's proposed testimony is not helpful to
between Las Vegas casinos and other casinos which would
                                                                   the jury in resolving the issues in the case because the
render Leahy's testimony inadmissible. The Court therefore
                                                                   activity in a customer's front money account or the amount of
will deny Rio's Motion to Exclude on this basis.
                                                                   complimentary services he received from the casino have no
                                                                   bearing on whether Rio acted in good faith in cashing Favata's
  2. GAAP                                                          cashier's checks. Additionally, Rio contends Leahy's report is
 *7 Rio argues Leahy's opinions lack a reliable foundation         nothing more than “simple math” that is not helpful to the jury.
because although Leahy testified he prepared a financial           The Trustee responds that Leahy's testimony would assist the
analysis in conformity with GAAP, he could not identify            jury in providing a summary of Rio's financial records, as well
what GAAP standards would require Rio to prepare such              as the conclusions Leahy drew from that analysis.
an analysis. The Trustee responds that Leahy identified the
methodology he used, and that Rio does not dispute Leahy's         As an initial matter, if Leahy's charts and graphs are the result
calculations are accurate.                                         of “simple math,” they would be admissible as summary
                                                                   or calculation evidence as a compilation of Rio's source
                                                                   materials. See Fed.R.Evid. 1006. Moreover, Leahy testified


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that to create the charts and tables he created, a person          the substance of the expert's opinion, along with the other
would need an understanding of accounting, gaming, and             background information required by [the rule], so that the
how to operate the software application he used. (Trustee's        opponent will be ready to rebut, to cross-examine, and to offer
Limine Opp'n, Ex. A–13 at 75.) Further, the extent to which        a competing expert if necessary.” Id.; see also Fed.R.Civ.P.
certain data within Leahy's analyses and opinions impacts          26, 1993 advisory comm. n.
the question of Rio's good faith goes to the weight, not
admissibility, of Leahy's testimony. The Court therefore will      Pursuant to Federal Rule of Civil Procedure 37(c)(1):
deny Rio's Motion to Exclude on this basis.
                                                                     (1) Failure to Disclose or Supplement. If a party fails to
                                                                     provide information or identify a witness as required by
   5. Probative Value                                                Rule 26(a) or (e), the party is not allowed to use that
 *8 Rio argues the probative value of Leahy's testimony              information or witness to supply evidence on a motion, at
is substantially outweighed by the danger of prejudice,              a hearing, or at a trial, unless the failure was substantially
confusion of the issues, and would be misleading to the              justified or is harmless. In addition to or instead of
jury because a jury might be confused into thinking casinos          this sanction, the court, on motion and after giving an
prepare such charts and Rio failed to comply with GAAP by            opportunity to be heard:
not doing so, or that Favata was convicted of structuring when
he was not. The Trustee responds that Leahy is not offering             (A) may order payment of the reasonable expenses,
an opinion that Las Vegas casinos prepare such charts or that           including attorney's fees, caused by the failure;
Favata was convicted of structuring.
                                                                        (B)may inform the jury of the party's failure; and

As discussed previously, Leahy testified he was not opining          (C) may impose other appropriate sanctions, including any
Rio should have compiled these exact reports. Rather, he             of the orders listed in Rule 37(b)(2)(A)(i)-(vi).
testified that Rio had available the same data and, had it
analyzed that data, Rio would have discovered significant           *9 “The party facing sanctions bears the burden of proving
changes in Favata's behavior or other details about Favata's       that its failure to disclose the required information was
dealings with Rio. (See, e.g., Trustee's Limine Opp'n, Ex. A13     substantially justified or is harmless.” R & R Sails, Inc. v.
at 81.) The Court therefore will deny Rio's Motion to Exclude      Ins. Co. of Penn ., 673 F.3d 1240, 1246 (9th Cir.2012).
on this basis.                                                     Where the sanction effectively will constitute dismissal of a
                                                                   claim, the Court must consider whether the sanctioned party's
                                                                   actions involved “willfulness, fault, or bad faith.” Id. at 1247.
   6. Rule 26
                                                                   Additionally, the Court must consider lesser sanctions. Id.
Finally, Rio argues Leahy's report does not comply with Rule
26 because his report consists of charts with no meaningful
                                                                   Here, Leahy's report is inadequate under Rule 26(a)(2)(B).
explanation of those charts, such as an explanation of the
                                                                   Leahy's report does not set forth the basis or reasons for his
data or what methodology he used to create each chart. The
                                                                   opinions. Although his report contains a summary in addition
Trustee responds that Leahy's report complies with Rule 26,
                                                                   to the charts, the summary merely identifies what is in the
as he provides a thirteen page narrative analysis to explain his
                                                                   charts without explaining how Leahy calculated any of the
charts.
                                                                   figures represented in the charts.

Expert reports are required to eliminate “unfair surprise
                                                                   Nevertheless, the Court finds any such failure was relatively
to the opposing party and [to conserve] resources.” Elgas
                                                                   harmless. Rio has been in possession of Leahy's report since
v. Colo. Belle Corp., 179 F.R.D. 296, 299 (D.Nev.1998)
                                                                   March 2010. (Stip.(Doc.# 96) at 2.) Rio has presented no
(quotation omitted). Federal Rule of Civil Procedure 26(a)
                                                                   evidence that it advised the Trustee during discovery that
(2)(B) requires an expert's written report to contain, among
                                                                   Leahy's report was inadequate. Rio had an opportunity at
other items, a “complete statement of all opinions the witness
                                                                   Leahy's deposition to explore the bases for his opinions.
will express and the basis and reasons for them.” However, an
                                                                   Although Rule 26(a)(2)(B) is designed in part to obviate
expert report need not “replicate every word that the expert
                                                                   the need for depositions if the report adequately sets forth
might say on the stand.” See Walsh v. Chez, 583 F.3d 990,
                                                                   the expert's opinions and the bases therefor, Rio presents no
994 (7th Cir.2009). Rather, the expert's report must “convey


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evidence that it objected to the report or to deposing Leahy        moving party. Villiarimo v. Aloha Island Air, Inc., 281 F.3d
in the absence of a more complete report, or that Rio sought        1054, 1061 (9th Cir.2002). Initially, the moving party bears
any other relief during the discovery period relating to the        the burden of proving there is no genuine issue of material
adequacy of Leahy's report. 3 Instead, Rio waited until the         fact. Leisek v. Brightwood Corp., 278 F.3d 895, 898 (9th
parties had committed enormous resources to completing              Cir.2002). After the moving party meets its burden, the burden
discovery and submitting the matter on summary judgment to          shifts to the non-moving party to produce evidence that a
object to the adequacy of Leahy's initial report. Under these       genuine issue of material fact remains for trial. Id. The Court
circumstances, an order precluding consideration of Leahy's         views all evidence in the light most favorable to the non-
deposition testimony on summary judgment is too severe a            moving party. Id.
sanction.
                                                                     *10 Sections 548 and 544 of the Bankruptcy Code allow
3                                                                   a bankruptcy trustee to avoid a fraudulent transfer under
        Rio did move to compel further deposition
                                                                    either federal law or state law. Under section 548, a trustee
        testimony from Leahy after the Trustee's counsel
                                                                    may avoid a transfer if the transfer is made within one
        inappropriately advised Leahy not to answer
        certain questions at Leahy's deposition. The                year 4 of the filing of a bankruptcy petition and the debtor
        Magistrate Judge ruled in Rio's favor, allowing             either (1) had actual intent to defraud or (2) received less
        for a continued deposition of Leahy. (Order (Doc.           than reasonably equivalent value in exchange for the transfer
        # 233).) The Magistrate Judge also awarded Rio              and was insolvent, was made insolvent by the transfer, was
        sanctions in the form of reasonable costs and               operating or about to operate without property constituting
        attorney's fees for both the motion to compel and           reasonably sufficient capital, or was unable to pay debts as
        the continued deposition. (Id.)                             they became due. 11 U.S.C. § 548(a)(1)(A), (B).

Rule 37(c)(1) allows the Court to consider sanctions other          4
than precluding use of the inadequately disclosed evidence.                Section 548 now provides that transfers within
The Court, in its discretion, concludes that in this case, the             two years of the petition are voidable, but at the
sanction of requiring the Trustee to pay the reasonable costs              time NCM filed its petition, the statute provided
and attorney's fees associated with Leahy's first deposition is            that transfers within one year of the petition were
an appropriate sanction. Given this and other issues addressed             voidable.
in this Order, the Court concludes a settlement conference in       Under section 544, a bankruptcy trustee may avoid a transfer
this matter may be productive, and the Court will refer this        that an unsecured creditor with an allowable claim could have
action to the Magistrate Judge for a settlement conference.         avoided under applicable state law. Id. § 544(b)(1). Under
Rio shall serve and file a memorandum, supported by an              CUFTA, a transfer is voidable if the debtor made the transfer
affidavit of counsel, establishing the amount of fees and costs     (1) with actual intent to defraud or (2) without receiving a
incurred in the first deposition of Leahy within fourteen (14)      reasonably equivalent value in exchange for the transfer and
days after the settlement conference to be set in this matter, if   was insolvent, was “engaged or was about to engage in a
no settlement is reached. The Court will grant Rio's Motion         business or transaction for which the remaining assets of the
to Exclude Leahy's testimony only to this limited extent. The       debtor were unreasonably small in relation to the business or
Motion is denied in all other respects.                             transaction” or “[i]ntended to incur, or believed or reasonably
                                                                    should have believed that he or she would incur, debts beyond
                                                                    his or her ability to pay as they became due.” Cal. Civil Code
III. MOTIONS FOR SUMMARY JUDGMENT                                   § 3439.04(a)
Summary judgment is appropriate if the pleadings, the
discovery and disclosure materials on file, and any affidavits      Upon avoiding a fraudulent transfer under either section
show that “there is no genuine dispute as to any material           544 or section 548, a trustee may recover the transferred
fact and the movant is entitled to judgment as a matter of          property or the value thereof from the initial transferee
law.” Fed.R.Civ.P. 56(a), (c). A fact is “material” if it might     or from any subsequent transferees. 11 U.S.C. § 550(a).
affect the outcome of a suit, as determined by the governing        However, a trustee may not recover from “a transferee that
substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S.          takes for value, ... in good faith, and without knowledge of the
242, 248 (1986). An issue is “genuine” if sufficient evidence       voidability of the transfer avoided.” Id. § 550(b)(1); see also
exists such that a reasonable fact finder could find for the non-


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Cal. Civ.Code § 3439.08(a) (providing a similar good faith          As to constructive fraudulent transfers, the Trustee argues
defense under CUFTA).                                               Favata's plea agreement and testimony establish insolvency.
                                                                    Moreover, the Trustee contends the reconstruction is
                                                                    admissible as a summary and conclusions drawn therefrom
   A. The Trustee's Prima Facie Case                                are admissible as lay opinion that establishes NCM's
Rio contends the Trustee cannot establish his prima facie case      insolvency.
for actual intent fraudulent transfer as a matter of law. First,
Rio argues the Trustee cannot show the debtor, NCM, acted           A trustee can bring fraudulent transfer claims under both
with the requisite intent because Favata's intent cannot be         section 548 and section 544 based on either actual intent
imputed to NCM, as Favata was not an officer or director            to defraud creditors or constructive fraud. To establish
of NCM. Second, Rio argues that even if Favata's intent can         fraudulent transfers made with the actual intent to hinder,
be imputed to NCM, Favata testified he did not intent to            delay or defraud creditors, the Trustee must show (1) the
hinder, delay, or defraud NCM's creditors. Third, Rio argues        debtor transferred an interest in property to the defendant;
the Trustee is not entitled to the Ponzi presumption, which         (2) the transfer occurred within the applicable time period,
assumes intent where the debtor operated a Ponzi scheme,            and (3) the debtor made the transfer with the actual intent to
because Favata's plea agreement is inadmissible hearsay, and        hinder, delay, or defraud its creditor or creditors. 11 U.S.C. §§
Favata does not admit to a Ponzi scheme in any event. Rio           548(a)(1)(A), 544; Cal. Civ.Code §§ 3439.04(a)(1), 3439.09.
also contends the Trustee cannot rely on Favata's deposition        To establish constructive fraudulent transfers, the Trustee
testimony to establish a Ponzi scheme because Favata testified      must show (1) the transfer involved the debtor's property;
NCM was operating a legitimate and profitable mortgage              (2) the transfer was made within the applicable time period;
brokering business.                                                 (3) the debtor did not receive reasonably equivalent value
                                                                    in exchange for the property transferred; and (4) the debtor
As to constructive fraudulent transfers, Rio argues the Trustee     was insolvent, was made insolvent by the transaction, was
cannot show NCM was insolvent at the time of each transfer.         operating or about to operate without property constituting
Rio contends the Trustee cannot rely on Favata's plea               reasonable sufficient capital, or was unable to pay debts as
agreement to establish insolvency because the plea agreement        they became due at the time of the transfer. 11 U.S.C. §§
is inadmissible and in any event the plea agreement does not        548(a)(1)(B), 544; Cal. Civ.Code §§ 3439.04(a)(2), 3439.09.
set forth any facts that NCM was insolvent. Additionally,
Rio contends the Trustee cannot rely on Favata's deposition
testimony because he testified NCM operated a legitimate               1. The Ponzi Presumption
and profitable business. Rio further argues the Trustee cannot      A Ponzi scheme is “a financial fraud that induces investment
rely on a reconstruction of records performed by the Trustee        by promising extremely high, risk-free returns, usually in
because the reconstruction is inadmissible as speculative lay       a short time period, from an allegedly legitimate business
opinion testimony. Rio also argues the reconstruction does not      venture.” Donell v.. Kowell, 533 F.3d 762, 767 n. 2
establish insolvency at the time of any particular transfer, even   (9th Cir.2008) (quotation omitted). “The fraud consists of
if it were admissible.                                              funnelling proceeds received from new investors to previous
                                                                    investors in the guise of profits from the alleged business
 *11 The Trustee responds that he has established actual            venture, thereby cultivating an illusion that a legitimate profit-
intent fraudulent transfers through Favata's plea agreement,        making business opportunity exists and inducing further
which the Trustee contends is admissible, as well as through        investment.” Id. (quotation omitted); see also In re Slatkin,
Favata's deposition testimony in which he admits he operated        525 F.3d 805, 809 n. 1 (9th Cir.2008). The “mere existence
a Ponzi scheme through NCM. The Trustee also contends that          of a Ponzi scheme is sufficient to establish actual intent
even absent the Ponzi presumption, the transfers carry badges       under § 548(a)(1) or a state's equivalent to that section.”
of fraud which would support a finding of actual intent. As to      In re AFI Holding, Inc., 525 F.3d 700, 704 (9th Cir.2008)
whether Favata's intent can be imputed to NCM, the Trustee          (quotation omitted). Courts presume actual intent in relation
contends that Favata had actual and apparent authority to act       to a Ponzi scheme because the debtor knows at the time of the
on NCM's behalf, as demonstrated by the testimony of Sandra         transfer that the scheme ultimately must collapse. In re Indep.
Favata and Morisette, who both testified they turned financial      Clearing House Co., 77 B.R. 843, 860 (D.Utah 1987). Proof
control of NCM over to Favata.                                      that transfers were made pursuant to a Ponzi scheme likewise
                                                                    establishes insolvency for constructive fraudulent transfers.


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Donell, 533 F.3d at 770–71; Warfield v. Byron, 436 F.3d 551,       their principal into the scheme rather [than] withdrawing their
558–59 (5th Cir.2006) (stating a Ponzi scheme “is, as a matter     funds.” (Id. at 5–6.) Favata's admissions are conclusive and
of law, insolvent from its inception”).                            preclude relitigation of the issue of whether Favata acted with
                                                                   the requisite intent to defraud.
 *12 A plea agreement in which the defendant admits he ran
a Ponzi scheme is admissible under Federal Rule of Evidence        Favata's admissions also conclusively establish insolvency
807, the residual hearsay exception. In re Slatkin, 525 F.3d       from the inception of the Ponzi scheme, as a Ponzi scheme
at 811–12. Moreover, a “debtor's admission, through guilty         is insolvent from its inception as a matter of law. The mere
pleas and a plea agreement admissible under the Federal            fact that NCM conducted some legitimate business does not
Rules of Evidence, that he operated a Ponzi scheme with the        raise an issue of fact as to whether Favata was operating
actual intent to defraud his creditors conclusively establishes    a massive Ponzi scheme. Rio relies on Favata's testimony
the debtor's fraudulent intent under 11 U.S.C. § 548(a)(1)         that NCM was generating $300,000 per month through its
(A) and California Civil Code § 3439.04(a)(1), and precludes       legitimate business to argue NCM was solvent despite the
relitigation of that issue.” Id. at 814.                           Ponzi scheme. Favata testified at his deposition that “[a]t
                                                                   one point” the legitimate side of the business was profitable.
Here, Favata's plea agreement is admissible under Federal          (Trustee's Countermot., Ex. B–54 at 183.) Specifically, Favata
Rule of Evidence 807. Moreover, even if the plea agreement         testified that from late 2004 until it closed, the legitimate
was inadmissible, Favata reaffirmed the statements in his plea     side was doing well, and in the last six months of NCM's
agreement during his deposition in this case. Rio's argument       business, NCM was generating $250,000 to $300,000 per
that Favata did not admit to a Ponzi scheme is meritless.          month in profit from the legitimate side of the business. (Id.
Favata unambiguously admitted to operating a Ponzi scheme          at 184–85.) However, Favata also testified that from 2002 to
in his plea agreement, and he reaffirmed those admissions at       February 2005, he had duped investors out of approximately
his deposition. Specifically, Favata admitted that from 2000       $5 or $6 million dollars through his Ponzi scheme, and as
to 2006, he “used the investment division of NCM to operate        of February 2005, NCM had a $4 million deficit due to the
a fraudulent scheme that bilked hundreds of investors of sums      Ponzi scheme. (Id. at 187–89.) During the same period when
totaling in excess of $20 million.” (Trustee's Countermot. for     the legitimate side was doing well, the Ponzi scheme grew
Summ. J. (Doc. # 217) [“Trustee's Countermot.”], Ex. B–25          even more dramatically, as Favata raised about $15 million
at 4.) Favata admitted he (1) “falsely represented that NCM        from February 2005 to the end of 2005. (Id. at 187–89.)
directly loaned money at high rates of return to borrowers         Profits from the legitimate side may have assisted Favata in
who required short term credit,” (2) “falsely told investors       extending his scheme, as Favata commingled funds from both
they could purchase the notes that secured these loans and         sides of the business. But no genuine issue of fact remains
thus acquire the right to collect the interest payments,” and      that the legitimate business was dwarfed by Favata's massive
(3) “falsely assured investors that their principal ... would be   Ponzi scheme, and NCM was insolvent from its inception and
returned once the borrower paid off the loan from NCM.” (Id.       throughout its existence. 5
at 4–5.) Additionally, Favata admitted that at the time he
made these representations to investors, he “knew that the         5      Rio's reliance on Favata's testimony that someone
purported private money note investments that he offered to
                                                                          offered him $10 million for NCM also does not
investors simply did not exist,” and that he “had neither the
                                                                          raise an issue of fact as to solvency. Favata did
means nor the intention of investing his client[']s money as
                                                                          not disclose the fraudulent nature of his business
promised.” (Id. at 5.) Favata further admitted that he falsely
                                                                          to the potential purchaser, and thus any purported
promised substantial rates of return and that real property
                                                                          sales price would be illusory. Nor is it plausible
secured the investments. (Id.)
                                                                          that Favata would have sold his Ponzi scheme
                                                                          to a legitimate business which would uncover his
Additionally, Favata admitted he diverted investors' funds to
                                                                          wrongdoing.
his personal use and also “used investor funds to prevent
detection of his scheme. In particular, he often diverted funds     *13 Because no genuine issue of fact remains that NCM
from new investors to feign purported interest payments to         was insolvent at the time of each of the alleged transfers,
the original investors in the scheme. As a result of these         the Trustee is entitled to summary judgment that he has
lulling payments, Favata induced many victims to reinvest          established insolvency for his prima facie case of constructive



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fraudulent transfers under 11 U .S.C. § 548(a)(2), § 544,        financial affairs. The fact that Favata was not a named officer
and CUFTA § 3439.04(a)(2). However, as to actual intent          or director of NCM is not dispositive. Rather, the undisputed
fraudulent transfers, Rio disputes whether Favata's intent can   testimony from Sandra Favata and Favata is that Morisette
be imputed to NCM.                                               and Sandra Favata gave Favata complete and unfettered
                                                                 control over NCM's finances. Favata personally was involved
                                                                 in raising investor funds for NCM and he decided the interest
   2. Imputation                                                 rate to be advertised to investors in the Ponzi scheme. Favata
To be a fraudulent transfer under 11 U.S.C. § 548(a)(1), §       testified he had authority to make business decisions for NCM
544, and CUFTA § 3439.04(a)(1), the debtor must act with         and that he did not have to ask Sandra Favata for permission
the actual intent to delay, hinder, and defraud its creditors.   because he “controlled it myself.” (Trustee's Countermot.,
Rio contends that even if Favata acted with such intent, NCM     Ex. B–54 at 224–25.) Morisette signed hundreds of blank
did not, as Favata was not an owner, officer, or director of     checks at a time and turned them over to Favata to run NCM's
NCM. The Trustee responds that Sandra Favata and Morisette       finances. (Id. at 70–73.) Sandra Favata and Favata both
turned NCM's financial affairs completely over to Favata, and    testified Favata made decisions regarding the benefits and
he thus had actual and/or apparent authority to act on NCM's     compensation Sandra Favata received from NCM. (Id. at 76;
behalf.                                                          Trustee's Countermot., Ex. B47 at 176.) Sandra Favata also
                                                                 testified that Favata determined his own compensation from
A corporation can form intent only through its agents. Sea       NCM. (Trustee's Countermot., Ex. B–47 at 176–77.) Favata
Horse Ranch, Inc. v. Superior Court, 24 Cal.App. 4th 446,        likewise testified that he was “in control of the checkbook,
456–57 (Cal.Ct.App.1994). An agent may have actual or            the moneys in/moneys out.” (Trustee's Countermot., Ex. B54
ostensible authority to act on behalf of the corporation. Cal.   at 69.) Additionally, Sandra Favata signed a casino credit
Civ.Code § 2298. “An agency is actual when the agent is          application with the Rio which identified Sam Favata as being
really employed by the principal.” Id. § 2299. “An agency        employed by and an owner of NCM. (Trustee's Countermot.,
is ostensible when the principal intentionally, or by want of    Ex. B–9.) Rio presents no contrary evidence to suggest Favata
ordinary care, causes a third person to believe another to be    was not actually authorized to act on NCM's behalf.
his agent who is not really employed by him.” Id. § 2300.
                                                                  *14 Because Favata had unfettered control over NCM's
Where an agent acts within the scope of his authority, his       finances, including decisions regarding compensation to
acts and knowledge generally are imputed to the principal.       himself, Sandra Favata, and Morisette, he was acting in
See Peregrine Funding, Inc. v. Sheppard Mullin Richter &         the course of his employment and within the scope of
Hampton LLP, 133 Cal.App. 4th 658, 679 (Cal.Ct.App.2005);        his authority when he transferred funds from NCM to
In re Tran, 301 B.R. 576, 581 (Bankr.S.D.Cal.2003). A            himself. The movement of corporate assets and decisions
corporate agent's knowledge is not imputed to a corporation      about compensation for owners and employees are ordinary
if he is acting adverse to the corporation's interest.           functions of management which typically would be attributed
Meyer v. Glenmoor Homes, Inc., 246 Cal.App.2d 242, 264           to the company. The mere fact that Favata performed illegal
(Cal.Ct.App.1966). However, a corporate agent's fraud may        acts does not mean he acted outside the scope of his authority.
be imputed to the corporation where the wrongdoer or             See USACM Liquidating Trust v. Deloitte & Touche, LLP, 764
wrongdoers were the sole relevant actors for the corporation.    F.Supp.2d 1210, 1222–23 (D.Nev.2011).
See Peregrine Funding, Inc., 133 Cal.App. 4th at 679–
80; Casey v. U .S. Bank Nat'l Ass'n, 127 Cal.App. 4th            However, no genuine issue of fact remains that Favata acted
1138, 1143–44 (Cal.Ct.App.2005). This “sole actor” rule          adversely to NCM. NCM obtained no benefit from Favata's
is based on the principle that where the principal grants        looting of the company through his Ponzi scheme. Thus,
authority to an unsupervised agent, “the principal must          the question which remains is whether Favata was the sole
accept the consequences of the agent's misconduct because        relevant actor at NCM such that his intent should be imputed
it was the principal who allowed the agent to act without        to the company even though he was acting adverse to NCM's
accountability.” First Nat'l Bank of Cicero v. Lewco Sec.        interests.
Corp., 860 F.2d 1407, 1417–18 (7th Cir.1988).
                                                                 Viewing the facts in the light most favorable to the Trustee
Here, no genuine issue of material fact remains that Favata      on Rio's Motion for Summary Judgment, a reasonable jury
acted with actual authority in controlling all of NCM's


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could find Favata was the sole relevant actor at NCM.              looting, and therefore it could not have aided and abetted
Sandra Favata and Morisette, while nominally the owners            Favata. (Rio's MSJ, Ex. B–5.) The Trustee responded by
and controlling members of NCM, granted Favata unfettered          arguing the bank had actual knowledge of facts which put
and unsupervised control over NCM's finances. Morisette            the bank on notice of Favata's activities. (Id.) Rio presents no
went so far as to sign hundreds of blank checks for Favata's       evidence, for example, that in response to an in pari delicto
use to operate NCM. Neither party points to any evidence           defense raised by Bank of America, the Trustee alleged that
that Morisette, had she been aware of the fraud, could or          Favata's actions could not be imputed to NCM. Rio presents
would have stopped it. As to Sandra Favata, she testified          no prior court order adopting any such position by the Trustee.
Favata informed her that he did not have the deeds of trust        Further, a settlement does not amount to a court adopting
to secure the investments in NCM's Private Money Group             the Trustee's purportedly inconsistent position. To the extent
approximately four to five weeks after she first learned of an     the Trustee's allegations in the Bank of America action are
SEC investigation in early to mid January 2006. (Trustee's         judicial admissions which suggest Favata's intent should not
Countermot., Ex. B–47 at 267–71.) Sandra Favata testified          be imputed to NCM, Rio may use them to bolster its position
she contacted an attorney the next day. (Id. at 269.) However,     at trial. However, the Court will deny Rio's Motion for
Sandra Favata never turned Favata in to the authorities, and       Summary Judgment on the issue.
Favata continued to cash cashier's checks at the Rio with
funds derived from NCM as late as March 22, 2006. A                Viewing the facts in the light most favorable to Rio on
reasonable jury therefore could find that Sandra Favata either     the Trustee's Countermotion for Summary Judgment, a
could not or would not take steps to end Favata's fraudulent       reasonable jury could find Favata was not the sole relevant
behavior even after she became aware of it, and thus find          actor at NCM. Although Favata exercised de facto control,
Favata was the sole relevant actor at NCM whose intent             both Morisette and Sandra Favata had actual authority
should be imputed to NCM. The Court therefore will deny            within the company to stop Favata's fraudulent conduct.
Rio's Motion on this basis.                                        Sandra Favata averred in an affidavit that upon learning that
                                                                   the “private money business operated by Sam Favata had
Rio contends the Trustee has made inconsistent allegations in      problems,” she employed an accounting firm to perform an
this action and a related action against Bank of America, and      audit, and ultimately filed the petition for NCM's bankruptcy,
the Trustee must be bound by his prior allegations regarding       thus effectively putting an end to Favata's ability to use NCM
the separation between Favata and the debtor NCM. In the           for fraudulent purposes. (Trustee's Countermot., Ex. B23 at
Bank of America action, the Trustee alleged Favata was             3 ¶ 13.) A reasonable jury thus could find Favata was not
NCM's agent who acted contrary to the debtor's interest and        the sole relevant actor at NCM, and his intent should not be
without the debtor's permission. (Rio's Mot. Summ. J. (Doc.        imputed to NCM. The Court therefore will deny the Trustee's
# 189) [“Rio's MSJ”], Ex. B–4.) However, the Trustee did not       Countermotion on this basis.
allege in the Bank of America action that Favata's intent is not
imputable to NCM. The Trustee's allegations are consistent
with his allegations in this action, and with imputation law         B. Rio's Good Faith Defense
and its various exceptions. Moreover, the Trustee can plead
                                                                      1. Trustee's Motion for Sanctions
in the alternative. Fed.R.Civ.P. 8(d)(2).
                                                                   The Trustee moves for sanctions under Federal Rule of Civil
                                                                   Procedure 37(c) based on Rio's denial throughout discovery
 *15 The Court does not find the Trustee must be judicially
                                                                   that it was not required to comply with the federal anti-money
estopped from asserting Favata's intent is imputable to NCM,
                                                                   laundering regulation set forth in 31 C.F.R. § 103.64. The
as Rio presents no evidence a court accepted a prior clearly
                                                                   Trustee contends that after discovery closed, Rio took the
inconsistent position or that allowing the Trustee to proceed
                                                                   contrary position via the rebuttal expert report of Courtney
would give the Trustee an unfair advantage over Rio. United
                                                                   J. Linn (“Linn”). The Trustee requests that Rio be bound to
States v. Ibrahim, 522 F.3d 1003, 1009 (9th Cir.2008). Rio
                                                                   its original position in discovery, and that it not be permitted
argues the Trustee should be judicially estopped because the
                                                                   to put forth Linn's testimony that Rio substantially complied
Trustee survived a motion to dismiss and then settled with
                                                                   with section 103.64. Alternatively, the Trustee requests costs
Bank of America in the other action. However, Bank of
                                                                   pursuant to Rule 37(c)(2) for expenses incurred in proving
America moved to dismiss based only on the argument that
                                                                   Rio was bound by the regulation.
Bank of America did not have actual knowledge Favata was



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 *16 Rio responds the Court should deny the Motion as                40.) Finally, the Trustee may explore in front of the jury any
procedurally defective because the Trustee did not meet and          inconsistencies in Rio's positions. To the extent the Trustee
confer prior to filing the Motion, the Trustee did not move          seeks, either directly or effectively, to preclude Rio's good
to compel during discovery, a Rule 37(c)(2) motion should            faith defense, the availability of monetary sanctions combined
be brought only after trial, and Rule 37(c)(2) allows only for       with the Trustee's ability to reveal to the jury Rio's positions
costs, not striking of a defense. On the merits, Rio argues it has   taken throughout this case are appropriate lesser sanctions.
not taken any inconsistent positions, as it always has asserted
Rio met all standards and practices of Las Vegas casinos at           *17 The Court therefore will deny the Trustee's Motion for
the time. Rio contends that although it initially contested the      Sanctions to the extent it seeks to preclude the Rio from
application of the federal anti-money laundering statute, it         arguing or presenting evidence on the issue of whether it
made the decision to narrow the issues for trial by no longer        complied with the federal anti-money laundering regulations.
contesting the regulation's application. Finally, Rio notes that     The Court will deny the Trustee's request for monetary
the Trustee previously moved to strike Linn's report before          sanctions under Rule 37(c)(2), without prejudice to renew
the Magistrate Judge, and, rather than strike Linn's report,         after the parties' settlement conference if no settlement is
the Magistrate Judge allowed the Trustee to submit a rebuttal        reached.
expert report. Rio argues the Trustee improperly is seeking
reconsideration of the Magistrate Judge's decision.
                                                                        2. CUFTA
Pursuant to Federal Rule of Civil Procedure 37(c)(2), where          Twenty-three of the challenged transfers totaling
a party fails to admit something in response to a request for        $2,022,008.21 occurred more than one year prior to the
admission and the requesting party later proves the matter to        bankruptcy petition date. (Second Am. Compl., Ex. A.) These
be true, the requesting party may move for sanctions in the          transfers therefore are voidable only under section 544 and
amount of “the reasonable expenses, including attorneys fees,        the applicable state law, CUFTA as set forth in California
incurred in making that proof.” The Court must award costs           Civil Code § 3439.04. See Pub.L. 109–8 §§ 1402(1), 1406(b)
unless the Court finds the request objectionable, the request        (2) (Apr. 20, 2005) (changing one year clawback period in
for admission was immaterial, “the party failing to admit had        section 548 to two years for any petition commenced more
a reasonable ground to believe that it might prevail on the          than one year after April 20, 2005). The parties disagree about
matter,” or the party failing to admit had “other good reason        the good faith standard under CUFTA. Rio argues that under
for the failure to admit.” Fed.R.Civ.P. 37(c)(2)(A)-(D).             CUFTA, a transferee acts in good faith unless it colludes with
                                                                     or actively participates in the fraudulent scheme. The Trustee
Because a Rule 37 motion is not a discovery-related motion,          contends CUFTA's standard is the same as the bankruptcy
the Trustee did not need to meet and confer prior to filing it,      code, and CUFTA thus denies a good faith defense where the
nor did he have to move for relief during the discovery period.      transferee is on inquiry notice that the transfer is actually or
Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175,           constructively fraudulent.
1179 (9th Cir.2008). The Court concludes that Rio's refusal
to admit during discovery that it was subject to the federal         The California Supreme Court has not addressed whether
anti-money laundering regulation was relatively harmless.            CUFTA's good faith defense applies to any transferee except
The Trustee would have conducted extensive discovery on              one who colludes with the transferor or otherwise participates
Rio's compliance with the federal anti-money laundering              in the debtor's fraudulent scheme. “Where the state's highest
regulation regardless of whether Rio admitted the regulation         court has not decided an issue, the task of the federal
applied because a substantial portion of the Trustee's good          courts is to predict how the state high court would resolve
faith argument is centered on Rio's purported failure to             it.” Giles v. Gen. Motors Acceptance Corp., 494 F.3d 865,
comply with the regulation. Additionally, the Magistrate             872 (9th Cir.2007) (quotation omitted). “In answering that
Judge lessened any prejudice by allowing the Trustee to file a       question, this court looks for ‘guidance’ to decisions by
rebuttal expert report from a new expert in response to Linn's       intermediate appellate courts of the state and by courts in other
report. At the hearing before the Magistrate Judge, the Trustee      jurisdictions.” Id. (quotation omitted).
indicated that he did not prefer the remedy of striking the Linn
report, but rather preferred getting to the merits of the case and   CUFTA's good faith defense is set forth in section 3439.08(a).
offering his own expert in response. (Tr. (Doc.# 154) at 39–         Legislative comments to the section state that good faith
                                                                     “means that the transferee acted without actual fraudulent


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intent and that he or she did not collude with the debtor           omitted); see also Donell, 533 F.3d at 771 n. 3. Courts are
or otherwise actively participate in the fraudulent scheme          reluctant to establish a singular test for good faith given
of the debtor. The transferee's knowledge of the transferor's       the “unpredictable circumstances in which the courts may
fraudulent intent may, in combination with other facts, be          find its presence or absence.” In re M & L Bus. Mach. Co.,
relevant on the issue of the transferee's good faith of the         Inc., 84 F.3d 1330, 1335 (10th Cir.1996) (quotation omitted).
transferor or of the transferor's insolvency.” Cal. Civ.Code §      Consequently, good faith is a factual question, “determined
3439.08 Leg. Comm. cmt. 1 (1986). The same comment also             on a case-by-case basis.” In re Sherman, 67 F.3d 1348, 1355
states that “[k]nowledge of the facts rendering the transfer        (8th Cir.1995); In re Armstrong, 285 F.3d 1092, 1096 (8th
voidable would be inconsistent with the good faith that is          Cir.2002).
required of a protected transferee.” Id.
                                                                    The good faith inquiry is determined by asking “what the
Relying on the first part of the legislative comment, two           transferee objectively ‘knew or should have known’ ..., rather
California intermediate appellate decisions have held that a        than examining what the transferee actually knew from a
transferee acts in good faith unless the transferee colluded        subjective standpoint.” In re Agritech, 916 F.2d at 535–36. A
with the debtor or otherwise participated in the debtor's           transferee does not act in good faith if it is on inquiry notice as
fraudulent scheme. See Annod Corp. v. Hamilton & Samuels,           to either the debtor's fraudulent intent or the debtor's possible
100 Cal.App. 4th 1286, 1299–1300 (Cal.Ct.App.2002);                 insolvency. See In re Nieves, 648 F.3d 232, 238–39 (4th
Lewis v. Superior Ct., 30 Cal.App. 4th 1850, 1858–59                Cir.2011) (stating that “a transferee does not act in good faith
(Cal.Ct.App.1994). However, the United States Court of              when he has sufficient [actual] knowledge to place him on
Appeals Bankruptcy Appellate Panel for the Ninth Circuit            inquiry notice of the debtor's possible insolvency” (quotation
(“Ninth Circuit BAP”) and the United States District Court          omitted)); In re Agritech, 916 F.2d at 539–40 (holding
for the Northern District of California looked to the entire        no good faith as a matter of law where evidence showed
legislative comment and determined that a transferee does           transferee knew or should have known the debtor was
not act in good faith under CUFTA if the transferee “(1)            operating a Ponzi scheme). A transferee thus does not act in
colludes with the debtor or otherwise actively participates in      good faith if the facts actually known by the transferee, and
the debtor's fraudulent scheme, or (2) has actual knowledge         all reasonable inferences drawn therefrom, would suggest to
of facts which would suggest to a reasonable person that            a reasonable person in the transferee's position that it was
the transfer was fraudulent.” CyberMedia, Inc. v. Symantec          receiving a voidable transfer. In re Bressman, 327 F.3d 229,
Corp., 19 F.Supp.2d 1070, 1075 (N .D.Cal.1998) (emphasis            236–37 (3d Cir.2003); In re Agritech, 916 F.2d at 535 (stating
omitted); see also In re Cohen, 199 B.R. 709, 719 (9th              “a transferee's knowledge or actual notice of circumstances
Cir.BAP1996).                                                       sufficient to put him, as a prudent man, upon inquiry as
                                                                    to whether [the transferor] intended to delay or defraud his
 *18 The Court concludes that if the California Supreme             creditors ... should be deemed to have notice ... as would
Court addressed the issue, it would adopt the position of the       invalidate the sale as to him” (quotation omitted)). Whether a
Ninth Circuit BAP and the Northern District of California.          transferee acted in good faith is evaluated in the context of the
Viewing the legislative comment in its entirety, a transferee       industry in which the transferee operates. In re Nieves, 648
is not entitled to the good faith defense if it colludes with the   F.3d at 239. The party asserting the good faith defense bears
debtor or participates in the fraudulent scheme. A transferee's     the burden of proving it received the transfer in good faith. In
good faith defense also may fail if the transferee had actual       re Agritech, 916 F.2d at 535 (applying the bankruptcy code);
knowledge of facts which would suggest to a reasonable              In re Cohen, 199 B.R. at 718–19 (applying CUFTA).
person the transfer was fraudulent.
                                                                     *19 The Trustee presents no evidence and does not argue
                                                                    that Rio actually knew of or participated in Favata's fraudulent
   3. Bankruptcy Code
                                                                    scheme. 6 Consequently, under CUFTA and the bankruptcy
The Bankruptcy Code does not define what constitutes good
                                                                    code, the only question is whether Rio actually knew of facts
faith. The United States Court of Appeals for the Ninth
                                                                    which would suggest to a reasonable casino in Rio's position
Circuit has declined to set forth a comprehensive test for good
                                                                    that the transfers were voidable.
faith, concluding that “good faith is not susceptible of precise
definition.” In re Agric. Research & Tech. Grp., Inc. (“In
re Agritech”), 916 F.2d 528, 536 (9th Cir.1990) (quotation


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6                                                                  had filed charges at any time while Rio was engaging
       Nor does the Trustee argue that Rio did not provide
                                                                   in transactions with Favata. None of those governmental
       reasonably equivalent value.
                                                                   agencies advised Rio not to engage in transactions with
Viewing the facts in the light most favorable to the Trustee       Favata. Viewing these facts and others identified in Rio's
on Rio's Motion for Summary Judgment, a reasonable jury            briefs, expert reports, and testimony in the light most
could find Rio has not established its good faith defense.         favorable to Rio in this highly fact-driven, case-by-case
The Trustee has presented evidence that Rio failed to comply       inquiry, a reasonable jury could find Rio has established
with applicable federal regulations, and had Rio done so, it       its good faith defense. The Court therefore will deny the
would have discovered that Favata gambled 66 high dollar           Trustee's Countermotion for Summary Judgment based on the
cashier's checks in two and a half years out of his front          good faith defense.
money account at the Rio, and wagered over $48 million
during this time frame. Some of those checks identified NCM
as the purchaser of the cashier's checks. Favata gave false        IV. CONCLUSION
information on his application for a front money account            *20 IT IS THEREFORE ORDERED that Defendant Rio
at the Rio regarding Favata's relationship to NCM. Favata          Properties, Inc.'s Motion for Summary Judgment on the
gambled so extensively at Rio that Rio monitored him               Actual and Constructive Intent Fraudulent Transfer Claims
because his wagering alone could affect the Rio Sports Book's      (Doc.183–187) is hereby DENIED.
take. During the time Favata's gambling dramatically spiked
and he gambled millions of dollars at the Rio, Rio knew            IT IS FURTHER ORDERED that Rio's Motion for Summary
Favata had a low limit credit card that could not even cover       Judgment on the Good Faith Defense (Doc.189–193) is
his room and incidentals during his trips to the Rio on            hereby DENIED.
more than one occasion. Rio already suspected Favata of
structuring once, and some of his transactions arguably appear     IT IS FURTHER ORDERED that Plaintiff John P. Brincko's
to be structuring activity. Rio also knew the Nevada Gaming        Countermotion for Summary Judgment on the Fraudulent
Control Board was investigating Favata. Viewing these facts        Transfer Claims and Rio's Good Faith Defense (Doc.217–
and others identified in the Trustee's briefs, expert reports,     224) is hereby GRANTED in part and DENIED in part. The
and testimony in the light most favorable to the Trustee in        Motion is granted to the extent that the Trustee has established
this highly fact-driven, case-by-case inquiry, a reasonable jury   no issue of fact remains that the debtor was insolvent at all
could find Rio has not established its good faith defense.         relevant times for the purpose of the Trustee's constructive
The Court therefore will deny Rio's Motion for Summary             fraudulent transfer claims. The Motion is denied in all other
Judgment based on the good faith defense.                          respects.

Viewing the facts in the light most favorable to Rio on the        IT IS FURTHER ORDERED that the Trustee's Motion
Trustee's Countermotion, a reasonable jury could find Rio          for Sanctions (Doc.217–224) is hereby DENIED without
acted in good faith. Rio presented evidence that it verified       prejudice to move for costs following the settlement
the cashier's checks with Favata's banks, and no check ever        conference, if no settlement is reached.
was dishonored or the subject of a stop payment order. A
reasonable jury could conclude that a casino such as Rio           IT IS FURTHER ORDERED that Defendant Rio Properties,
reasonably could rely on the nationally recognized banks,          Inc.'s Motion in Limine to Exclude the Expert Testimony of
who also are subject to the federal anti-money laundering          Robert Leahy (Doc. # 204) is hereby GRANTED in part and
regulations, to vet the source of the funds used to purchase       DENIED in part. The Motion is granted in that the Court will
cashier's checks. Additionally, Rio presents evidence that it      allow Defendant Rio Properties, Inc. to recover the reasonable
did not extend Favata credit, and thus the fact that it did        costs and attorney's fees associated with the first deposition
not conduct further investigation of Favata was consistent         of Robert Leahy. The Motion is denied in all other respects.
with how a reasonable casino would behave under the
circumstances. Rio also presents evidence that even if Rio         IT IS FURTHER ORDERED that Defendant Rio Properties,
should have conducted further inquiry, it would not have           Inc. shall serve and file a memorandum, supported by the
uncovered that NCM was a Ponzi scheme or that the                  affidavit of counsel, establishing the amount of attorney's
source of Favata's funds was illegal where several different       fees and costs incurred in the first deposition of Robert
governmental agencies were investigating Favata, and none


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                                                                    (Doc. # 206) is hereby DENIED as moot, without prejudice
Leahy within fourteen (14) days following the settlement
                                                                    to renew at trial.
conference, if no settlement is reached.

                                                                    IT IS FURTHER ORDERED that this matter is referred
IT IS FURTHER ORDERED that Defendant Rio Properties,
                                                                    to United States Magistrate Judge Peggy A. Leen for a
Inc.'s Motion in Limine to Exclude the Expert Testimony of
                                                                    settlement conference.
Alex Seddio (Doc. # 205) is hereby GRANTED in part and
DENIED in part. The Motion is granted to the extent that Alex
                                                                    IT IS FURTHER ORDERED that the parties shall file a
Seddio's testimony regarding the relationship between the
                                                                    proposed joint pretrial order on or before February 18, 2013.
federal anti-money laundering regulations and the September
11 attacks is excluded. The Motion is denied in all other
respects.                                                           All Citations

IT IS FURTHER ORDERED that Defendant Rio Properties,                Not Reported in F.Supp.2d, 2013 WL 164247, 90 Fed. R.
Inc.'s Motion to Exclude the Expert Testimony of Peter Djinis       Evid. Serv. 560

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                                                                       Inc. (“Verizon”) 2 and three former Genuity officers (the

      KeyCite Yellow Flag - Negative Treatment
                                                                       “Individual Defendants”), 3 seeking damages for alleged
Distinguished by In re HEXO Corp. Securities Litigation,   S.D.N.Y.,   violations of the United States securities laws. All defendants
March 8, 2021                                                          have moved to dismiss plaintiffs' complaint on the ground
                                                                       that it fails to state a claim for relief under Fed.R.Civ.P. 12(b)
                 2005 WL 2030501                                       (6) and fails to plead with sufficient particularity under both
    Only the Westlaw citation is currently available.                  Fed.R.Civ.P. 9(b) and the Private Securities Litigation Reform
             United States District Court,                             Act of 1995 (the “PSLRA”). For the reasons set forth herein,
                   S.D. New York.                                      defendants' motions to dismiss are granted.

                DAVIDOFF, et al., Plaintiffs,                          1       Smith Barney was one of two lead underwriters
                            v.
                                                                               for Genuity's IPO. Plaintiffs allege that, as part
                FARINA, et al., Defendants.
                                                                               of its responsibilities in this regard, Smith Barney
                    No. 04 Civ. 7617(NRB).                                     performed due diligence that included a review and
                               |                                               approval of Genuity's business plan.
                        Aug. 22, 2005.                                 2       As explained below, Verizon was created by a
Attorneys and Law Firms                                                        merger of GTE Corporation and Bell Atlantic
                                                                               Corporation, the same merger that created Genuity
William S. Lerach, Jonah H. Goldstein, Amber L. Eck,                           as a spin-off company.
Ryan A. Llorens, Lerach, Coughlin, Stoia, Geller, Rudman
                                                                       3
& Robbins LLP, San Diego, CA, Jeffrey A. Klafter, Kurt B.                      The Individual Defendants are Paul R. Gudonis,
Olsen, Klafter & Olsen LLP, White Plains, NY, for Plaintiffs.                  who was Genuity's Chairman and C.E.O., Daniel
                                                                               P. O'Brien, who was Genuity's Executive Vice
James P. Gillespie, Matthew E. Papez, Kirkland & Ellis,                        President and C.F.O., and Joseph C. Farina, who
LLP, Washington, DC, William H. Pratt, Frank Holozbiec,                        was Genuity's President and C.O.O.
Kirkland & Ellis LLP, New York, NY, for Verizon
Communications, Inc.
                                                                                             BACKGROUND 4
John D. Donovan, Jr., Ropes & Gray LLP, Boston, MA, for
the Individual Defendants.                                             4       The facts set forth below are drawn from
Mitchell A. Lowenthal, Carmine D. Boccuzzi, Jr., Cleary                        plaintiffs' First Amended Class Action Complaint
Gottlieb Steen & Hamilton LLP, New York, NY, for Smith                         for Violation of the Securities Exchange Act of
Barney.                                                                        1934, dated November 19, 2004 (the “Complaint”),
                                                                               and are, as is appropriate in deciding these motions,
                                                                               assumed to be true herein.
               MEMORANDUM and ORDER                                    This lawsuit was instituted after Genuity filed for protection
                                                                       under Chapter 11 of the United States Bankruptcy Code
BUCHWALD, J.                                                           on November 27, 2002. On October 2, 2003, Genuity filed
                                                                       with the bankruptcy court a Second Amended Disclosure
 *1 This putative securities class action arises out of the
                                                                       Statement in support of the Consolidated Plan of Liquidation
June 28, 2000 initial public offering of 173,913,000 shares
                                                                       (the “Disclosure Statement”), which allegedly revealed to
of Class A common stock (the “IPO”) of Genuity, Inc.
                                                                       plaintiffs that Genuity had been significantly undercapitalized
(“Genuity”), as well as the subsequent demise and ultimate
                                                                       since the company went public on June 28, 2000. In
bankruptcy of that company. Plaintiffs, who purchased shares
                                                                       their 79-page Complaint, plaintiffs allege that the June
of Genuity during the putative class period (which extends
                                                                       27, 2000 Prospectus that Genuity filed with the Securities
from the IPO through the filing of bankruptcy), have sued
                                                                       and Exchange Commission (“S.E.C.”) in connection with
Citigroup Global Markets Inc. (f/k/a Salomon Smith Barney
                                                                       the IPO (the “Prospectus”), as well as Genuity's spring
Holdings Inc.) (“Smith Barney”), 1 Verizon Communications


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2000 Form S-1 Registration Statement and two subsequent            it would have the option of converting its Class B stock into
amendments thereto, (collectively, the “IPO statements”)           80% of the outstanding Class A stock and thereby regaining
were materially misleading because they failed to disclose         control of Genuity. Also pursuant to the plan, Verizon both
this undercapitalization. Plaintiffs allege further that various   retained rights of consent over various corporate actions by
public statements made by Genuity about its business and           Genuity and was entitled to elect one member of Genuity's
financial health in the period between the IPO and the             board of directors.
company's ultimate bankruptcy filing (collectively, the “post-
IPO statements”) were materially misleading for a myriad           6      Under the Telecommunications Act of 1996, the
of reasons. The putative class period is alleged to extend                former regional Baby Bells, such as Bell Atlantic,
through the entire solvent life of the company, from the June
                                                                          were prohibited from owning long distance assets
28, 2000 IPO through the November 27, 2002 bankruptcy
                                                                          without obtaining approvals, referred to as “271
filing. Below, we outline the IPO and subsequent relevant
                                                                          Approvals,” from state regulators. Because the
events before detailing plaintiffs' allegations and defendants'
                                                                          F.C.C. classified certain Internet backbone assets
arguments in support of dismissal.
                                                                          of and services provided by GTE Internetworking
                                                                          as long distance assets, it would not approve the
I. Events Leading Up To the IPO                                           GTE-Bell Atlantic merger unless either those assets
                                                                          were divested or GTE Internetworking became
Genuity was a “Tier 1” Internet backbone provider 5 that
                                                                          independent of the merged company.
offered customers suites of managed Internet infrastructure
services such as dedicated and broadband access, web hosting
                                                                   II. The IPO
and content delivery and value-added services such as Voice
                                                                   Genuity's IPO was the largest in Internet history. According
over IP and managed Internet security services. Genuity's
                                                                   to the Complaint and the Disclosure Statement, when
origins can be traced to BBN Corporation, a Massachusetts
                                                                   discussions about a possible IPO began in the spring of 2000,
telecommunications company that was acquired in 1997
                                                                   the original target offering price was $25 per share, which
by GTE Internetworking Inc. (“GTE Internetworking”), a
                                                                   would have generated approximately $4.3 billion in proceeds.
holding company subsidiary of GTE Corporation (“GTE”).
                                                                   As discussed more fully below, plaintiffs allege that Genuity's
                                                                   business plan was developed with this figure in mind.
5      The Complaint defines Tier 1 Internet backbone              With preparations for the IPO underway, however, market
       providers as “hav [ing] the network scale                   conditions began to deteriorate and, as of June 24, 2000, at
       and on-network traffic to offer their customers             the recommendation of the investment bankers retained to
       connectivity to virtually all addresses on the              underwrite the IPO, GTE and Bell Atlantic publicly hoped
       [I]nternet, either directly through their [I]nternet
                                                                   for an offering price of $12 to $15 per share. 7 By June 28,
       backbone or through cost-free, high speed private
                                                                   2000, however, market conditions had deteriorated further
       connections to other Tier 1 Internet backbones.”
                                                                   such that the company settled upon an $11 per share offering
       Compl. ¶ 2.
                                                                   price, which would generate approximately $1.9 billion in
 *2 In July 1998, GTE and Bell Atlantic Corporation                proceeds. Notwithstanding these changes, plaintiffs allege,
(“Bell Atlantic”) announced a proposed merger, which would         Genuity neither altered its business plan nor disclosed in its
combine the two companies into what is now known as                Prospectus that the plan “was severely underfunded as a result
Verizon. As part of the merger, and in response to objections      of raising only $1.9 billion [through] the IPO.” Compl. ¶
by the Federal Communications Commission (“F.C.C.”),               6. The IPO was eventually conducted on June 28, 2000 at
GTE and Bell Atlantic determined that GTE Internetworking          an offering price of $11 per share and, as expected, raised
would be spun off to create an independent company,                approximately $1.9 billion in proceeds.
Genuity. 6 Pursuant to the spin-off plan, Genuity would
conduct an IPO that would give the public over 90.5% of            7      The Complaint alleges that this offering price was
the Class A voting equity stock and Verizon (the merged                   disclosed in the financial press on June 24, 2000.
company) approximately 10% of the Class A stock and 95%
of the Class B stock. Under the plan, once Verizon obtained        III. Events Subsequent to the IPO
requisite approvals from state telecommunications regulators,



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From early June 2000 through September 2000, GTE and Bell           from either the banks [that provided the September 5, 2000
Atlantic worked with their existing bank lenders, including         Loan] or Verizon.” Compl. ¶ 16. Genuity's stock, which,
Smith Barney's “sister company,” Citibank, N.A., to obtain          according to the Complaint, had been trading as high as $70
a credit facility for Genuity. On September 5, 2000, a $2           per share in early 2001, was trading for pennies per share at
billion credit facility (the “September 5, 2005 Loan”) was          the time that bankruptcy was declared.
established by a consortium of banks under an agreement that
also provided that an event of default would occur at such          8      The Complaint alleges that Deutsche Bank, one
time, if ever, as Verizon was no longer in a position to exercise          of the lenders involved in the September 5,
its option to regain control of Genuity.                                   2000 Loan, refused to forward its portion of the
                                                                           requested $850 million “because it believed that
Immediately following the IPO, according to the Complaint,
                                                                           Genuity requested the funds only because Genuity
Genuity began to expend capital in accordance with its
                                                                           knew that Verizon was backing out of its plan to
preexisting business plan at a rate of approximately $400
                                                                           reacquire [Genuity].” Compl. ¶ 15. On July 23,
million per quarter. As part of that spending plan, Genuity
                                                                           2002, Deutsche Bank sent a letter to Genuity asking
launched a $20 million marketing and advertising campaign
                                                                           whether Genuity had any reason to believe that
in September 2000 promoting its “Black Rocket” product,                    Verizon was no longer interested in reacquiring
which, according to promotional materials, would bundle key                Genuity. Genuity did not answer Deutsche Bank's
Internet infrastructure into one fully integrated package for              letter and instead filed a breach of contract lawsuit
mid- to large-sized businesses. To entice potential buyers of              against Deutsche Bank.
the product, Genuity guaranteed that, once ordered, Black
Rocket would be delivered within 10 business days or the
                                                                    IV. The Alleged Misrepresentations
buyer would be credited for all installation fees. Additionally,
                                                                    Plaintiffs assert two claims for relief. Claim One alleges that
Genuity guaranteed that Black Rocket customers would
                                                                    the Individual Defendants and Smith Barney violated § 10(b)
receive credits to their accounts if their product did not have
                                                                    of the Securities Exchange Act of 1934 (the “1934 Act”),
“up-times” of at least 99.9%.
                                                                    15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R.
                                                                    § 240.10b-5, when the IPO statements and the post-IPO
 *3 In March 2001, in order to obtain more needed capital,
                                                                    statements were issued. Claim Two alleges that the Individual
Genuity secured a $500 million loan from defendant Verizon
                                                                    Defendants and Verizon are liable for the alleged misleading
(the “Verizon Loan”). In September 2001, the parties to the
                                                                    statements as a result of their status as “controlling persons”
Verizon Loan amended the loan to make up to $2 billion
                                                                    within the meaning of § 20(a) of the 1934 Act, 15 U.S.C.
available to Genuity. As with the September 5, 2000 Loan,
                                                                    § 78t(a). Before discussing defendants' arguments in support
the Verizon Loan provided for cancellation if Verizon did not
                                                                    of dismissal, we briefly outline the statements that plaintiffs
maintain its option to reacquire control of Genuity.
                                                                    allege were misleading.

By the end of 2001, plaintiffs allege that Genuity was facing
serious financial difficulties as a result of low revenues,            A. The IPO Statements
failing sales programs, retention of obsolete equipment and         As mentioned above, plaintiffs contend that the Prospectus
continued significant capital expenditures under the business       and the pre-IPO Registration Statement (and amendments
plan. On July 21, 2002, Genuity's board of directors held a         thereto), were misleading because they failed to disclose
Sunday night meeting at which it was decided that Genuity           to potential investors that the IPO offering price was
would draw down the remaining $850 million available to             substantially lower than had initially been anticipated and that
it under the September 5, 2000 Loan. 8 On July 24, 2002,            Genuity's business plan-and particularly its planned capital
Genuity announced publicly that Verizon had cancelled its           expenditures-had not been modified to take into account the
option to reacquire control over Genuity and terminated the         substantially lessened initial capital that would be available
Verizon Loan. Finally, on November 27, 2002, Genuity filed          to the company at the eventual offering price. In support
for Chapter 11 bankruptcy protection. Plaintiffs allege that the    of this argument, plaintiffs rely primarily on the Disclosure
bankruptcy filing was due to Genuity's “inability to recover        Statement that Genuity filed with the bankruptcy court on
from the drastically underfunded IPO, its continued high rate       October 2, 2003. That statement reads in relevant part as
of capital expenditures, and its inability to acquire capital       follows:



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                                                                     reintegrated into Verizon as soon as Verizon obtained the
   *4 In early 1999, GTE Internetworking developed a                 requisite 271 Approvals.
  business plan for the expansion of the GTE/BBN Internet
  business. As merger planning between GTE and Bell                  By June of 2000, owing to further decline of the
  Atlantic progressed, the parties decided that the merged           industry and the capital markets, the investment bankers
  company would, as part of its overall business strategy,           recommended a final price for the IPO of $11 per share,
  enter into direct competition with AT & T, Sprint                  which would provide Genuity Inc. with only $1.9 billion of
  UUNet (a subsidiary of MCI Worldcom) and others to                 initial equity capital, or 40% of the sum anticipated when
  provide data transmission and Internet backbone services.          GTE and Bell Atlantic formulated the Genuity Inc. Group's
  Accordingly, the merged GTE and Bell Atlantic would                business plan. Notwithstanding this further reduction in the
  require construction of a far larger telecommunications            equity capitalization of Genuity Inc., GTE and Bell Atlantic
  network than GTE Internetworking had originally been               did not make any attempt to alter the Genuity Inc. Group's
  contemplating. The two companies developed this new,               business plan or to defer the IPO. Nor did GTE and Bell
  expanded business plan through the summer and fall of              Atlantic contribute any additional equity capital to Genuity
  1999, in order to start construction of the expanded network       Inc. to compensate for the shortfall in IPO proceeds and
  as soon as they consummated their merger. The companies            initial capitalization. On June 27, 2000, the Genuity Inc.
  planned to spend $11-13 billion in capital within five years       board of directors approved the $11 per share IPO pricing,
  to build its business and network with over 500 POPs.              and the IPO was consummated on June 30, 2000. 9
  In early 2000 the GTE board of directors approved this
  business plan for the GTE Internetworking business....         9        The other submissions in this case indicate that the
  As described above, Genuity Inc.'s business plan                        IPO actually occurred on June 28, 2000.
  contemplated $11-13 billion of capital expenditures over
  five years. To fund this plan, Bell Atlantic and GTE               *5 Immediately after the IPO, the Genuity Inc. Group
  began discussions with investment bankers in the spring of        began its capital expenditure program in accordance with
  2000 with a view toward raising $4.3 billion in an initial        its business plan. This caused the Genuity Inc. Group to
  public offering of Genuity Inc. stock (the “IPO”), which          spend cash at the rate of approximately $400 million per
  was to remain with Genuity Inc. as the foundation of its          quarter. At this rate, given its paid-in capital, the Genuity
  capitalization. The $4.3 billion target was based on an           Inc. Group would have exhausted its cash in little more
  estimated IPO price of about $25 per share.                       than 12 months. The Genuity Inc. Group's business plan,
                                                                    as GTE and Bell Atlantic had approved it, contemplated
  With preparations for the IPO underway, the market                that Genuity Inc. would have to raise additional funds in
  for equity in telecommunications and Internet-based               the debt markets to supplement what was expected to be an
  businesses began to deteriorate. At the recommendation of         initial equity capitalization of $4.3 billion.
  their investment bankers, GTE and Bell Atlantic lowered           Murphy Decl., Ex. F at 12-13.
  the target IPO share price to a range of $12-15 per            Relying on the Disclosure Statement, plaintiffs argue
  share. Notwithstanding the lower-than-expected IPO price       that Genuity's allegedly undisclosed business plan was
  and the corresponding reduction in the initial equity          “predicated” and “dependent” on “initially raising $4.3 billion
  capitalization of Genuity Inc., GTE and Bell Atlantic          through the IPO.” Compl. ¶¶ 17, 65, 69, 189. Plaintiffs allege
  did not change the terms of the Genuity IPO Spin-              that the business plan “contemplated Genuity's construction
  Out. GTE and Bell Atlantic did not cancel the IPO,             of a massive telecommunications network that would be
  because accomplishing the Genuity IPO Spin-Out was             reintegrated into Verizon as soon as Verizon obtained the
  an absolute necessity and precondition to consummating         requisite 271 approvals from state regulators,” id. ¶ 19, and
  the merger of GTE and Bell Atlantic. Nor did GTE and           thus called for Genuity to spend capital “at a rate of $400
  Bell Atlantic alter the Genuity Inc. Group business plan,      million per quarter,” id. ¶ 11. The Complaint further alleges
  in part because they had sought approval of the merger         that Genuity's business plan required an initial “foundational”
  from their respective shareholders based on a business         capital infusion of the intended $4.3 billion from the IPO
  plan that contemplated the Genuity Inc. Group constructing     to “enable[ ] Genuity to pursue its Business Plan for almost
  a massive telecommunications network that would be             three years without the necessity of having to raise additional
                                                                 funds during that period and limit[ing] its need to obtain


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additional financing from other sources,” Compl. ¶ 17. In            be earned and realizable in order for a company to recognize
contrast, plaintiffs argue, the $1.9 billion that the IPO actually   it.” Compl. ¶ 138.
generated would last the company approximately twelve
months at the planned expenditure rate. See id. ¶ 11. As             Second, and relatedly, plaintiffs allege that Genuity
a result, plaintiffs contend, Genuity's business plan was            improperly recognized revenue in connection with “last
undercapitalized from the beginning and the IPO statements           minute deals” in which, in order to “bridge the gap between
were materially misleading because they failed to disclose           the company's forecasted sales and its actual sales,” Genuity
these facts to potential investors.                                  would enter into sales agreements with customers either (i)
                                                                     at the end of a quarter or (ii) at the beginning of a quarter
                                                                     but “backdate” the contracts to reflect a signing during the
   B. The Post-IPO Statements                                        previous quarter. Compl. ¶¶ 141-43. These techniques were
Plaintiffs also allege that defendants made various false or         improper, plaintiffs allege, because, although Genuity would
misleading statements in the wake of the IPO and leading up          recognize the revenue on these contracts during the period
to Genuity's bankruptcy in November 2002. The statements             in which they purported to be signed, the revenue associated
alleged to be false or misleading were made, for the most            with them was not properly realizable because customers
part, in interviews with the press, press releases and S.E.C.        “had the ability to cancel the agreement[s] and in fact often
filings. They are also numerous, but it is unnecessary               did cancel these agreements.” Id. ¶ 142. Moreover, plaintiffs
to recount each statement individually here because all              allege, recognizing revenue on these contracts at the time of
of plaintiffs' post-IPO allegations essentially reduce to            signing was improper because “the customer was not required
four claims, namely: (i) Genuity's statements about its              to pay anything until the services were actually delivered.”
financial condition throughout the putative class period were        Id. ¶ 143.
misleading because Genuity was improperly recognizing
revenue in violation of GAAP; (ii) Genuity's statements              Third, plaintiffs allege that Genuity engaged in an improper
about its financial condition in 2001 were misleading because        “dark fiber swap” with Qwest, another Internet service
Genuity improperly delayed taking an impairment charge               provider, in the first quarter of 2001. Compl. ¶¶ 27, 144-49.
on allegedly outdated networking equipment for several               The alleged transaction involved an exchange between the
months; (iii) Genuity's optimistic representations regarding         companies of “very large ... fiber optical capacity assets for
its Black Rocket product were misleading because they                a period of 99 years.” Id. ¶ 144. The capacity exchanged
were unrealistic; and (iv) Genuity's statements about its            “was dark fiber and was not anticipated to be lit up for the
network capabilities were misleading because Genuity's
                                                                     foreseeable future.” Id. ¶ 145. 10 Plaintiffs contend that, since
actual network capabilities were substantially less than the
                                                                     the exchange “did not involve the culmination of an earnings
company publicly represented them to be.
                                                                     process,” the proper GAAP treatment of the transaction
                                                                     would have been for Genuity “to record the asset received
   1. Improper Revenue Recognition                                   at the carrying value of the asset transferred.” Id. ¶ 147.
 *6 Plaintiffs allege that numerous statements made by               Allegedly in violation of GAAP, however, Genuity treated the
Genuity in its financial statements and in the press regarding       exchange as two separate transactions whereby the company
the company's financial health were misleading because the           first recognized earnings associated with the transfer of its
company was improperly recording revenue under GAAP.                 capacity to Qwest and then recorded an asset purchase in the
The alleged GAAP violations occurred in at least four distinct       same dollar amount for the capacity it received from Qwest,
ways. First, plaintiffs allege that Genuity recognized revenue       even though no money actually changed hands. 11 Plaintiffs
on sales contracts at the time the contracts were signed             allege that Genuity's treatment of the transaction “wrongly
rather than when the products at issue were delivered, “even         inflated Genuity's revenue for this period.” Id. ¶ 149. 12
though the contracts could be, and often were, cancelled”
by Genuity's customers. Compl. ¶ 138. Plaintiffs also allege         10      The Complaint does not define the terms “dark
that Genuity improperly recognized revenue on “multi-year”
                                                                             fiber” or “lit up.” We assume for our purposes here
contracts in full at the time the contracts were signed
                                                                             that plaintiffs mean that the fiber optical capacity
rather than deferring revenue to later periods in which
                                                                             exchanged did not carry Internet traffic.
revenue would actually be realized. Plaintiffs allege that these
practices “violated the basic GAAP concept that revenue must


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11                                                                 of routing and switching equipment to supply future orders.
        Plaintiffs allege that Qwest subsequently
                                                                   Plaintiffs further allege that, by early 2001, $30-$50 million
        acknowledged that the proper accounting treatment
                                                                   worth of the equipment was sitting in Genuity's “data centers”
        of transactions such as this was to “record [ them]
                                                                   unused, and it was apparent that “large amounts” of Genuity's
        as exchanges of similar productive assets based on
                                                                   stockpiled networking equipment had become “outdated and
        the carrying value of the optical capacity assets that
                                                                   obsolete,” Compl. ¶ 31, in part because demand was shifting
        we[re] provided in the exchanges.” Compl. ¶ 148.
                                                                   away from dial-up services to DSL and cable modem services,
        Plaintiffs further allege that the S.E.C. filed civil
        charges against Qwest's executives “for their roles        id. ¶ 167.
        in an array of questionable deals, including deals
        between Qwest and Genuity,” and that “Qwest's              Citing the Financial Accounting Standards Board's (“FASB”)
        accounting further led to a criminal investigation by      Statement of Financial Accounting Standard (“SFAS”) No.
        the Department of Justice and an investigation by          121, plaintiffs argue that Genuity was required to record
        the House Committee on Energy and Commerce.”               an impairment charge “whenever events or changes in
                                                                   circumstances indicate that the carrying amount of an asset
        Id. ¶ 150.
                                                                   may not be recoverable.” Plaintiffs contend that, as a result
12                                                                 of Genuity's networking equipment becoming “outdated and
        Plaintiffs also allege that, in the third quarter of
        2000, Genuity engaged in a transaction with Qwest          obsolete,” demand for Genuity's services declined rapidly
        whereby Genuity acquired modems, equipment                 and it became apparent in early 2001 that Genuity would
        and services for $260 million and Qwest paid               not recover the carrying amounts of a significant portion
        Genuity a “bonus” of $4 million for closing the            of its stockpiled equipment. Nevertheless, plaintiffs contend,
        transaction before the end of the quarter. Plaintiffs      Genuity improperly waited to record the $2.6 billion charge
        allege that Qwest's accounting treatment of its            until the fourth quarter of 2001. 13
        receipt of the $260 million was of a “questionable
        nature.” It is unclear how, if at all, these allegations   13     The Complaint states that the reason Genuity
        relate to plaintiffs' claims against Genuity.
                                                                          waited to record the impairment charge was that
 *7 Finally, plaintiffs allege that revenue was improperly                the company was seeking $2.3 billion in financing
recognized on “fictitious” sales invoices. Plaintiffs contend             from Verizon and various banks in 2001 and that
that the Individual Defendants encouraged its sales staff to              “Genuity would not have been able to obtain this
submit bogus invoices by instituting a policy whereby sales               additional $2.3 billion of financing in 3Q01 if it had
staff would be paid commissions in full upon submission of                properly accounted for its impaired assets.” Id. ¶
an invoice and then, if the order was subsequently cancelled,             166.
charged the amount of the commission from the employee's
next paycheck. Moreover, according to a “former Genuity               3. Statements Concerning Black Rocket
Partner Manager, ... several sales people submitted sizeable       The third class of alleged misrepresentations concern
fictitious sales orders and then resigned from Genuity before      Genuity's Black Rocket product. As noted earlier, Black
the orders were provisioned.” Id. ¶ 154-55. Plaintiffs contend     Rocket was a packaged bundle of Internet services aimed to
that Genuity's recognition of revenue associated with such         serve mid- to large-sized business. As also mentioned above,
sales orders was improper because the revenue was not              Genuity guaranteed to its customers that it would either
realizable.                                                        deliver Black Rocket within 10 days of a customer's order or
                                                                   credit all of the customer's installation fees. According to the
                                                                   Complaint, the product had an “average price tag of $100,000
   2. Delayed Impairment Charge on Long-Lived Assets
                                                                   to $1 million.” Compl. ¶ 12.
Plaintiffs' second post-IPO claim is that Genuity's statements
regarding its financial condition in 2001 were misleading
                                                                    *8 The Complaint alleges that, for several reasons, Genuity's
because Genuity improperly delayed taking a $2.6 billion
                                                                   public statements about Black Rocket were misleading. First,
impairment charge on various networking equipment until the
                                                                   plaintiffs allege that Genuity's optimistic statements about
fourth quarter of 2001 that should have been taken in “late
                                                                   Black Rocket's market potential were misleading because
2000/early 2001.” Compl. ¶¶ 157-68. Plaintiffs allege that, in
                                                                   the networking technology on which Black Rocket was
late 2000, Genuity bulk purchased millions of dollars worth
                                                                   based was quickly becoming obsolete at the time Black


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Rocket was being ramped up. Second, plaintiffs contend           that plaintiffs have failed to plead with sufficient particularity
that statements touting Genuity's 10-day delivery guarantee      and that, even if plaintiffs' allegations were sufficiently
were misleadingly unrealistic because of the time-consuming      particularized, defendants' statements are protected under
complexity and amount of work involved in designing,             the PSLRA's safe harbor provision for forward-looking
building, installing, testing and delivering each customized     statements, see 15 U.S.C. § 78u-5(c). Defendants argue
Black Rocket product to each individual customer. Third,         further that plaintiffs have failed adequately to plead scienter
plaintiffs allege, while Genuity represented to the public       or “loss causation,” both of which are required under the
that Black Rocket sales were “extremely profitable,” the         PSLRA. Finally, Verizon argues that the claims against it
company actually “was unable to determine the costs of           should be dismissed both because Verizon did not “control”
each Black Rocket installation due to the high level of          Genuity within the meaning of § 20(a) of the 1934 Act and
customization required, which caused the costs associated        because Verizon is not alleged to have been a “culpable
with each Black Rocket project to vary greatly.” Compl. ¶        participant” in any wrongdoing. On July 28, 2005, the Court
36. Fourth, plaintiffs allege that Genuity's representations     heard oral argument.
regarding demand for and customer acceptance of Black
Rocket were misleading because “the Black Rocket service          *9 For the reasons discussed below, we dismiss plaintiffs'
offering was neither competitive nor successful due to lack of   complaint in its entirety on the ground that, with respect
customer demand, the unrealistic installation guarantees, and    to each alleged misrepresentation, plaintiffs have failed
the fact that Genuity had over-purchased huge stockpiles of      adequately to plead falsity, scienter and/or “loss causation.”
equipment in anticipation of demand that failed to materialize
and which quickly became outdated.” Id. ¶ 37.

                                                                                          DISCUSSION
   4. Statements Concerning Genuity's Network Capabilities
                                                                 In considering defendants' motions to dismiss, the Court
The last category of alleged misrepresentations is Genuity's
                                                                 may consider the Complaint as well as documents on which
public statements about its fiber network capacity. According
                                                                 plaintiffs clearly relied in drafting the Complaint, such as the
to the complaint, Genuity made public statements about
                                                                 Prospectus and the Disclosure Statement. See, e.g., Chambers
“the substantial progress of its network build-out.” Compl.
                                                                 v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.2002). We
¶ 38. Plaintiffs allege that these statements were false
                                                                 must accept as true all material factual allegations in the
because “on multiple occasions Genuity built temporary,
                                                                 Complaint. Levy ex rel. Immunogen Inc. v. Southbrook Int'l
non-functional structures.” Id . Moreover, plaintiffs contend,
                                                                 Invs., Ltd., 263 F.3d 10, 14 (2d Cir.2001). A motion to dismiss
“[a]fter the phony sites were erected and announcements
                                                                 may be granted only where “it appears beyond doubt that the
about their completion were made, Genuity tore them down.”
                                                                 plaintiff can prove no set of facts in support of his claim which
Id. Plaintiffs allege that, as of mid-2001, only 10% of
                                                                 would entitle him to relief.” Still v. DeBuono, 101 F.3d 888,
Genuity's fiber network was “actually lit” and that “the
                                                                 891 (2d Cir.1996) (quoting Conley v. Gibson, 355 U.S. 41,
majority of Genuity's fiber network was incapable of carrying
                                                                 45-46, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). In evaluating the
network traffic.” Id. ¶ 39.
                                                                 Complaint under this standard, we first address plaintiffs' IPO
                                                                 claims.
V. Defendants' Motions to Dismiss
All defendants have moved to dismiss on the ground
                                                                 I. The IPO Statements
that plaintiffs have neither stated a claim for relief under
                                                                 Defendants argue that the IPO statements were not misleading
Fed.R.Civ.P. 12(b)(6) nor pleaded with adequate particularity
                                                                 because they did not omit any fact required to be disclosed
under Fed.R.Civ.P. 9(b) and the PSLRA. All defendants argue
                                                                 under the securities laws. Defendants argue further that the
that the IPO statements were not misleading as a matter of
                                                                 “bespeaks caution” doctrine precludes liability because the
law both because the securities laws did not require Genuity
                                                                 Prospectus adequately informed plaintiffs of the risks of
to disclose prior targeted offering prices that it had chosen
                                                                 which they now complain. We agree that, under either of these
not to pursue in the actual IPO and because the Prospectus
                                                                 rationales, plaintiffs' IPO claims must fail.
adequately warned plaintiffs of the risks and facts that
plaintiffs now contend materialized and caused them harm.
With respect to the post-IPO statements, defendants argue


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The securities laws affirmatively require the disclosure of              $400 million per quarter that plaintiffs allege was
information that may “render[ ] prior public statements                  actually spent.
materially misleading.” San Leandro Emergency Medical
Group Profit Sharing Plan v. Philip Morris Cos., Inc., 75           • “We currently intend to spend $11 billion to $13 billion
F.3d 801, 810 (2d Cir.1996) (quoting In re Time Warner                 over the five-year period ending December 31, 2004,
Inc. Securities Litigation, 9 F.3d 259, 268 (2d Cir.1993)).            of which approximately $1.8 billion to $2.0 billion is
Under the facts alleged in the present case, the relevant              expected to be spent during 2000, on the continued
inquiry is essentially the same as that required under the             expansion of our network infrastructure and other capital
“bespeaks caution” doctrine, which holds that misstatements            expenditures.” Id. at 10.
in the context of a stock offering are immaterial as a              Second, it was disclosed exactly how much capital the IPO
matter of law when “it cannot be said that any reasonable              would raise:
investor could consider them important in light of adequate
cautionary language set out in the same offering.” Halperin              • “We estimate that the net proceeds from our sale of
v. eBanker USA.com, Inc., 295 F.3d 352, 357 (2d Cir.2002);                  the 173,913,000 shares of Class A common stock
see also P. Stolz Family Partnership L.P. v. Daum, 355                      we are offering at the initial public offering price
F.3d 92, 96 (2d Cir.2004) (“A defendant may not be                          of $11.00 per share will be approximately $1.8
liable ... for misrepresentations in a prospectus if the alleged            billion.” Id. at 21.
misrepresentations were sufficiently balanced by cautionary
                                                                    Third, it was disclosed at what rate the IPO proceeds would
language within the same prospectus such that no reasonable
                                                                      be spent and that, at the intended spending rate, the
investor would be misled about the nature and risk of the
                                                                      proceeds would be completely depleted in a matter of
offered security.”).
                                                                      months:

The required analysis comprises two steps: first, we must                • “Of the net proceeds of this offering, we intend to use
identify the risk that plaintiffs allege was not disclosed in the           approximately $1.5 billion for capital expenditures,
IPO statements; second, we examine the IPO statements “to                   including approximately $1.2 billion in connection
determine if a reasonable investor could have been misled into              with the expansion of our fiber network and
thinking that the risk that materialized and resulted in [the]              approximately $300 million for expansion of our
loss did not actually exist.” Halperin, 295 F.3d at 359.                    product lines for delivery of advanced data services
                                                                            to our customers.” Id. at 21.
 *10 The allegedly undisclosed risk in this case was that
the IPO would not provide Genuity with sufficient capital to             • “In the near term, we believe that the proceeds from
proceed with its business plan. Even a cursory examination                  this offering ... should be sufficient to meet our cash
of the Prospectus, however, reveals that this risk and the facts            needs through the first quarter of 2001.” Id. at 34.
underlying it were fully disclosed to potential investors. First,
it was disclosed exactly how much cash the business plan            Fourth, it was emphasized that significant capital in
required Genuity to spend and at what rate:                           addition to the IPO proceeds would be needed and that, if
                                                                      additional funding was not obtained, Genuity's business
  • “Our capital expenditures program, as currently                   would suffer:
    contemplated, will require between $11 billion and $13
    billion during the five-year period ending December 31,              • “We will need significant additional capital to fund
    2004, the majority of which will be for the expansion of                our business plan and achieve profitability.” Id. at
                                                                            10.
      our network infrastructure.” Pratt Decl., Ex. B at 9. 14
                                                                         • “We may be unsuccessful in raising sufficient capital
14                                                                          on terms that we consider acceptable, when needed
        In fact, the estimated $11 billion to $13 billion,
        evenly spread over the five-year period ending                      or at all. If this happens, we would have to delay
        December 31, 2004, would require an expenditure                     or abandon our development and expansion plans,
        rate of between $550 million and $650 million                       which would adversely affect our competitive
        per quarter, a sum that substantially exceeds the                   position.” Id.




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In light of these disclosures, it is hard to imagine what          capital expenditures in excess of $400 million per quarter,
could have further been said to complete the picture of            the $1.9 billion that the IPO would generate, the scheduled
Genuity's financial situation. It had to have been perfectly       depletion of those proceeds in short order and the necessity
clear to anyone who read the Prospectus that the initial capital   to immediately seek additional debt financing to cover the
infusion from the IPO would soon be gone and that Genuity          gap between the capital generated through the IPO and
would have to rely on the capital markets to obtain the            that required under the business plan-were fully disclosed.
additional financing that its business plan required. 15           Moreover, plaintiffs acknowledge that several of the alleged
                                                                   “insiders” in this case-the Individual Defendants, Verizon
15                                                                 and Smith Barney's parent, Citigroup-themselves acquired
        Plaintiffs make much of the fact that, in connection
                                                                   significant portions of Genuity's public stock. 18 Verizon,
        with a motion filed on behalf of Genuity in
                                                                   Citigroup and a consortium of other sophisticated banks
        the bankruptcy court to have a settlement of
                                                                   further loaned Genuity billions of dollars shortly after the IPO
        claims against Verizon approved, the Individual
                                                                   and throughout the duration of the company's solvency. And,
        Defendants' attorneys, Ropes & Gray LLP, stated
                                                                   up until shortly before Genuity's initial bankruptcy filing,
        that they believed Genuity had a “potentially
                                                                   Verizon is alleged to have intended to reacquire control of
        viable” breach of fiduciary duty claim against
                                                                   the company. These circumstances suggest in the strongest
        Verizon based on Genuity's inadequate initial
                                                                   of terms that sophisticated investors with the most intimate
        capitalization. Pl. Opp'n at 13-14. Plaintiffs attach
                                                                   knowledge of Genuity's business plan and capitalization had
        inordinate significance to this statement, however.
        For one thing, a claim for breach of fiduciary             confidence in the company's future and certainly did not think
        duty against Verizon, even if viable, would not            that the company was “undercapitalized” as plaintiffs use that
        imply that Genuity had made false statements in            term. 19
        its IPO documents. For another, in the brief on
        which plaintiffs base their argument, Ropes & Gray         16     Plaintiffs conceded at oral argument that the
        ultimately concluded that:                                        previous target of $25 per share, which
             The shareholders of Genuity likely would                     undoubtedly was a moving one in the months
             have an extremely difficult time stating a                   preceding the IPO, was not required to be disclosed
             claim for breach of fiduciary duty due to                    in the Prospectus. Plaintiffs further conceded that
             undercapitalization, because the registration                any sophisticated investor would have known that
             statement filed with the SEC, and the                        market conditions in the months preceding the IPO
             prospectus distributed to investors, at the                  would have allowed a higher offering price for
             time of the Genuity IPO contained extensive                  Genuity shares than the $11 that was ultimately
             disclosure of the risk factors concerning                    obtained.
             Genuity's business plan and capitalization
                                                                   17
             and the shareholders purchased their shares                  In this vein, plaintiffs referred the Court during
             anyway. Any breach of fiduciary duty claim                   oral argument to the Fifth Circuit's decision in
             would, therefore, have to be brought on behalf               Matter of Mobile Steel Company, which defined
             of Genuity's creditors.                                      “undercapitalization” as a condition that exists
           Olsen Decl., Ex B at 28.                                       “if, in the opinion of a skilled financial analyst,
                                                                          [existing capital] would definitely be insufficient
 *11 Plaintiffs maintain, however, that the Prospectus
                                                                          to support a business of the size and nature of the
failed to disclose that Genuity's business plan was
                                                                          [company at issue] in light of the circumstances
“undercapitalized” in the sense that it was “predicated”
                                                                          existing at the time the [company] was capitalized.”
on raising $4.3 billion (the amount resulting from an IPO
                                                                          563 F.2d 692, 703 (5th Cir.1977). Plaintiffs argue
at $25 per share) in an IPO 16 and that skilled investors
                                                                          that the “bespeaks caution” doctrine does not apply
knowing all of the relevant facts about the business plan
                                                                          in the present case because the gravamen of their
would have concluded that the company was doomed to
                                                                          IPO claim is the alleged failure of the Prospectus
failure from the start. 17 This argument simply is not tenable            to disclose the “present fact” that the company's
given that all of the operative facts-the business plan's                 business plan was “undercapitalized” under Matter
overall capital requirement of $11 billion to $13 billion with            of Mobile Steel Company' s definition, not that


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        the Prospectus failed to disclose the “future risk”       plaintiffs have devised a contorted claim of failure to disclose
        that Genuity would fail due to insufficient capital.      a so-called business plan, which is simply unsupported
        See Pl. Opp'n at 7-10 (citing P. Stolz Family             by the documents on which they rely. For the reasons
        Partnership L.P., 355 F.3d at 97 (holding that            stated above, plaintiffs' claim that the IPO statements were
        “bespeaks caution” doctrine applies to warnings           fraudulent is dismissed for failure adequately to allege any
        about risks of future contingencies, not to               material misrepresentation. 20 We now turn to the post-IPO
        representations of “[h]istorical or present fact”)).      statements.
        Apart from the obvious question of whether there
        is a meaningful distinction between these concepts        20     Plaintiffs clarified at oral argument that their claim
        under the facts alleged here, there is, for the reasons
                                                                         against defendant Smith Barney is based solely on
        discussed above, little support in the Complaint
                                                                         the IPO statements, not on the post-IPO statements.
        or in plaintiffs' other submissions for the notion
                                                                         Accordingly, Smith Barney must be dismissed as
        that, at the time of the IPO, “skilled financial
                                                                         a defendant for the reasons stated above, and
        analysts” thought that Genuity's capitalization
                                                                         the discussion that follows applies only to the
        would preclude viability.
                                                                         allegations against the Individual Defendants and
18                                                                       Verizon.
        Indeed, Citigroup and Verizon together acquired
        approximately 21.5% of the publicly traded shares.
                                                                  II. The Post-IPO Statements
19      These facts also compel the conclusion that               Defendants seek to dismiss all of plaintiffs' post-IPO claims
        defendants did not act with the scienter that is          on numerous grounds, including that the Complaint fails to
        required under the securities laws. See Part II.C,        plead fraud with adequate particularity, that scienter is not
        infra. Indeed, it would have made no economic             sufficiently pleaded and that the PSLRA's “loss causation”
        sense for defendants to invest literally billions of
                                                                  requirement is not satisfied. 21
        dollars in a venture that they knew would fail.
Finally, and perhaps most tellingly, plaintiffs' fundamental      21     Before evaluating these arguments, however, it is
premise that Genuity had an undisclosed “business plan” that
                                                                         worth noting that the Complaint makes clear that
was “predicated” on a “foundational” infusion of $4.3 billion
                                                                         the IPO claim, which we have just dismissed, is
in IPO proceeds is a misreading of the Disclosure Statement.
                                                                         the lynchpin of plaintiffs' case in terms of the
According to that statement, upon which plaintiffs stated
                                                                         defined class, which includes “all purchasers of the
at oral argument their premise is entirely based, Genuity's
                                                                         publicly traded securities of Genuity ... during the
“new, expanded business plan” was “developed ... through the
                                                                         period from June 28, 2000 through November 27,
summer and fall of 1999.” Murphy Decl., Ex. F at 11. The
                                                                         2002.” Compl. ¶ 1. There is no delineation in the
Disclosure Statement also states, however, that the original
                                                                         Complaint of any subclass related to any of the
$4.3 billion IPO figure was not even contemplated until
                                                                         post-IPO statements. Yet the majority of the post-
months later, when “Bell Atlantic and GTE began discussions
                                                                         IPO allegations, even if sufficiently pleaded, would
with investment bankers in the spring of 2000” about a
                                                                         be applicable to only discrete and very narrow
possible IPO. Id. at 12. The Disclosure Statement clarifies,
                                                                         classes, if any.
moreover, that “the $4.3 billion target was based on an
estimated IPO price of about $25 per share” and thus was not
                                                                     A. Particularity
some predetermined figure that Genuity's analysts determined
                                                                  Defendants' principal objection to the post-IPO claims is
was necessary to fund the business plan. Id. As defendants
                                                                  that plaintiffs fail to plead the existence of fraudulent
pointed out during oral argument, the “business plan” was
                                                                  misrepresentations with the particularity required by
thus a spending plan and appears not to have contemplated
                                                                  Fed.R.Civ.P. 9(b) and the PSLRA. We agree that the majority
sources of capital, “foundational” or otherwise.
                                                                  of plaintiffs' allegations lack the requisite particularity and
                                                                  therefore must be dismissed.
 *12 Faced with the numerous financial disclosures in
the IPO statements and acknowledging that there is no
disclosure requirement for earlier hoped for IPO share prices,      1. The Legal Standard



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Where a complaint alleges fraud, Fed.R.Civ.P. 9(b) requires
that “the circumstances constituting fraud ... shall be stated          2. Improper Revenue Recognition
with particularity.” Where a complaint alleges securities fraud      Despite the Complaint's purported reliance on former Genuity
as a result of misleading public statements, the PSLRA               employees and corporate insiders, plaintiffs' allegations
requires that the complaint “specify each statement alleged          regarding improper revenue recognition are exceedingly
to have been misleading, the reason or reasons why the               general and do not explain with any specificity what effect the
statement is misleading, and, if an allegation regarding the         alleged conduct had on the company's statements regarding
statement or omission is made on information and belief, the         its financial health. For example:
complaint shall state with particularity all facts on which that
                                                                       • Plaintiffs allege that recognizing revenue at the time
belief is formed.” 15 U.S.C. § 78u-4(b)(1).
                                                                         Genuity's contracts were signed was improper under
                                                                         GAAP because “most customers” had “cancellation
What these rules mean in the context of a fraudulent
                                                                         rights” that were “often” exercised, Compl. ¶ 21, but
misrepresentation claim under Rule 10b-5 is that plaintiffs
                                                                         plaintiffs do not allege which customers cancelled, what
must “(1) specify the statements that [they] contend[ ] were
                                                                         kinds of “cancellation rights” were retained, by whom
fraudulent, (2) identify the speaker, (3) state where and
                                                                         they were retained or how much revenue was improperly
when the statements were made, and (4) explain why the
                                                                         recognized as a result.
statements were fraudulent.” Novak v. Kasaks, 216 F.3d
300, 306 (2d Cir.2000) (internal citation omitted). While the          • Plaintiffs allege that “[i]n many instances, ... last minute
particularity mandates of Fed.R.Civ.P. 9(b) and the PSLRA do              agreements were cancelled in the following quarter,” id.
not require plaintiffs to plead “every single fact upon which             ¶ 142, but plaintiffs do not explain which agreements
their beliefs concerning false or misleading statements are               were cancelled or how much revenue was recognized as
based,” Novak, 216 F.3d at 313, they do require plaintiffs                a result.
to plead facts “sufficient to support a reasonable belief as
to the misleading nature of the statement[s] or omission[s],”          • Plaintiffs allege that “Genuity would recognize revenue
id. at 314 n. 1. Where improper accounting under GAAP is                  from multi-year contracts in full upon the signing of
alleged, moreover, plaintiffs “must provide at the very least             the contract,” id. ¶ 140, but they do not explain how
some level of detail about the improper accounting alleged to             often this was done, by whom or how much revenue was
underlie misleading statements, and their materiality, in order           improperly recognized.
to survive the motion to dismiss phase.” Gavish v. Revlon,
                                                                       • Plaintiffs allege that Genuity's sales team “creat[ed]
Inc., No. 00 Civ. 7291, 2004 WL 2210269, *13 (S.D.N.Y.
                                                                         fictitious sales orders,” id. ¶¶ 28, 154-56, but plaintiffs
Sept.30, 2004); see also Rombach v. Chang, 355 F.3d 164,
                                                                         do not indicate when, by whom or what size “fictitious”
174 (2d Cir.2004) ( “[P]laintiffs must do more than say that
the statements in the press releases were false and misleading;           orders were generated. 22
they must demonstrate with specificity how that is so.”); San
Leandro Emergency Medical Group Profit Sharing Plan, 75              22     Nor do plaintiffs explain why, if there were truly
F.3d at 812 (stating that, “[i]n order to satisfy the requirements          an effort on Genuity's part to create “fictitious”
of Rule 9(b), plaintiffs must allege in what respects the                   sales orders, the company would have paid its sales
statements at issue were false”). On the other hand, these                  people commissions to do so. The more logical
particularity requirements are not meant to bar potentially                 and cheaper approach would have been simply to
meritorious securities claims where missing facts can only be               create the allegedly fake orders without involving
obtained through discovery. See, e.g., In re AOL Time Warner,               the sales staff at all.
Inc. Sec. and “ERISA” Litig., No. 02 Civ. 5575, 2004 WL
                                                                     More generally, it is impossible to tell from the Complaint
992991, *12 (S.D.N.Y. May 5, 2004).
                                                                     whether this conduct could have materially affected Genuity's
                                                                     financial statements so as to render them misleading to such
 *13 Under these standards, most of plaintiffs' claims relating
                                                                     an extent as to create liability under the securities laws.
to the post-IPO statements cannot survive scrutiny under
the particularity requirement. We now evaluate those claims
                                                                     Nor do plaintiffs allege with any particularity a concerted
seriatim.
                                                                     scheme by any defendant or defendants to misrepresent




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Genuity's financial condition for any particular purpose. 23       24     Giving plaintiffs the benefit of the doubt on these
It is impossible, therefore, to infer that the alleged improper           motions to dismiss, we assume that “sizeable”
accounting activity infected Genuity's practices to such an               would equate to materiality.
extent as to have any material impact on the company's
                                                                   25
financial statements. Accordingly, with two exceptions,                   Plaintiffs also allege that, “[i]n December 2002,
which we explain shortly, we must dismiss plaintiffs'                     per a former Genuity Account Representative,
allegations of improper revenue recognition as insufficiently             Genuity backdated a multimillion dollar contract
particularized under Fed.R.Civ.P. 9(b) and the PSLRA.                     with Verizon that was scheduled to close in 1Q03
                                                                          and recognized the revenue associated with this
23                                                                        contract in 4Q02,” Compl. ¶ 143; see also id. ¶
        Plaintiffs allege simply that, “[i]n order to overstate
                                                                          25. We do think that this allegation is sufficiently
        its earnings and assets in 2000-2002, Genuity
                                                                          specific to survive dismissal on grounds of
        violated GAAP and SEC rules by improperly
                                                                          particularity. However, the conduct alleged falls
        recognizing revenue and by failing to timely record
                                                                          outside the putative class period, which, according
        a charge to write-down its impaired assets to reflect
                                                                          to the Complaint, ends on November 27, 2002.
        impairment of its long-lived assets.” Compl. ¶ 133.
                                                                          Accordingly, this allegation is not relevant to the
In opposing this result, plaintiffs rely heavily on In re                 issue before us.
Computer Associates Class Action Securities Litigation, 75
F.Supp.2d 68 (E.D.N.Y.1999). However, the court in that               3. Delayed Impairment Charge
case found that plaintiffs had alleged a “widespread” and          With respect to the claims that Genuity improperly delayed
“pervasive fraudulent scheme.” Id. at 73-74. If we could say       taking an impairment charge on $30-$50 million worth of
the same here, we would have less hesitation to assume,            outdated networking equipment in 2001, while plaintiffs'
as the court in that case did, that materiality existed as a       allegations could be more precisely drafted, we believe that
“huge net effect in error as to the company's overall figures,”    they are sufficiently specific to avoid dismissal on grounds of
id. at 73, and thus to overlook plaintiffs' failure to point to    particularity.
specific instances of improperly backdated or “multi-year”
contracts, “last minute deals” or “phony sales orders.” As
it is, however, plaintiffs have simply failed to plead such           4. Black Rocket
an effect. Accordingly, in the absence of allegations of a         Plaintiffs' allegations with respect to Black Rocket are
pervasive fraudulent scheme and in the absence of specifics        insufficiently particularized. Other than general statements
about particular transactions, we cannot determine to what         about Genuity's difficulty in meeting its 10-day delivery
extent the allegedly wrongful conduct would affect Genuity's       guarantee, inordinately high pricing and difficulty in
financial and press statements and render those statements         ascertaining profitability, plaintiffs offer no specific
materially misleading.                                             statements that are demonstrably false and materially
                                                                   misleading in the context of the facts pleaded in the
 *14 The two exceptions, which are adequately pleaded,             Complaint. 26 It is thus impossible to tell from the Complaint
are plaintiffs' allegations that: (i) according to a Genuity       whether the statements at issue were false or misleading and,
Project Manager named Rick Goodwin, Genuity's Texas                if so, whether they were materially so.
office backdated a “sizeable” 24 contract with AOL in the
second quarter of 2000, id. ¶¶ 25, 143; and (ii) that Genuity      26     For example, plaintiffs allege that Genuity's
improperly recognized revenue in connection with its “dark                statement that Black Rocket was based
fiber swap” with Qwest in the first quarter of 2001, id. ¶¶ 27,           on “industry-leading hardware and software”
144-49. We find that these allegations are sufficiently specific          was materially misleading because Genuity's
under the Federal Rules and the PSLRA, and we therefore                   “equipment was outdated by the time they installed
decline to dismiss them on particularity grounds. 25                      it and technologically inferior,” Compl. ¶ 99,
                                                                          presumably because demand was shifting away
                                                                          from dial-up services toward DSL and cable,
                                                                          see id. ¶ 167. It is impossible to evaluate from
                                                                          these allegations, however, what hardware was


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       “outdated,” to what extent, or how, given that              Genuity's statements about its financial health were materially
       the trend toward DSL and cable was undoubtedly              misleading because: (i) in the second quarter of 2000,
       not “inside” information, Genuity's statement               Genuity improperly recognized revenue when it backdated a
       could have been materially misleading to the                “sizeable” contract with AOL; (ii) late in the first quarter of
       public. Similarly, plaintiffs allege that Genuity's         2001, Genuity improperly recognized revenue in connection
       statements that Black Rocket was “extremely                 with its “dark fiber swap” with Qwest; and (iii) in 2001,
       profitable” were misleading because it was difficult        Genuity improperly delayed by several months the taking of
       at the time to calculate the varying profit margin          an impairment charge on its outdated networking equipment.
       on each installation, but they do not tell us whether       We now examine these claims against defendants' argument
       Black Rocket was, in fact, profitable at the times          that plaintiffs have failed to plead “loss causation.”
       the various statements were made. The Complaint's
       other allegations about Black Rocket are similarly          To state a claim under the securities laws, a plaintiff must
       unspecific.                                                 allege “loss causation,” i.e., a causal connection between the
Moreover, a substantial portion of plaintiffs' allegations with    alleged material misrepresentation and the plaintiff's loss.
respect to Black Rocket center on Genuity's public touting         See, e.g., Dura Pharms., Inc. v. Broudo, --- U.S. ----, 125
of the product and its market potential, without identifying       S.Ct. 1627, 1631, 161 L.Ed.2d 577 (2005). Where a plaintiff
any specific material falsehoods in those statements. The          alleges that he was harmed by a misleading statement and
Second Circuit has made clear, however, that such puffery          subsequent decline in stock price, he or she must allege that
must be allowed. See, e.g., Rombach v. Chang, 355 F.3d             “the risk that caused the loss was within the zone of risk
164, 174 (2d Cir.2004) ( “Up to a point, companies must            concealed by the misrepresentations and omissions alleged.”
be permitted to operate with a hopeful outlook: ‘People in         Lentell v. Merrill Lynch & Co., Inc., 396 F.3d 161, 173 (2d
charge of an enterprise are not required to take a gloomy,         Cir.2005) (emphasis in original). In other words, the plaintiff
fearful or defeatist view of the future; subject to what current   must allege that “ ‘the subject of the fraudulent statement
data indicates, they can be expected to be confident about         or omission was the cause of the actual loss suffered,’ ...
their stewardship and the prospects of the business that they      i.e., that the misstatement or omission concealed something
manage .” ’) (quoting Shields v. Citytrust Bancorp, Inc., 25       from the market that, when disclosed, negatively affected the
F.3d 1124, 1129-30 (2d Cir.1994)). Accordingly, plaintiffs'        value of the security.” Id. (quoting Suez Equity Investors, L.P.
claims based on statements about the Black Rocket product          v. Toronto-Dominion Bank, 250 F.3d 87, 95 (2d Cir.2001))
must be dismissed.                                                 (emphasis in original). As the Second Circuit has explained, a
                                                                   loss causation analysis examines the relationship between the
                                                                   loss alleged and the information that the defendant allegedly
   5. Genuity's Network Capabilities                               misstated or concealed. Id. at 174. If that relationship is
Plaintiffs' allegation that Genuity misrepresented its network     sufficiently direct, then the loss causation requirement is
capacity is likewise insufficiently specific. The Complaint        satisfied.
goes no further in particularity than to allege that Genuity
made “public representations regarding the substantial             We find that plaintiffs have failed to plead loss causation
progress of its network build-out,” statements that allegedly      with respect to all of the remaining claims. First, with respect
were false because “only approximately 10% of Genuity's            to the claim that Genuity improperly delayed taking an
fiber network was actually lit.” Compl. ¶¶ 38-39. Plaintiffs       impairment charge on its networking equipment in 2001,
provide no guidance as to what the alleged false statements        plaintiffs conceded at oral argument that “there is no loss
were, who made them and when, why they were false when             causation associated with that revelation.” July 28, 2005 Tr.
made or why ten percent of Genuity's network being “actually       37.
lit” was not “substantial progress.” Accordingly, this claim is
dismissed.                                                         With respect to the allegation that Genuity backdated a
                                                                   contract with AOL in mid-2000, plaintiffs do not allege that
                                                                   a decline in stock price occurred because the fact that the
  B. Loss Causation                                                contract was backdated was disclosed to the public or that
 *15 In light of the discussion above, only three of plaintiffs'   any stock decline was related to the subject of contract itself.
post-IPO allegations remain. Those allegations are that            Nor do plaintiffs explain more generally how backdating



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a contract from one quarter to the previous one could             Plaintiffs' argument must be rejected. There is no allegation
have misrepresented Genuity's aggregate financial position to     that the February 21, 2002 stock price decline followed any
investors who, like the putative class members, held stock        revelation of information that Genuity had recorded swap
during both quarters. 27 Loss causation is thus not satisfied     revenues. To the contrary, the relevant statement during the
as to this claim.                                                 February 21, 2002 analysts' meeting was a denial that Genuity
                                                                  had recorded such revenues. Plaintiffs' speculation that the
27                                                                public disbelieved that denial and therefore discounted the
        It is important to note that these observations
                                                                  stock price is too strained an inference even on a motion
        apply equally to plaintiffs' other allegations
                                                                  to dismiss. See, e.g., Lentell, 396 F.3d at 175 (Plaintiffs
        about improperly backdated contracts, which were
                                                                  “must allege facts that support an inference that [defendants']
        discussed above. Thus, even if those allegations
                                                                  misstatements and omissions concealed the circumstances
        had been pleaded with sufficient particularity, they
                                                                  that bear upon the loss suffered.”). From the facts alleged in
        would nevertheless be dismissed for failure to plead
                                                                  the Complaint, the more reasonable inference is that Genuity's
        loss causation.
                                                                  stock price fell as part of the general decline in that business
 *16 Finally, with respect to the claim that Genuity              sector.
improperly recorded revenue from its “dark fiber swap” with
Qwest, plaintiffs do attempt to allege loss causation, but        For these reasons, plaintiffs' remaining three claims must be
they fail to do so adequately. The Complaint alleges that, on     dismissed for plaintiffs' failure to plead any associated loss
February 21, 2002, approximately one year after the alleged       causation.
“dark fiber swap,” Genuity held a quarterly analysts' breakfast
meeting at which company management stated, among other
things, “that the company never recorded swap revenues,              C. Scienter
was not in danger of violating its debt covenants and had         Although each of the post-IPO claims must be dismissed
access to significant funding.” Compl. ¶ 116. The Complaint       on grounds of insufficient particularity or loss causation,
further alleges that, “[f]ollowing this announcement, Genuity     it is important to note that these claims are deficient for
shares fell nearly 10%-from $22.20 per share on February          the additional reason that plaintiffs have failed to plead
20, 2002 to $20 per share on February 21, 2002.” Id.              scienter. Under the PSLRA, plaintiffs must “state with
¶ 117. In opposing defendants' loss causation argument,           particularity facts giving rise to a strong inference that the
plaintiffs contend that Genuity's denial that it recorded swap    defendant[s] acted with the required state of mind.” 15
revenues caused the stock price dip: “Although Genuity            U.S.C. § 78u-4(b)(2). To satisfy this requirement, which is
falsely denied engaging in such ‘recorded swap revenues,’ it      a particularized version of the Second Circuit's pre-PSLRA
is reasonable to infer that the market discounted that denial     scienter pleading standard, see Novak, 216 F.3d at 311
in light of the ‘negative news coming out of [that] sector’       (“When all is said and done, we believe that the enactment of
regarding improperly ‘recorded swap revenues.” ’ Pl. Opp'n        paragraph (b)(2) did not change the basic pleading standard
at 36 (alteration in original). In support of this argument,      for scienter in this circuit (except by the addition of the
plaintiffs cite the Court's decision in In re Flag Telecom        words ‘with particularity’).”), plaintiffs must specifically
Holdings, Ltd. Securities Litigation, 352 F.Supp.2d 429, 442      allege facts that either: (i) demonstrate that defendants had
(S.D.N.Y.2005), which, plaintiffs note, describes a “46%          a motive and opportunity to commit fraud; or (ii) constitute
stock price drop on Flag's February 13, 2002 announcement         strong circumstantial evidence of conscious misbehavior or
that it had entered into revenue swap transactions.” Pl. Opp'n    recklessness. See Ganino v. Citizens Utilities Co., 228 F.3d
at 36. Plaintiffs conclude that, because it was becoming public   154, 170 (2d Cir.2000); Rothman v. Gregor, 220 F.3d 81, 90
at the time that various telecommunications companies had         (2d Cir.2000). 28
improperly recognized revenue associated with fiber swaps,
and because Genuity affirmatively came out and denied that        28
                                                                         This discussion of scienter is more relevant to
it was engaging in that practice, the public did not believe
                                                                         plaintiffs' claims against the Individual Defendants
Genuity's denial and discounted the value of Genuity's stock
                                                                         than it is to the claims against Verizon, who
accordingly.
                                                                         plaintiffs allege is liable on a “control person”
                                                                         theory under § 20(a) of the 1934 Act. Nonetheless,
                                                                         in the context of a claim under § 20(a), plaintiffs



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        are still required, in order to make out a prima               Defendants desired to keep their jobs or
        facie case, to allege that Verizon “was in some                increase their compensation by artificially inflating
        meaningful sense a culpable participant” in the                Genuity's stock price. Cf., e.g., Novak, 216 F.3d at
        post-IPO statements. Boguslavsky v. Kaplan, 159                307 (“Plaintiffs could not proceed based on motives
        F.3d 715, 720 (2d Cir.1998) (quoting S.E.C. v.                 possessed by virtually all corporate insiders....”)
        First Jersey Sec., Inc., 101 F.3d 1450, 1472 (2d               Plaintiffs must “assert a concrete and personal
        Cir.1996)). The Complaint, however, does not                   benefit to the individual defendants resulting from
        allege any involvement by Verizon in the post-IPO              the [alleged] fraud.” Kalnit v. Eichler, 264 F.3d 131,
        statements. In fact, the motives at issue here would           139 (2d Cir.2001). Plaintiffs have failed to do that.
        suggest that those who were aware of any alleged               Even the Complaint's allegations about reasons that
        wrongdoing would desire to keep Verizon in the                 the alleged misrepresentations may have made the
        dark in order to avoid giving Verizon a reason not             company appear to be performing better than it
        to exercise its option to reacquire the company.               was, see, e.g., Compl. ¶ 141 (alleging that “last
        Moreover, plaintiffs' allegations that Verizon had             minute deals” were entered into to “bridge the gap
        the option to “reacquire” control over Genuity                 between the company's forecasted sales and its
        but never exercised that option belie plaintiffs'              actual sales”) do not suggest any concrete benefit
        argument that Verizon was a “control person”                   received by any Individual Defendant.
        under § 20(a). Accordingly, the post-IPO claims         With respect to the post-IPO statements regarding Black
        against Verizon must be dismissed on the additional     Rocket and Genuity's network capabilities, which were
        grounds that the Complaint does not satisfy the         unrelated to GAAP, plaintiffs must allege, at the very
        “control person” and the “culpable participation”       least, facts constituting strong circumstantial evidence of
        requirements of § 20(a).                                conscious misbehavior or recklessness. To satisfy this
*17 Plaintiffs have not argued that motive or opportunity is    requirement, plaintiffs must allege “highly unreasonable”
alleged as to any of the post-IPO statements. 29 With respect   conduct representing “an extreme departure from the
to the allegations of GAAP violations, which comprise the       standards of ordinary care ... to the extent that the danger
bulk of plaintiffs' post-IPO claims, this failure to allege     was either known to the defendant[s] or so obvious that the
motive is fatal because allegations of GAAP violations or       defendant[s] must have been aware of it.” Rothman, 220 F.3d
accounting irregularities alone are insufficient to state a     at 90 (quoting Rolf v. Blyth, Eastman Dillon & Co., Inc.,
securities fraud claim without evidence of “corresponding       570 F.2d 38, 47 (2d Cir.1978)); see also Chill v. General
fraudulent intent.” Novak, 216 F.3d at 309 (quoting Chill,      Electric Co., 101 F.3d 263, 269 (2d Cir.1996) (same). Where,
101 F.3d at 270). Thus, even if it could be established that    as here, there is no indication of motive, “the strength of
the Individual Defendants were each aware of the allegedly      circumstantial allegations must be correspondingly greater.”
improper accounting activity, plaintiffs would nevertheless     Kalnit, 264 F.3d at 142 (quoting Beck v. Mfrs. Hanover Trust
have to establish that the Individual Defendants intended to    Co., 820 F.2d 46, 50 (2d Cir.1987)). Moreover, to the extent
defraud the public about the content of Genuity's financial     plaintiffs claim that defendants had knowledge of specific
                                                                facts that rendered their public statements misleading, they
statements or had some reason to do so. 30 The Complaint,
                                                                “must supply some factual basis for the allegation that the
however, is devoid of factual allegations, circumstantial or
                                                                defendants [gained this knowledge] at some point during the
otherwise, indicating that the Individual Defendants acted
                                                                time period alleged.” Rotham, 220 F.3d at 91 (quoting Posner
with such intent.
                                                                v. Coopers & Lybrand, 92 F.R.D. 765, 769 (S.D.N.Y.1981)).

29      In their opposition papers, plaintiffs do argue         Plaintiffs have not done this. They rely simply on the
        that they have adequately alleged motive and            Individual Defendants' positions as “Genuity's three highest
        opportunity with respect to their claim that the IPO    officers” and, without differentiating among the Individual
        statements were misleading, but they do not do so       Defendants, argue that those individuals were in a position
        as to their post-IPO claims.
                                                                to know certain things. Pl. Opp'n at 34. 31 As logical as it
30                                                              may be, however, to assume that the Individual Defendants
        Plaintiffs cannot establish the requisite fraudulent
        motive simply by alleging that the Individual           collectively were aware of the specifics of Genuity's business,
                                                                the PSLRA requires more in order to attach liability to an


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individual for a specific public statement. It requires that             the complicity of the Individual Defendants;” and
plaintiffs “specifically allege[ each] defendant['s] knowledge           (vi) “Genuity's inability to competitively price its
of facts or access to information contradicting [his] public             outdated equipment was well within the purview
statements.” Novak, 216 F.3d at 308. The general rule,                   of the Individual Defendants' responsibilities.”
therefore, is that nonspecific allegations that a defendant's            Compl. ¶ 191.
knowledge of certain practices can be inferred from his or        32
her high position in a company are not sufficient to satisfy             Plaintiffs' reliance on our decision in In re
the PSLRA's heightened pleading requirement with respect to              Complete Management Inc. Securities Litigation,
scienter. See, e.g., In re NTL, Inc. Sec. Litig., 347 F.Supp.2d          153 F.Supp.2d 314, 324-327 (S.D.N.Y.2001), is
15, 34 (S.D.N.Y.2004) ( “Allegations that [defendants] should            misplaced. Although we noted in that case that “[i]t
have known about [corporation's subsidiary's] financial state            thoroughly strain[ed] credulity to imagine that the
based solely on their executive positions are not enough to              individual defendants, by virtue of their positions
plead scienter.” ); In re Sotheby's Holdings, Inc. Sec. Litig.,          at CMI and the interactions with GMMS that those
No. 00 Civ. 1041, 2000 WL 1234601, *7 (S.D.N.Y. Aug.                     positions demanded, were ignorant of the practices
31, 2000) (“It is well established that boilerplate allegations          at GMMS,” we also explained that plaintiffs had
that defendants knew or should have known of fraudulent                  pleaded the alleged fraud and the defendants'
conduct based solely on their board membership or executive              knowledge of it with “great specificity.” The same
positions are insufficient to plead scienter.” ); Duncan v.              cannot be said here.
Pencer, No. 94 Civ. 0321, 1996 WL 19043, *14 (S.D.N.Y.            33     Plaintiffs do adequately allege a specific factual
Jan. 18, 1996) (“[Plaintiff] would totally thwart the scienter
                                                                         basis for one area of knowledge: that Genuity's
requirements of Section 10(b) and Rule 9(b) if he could
                                                                         actual sales were falling short of its sales forecasts.
satisfy them by simply listing the Individual Defendants' job
                                                                         See Compl. ¶ 191 (alleging that: (i) defendant
titles in the Complaint.”). 32 Other than general allegations            Gudonis received “rolled-up sales results;” (ii)
that it would be “logical” for the Individual Defendants to              defendant Farina received “an Excel spreadsheet
have been aware of certain things, the Complaint gives us no             with the Company's declining sales results and
factual basis to conclude that actual knowledge on the part of           orders” on a weekly basis; (iii) that defendant
any Individual Defendant existed. 33 Under the PSLRA, such               Farina received “monthly Flash Reports showing
allegations are insufficient.                                            the shortfall between forecasted and actual orders
                                                                         was always ‘very significant;” ’ and (iv) at his
31                                                                       “Tuesday Morning Roll Call Sales Meetings,”
        In the paragraph of their Complaint that purports
                                                                         defendant Farina “demanded explanations as to
        to set forth the basis of plaintiffs' allegation
                                                                         why sales and orders were not materializing”).
        that the Individual Defendants “knew or acted
                                                                         Such knowledge, however, does not bear on
        in deliberate reckless disregard of the true state
                                                                         plaintiffs' allegations in this case, which do not
        of Genuity's business,” plaintiffs allege simply
                                                                         include the claim that Genuity publicly stated
        that: (i) “the large number of rescissions of
                                                                         that actual sales were meeting or exceeding the
        sales force commissions as orders were not
                                                                         company's forecasts.
        provisioned or cancelled would logically have been
        known to the Individual Defendants;” (ii) any
        failures of Genuity to comply with its 10-day
                                                                                         CONCLUSION
        provisioning guarantee “would have been known
        to the Individual Defendants;” (iii) “the stockpiling      *18 For the reasons set forth above, defendants' motions
        of tens of millions of dollars of equipment               to dismiss are granted and the Complaint is dismissed with
        in 11 data centers owned by the Company
                                                                  prejudice. 34 The Clerk of the Court is respectfully requested
        would logically have been at the direction of
                                                                  to close this case on the Court's docket.
        its most senior officers;” (iv) “[s]ales were
        backdated specifically at the direction of upper
                                                                  34
        management;” (v) “[t]he dark fiber swap with                     In their opposition papers, plaintiffs request that,
        Qwest could not have been accomplished without                   if the Court deems their allegations insufficient,
                                                                         they be afforded a chance to replead. Plaintiffs


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                                                                        requirements in this case, plaintiffs submitted an
       do not specify what they would say in such
                                                                        exceedingly lengthy 79 page complaint recounting
       an amended pleading, however. Moreover, in
                                                                        every quarterly and annual S.E.C. filing and
       several premotion letters submitted by defendants
                                                                        myriad public statements made by Genuity during
       to the Court, plaintiffs were alerted to the
                                                                        the entire duration of the company's solvency.
       specific bases of defendants' arguments in support
                                                                        Notwithstanding its breadth, that pleading is
       of dismissal discussed herein. By letter from
                                                                        insufficient for the reasons stated above. In
       the Court dated November 4, 2004, plaintiffs
                                                                        these circumstances, we do not see any basis to
       were given the opportunity to amend their
                                                                        allow plaintiffs to amend yet again. Accordingly,
       complaint and were specifically warned that, if
                                                                        plaintiffs' request for leave to do so is denied.
       they chose not to amend to address the points
       raised in defendants' premotion letters and the          SO ORDERED.
       Court subsequently determined that defendants'
       arguments were correct, plaintiffs would not be
       given another chance to amend. In response,              All Citations
       defying the dictates of Fed. R. Civ. P 8(a),
                                                                Not Reported in F.Supp.2d, 2005 WL 2030501
       and even allowing for the heightened pleading

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                                                                       value it may have, see Fed. R. App. P. 32.1, it has no
                                                                       precedential value, see 9th Cir. BAP Rule 8024–1.
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    Only the Westlaw citation is currently available.
             NOT FOR PUBLICATION
                                                                                     INTRODUCTION
          United States Bankruptcy Appellate
              Panel of the Ninth Circuit.                        *1 Debtor Castle Trading, Inc. retained Appellee/Cross-
                                                                Appellant Mesisca Riley & Kreitenberg LLP (“MRK”) to
       IN RE: CASTLE TRADING, INC., Debtor.
                                                                provide specified legal services. To pay for these future
           Richard K. Diamond, Chapter 7                        services, Castle Trading signed a promissory note in favor of
         Trustee, Appellant/Cross–Appellee,                     MRK and deeds of trust encumbering certain properties. After
                          v.                                    Castle Trading filed for bankruptcy protection, Appellant/
             Mesisca Riley & Kreitenberg                        Cross-Appellee Richard K. Diamond, Chapter 7 1 Trustee
           LLP, Appellee/Cross–Appellant.                       (“Trustee”), sought to avoid the promissory note and deeds
                                                                of trust as fraudulent transfers, arguing that the prepetition
        BAP Nos. CC–16–1322–FTaKu, CC–16–
                                                                executory contract for MRK's future legal services did not
        1323–FTaKu, CC–16–1324–FTaKu, CC–
                                                                provide “reasonably equivalent value” in exchange for the
      16–1352–FTaKu, CC–16–1353–FTaKu, CC–
                                                                promissory note and deeds of trust. The bankruptcy court
        16–1354–FTaKu (Related Cross–appeals)
                                                                disagreed, holding that the promise of future services was
                            |
                                                                reasonably equivalent value.
               Bk. No. 2:13–bk–15021–BB
                            |
                                                                1
          Adv. Nos. 2:14–ap–01022–BB, 2:14–                            Unless specified otherwise, all chapter and section
           ap–01122–BB, 2:14–ap–01312–BB                               references are to the Bankruptcy Code, 11 U.S.C.
                            |                                          §§ 101–1532, all “Rule” references are to the
             Argued and Submitted on May                               Federal Rules of Bankruptcy Procedure, and all
            18, 2017 at Pasadena, California                           “Civil Rule” references are to the Federal Rules of
                            |                                          Civil Procedure.
                   Filed May 31, 2017                           On appeal, the Trustee argues that the bankruptcy court erred
                                                                because the value of the executory contract was uncertain
Appeals from the United States Bankruptcy Court for the
                                                                or limited and did not provide reasonably equivalent value.
Central District of California, Honorable Sheri Bluebond,
                                                                MRK cross-appeals, arguing that the agreement could not
Chief Bankruptcy Judge, Presiding
                                                                have been a fraudulent transfer because Castle Trading was
Attorneys and Law Firms                                         not insolvent inasmuch as a $3.8 million “shareholder loan”
                                                                was actually a capital contribution, as opposed to a liability.
George E. Schulman of Danning, Gill, Diamond & Kollitz,
LLP argued on behalf of Appellant/Cross–Appellee Richard        We AFFIRM the bankruptcy court's holding that the
K. Diamond, Chapter 7 Trustee.                                  agreement provided reasonably equivalent value. We need not
                                                                reach the points of error raised in MRK's cross-appeals.
Dennis P. Riley of Mesisca Riley & Kreitenberg, LLP argued
on behalf of Appellee/Cross–Appellant Mesisca Riley &
Kreitenberg LLP.
                                                                               FACTUAL BACKGROUND
Before: FARIS, TAYLOR, and KURTZ, Bankruptcy Judges.
                                                                A. The 2008 Action and 2011 Action
                                                                Yuri and Natalia Plyam are the sole owners, directors,
                                                                and officers of Castle Trading. It began as a commodities
                   MEMORANDUM *                                 brokerage but later transitioned to real estate development and
                                                                investment.
*      This disposition is not appropriate for publication.
       Although it may be cited for whatever persuasive


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In January 2008, Precision Development, LLC (“Precision”),
a company previously owned by Mr. Plyam, filed a complaint         *2 MRK agreed to delay collection of the $635,000 and
against the Plyams in the state superior court (the “2008         instead take as security deeds of trust encumbering certain
Action”). Essentially, Precision alleged that the Plyams          real property owned by Castle Trading. The deeds of trust
diverted substantial funds that Precision's investors had wired   were recorded against five of Castle Trading's properties
to them for a real estate development project and instead used    in California, which were known as: (1) the “Hayvenhurst
the money for personal gain. In July 2010, MRK substituted        Property,” (2) the “Alta Mesa Property,” (3) the “Meadow Bay
in as counsel for the Plyams.                                     Property,” (4) the “Bay View Property,” and (5) the “Angelo
                                                                  Property.”
Following a jury trial, the superior court entered judgment
against the Plyams in the amount of $10.3 million. The            MRK advised Castle Trading to consult independent counsel
Plyams unsuccessfully appealed the judgment.                      prior to entering into the Fee Agreement. Ms. Plyam testified
                                                                  that three other attorneys told her that the Fee Agreement was
In July 2011, Precision filed a lawsuit against Castle Trading,   a “great deal,” especially because no other attorney would
the Plyams, and Ms. Plyam's mother, Anna Logvin, in               likely agree to represent Castle Trading.
state court (the “2011 Action”), alleging that the Plyams
fraudulently transferred assets to Castle Trading. Precision      MRK represented Castle Trading in each of the three lawsuits.
recorded a lis pendens against each of Castle Trading's real      It obtained a judgment in favor of Castle Trading in the
property assets.                                                  Aframian Action, successfully ejected the tenants in the Greer
                                                                  Action, and represented Castle Trading in the 2011 Action
                                                                  until Castle Trading filed for bankruptcy. 2 According to its
B. The Fee Agreement between Castle Trading and
                                                                  billing records, if MRK were billing Castle Trading on an
MRK
                                                                  hourly basis, its fee (based on the recorded time) would have
Because of MRK's familiarity with the Plyams and Castle
Trading, the defendants sought MRK's representation in the        been $217,819. 3
2011 Action.
                                                                  2      In February 2012, the state of California suspended
On September 7, 2011, Castle Trading entered into a fee                  Castle Trading's corporate status for nonpayment
agreement with MRK (the “Fee Agreement”). MRK agreed                     of taxes. On March 23, 2012, Castle Trading filed
to represent Castle Trading in three state court proceedings:            a Notice of Suspension and Inability to Participate
(1) the 2011 Action; (2) Castle Trading, Inc. v. Aframian, a             in Litigation in the 2011 Action.
breach of contract action (the “Aframian Action”); and (3)
                                                                  3
Castle Trading, Inc. v. Greer, an unlawful detainer action (the          In the 2011 Action, MRK's recorded fees and
“Greer Action”). The Fee Agreement recited that, because                 costs totaled $197,317.25. In the Aframian Action,
of the substantial judgment against the Plyams in the 2008               MRK's recorded fees and costs totaled $18,652.87.
Action, Castle Trading did not have the financial ability to             In the Greer Action, MRK's recorded fees and costs
pay MRK. Therefore, the parties agreed that: (1) MRK would               totaled $1,849.
represent Castle Trading in the Aframian Action for an earned
fee of $202,500, based on an estimate of 270 hours at $750        C. Castle Trading's bankruptcy filing and the Trustee's
per hour; (2) MRK would represent Castle Trading in the           adversary proceedings
2011 Action for an earned fee of $412,500, based on an            On February 23, 2013, Castle Trading filed a chapter 7
estimate of 550 hours, and $750 per hour for time spent in        petition in the United States Bankruptcy Court for the Central
excess of 550 hours; and (3) MRK would represent Castle           District of California. On the same day, the Plyams filed
Trading in the Greer Action for an earned fee of $20,000,         a joint chapter 7 petition. The bankruptcy court initially
based on an estimate of 40 hours at $500 per hour. Castle         appointed Alberta P. Stahl as chapter 7 trustee in both cases;
Trading acknowledged that it would be indebted to MRK for         Ms. Stahl later resigned from the Castle Trading case to avoid
the total amount of $635,000 (plus any amount billed over the     a conflict with her role as trustee in the Plyams' personal
estimated 550 hours in the 2011 Action). Accordingly, Castle      bankruptcy case. The bankruptcy court thereafter appointed
Trading executed a promissory note in favor of MRK in the         Mr. Diamond as successor chapter 7 trustee.
amount of $635,000.


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In its schedules, Castle Trading estimated that it held
assets totaling $3,262,242. It listed liabilities of $16,070,990,       13. What type of fee agreement was the 2011 Agreement?
including $1,932,533 in secured debts and a $3,814,457
                                                                        14. When the 2011 Fee Agreement was signed, was the
“loan from shareholder” as an unsecured, nonpriority debt.
                                                                        entire fee earned upon receipt?
The schedules identified Mr. Plyam as the creditor on the
shareholder loan.                                                       15. When the 2011 Fee Agreement was signed, was the
                                                                        entire fee earned upon receipt of the Deeds of Trust?
Proofs of claims were filed by a number of creditors. Of
relevance to this proceeding, Ms. Stahl, the Plyams' chapter        5          The Trustee settled with all other defendants prior
7 bankruptcy trustee, filed a claim for $3,316,568.04 based
                                                                               to trial; MRK was the only remaining party.
on the shareholder loan. MRK filed a proof of claim against
Castle Trading in the amount of $728,769.83, based on the           The Pretrial Order included the following issues of law to be
terms of the Fee Agreement.                                         litigated:

                                                                        5. Whether reasonably equivalent value was provided by
The bankruptcy court approved the Trustee's sale of the
                                                                        MRK to the Debtor in exchange for the MRK Deeds of
Hayvenhurst Property, Alta Mesa Property, Meadow Bay
                                                                        Trust and the MRK Note.
Property, and Bay View Property. The court order directed
that the disputed liens held by MRK and others were removed             ....
from the properties and attached to the net sale proceeds.
                                                                        13. Whether the 2011 Fee Agreement provides for an
After the sale of Castle Trading's properties, the Trustee filed        earned on receipt retainer or a flat fee.
adversary complaints to avoid the liens and recover fraudulent
transfers concerning the Hayvenhurst Property, the Alta             Following the trial, the bankruptcy court orally ruled that
                                                  4                 the Trustee was not entitled to avoid the promissory note
Mesa Property, and the Meadow Bay Property. As relevant
to these appeals, the Trustee alleged that Castle Trading           and deeds of trust as fraudulent transfers. It held that the
“received less than a reasonably equivalent value in exchange       Trustee did not meet his burden to prove an actual fraudulent
for the MRK Deed of Trust and the MRK Obligation” and               transfer. As to constructive fraudulent transfer, the bankruptcy
that he “is entitled to avoid the MRK Obligation and the MRK        court considered whether Castle Trading received reasonably
Deed of Trust.”                                                     equivalent value by looking at the work done by MRK, its
                                                                    billing records, its time estimates, and other circumstances
4                                                                   surrounding the litigation. It concluded that the Trustee did
        The Trustee filed three separate complaints, one per
                                                                    not provide sufficient evidence to establish lack of reasonably
        property. Diamond v. Greater Atlantic Bank, Adv.
                                                                    equivalent value.
        Pro. 2:14–ap–01022–BB concerns the Meadow
        Bay Property and is on appeal as BAP No. CC–
                                                                    On September 22, 2016, the bankruptcy court issued its
        16–1322; Diamond v. Logvin, Adv. Pro. 2:14–
                                                                    findings of fact and conclusions of law in the three adversary
        ap–01122–BB concerns the Hayvenhurst Property
                                                                    proceedings. In relevant part, it found that: (1) the Fee
        and is on appeal as BAP No. CC–16–1323; and
                                                                    Agreement was a flat fee for two of the matters and a flat
        Diamond v. Logvin, Adv. Pro. 2:14–ap–01312–BB
                                                                    fee for a certain number of hours then hourly thereafter for
        concerns the Alta Mesa Property and is on appeal
                                                                    the third matter; (2) MRK's records reflect $212,165.00 in
        as BAP No. CC–16–1324.
                                                                    hourly billing and $6,554.12 in costs for litigation in the three
                                                                    matters identified in the Fee Agreement; (3) the deeds of trust
D. The trial
                                                                    were not provided by Castle Trading to MRK as security for
*3 The bankruptcy court scheduled a consolidated trial for
                                                                    an Earned on Receipt Retainer; and (4) the deeds of trust
August 24, 2016 in all three adversary proceedings. 5 Prior         secured payment of the fee charged by MRK to handle the
to the trial, the bankruptcy court entered joint pretrial orders    three proceedings.
(collectively, the “Pretrial Order”) in the three adversary
proceedings. The Pretrial Order provided that the following         In relevant part, the court made the following conclusions
issues of fact, among others, remained to be litigated:             of law: (1) MRK provided Castle Trading with reasonably



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equivalent value in exchange for the deeds of trust and           decision must strike us as more than just maybe or probably
promissory note; (2) the Trustee may not avoid the deeds of       wrong; it must ... strike us as wrong with the force of a five-
trust and promissory note as fraudulent transfers pursuant to     week-old, unrefrigerated dead fish.” Papio Keno Club, Inc.
§ 544(b) and California state law; and (3) the Trustee failed     v. City of Papillion (In re Papio Keno Club, Inc.), 262 F.3d
to meet his burden to prove that the transfers were fraudulent    725, 729 (8th Cir. 2001) (quoting Parts & Elec. Motors, Inc.
transfers and avoidable.                                          v. Sterling Elec., Inc., 866 F.2d 228, 233 (7th Cir. 1988)); see
                                                                  Anderson v. City of Bessemer City, 470 U.S. 564, 573 (1985)
The Trustee timely filed his notices of appeal, and MRK           (A factual finding is clearly erroneous if, after examining the
timely filed its “protective” cross-appeals.                      evidence, the reviewing court “is left with the definite and
                                                                  firm conviction that a mistake has been committed.”). The
                                                                  bankruptcy court's choice among multiple plausible views of
                                                                  the evidence cannot be clear error. United States v. Elliott, 322
                      JURISDICTION
                                                                  F.3d 710, 714 (9th Cir. 2003).
The bankruptcy court had jurisdiction pursuant to 28 U.S.C.
§§ 1334 and 157(b)(2)(H). We have jurisdiction under 28
U.S.C. § 158.                                                                             DISCUSSION

                                                                  These appeals deal only with the Trustee's contention that he
                                                                  is entitled to avoid the promissory note and deeds of trust as
                           ISSUE
                                                                  fraudulent transfers. The Trustee does not contend (in these
Whether the bankruptcy court erred in holding that MRK's          appeals) that the Fee Agreement is subject to challenge under
promise to provide future legal services under the Fee            state law (other than state fraudulent transfer provisions). The
Agreement represented “reasonably equivalent value” such          bankruptcy court correctly decided the narrow issue before it.
that the promissory note and deeds of trust in favor of MRK
were not constructive fraudulent transfers.
                                                                  A. The bankruptcy court did not err in holding that
                                                                  the Fee Agreement represented “reasonably equivalent
                                                                  value.”
               STANDARDS OF REVIEW                                The Trustee's primary issue on appeal challenges the
                                                                  bankruptcy court's holding that MRK provided reasonably
As a general rule, we review the bankruptcy court's findings of   equivalent value for the $635,000 promissory note and deeds
fact for clear error and its conclusions of law de novo. Decker   of trust. We discern no error.
v. Tramiel (In re JTS Corp.), 617 F.3d 1102, 1109 (9th Cir.
2010).
                                                                  A bankruptcy trustee may bring an action to avoid a
                                                                  prepetition transfer that is allegedly either intentionally or
 *4 We review de novo questions of statutory interpretation,      constructively fraudulent under §§ 548(a)(1)(A) or (B) or
including whether a particular type of consideration              applicable state law. In relevant part, § 548(a) provides:
constitutes “value.” Gladstone v. Schaefer (In re UC Lofts
on 4th, LLC), BAP No. SC–14–1287–JuKlPa, 2015 WL                    (a)(1) The trustee may avoid any transfer ... of an interest
5209252, at *15 (9th Cir. BAP Sept. 4, 2015) (citing Maddox         of the debtor in property ... that was made or incurred on or
v. Robertson (In re Prejean), 994 F.2d 706, 708 (9th Cir.           within 2 years before the date of the filing of the petition,
1993)). De novo review requires that we consider a matter           if the debtor voluntarily or involuntarily—
anew, as if no decision had been rendered previously. United
States v. Silverman, 861 F.2d 571, 576 (9th Cir. 1988).                ....

                                                                       (B)(i) received less than a reasonably equivalent value
But when we consider whether the value is “reasonably
                                                                       in exchange for such transfer or obligation; and
equivalent,” a finding concerning the value of the transferred
property “is a finding of fact which may be reversed only if it
is shown that it was clearly erroneous.” In re JTS Corp., 617
F.3d at 1109 (citations omitted). “To be clearly erroneous, a


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       (ii)(I) was insolvent on the date that such transfer
       was made or such obligation was incurred, or became            1. MRK's promises constituted “value.”
       insolvent as a result of such transfer or obligation ....   The Trustee argues that MRK's promise to perform legal
                                                                   services in the future did not qualify as “value” at all. We
§ 548(a)(1). In other words, a transfer is constructively          disagree.
fraudulent if (1) the debtor made the transfer on or within two
years before the date of filing the bankruptcy petition, (2) the   The Bankruptcy Code defines “value” as “property, or
debtor “received less than a reasonably equivalent value in        satisfaction or securing of a present or antecedent debt of
exchange for such transfer or obligation,” and (3) the debtor      the debtor, but does not include an unperformed promise to
was suffering from certain kinds of financial distress. Official   furnish support to the debtor or to a relative of the debtor[.]”
Committee of Unsecured Creditors v. Hancock Park Capital           § 548(d)(2)(A). State law is similar. See Cal. Civ. Code §
II, L.P. (In re Fitness Holdings Int'l, Inc.), 714 F.3d 1141,      3439.03; In re UC Lofts on 4th, LLC, 2015 WL 5209252, at
1145 (9th Cir. 2013) (internal citations omitted). California      *16.
law is substantially similar. See Cal. Civ. Code §§ 3439.04,
3439.05. 6                                                         In determining whether the debtor received value, “a court
                                                                   must consider whether, based on the circumstances that
6                                                                  existed at the time of the transfer, it was legitimate and
       “California's fraudulent conveyance statutes are
       similar in form and substance to the Code's                 reasonable to expect some value accruing to the debtor ....”
       fraudulent transfer provisions. Both allow a                Pension Transfer Corp. v. Beneficiaries under the Third
       transfer to be avoided where ‘the debtor did                Amendment to Fruehauf Trailer Corp. Retirement Plan No.
       not receive a “reasonably equivalent value” in              003 (In re Fruehauf Trailer Corp.), 444 F.3d 203, 212 (3d Cir.
       exchange for the transfer and [the debtor] was              2006) (quotations and citation marks omitted).
       either insolvent at the time of the transfer or
       was engaged in business with unreasonably small             The Ninth Circuit has not explicitly stated whether an
       capital.’ ” Wyle v. C.H. Rider & Family (In re              executory contract or promise of future services can qualify
       United Energy Corp.), 944 F.2d 589, 594 (9th Cir.           as “value.” However, in Pringle, we considered the “value”
       1991) (citation omitted).                                   prong of the “reasonably equivalent value” analysis and
                                                                   stated: “ ‘Case law has embroidered this concept to include
 *5 These appeals involve § 548(a)(1)(B)(i), which considers       “any benefit” to the debtor, “direct or indirect” as value.’
whether Castle Trading received reasonably equivalent value        Indeed, with only limited exceptions, ‘any ... kind of
for the promissory note and deeds of trust. Our inquiry follows    enforceable executory promise is value for purposes of
a two-step process: “First, the court must determine that the      section 548.’ Regardless of its form, the economic benefit
debtor received value in exchange for the transfer.... Second,     must be real and quantifiable.” In re Pringle, 495 B.R. at
if there was value in exchange, the court must determine           463 (quoting 5 Collier on Bankruptcy ¶ 548.05[5] (Alan N.
whether the value of what was transferred was reasonably
                                                                   Resnick & Henry J. Sommer, eds., 16th ed. 2013)). 7 Other
equivalent to what the debtor received.” Greenspan v. Orrick,
                                                                   courts also adopt this view. See Mellon Bank, N.A. v. Official
Herrington & Sutcliffe LLP (In re Brobeck, Phleger &
                                                                   Comm. of Unsecured Creditors (In re R.M.L., Inc.), 92 F.3d
Harrison LLP), 408 B.R. 318, 341 (Bankr. N.D. Cal. 2009);
                                                                   139, 152 (3d Cir. 1996) (“[S]o long as there is some chance
see also Hasse v. Rainsdon (In re Pringle), 495 B.R. 447,
                                                                   that a contemplated investment will generate a positive return
463 (9th Cir. BAP 2013) (“An examination into reasonably
                                                                   at the time of the disputed transfer, we will find that value
equivalent value is comprised of three inquiries: (1) whether
                                                                   has been conferred.”); Dobieco, Inc. v. Brown (In re Brown),
value was given; (2) if value was given, whether it was
                                                                   265 B.R. 167, 175 (Bankr. E.D. Ark. 2001) (assumption
given in exchange for the transfer; and (3) whether what
                                                                   of obligation to pay rent is “value” given in exchange for
was transferred was reasonably equivalent to what was
                                                                   assignment of lease); Krommenhoek v. Nat. Res. Recovery,
received.”). The Trustee must prove each element of his
                                                                   Inc. (In re Treasure Valley Opportunities, Inc.), 166 B.R.
fraudulent transfer claim by a preponderance of the evidence.
                                                                   701, 704–05 (Bankr. D. Idaho 1994) (holding that monies
Flemmer v. Weiner (In re Vill. Concepts, Inc.), BAP No. EC–
                                                                   paid under an installment contract were not recoverable as a
15–1186–JuFD, 2015 WL 8030974, at *7 (9th Cir. BAP Dec.
                                                                   fraudulent transfer because in exchange for the two payments,
4, 2015).


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the debtor received: (1) discharge of the obligation to pay the     or another person.” Cal. Civ. Code § 3439.03. The Fee
transferee under the contract terms and (2) property in the         Agreement is not a promise to furnish support. A reasonable
form of the continued vitality of the contract).                    reading of the statute supports the negative implication that
                                                                    other types of future promises, such as a promise of legal
7                                                                   services, can qualify as “value” under the statute. See In re
        The Trustee argues that Pringle is inapplicable
                                                                    Treasure Valley Opportunities, Inc., 166 B.R. at 705 (“The
        because the discussion of fraudulent conveyance
                                                                    strong negative implication of this exclusion is that any other
        law as supported by Collier “is not essential to its
                                                                    kind of enforceable executory promise is value for purposes
        holding.” Pringle's statements are persuasive even
                                                                    of section 548.”).
        if they are dicta.
 *6 The Trustee's reliance on the Second Circuit's decision         The Trustee argues that the bankruptcy court erred in not
in HBE Leasing Corp. v. Frank, 61 F.3d 1054 (2d Cir. 1995),         considering the question of “value.” But the Trustee does not
is unavailing. In that case, the appellate court held that the      show that he explicitly raised this issue before the bankruptcy
judgment debtor's transfer of bonds, a mortgage, and notes          court. See Yamada v. Nobel Biocare Holding AG, 825 F.3d
to his attorney “in large part to secure the payment of future      536, 543 (9th Cir. 2016) (“[g]enerally, an appellate court
legal fees and expenses” valued at $350,000 was not “fair           will not hear an issue raised for the first time on appeal”).
consideration.” 61 F.3d at 1060. But that case does not stand       Moreover, implicit in the bankruptcy court's holding that
for the proposition that a contract for future legal services can   MRK gave “reasonably equivalent value” is the determination
never amount to “value” as a matter of law; rather, it held         that the Fee Agreement constituted value.
that, based on the particular facts of the case, the agreement
was undefined and of uncertain duration such that it could          Accordingly, we hold that MRK gave “value.”
not give “fair consideration.” Indeed, it acknowledged that a
services contract may be fair consideration where the services
are definite and fixed. Id. at 1061. As discussed below, the           2. The value of MRK's promise was “reasonably
bankruptcy court in the present cases accepted the evidence            equivalent.”
that the Fee Agreement was a flat-fee (and semi-flat-fee)           We next consider whether the value provided was reasonably
agreement for specific cases and services. HBE Leasing does         equivalent to $635,000. The Trustee contends that the
not aid the Trustee's case.                                         bankruptcy court erred by considering the future value of the
                                                                    legal services (as opposed to the value at the time the parties
The only other cases on which the Trustee relies are                executed the Fee Agreement) and by not limiting the value of
nineteenth century cases from outside of the Ninth Circuit.         the Fee Agreement to the amounts recorded in MRK's billing
We are not bound by any of these cases.                             records. We disagree.

We are also guided by the principles of statutory                   The Bankruptcy Code does not define “reasonably equivalent
interpretation. The doctrine of expressio unius est exclusio        value.” Nevertheless, we have stated:
alterius, meaning “to express or include one thing implies
the exclusion of the other, or of the alternative,” Black's Law       it “is not an esoteric concept: a party receives reasonably
Dictionary 620 (8th ed.), “creates a presumption that when            equivalent value ... if it gets roughly the value it
a statute designates certain persons, things, or manners of           gave.” “Reasonably equivalent value” is a key concept in
operation, all omissions should be understood as exclusions.”         fraudulent transfer law. As the underlying goal of § 548 is to
Silvers v. Sony Pictures Entm't, Inc., 402 F.3d 881, 885 (9th         preserve estate assets, courts assess reasonably equivalent
Cir. 2005). “The expressio unius canon applies only when              value from the creditors' perspective.
‘circumstances support[ ] a sensible inference that the term
                                                                       *7 This examination requires the court to consider all of
left out must have been meant to be excluded.’ ” N.L.R.B. v.
                                                                      the circumstances surrounding the transfer, but “the focus
SW Gen., Inc., 137 S. Ct. 929, 940 (2017) (citation omitted).
                                                                      is whether the net effect of the transaction has depleted the
                                                                      bankruptcy estate.”
Section 548(d)(2)(A) excludes from the definition of value
“an unperformed promise to furnish support to the debtor ....”        ....
Similarly, the corresponding state statute excludes “an
unperformed promise ... to furnish support to the debtor


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                                                                      exchange for the $635,000 promissory note and the deeds of
  [T]he value to the estate must be reasonably equivalent to
  the value given up .... This equivalence need not be precise.       trust. 8
  “By its terms and application, the concept of ‘reasonably
  equivalent value’ does not demand a precise dollar-for-             8          We do not address any other grounds on which the
  dollar exchange.”                                                              Trustee might be able to limit MRK's claim.

In re Pringle, 495 B.R. at 463–64 (internal citations omitted);
                                                                      B. The bankruptcy court did not err in applying the
see In re Brobeck, Phleger & Harrison LLP, 408 B.R. at
                                                                      Pretrial Order.
341 (“Reasonable equivalence does not require exact equality
                                                                      The Trustee argues that the bankruptcy court erred in not
in value, but means ‘approximately equivalent’ or ‘roughly
                                                                      deciding two disputed questions of fact listed in the Pretrial
equivalent.’ ”).
                                                                      Order. The court did not err.
The bankruptcy court weighed the evidence to make a factual
                                                                      The relevant part of the Pretrial Order identifies the factual
determination as to whether the Fee Agreement constituted
                                                                      issues that the parties and the court thought were necessary
reasonably equivalent value. It found the testimony of Dennis
                                                                      before the trial began. After hearing the evidence and
Riley, an MRK attorney, credible and found that MRK's
                                                                      arguments, the bankruptcy court decided that it did not need
promise to represent Castle Trading in the 2011 Action,
                                                                      to decide some of those factual issues. This was proper.
the Aframian Action, and the Greer Action was roughly
equivalent in value to $635,000. In particular, the bankruptcy
                                                                       *8 The Trustee argues at length that the bankruptcy court
court noted that Mr. Riley estimated the costs of his legal
                                                                      should have found that the Fee Agreement was not an
services based on prior litigation with Precision and its
                                                                      earned-on-receipt retainer. As we stated above, we do not
counsel. It stated that there was no evidence that the work was
                                                                      reach this argument. In the fraudulent transfer analysis, the
not completed or that the litigation results were problematic.
                                                                      salient question was whether the Fee Agreement provided
We hold that the bankruptcy court did not clearly err.
                                                                      reasonably equivalent value to Castle Trading, and the
                                                                      bankruptcy court appropriately held that it did; it found that
The Trustee argues that the value of MRK's services should
                                                                      the value of MRK's promise was reasonably equivalent to
be capped at $217,819, which is the amount reflected in
                                                                      what MRK received. The bankruptcy court was not required
its billing records. We again disagree in the context of this
                                                                      to determine in what legal cubbyhole to place the Fee
appeal. The bankruptcy court accepted Mr. Riley's testimony
                                                                      Agreement because such a finding would not have affected
that the records may not have reflected all of the work done
                                                                      its decision that the promissory note and deeds of trust were
in the cases because MRK was not billing by the hour.
                                                                      not avoidable on a fraudulent transfer theory.
As such, there was no exact dollar amount that could be
associated with MRK's actual work. Moreover, the value
that MRK provided to Castle Trading was not limited to the
dollar amount in the billing records. Castle Trading needed                                   CONCLUSION
an attorney to represent it in multiple lawsuits, but it was
insolvent. MRK agreed to represent Castle Trading, despite            For the reasons set forth above, the bankruptcy court did not
its financial distress, and MRK was familiar with the client,         err in determining that MRK's legal services provided Castle
its owners, the adversary, and the adversary's counsel. These         Trading with reasonably equivalent value for the promissory
factors provided additional, unquantifiable value. See Meeks          note and deeds of trust. Therefore, the transfer was not a
v. Perroni (In re Armstrong), 234 B.R. 899, 906 (Bankr. E.D.          constructive fraudulent transfer, and we AFFIRM. We do not
Ark. 1999) (“reasonably equivalent value includes more than           reach the issues raised in MRK's protective cross-appeals.
the tangible hours actually expended”).

                                                                      All Citations
Therefore, we hold that the bankruptcy court did not err in
finding that MRK provided reasonably equivalent value in              Not Reported in B.R. Rptr., 2017 WL 2375493

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                                                              (B) and Cal. Civ.Code § 3439. For several years prior to
                                                              the petition date, Clay Lacy provided private flight-related
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                                                              services to the debtor, Aletheia Research and Management,
    Only the Westlaw citation is currently available.
                                                              Inc. and its management and/or employees. Trustee had
             NOT FOR PUBLICATION
                                                              alleged that insolvent Aletheia did not receive reasonably
          United States Bankruptcy Appellate
                                                              equivalent value, or any value, in exchange for flights that he
              Panel of the Ninth Circuit.
                                                              alleged were of a personal nature, benefitting only Aletheia's
             IN RE: ALETHEIA RESEARCH                         corporate officers, non-employees and family members of
          AND MANAGEMENT, INC., Debtor.                       Aletheia's principals. The bankruptcy court determined,
    Jeffrey Ian Golden, Chapter 7 Trustee, Appellant,         however, that Aletheia got exactly what it bargained for
                                                              —a chartered plane to fly persons from point A to point
                            v.
                                                              B, regardless of who received the benefit of the flight.
            Clay Lacy Aviation, Inc., Appellee.
                                                              Further, Trustee had not alleged that the fees charged by
            BAP No. CC–15–1081–KiTaKu                         Clay Lacy were something other than fair market value. As
                           |                                  such, the court concluded Aletheia had not received less than
                  Adv. No. 14–01735                           reasonably equivalent value from Clay Lacy and that Trustee's
                           |                                  complaint failed. We VACATE and REMAND.
               Bk. No. 2:12–47718–BR
                           |                                  2       Unless specified otherwise, all chapter, code and
      Argued and Submitted on November 19, 2015                       rule references are to the Bankruptcy Code, 11
                           |                                          U.S.C. §§ 101–1532, and the Federal Rules of
               Filed December 10, 2015                                Bankruptcy Procedure, Rules 1001–9037. The
                                                                      Federal Rules of Civil Procedure are referred to as
Appeal from the United States Bankruptcy Court for the                “Civil Rules.”
Central District of California, Honorable Barry Russell,
Bankruptcy Judge, Presiding
                                                                            I. FACTUAL BACKGROUND
Attorneys and Law Firms
                                                                           AND PROCEDURAL HISTORY
Aaron H. Stulman of Ashby & Geddes, P.A. argued for
                                                              Aletheia, a California corporation, was founded in 1997. One
appellant Jeffrey Ian Golden, Chapter 7 Trustee; Amy L.
                                                              of its founders, Peter J. Eichler, Jr., served as Aletheia's chief
Goldman of Lewis Brisbois Bisgaard & Smith LLP argued
                                                              executive officer. Aletheia filed a chapter 11 bankruptcy case
for appellee Clay Lacy Aviation, Inc.
                                                              on November 11, 2012. Thereafter, Trustee served as the
Before: KIRSCHER, TAYLOR and KURTZ, Bankruptcy                chapter 11 trustee, closed the business, and the case was
Judges.                                                       converted to chapter 7.


                                                              A. Trustee's complaint
                                        1
                   MEMORANDUM                                 Trustee later filed an avoidance action against Clay Lacy and
                                                              Christy Eichler a/k/a Mavis Christine Lessley, the wife of
1      This disposition is not appropriate for publication.   Mr. Eichler. 3 He alleged that Clay Lacy had provided flight
       Although it may be cited for whatever persuasive       services to management, “ostensibly for purposes related
       value it may have (see Fed. R.App. P. 32.1), it has    to Aletheia and/or in furtherance of Aletheia's business
       no precedential value. See 9th Cir. BAP Rule 8024–     operations.” During the four years prior to the petition date,
       1.                                                     Aletheia paid to Clay Lacy no less than $5,262,355.50 for
                                                              flight-related services (the “Transfers”). However, alleged
 *1 Chapter 7 2 trustee Jeffrey I. Golden appeals an order
                                                              Trustee, the Transfers paid for flights for personal use by
dismissing his complaint against Clay Lacy Aviation, Inc.,
                                                              employees or members of management and their family
which sought to avoid and recover from Clay Lacy certain
                                                              and friends and served no business purpose of Aletheia.
constructive fraudulent transfers under § 544(b), 548(a)(1)



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Many of these flights paid for by Aletheia did not have a            Clay Lacy argued that Trustee's claims for avoidance of
single Aletheia employee on board. For example, Clay Lacy            constructive fraudulent transfers should be dismissed for
received $267,198 to charter a flight to Europe for two weeks        two reasons. First, the complaint failed to show a lack of
in connection with the Eichlers' son's graduation. The flight        reasonably equivalent value received by Aletheia. Trustee had
included the Eichlers and their five children. Trustee alleged       not presented any comparison of the value of the Transfers in
this flight neither served a business purpose nor conferred any      relation to the value Aletheia received. For example, Trustee
benefit to Aletheia.                                                 failed to allege any other carrier or provider like Clay Lacy
                                                                     could have provided similar services for less cost. Instead,
3                                                                    argued Clay Lacy, Trustee erroneously focused on the identity
        Mrs. Eichler, who apparently was never an Aletheia
                                                                     of each flight passenger and his or her purported relationship
        employee, was served with Trustee's complaint on
                                                                     to Aletheia to summarily conclude that no business purpose
        January 12, 2015. Mrs. Eichler failed to file any
                                                                     or benefit was provided to Aletheia as a result of these flights.
        timely response. On Trustee's request, the clerk
                                                                     Clay Lacy argued that even if it was aware of the names of
        entered Mrs. Eichler's default on March 19, 2015,
                                                                     each passenger to whom it provided services, it did not have
        after this appeal had been filed. One day prior,
                                                                     any legal duty to inquire as to why a particular passenger was
        on March 18, 2015, Mrs. Eichler filed a voluntary
                                                                     on a given flight or to ascertain or question the purpose of
        chapter 7 bankruptcy case. As a result, Trustee's
                                                                     each passenger's flight plan. Clay Lacy argued that it provided
        avoidance action against her has been stayed.
                                                                     the appropriate services if and when requested by Aletheia—
 *2 Within Trustee's complaint were detailed examples of             i.e., a fueled plane to fly to a specific location at a specific
other flights he contended were for personal use and not for         time and date with flight attendants and requested food and
the benefit of Aletheia, including multiple trips to the Eichlers'   beverage items—in exchange for reasonably equivalent value
Lake Tahoe vacation home, ski trips to Salt Lake City, and           —i.e., payment for such services.
Eichler family vacations to Hawaii. Obtaining the information
from flight manifests, Trustee's complaint included the date of      Second, Clay Lacy argued that Trustee's complaint failed to
each flight in question, the name of each person on the flight,      provide any facts to support his unsubstantiated conclusion
the flight destination and the fee paid to Clay Lacy. A detailed     that Aletheia was insolvent at the time of the Transfers. The
list of each flight and the amount paid to Clay Lacy was also        complaint merely stated “at the time that Aletheia made each
attached to the complaint, including one flight that alone cost      of the alleged transfers to Clay Lacy, Aletheia was insolvent.”
over $500,000.                                                       This conclusory allegation of insolvency, argued Clay Lacy,
                                                                     failed to meet the pleading standard in Twombly. 4
Trustee further alleged that Aletheia was insolvent at the time
the Transfers were made to Clay Lacy. He argued that no
                                                                     4
reasonable person would conclude any of the listed flights                   Bell Atlantic Corp. v. Twombly, 550 U.S. 554
were for a legitimate business purpose of Aletheia and, thus,                (2007).
the Transfers made on account of these flights were not
received by Clay Lacy in good faith. In closing, Trustee                2. Trustee's opposition
reserved the right to amend his complaint.                           Trustee contended that his complaint met the Twombly
                                                                     standard and sufficiently alleged that while Aletheia was
                                                                     insolvent, it made at least 126 transfers totaling no less
B. Clay Lacy's motion to dismiss, Trustee's opposition               than $5,262,355.50 to Clay Lacy for which Aletheia did not
and Clay Lacy's reply                                                receive reasonably equivalent value, or any value, in return.
                                                                     Trustee reiterated that during the fraudulent transfer period,
   1. Clay Lacy's motion to dismiss
                                                                     Aletheia chartered at least 21 flights purportedly for the
Clay Lacy moved to dismiss Trustee's complaint under
                                                                     benefit of Aletheia amounting to no less than $355,949.35 for
Civil Rule 12(b)(6)(“Motion to Dismiss”). In short, Clay
                                                                     which no Aletheia employee was even present. Trustee argued
Lacy argued that Trustee's complaint asserted conclusory
                                                                     that no value was received for these flights. An additional
statements and failed to provide any specificity or ultimate
                                                                     41 flights all purportedly undertaken for Aletheia's benefit
fact.
                                                                     that cost Aletheia no less than $1,512.150.53 were personal
                                                                     in nature for the Eichler family and their friends, such as
                                                                     vacation trips to Lake Tahoe, Hawaii and Europe. Trustee


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argued that Aletheia received little to no value on account of      to serve a specific business purpose, argued Clay Lacy, was
those flights.                                                      inapposite to the analysis of a constructive fraudulent transfer
                                                                    claim. Clay Lacy contended that if “reasonably equivalent
 *3 As for Clay Lacy's contention that the complaint failed         value” was defined by the ultimate purpose of the service,
to plead facts alleging lack of reasonably equivalent value,        such a standard would hinder service providers from engaging
Trustee argued that “reasonably equivalent value” focuses on        in business with debtors such as Aletheia.
what the debtor surrendered and what the debtor received, not
what the creditor gave. Trustee contended that his complaint        As for insolvency, Clay Lacy reiterated that Trustee's
had met this standard by alleging that Aletheia paid Clay Lacy      complaint merely parroted the statutory elements of § 548(a)
certain sums of money for which it received little or no value      (1)(B) and failed to allege any facts regarding Aletheia's
in return. Trustee further disputed Clay Lacy's contention          financial condition at the time of the Transfers, such as a
that his complaint failed to present any comparison of the          reference to a balance sheet or a description of the obligations
value of the alleged Transfers in relation to the value Aletheia    Aletheia owed as compared to the working capital Aletheia
received. In fact, he had alleged that Aletheia received no         had at that time.
value in return for the amount paid to Clay Lacy where no
employee was on board and no business purpose existed.
Thus, the comparison of value was self-evident. Moreover,           C. The bankruptcy court's ruling to dismiss Trustee's
argued Trustee, his complaint focused on the identity of each       complaint
flight passenger because if no employees were on board (e.g.,       At the start of the hearing on Clay Lacy's Motion to
Mrs. Eichler and her four friends flying to Salt Lake City at an    Dismiss, the bankruptcy court noted it was not clear from
expense to Aletheia of $16,798.01), then no Aletheia business       Trustee's complaint whether Aletheia or some individual not
could have been conducted and Aletheia received no value in         representing Aletheia hired Clay Lacy for each of the flights
return for the payments it made to Clay Lacy.                       in question. Counsel for Trustee responded that it appeared
                                                                    Aletheia had hired Clay Lacy each time, but they were still
Finally, Trustee argued that he did not need to plead               investigating whether certain executive employees may have
insolvency with particularity. Rather, insolvency could be          made the call on behalf of Aletheia. Counsel conceded that
pleaded generally and still be sufficient to survive a motion       such employees would have had the authority to arrange the
to dismiss. Trustee contended that his allegation of Aletheia's     flights.
insolvency had to be considered in a light most favorable
to him and assumed to be true for purposes of Clay Lacy's           The bankruptcy court then made its ruling from the bench,
motion. Any question regarding Aletheia's insolvency would          granting Clay Lacy's Motion to Dismiss:
be further developed in discovery, on summary disposition or
                                                                      Okay. Well, let me tell you this. This is going to be a very
at a trial on the merits. Alternatively, Trustee requested leave
                                                                      short hearing; I think you can see where I'm going. When
to amend his complaint to address any possible deficiencies.
                                                                      I read this I said this can't possibly be the law. Maybe,
                                                                      sometimes it is. But this case, it's quite clear that the debtor
   3. Clay Lacy's reply                                               got what it bargained for.
In reply, Clay Lacy argued that while Trustee's complaint
                                                                       *4 ....
alleged facts about flights he contended were personal in
nature and of no benefit to Aletheia and it recited the statutory     There's not going to be a debate. It is so clear to me that
elements of a constructive fraudulent transfer under the              you got it wrong; just the whole theory of this is wrong....
Code and California law, nothing sufficiently connected the           There are two things going on here. The debtor got what it
description of the flights and passengers to the allegations          bargained for. As they pointed out, there is no – your theory
of constructive fraudulent transfer against Clay Lacy. Clay           is that it's ... a fraudulent transfer because ... there was no
Lacy argued that Trustee's complaint either missed or was             good purpose for it and so forth. I really do understand it
trying to avoid the simple facts that: (1) Aletheia requested         but I just don't buy it for a second.
flights and other related services; (2) Clay Lacy provided the
services Aletheia requested; and (3) Aletheia paid Clay Lacy          What actually happened here is in any commercial activity,
for the services provided. Whether or not the passengers were         like, for example, with renting a car or renting a house ....
Aletheia employees and whether or not the paid flights were           The debtor got what it bargained for. It got a plane. Period.


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  And as they point out, there's no evidence that this was a
  higher price for the normal planes....
                                                                                   IV. STANDARDS OF REVIEW
  What you're saying is well, because the use of the plane
                                                                      We review de novo the bankruptcy court's order dismissing
  didn't benefit the debtor, therefore, it's a fraudulent transfer.
                                                                      a complaint under Civil Rule 12(b)(6). Hernandez v. Cty. of
  I just don't buy that for a second.
                                                                      Tulare, 666 F.3d 631, 636 (9th Cir.2012); Tracht Gut, LLC
  If indeed, for instance—and I'm not ruling on it ... because        v. Cty. of L.A. (In re Tracht Gut, LLC), 503 B.R. 804, 810
  it's not before me, but as [Mrs. Eichler] is concerned, if the      (9th Cir. BAP2014). A dismissal without leave to amend and
  debtor then gave away, in this case, free transportation to         with prejudice is reviewed for an abuse of discretion. Id. A
  her at a certain value then that might very well be. I'm not        bankruptcy court abuses its discretion by denying leave to
  saying it is but that, at least, as far as ... any of these other   amend unless amendment would be futile or the plaintiff has
  people that got a free ride ... yes, that could very easily be      failed to cure the complaint's deficiencies despite repeated
  a fraudulent transfer. But the transfer there would be from         opportunities. Hernandez, 666 F.3d at 636. A bankruptcy
  the debtor giving the actual seats on the plane[.] That could       court also abuses its discretion when it commits an error of
  easily be a fraudulent transfer because the debtor got no           law. Id.
  benefit on that. But here, the debtor got what it bargained
  for. It got a plane, a chartered plane. Period.
                                                                                            V. DISCUSSION
So ... there is no fraudulent transfer here.... Hr'g Tr. (Feb. 11,
2015) 8:19–23, 9:7–21, 10:1–20. The court did not discuss             A. Standard for dismissal under Civil Rule 12(b)(6)
whether Trustee would be given leave to amend.                         *5 Under Rule 7012, incorporating Civil Rule 12(b)(6), a
                                                                      defendant may move to dismiss a complaint if it fails to
The order granting Clay Lacy's Motion to Dismiss and                  “state a claim upon which relief can be granted.” Under Rule
dismissing Trustee's complaint was entered on February 24,            7008, incorporating Civil Rule 8(a), a complaint must contain
2015. The order, drafted by counsel for Clay Lacy, failed             “a short and plain statement of the claim showing that the
to articulate or incorporate any of the bankruptcy court's            pleader is entitled to relief.” 5 Civil Rule 8(a)(2). “[T]he
findings. It was also silent as to whether the complaint was          pleading standard Rule 8 announces does not require ‘detailed
dismissed with or without prejudice. Trustee timely appealed.         factual allegations,’ but it demands more than an unadorned,
                                                                      the-defendant-unlawfully-harmed-me accusation.” Ashcroft
                                                                      v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Twombly, 550 U.S.
                     II. JURISDICTION                                 at 555). “A pleading that offers ‘labels and conclusions’ or ‘a
                                                                      formulaic recitation of the elements of a cause of action will
The bankruptcy court had jurisdiction under 28 U.S.C. §§              not do.’ ” Id. (quoting Twombly, 550 U.S. at 555). “Nor does
1334 and 157(b)(2)(H). We initially determined the order on           a complaint suffice if it tenders ‘naked assertions' devoid of
appeal was interlocutory. After briefing by the parties, the          “further factual enhancement.’ ” Id. (quoting Twombly, 550
Panel agreed to consider Trustee's notice of appeal as a motion       U.S. at 557).
for leave to appeal and granted leave to appeal. See Rule
8004(d). Accordingly, we have jurisdiction under 28 U.S.C.            5      Neither party has contended that the heightened
§ 158.                                                                       pleading standard of Civil Rule 9(b) applies to
                                                                             constructive fraud claims. We agree it does not
                                                                             apply. See Cendant Corp. v. Shelton, 474 F.Supp.2d
                          III. ISSUES                                        377, 380 (D.Conn.2007)(Civil Rule 9(b) applies
                                                                             only to actual, not constructive, fraud claims);
1. Did the bankruptcy court err when it granted Clay Lacy's                  Charys Liquidating Trust v. McMahan Sec. Co.
Motion to Dismiss?                                                           (In re Charys Holding Co.), 443 B.R. 628, 632
                                                                             n.2 (Bankr.D.Del.2010)(constructive fraudulent
2 Did the bankruptcy court abuse its discretion when it
                                                                             transfer claims are governed by Civil Rule 8, not
dismissed Trustee's complaint without leave to amend?
                                                                             the heightened Civil Rule 9(b) pleading standard);



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        Angell v. Ber Care, Inc. (In re Caremerica, Inc.),            California law, namely CAL. CIV. CODE §§ 3439.04(a)(2)
        409 B.R. 737, 755–56 (Bankr.E.D.N.C.2009)(Civil               and 3439.05. 6 These state statutes are essentially identical to
        Rule 9(b) is inapplicable to constructive fraud               § 548(a)(1)(B), except the limitations period for avoidance is
        claims because such claims are not based on actual            longer—the later of 4 years after the transfer or 1 year after
        fraud but instead rely on the debtor's financial              the date of reasonable discovery. See CAL. CIV. CODE §
        condition and the sufficiency of consideration paid           3439.09(a).
        by the transferee)(citing cases).
To survive a motion to dismiss, “a complaint must contain             6       Under California law, constructive fraud may be
sufficient factual matter, accepted as true, to ‘state a claim to             found as to any present or future creditor when
relief that is plausible on its face.’ ” Id. (quoting Twombly,                a debtor does not receive a reasonably equivalent
550 U.S. at 570). “A claim has facial plausibility when the                   value in exchange for the transfer, and either: (A)
plaintiff pleads factual content that allows the court to draw                was engaged or was about to engage in a business
the reasonable inference that the defendant is liable for the                 or a transaction for which the remaining assets of
misconduct alleged.” Id. (quoting Twombly, 550 U.S. at 556).                  the debtor were unreasonably small in relation to
“[A] complaint [that] pleads facts that are ‘merely consistent                the business or transaction; (B) intended to incur, or
with’ a defendant's liability ... ‘stops short of the line between            believed or reasonably should have believed that he
possibility and plausibility of entitlement to relief.’ ” Id.                 or she would incur, debts beyond his or her ability
(quoting Twombly, 550 U.S. at 557). Although a court must                     to pay as they became due. CAL. CIV. CODE §
accept as true all factual allegations contained in a complaint,              3439.04(a)(2). Similarly, constructive fraud can be
a court need not accept plaintiff's legal conclusions as true.                found under CAL. CIV. CODE § 3439.05 “as to
Id. “Threadbare recitals of the elements of a cause of action,                an existing creditor if the debtor does not receive
supported by mere conclusory statements, do not suffice.” Id.                 reasonably equivalent value and ‘was insolvent at
(quoting Twombly, 550 U.S. at 555). A dismissal under Civil                   that time or ... became insolvent as a result of
Rule 12(b)(6) may be based on either the lack of cognizable                   the transfer.” Mejia v. Reed, 31 Cal.4th 657, 670
legal theory or on the absence of sufficient facts alleged under              (2003)(quoting CAL. CIV. CODE § 3439.05).
a cognizable legal theory. Johnson v. Riverside Healthcare
                                                                       *6 Both state and federal law allow a transfer to be avoided
Sys., 534 F.3d 1116, 1121 (9th Cir.2008).
                                                                      where “the debtor did not receive a reasonably equivalent
                                                                      value in exchange for the transfer and the debtor was either
B. Governing law: §§ 544, 548 and CAL. CIV. CODE §                    insolvent at the time of the transfer or was engaged in
3439                                                                  business with unreasonably small capital.” In re United
A bankruptcy trustee can avoid constructive fraudulent                Energy Corp., 944 F.2d at 594 (citation and internal quotation
transfers under state law and the Code. Section 544(b) allows         marks omitted). Because California law is similar in form and
the trustee to avoid any transfers of a debtor's property which       substance to the Code's fraudulent transfer provisions, they
would be avoidable by an unsecured creditor under state law.          may be interpreted contemporaneously. Id.
Section 548 provides a federal statutory basis for avoiding
fraudulent transfers. Wyle v. C.H. Rider & Family (In re              Applying Twombly to the present case, a complaint seeking
United Energy Corp.), 944 F.2d 589, 593 (9th Cir.1991).               relief under §§ 544(b) and 548(a)(1)(B)(i) and (ii)(I) must
Trustee sought to avoid the Transfers to Clay Lacy under both         contain sufficient facts plausible on their face that establish
§§ 544(b) and 548(a)(1)(B).                                           the debtor: (1) made a transfer of the debtor's property; (2)
                                                                      within 2 or 4 years of the petition date; (3) received less than a
Under § 548(a)(1)(B), a trustee may avoid any transfer of             reasonably equivalent value in exchange for the transfer; and
an interest of the debtor in property that was made within 2          (4) was insolvent on the date the transfer was made or became
years before the date of the filing of the petition, if the debtor    insolvent as a result of the transfer. In re United Energy Corp.,
voluntarily or involuntarily received less than a reasonably          944 F.2d at 594 (stating elements of a claim under § 548).
equivalent value in exchange for such transfer, and was
insolvent on the date that such transfer was made or became           Whether the Transfers were property of Aletheia and that they
insolvent as a result of such transfer. § 548(a)(1)(B)(i), (ii)(I).   were made within 2 or 4 years of the petition date was not
The applicable state law for Trustee's claim under § 544(b) is        disputed. We agree these two elements were supported by



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the requisite factual allegations. The complaint identified the     that he contended were taken by the debtor's officers “purely
property transferred (i.e., Aletheia funds paid to Clay Lacy)       for personal pleasure, not as business trips taken on EAR's
and provided dates of the Transfers, which were all within 2        behalf,” and that did not benefit EAR. Id. at 530, 535. No
or 4 years of the petition date. The issue before us is whether     argument was raised that Charter Airlines charged more than
Trustee sufficiently pleaded that Aletheia was insolvent at the     fair market value for the flights. The primary focus was
time of the Transfers (or became insolvent as a result) and         whether EAR received reasonably equivalent value for the
whether he sufficiently pleaded that Aletheia did not receive       chartered flights it contracted and paid for. Id. at 530, 534–
reasonably equivalent value in exchange for the Transfers.          35. In its defense, Charter Airlines offered an affidavit of the
                                                                    chief pilot and captain of every flight, who asserted that the
                                                                    flights were for business purposes based on his belief that
C. The bankruptcy court erred when it granted Clay                  he was flying EAR's officers to business meetings and his
Lacy's Motion to Dismiss.                                           observations of cell phone conversations of a business nature.
                                                                    Id. at 535. Ultimately, the bankruptcy court denied summary
   1. The bankruptcy court applied an incorrect
                                                                    judgment to the plan administrator, holding that a factual issue
   standard of law in ruling that Clay Lacy could not be
                                                                    remained for trial as to whether EAR received reasonably
   a transferee.
The bankruptcy court's ruling here is ambiguous, making our         equivalent value. Id. 7
review somewhat difficult. It appears the court did two things.
First, it seems to have ruled as a matter of law that Clay Lacy     7       After discovery, the bankruptcy court granted
could never be a proper transferee because Aletheia “got what               summary judgment in favor of defendant Charter
it bargained for.” This ruling was in error.                                Airlines due to its good faith defense under §
                                                                            548(c). Id. at 536. However, as we discuss below,
We agree with Trustee that the bankruptcy court incorrectly                 the defense of “good faith” is fact-specific and
determined that because Aletheia directly contracted with                   should not be considered in the context of a motion
Clay Lacy, no fraudulent conveyance claim could be asserted,                to dismiss.
ruling that “if a principal of the debtor ... incurs debts
                                                                     *7 A similar claim was at issue in Burdick. There, the
and then the debtor pays those debts; that's different....
                                                                    corporate debtor had contracted with a charter flight service,
But this is [Aletheia] who incurred the debt. So I'm going
                                                                    Enterprises, for flights taken by one of its officers, Mr. Lee.
to ... grant the motion to dismiss.” Hr'g Tr. (Feb. 11, 2015)
                                                                    256 B.R. at 839. The chapter 7 trustee sought to avoid
11:18–25. The general rule is that the party who receives
                                                                    transfers to Enterprises for flights that he alleged benefitted
a transfer of property directly from the debtor is the initial
                                                                    only Mr. Lee. Id. A question for trial was whether the debtor
transferee. Incomnet, Inc. v. Universal Serv. Admin. Co. (In
                                                                    received less than reasonably equivalent value for the flights
re Incomnet, Inc.), 299 B.R. 574, 578 (9th Cir. BAP2003),
                                                                    taken by Mr. Lee and charged to the debtor via the defendant,
aff'd, 463 F.3d 1064, 1073 (9th Cir.2006). The fact that a
                                                                    Enterprises. Id. at 839–40. Enterprises ultimately prevailed.
corporate debtor directly incurred a debt to a service provider,
                                                                    Mr. Lee testified that he used the plane for both business and
such as Clay Lacy, is not an automatic bar to recovery
                                                                    personal travel, but that he paid with his own funds for any
for a fraudulent conveyance from the service provider
                                                                    personal use. Therefore, the court held that it could not infer
transferee. See Burdick v. Lee, 256 B.R. 837 (D.Mass.2001);
                                                                    the corporate debtor received less than reasonably equivalent
Lawrence v. Bonadio, Insero & Co. (In re Interco Sys.,
                                                                    value for the expenses incurred for Mr. Lee's personal use of
Inc.), 202 B.R. 188 (Bankr.W.D.N.Y.1996); Brandt v. Charter
                                                                    the plane. Id. at 840.
Airlines, LLC (In re Equip. Acquisition Res., Inc.), 511 B.R.
527 (Bankr.N.D.Ill.2014), rev'd in part, 2015 WL 4764145
                                                                    Finally, one of the issues in Interco Systems, Inc. was whether
(N.D.Ill.2015) (hereinafter “EAR”).
                                                                    the corporate debtor received reasonably equivalent value for
                                                                    payments it made to attorneys for legal services provided
EAR involved substantially similar facts. There, the corporate
                                                                    in connection with a sale of one of the debtor's company
debtor, EAR, had contracted directly with the defendant,
                                                                    divisions. 202 B.R. at 191. In suing the attorneys for recovery
Charter Airlines, to provide flights for EAR's officers in
                                                                    of the fees, the chapter 7 trustee alleged that the legal services
exchange for payment. 511 B.R. at 530, 533. The flights
                                                                    requested and paid for by the corporate debtor benefitted only
were paid for by EAR. Id. The plaintiff plan administrator
                                                                    the debtor's corporate officer. Id. at 192–93. Thus, reasonably
sought to avoid certain transfers to Charter Airlines for flights


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equivalent value to the debtor was lacking. Ultimately, the      paid for a service that may not have benefitted the debtor,
trustee lost at trial. The bankruptcy court concluded that the   but rather may have benefitted only the debtor's corporate
corporate debtor, in its business judgment, believed that it     officer or employee. In each case, the defendant service
received a financial benefit from the sale transaction. Id. at   provider was the recipient of the transfer (i.e., money for
194. The court went on to note:                                  services rendered), which was potentially avoidable because
                                                                 the corporate debtor may have received less than reasonably
                                                                 equivalent value in exchange. Such defendants, however, may
            Certainly,    if   the     facts    and              offer an affirmative defense, as did some of the defendants
            circumstances indicate that a payment                discussed. However, resolution of such defenses is not proper
            of professional fees or other expenses               in the context of a motion to dismiss under Civil Rule 12(b)
            by a corporation was for services                    (6). McFarland v. Gen. Elec. Capital Corp. (In re Int'l Mfg.
            or goods which solely benefitted                     Grp., Inc.), 538 B.R. 22, 33 (Bankr.E.D.Cal.2015)(citing
            a third party, whether it be a                       Picard v. Merkin (In re Bernard L. Madoff Inv. Sec.),
            principal, officer or employee, and                  440 B.R. 243, 256 (Bankr.S.D.N.Y.2010)). But see Asarco,
            had no reasonable, good faith business               LLC v. Union Pac. R.R. Co., 765 F.3d 999, 1004 (9th
            judgment benefit to the corporation,                 Cir.2014)(dismissal under Civil Rule 12(b)(6) on the basis
            that payment would be avoidable                      of an affirmative defense is proper only if the defendant
            under Section 548 because of a lack                  shows some obvious bar to securing relief on the face of the
            of reasonably equivalent value, if all               complaint.)
            of the other requirements of that
            Section were met. In this case, the                   *8 Therefore, to the extent the bankruptcy court ruled as a
            $150.00 paid by Interco for services                 matter of law that Clay Lacy could not be a transferee because
            rendered to Davie in connection with                 Aletheia incurred the debt for flight services and got what it
            his matrimonial is such an improper                  bargained for, we believe it erred.
            and avoidable transfer. However, when
            in the exercise of reasonable, good
                                                                    2. The bankruptcy court further erred in making a
            faith business judgment, there is a
                                                                    factual determination as to reasonably equivalent
            perceived financial benefit to the
                                                                    value.
            corporation which justifies the fees
                                                                 The bankruptcy court also appears to have found as a matter
            or expenses paid, as in the case of
                                                                 of fact that even if Clay Lacy could be a transferee, it
            the sale to UDI, unless the Trustee
                                                                 undisputedly provided Aletheia with reasonably equivalent
            meets his or her burden to prove
                                                                 value for the Transfers because it provided Aletheia with the
            that there was in fact no benefit,
                                                                 service it requested at a fair market price. Such findings are
            or a substantially and reasonably
                                                                 not appropriate in the context of a motion to dismiss under
            quantifiable disproportionate financial
                                                                 Civil Rule 12(b)(6).
            benefit, the payment of professional
            fees or expenses to the professionals
                                                                 The question of whether or not reasonably equivalent value
            or others who perform the services or
                                                                 was provided in exchange for a transfer is clearly a question
            provided the goods at the request of the
                                                                 of fact. Nordberg v. Arab Banking Corp. (In re Chase &
            corporation and charged a reasonable
                                                                 Sanborn Corp.), 904 F.3d 588, 593 (11th Cir.1990); Jacoway
            rate is not avoidable as a fraudulent
                                                                 v. Anderson (In re Ozark Rest. Equip. Co.), 850 F.2d 342,
            conveyance under Section 548(a)(2)
                                                                 344 (8th Cir.1988); Samson v. W. Capital Partners LLC (In
            (B)(I).
                                                                 re Blixeth), 2012 WL 1981719, at *15 (Bankr.D. Mont. June
                                                                 1, 2012); Salven v. Munday (In re Kemmer), 265 B.R. 224,
                                                                 232 (Bankr.E.D.Cal.2001). See also Decker v. Tramiel (In re
Id.
                                                                 JTS Corp.), 617 F.3d 1102, 1109–10 (9th Cir.2010)(holding
                                                                 that bankruptcy court's finding as to reasonably equivalent
Regardless of the outcome, these cases have one important
                                                                 value was not “clearly erroneous”). The primary focus is on
common denominator: the corporate debtor contracted and
                                                                 the net effect of the transaction on the debtor's estate and funds


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                                                                       transfers is highly questionable without more supportive facts
available to the unsecured creditors. Frontier Bank v. Brown
                                                                       from Trustee. However, he will have another opportunity to
(In re N. Merch., Inc.), 371 F.3d 1056, 1059 (9th Cir.2004);
                                                                       plead his claim.
Maddox v. Robertson (In re Prejean), 994 F.2d 706, 708–09
(9th Cir.1993)(reasonably equivalent value under California
UFTA is “determined from the standpoint of the creditors”).            D. The bankruptcy court abused its discretion when it
See also In re United Energy Corp., 944 F.2d at 597 (“[T]he            dismissed Trustee's complaint without leave to amend.
analysis is directed at what the debtor surrendered and what            *9 Trustee contends the bankruptcy court abused its
the debtor received irrespective of what any third party may           discretion by not granting his request for leave to amend. The
have gained or lost.”).                                                court did not discuss amendment at the hearing. In addition,
                                                                       the order dismissing Trustee's complaint fails to state whether
In reviewing the complaint, Trustee alleged that in exchange           it was dismissed with or without prejudice. However, because
for the Transfers, Aletheia received little or no value for            the court believed that Trustee could never plead a fraudulent
flights where (1) employees took the flight for personal               conveyance claim against Clay Lacy, we can only presume it
purposes or (2) no Aletheia employees were even on board.              believed any amendment would be futile and that dismissal
He provided a comprehensive list of the flights in question,           was with prejudice. Due to the errors committed by the court
including the dates, names of each passenger on the flight,            discussed above, we agree with Trustee.
the flight's destination and the price paid to Clay Lacy.
Viewing the complaint in a light most favorable to Trustee, we         Under Rule 7015, incorporating Civil Rule 15(a)(2), “[t]he
conclude he stated sufficient facts to show Aletheia may not           court should freely give leave [to amend] when justice so
have received reasonably equivalent value from Clay Lacy               requires.” If a Civil Rule 12(b)(6) motion is granted, the
for the Transfers.                                                     “court should grant leave to amend even if no request to
                                                                       amend the pleading was made, unless it determines that the
                                                                       pleading could not possibly be cured by the allegation of other
  3. Trustee failed to plead sufficient facts to establish a
                                                                       facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir.2000)(en
  plausible claim for insolvency.
                                                                       banc)(internal quotation marks and citation omitted). In other
The bankruptcy court did not rule on Trustee's allegation of
                                                                       words, dismissal is proper if any potential amendment of the
Aletheia's insolvency. However, our review is de novo, and
                                                                       complaint would be futile. Although Trustee failed to plead
we conclude Trustee's complaint fell short on the matter.
                                                                       sufficient facts to show insolvency, we do not conclude that
                                                                       amending his complaint would be futile.
For this required element under both state and federal
law, Trustee alleged generally that at the time Aletheia
made each of the alleged Transfers to Clay Lacy, “Aletheia
was insolvent.” Trustee's complaint failed to set forth any                                 VI. CONCLUSION
factual support for this conclusion that would demonstrate
plausibility. He did not offer a single fact to show that              Accordingly, we VACATE and REMAND to the bankruptcy
Aletheia was insolvent at the time of the Transfers or became          court with instruction that Trustee be allowed to amend his
insolvent as a result. This threadbare allegation does not pass        complaint.
muster under Twombly. 550 U.S. at 555 (“Threadbare recitals
of the elements of a cause of action, supported by mere
                                                                       All Citations
conclusory statements, do not suffice.”). Notably, some of
the alleged Transfers reach back as far as four years before           Not Reported in B.R. Rptr., 2015 WL 8483728
Aletheia filed its bankruptcy case; thus, plausibility for those

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                                                             Philip L. Grauman, pro se.
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   Only the Westlaw citation is currently available.         Mathew P. & Cynthia Zinn, pro se.
              NOT FOR PUBLICATION
   United States Bankruptcy Court, C.D. California,          TLRX Properties, LLC, pro se.
                Los Angeles Division.
                                                             Sterling Trust Company FBO Alice Schmitt, pro se.
      In re SCI REAL ESTATE INVESTMENTS,
                                                             SCI Ft. Myers Fund LLC for The R & J Limited Partnership,
      LLC, a Virginia limited liability company,
                                                             pro se.
         Secured California Investments, Inc.,
           a California corporation; Debtors.                Lewis M. Savage, IRA Union Bank of CA, pro se.
        William Hoffman, not individually but
        solely as Liquidating Trustee of the SCI
       Bankruptcy Liquidating Trust, Plaintiff,                           MEMORANDUM DECISION
                            v.
                                                             PETER H. CARROLL, United States Bankruptcy Judge.
    Joel D. and Fay S. Adelman, et al., Defendants.
                                                              *1 This matter comes before the court on a motion
           Bankrutpcy No. 2:11–bk–15975–PC.                  by Defendants, Joel D. Adelman, et al., (collectively, the
                           |                                 “Defendants”) seeking a dismissal of Plaintiff's Complaint
           Adversary No. 2:13–ap–01175–PC.                   for: (1) Avoidance and Recovery of Actual Fraudulent
                           |                                 Transfers [11 U.S.C. §§ 544(B), 550(A), 551 and
                     May 1, 2013.                            California Uniform Fraudulent Transfer Act, Cal. Civ.Code
Attorneys and Law Firms                                      Sections 3439.01—3439.12]; (2) Avoidance and Recovery
                                                             of Constructive Fraudulent Transfers [11 U.S.C. §§ 544(B),
Jeffrey W. Dulberg, Scotta E. McFarland, Pachulski, Stang,   550(A), 551 and California Uniform Fraudulent Transfer
Ziehl & Jones, LLP, Jeffrey N. Pomerantz, Los Angeles, CA,   Act, Cal. Civ.Code Sections 3439.01—3439.12]; and (3)
Bruce J. Zabarauskas, Thompson & Knight, New York, NY,       Second Omnibus Objection to and Disallowance of Claims
for Debtors.                                                 Held by Defendants [See Attached Exhibit 1 for List of
                                                             Defendants' Proofs of Claim] [11 U.S.C. §§ 502(B)(1)
Kay S. Kress, Pepper Hamilton, LLP, Southfield, MI, for      and 502(D) ](“Complaint”) pursuant to F.R.Civ.P. 12(b)
Plaintiff.
                                                             (6). 1 William Hoffman, Liquidating Trustee of the SCI
Joel D. and Fay S. Adelman, pro se.                          Bankruptcy Liquidating Trust (“Hoffman”) opposes the
                                                             motion. Appearances were stated on the record. The court,
Marc & Renee Paul, FLP, pro se.                              having considered the pleadings and arguments of counsel,
                                                             makes the following findings of fact and conclusions of law
Punam Patel or Vidya Patel, Trustee, pro se.                 pursuant to F.R.Civ.P. 52(a)(1), as incorporated into FRBP
                                                             7052 and applied to adversary proceedings in bankruptcy
Penelope Parmes Rutan & Tucker LLP, Costa Mesa, Christine
                                                             cases.
M. Pajak, Los Angeles, CA, for Defendants.

Alicia Lomeli, Trustee, pro se.                              1      Unless otherwise indicated, all “Code,” “chapter”
                                                                    and “section” references are to the Bankruptcy
Alice LeFebvre, LS, pro se.
                                                                    Code, 11 U.S.C. §§ 101–1330 after its amendment
Nancy Kresek Revocable Trust, pro se.                               by the Bankruptcy Abuse Prevention and
                                                                    Consumer Protection Act of 2005, Pub.L. 109–8,
Glen P. & Jacqueline Kaner, pro se.                                 119 Stat. 23 (2005). “Rule” references are to the
                                                                    Federal Rules of Bankruptcy Procedure (“FRBP”),
Glen Kaner, pro se.                                                 which make applicable certain Federal Rules of
                                                                    Civil Procedure (“F.R.Civ.P.”). “LBR” references


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       are to the Local Bankruptcy Rules of the United             arising out of SCI Ft. Myers in exchange for SCI Inc.'s
       States Bankruptcy Court for the Central District of         promise evidenced by a promissory note (“Ft. Myers Note”)
       California (“LBR”).                                         to reimburse each Defendant for the Initial Investment, less
                                                                   any amounts already received. Hoffman alleges that the
                                                                   Debtors were insolvent at the time of this transfer, and
                 I. STATEMENT OF FACTS                             thereafter, did not make any payments on the Ft Myers Notes
                                                                   given to the Defendants in conjunction with the transfer.
On February 11, 2011, SCI Real Estate Investments, LLC
                                                                   Hoffman objects to the Defendants' respective proofs of claim
(“SCI LLC”) and Secured California Investments, Inc. (“SCI
                                                                   and seeks to avoid and recover the transfers pursuant to §
Inc.”) filed voluntary petitions under chapter 11 of the Code
                                                                   544(b) as either actually or constructively fraudulent under
in Case Nos. 2:11–bk–15975–PC and 2:11–bk–15987–BR,
                                                                   state law.
respectively, in the United States Bankruptcy Court, Central
District of California, Los Angeles Division. By order entered
                                                                   On March 21, 2013, Defendants filed their Motion to Dismiss
on March 4, 2011, the SCI Inc. case was reassigned to Judge
                                                                   seeking a dismissal of Hoffman's Complaint with prejudice
Peter H. Carroll to be jointly administered with SCI LLC
                                                                   pursuant to F.R.Civ.P 12(b)(6) on the following grounds:
under Case No. 2:11–bk–15975–PC. On June 15, 2012, the
court confirmed the First Amended Joint Chapter 11 Plan                First, the Complaint fails to describe any “fraudulent
of Liquidation for SCI Real Estate Investments, LLC and                scheme” of the Debtors, let alone with the particularity that
Secured California Investments, Inc. dated April 19, 2012.             is required for allegations of fraud. Second, the fraudulent
Under the confirmed plan, Hoffman is authorized as the                 conveyance allegations are premised on the unsupportable
Liquidating Trustee to prosecute and settle all causes of action       allegation that the SCI Ft. Myers Membership Interests
owned by the trust.                                                    were “worthless” or “had negligible value” ..., even though,
                                                                       at no point, does the Complaint assert the value of
On February 15, 2013, Hoffman filed his four-count                     the underlying Portfolio Properties. Third, based on the
Complaint against the Defendants in this adversary                     assumption that the SCI Ft. Myers Membership Interests
proceeding. According to the Complaint, SCI Inc. and SCI               had little value, the Complaint summarily concludes that
LLC (collectively, the “Debtors”) operated approximately               the Ft. Myers Notes given in exchange for the SCI
60 limited liability companies engaged in the business of              Ft. Myers Membership Interests (and the Defendants'
real estate investment. Each of the Debtors' limited liability         Releases) were not of “a reasonably equivalent value,”
companies would acquire equity in one or more commercial               without any factual basis to make such claim “plausible.”
real estate properties and offer co-ownership interests in those       Finally, the Complaint does not contain any factual
properties to individual investors. One of the Debtors' limited        allegation to support the conclusion that the Debtors were
liability companies was SCI Ft. Myers Fund, LLC (“SCI                  insolvent at the time of, or were made insolvent by, the SCI
Ft. Myers”). SCI Ft. Myers and Naples Realty Group, LLC                Ft. Myers Membership Interest Transfer—which was 27
formed Ft. Myers Property Investment Co. to acquire and
                                                                       months before the Petition Date. 2
operate three apartment communities in Ft. Myers, Florida.
SCI Inc. owned an 8.8% interest in SCI Ft. Myers. Each of
                                                                   2
the Defendants invested with SCI Inc. in SCI Ft. Myers and,                 Motion to Dismiss (“Defendants' Motion”) 6:21 to
as an SCI Ft. Myers Fund Investor, received an SCI Ft. Myers                7:8.
Membership Interest. Defendants' initial investments in SCI        On April 2, 2013, Hoffman filed opposition to Defendants'
Ft. Myers ranged from $1,000 to $1,021,000 each, according         Motion and Defendants replied on April 9, 2013. After a
to Exhibit 1 to the Complaint.                                     hearing on April 16, 2013, the court took the matter under
                                                                   submission. 3
 *2 When the Ft. Myers Property Investment Co. proved
unprofitable, SCI Ft Myers sent a letter to each of the
                                                                   3
Defendants offering to acquire their respective SCI Ft. Myers               At the conclusion of oral argument, the court
Membership Interests. By Assignment Agreement dated                         advised counsel for the parties of its intention to
November 1, 2008, the Defendants each transferred their                     grant Defendants' motion and dismiss Hoffman's
respective SCI Ft. Myers Membership Interests to SCI Inc.                   Complaint with leave to amend. The court notes
and released SCI Inc. and its affiliates from any liability                 that Defendants “do not consent to entry of final



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        orders or judgment by the bankruptcy judge in               legal conclusions as true. Iqbal, 556 U.S. at 678. “Threadbare
        this adversary proceeding.” Defendants' Motion              recitals of the elements of a cause of action, supported by mere
        1:18–21. Absent consent or waiver, this court lacks         conclusory statements, do not suffice.” Id. (quoting Twombly,
        constitutional authority to enter a final judgment          550 U.S. at 555).
        on a fraudulent transfer claim against a person or
        entity that has not filed a proof of claim against          4       Rule 12(b)(6) is applicable to adversary
        the bankruptcy estate. See Executive Benefits Ins.
                                                                            proceedings by virtue of FRBP 7012(b).
        Agency v. Arkison (In re Bellingham Ins. Agency,
        Inc.), 702 F.3d 553, 565 (9th Cir.2012). Dismissal          5       Rule 8(a) is applicable to adversary proceedings by
        with leave to amend, however, does not implicate                    virtue of FRBP 7008(a).
        Stern v. Marshall because it does not end the
                                                                     *3 In the bankruptcy context, Twombly means that a plaintiff
        litigation on the merits. See Goodman v. H.I.G.
                                                                    can no longer simply recite the statutory language of the
        Capital, LLC (In re Gulf Fleet Holdings, Inc.), 2013
                                                                    particular Code section under which a claim is brought and
        WL 1342751 (Bankr.W.D.La.2013).
                                                                    expect the complaint to give sufficient notice to a defendant of
                                                                    the plaintiff's claim for relief. To pass muster under Twombly,
                                                                    a plaintiff must state a plausible claim for relief by identifying
                       II. DISCUSSION
                                                                    the specific facts upon which the plaintiff relies to support a
This court has jurisdiction over this adversary proceeding          finding on each element of the plaintiff's claim. Only then will
pursuant to 28 U.S.C. §§ 157(b) and 1334(b). This matter is a       a defendant have sufficient notice of plaintiff's claim under
core proceeding under 28 U.S.C. § 157(b)(2)(A), (H) & (O).          Rule 8(a). See, e.g., Moss v. U.S. Secret Serv., 572 F.3d 962,
Venue is appropriate in this court. 28 U.S.C. § 1409(a).            969 (9th Cir.2009) (“the nonconclusory ‘factual content,’ and
                                                                    reasonable inferences from that content ... [must] plausibly
                                                                    [suggest] a claim entitling the plaintiff to relief.”); Limestone
A. Standard for Dismissal Under Rule 12(b)(6)                       Dev. Corp. v. Vill. of Lemont, Ill., 520 F.3d 797, 802–03
Rule 12(b)(6) authorizes the court, upon motion of the              (7th Cir.2008)(stating that Twombly “teaches that a defendant
defendant, to dismiss a complaint for failure to state a            should not be forced to undergo costly discovery unless the
claim upon which relief can be granted. 4 F.R.Civ.P. 12(b)          complaint contains enough detail, factual or argumentative,
(6). Under Rule 8(a), a complaint must contain “a short             to indicate that the plaintiff has a substantial case”).
and plain statement of the claim showing that the pleader
is entitled to relief.” 5 F.R.Civ.P. 8(a)(2). “[T]he pleading
                                                                    B. Hoffman's Complaint Fails to State a Plausible Claim for
standard Rule 8 announces does not require ‘detailed factual
                                                                    Avoidance and Recovery of an Actual Fraudulent Transfer
allegations,’ but it demands more than an unadorned,
                                                                    Rule 9(b) states that, “[i]n alleging fraud or mistake,
the-defendantunlawfully-harmed-me accusation.” Ashcroft v.
                                                                    a party must state with particularity the circumstances
Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.
                                                                    constituting fraud or mistake.” F.R.Civ.P. 9(b). Rule 9(b)'s
v. Twombly, 550 U.S. 554, 555 (2007)). “[A] complaint must
                                                                    heightened pleading standard applies to allegations of
contain sufficient factual matter, accepted as true, to ‘state
                                                                    fraud and allegations sounding in fraud, including false
a claim to relief that is plausible on its face.” ’ Iqbal, 556
                                                                    misrepresentations. See Vess v. Ciba–Geigy Corp. USA, 317
U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim
                                                                    F.3d 1097, 1106–07 (9th Cir.2003); Neilson v. Union Bank
has facial plausibility when the plaintiff pleads factual content
                                                                    of Cal., N.A., 290 F.Supp.2d 1101, 1141 (C.D.Cal.2003).
that allows the court to draw the reasonable inference that
                                                                    Allegations under Rule 9(b) must be stated with “specificity
the defendant is liable for the misconduct alleged.” Iqbal,
                                                                    including an account of the time, place, and specific content
556 U.S. at 678 (quoting Twombly, 550 U.S. at 556). “[A]
                                                                    of the false representations as well as the identities of the
complaint [that] pleads facts that are ‘merely consistent with’
                                                                    parties to the misrepresentations.” Swartz v. KPMG LLP,
a defendant's liability ... ‘stops short of the line between
                                                                    476 F.3d 756, 764 (9th Cir.2007). “To comply with Rule
possibility and plausibility of entitlement to relief.” ’ Iqbal,
                                                                    9(b), allegations of fraud must be specific enough to give
556 U.S. at 678 (quoting Twombly, 550 U.S. at 557). Further,
                                                                    defendants notice of the particular misconduct which is
although a court must accept as true all factual allegations
                                                                    alleged to constitute the fraud charged so that they can defend
contained in a complaint, a court need not accept plaintiff's
                                                                    against the charge and not just deny that they have done



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anything wrong.” Bly–Magee v. California, 236 F.3d 1014,
1019 (9th Cir.2001) (citations/ internal quotations omitted).        3. Whether the transfer or obligation was disclosed or
Moreover, where a plaintiff pleads allegations of fraud against      concealed.
more than one defendant, Rule 9(b) “requires that a plaintiff
                                                                     4. Whether the debtor was sued or threatened with suit
plead with sufficient particularity attribution of the alleged
                                                                     before the transfer was made or obligation incurred.
misrepresentations or omissions to each defendant.” In re
Silicon Graphics, Inc. Sec. Litig., 970 F.Supp. 746, 752             5. Whether the transfer was of substantially all of the
(N.D.Cal.1997).                                                      debtor's assets.

To state a claim for fraud, the plaintiff must also plead            6. Whether the debtor absconded.
knowledge of falsity, or scienter. See In re GlenFed, Inc.
                                                                     7. Whether the debtor removed or concealed assets.
Sec. Litig., 42 F.3d 1541, 1546 (9th Cir.1994)(en banc). The
requirement for pleading scienter is less rigorous than that         8. Whether the value of the consideration received by the
which applies to allegations regarding the “circumstances            debtor was reasonably equivalent to the value of the asset
that constitute fraud” because Rule 9(b) states that “[m]alice,      transferred or obligation incurred.
intent, knowledge, and other conditions of a person's mind
may be alleged generally.” F.R.Civ.P. 9(b). However, the             9. Whether the debtor was insolvent or became insolvent
plaintiff must “set forth facts from which an inference of           shortly after the transfer was made or obligation incurred.
scienter could be drawn.” Cooper v. Pickett, 137 F.3d 616,
628 (9th Cir.1997)(quoting GlenFed, 42 F.3d at 1546).                10. Whether the transfer occurred shortly before or shortly
                                                                     after a substantial debt was incurred.
 *4 Under California law, a transfer made with the actual
                                                                     11. Whether the debtor transferred essential assets of the
intent to hinder, delay or defraud any creditor of the
                                                                     business to a lienholder who then transferred the assets to
debtor violates California's Uniform Fraudulent Transfer Act
                                                                     an insider of the debtor.
(“UFTA”). Cal. Civ.Code § 3439.04; see Mejia v. Reed, 31
Cal.4th 657, 664 (2003). To prevail under California's UFTA        Cal. Civ.Code § 3439.04(b). The UFTA factors are intended
§ 3439.04(a)(1), Hoffman must establish by a preponderance         “to provide guidance to the trial court, not compel a finding
of the evidence that the Debtors transferred the Ft. Myers         one way or another.” Filip v. Bucurenciu, 129 Cal.App.4th
Notes and releases in exchange for the SCI Ft. Myers               825, 834 (2005). As the court observed in Beverly:
Membership Interests with the actual intent to hinder, delay
or defraud a creditor. See Wolkowitz v. Beverly (In re Beverly),
374 B.R. 221, 235 (9th Cir. BAP2007)(“Whether there is
                                                                               The UFTA list of “badges of fraud”
actual intent to hinder, delay, or defraud under UFTA is a
                                                                               provides neither a counting rule nor
question of fact to be determined by a preponderance of
                                                                               a mathematical formula. No minimum
evidence.”). Because a debtor rarely admits to such a transfer,
                                                                               number of factors tips the scales
the evidence of intent “must of necessity consist of inferences
                                                                               toward actual intent. A trier of
drawn from the circumstances surrounding the transaction
                                                                               fact is entitled to find actual intent
and the relationship and interests of the parties.” Neumeyer v.
                                                                               based on the evidence in the case,
Crown Funding Corp., 56 Cal.App.3d 178, 183 (1976); see
                                                                               even if no “badges of fraud” are
Beverly, 374 B.R. at 235 (“Since direct evidence of intent
                                                                               present. Conversely, specific evidence
to hinder, delay or defraud is uncommon, the determination
                                                                               may negate an inference of fraud
typically is made inferentially from circumstances consistent
                                                                               notwithstanding the presence of a
with the requisite intent.”). The UFTA identifies 11 non-
                                                                               number of “badges of fraud.”
exclusive factors, or “badges of fraud,” that may be applied
by a court to divine fraudulent intent:

  1. Whether the transfer or obligation was to an insider.         *5 374 B.R. at 236.

  2. Whether the debtor retained possession or control of the      In this case, Hoffman's Complaint describes SCI Inc.'s
  property after the transfer.                                     acquisition of each of the Defendants' SCI Ft. Myers


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Membership Interests in exchange for a Ft. Myers Note
and a release. Hoffman's Complaint identifies the date of            9
                                                                               Id. 12:14–15.
the transfer and alleges that the transfer “was in connection
with, and in furtherance of, the Debtors' on-going fraudulent
                                                                          4) Facts that form the basis for Hoffman's assertion
scheme.” 6 According to Hoffman, “the Debtors needed to                     that “[t]he Defendants knew that the value of the
appease their most prized investors, and did so, by acquiring               consideration received by the Debtors in exchange for
Defendants' worthless SCI Ft. Myers Membership Interests                    the Ft. Myers Notes was not of a reasonably equivalent
in exchange for the Ft. Myers Notes—in order to ensure
                                                                            value.” 10
that the Defendants would continue to invest in SCI TIC
                                                                     10
                                                                               Id. 14:19–20.
Real Estate Investments.” 7 Hoffman's Complaint does not,
however, sufficiently allege facts that would form the basis
for a finding that the exchange itself hindered, delayed or               5) Facts that form the basis for Hoffman's assertion
defrauded a creditor of the Debtors or that the Debtors                     that “the Debtors were (i) insolvent when the Actual
intended the exchange to do so on the date of the transfer.                 Fraudulent Transfers were made to the Defendants, or
                                                                            became insolvent as a result of the Actual Fraudulent
6                                                                           Transfers made to the Defendants; or (ii) engaged in
         Complaint 13:13–14; 13:15–16.                                      business or a transaction, or were about to engage in
7                                                                           a business or a transaction, for which the property
         Id. 13:16–19.
                                                                            remaining with the Debtors after the Actual Fraudulent
In paragraph 63 of the Complaint, Hoffman alleges three                     Transfers were made constituted unreasonably small
“badges of fraud” from which the court is asked to divine                   capital; or, in the alternative, (iii) at the time the Actual
the requisite actual intent. 8 However, the allegations in                  Fraudulent Transfers were made, the Debtors intended to
Hoffman's Complaint “set forth [few] facts from which an                    incur, or believed they would incur, debts that would be
inference of scienter [can] be drawn.” See Cooper, 137                      beyond the Debtors' ability to pay as they matured.” 11
F.3d at 628. Each of the allegations in paragraph 63 is a            11
                                                                               Id. 14:24–15:4.
legal conclusion “which may not [be] substitute[d] for well-
pleaded facts allowing the Court to reasonably infer that those
conclusions are true.” Allstate Ins. Co. v. Countrywide Fin.          *6 For these reasons, Hoffman's first cause of action to avoid
Corp., 842 F.Supp.2d 1216, 1226 (C.D.Cal.2012).                      and recover actual fraudulent transfers must be dismissed for
                                                                     failure to state a claim upon which relief can be granted.
8
         Id. 14:24–15:4.
Absent the following facts, Hoffman's Complaint fails to state       C. Hoffman's Complaint Fails to State a Plausible Claim
a plausible claim to recover an actual fraudulent transfer under     for Avoidance and Recovery of a Constructively Fraudulent
§ 544(b) and Cal. Civ.Code § 3439.04(a)(1):                          Transfer
                                                                     Courts do not generally apply the heightened pleading
    1) The value of the SCI Ft. Myers Membership Interest            standard of Rule 9(b) to constructive fraud claims. The
      conveyed by each Defendant to SCI Inc. on the date of          1849 Condominiums Assoc., Inc. v. Bruner, 2010 WL
      the transfer, together with facts forming the basis for        2557711 (E.D.Cal.2010), citing Cendant Corp. v. Shelton,
      such valuation;                                                474 F.Supp.2d 377, 380 (D.Conn.2007). Rule 9(b) is
                                                                     inapplicable because constructive fraud claims “are not based
    2) The value of the Ft. Myers Note and release conveyed to       on actual fraud but instead rely on the debtor's financial
       each Defendant by SCI Inc. on the date of the transfer,       condition and the sufficiency of the consideration provided by
       together with facts forming the basis for such valuation;     the transferee.” In re Careamerica, Inc., 409 B.R. 737, 755–
                                                                     56 (Bankr.E.D.N.C.2009). Still, a constructive fraud claim
    3) Facts that form the basis for Hoffman's assertion that
                                                                     must satisfy Rule 8(a) and contain sufficient facts to establish
      “the Debtors were insolvent as of December 31, 2007.” 9        that the claim is plausible.
      [A debtor is insolvent when “the sum of such entity's
      debts is greater than all of such entity's property, at fair   Under California law, constructive fraud may be found as to
      valuation.” 11 U.S.C. § 101(32)(A) ].                          any present or future creditor when a debtor does not receive


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a reasonably equivalent value in exchange for a transfer, and            or became insolvent as a result of the Constructive
either                                                                   Fraudulent Transfers made to the Defendants; or
                                                                         (ii) engaged in business or a transaction, or were
  (A) [w]as engaged or was about to engage in a business or              about to engage in a business or a transaction,
  a transaction for which the remaining assets of the debtor             for which the property remaining with the Debtors
  were unreasonably small in relation to the business or                 after the Constructive Fraudulent Transfers were made
  transaction, [or]                                                      constituted unreasonably small capital; or, in the
                                                                         alternative, (iii) at the time the Constructive Fraudulent
  (B) Intended to incur, or believed or reasonably should have
                                                                         Transfers were made, the Debtors intended to incur, or
  believed that he or she would incur, debts beyond his or her
                                                                         believed they would incur, debts that would be beyond
  ability to pay as they became due.
                                                                         the Debtors' ability to pay as they matured.” 13
Cal. Civ.Code § 3439.04(a)(2). Similarly, constructive fraud        13
                                                                            Id. 16:25–17:5.
can be found under Cal. Civ.Code § 3439.05, “as to an
existing creditor if the debtor does not receive reasonably
                                                                    For these reasons, Hoffman's second cause of action to
equivalent value and ‘was insolvent at that time or ... became
                                                                    avoid and recover constructive fraudulent transfers must be
insolvent as a result of the transfer” Mejia v. Reed, 31 Cal.4th
                                                                    dismissed for failure to state a claim upon which relief can
at 670, quoting Cal Civ.Code § 3439.05.
                                                                    be granted.

Here, Hoffman's constructive fraud claims are insufficiently
stated and must be dismissed. At its core, “a constructive          D. Hoffman's Complaint Fails to State a Plausible Claim for
fraudulent transfer has two elements: reasonable equivalent         Disallowance of Defendants' Proofs of Claim Pursuant to 11
value and insolvency.” Allstate Ins. Co., 842 F.Supp.2d at          U.S.C. § 502(d) or 11 U.S.C. § 502(b)(1)
1224. As previously stated, Hoffman's Complaint does not            Having failed to sufficiently plead the actual fraudulent
state sufficient facts to plausibly show that on the date of        transfer claims and constructive fraudulent transfer claims,
the transfer the Debtors were actually insolvent or received        Hoffman's third and fourth causes of action must be
less than was given to the Defendants. Absent the following         dismissed.
facts, Hoffman's Complaint fails to state a plausible claim to
recover a constructive fraudulent transfer under § 544(b) and
Cal. Civ.Code § 3439.04(a)(2) or § 3439 .05:                        E. Leave to Amend
                                                                    Rule 15(a)(2) of the Federal Rules of Civil Procedure states
  1. The value of the SCI Ft. Myers Membership Interest             that “[t]he court should freely give leave [to amend] when
     conveyed by each Defendant to SCI Inc. on the date of
                                                                    justice so requires.” F.R.Civ.P. 15(a)(2). 14 If a complaint
     the transfer, together with facts forming the basis for
                                                                    lacks facial plausibility, a court must grant leave to amend
     such valuation;
                                                                    unless it is clear that the complaint's deficiencies cannot be
  2. The value of the Ft. Myers Note and release conveyed to        cured by amendment. Gompper v. VISX, Inc., 298 F.3d 893,
     each Defendant by SCI Inc. on the date of the transfer,        898 (9th Cir.2002). It is not clear to the court at this juncture
     together with facts forming the basis for such valuation;      whether the deficiencies in Hoffman's Complaint cannot be
                                                                    cured by amendment.
  3. Facts that form the basis for Hoffman's assertion that
     “the Debtors were actually insolvent at the time the           14      Rule 15(a)(2) is applicable to             adversary
     Constructive Fraudulent Transfers were made to each of
                                                                            proceedings by virtue of FRBP 7015.
      the Defendants.” 12

12                                                                                          CONCLUSION
         Id. 16:23–24.
                                                                    As Hoffman fails to state a claim upon which relief can be
     *7 4. Facts that form the basis for Hoffman's assertion that   granted with respect to each of the counts in the Complaint,
      “the Debtors were (i) insolvent when the Constructive         Defendants' motion to dismiss under F.R.Civ.P. 12(b)(6) will
      Fraudulent Transfers were made to the Defendants,             be granted with leave to amend. Hoffman shall file and serve



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                                                                       A separate order will be entered consistent with this opinion.
Plaintiff's First Amended Complaint not later than June 3,
2013, to cure the deficiencies identified above and to state a
plausible claim for relief on each of his four causes of action.       All Citations
Defendants must file and serve a response to Hoffman's First
Amended Complaint not later than June 28, 2013.                        Slip Copy, 2013 WL 1829648



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                                                                     claim has facial plausibility when the plaintiff pleads factual
                                                                     content that allows the court to draw the reasonable inference
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                                                                     that the defendant is liable for the misconduct alleged.” Iqbal,
   Only the Westlaw citation is currently available.
                                                                     556 U.S. at 678. “[D]ismissal for failure to state a claim is
   United States Bankruptcy Court, N.D. California.
                                                                     proper only where there is no cognizable legal theory or an
           IN RE: DOORMAN PROPERTY                                   absence of sufficient facts alleged to support a cognizable
              MAINTENANCE, Debtor.                                   legal theory.” Shroyer v. New Cingular Wireless Servs., Inc.,
        Andrea A. Wirum, Trustee, Plaintiff,                         622 F.3d 1035, 1041 (9th Cir. 2010) (citation omitted).
                         v.
   Nicholas Kraemer, Barrett Raftery and Doorman                     II. ANALYSIS OF SPECIFIC CAUSES OF ACTION
      Property Management, Inc., Defendants.                         Trustee asserted eleven causes of action against Defendants,
                                                                     who moved for dismissal of all except the first (breach of
                    Case No. 15–30912 DM                             fiduciary duty). Applying the foregoing standards governing
                               |                                     Rule 12(b)(6) motions, the court will address the second
                   Adv. Proc. No. 16–03072                           through eleventh causes of action in turn:
                               |
                      Signed 01/10/2017
                                                                        A. Second Claim for Relief: Breach of Fiduciary Duty
Attorneys and Law Firms
                                                                        by Abuse of Process
Tiffany R. Norman, TRN Law Associates, San Francisco, CA,            Incorporating the allegations of the first claim for relief,
Nancy Weng, Trinh Law, San Jose, CA, for Debtor                      Trustee asserted a separate claim for breach of fiduciary duty
                                                                     by abuse of process in her second claim. Defendants concede
                                                                     that the facts alleged (albeit disputed) in the first claim could
                                                                     give rise to a claim for breach of fiduciary duty, but seek
   MEMORANDUM DECISION ON DEFENDANTS'
                                                                     dismissal of the second claim for “breach of fiduciary duty
      MOTION TO DISMISS AND TRUSTEE'S
                                                                     by abuse of control” as duplicative and unrecognized as a
   MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                     separate tort under California law. The court agrees. As noted
DENNIS MONTALI, U.S. Bankruptcy Judge                                in In re Zoran Corp. Derivative Litigation, 511 F.Supp.2d
                                                                     986, 1019 (N.D. Cal. 2007), claims for abuse of control or
 *1 On December 16, 2016, this court heard the motion of             gross mismanagement “are often considered a repackaging
Doorman Property Management dba Doorman dba Doorman                  of claims for breach of fiduciary duties instead of being a
Property Maintenance (“Debtor”), Nicholas Kraemer, and               separate tort.” Abuse of control may be an element of proof
Barrett Raftery (collectively, “Defendants”) to dismiss the          for a claim for breach of fiduciary duty, but does not give
adversary complaint filed against them by Andrea A. Wirum            rise to an additional independent tort. The court will therefore
(“Trustee”), chapter 7 trustee for Debtor's chapter 7 estate. It     dismiss the second claim for relief without leave to amend.
also heard the Trustee's counter-motion for partial summary
judgment on her ninth, tenth and eleventh claims for relief.
For the reasons set forth below, the court is granting both             B. Third Claim for Relief: Gross Negligence
motions in part and denying them in part.                            Defendants contend that California does not recognize a
                                                                     separate and distinct claim for gross negligence that is
                                                                     independent of any statutory basis, citing Eriksson v. Nunnink,
I. STANDARDS GOVERNING RULE 12(b) MOTIONS                            191 Cal.App.4th 826, 856 n. 18 (2011) (“In reality, California
Defendants seek dismissal of all but one claim against them          does not recognize a distinct cause of action for ‘gross
pursuant to Federal Rule of Civil Procedure 12(b)(6) (“Rule          negligence’ independent of a statutory basis.”). In making
12”), incorporated by Federal Rule of Bankruptcy Procedure           this statement, the Nunnick court quoted and relied on the
7012(b)) (“Bankruptcy Rule 7012”). “To survive a motion to           holding of Saenz v. Whitewater Voyages, Inc., 226 Cal.App.3d
dismiss, a complaint must contain sufficient factual matter,         758, 766 n. (1990). The California Supreme Court, however,
accepted as true, to ‘state a claim to relief that is plausible on   described this language as “offhand dicta” in City of Santa
its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A         Barbara v. Superior Court, 41 Cal.4th 747, 780 (2007). It



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observed that a distinction between gross negligence and                        ownership or right to possession of
ordinary negligence is generally unnecessary but that such                      property; defendant's wrongful act
a distinction is appropriate if gross negligence is “the only                   toward or disposition of the property,
negligence-based theory open to plaintiffs and real parties in                  interfering with plaintiff's possession;
interest.” Therefore, in cases involving anticipatory releases                  and damage to plaintiff. Money cannot
and exculpation clauses that release liability except in cases of               be the subject of a cause of action for
gross negligence or willful misconduct, the law continues to                    conversion unless there is a specific,
recognize gross negligence as a theory of recovery. Id. at 781.                 identifiable sum involved, such as
                                                                                where an agent accepts a sum of
 *2 Trustee argues that her third claim is necessary, as                        money to be paid to another and fails
gross negligence provides an exception to the business                          to make the payment.
judgment defense. “A hallmark of the business judgment
rule is that a court will not substitute its judgment for that
of [a corporation's directors] if the latter's decision can be      McKell v. Washington Mutual, Inc., 142 Cal.App.4th 1457,
“attributed to any rational business purpose.” Katz v. Chevron      1491 (2006); see also Fischer v. Machado, 50 Cal.App.4th
Corp., 22 Cal.App.4th 1352, 1366 (1994). Instead “[u]nder           1069, 1072–1074 (1996) (sales agent liable for conversion of
the business judgment rule[,] director liability is predicated      proceeds from consignment sale of farm products); Software
upon concepts of gross negligence.” Id.                             Design & Application, Ltd. v. Hoefer & Arnett, Inc., 49
                                                                    Cal.App.4th 472, 485 (1996) (“money cannot be the subject
The court acknowledges that gross negligence precludes the          of a conversion action unless a specific sum capable of
successful assertion of the business judgment defense to            identification is involved”).
Trustee's breach of fiduciary duty cause of action. When
and if Defendants assert that defense, Trustee can argue that       As Trustee has identified the specific funds purportedly
they cannot prevail as their actions were willful or grossly        converted by Defendants, the court will deny the motion to
negligent. A separate cause of action for gross negligence is       dismiss the fourth claim for relief.
not necessary. That said, Trustee is entitled to take discovery
in anticipation of the assertion of the business judgment
defense by Defendants. The motion to dismiss the third claim           D. Fifth Claim for Relief: Unjust Enrichment
for relief is granted with leave to amend.                          Trustee's claim for unjust enrichment involves the same
                                                                    identified monies as those alleged in support of the conversion
                                                                    claim: the receipt of $26,000 in rent payments due to Debtor
   C. Fourth Claim for Relief: Conversion                           and the receipt of a $306,000 real estate commission to which
Trustee alleges in her fourth claim for relief that Defendants      Debtor was entitled. (See paras. 45 & 46 of the Complaint). As
wrongfully exercised dominion over and converted for their          noted by Judge Whyte in the Apple/AT & T litigation, unjust
own benefit money and property of the Debtor. In their motion       enrichment claims that simply duplicate other statutory or tort
to dismiss, Defendants contend that they had a possessory           claims are not cognizable:
interest in the money and thus there can be no conversion. The
Trustee disputes the legitimacy of this possessory interest,          [C]ourts have repeatedly held that “there is no cause of
thus giving rise to factual issues that preclude dismissal as a       action in California for unjust enrichment.” Melchior v.
matter of law.                                                        New Line Prods., Inc., 106 Cal.App.4th 779, 794, 131
                                                                      Cal.Rptr.2d 347 (2003). Moreover, plaintiffs cannot assert
Trustee has sufficiently pled a claim for conversion of money,        unjust enrichment claims that are merely duplicative of
identifying in para 11(f) and (g) specific sums purportedly           statutory or tort claims. See, e.g., Rosal v. First Federal
intercepted and retained by the defendants. As noted by one           Bank of Cal., 671 F.Supp.2d 1111, 1133 (N.D. Cal. 2009).
California appellate courts:
                                                                     *3 In re Apple & AT&T iPad Unlimited Data Plan Litig.,
                                                                    802 F.Supp.2d 1070, 1077 (N.D. Cal. 2011). The court will
                                                                    therefore dismiss the fifth claim for relief without leave to
             A cause of action for conversion
                                                                    amend.
             requires allegations of plaintiff's



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                                                                      When the petition commencing the underlying bankruptcy
   E. Sixth and Seventh Claims for Relief: Fraudulent                 case was filed, Debtor was identified as “Doorman Property
   Transfers                                                          Management DBA Doorman Property Maintenance.” While
Defendants request that the court dismiss the sixth                   Doorman Property Maintenance is a corporation, Doorman
and seventh claims for recovery of fraudulent transfers,              Property Management is a partnership. The petition and
contending that Trustee has failed to state a state a claim           schedules, signed by Defendant Barrett Rafferty as CFO,
with the particularity required by Iqbal. The court disagrees.        repeatedly refer to Doorman Property Management without
Paragraphs 10 and 11 of the complaint describe Debtor's               reference to Doorman Property Maintenance (see, e.g., the
property and business opportunities purportedly usurped by            Declaration of Mr. Rafferty at page 32 of Docket No. 1 in Case
Defendants for their own benefit. In the Sixth Claim, Trustee         No. 15–30912; on Schedule E, (id. at page 12). Following
alleges that the Defendants usurped or received the property          the initial section 341 meeting of creditors on August 25,
rights described in paragraphs 10 and 11 for less than                2015, Defendants attempted to amend their petition to replace
reasonably equivalent value when Debtor was insolvent or              “Doorman Property Management” with “Doorman Property
on the brink of insolvency, and that the transfers were made          Maintenance, a CA SCorp, formerly known as Doorman
with actual intent to hinder, delay or defraud any entity to          Property Management, a CA SCorp [sic].” See Amended
which Debtor was or would become indebted. Because these              Voluntary Petition filed on October 9, 2015 (Docket No. 13
allegations sufficiently set forth a claim for relief, the court is   in Case No. 15–30912). The Trustee thereafter filed a motion
denying the motion to dismiss the sixth and seventh claims.           for substantive consolidation, which this court granted on
                                                                      April 12, 2016, specifying that the assets and liabilities of
                                                                      the partnership are and were part of the bankruptcy case
   F. Eighth Claim for Relief: Preferential Transfers
                                                                      retroactive to the petition date of July 16, 2015.
According to paragraph 25 in Trustee's first claim for relief
(breach of fiduciary duty), Defendants diverted for their own
                                                                       *4 In light of this substantive consolidation, and in light of
personal use a $306,250 real estate commission belonging to
                                                                      its reasons set forth on the record at the hearing on December
Debtor and had Debtor pay rent on their personal premises.
                                                                      16, 2016, the court will deny Debtor's motion to dismiss
Contending that these funds had been wrongfully usurped,
                                                                      the ninth claim for relief and will grant Trustee's motion for
Trustee has asserted alternate theories for recovery of the
                                                                      partial summary judgment in her favor on that claim.
sums: breach of fiduciary duty, conversion, unjust enrichment
and fraudulent transfers. These transfers are also the basis
of Trustee's eighth claim for relief to recover preferential             H. Tenth and Eleventh Claims for Relief: Turnover
transfers.                                                               and Injunctive Relief
                                                                      In the tenth and eleventh claims for relief, Trustee requests
Bankruptcy Code section 547(b)(2) sets forth the second               that this court enjoin Defendants' use or retention of certain
element for recovery of a preferential transfer: the transfer         intellectual property assets and to compel the turnover of such
must be for or on account of an antecedent debt owed by               assets. These are not independent claims; the Trustee will
a debtor before the transfer was made. Trustee's complaint,           need to demonstrate her entitlement to turnover and injunctive
however, does not sufficiently allege the existence of an             relief by prevailing on her other substantive claims. The court
antecedent debt. If such an antecedent debt exists, Trustee           will therefore deny both the Defendants' motion to dismiss
may amend the complaint to describe it. Otherwise, Trustee            and the Trustee's motion for summary judgment as to these
has not set forth a preference claim upon which relief can be         claims.
granted. If in the course of discovery or litigation, Defendants
assert the existence of such an antecedent debt (to demonstrate
that they received property for value), Trustee may amend             III. CONCLUSION
her complaint. The court will therefore grant the motion to           Counsel for the Trustee should upload an order granting
dismiss the eighth claim for relief with leave to amend.              relief consistent with this Memorandum Decision. The order
                                                                      should not contain separate findings or conclusions, but
                                                                      should simply incorporate the reasoning of this Memorandum
  G. Ninth Claim for Relief: Determination of Liability               Decision. The court shall hold a further status conference in
  Under Section 723                                                   this adversary proceeding on February 24, 2017, at 1:30 p.m.




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                                                                  [1] trustee failed to plausibly allege that fraudulent intent
                                                                  of debtor's senior management should be imputed to special
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                                                                  committee created by board of directors to evaluate LBO;
    Only the Westlaw citation is currently available.
    United States Court of Appeals, Second Circuit.
                                                                  [2] trustee failed to plead “badges of fraud” sufficient to raise
             IN RE: TRIBUNE COMPANY                               strong inference of actual fraudulent intent on the part of
     FRAUDULENT CONVEYANCE LITIGATION                             special committee;
    Marc S. Kirschner, as Litigation Trustee for the
                                                                  [3] debtor's LBO structured in two steps was not a unitary
     Tribune Litigation Trust, Plaintiff-Appellant,
                                                                  transaction such that steps could be collapsed into one for
                           v.
                                                                  purposes of fraudulent conveyance claims;
   Large Shareholders, Financial Advisors, Financial
       Institution Holders, Financial Institution                 [4] trustee failed to sufficiently allege that debtor was
    Conduits, Pension Funds, Individual Beneficial                insolvent as required to support claims that controlling
    Owners, Mutual Funds, Defendants-Appellees.                   shareholders breached their fiduciary duties by pushing for
    Marc S. Kirschner, as Litigation Trustee for the              LBO;
     Tribune Litigation Trust, Plaintiff-Appellant,
                           v.                                     [5] exceptions to in pari delicto doctrine did not apply
         Citigroup Global Markets Inc., Merrill                   to permit trustee to pursue aiding and abetting breach of
             Lynch, Pierce, Fenner & Smith                        fiduciary duty and professional malpractice claims;
         Incorporated, Defendants-Appellees.
                                                                  [6] factual question whether two financial advisors provided
            Docket Nos. 19-3049-cv; 19-449-cv                     reasonably equivalent value for success fee was not
                            |                                     appropriate to determine on motion to dismiss; and
                   August Term 2020
                            |                                     [7] District Court did not abuse its discretion in denying
                Argued: August 24, 2020                           trustee leave to amend claims.
                            |
                Decided: August 20, 2021
                                                                  Affirmed in part, vacated in part, and remanded.
Synopsis
Background: Litigation trustee appointed under Chapter            Procedural Posture(s): On Appeal; Motion to Dismiss for
11 debtor-newspaper company's confirmed plan brought              Failure to State a Claim; Motion to Amend the Complaint.
fraudulent conveyance and other claims on behalf of
creditors against shareholders who sold their stock in debtor's
                                                                   West Headnotes (55)
leveraged buyout (LBO) less than one year prior to debtor's
bankruptcy filing, and against financial advisors that helped
debtor navigate and complete the LBO. The United States            [1]     Federal Courts         Pleading
District Court for the Southern District of New York, Richard              Federal Courts         Dismissal for failure to
J. Sullivan and Denise L. Cote, JJ., entered judgment and                  state a claim
orders dismissing claims, and denied leave to file sixth
                                                                           Court of Appeals reviews de novo a district
amended complaint. Litigation trustee appealed.
                                                                           court's grant of a motion to dismiss for failure
                                                                           to state a claim, accepting the complaint's factual
                                                                           allegations as true and drawing all reasonable
Holdings: The Court of Appeals, Chin, Circuit Judge, held                  inferences in the plaintiff's favor. Fed. R. Civ. P.
that:                                                                      12(b)(6).



                                                                   [2]     Federal Courts         Pleading


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        Court of Appeals reviews a district court's
        denial of leave to amend complaint for abuse of         [8]    Bankruptcy        Pleading
        discretion. Fed. R. Civ. P. 15.                                Where Chapter 11 debtor-company's board of
                                                                       directors delegated its authority to approve
                                                                       merger and redemption of company's stock,
 [3]    Federal Courts         Pleading                                as part of leveraged buyout (LBO) less than
                                                                       one year prior to debtor's bankruptcy filing, to
        If district court's denial of leave to amend
                                                                       special committee pursuant to Delaware law,
        complaint was based on futility, Court of Appeals
                                                                       litigation trustee asserting intentional fraudulent
        reviews that legal conclusion de novo. Fed. R.
                                                                       conveyance claims arising out of the LBO was
        Civ. P. 15.
                                                                       required to plead allegations that gave rise to
                                                                       a strong inference that the special committee
                                                                       had the actual intent to hinder, delay, or defraud
 [4]    Bankruptcy         Pleading                                    company's creditors. 11 U.S.C.A. § 548(a)(1)
        An intentional fraudulent conveyance claim                     (A); 8 Del. Code §§ 141(a), (c), 160(a), 251(b).
        must be pled with specificity as required by rule
        governing fraud pleadings. 11 U.S.C.A. § 548(a)
        (1)(A); Fed. R. Civ. P. 9(b).                           [9]    Corporations and Business
                                                                       Organizations      Corporation acts through
                                                                       officers or agents
 [5]    Bankruptcy         Pleading                                    Corporation can only act through its directors
        For an intentional fraudulent conveyance claim                 and officers.
        to be pled with specificity as required by rule
        governing fraud pleadings, the alleged fraud
        must relate to the specific payment or transfer         [10]   Bankruptcy        Intent of debtor
        the plaintiff is seeking to avoid, rather than to the
                                                                       Court looks to state law to determine who has the
        overall course of business. 11 U.S.C.A. § 548(a)
                                                                       authority to act on behalf of a corporation and
        (1)(A); Fed. R. Civ. P. 9(b).
                                                                       therefore whose actions to review to see whether
                                                                       there was fraudulent intent or badges of fraud,
                                                                       in context of intentional fraudulent conveyance
 [6]    Bankruptcy         Intent of debtor                            claims. 11 U.S.C.A. § 548(a)(1)(A).
        By “actual intent,” statute governing intentional
        fraudulent conveyance claims contemplates
        intent existing in fact or reality and not merely       [11]   Bankruptcy        Intent of debtor
        the imputed intent that would suffice for a
                                                                       For an intentional fraudulent transfer claim,
        constructive fraudulent conveyance claim. 11
                                                                       which requires actual intent, a company's intent
        U.S.C.A. §§ 548(a)(1)(A), 548(a)(1)(B).
                                                                       may be established only through the actual
                                                                       intent of the individuals in a position to control
                                                                       the disposition of the transferor's property. 11
 [7]    Bankruptcy         Pleading                                    U.S.C.A. § 548(a)(1)(A).
        Because of difficulties in proving intent to
        defraud, pleader asserting intentional fraudulent
        conveyance claim may rely on “badges of fraud,”         [12]   Bankruptcy        Intent of debtor
        i.e., circumstances so commonly associated with
                                                                       Litigation trustee failed to plausibly allege
        fraudulent transfers that their presence gives rise
                                                                       that fraudulent intent of Chapter 11 debtor-
        to inference of intent. 11 U.S.C.A. § 548(a)(1)
                                                                       company's senior management should be
        (A).
                                                                       imputed to special committee created by board
                                                                       of directors to evaluate leveraged buyout


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        (LBO) less than one year prior to debtor's
        bankruptcy filing, as required to support             [16]    Bankruptcy         Nature and Form of Transfer
        intentional fraudulent conveyance claims arising              Under Sabine factors to determine whether two
        out of the LBO, absent allegations that senior                steps should be viewed as a single transaction, for
        management dominated the special committee,                   purposes of intentional fraudulent conveyance
        inappropriately pressured independent directors               claims, court considers (1) whether all of the
        on the special committee, or controlled transfer              parties involved had knowledge of the multiple
        of property in question. 11 U.S.C.A. § 548(a)(1)              transactions, (2) whether each transaction would
        (A).                                                          have occurred on its own, and (3) whether each
                                                                      transaction was dependent or conditioned on
                                                                      other transactions; In re Sabine Oil & Gas Corp.,
 [13]   Bankruptcy        Intent of debtor                            547 B.R. 503. 11 U.S.C.A. § 548(a)(1)(A).
        Litigation trustee failed to plead “badges of
        fraud” sufficient to raise strong inference of
        actual fraudulent intent on the part of special       [17]    Corporations and Business
        committee created by board of directors to                    Organizations    Contracts and Indebtedness
        evaluate leveraged buyout (LBO) less than                     Under Delaware's step-transaction doctrine,
        one year prior to debtor-newspaper company's                  corporation's transactions can be treated as a
        Chapter 11 filing, as required to support                     single transaction if a party can satisfy any
        intentional fraudulent conveyance claims arising              one of three tests: (1) the “end result test,”
        out of the LBO, based on allegations that                     which authorizes collapse if it appears that a
        independent directors on the special committee,               series of separate transactions were prearranged
        who owned only 0.08% of debtor's shares, stood                parts of what was a single transaction, cast
        to earn $6 million for selling their shares if                from the outset to achieve the ultimate result;
        they approved the LBO, and that independent                   (2) the “interdependence test,” which authorizes
        directors knew debtor was falling far short of                collapse if the steps are so interdependent that the
        projections and thus was unlikely to generate                 legal relations created by one transaction would
        enough cash to service its debt, at a time when               have been fruitless without a completion of the
        other newspaper companies were also struggling.               series; and (3) the “binding-commitment test,”
        11 U.S.C.A. § 548(a)(1)(A).                                   which allows collapse only if, at the time the
                                                                      first step is entered into, there was a binding
                                                                      commitment to undertake the later steps.
 [14]   Corporations and Business
        Organizations    Fiduciary duty in general
        Under Delaware law, shareholder owes company          [18]    Bankruptcy         Nature and Form of Transfer
        fiduciary duty only if it owns majority interest              Chapter 11 debtor-newspaper company's
        in or exercises control over business affairs of              leveraged buyout (LBO) structured in two
        corporation.                                                  steps, less than one year prior to debtor's
                                                                      bankruptcy filing, was not a unitary transaction
                                                                      such that steps could be collapsed into one
 [15]   Corporations and Business                                     for purposes of litigation trustee's intentional
        Organizations       Individual profits or                     fraudulent conveyance claims arising out of
        benefits from corporate business                              the LBO; parties intended to structure the two
                                                                      steps as independent transactions, step one was
        Under Delaware law, if fiduciary duty exists,
                                                                      able to stand alone, and there was no binding
        shareholder breaches that duty if, for its own
                                                                      commitment to undertake step two. 11 U.S.C.A.
        benefit, it approves transaction that renders
                                                                      § 548(a)(1)(A).
        corporation insolvent.




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                                                                       on projections they knew to be false and by
 [19]   Federal Civil Procedure       Matters deemed                   causing Chapter 11 debtor-newspaper company
        admitted; acceptance as true of allegations in                 to incur debt they knew would leave the company
        complaint                                                      insolvent, on defendants' motion to dismiss for
        Although the court must accept as true all                     failure to state a claim, since trustee did not
        plausible allegations set forth in the complaint               explain what specific facts he would plead to
        when deciding a motion to dismiss for failure to               salvage those claims. Fed. R. Civ. P. 12(b)(6).
        state a claim, the court need not accept threadbare
        recitals of a cause of action's elements that are
        supported by mere conclusory statements. Fed.           [23]   Fraud       Persons liable
        R. Civ. P. 12(b)(6).
                                                                       Under Delaware law, a third party may be liable
                                                                       for aiding and abetting a breach of fiduciary
                                                                       duty if there is (1) the existence of a fiduciary
 [20]   Corporations and Business                                      relationship, (2) a breach of the fiduciary's duty,
        Organizations    Insolvency in General                         (3) knowing participation in that breach by the
        Litigation trustee failed to sufficiently allege               defendants, and (4) damages proximately caused
        that Chapter 11 debtor-newspaper company was                   by the breach.
        insolvent at step one of two-step leveraged
        buyout (LBO), as required to support claims that
        controlling shareholders breached heir fiduciary        [24]   Action      Illegal or immoral transactions
        duties under Delaware law by pushing for
                                                                       Under Delaware law, the in pari delicto doctrine
        the LBO based on projections they knew to
                                                                       acts as an affirmative defense by barring a
        be false and by causing debtor to incur debt
                                                                       plaintiff from recovering damages if his losses
        they knew would leave the company insolvent,
                                                                       are substantially caused by activities the law
        based on allegations that debtor had already
                                                                       forbade him to engage in.
        made commitments to borrow an additional
        $3.7 billion of debt and to make an additional
        $4 billion distribution to its shareholders, for
        which performance was due at step two, without          [25]   Equity    He Who Comes into Equity Must
        alleging that the $8 billion borrowed at step one,             Come with Clean Hands
        standing alone, rendered debtor insolvent.                     Under Delaware law, a plaintiff can generally
                                                                       only sue for aiding and abetting a breach of
                                                                       fiduciary duty if the plaintiff's hands are clean.
 [21]   Corporations and Business
        Organizations    What constitutes corporate
        insolvency                                              [26]   Corporations and Business
                                                                       Organizations    Imputed liability in general
        Under Delaware law, under the balance sheet
        test, an entity is insolvent if it has liabilities in          Under Delaware law, illegal actions of a
        excess of a reasonable market value of assets                  corporation's officers and directors are imputed
        held.                                                          to the corporation itself, for purposes of in pari
                                                                       delicto doctrine.


 [22]   Federal Civil Procedure          Effect
                                                                [27]   Corporations and Business
        District Court did not abuse its discretion in
                                                                       Organizations    Adverse Interest
        dismissing with prejudice litigation trustee's
        claims that controlling shareholders breached                  Under Delaware law, pursuant to adverse
        their fiduciary duties under Delaware law by                   interest exception to in pari delicto doctrine, a
        pushing for leveraged buyout (LBO) based                       corporation is permitted to sue those alleged



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        to have aided an agent's wrongdoing when the
        corporate agent responsible for the wrongdoing
        was acting solely to advance his own personal         [32]    Negligence       Trades, Special Skills and
        financial interest, rather than that of the                   Professions
        corporation itself.
                                                                      Under both New York law and Illinois law,
                                                                      professional malpractice claims are viewed as
                                                                      species of negligence.
 [28]   Corporations and Business
        Organizations    Adverse Interest
        Under Delaware law, the adverse interest              [33]    Negligence       Violations of law; criminal
        exception to in pari delicto doctrine does not                conduct
        enable a plaintiff to recover if the wrongdoing
                                                                      Under both New York and Illinois law, in
        benefits the corporation.
                                                                      pari delicto doctrine bars claims against co-
                                                                      conspirators for negligence.

 [29]   Corporations and Business
        Organizations    Adverse Interest
                                                              [34]    Corporations and Business
        Under Delaware law, the adverse interest                      Organizations    Wrongful Acts or
        exception to in pari delicto doctrine does not                Omissions
        apply even when the benefit enjoyed by the
                                                                      Under both New York and Illinois law, in pari
        corporation is ultimately outweighed by the
                                                                      delicto doctrine precludes corporation engaged
        long-term damage that is done when the agent's
                                                                      in wrongdoing from suing its co-conspirators on
        mischief comes to light, instead, it only covers
                                                                      grounds of negligence.
        the unusual case where allegations support a
        reasonable inference of total abandonment of the
        corporation's interests.
                                                              [35]    Corporations and Business
                                                                      Organizations    Aiding and abetting
                                                                      Litigation trustee plausibly alleged that financial
 [30]   Corporations and Business
                                                                      advisors aided and abetted Chapter 11 debtor-
        Organizations    Wrongful Acts or
                                                                      newspaper company's directors and officers in
        Omissions
                                                                      breaching their fiduciary duties under Delaware
        Under Delaware law, fiduciary/insider exception
                                                                      law by alleging that advisors hid debtor's true
        to in pari delicto doctrine allows suit to
                                                                      financial state to complete leveraged buyout
        be brought against corporate fiduciaries who
                                                                      (LBO).
        knowingly caused corporation to commit illegal
        acts and, as result, caused corporation to suffer
        harm.
                                                              [36]    Federal Courts        In general; necessity
                                                                      Although Court of Appeals has discretion
                                                                      to consider arguments waived below where
 [31]   Corporations and Business
                                                                      necessary to avoid a manifest injustice, such
        Organizations    Aiding and abetting
                                                                      an exercise of discretion is not favored in
        Under Delaware law, fiduciary exception
                                                                      circumstances where those arguments were
        precludes application of in pari delicto doctrine
                                                                      available to the party below and no reason is
        to aiding and abetting claims against non-
                                                                      proffered for their failure to raise them.
        fiduciaries of corporation who occupy a position
        of trust and materially participate in the
        traditional insiders' discharge of their fiduciary
                                                              [37]    Bankruptcy        In general; standing
        duties.


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        Adverse interest exception to in pari delicto                 Litigation trustee failed to show that alleged
        doctrine under Delaware law did not apply                     “badges of fraud” surrounding payments for
        to permit litigation trustee to pursue aiding                 advisory fees to certain financial advisors
        and abetting breach of fiduciary duty and                     for Chapter 11 debtor-newspaper company,
        professional malpractice claims against Chapter               in connection with evaluating leveraged
        11 debtor-newspaper company's financial                       buyout (LBO), supported strong inference
        advisors, alleging that advisors hid debtor's true            of fraudulent intent supporting intentional
        financial state to complete leveraged buyout                  fraudulent conveyance claims; while payments
        (LBO), as the LBO conferred at least some                     were made when debtor was insolvent, nothing
        benefit on debtor, and debtor itself explained in             in the pleadings supported the notion that fees
        a proxy statement that the LBO was in its best                paid to advisors pursuant to their respective
        interest.                                                     engagement letters were outside the ordinary
                                                                      course of debtor's business. 11 U.S.C.A. § 548(a)
                                                                      (1)(A).
 [38]   Bankruptcy        In general; standing
        Fiduciary/insider exception to in pari delicto
        doctrine under Delaware law did not apply             [41]    Bankruptcy        Fraudulent transfers
        to permit litigation trustee to pursue aiding                 Chapter 11 debtor-newspaper company's
        and abetting breach of fiduciary duty and                     allegedly hastily hiring of financial advisor in
        professional malpractice claims against Chapter               connection with evaluating leveraged buyout
        11 debtor-newspaper company's financial                       (LBO) after another firm initially hired to
        advisors, alleging that advisors hid debtor's true            perform a solvency analysis informed debtor
        financial state to complete leveraged buyout                  that it could not provide a favorable solvency
        (LBO), as engagement letters between debtor                   opinion, and after another prominent firm had
        and advisors expressly provided that they did not             rebuffed debtor, and when advisor had charged
        create fiduciary relationships and that advisors              debtor the highest fee it had ever charged for a
        were not acting as debtor's agents, instead,                  solvency opinion and had agreed to define “fair
        letters made clear that debtor would make an                  value” inconsistently with the industry standard
        independent analysis and decision regarding any               upon which it had relied for prior solvency
        transaction based on their advice.                            opinions, presented sufficient “badges of fraud”
                                                                      to support inference of actual intent to hinder,
                                                                      delay or defraud creditor, as required to support
 [39]   Bankruptcy        Intent of debtor                            intentional fraudulent conveyance claim against
                                                                      advisor. 11 U.S.C.A. § 548(a)(1)(A).
        Litigation trustee failed to sufficiently allege
        that $10 million payment to financial advisor
        for Chapter 11 debtor-newspaper company, for
        fairness opinion in connection with evaluating        [42]    Bankruptcy        "Reasonably equivalent
        leveraged buyout (LBO), was made with                         value" in general
        actual intent to hinder, delay, or defraud                    “Reasonably equivalent value,” for purposes of
        creditors, as required to support intentional                 constructive fraudulent conveyance claims, is
        fraudulent conveyance claim against advisor,                  determined by the value of the consideration
        absent allegations suggesting that payment for                exchanged between the parties at the time of
        the opinion was motivated by fraudulent intent.               the conveyance or incurrence of debt which is
        11 U.S.C.A. § 548(a)(1)(A).                                   challenged. 11 U.S.C.A. § 548(a)(1)(B).



 [40]   Bankruptcy        Intent of debtor                    [43]    Bankruptcy        "Reasonably equivalent
                                                                      value" in general



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        In determining whether debtor received                        million success fee paid to each firm upon
        “reasonably equivalent value” for alleged                     consummation of Chapter 11 debtor-newspaper
        constructive fraudulent transfer, court need                  company's leveraged buyout (LBO) could not
        not strive for mathematical precision but                     be decided without first assessing whether
        must keep equitable purposes of Bankruptcy                    advisors satisfactorily performed their duties,
        Code's fraudulent transfer provisions firmly                  and therefore was not appropriate to determine
        in mind, recognizing that any significant                     on advisors' motion to dismiss litigation trustee's
        disparity between value received and obligation               constructive fraudulent transfer claims for failure
        assumed will have significantly harmed innocent               to state a claim. 11 U.S.C.A. § 548(a)(1)(B); Fed.
        creditors. 11 U.S.C.A. § 548(a)(1)(B).                        R. Civ. P. 12(b)(6); Fed. R. Bankr. P. 7012.



 [44]   Bankruptcy        "Reasonably equivalent              [48]    Bankruptcy         Insolvency of debtor
        value" in general                                             Fees paid to financial advisors that helped
        To determine whether reasonably equivalent                    Chapter 11 debtor-newspaper company navigate
        value was provided, for constructive fraudulent               and complete leveraged buyout (LBO) upon
        transfer avoidance purposes, court must                       delivery of their contracted-for opinions did not
        ultimately examine totality of circumstances,                 support constructive fraudulent transfer claims,
        including arms-length nature of transaction, and              as advisors had no financial stake in the LBO's
        good faith of transferee. 11 U.S.C.A. § 548(a)(1)             consummation and payments were in large part
        (B).                                                          due before debtor was insolvent. 11 U.S.C.A. §
                                                                      548(a)(1)(B).


 [45]   Bankruptcy        Pleading
        Where the reasonably equivalent value analysis        [49]    Federal Civil Procedure          Liberality in
        for constructive fraudulent transfer claim                    allowing amendment
        requires more than a simple math calculation,                 Leave to amend the complaint shall be freely
        such a computation usually should not be made at              given when justice so requires. Fed. R. Civ. P. 15.
        the motion to dismiss stage. 11 U.S.C.A. § 548(a)
        (1)(B).
                                                              [50]    Federal Civil Procedure          Injustice or
                                                                      prejudice
 [46]   Bankruptcy        Pleading                                    Federal Civil Procedure      Form and
        Bankruptcy        Trial                                       sufficiency of amendment; futility
        While the determination of whether reasonably                 Court may deny leave to amend the complaint
        equivalent value was exchanged, for purposes                  for a valid ground, such as futility or undue
        of constructive fraudulent transfer claim, is                 prejudice. Fed. R. Civ. P. 15.
        largely a question of fact, courts have dismissed
        such claims where the complaint does not
        plausibly allege that the debtor received less        [51]    Federal Civil Procedure      Form and
        than reasonably equivalent value. 11 U.S.C.A. §               sufficiency of amendment; futility
        548(a)(1)(B).
                                                                      Futility is a determination, as a matter of law, that
                                                                      proposed amendments would fail to cure prior
                                                                      deficiencies or to state a claim upon which relief
 [47]   Bankruptcy        Pleading                                    can be granted. Fed. R. Civ. P. 12(b)(6), 15.
        Factual question whether two financial advisors
        provided reasonably equivalent value for $12.5



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 [52]   Federal Civil Procedure      Form and
        sufficiency of amendment; futility                     ON APPEAL FROM THE UNITED STATES DISTRICT
        To determine whether granting leave to amend           COURT FOR THE SOUTHERN DISTRICT OF NEW
        the complaint would be futile, court considers         YORK, (Sullivan and Cote, JJ.)
        the proposed amendments and the original
                                                               Attorneys and Law Firms
        complaint. Fed. R. Civ. P. 15.
                                                               Lawrence S. Robbins (Roy T. Englert, Jr., on the brief),
                                                               Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP,
 [53]   Bankruptcy         Pleading                            Washington, DC; Robert J. Lack, Jeffrey R. Wang, Friedman
        District Court did not abuse its discretion            Kaplan Seiler & Adelman LLP, New York, New York; David
        in denying litigation trustee leave to amend           M. Zensky, Akin Gump Strauss Hauer & Feld LLP, New
        intentional fraudulent transfer claims in              York, New York, for Plaintiff-Appellant.
        connection with Chapter 11 debtor-newspaper
                                                               Douglas Hallward-Driemeir, (Jonathan Ference-Burke on
        company's leveraged buyout (LBO) less than one
                                                               the brief), Ropes & Gray LLP, Washington, DC; Andrew
        year prior to debtor's bankruptcy filing, since
                                                               Devore, Joshua Sturm, Ropes & Gray LLP, Boston,
        trustee had ample opportunity to plead a viable
                                                               MA; Philip D. Anker, Alan E. Schoenfeld, Ryan Chabot,
        claim in the District Court, indeed, the operative
                                                               Wilmer Cutler Pickering Hale & Dorr LLP, New York,
        pleading was the fifth amended complaint, but
                                                               New York; Joel W. Millar, Wilmer Cutler Pickering Hale
        he failed to propose any amendments that would
                                                               & Dorr LLP, Washington, DC; Matthew L. Fornshell,
        cure the pleading defects. 11 U.S.C.A. § 548(a)
                                                               Ice Miller LLP, Columbus, Ohio; Andrew J. Entwistle,
        (1)(A); Fed. R. Civ. P. 15; Fed. R. Bankr. P. 7015.
                                                               Entwistle & Cappucci LLP, New York, New York; Mark
                                                               A. Neubauer, Carlton Fields, LLP, Los Angeles, California;
                                                               P. Sabin Willett, Michael C. D'Agostino, Morgan, Lewis &
 [54]   Bankruptcy         Pleading
                                                               Bockius LLP, Boston, Massachusetts; Michael S. Doluisio,
        District Court did not err when in denying             Dechert LLP, Philadelphia, Pennyslvania, for Defendants-
        litigation trustee leave to amend constructive         Appellees Pension Funds, Financial Institution Holders,
        fraudulent transfer claims against shareholders        Individual Beneficial Owners, Mutual Funds, Certain Large
        who sold their stock in debtor's leveraged             Shareholders, and Financial Institution Conduits.
        buyout (LBO) less than one year prior to
        debtor's bankruptcy filing, since amendments           Erin E. Murphy, Kirkland & Ellis LLP, Washington, DC;
        would be futile, as well as unduly prejudicial,        Gabor Balassa, Brian Borchard, Kirkland & Ellis LLP,
        with thousands of shareholders who had been            Chicago, Illinois; Oscar Garza, Douglas G. Levin, Gibson,
        impacted by the ongoing litigation, all of whom        Dunn & Crutcher LLP, Irvine, California; Matthew D.
        relinquished control of their stock more than 12       McGill, Gibson, Dunn & Crutcher LLP, Washington, D.C.,
        years ago. 11 U.S.C.A. §§ 546(e), 548(a)(1)(B);        for Defendants-Appellees Large Shareholders.
        Fed. R. Civ. P. 15; Fed. R. Bankr. P. 7015.
                                                               Kannon K. Shanmugam (Masha G. Hansford, Joel S.
                                                               Johnson, on the brief), Paul, Weiss, Rifkind, Wharton &
                                                               Garrison LLP, Washington, D.C.; Andrew G. Gordon, Kira
 [55]   Federal Civil Procedure          Matters
                                                               A. Davis, Paul, Weiss, Rifkind, Wharton & Garrison LLP,
        considered in general
                                                               New York, New York; Daniel L. Cantor, Daniel S. Shamah,
        Document is “integral” to the complaint, and thus      O'Melveny & Myers LLP, New York, New York, for
        may be considered on a motion to dismiss for           Defendants-Appellees Citigroup Global Markets, Inc. and
        failure to state a claim, where the complaint relies   Merrill Lynch, Pierce, Fenner & Snith Inc.
        heavily upon its terms and effect. Fed. R. Civ. P.
        12(b)(6).                                              Jonathan D. Polkes (Gregory Silbert, Stacy Nettleton, on the
                                                               brief), Weil, Gotshal & Manges LLP, New York, New York;




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George E. Mastoris, Winston & Strawn LLP, New York, New              Prior to its bankruptcy in 2008, Tribune was a media company
York, for Defendants-Appellees Financial Advisors.                   that owned numerous radio and television stations and major
                                                                     national newspapers, including The Chicago Tribune, The
Before: Raggi and Chin, Circuit Judges. *                            Los Angeles Times, and The Baltimore Sun. In 2005, the
                                                                     newspaper publishing industry faced severe decline and, by
*       Our late colleague Judge Ralph K. Winter                     2006, Tribune, which derived approximately 75% of its total
        was originally assigned to this panel. The two               revenues from such publishing, started faltering financially.
        remaining members of the panel, who are in                   In September 2006, Tribune's board of directors (the “Board”)
        agreement, have decided this case in accordance              created a special committee (the “Special Committee”) to
        with Second Circuit Internal Operating Procedure             consider ways to return value to Tribune's shareholders. The
        E(b). See 28 U.S.C. § 46(d); United States v.                Special Committee was comprised of all seven of the Board's
        Desimone, 140 F.3d 457, 458–59 (2d Cir. 1998).               independent directors (the “Independent Directors”).

Opinion
                                                                        A. Tribune Retains Advisors
Chin, Circuit Judge:                                                 Before the formation of the Special Committee, the Board
                                                                     hired two financial advisors, defendant-appellee Merrill,
 *1 In 2007, the Tribune Company (“Tribune”), then-                  Lynch, Pierce, Fenner, and Smith, Inc. (“Merrill Lynch”) on
publicly traded, executed a leveraged buyout (the “LBO”)             October 17, 2005 and defendant-appellee Citigroup Global
to go private. Less than a year later, Tribune filed for             Markets, Inc. (“Citigroup”) on October 26, 2005, to conduct a
Chapter 11 bankruptcy. Plaintiff-appellant Marc Kirschner,           strategic review and to recommend possible responses to the
the bankruptcy litigation trustee (the “Trustee”), brought           ongoing changes in the media industry. Both Merrill Lynch
fraudulent conveyance and other claims on behalf of creditors        and Citigroup signed engagement letters, which promised
against shareholders who sold their stock in the LBO and             each a “Success Fee” of $12.5 million if a “Strategic
against the financial advisors that helped Tribune navigate          Transaction” was completed. The engagement letters also
and complete the LBO. In several orders and decisions, the           allowed each firm to play a role in helping to finance any
district court dismissed the Trustee's claims for failure to state   such “Strategic Transaction,” despite the potential conflict of
a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil      interest inherent in the firms' distinct roles in any such deal.
Procedure.                                                           The engagement letters further specified that neither Merrill
                                                                     Lynch nor Citigroup was a fiduciary.
For the reasons set forth below, we AFFIRM in part,
VACATE in part, and REMAND for further proceedings.                  On October 17, 2006, the Special Committee hired Morgan
                                                                     Stanley & Co. LLC f/k/a Morgan Stanley & Co. Inc.
                                                                     (“Morgan Stanley”) to serve as its independent financial
                       BACKGROUND                                    advisor. Morgan Stanley's engagement letter specified that the
                                                                     firm owed no fiduciary duty to Tribune.
I. The Facts
The facts alleged in the operative complaints are assumed to
                                                                        B. Proposed LBO
be true for purposes of this appeal. 2
                                                                      *2 In early 2007, Sam Zell, an investor, proposed to
                                                                     take Tribune private. At this time, defendants-appellees
2       In Appeal No. 19-3049, the operative complaint is            Chandler Trust No. 1, Chandler Trust No. 2, and certain
        the Fifth Amended Complaint in No. 12-CV-2652,               Chandler sub-trusts (collectively, the “Chandler Trusts”)
        referred to by the district court as the FitzSimons          held approximately 20% of Tribune's publicly-held shares.
        action. In Appeal No. 19-449, the operative                  The Robert R. McCormick Foundation and the Cantigny
        complaint is the First Amended Complaint in No.              Foundation (collectively, the “Foundations”) held another
        12-CV-6055, referred to by the district court as the         13% of shares. The Special Committee sought the views of
        Citigroup action.                                            the Chandler Trusts and the Foundations (together, the “Large
                                                                     Shareholders”) on Zell's proposal. Concerned that Tribune's
                                                                     stock price would fall before they could sell their shares, the


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Large Shareholders indicated that they would only vote for        VRC, “a virtually unknown firm,” agreed to use a non-
a two-step LBO that allowed them to cash out during the           standard approach in formulating its solvency opinions. 3049
first step. In response, Zell suggested a two-step LBO, in        Appellant's Br. at 12–13. 3 VRC charged Tribune $1.5 million
which, at Step One, Tribune would borrow money to buy back        -- VRC's highest fee ever for such an engagement -- to issue
roughly half of its shares and, at Step Two, Tribune would        the solvency opinions.
borrow more money to purchase all remaining shares. Tribune
would then merge with a specially created shell corporation.      3       References to “3049 Appellant's Br.” and “449
The new entity would become an S Corporation, resulting in
                                                                          Appellant's Br.” refer to the Trustee's briefs in
nearly $1 billion in anticipated tax savings. In considering
                                                                          Appeal Nos. 19-3049 and 19-449, respectively.
whether to approve the LBO, the Board consulted Citigroup
and Merrill Lynch.                                                On May 24, 2007, VRC issued an opinion that Tribune
                                                                  would be solvent after completing Step One. According to
To secure financing for the LBO, Tribune needed an opinion        the Trustee, however, after VRC issued this solvency opinion,
stating that it would be solvent after each step of the           Tribune's management team realized that the February
proposed LBO. On February 13, 2007, the Board hired               Projections, upon which VRC's opinion was based, were
Duff & Phelps to provide such a solvency opinion. Toward          no longer an accurate forecast of Tribune's 2007 second
that end, Tribune gave Duff & Phelps financial projections        half performance. No one alerted VRC that Tribune was
predicting that Tribune would fare better in the second half      unlikely to meet the February Projections. Indeed, the Trustee
of 2007 as compared to the same period from the year prior        alleges that Citigroup and Merrill Lynch reviewed VRC's
(the “February Projections”). These figures were created by       solvency analysis but “failed to fulfill their responsibilities as
Tribune's management team, which, according to the Trustee,       ‘gatekeepers’ retained to objectively analyze the LBO.” 449
had a conflict of interest because its members stood to cash      Appellant's Br. at 8.
out Tribune shares worth $36 million and reap other gains if
an LBO were executed.                                             Despite the issue with VRC's solvency opinion, Tribune
                                                                  delivered it to the financing banks on June 4, 2007. That same
After conducting its analysis, Duff & Phelps concluded it         day, Step One closed. Tribune borrowed $7 billion to pay off
could not provide a solvency opinion without considering the      its existing bank debt and to complete a tender offer, buying
$1 billion in tax savings that Tribune expected at Step Two.      back just over half of its publicly held shares. The Large
Duff & Phelps, however, also determined that considering          Shareholders sold all their shares, and the members of the
such tax savings in a solvency opinion was not appropriate.       Board appointed by those shareholders resigned. After Step
Accordingly, on April 1, 2007, Duff & Phelps instead              One, Tribune issued a proxy statement, which explained that
provided a “viability opinion,” which concluded that the fair     while the LBO was in the company's best interest, it was risky
market value of Tribune's assets would exceed its liabilities     and might not create the anticipated value.
after the close of the LBO.
                                                                   *3 In October 2007, management again updated its financial
The same day, Morgan Stanley and Merrill Lynch issued             projections (the “October Projections”) in preparation for
fairness opinions that the price to be paid for Tribune's stock   Step Two. The October Projections still forecasted that
was fair. These opinions were filed with the SEC as proxy         Tribune's performance would improve, but not as quickly as
statements. Also, on April 1, 2007, the Special Committee         the February Projections had predicted.
unanimously voted to recommend the two-step LBO, which
the Board ultimately approved.                                    Even with the October Projections, VRC was reluctant
                                                                  to author a second solvency opinion because it did not
                                                                  appear that Tribune would be able to repay its debts
   C. Implementation of LBO                                       without refinancing its existing debts. Tribune management
Still in need of a solvency opinion to secure financing for the   represented to VRC that Morgan Stanley -- the Special
approved LBO, Tribune approached Houlihan Lokey, which            Committee's financial advisor -- believed that Tribune would
declined, on March 29, 2007, to bid for the engagement.           be able to refinance its debts, even though Morgan Stanley
On April 11, 2007, Tribune retained Valuation Research            had not drawn that conclusion. On December 18, 2007, VRC
Company (“VRC”) to provide two solvency opinions, one for
Step One and one for Step Two. To secure the engagement,


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issued a solvency opinion stating that Tribune would be            Litig., 818 F.3d 98, 105 (2d Cir. 2016) (“Tribune I”). After
solvent after Step Two.                                            further proceedings in this Court and the Supreme Court, we
                                                                   issued an amended opinion on December 19, 2019, affirming
The Board's retained financial advisors did not agree with         the district court's dismissal of the state law constructive
VRC's second solvency opinion. In fact, analyses from              fraudulent conveyance claims on the basis that these claims
Citigroup and Merrill Lynch showed that, at the close of Step      were preempted by section 546(e) of the Bankruptcy Code,
Two, Tribune would be insolvent by more than $1.4 billion          which provides that a trustee may not avoid a transfer made by
and $1.5 billion respectively, but neither advisor tried to stop   or to a “financial institution” in connection with “a securities
the transaction. On December 20, 2007, Step Two closed, and        contract.” In re Tribune Co. Fraudulent Conv. Litig., 946 F.3d
Tribune borrowed an additional $3.7 billion, which it used to      66, 78, 96 (2d Cir. 2019) (“Tribune II”). 4
buy back its remaining publicly held shares.
                                                                   4
                                                                          On July 22, 2016, this Court denied rehearing en
After the close of Step Two, Tribune had roughly $13
                                                                          banc, and our mandate issued on August 1, 2016.
billion in debt. Tribune's directors and officers received
                                                                          On September 9, 2016, the Trustee petitioned for
approximately $107 million from selling their stock and from
                                                                          certiorari to the Supreme Court. In April 2018,
bonuses. Citigroup and Merrill Lynch were each paid their
                                                                          the Supreme Court advised the parties that their
$12.5 million success fee because they helped effectuate
                                                                          petition for certiorari as to Tribune I would be
a “Strategic Transaction.” A group of pension funds (the
                                                                          deferred to allow this Court to consider whether
“Pension Funds”), who are defendants-appellees in this case,
                                                                          to recall the mandate in light of the Supreme
also received cash proceeds in connection with the LBO.
                                                                          Court's decision in Merit Mgmt. Grp., LP v. FTI
                                                                          Consulting, Inc., ––– U.S. ––––, 138 S. Ct. 883,
II. Procedural History                                                    892, 200 L.Ed.2d 183 (2018), which held, inter
On December 8, 2008 -- less than one year after Step                      alia, that Section 546(e) does not protect transfers
Two closed -- Tribune filed for Chapter 11 bankruptcy in                  in which financial institutions served as mere
Delaware. Claims were eventually filed in the Delaware                    conduits. See Deutsche Bank Tr. Co. Americas
Bankruptcy Court on behalf of creditors, including for                    v. Robert R. McCormick Found., ––– U.S. ––––,
fraudulent conveyance. Tribune emerged from bankruptcy                    138 S. Ct. 1162, 1163, 200 L.Ed.2d 735 (2018)
in 2012; pursuant to Tribune's plan of reorganization, the                (statement of Justices Kennedy and Thomas).
claims were transferred to the Tribune Litigation Trust, and              As a result, this Court recalled its mandate and
the Trustee was appointed to pursue the claims on behalf of               eventually issued Tribune II.
Tribune's creditors.                                                *4 In the meantime, the district court proceeded to consider
                                                                   defendants' motions to dismiss the remaining claims. On
In the meantime, some seventy-four federal and state lawsuits      January 6, 2017, the district court (Sullivan, J.) dismissed
asserting fraudulent conveyance and related claims were            the Trustee's intentional fraudulent conveyance claims with
filed around the country by Tribune's creditors. Eventually,       prejudice because it found that the complaint failed to allege
the Judicial Panel on Multidistrict Litigation transferred the     that Tribune had the actual intent to defraud its creditors
bankruptcy claims as well as the federal and state actions         when it bought back shares from shareholders at both steps
to the Southern District of New York, where they were              of the LBO. In particular, the district court concluded that
consolidated on the basis that the claims all arose out of the     the intent of the Tribune officers who created the February
LBO and Tribune's 2008 Chapter 11 bankruptcy filing. See           and October Projections could not be attributed to the Special
In re: Tribune Co. Fraudulent Conv. Litig., 831 F. Supp. 2d        Committee, which approved the LBO. The district court also
1371, 1372 (J.P.M.L. 2011).                                        declined to grant the Trustee leave to amend its complaint in
                                                                   the FitzSimons action, “without prejudice to renewal in the
On September 23, 2013, the district court (Sullivan,               event of an intervening change in the law.” 3049 S. App'x at
J.) dismissed several state law constructive fraudulent            28.
conveyance claims that were brought against Tribune. The
parties appealed, and on March 29, 2016, this Court affirmed       On November 30, 2018, the district court (Sullivan, J.)
the district court's dismissal of the state law fraudulent         dismissed the Trustee's state law claims for breach of
conveyance claims. See In re Tribune Co. Fraudulent Conv.


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fiduciary duty asserted in the FitzSimons Complaint and           on futility, ... we review that legal conclusion de novo.” City
certain “tag-along” actions. In particular, the district court    of Pontiac Policemen's & Firemen's Ret. Sys. v. UBS AG, 752
declined to collapse the two-step LBO into a unitary              F.3d 173, 188 (2d Cir. 2014).
transaction, thereby concluding that (1) Tribune was solvent
at Step One, and (2) the Large Shareholders were not liable
at Step Two because they had relinquished their board seats       I. Intentional Fraudulent Conveyance Claims
and Tribune stock by that point.                                  We first consider whether the district court erred in dismissing
                                                                  the Trustee's intentional fraudulent transfer claims against the
On December 1, 2018, the case was reassigned to Judge Cote.       shareholders based on the buy-back of their shares.
On January 23, 2019, the district court (Cote, J.) granted
Citigroup and Merrill Lynch's motions to dismiss certain
                                                                     A. Applicable Law
claims in the FitzSimons and Citigroup actions. As relevant
                                                                   [4]     [5]   [6] The Bankruptcy Code allows a bankruptcy
here, the district court dismissed the aiding-and-abetting and
                                                                  trustee to recover fraudulent transfers where a transfer has
professional malpractice claims under the in pari delicto
                                                                  been made with “actual intent to hinder, delay, or defraud”
doctrine and it dismissed the fraudulent conveyance claims on
                                                                  creditors. 11 U.S.C. § 548(a)(1)(A). An intentional fraudulent
the ground that the advisory fees received did not constitute
                                                                  conveyance claim must be pled with specificity, as required
actual or constructive fraudulent conveyances. On April 23,
                                                                  by Fed. R. Civ. P. 9(b). See In re Sharp Int'l Corp., 403 F.3d 43,
2019, the district court denied the Trustee's request to amend
                                                                  56 (2d Cir. 2005). The alleged fraud must relate to the specific
his complaint in the FitzSimons action, denying leave to file
                                                                  payment or transfer the plaintiff is seeking to avoid, rather
what would have been a Sixth Amended Complaint.
                                                                  than to the overall course of business. See id. (differentiating
                                                                  between alleged fraud in obtaining funding from noteholders
These appeals followed.
                                                                  and subsequent payment of some proceeds to defendant). And
                                                                  by “actual intent,” the statute contemplates intent “existing
                                                                  in fact or reality” and not merely the imputed intent that
                       DISCUSSION                                 would suffice for a constructive fraudulent conveyance claim.
                                                                  Intel Corp. Inv. Pol'y Comm. v. Sulyma, ––– U.S. ––––,
Three categories of claims are at issue: (1) intentional          140 S. Ct. 768, 776, 206 L.Ed.2d 103 (2020) (holding, in
fraudulent conveyance claims against the shareholders             context of ERISA, that “actual” means “existing in fact or
based on the buy-back of their shares; (2) breach of              reality,” more than “potential, possible, virtual, conceivable,
fiduciary duty and aiding and abetting breach of fiduciary        theoretical, hypothetical, or nominal”) (citations and internal
claims against the allegedly controlling shareholders;            quotation marks omitted); compare 11 U.S.C. § 548(a)(1)
and (3) aiding and abetting breach of fiduciary duty,             (A) (intentional fraudulent conveyance) with id. § 548(a)(1)
professional malpractice, intentional fraudulent conveyance,      (B) (constructive fraudulent conveyance); see also United
and constructive fraudulent conveyance claims against             States v. Finkelstein, 229 F.3d 90, 95 (2d Cir. 2000) (“[T]he
Citigroup, Merrill Lynch, Morgan Stanley, and VRC                 should-have-known alternative connotes a concept more akin
(collectively, the “Financial Advisors”). We discuss these        to negligence than to knowledge.”).
claims in turn, as well as the district court's denial of leave
to amend.                                                         *5 [7] Because of the difficulties in proving intent to
                                                                 defraud, a pleader may rely on “badges of fraud,” i.e.,
 [1]    [2]    [3] We review de novo a district court's grant circumstances so commonly associated with fraudulent
of a motion to dismiss under Rule 12(b)(6) for failure to        transfers that their presence gives rise to an inference of
state a claim, “accepting the complaint's factual allegations    intent. In re Kaiser, 722 F.2d 1574, 1582 (2d Cir. 1983).
as true and drawing all reasonable inferences in the plaintiff's Courts have inferred intent to defraud from the “concealment
favor.” Carpenters Pension Tr. Fund of St. Louis v. Barclays     of facts and false pretenses by the transferor,” “reservation
PLC, 750 F.3d 227, 232 (2d Cir. 2014) (internal quotation        by [the transferor] of rights in the transferred property,” the
marks omitted). “We review the district court's denial of        transferor's “absconding with or secreting the proceeds of the
leave to amend for abuse of discretion.” Broidy Cap. Mgmt.       transfer immediately after their receipt,” “the existence of an
LLC v. Benomar, 944 F.3d 436, 447 (2d Cir. 2019) (internal       unconscionable discrepancy between the value of property
quotation marks omitted). If, however, “the denial was based     transferred and the consideration received therefor,” the


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oppressed debtor's creation “of a closely-held corporation to     here, we affirm the district court's use of a “control” test
receive the transfer of his property,” as well as the oppressed   for imputation. We agree that for an intentional fraudulent
debtor's transfer of property while insolvent. Id. (citation      transfer claim, which requires “actual intent,” a company's
omitted); see also Sharp, 403 F.3d at 56.                         intent may be established only through the “actual intent” of
                                                                  the individuals “in a position to control the disposition of [the
 [8]     [9]     [10] A corporation can only act through its transferor's] property.” Roco, 701 F.2d at 984; see also In re
directors and officers, and we look to state law to determine     Lehman Bros. Holdings, Inc., 541 B.R. 551, 576 (S.D.N.Y.
who has the authority to act on behalf of a corporation (and      2015) (“[T]he Court's analysis regarding imputation must turn
therefore whose actions to review to see whether there was        on actual control of [the debtor].”). 5
fraudulent intent or badges of fraud). See Burks v. Lasker,
441 U.S. 471, 478, 99 S.Ct. 1831, 60 L.Ed.2d 404 (1979)           5        In arguing for a lesser imputation standard, the
(“[T]he first place one must look to determine the powers
                                                                           Trustee relies heavily on Staub v. Proctor Hospital,
of corporate directors is in the relevant State's corporation
                                                                           562 U.S. 411, 131 S.Ct. 1186, 179 L.Ed.2d 144
law.”). Under Delaware law -- Tribune's state of incorporation
                                                                           (2011). That case, however, applied a “motivating
-- only the board of directors (or a committee to which the
                                                                           factor” standard under the Uniformed Services
board has delegated its authority) has the power to approve an
                                                                           Employment and Reemployment Rights Act, id. at
extraordinary transaction such as a merger or consolidation.
                                                                           417–18, 131 S.Ct. 1186, and we are not persuaded
See Del. Gen. Corp. Law §§ 141(a), (c), 160(a), 251(b). Here,
                                                                           that it carries much weight in a case requiring
the Board delegated its authority to approve a merger and
                                                                           “actual intent” under the Bankruptcy Code.
redemption of Tribune's stock to the Special Committee, and
thus the Trustee was required to plead allegations that gave
rise to a strong inference that the Special Committee had the        B. Application
“actual intent to hinder, delay, or defraud” Tribune's creditors,  *6 The Trustee makes two arguments in support of his
as required by 11 U.S.C. § 548(a)(1)(A).                          intentional  fraudulent transfer claims. First, he argues that
                                                                  Tribune's senior management possessed actual intent to
The Trustee does not argue that the members of the Special        defraud, and that intent should be imputed to the Special
Committee had “actual intent” to harm Tribune's creditors         Committee. Second, even assuming the imputation argument
but instead contends that Tribune's senior management had         fails, the Trustee maintains that Independent Directors on the
the necessary fraudulent intent, and that this intent must be     Special Committee had the required intent as demonstrated
imputed to the Special Committee. The issue of whether            by “badges of fraud.”
a company's officers' intent to defraud creditors can be
imputed to an independent special committee for purposes of
a fraudulent conveyance claim under the Bankruptcy Code                                1. Imputation of Intent
is a question of first impression in this Circuit. The First
Circuit has addressed the issue and applied a “control” test          [12] We conclude that the Trustee failed to plausibly allege
-- a court “may impute any fraudulent intent of [an actor] to        that the intent of Tribune's senior management should be
the transferor ... [if the actor] was in a position to control the   imputed to the Special Committee because the Trustee failed
disposition of [the transferor's] property.” In re Roco Corp.,       to allege that Tribune's senior management controlled the
701 F.2d 978, 984 (1st Cir. 1983). The district court here           transfer of the property in question.
applied the control test, holding that “this test appropriately
accounts for the distinct roles played by directors and officers     As discussed above, the Board created an independent Special
under corporate law, while also factoring in the power certain       Committee to evaluate the LBO. The Special Committee,
officers and other actors may exercise over the corporation's        in turn, hired Morgan Stanley to serve as its independent
decision to consummate a transaction.” 3049 S. App'x at 9.           financial advisor. As the district court observed, the Trustee
                                                                     failed to allege that senior management inappropriately
 [11] The Trustee argues that the district court erred in            pressured the Independent Directors -- who included former
applying the control test, and that the correct standard is either   senior officers of major corporations -- to approve the
a scope-of-employment agency standard or a “proximate                transactions or that senior management dominated the Special
cause” standard. We are not persuaded. In the circumstances          Committee.



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                                                                     trading. These assertions, even assuming they are true, do not
The Trustee failed to allege any financial or personal ties          give rise to a strong inference of actual fraudulent intent.
between senior management and the Independent Directors
that could have affected the impartiality of the Special              *7 The Trustee's arguments that the Independent Directors
Committee. And to the extent that the officers misled                “knew that Tribune was falling far short of projections
the Special Committee by presenting it with the February             and thus was unlikely to generate enough cash to service
Projections and a flawed viability and solvency opinions,            its debt” and the risky nature of the proposed LBO were
Morgan Stanley and the Special Committee itself checked              indications of fraud are also unpersuasive. 3049 Appellant's
these figures. Therefore, to impute the officers' intent onto        Br. at 38. Even assuming the Independent Directors were
the Special Committee, which was working independently               wrong in believing that Tribune's financial condition would
with an outside financial advisor and independently reviewed         improve, their approval of a risky transaction when Tribune
opinions provided by Duff & Phelps and VRC, would stretch            and other newspaper companies were struggling would
the “actual intent” requirement as set forth in § 548(a)(1)(A)       arguably support a negligence or constructive fraud claim
to include the merely possible or conceivable or hypothetical        but not, in the circumstances here, an intentional fraudulent
as opposed to existing in fact and reality.                          transfer claim. See, e.g., In re Lehman Bros. Holdings, Inc.,
                                                                     541 B.R. at 577 (“Indeed, there is nothing unlawful about
                                                                     a company transacting business during unusually difficult
                                                                     financial times in an attempt to prevent its own collapse. To
                   2. The Badges of Fraud
                                                                     find otherwise would place in question any contract executed
 [13] On appeal, the Trustee contends that five of the               during a financial downturn and invite upheaval in the
traditional “badges of fraud” weigh in favor of finding actual       financial markets.”). Moreover, Tribune's contemporaneous
intent -- (1) lack of consideration for the shareholder transfers;   public filings warned that its projections could fall short, and
(2) Tribune's financial condition; (3) the relationship among        the Independent Directors had an obligation to try to achieve
the parties; (4) the “pattern of transactions”; and (5) the          the highest price for Tribune's shareholders. See, e.g., Revlon,
“general chronology” of the events. 3049 Appellant's Br.             Inc. v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173,
at 37–38. While some of these factors arguably weigh in              182 (Del. 1986) (directors have duty to obtain highest price
favor of the Trustee, in the end we conclude that the district       for shareholders).
court correctly held that the Trustee failed to plead “badges
of fraud” sufficient to raise a strong inference of actual           Again, the Trustee was required to plausibly allege actual
fraudulent intent on the part of the Special Committee. See          fraudulent intent on the part of the members of the Special
Kaiser, 722 F.2d at 1582–83.                                         Committee. We agree with the district court that the Trustee
                                                                     failed to do so.
The Trustee's assertion that Independent Directors stood to
earn $6 million for selling their shares if they approved
                                                                     II. State Law Fiduciary Duty Claims
the LBO is insufficient to satisfy the stringent pleading
                                                                     We next consider the Trustee's claims that the Large
standard of Rule 9(b). First, it would be unreasonable to
                                                                     Shareholders breached their fiduciary duties under Delaware
assume actual fraudulent intent whenever the members of
                                                                     law by pushing for the LBO based on projections they knew to
a board of directors (or a committee created by that board)
                                                                     be false and by causing Tribune to incur debt they knew would
stood to profit from a transaction they recommended or
                                                                     leave the company insolvent. The Trustee also alleges that
approved. See, e.g., Kalnit v. Eichler, 264 F.3d 131, 139 (2d
                                                                     through this conduct the Large Shareholders aided and abetted
Cir. 2001) (“Motives that are generally possessed by most
                                                                     senior management's own breach of fiduciary duty and were
corporate directors and officers do not suffice [to demonstrate
                                                                     unjustly enriched. The Trustee argues that Steps One and Two
fraud]. ... Insufficient motives, we have held, can include
                                                                     of the LBO should be collapsed so that the LBO is viewed as
(1) the desire for the corporation to appear profitable and
                                                                     a single unitary transaction. The Trustee contends that, if the
(2) the desire to keep stock prices high to increase officer
                                                                     LBO is so viewed and Tribune's Step Two obligations taken
compensation.”). Second, the Independent Directors owned
                                                                     into account at the start, Tribune was insolvent as of April 1,
only a small fraction (0.08%) of Tribune's shares, and the
                                                                     2007, the day that Tribune's Board originally voted to approve
Independent Directors' shares were sold at a price only
                                                                     the LBO. The Trustee alleges that the Large Shareholders
slightly above the price at which Tribune stock had been
                                                                     were controlling shareholders with attendant fiduciary duties


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before Step One and that these fiduciary duties were breached              status.”) (quoting Citron v. Fairchild Camera &
by advocating for and executing the LBO.                                   Instrument Corp., 569 A.2d 53, 70 (Del. 1989)).
                                                                     *8 [16] To determine whether the two steps should be
The district court dismissed Trustee's claims, holding that
                                                                    viewed as a single transaction, the district court applied
Steps One and Two could not be collapsed into a unitary
                                                                    the Sabine factors, which consider (i) “[w]hether all of the
transaction and that Tribune's purported insolvency had to
                                                                    parties involved had knowledge of the multiple transactions”;
be analyzed separately at each of the LBO's two steps. The
                                                                    (ii) “[w]hether each transaction would have occurred on its
district court concluded that the Trustee's allegations failed at
                                                                    own”; and (iii) “[w]hether each transaction was dependent or
Step One because he could not plausibly allege that Tribune
                                                                    conditioned on other transactions.” In re Sabine Oil & Gas
was insolvent at that point. While the district court concluded
                                                                    Corp., 547 B.R. 503, 541 (Bankr. S.D.N.Y.), aff'd, 562 B.R.
that the Trustee had adequately pleaded Tribune's insolvency
                                                                    211 (S.D.N.Y. 2016).
at Step Two, it held that the fiduciary duty claims nevertheless
failed because, after Step One, the Large Shareholders no
                                                                 [17] In performing this analysis, Delaware courts have
longer owned any Tribune stock and their appointed directors
                                                                sometimes applied a “step-transaction doctrine,” under which
had resigned from the Board.
                                                                collapse is warranted if a party can satisfy any one of three
                                                                tests: (1) the “end result test,” which authorizes collapse “if it
The principal issue with respect to these claims is thus
                                                                appears that a series of separate transactions were prearranged
whether the Trustee's pleadings support collapsing Step One
                                                                parts of what was a single transaction, cast from the outset to
and Step Two into one event.
                                                                achieve the ultimate result”; (2) the “interdependence test,”
                                                                which authorizes collapse if “the steps are so interdependent
   A. Applicable Law                                            that the legal relations created by one transaction would have
 [14]     [15] Under Delaware law, a shareholder owes the been fruitless without a completion of the series”; and (3) the
company a fiduciary duty “only if it owns a majority interest   “binding-commitment test,” which allows collapse “only if,
in or exercises control over the business affairs of the        at the time the first step is entered into, there was a binding
corporation.” Ivanhoe Partners v. Newmont Mining Corp.,         commitment to undertake the later steps.” Bank of N.Y. Mellon
535 A.2d 1334, 1344 (Del. 1987). If such a fiduciary duty       Tr. Co. v. Liberty Media Corp., 29 A.3d 225, 240 (Del. 2011)
exists, a shareholder breaches that duty if, for its own        (internal quotation marks omitted).
benefit, it approves a transaction that renders the corporation
insolvent. See, e.g., In re Tropicana Entm't, LLC, 520 B.R.     Delaware courts have also noted that, regardless of the test to
455, 471 (Bankr. D. Del. 2014) (holding that creditor must      be applied, the substance of the transaction is what matters,
allege either that corporation was or became insolvent as       not the form. See Gatz v. Ponsoldt, 925 A.2d 1265, 1280
result of fiduciary's misconduct to bring suit for breach of    (Del. 2007). Further, they have noted that “courts have found
fiduciary duty); see also Crawford v. Franklin Credit Mgmt.     that a set of transactions may be viewed as one integrated
Corp., 758 F.3d 473, 482 (2d Cir. 2014) (noting this Court      transaction if the transactions reasonably collapse into a single
may “affirm the judgment on any basis that is supported by      integrated plan and either defraud creditors or leave the
                                                                debtor with less than equivalent value post-exchange.” In re
the record”). 6
                                                                Hechinger Inv. Co. of Del., 274 B.R. 71, 91 (D. Del. 2002)
                                                                (internal quotation marks omitted). In Hechinger, the court
6       We assume, without deciding, that the Large             denied a motion to dismiss and noted that it was “reluctant
        Shareholders had a fiduciary duty to Tribune.           to conclude that because the defendants structured the set of
        We note, however, that together the Chandler            transactions in a certain manner, they [were] immune from
        Trusts and the Foundations owned only 33% of            a claim of breach of fiduciary duty, especially where the
        Tribune's publicly held shares. See Kahn v. Lynch       [complaint] allege[d] that the harms it complain[ed] of were
        Commc'n Sys., Inc., 638 A.2d 1110, 1114 (Del.           foreseeable results of the acts of the defendants.” Id.
        1994) (“[A] shareholder who owns less than 50%
        of a corporation's outstanding stocks does not,
        without more, become a controlling shareholder             B. Application
        of that corporation, with a concomitant fiduciary




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                                                                   the two-step transaction was designed to guard against the
                                                                   possibility that the second step might not close if conditions
            1. Was the LBO a Unitary Transaction?
                                                                   precedent were not satisfied. The Trustee even acknowledges
 [18]      [19] Although we must accept as true all plausible that the LBO was structured in two steps because the Board
allegations set forth in the complaint, we need not accept         “express[ed] concerns regarding the delays and completion
“threadbare recitals of a cause of action's elements” that are     risk associated with Zell's [initial single-step] proposal.” 3049
“supported by mere conclusory statements.” Ashcroft v. Iqbal,      J. App'x at 191. Therefore, the Board decided instead on the
556 U.S. 662, 663, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).         two-step LBO to “provide an upfront distribution to Tribune's
Here, the Trustee failed to sufficiently allege that the two steps stockholders,” even if Step Two were never consummated. Id.
should be collapsed into one.
                                                                   The parties do not dispute that Sabine applies federally,
First, it is undisputed that there were several obstacles that     though ultimately we conclude that, regardless of whether
Tribune needed to clear after Step One and before completing       Sabine or Delaware's “step-transaction doctrine” applies, the
Step Two. At Step One, Tribune borrowed approximately $7           two steps of this LBO should not be collapsed. As the facts
billion and executed a tender offer, by which the company          alleged in the complaint make clear, the third Sabine factor
repurchased half of Tribune's outstanding common stock             weighs against collapse. Further, collapse is inappropriate
and refinanced its existing debt. Even if Step Two were            under all three of the step-transaction tests, because the
never consummated, Step One would have amounted to a               parties intended to structure the two steps as independent
standalone recapitalization plan -- similar to transactions        transactions, Step One was able to stand alone, and there was
                                                                   no binding commitment to undertake Step Two. Accordingly,
Tribune had engaged in prior to the LBO. 7
                                                                   we affirm the district court's conclusion that the two steps
                                                                   must be considered independently.
7        In May 2006, Tribune engaged in a leveraged
         recapitalization by which it purchased 55 million
         shares of outstanding stock for $1.8 billion in May
         2006. In March 2007, Tribune again considered a                       2. Was Tribune Insolvent at Step One?
         “more modest recapitalization plan.” 3049 J. App'x
                                                                    [20] The Trustee argues that even if the two steps are
         at 198.
                                                                   not treated as a unitary transaction, he sufficiently alleged
 *9 Additionally, the “knowledge and intent of the parties”        Tribune's insolvency at Step One, to support a claim that
weigh heavily against the Trustee's collapse argument as           the Large Shareholders breached their fiduciary duties when
neither Tribune nor the Large Shareholders knew for certain        approving of a transaction that resulted in insolvency. The
whether both steps would be completed. Step Two required           district court held that the Trustee failed to sufficiently allege
shareholder approval, which was not received until months          that Tribune was insolvent at Step One of the LBO under
after Step One closed, and the Trustee does not allege that        either the “balance sheet” or the “inability to pay debt when
the Large Shareholders had anything to do with the “pie-           due” tests. We agree.
in-the-sky” February Projections. 3049 J. App'x at 146–47.
Similarly, Tribune never knew that Step Two was a foregone          [21] In Delaware, “[u]nder the balance sheet test, an entity
conclusion, as its merger would need government approval.          is insolvent if it has liabilities in excess of a reasonable
                                                                   market value of assets held.” Quadrant Structured Prods.
Further, the complaint acknowledges that there were several        Co. v. Vertin, 102 A.3d 155, 176 (Del. Ch. 2014) (internal
additional hurdles Tribune had to clear to effectuate Step         quotation marks omitted). We are not persuaded by the
Two, including receiving a solvency opinion, and that the          Trustee's argument that the district court erred in failing to
Large Shareholders were concerned that the deal would              take into account “the commitments Tribune had already
not actually close. Indeed, Tribune's July 13, 2007 proxy          made -- notably to borrow an additional $3.7 billion of
statement warned that there was a “risk that the conditions        debt and to make an additional $4 billion distribution to
to the [Step Two] Merger will not be met, including the            its shareholders -- for which performance was due at Step
conditions requiring receipt of FCC approval, the receipt          Two.” 3049 Appellant's Br. at 65. This argument rests on
of financing and receipt of a solvency opinion.” 3049 J.           the same logic undergirding the Trustee's argument in favor
App'x at 1740. Finally, as the Large Shareholders point out,       of collapsing the two steps, which we have rejected for the



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reasons outlined above. Moreover, the Trustee himself admits         and professional malpractice 8 ; (2) intentional fraudulent
that he “did not allege that the $8 billion borrowed at Step         conveyance; and (3) constructive fraudulent conveyance.
One, standing alone, rendered Tribune insolvent.” Id. at 62.         For the reasons set forth below, we affirm the district
                                                                     court's dismissal of the aiding and abetting and professional
 *10 As to the “inability to pay debts when due” test, the           malpractice claims as to all Financial Advisors; we affirm
Trustee's argument again hinges upon his assertion that the          the district court's dismissal of the intentional fraudulent
district court should have considered whether Tribune was            conveyance claims as to Morgan Stanley, Citigroup, and
able to pay upcoming debts or raise additional capital in the        Merrill Lynch, and vacate the dismissal of these claims as
future -- i.e., by taking “Step Two into account, along with         to VRC; and we affirm the dismissal of the constructive
Tribune's ability to access additional funds.” Id. at 70. In other   fraudulent conveyance claims as to Morgan Stanley and VRC
words, the Trustee argues that courts should not limit their         and vacate the dismissal of these claims as to Citigroup and
consideration to past debt payments and instead also consider        Merrill Lynch.
whether companies will be able to pay upcoming debts or
raise additional capital in the future.                              8       Additionally, the Trustee asserted a breach of
                                                                             fiduciary claim, but against only Morgan Stanley.
There appears to be no consensus in Delaware courts,
                                                                             The district court did not explicitly address this
however, as to whether this test is forward-looking. See,
                                                                             claim in its January 23, 2019 opinion. In a February
e.g., Robert J. Stearn, Jr. & Cory D. Kandestin, Delaware's
                                                                             13, 2019 order, however, the district court stated
Solvency Test: What Is It and Does It Make Sense? A
                                                                             that this claim was “barred for the same reasons
Comparison of Solvency Tests Under the Bankruptcy Code
                                                                             discussed in the January 23 Opinion with respect
and Delaware Law, 36 Del. J. Corp. L. 165, 182 (2011)
                                                                             to the other common law claims asserted against
(“The [inability to pay debts when due] test is not entirely
                                                                             Morgan Stanley ... namely, the doctrine of in pari
clear: the unanswered question is whether the test is present
                                                                             delicto.” 3049 S. App'x at 180.
or forward-looking. ... The case law does not answer this
question definitively.”). The Trustee cites several Delaware
cases, see 3049 Appellant's Br. at 69, but they are inapposite           A. Aiding and Abetting Breach of Fiduciary Duty and
as none definitively establishes that courts must consider               Professional Malpractice Claims
future debts to be incurred as part of its insolvency analysis.
Moreover, as the district court observed, this Court offered a                             1. Applicable Law
definitive answer in Pereira v. Farace, 413 F.3d 330 (2d Cir.
2005). There, we rejected a forward-looking approach, noting          *11 [23] Under Delaware law, 9 a third party may be liable
that such a test would “project[ ] into the future to determine      for aiding and abetting a breach of fiduciary duty if there is
whether capital will remain adequate over time while the             “(i) the existence of a fiduciary relationship, (ii) a breach of
Delaware [inability to pay debts when due] test looks solely         the fiduciary's duty, (iii) knowing participation in that breach
at whether the corporation has been paying bills on a timely         by the defendants, and (iv) damages proximately caused by
basis.” Id. at 343. We see no reason to overturn that holding        the breach.” RBC Cap. Mkts., LLC v. Jervis, 129 A.3d 816,
here.                                                                861 (Del. 2015).

 [22] Accordingly, we conclude that the district court did not       9       The parties agree that Delaware law governs the
err in dismissing the Trustee's state law claims against the
                                                                             Trustee's aiding and abetting claim.
Large Shareholders. We additionally conclude that the district
court did not abuse its discretion in dismissing these claims         [24]     [25]    [26] The in pari delicto doctrine acts as an
with prejudice, as the Trustee has not explained what specific       affirmative defense to an aiding and abetting claim by
facts he would plead to salvage these claims.                        barring a plaintiff “from recovering damages if his losses
                                                                     are substantially caused by activities the law forbade him to
                                                                     engage in.” Stewart v. Wilmington Tr. SP Servs., Inc., 112
III. Claims Against Financial Advisors                               A.3d 271, 301–02 (Del. Ch.), aff'd, 126 A.3d 1115 (Del. 2015)
We next consider whether the district court erred in                 (internal quotation marks omitted). In other words, a plaintiff
dismissing the following claims against the Financial                can generally only sue for aiding and abetting a breach of
Advisors: (1) aiding and abetting breaches of fiduciary duty


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fiduciary duty if the plaintiff's hands are clean. As applied      delicto doctrine to aiding and abetting claims against “non-
to corporations, the illegal actions of a corporation's officers   fiduciaries ... who occupy a position of trust and materially
and directors are imputed to the corporation itself. Id. at 303.   participate in the traditional insiders' discharge of their
There are, however, exceptions that render the in pari delicto     fiduciary duties.” Stewart, 112 A.3d at 320 (holding that the
doctrine inapplicable and therefore permit a plaintiff to sue,     auditor defendants played a “gatekeeper” role).
even if its hands are not clean.
                                                                  *12 [32] The in pari delicto doctrine also applies to the
 [27]     [28] First, under the adverse interest exception, a Trustee's professional malpractice claims. Under both New
corporation is permitted to sue those alleged to have aided an   York law and Illinois law, 10 professional malpractice claims
agent's wrongdoing when “the corporate agent responsible for     are viewed as a species of negligence. See Hydro Invs.,
the wrongdoing was acting solely to advance his own personal     Inc. v. Trafalgar Power Inc., 227 F.3d 8, 15 (2d Cir. 2000);
financial interest, rather than that of the corporation itself.” Hassebrock v. Bernhoft, 815 F.3d 334, 341 (7th Cir. 2016).
In re Am. Int'l Grp., Inc., Consol. Derivative Litig., 976 A.2d
872, 891 (Del. Ch. 2009) (“AIG II”), aff'd sub nom. Teachers'    10      In the district court, the parties disputed whether
Ret. Sys. of La. v. Gen. Re Corp., 11 A.3d 228 (Del. 2010)
                                                                         New York (where Citigroup and Merrill Lynch
(emphasis added). The adverse interest exception, however,
                                                                         are headquartered) or Illinois (where Tribune
does not enable a plaintiff to recover if the wrongdoing
                                                                         was headquartered) law governed the Trustee's
benefits the corporation. Stewart, 112 A.3d at 309.
                                                                         professional malpractice claim. This argument has
                                                                         been largely abandoned, likely because, as the
 [29] Further, the exception does “not apply even when the
                                                                         district court explained, the states' laws are nearly
‘benefit’ enjoyed by the corporation is ultimately outweighed
                                                                         the same.
by the long-term damage that is done when the agent's
mischief comes to light”; instead, it only covers the “unusual”   [33] [34] It is settled in both New York and Illinois that the
case where allegations support a reasonable inference of         in pari delicto doctrine bars claims against co-conspirators
“total abandonment of the corporation's interests.” Id. at       for negligence. See, e.g., Kirschner v. KPMG LLP, 15 N.Y.3d
303, 309 (describing “siphoning corporate funds or other         446, 464, 912 N.Y.S.2d 508, 938 N.E.2d 941 (2010) (“The
outright theft” as such “unusual” cases); see also In re         justice of the in pari delicto rule is most obvious where a
Am. Int'l Grp., Inc., 965 A.2d 763, 827 (Del. Ch. 2009)          willful wrongdoer is suing someone who is alleged to be
(“AIG I”) (holding that the adverse interest test is directed    merely negligent.”); Peterson v. McGladrey & Pullen, LLP,
at insiders who are “essentially stealing from the corporation   No. 10 C 274, 2010 WL 4435543, at *4 (N.D. Ill. Nov. 3,
as opposed to engaging in improper acts that, even if also       2010) (“[T]he in pari delicto principles that preclude plaintiff
self-interested, have the effect of benefiting the corporation   from seeking redress for [the trustee's] alleged negligence ...
financially”), aff'd sub nom. Teachers' Ret. Sys. of La. v.      apply equally to plaintiff's claims against [the defendant
PricewaterhouseCoopers LLP, 11 A.3d 228 (Del. 2011).             auditor.]”), vacated on other grounds, 676 F.3d 594 (7th
                                                                 Cir. 2012). Thus, the in pari delicto doctrine precludes
 [30]     [31] Second, the fiduciary/insider exception to the a corporation engaged in wrongdoing from suing its co-
in pari delicto doctrine allows a suit to be brought against     conspirators on the grounds of negligence.
corporate fiduciaries who “knowingly caused the corporation
to commit illegal acts and, as a result, caused the corporation
to suffer harm.” AIG II, 976 A.2d at 889. The AIG II court
                                                                                          2. Application
appeared, on public policy grounds, to limit the application
of the fiduciary exception to “gatekeepers,” third parties        [35] As an initial matter, accepting the Trustee's factual
employed by a corporation to help ensure the lawful operation    assertions to be true, he plausibly alleges that the Financial
of the corporation. Id. at 890 n.49, 892–93; see also RBC Cap.   Advisors aided and abetted Tribune's directors and officers
Mkts., 129 A.3d at 865 n.191 (rejecting the proposition that     in breaching their fiduciary duties when they hid Tribune's
financial advisors are inherently “gatekeepers,” explaining      true financial state to complete the LBO. In particular, the
that “the role of a financial advisor is primarily contractual   Trustee's complaint alleges that Citigroup and Merrill Lynch
in nature” and defined by its engagement letter). Similarly,     reviewed VRC's solvency analysis and failed to alert anyone
the fiduciary exception precludes application of the in pari     that the February Projections, which formed the bedrock



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of VRC's first solvency opinion, were no longer accurate.           whether the adverse interest exception will apply. Stewart,
Instead, they allowed VRC's analysis to be delivered to             112 A.3d at 303. Therefore, despite any “long-term damage,”
the financing banks at Step One of the LBO. Likewise,               id., the adverse interest exception to the in pari doctrine does
the Trustee contends that Citigroup's analysis showed that          not apply in this case. 11
Tribune was insolvent by more than $1.4 billion before the
close of Step Two, and Merrill Lynch's analysis showed that         11      Notwithstanding the Trustee's argument to the
Tribune was insolvent by more than $1.5 billion. Still, neither
                                                                            contrary, the district court did not resolve any
tried to stop the LBO.
                                                                            issues of fact by holding that the adverse interest
                                                                            exception did not apply here. Instead, it simply
 [36] Indeed, for purposes of these appeals, Citigroup and
                                                                            observed that the infusion of $300 million in capital
Merrill Lynch do not challenge the allegations of wrongdoing
                                                                            stated in the Complaint conferred some benefit
or negligence. Instead, they contend that any aiding and
                                                                            on Tribune, and therefore, the defendants had
abetting breach of fiduciary duty and malpractice claims must
                                                                            not acted “solely to advance [their] own personal
be dismissed based on the in pari delicto doctrine. And for
                                                                            financial interest.” AIG, 976 A.2d at 891 (emphasis
his part, the Trustee does not argue on appeal that the in
                                                                            added).
pari delicto doctrine is inapplicable; instead, he argues that
two exceptions to that doctrine should apply to allow the
claims to go forward -- the adverse interest exception, which
                                                                                   b. Fiduciary/Insider Exception
it argued below to the district court, and the fiduciary/insider
exception, which it argues for the first time on appeal. This        [38] The Delaware Chancery Court has explained that for the
Court has discretion to consider arguments waived below             fiduciary/insider exception to apply, the party must “occupy
where necessary to avoid a manifest injustice. In re Nortel         a position of trust and materially participate in the traditional
Networks Corp. Sec. Litig., 539 F.3d 129, 133 (2d Cir. 2008).       insiders' discharge of their fiduciary duties,” thereby playing
In circumstances where those arguments were available to the        a “ ‘gatekeeper’ role vis-à-vis the [corporation].” Stewart, 112
party below and no reason is proffered for their failure to raise   A.3d at 319. Here, the Trustee has failed to sufficiently allege
them, such an exercise of discretion is not favored. Id.            that any of the Financial Advisors played such a role.

                                                                    While a corporation's auditors “assume[ ] a public
               a. Adverse Interest Exception                        responsibility transcending any employment relationship,”
                                                                    United States v. Arthur Young & Co., 465 U.S. 805, 817–
 *13 [37] Here, the adverse interest exception does not             18, 104 S.Ct. 1495, 79 L.Ed.2d 826 (1984) (emphasis
apply because the LBO conferred at least some “benefit” on          omitted), and act as the gatekeepers of standards designed
Tribune. AIG II, 976 A.2d at 891. Tribune received over $300        to avoid damage to corporations, the Delaware Supreme
million in additional capital from Zell's investment, and there     Court has emphasized that “the role of a financial advisor is
was also the potential for $1 billion in tax savings. Even          primarily contractual in nature” and that a financial advisor's
putting aside the tax savings -- which Moody's called a “key        “engagement letter typically defines the parameters of the
assumption” for the LBO, 449 J. App'x at 112, but which             financial advisor's relationship and responsibilities with its
were ultimately never realized -- the transaction still infused     client,” RBC Cap. Mkts., 129 A.3d at 865 n.191. Here,
hundreds of millions of dollars of capital into the business at     the engagement letters between Tribune and Citigroup and
a time when Tribune was struggling, provided value to many          between Tribune and Merrill Lynch expressly provide that
shareholders by helping cash them out, and gave Tribune a           they did not create fiduciary relationships and that Citigroup
chance to continue as a going concern by allowing it to pay off     and Merrill Lynch were not acting as Tribune's agents. The
at least some existing debt. Indeed, Tribune itself explained       letters instead made clear that Tribune would “make an
in a proxy statement that the LBO was in its best interest.         independent analysis and decision regarding any Transaction
                                                                    based on [their] advice.” 449 J. App'x at 366. Citigroup and
The Trustee also makes no specific allegations that support         Merrill Lynch were financial advisors, not “gatekeepers,”
an inference that Tribune received no benefit from the LBO;         AIG II, 976 A.2d at 890 n.49, and, further, neither Citigroup
instead, it contends that the net effect of the LBO was             nor Merrill Lynch “materially participate[d]” in the discharge
negative. But the net effect is not relevant when considering       of fiduciary duties, Stewart, 112 A.3d at 320.



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                                                                    unrealistic February 2007 Projections even as each month's
Moreover, the Delaware Supreme Court has cautioned against          below-projection performance showed conclusively that they
“inappropriately ... suggest[ing] that any failure by a financial   could not be achieved,” 3049 J. App'x at 118 -- are insufficient
advisor to prevent directors from breaching their duty of care      to support an inference of intent to defraud as to the payment
gives rise to an aiding and abetting claim against the advisor.”    of their financial advisory fees. Kaiser, 722 F.2d at 1582.
RBC Cap. Mkts., 129 A.3d at 865 n.191. Instead, such a claim
may arise where “the [financial advisor] knows that the board       Specifically, the Trustee maintains that “multiple badges of
is breaching its duty of care and participates in the breach by     fraud” support the requisite strong inference of fraudulent
misleading the board or creating [an] informational vacuum.”        intent against Citigroup and Merrill Lynch, including that (1)
Id. at 862.                                                         the advisory fees were paid to these firms in December 2007,
                                                                    following the close of Step Two when Tribune was insolvent;
 *14 Here, although the Trustee lodges numerous allegations         (2) Tribune received less than reasonably equivalent value for
of misconduct on the Financial Advisors' part, there is little      the fees paid; (3) the fees were not paid in the ordinary course
to suggest that their conduct created an “ ‘informational           of Tribune's business; and (4) Tribune's management engaged
gap[ ]’ ... l[eading] to the Board's breaches of fiduciary          in deceptive conduct by concealing the February and October
duties,” as occurred in Stewart, 112 A.3d at 322, much less the     Projections from certain others in management, and induced
“fraud on the Board” and “intentional[ ] dup[ing]” of directors     Citigroup and Merrill Lynch to use those projections to bring
that warranted liability of the financial advisor in RBC Cap.       the LBO to a close. 449 Appellant's Br. at 53.
Mkts., 129 A.3d at 865. Rather, the Trustee alleges that
Tribune's officers and advisors conspired with their financial      Regarding this first alleged badge of fraud, payments to
advisors (among others) to carry out the LBO.                       Citigroup and Merrill Lynch when Tribune was insolvent
                                                                    weigh in favor of finding actual fraudulent intent. As to the
Accordingly, the district court did not err in dismissing           second badge of fraud, whether Tribune received reasonably
the Trustee's aiding and abetting breach of fiduciary duty          equivalent value for these payments is a disputed factual
and professional malpractice claims against the Financial           question, which also weighs in the Trustee's favor at this stage.
Advisors.
                                                                    As to third badge of fraud, nothing in the pleadings
                                                                    supports the notion that fees paid to Citigroup and Merrill
   B. Intentional Fraudulent Conveyance Claims                      Lynch pursuant to their respective engagement letters were
As discussed above, the Bankruptcy Code allows a                    outside the ordinary course of Tribune's business. Rather,
bankruptcy trustee to recover transfers made with “actual           the pleadings on these payments relate to the tortious
intent to hinder, delay, or defraud” creditors. 11 U.S.C. §         performance of financial advisory services and the alleged
548(a)(1)(A). The complaint does not sufficiently allege that       fraudulent nature of the LBO transaction as a whole. They
the transfers to Citigroup, Merrill Lynch, and Morgan Stanley       do not admit an inference of fraudulent intent as to Tribune's
as financial advisors were made with an “actual intent to           specific payment of the advisory fees, see Sharp, 403 F.3d
hinder, delay, or defraud” creditors. Id. It does, however,         at 56, which occurred pursuant to engagement letters entered
sufficiently plead such an actual intent as to VRC.                 into with Citigroup and Merrill Lynch in October 2005, long
                                                                    before the LBO was proposed.
 [39] As to Morgan Stanley, the complaint alleges that
Tribune paid the firm $10 million for a fairness opinion,            *15 As to the fourth badge of fraud, the Trustee's
but the complaint then barely mentions the fairness opinion         allegations of deceptive conduct by Tribune's management
again, much less suggest that payment for the opinion               are too attenuated from the advisory fee payments to
was motivated by fraudulent intent. Without additional              Citigroup or Merrill Lynch to indicate Tribune's intent as to
allegations, the Trustee cannot satisfy Rule 9(b)'s heightened      those payments. At most, the Trustee's allegations indicate
pleading standard as to Morgan Stanley.                             that Citigroup and Merrill Lynch did not report Tribune's
                                                                    management's concealment of facts. But other checks on
 [40] As to Citigroup and Merrill Lynch, the Trustee's              such behavior existed as Morgan Stanley and the Special
allegations -- that these firms “were incentivized to promote       Committee independently reviewed the relevant figures.
the LBO over other proposals being considered by [Tribune],”
3049 J. App'x at 59, and that they “purported to rely on the


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In sum, the Trustee's highlighted badges of fraud fail to          is highlighted by VRC's charge of an unprecedented fee to
raise a strong inference of fraudulent intent. In the absence      take the assignment.
of other common badges of fraud -- reserving rights in the
property, hiding funds, and paying an unconscionable price,        In sum, as to Morgan Stanley, Citigroup, and Merrill Lynch,
Kaiser, 722 F.2d at 1582 -- the Trustee has not satisfied          we agree with the district court that the pleaded badges of
the heightened pleading standard for demonstrating an actual       fraud are insufficient to create a strong inference of actual
fraudulent conveyance as to Citigroup and Merrill Lynch.           fraudulent intent. As to VRC, however, we conclude that the
                                                                   Trustee has sufficiently pleaded actual fraudulent intent.
 [41] The Trustee contends that these same “multiple badges
of fraud” also support the requisite strong inference of
fraudulent intent as to VRC. The first alleged badge of fraud         C. Constructive Fraudulent Conveyance Claims
weighs against finding actual fraudulent intent because VRC        A trustee may recover “constructive” fraudulent transfers
received the majority of its payment before Step Two closed        where “the debtor ... received less than a reasonably
and, therefore, prior to Tribune's insolvency.                     equivalent value in exchange for such transfer or obligation”
                                                                   and: (1) “was insolvent on the date that such transfer was
As to the second alleged badge of fraud, whether Tribune           made or such obligation was incurred, or became insolvent as
received reasonably equivalent value for these payments is         a result of such transfer or obligation”; (2) “was engaged in
again a disputed factual question, weighing in the Trustee's       business or a transaction, or was about to engage in business
favor at this stage.                                               or a transaction, for which any property remaining with the
                                                                   debtor was an unreasonably small capital”; (3) “intended to
The third alleged badge of fraud favors a finding of actual        incur, or believed that the debtor would incur, debts that would
fraudulent intent for the payments made to VRC. Specifically,      be beyond the debtor's ability to pay as such debts matured”;
the Trustee alleges that: Tribune hastily hired VRC after          or (4) “made such transfer to or for the benefit of an insider,
Duff & Phelps, the company initially hired to perform a            or incurred such obligation to or for the benefit of an insider,
solvency analysis, informed Tribune that it could not provide      under an employment contract and not in the ordinary course
a favorable solvency opinion, and after another “prominent”        of business.” See 11 U.S.C. § 548(a)(1)(B).
valuation firm rebuffed Tribune, 3049 J. App'x at 211;
VRC charged Tribune the highest fee it had ever charged             *16 [42]         [43] The Bankruptcy Code does not define
for a solvency opinion; and VRC agreed, among other                “reasonably equivalent value,” only defining “value” as the
things, to define “fair value,” id. at 212, inconsistently with    “satisfaction ... of a present or antecedent debt of the debtor.”
the industry standard upon which VRC had relied for its            Id. § 548(d)(2)(A). This court, however, has stated that
previous solvency opinions. These allegations are sufficient       “reasonably equivalent value is determined by the value of
to admit an inference that the VRC payments were outside the       the consideration exchanged between the parties at the time
ordinary course of Tribune's business. See In re Lehman Bros.      of the conveyance or incurrence of debt which is challenged.”
Holdings Inc., 469 B.R. 415, 447–49 (Bankr. S.D.N.Y. 2012)         In re NextWave Pers. Commc'ns, Inc., 200 F.3d 43, 56
(concluding that actual intent was sufficiently pled where         (2d Cir. 1999) (internal quotation marks omitted). Hence,
allegations included, inter alia, that “each transaction ... was   in determining whether the debtor received “reasonably
unprecedented in the prior course of business between the          equivalent value,” the court “need not strive for mathematical
parties, and the industry generally”).                             precision” but “must keep the equitable purposes of the statute
                                                                   firmly in mind, recognizing that any significant disparity
As to the fourth badge of fraud, the Trustee persuasively          between the value received and the obligation assumed ...
argues that Tribune's management's manipulation of the             will have significantly harmed the innocent creditors.” Rubin
definition of “fair value” in its engagement letter with VRC       v. Mfrs. Hanover Tr. Co., 661 F.2d 979, 994 (2d Cir.
was deceptive conduct that was (1) necessary for the LBO to        1981) (discussing § 67(d) of the Bankruptcy Act of 1898,
proceed and (2) directly tied to Tribune's payments to VRC,        predecessor to § 548 of the Bankruptcy Code); see also United
in that VRC was retained precisely because it was willing to       States v. McCombs, 30 F.3d. 310, 326 (2d Cir. 1994) (“[T]he
employ such a definition in formulating a solvency opinion.        concept [of fair consideration] can be an elusive one that
Further, the questionable nature of the “fair value” definition    defies any one precise formula.” (discussing N.Y. Debt. &
                                                                   Cred. Law § 272)).



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 [44] To determine whether reasonably equivalent value was      The pleadings record indicates that Citigroup's and Merrill
provided, “the Court must ultimately examine the totality of    Lynch's success fees were not debts incurred or owed until
the circumstances, including the arms-length nature of the      December 2007 when the LBO closed at Step Two, at which
transaction; and ... the good faith of the transferee.” In re   point a triggering “Strategic Transaction” took place. Indeed,
Bernard L. Madoff Inv. Sec. LLC, 454 B.R. 317, 334 (Bankr.      under their engagement letters, Citigroup and Merrill Lynch
S.D.N.Y. 2011) (internal quotation marks omitted).              were entitled to payment of their success fees only “upon
                                                                consummation of a Transaction involving” Tribune. 449 J.
 [45] [46] Where the reasonably equivalent value analysis App'x at 368. Accordingly, the financial firms were only
requires “more than a simple math calculation,” such a          paid their success fees after the completion of Step Two
computation usually should not be made at the motion to         and the closure of the LBO. Further, the engagement letters
dismiss stage. Id.; see also In re Agape World, Inc., 467       required Tribune to reimburse Citigroup and Merrill Lynch
B.R. 556, 571 (Bankr. E.D.N.Y. 2012). Still, while the          for all reasonable expenses incurred in providing financial
determination of whether reasonably equivalent value was        advisory services prior to the consummation of the LBO,
exchanged is “largely a question of fact,” Am. Tissue Inc. v.   “[r]egardless of whether any [t]ransaction [was] proposed
Donaldson, Lufkin & Jenrette Secs. Corp., 351 F. Supp. 2d       or consummated.” 449 J. App'x at 368; see also id. at 376.
79, 105 (S.D.N.Y. 2004) (internal quotation marks omitted);     This suggests that Tribune's obligations to pay the two $12.5
accord In re Jesup & Lamont, Inc., 507 B.R. 452, 470            million success fees were separate, additional debts that
(Bankr. S.D.N.Y. 2014), courts have dismissed constructive      were only payable in the event of a successful transaction.
fraudulent transfer claims where the complaint does not         Accordingly, because the success fees were only incurred
plausibly allege that the debtor received less than reasonably  upon consummation of the LBO, they were not antecedent
equivalent value, see, e.g., In re Trinsum Grp., Inc., 460 B.R. debt constituting categorically reasonably equivalent value.
379, 388–89 (Bankr. S.D.N.Y. 2011) (dismissing constructive
fraudulent transfer claims due to the trustee's failure to       *17 Because the Trustee has adequately pleaded Tribune's
sufficiently plead the less than reasonably equivalent value    insolvency upon the completion of Step Two, it is plausible
requirement); In re Bernard L. Madoff Inv. Sec. LLC, 458        that Tribune: (1) was “insolvent on the date” that the
B.R. 87, 113–15 (Bankr. S.D.N.Y. 2011) (dismissing certain      success fees were paid; (2) was engaged in the transaction
of Trustee's claims that failed to meet the particularity       of paying the success fees while it retained “unreasonably
requirement and relied on transfers outside the applicable time small capital”; and/or (3) “incurred” the success fees, which
period).                                                        may have been “beyond [its] ability to pay.” Therefore, the
                                                                issue of whether Citigroup's and Merrill Lynch's success
Here, the various Financial Advisors are differently situated.  fees constitute a constructive fraudulent transfer hinges on
Upon de novo review, we conclude that the constructive          whether the services that Tribune received in exchange were
fraudulent conveyance claims against Citigroup and Merrill      of “reasonably equivalent value.” 11 U.S.C. § 548(a)(1)(B).
Lynch cannot be dismissed on the pleadings, but those against
Morgan Stanley and VRC were properly dismissed.                 Turning then to the question of “reasonably equivalent
                                                                value,” we note that according to Citigroup and Merrill
As to Citigroup and Merrill Lynch, the Trustee alleges          Lynch's engagement letters, Tribune owed success fees
that the $12.5 million success fee paid to each firm upon       only if the advisors performed satisfactorily. Specifically,
consummation of the LBO was a constructive fraudulent           Citigroup's engagement letter states that it will “perform
conveyance. We first consider “the time of the conveyance       such financial advisory and investment banking services for
or incurrence of debt” to determine whether there was           [Tribune] in connection with the proposed Transaction as
reasonably equivalent value. NextWave, 200 F.3d at 56           are customary and appropriate in transactions of this type.”
(emphasis and citation omitted). The district court found that  Merrill Lynch's engagement similarly states that it “will
the debt was incurred when Citigroup's and Merrill Lynch's      perform such financial advisory and investment banking
engagement letters were signed, years before the LBO's          services for [Tribune] as are customary and appropriate in
completion, thus rendering the success fees that the Trustee    transactions of this type.” The Trustee alleges that Citigroup
seeks to claw back unavoidable antecedent debt. We conclude     and Merrill Lynch fell short of “customary and appropriate”
otherwise.                                                      industry standards, were grossly negligent in carrying out
                                                                their responsibilities, and rendered their services in bad faith.



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Thus, according to the Trustee, because these firms provided     we conclude the factual question of whether Citigroup and
“no value” to Tribune, consummation of the LBO would not         Merrill Lynch provided reasonably equivalent value for
trigger the contractual obligation to pay fees and the success   their success fees cannot be decided without first assessing
fees should be clawed back.                                      whether the banks satisfactorily performed their duties. Thus,
                                                                 dismissal of the constructive fraudulent conveyance claims
On a motion to dismiss, we must accept factual allegations       against these parties was premature.
as true as long as they are not “threadbare recitals of the
elements of a cause of action, supported by mere conclusory       [48] In contrast, we find no error in the dismissal of these
statements.” Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014)    claims against Morgan Stanley and VRC. While these firms
(alteration and internal quotation marks omitted).               adopt the arguments set forth by Citigroup and Merrill
                                                                 Lynch, their actions differ in several important respects.
The complaint alleges plausible facts that Citigroup and         First, Morgan Stanley was hired as advisor for and was
Merrill Lynch knew or should have known the February             responsive to a different part of Tribune -- the Special
Projections would not be met and that each firm thought          Committee. Second, Morgan Stanley and VRC did not have
Tribune was insolvent by over $1 billion, and that they yet      the same incentives as Citigroup and Merrill Lynch. Because
failed to act.                                                   both Morgan Stanley and VRC earned their respective fees
                                                                 upon delivery of their contracted-for opinions, they had no
 [47] To determine whether the Financial Advisors' guidance      financial stake in the LBO's consummation. Finally, and most
met the standard of reasonably equivalent value, courts          important, the Morgan Stanley and VRC payments were in
evaluate the totality of the circumstances, considering, inter   large part due before Step One closed. Because there is hardly
alia, the number of hours worked, industry standards, fees       an allegation that Tribune was insolvent before the first step,
paid compared to the overall size of the transaction, when the   the constructive fraudulent transfer claims against Morgan
engagement letters were signed, and opportunity costs. Here,     Stanley and VRC must fail.
the determination of whether the Citigroup and Merrill Lynch
provided reasonably equivalent value likely requires more
than “a simple math calculation.” Madoff, 454 B.R. at 334.       VI. Leave to Amend
Unlike in In re Old Carco LLC, where the trustee's allegations   The Trustee sought leave to amend his complaint as
simply “appl[ied] implausible values” or “omit[ted] other key    to the shareholders in two respects: first, to provide
assets,” 509 F. App'x 77, 79 (2d Cir. 2013) (summary order),     additional allegations in support of his intentional fraudulent
the Trustee in this case alleges, amongst other failings, that   conveyance claims and, second, to add a constructive
Citigroup and Merrill Lynch failed to advise Tribune about the   fraudulent conveyance claim. The district court denied both
flaws in VRC's Step One solvency analysis, which stemmed         requests.
from the February Projections that the firms knew would not
be met. The Trustees also alleges that both Citigroup's and       [49] [50] [51] [52] “[L]eave [to amend] shall be freely
Merrill Lynch's analyses showed Tribune was insolvent by         given when justice so requires.” Ronzani v. Sanofi S.A., 899
more than $1 billion before the close of Step Two. How much,     F.2d 195, 198 (2d Cir. 1990) (citing Fed. R. Civ. P. 15(a)
if at all, this ought to detract from the fees they were paid    (2)). A court may deny leave to amend, however, for a “valid
should not have been decided on a motion to dismiss. See In re   ground,” id., such as futility or undue prejudice, see Foman
Actrade Fin. Techs. Ltd., 337 B.R. 791, 804 (Bankr. S.D.N.Y.     v. Davis, 371 U.S. 178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222
2005) (“[T]he question of ‘reasonably equivalent value’ and      (1962). “Futility is a determination, as a matter of law, that
‘fair equivalent’ is fact intensive, and usually cannot be       proposed amendments would fail to cure prior deficiencies or
determined on the pleadings.”); see also In re Andrew Velez      to state a claim under Rule 12(b)(6) of the Federal Rules of
Const., Inc., 373 B.R. 262, 271 (Bankr. S.D.N.Y. 2007)           Civil Procedure.” Empire Merchs., LLC v. Reliable Churchill
(declining to dismiss constructive fraudulent transfer claim     LLLP, 902 F.3d 132, 139 (2d Cir. 2018). To determine
given the complexities of the factual background giving rise     whether granting leave to amend would be futile, we consider
to the issue of “reasonably equivalent value”).                  the proposed amendments and the original complaint. See
                                                                 Pyskaty v. Wide World of Cars, LLC, 856 F.3d 216, 225–26
 *18 While it is a close call, because we are required to        (2d Cir. 2017).
accept the allegations in the Trustee's complaint as true,



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                                                                    As an initial matter, we are bound by the Tribune II panel's
   A. Intentional Fraudulent Conveyance Claims                      decision that Computershare Trust Company (“CTC”), a
In denying the Trustee leave to amend his intentional               financial institution for purposes of § 546(e), was Tribune's
fraudulent conveyance claims, the district court noted that the     agent when it served as a depository to help effectuate the
Trustee gave “no clue as to how the complaint's defects would       LBO, which was a securities contract. Tribune II, 946 F.3d at
be cured.” 3049 S. App'x at 26 (alteration omitted). On appeal,     78-81; see also 4 Pillar Dynasty LLC v. New York & Co., Inc.,
the Trustee argues that if given the opportunity to amend,          933 F.3d 202, 211 n.8 (2d Cir. 2019) (“We are bound by the
he would have been able to satisfy the imputation standard          decision of prior panels until such time as they are overruled
applied by the district court.                                      either by an en banc panel of our Court or by the Supreme
                                                                    Court.” (internal quotation marks omitted)).
 [53] We are not persuaded. The Trustee had ample
opportunity to plead a viable claim in the district court            [55] The Trustee takes issue with how the district court took
-- indeed, the operative pleading was the Fifth Amended             judicial notice of certain documents to conclude that CTC was
Complaint -- but he failed to propose any amendments that           Tribune's agent. That argument is without merit, as “[w]e have
would cure the pleading defects. Nor has he identified on           recognized ... that in some cases, a document not expressly
appeal any additional factual allegations that would give           incorporated by reference in the complaint is nevertheless
rise to a strong inference of fraudulent intent on the part of      ‘integral’ to the complaint and, accordingly, a fair object of
the Special Committee. Accordingly, we find no abuse of             consideration on a motion to dismiss.” Goel v. Bunge, Ltd.,
discretion in the district court's denial of leave to amend the     820 F.3d 554, 559 (2d Cir. 2016). “A document is integral
Trustee's intentional fraudulent transfer claims.                   to the complaint where the complaint relies heavily upon
                                                                    its terms and effect.” Id. (internal quotation marks omitted).
                                                                    Here, the documents the district court relied on were the
   B. Constructive Fraudulent Conveyance Claims
                                                                    contracts that set forth the relationship between Tribune and
 *19 [54] The Trustee did not initially assert a constructive
                                                                    CTC, and they were therefore integral to the complaint.
fraudulent transfer claim against the shareholders but sought
leave to file a Sixth Amended Complaint to add such a claim.
                                                                    Similarly, the Trustee's argument that CTC was not Tribune's
On April 23, 2019, the district court (Cote, J.) denied the
                                                                    agent because it was given no discretion and was not a
request, on two independent grounds: (1) the shareholders
                                                                    fiduciary lacks merit. Here, Tribune entered into an agreement
would suffer substantial prejudice; and (2) the proposed
                                                                    with CTC whereby CTC was hired to be a steward of
amendments to the constructive fraudulent transfer claim
                                                                    Tribune's money and its shareholders' stock. It was clearly
would be futile.
                                                                    acting on behalf of Tribune, which is enough to satisfy §
                                                                    546(e). Accordingly, even on de novo review, the district court
Under the Bankruptcy Code, certain transactions fall within
                                                                    did not err when it denied the Trustee leave to amend its
a safe harbor and the payments that are part of those
                                                                    complaint as futile.
transactions cannot be clawed back via a federal constructive
fraudulent transfer claim. See 11 U.S.C. §§ 544, 546(e).
                                                                    Separately, the district court did not abuse its discretion
These include a payment made “in connection with a
                                                                    when it alternatively refused to grant leave to amend because
securities contract” if that payment was made by “a financial
                                                                    doing so would be unduly prejudicial. There are thousands
institution.” Id. at § 546(e). As we held in Tribune II, however,
                                                                    of shareholders who have been impacted by this ongoing
Tribune's payments to its shareholders fell within this safe
                                                                    litigation, all of whom relinquished control of their stock more
harbor. See 946 F.3d at 77–81, 90–97 (holding that Tribune
                                                                    than twelve years ago. As both this Court and the district court
was a “financial institution” within meaning of safe harbor
                                                                    pointed out, allowing another amended complaint would
provision and that payments to shareholders were payments
                                                                    prevent “certainty, speed, finality, and stability” in the market.
“in connection with a securities contract”). On appeal, the
                                                                    3049 S. App'x at 27 (citing Tribune II); see also Trs. of Upstate
Trustee argues that the district court and the Tribune II panel
                                                                    N.Y. Eng'rs Pension Fund v. Ivy Asset Mgmt., 843 F.3d 561,
improperly concluded that Tribune was a financial institution,
                                                                    568 (2d Cir. 2016) (discussing the importance of finality).
first by incorrectly taking judicial notice of certain documents
and second by misinterpreting those documents. We are not
                                                                     *20 Accordingly, we conclude that the district court did not
persuaded.
                                                                    abuse its discretion in denying the Trustee leave to amend his



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complaint to add a constructive fraudulent claim under federal
                                                                        (b) the district court's dismissal of the actual fraudulent
law.
                                                                        conveyance claims is AFFIRMED as to Morgan Stanley,
                                                                        Citigroup, and Merrill Lynch and VACATED as to VRC; and

                       CONCLUSION                                       (c) the district court's dismissal of the constructive fraudulent
                                                                        conveyance claims is AFFIRMED as to Morgan Stanley and
For the foregoing reasons, the judgment and orders of the
                                                                        VRC and VACATED as to Citigroup and Merrill Lynch; and
district court are AFFIRMED in part and VACATED in
part as follows:
                                                                        4. the district court's denial of the Trustee's motion for leave to
                                                                        amend to amplify his intentional fraudulent conveyance claim
1. the district court's dismissal of the intentional fraudulent
                                                                        against the shareholders and to add a constructive fraudulent
conveyance claims against the shareholders based on the buy-
                                                                        conveyance claim against the shareholders is AFFIRMED.
back of their shares is AFFIRMED;

                                                                        The case is hereby REMANDED for further proceedings in
2. the district court's dismissal of the breach of fiduciary duty
                                                                        accordance with the above.
and aiding and abetting breach of fiduciary claims against the
allegedly controlling shareholders is AFFIRMED;
                                                                        All Citations
3. (a) the district court's dismissal of the aiding and abetting
breach of fiduciary duty and professional malpractice claims            --- F.4th ----, 2021 WL 3700337
against the Financial Advisors is AFFIRMED;

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                                                            Adversary Complaint” (Motion), Docket #88, filed by Export
                                                            Development Canada.
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   Only the Westlaw citation is currently available.
                                                            Appearances were as noted on the record. All parties were
   United States Bankruptcy Court, C.D. California.
                                                            given an opportunity to be heard. At the conclusion of the
      IN RE: ZETTA JET USA, INC. Debtor(s).                 7/22/20 hearing, the Court took the Motion under submission.
            Jonathan D. King Plaintiff(s),                  A copy of the Court's Memorandum of Decision is attached
                            v.                              hereto.
     Export Development Canada, Glove Assets
                                                            Before the Court is the “Motion to Dismiss Counts IX and
      Investment Limited, Minsheng Business
                                                            XV of Adversary Complaint and ... Partial Joinder to Yuntian
    Aviation Limited, Minsheng Financial Leasing
                                                            4 Leasing Company's Motion to Dismiss Counts IX and
     Co., Ltd., Li Qi, Truly Great Global Limited,
                                                            XV of Adversary Complaint” 1 (Motion) filed by Export
    Universal Leader Investment Limited, Yuntian
                                                            Development Canada (EDC). AP Docket #88. 2
       3 Leasing Company Designated Activity
       Company, Yuntian 4 Leasing Company
                                                            1
     Designated Activity Company Defendant(s).                     Yuntian 3 Leasing Company Limited Designated
                                                                   Activity Company (Yuntian 3) and Yuntian 4
               Case No.: 2:17-bk-21386-SK                          Leasing Company Limited Designated Activity
                             |                                     Company (Yuntian 4, and together with Yuntian 3,
               Adv No: 2:19-ap-01383-SK                            Y3/Y4), filed a motion to dismiss (Y3/Y4 MTD),
                             |                                     which is analyzed separately.
               Miscellaneous 07/22/2020
                                                            2
                             |                                     All references to “Zetta USA Docket” are to the
                    Filed 07/29/2020                               docket in In re Zetta Jet USA, Inc., 17-bk-21386-
                                                                   SK. All references to “Zetta Singapore Docket”
Attorneys and Law Firms                                            are to the docket in In re Zetta Jet PTE Ltd., 17-
                                                                   bk-21387-SK. All references to “AP Docket” are to
Talin Keshishian, Brutzkus Gubner Rozansky Seror Weber             the docket in Jonathan D. King v. Yuntian 3 Leasing
LLP, Woodland Hills, CA, for Debtor(s).                            Company Designated Activity Company et al., 19-
                                                                   ap-01383-SK (AP).
                                                            On 4/30/20, Jonathan D. King (King), in his capacity as
                       CHAPTER 7
                                                            chapter 7 trustee (Trustee) of Zetta Jet USA, Inc. (Zetta
                                                            USA) and Zetta Jet PTE, Ltd. (Zetta Singapore), filed an
  COURT'S MEMORANDUM OF DECISION ON:                        “Opposition to Defendant Export Development Canada's
   “(A) NOTICE OF MOTION AND MOTION TO                      (A) Motion to Dismiss Counts IX and XV of Adversary
  DISMISS COUNTS IX AND XV OF ADVERSARY                     Complaint and (B) Partial Joinder to Yuntian 4 Leasing
    COMPLAINT AND (B) PARTIAL JOINDER                       Company's Motion to Dismiss Counts IX and XV of
      TO YUNTIAN 4 LEASING COMPANY'S                        Adversary Complaint” (Opposition). AP Docket #121. On
    MOTION TO DISMISS COUNTS IX AND XV                      5/5/20, the Trustee filed a “Request for Judicial Notice in
    OF ADVERSARY COMPLAINT,” FILED BY                       Support of Trustee's Oppositions to Motions to Dismiss Filed
 EXPORT DEVELOPMENT CANADA, DOCKET #88                      by Defendants” (RJN). AP Docket #122.

Sandra R. Klein, United States Bankruptcy Judge             On 5/22/20, EDC filed a “Reply in Support of (A) Motion
                                                            to Dismiss Counts IX and XV of Adversary Complaint and
 *1 On 7/22/20, the Court heard the “(A) Notice of Motion
                                                            (B) Partial Joinder to Yuntian 4 Leasing Company's Motion to
and Motion to Dismiss Counts IX and XV of Adversary
                                                            Dismiss Counts IX and XV of Adversary Complaint” (Reply).
Complaint and (B) Partial Joinder to Yuntian 4 Leasing
                                                            AP Docket #130. In support of the Reply, EDC filed a
Company's Motion to Dismiss Counts IX and XV of




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“Declaration of Dylan Potter” (Potter 5/22/20 Decl.). AP          which alleges that Zetta Singapore was formed and run by a
Docket #130.                                                      con artist, Geoffrey Cassidy (Cassidy), who, over a two-year
                                                                  period, with the help of the Defendants, obtained $10 million
On 6/12/20, the Trustee filed a “Motion to Strike Portions of     from kickbacks, bribes and embezzlement, while saddling
Export Development Canada's Reply in Support of Motion            the Debtors with almost $500,000,000 in unsustainable debt
to Dismiss Counts IX and XV of Adversary Complaint and            incurred by purchasing overpriced aircraft in a down market.
Declaration of Dylan Potter in Support of Same” (MTS).            AP Docket #1.
AP Docket #141. On 7/17/20, EDC filed a “Response
in Opposition to Motion to Strike ... Portions of Export          The Complaint contains the following counts, which are at
Development Canada's Reply ....” (MTS Opposition). AP             issue in this Motion:
Docket # 163. On 7/20/20, the Trustee filed a “Reply in
Support of Trustee's Motion to Strike Portions of Export            1) Avoidance and Recovery of Preference Transfer, under
Development Canada's Reply in Support of Motion to                     11 U.S.C. §§ 547 and 550, against EDC and Yuntian 4
Dismiss Counts IX and XV of Adversary Complaint and                    (Count IX); and
Declaration of Dylan Potter in Support of Same” (MTS
                                                                    2) Disallowance of Claims, under 11 U.S.C. § 502(d),
Reply). AP Docket #166.
                                                                      against Minsheng Financial, Minsheng Business,
                                                                      Yuntian 3, Yuntian 4, UL, GA, and EDC (Count XV).
 *2 On 7/22/20, the Court held a hearing on the Motion
during which counsel for the Trustee and EDC appeared and         Complaint ¶¶ 270-79, 318-21.
were given an opportunity to be heard. At the conclusion
of the hearing, the Court took the Motion under submission.
Based on the argument in the pleadings and argument of            II. Legal Standards
counsel during the hearing, and for the reasons stated in the
                                                                     a. Motions to Dismiss Generally
analysis below, the Court rules as follows: the Motion is
                                                                  Rule 12(b)(6) of the Federal Rules of Civil Procedure (FRCP
granted regarding Count IX with leave to amend and granted
                                                                  or Rules) applies in adversary proceedings and provides that
regarding Count XV with leave to amend, if EDC files a proof
                                                                  a party may assert the defense of “failure to state a claim upon
of claim. This memorandum constitutes the Court's findings
                                                                  which relief can be granted.” Fed. R. Bankr. P. 7012(b); In re
of facts and conclusions of law regarding the legal sufficiency
                                                                  Kvassay, 2014 WL 2446181, at *9 (B.A.P. 9th Cir. May 30,
of the counts at issue in the Motion.
                                                                  2014). A motion to dismiss under Rule 12(b)(6) challenges
                                                                  the sufficiency of the allegations in the complaint. Lee v. City
I. Facts                                                          of L.A., 250 F.3d 668, 688 (9th Cir. 2001); Student Loan
                                                                  Mktg. Ass'n v. Hanes, 181 F.R.D. 629, 634 (S.D. Cal. 1998).
   a. Bankruptcy Cases                                            “A Rule 12(b)(6) dismissal may be based on either a ‘lack
On 9/15/17 (Petition Date), Zetta USA and Zetta Singapore         of a cognizable legal theory’ or ‘the absence of sufficient
filed chapter 11 petitions (collectively, Cases). Zetta USA       facts alleged under a cognizable legal theory.’ ” Johnson v.
Docket #1; Zetta Singapore Docket #1. King was appointed          Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th
as the chapter 11 trustee, and after the Cases were converted,    Cir. 2008) (quoting Balistreri v. Pacifica Police Dep't, 901
he was appointed as the chapter 7 trustee. Zetta USA Docket       F.2d 696, 699 (9th Cir. 1990)).
#s 159, 452, 458.
                                                                  In resolving a Rule 12(b)(6) motion, the Court must construe
                                                                  the complaint in the light most favorable to the plaintiff,
  b. Adversary Proceeding
                                                                  and accept all well-plead factual allegations as true. Johnson,
On 9/13/19, the Trustee filed an adversary complaint
                                                                  534 F.3d at 1122; Knox v. Davis, 260 F.3d 1009, 1012 (9th
(Complaint) against: 1) Yuntian 3, 2) Yuntian 4, 3) Minsheng
                                                                  Cir. 2001). The Court, however, is not bound by conclusory
Financial Leasing Co., Ltd. (Minsheng Financial), 4)
                                                                  statements, statements of law, and unwarranted inferences
Minsheng Business Aviation Limited (Minsheng Business),
                                                                  cast as factual allegations. Bell Atl. Corp. v. Twombly, 550
5) EDC, 6) Universal Leader Investment Limited (UL), 7)
                                                                  U.S. 544, 555-57 (2007); Clegg v. Cult Awareness Network,
Glove Assets Investment Limited (GA), 8) Truly Great Global
                                                                  18 F.3d 752, 754-55 (9th Cir. 1994).
Limited (TG), and 9) Li Qi (collectively, the Defendants),



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“While a complaint attacked by a Rule 12(b)(6) motion               2015); In re Enron Corp., 316 B.R. 434, 449 (Bankr. S.D.N.Y.
to dismiss does not need detailed factual allegations, ...          2004).
a plaintiff's obligation to provide the ‘grounds’ of his
‘entitle[ment] to relief’ requires more than labels and
conclusions, and a formulaic recitation of the elements of          III. Arguments and Analysis
a cause of action will not do.” Twombly, 550 U.S. at 555
                                                                       a. RJN
(citations omitted). A complaint “must contain either direct
                                                                    In the RJN, the Trustee requests that the Court take judicial
or inferential allegations respecting all the material elements
                                                                    notice of several proofs of claims filed in the Cases. RJN at
necessary to sustain recovery under some viable legal theory.”
                                                                    2-3. No timely opposition to the RJN was filed.
Id. at 562 (emphasis in original) (quoting Car Carriers, Inc. v.
Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir. 1984)).
                                                                    Under Federal Rule of Evidence (FRE) 201, the Court can
                                                                    take judicial notice of “a fact that is not subject to reasonable
 *3 In Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), the
                                                                    dispute because it: (1) is generally known within the trial
Supreme Court elaborated on the Twombly standard:
                                                                    court's territorial jurisdiction; or (2) can be accurately and
  To survive a motion to dismiss, a complaint must contain          readily determined from sources whose accuracy cannot
  sufficient factual matter, accepted as true, to “state a claim    reasonably be questioned.” In re James, 300 B.R. 890,
  to relief that is plausible on its face.” ... A claim has         894 (Bankr. W.D. Tex. 2003). The burden is on the party
  facial plausibility when the plaintiff pleads factual content     requesting judicial notice. Id. (ruling that the party requesting
  that allows the court to draw the reasonable inference            judicial notice has the burden of persuading the Court that the
  that the defendant is liable for the misconduct alleged. ...      fact is “appropriate for judicial notice”).
  Threadbare recitals of the elements of a cause of action,
  supported by mere conclusory statements, do not suffice.          The Court can take judicial notice of the fact that undisputed
                                                                    matters of public record were filed or recorded. Lee v. City
The allegations of a complaint, along with other materials          of L.A., 250 F.3d 668, 688-89 (9th Cir. 2001); C.B. v. Sonora
properly before the court on a motion to dismiss, can establish     Sch. Dist., 691 F. Supp.2d 1123, 1138 (E.D. Cal. 2009)
an absolute bar to recovery. See Weisbuch v. Cty. of L.A.,          (“The Court may take judicial notice of matters of public
119 F.3d 778, 783 n.1 (9th Cir. 1997) (“If the pleadings            record, including duly recorded documents, and court records
establish facts compelling a decision one way, that is as good      available to the public through the PACER system via the
as if depositions and other expensively obtained evidence           internet.”). And, the Court may take judicial notice of its
on summary judgment establishes the identical facts.”).             own docket. In re Tuma, 916 F.2d 488, 491 (9th Cir. 1990)
Generally, when ruling on a Rule 12(b)(6) motion to dismiss,        (“We may take judicial notice of bankruptcy records in the
courts cannot consider material outside the pleadings. Khoja        underlying proceeding.”).
v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir.
2018); Lee v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001).       *4 The Court can take judicial notice of the fact that the
If matters outside of the pleadings are “presented to and not       proofs of claims listed in the RJN were filed, but it cannot take
excluded by the court,” the motion to dismiss is converted to       judicial notice of any of the facts stated or alleged in those
a motion for summary judgment under Rule 56 and all parties         documents. In re Eckert, 485 B.R. 77, 81 (Bankr. M.D. Penn.
must be given a “reasonable opportunity to present all the          2013) (“A bankruptcy judge may take judicial notice of his
material that is pertinent to the motion.” Fed. R. Civ. P. 12(d).   or her own docket. ... However, the truth of the contents of
There are, however, two exceptions to this rule: 1) matters         those records is not inferred by a judge taking judicial notice
that the Court can take judicial notice of under Rule 201 of        of the records.”); In re Harmony Holdings, LLC, 393 B.R.
the Federal Rules of Evidence; and 2) the “incorporation-by-        409, 413 (Bankr. D. S.C. 2008) (“[W]hile the Court may take
reference doctrine, which treats certain documents as if they       judicial notice of the fact that a document or pleading has been
were “part of the complaint itself.” Khoja, 899 F.3d at 999,        filed for certain purposes, [citation], it does not necessarily
1002.                                                               take judicial notice of the facts contained within the pleading.
                                                                    Admission into evidence of facts contained within a pleading
The party seeking dismissal under Rule 12(b)(6) has the             filed with a court must also be evaluated using the remaining
burden of proof. In re Reed, 532 B.R. 82, 88 (Bankr. N.D. Ill.      evidentiary rules ....”).




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                                                                   “Absent clearly expressed congressional intent to the
   b. Incorporation by Reference                                   contrary, federal laws will be construed to have only domestic
The “incorporation-by-reference” doctrine treats certain           application.” RJR Nabisco, Inc. v. European Cmty., 136 S. Ct.
documents as if they were “part of the complaint itself.” Khoja    2090, 2100 (2016). The question is not whether a court thinks
v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir.       “Congress would have wanted” a statute to apply to foreign
2018). The incorporation by reference doctrine permits courts      conduct “if it had thought of the situation before the court”
“to take into account documents whose contents are alleged         but whether Congress has “affirmatively and unmistakably
in a complaint and whose authenticity no party questions,          instructed that the statute will do so.” Id. “When a statute
but which are not physically attached to the [plaintiff's]         gives no clear indication of an extraterritorial application, it
pleading.” Knieval v. ESPN, 393 F.3d 1068, 1076 (9th Cir.          has none.” Id. (quoting Morrison v. National Australia Bank
2005) (citations and internal quotations omitted). A defendant     Ltd., 561 U.S. 247, 255 (2010)).
may offer such a document, and the court may treat it as part
of the complaint, and may assume that its contents are true for    The Supreme Court has announced a two-step framework
purposes of a 12(b)(6) motion to dismiss. U.S. v. Ritchie, 342     for analyzing extraterritoriality issues. First, courts analyze
F.3d 903, 908 (9th Cir. 2003). The incorporation by reference      whether “the presumption against extraterritoriality has been
doctrine is designed to prevent “artful pleading by plaintiffs,”   rebutted—that is whether the statute provides a clear,
who select only portions of documents that support their           affirmative indication that it applies extraterritorially.” Id. at
claims and omit portions of those very documents that weaken       2101. Second, courts examine a statute's “focus” to determine
—or “doom”—their claims. Khoja, 899 F.3d at 1002-03.               whether the case involves a domestic application. Id. If the
                                                                   relevant conduct occurred in the United States, then the
Evidence that is not properly authenticated is inadmissible.       case involves a permissible domestic application even if
Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir.           other conduct occurred abroad; but if the relevant conduct
2002) (stating that documents must be authenticated before         occurred in a foreign country, then the case involves an
they can be admitted); Evans v. Bd. of Educ. Sw. City Sch.         impermissible extraterritorial application even though some
Dist., 2010 WL 1849273, at *3 (S.D. Ohio 2010) (indicating         conduct occurred in the United States. Id.
that “unauthenticated documents are inadmissible under the
Federal Rules of Evidence.”).

In support of its position, EDC relied on documents that           2. The Language of the Statutes – 11 U.S.C. §§ 547 and 550
were attached to the Motion. Those documents were not
                                                                    *5 Title 11 United States Code § 547(b) provides that a
authenticated and the Court cannot consider them. Docket #88
                                                                   trustee may avoid “any transfer of an interest of the debtor in
Exs. A, B, C; Orr, 285 F.3d at 773; Evans, 2010 WL 1849273,
                                                                   property” to or for the benefit of a creditor, for or on account
at *3.
                                                                   of an antecedent debt, made on or within 90 days before
                                                                   the petition date, while the debtor was insolvent, and which
   c. The Extraterritorial Application of 11 U.S.C. §§ 547         enables the creditor to receive more than it would if the case
   and 550                                                         were a chapter 7, the transfer had not been made, and the
EDC argues that the allegations against it in the                  creditor received payment under the Bankruptcy Code.
Complaint must be dismissed because they impermissibly
seek extraterritorial application of the Bankruptcy Code's         Title 11 United States Code § 550 provides that if a transfer is
avoidance provisions. Motion at 2. The Trustee responds            avoided under § 547, the trustee may recover, for the benefit
that the presumption against extraterritoriality does not apply.   of the estate the property transferred.
Opposition at 11-12. EDC replies that the transaction at issue
happened overseas. Reply at 14.                                    For the reasons set forth in the Y3/Y4 MTD memorandum
                                                                   of decision, §§ 547 and 550 do not have extraterritorial
                                                                   application.

              1. The Presumption Against the
         Extraterritorial Application of Federal Law
                                                                                      3. Relevant Transactions




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EDC “joins in, adopts and supports,” and incorporates
by reference the Y3/Y4 MTD to the extent relevant to                *6 According to EDC, the 7/26/17 $956,244.53 payment at
Counts IX and XV. Motion at 18. EDC argues that the                issue in Count IX was from Zetta Singapore's HSBC account
Complaint impermissibly seeks extraterritorial application of      in Singapore to EDC. Id. at 15-17 (citing Motion Ex. C). It
the Bankruptcy Code's avoidance provisions. Motion at 2.           argues that the Trustee admits that this payment was for rent
EDC contends that as set forth in the Y3/Y4 MTD, there is no       payable by the Debtors to Yuntian 4 under the Plane 12 Master
U.S. nexus supporting preference claims involving rent paid        Lease and Plane 12 Sublease. Id.
under the “Aircraft Lease Agreement” dated 10/26/16 (Plane
12 Master Lease) and the 10/26/16 “Deed of Guarantee and           EDC acknowledges that it was the initial recipient of the
Indemnity” (Zetta Singapore Guarantee) relating to Plane 12.       $956,244.53 payment from Zetta Singapore's Singapore
Motion at 10, 12-13 (citing Complaint ¶ 125). EDC asserts          account, but it contends that the Trustee does not allege any
that the Trustee's preference attack highlights the lack of any    facts demonstrating that EDC was the “initial transferee” of
U.S. nexus to the transfers at issue, because: 1) it was a         these funds under § 550(a)(1). Id. And, EDC asserts that it did
lender to Yuntian 4; 2) it had no privity or negotiations with     not have unfettered control and discretion regarding how to
the Debtors; and 3) the loan agreements were governed by           use the funds, because it was required to allocate the payments
English law and were between itself and Yuntian 4, foreign         on account of Yuntian 4's loan obligations. Id.
counterparties. Id. at 10. According to EDC, the only contact
it had with the Debtors, was a “know-your-customer-due-            The Trustee responds that as set forth in his opposition to
diligence meeting” with the Debtors in Singapore regarding         the Y3/Y4 MTD, AP Docket #55, EDC's extraterritoriality
its issuance of a loan to Yuntian 4. Id. EDC contends that the     argument should be rejected. Opposition at 11. The
Trustee should not be allowed to invoke U.S. bankruptcy law        Trustee argues that on 7/26/17, Zetta Singapore transferred
to attack transactions that have no connection with the United     $956,244.53 to EDC towards the purchase of Plane 12,
States. Id.                                                        which Zetta Singapore acquired as part of the Minsheng
                                                                   Refinancing. Id. at 6. The Trustee highlights that the transfer
According to EDC: 1) under the Plane 12 Master Lease, Wells        was made to EDC's bank account in New York. Id. at 6, 10,
Fargo as owner trustee and lessor, leased Plane 12 to TVPX as      11-12 (citing AP Docket #88, Ex. C; In re Arcapita Bank
owner trustee for an affiliate of the Debtors and lessee; and 2)   B.S.C., 575 B.R. 299, 245 (Bankr. S.D.N.Y. 2017)).
under the 10/26/16 “Aircraft Sub-Lease Agreement” (Plane
12 Sublease), Zetta USA leased Plane 12 from TVPX. Id. at          The Trustee notes that Plane 12 was financed under a
12 (citing Complaint ¶ 125). EDC contends that pursuant to         disguised financing by EDC through Yuntian 4, the Debtors’
the Zetta Singapore Guarantee, Zetta Singapore guaranteed          direct lender and the nominal “lessor” under the Plane 12
all payments due and payable by TVPX under the Plane 12            Master Lease. Id. at 6. According to the Trustee, Count IX
Master Lease and/or Zetta USA under the Plane 12 Sublease.         seeks to avoid and recover the $956,244 transfer to EDC from
Id. at 12-13 (citing Complaint ¶ 125).                             either EDC or Yuntian 4. Id.

EDC argues that it is not a party to any of the lease and          The Trustee contends that the focus of the $956,244 transfer
related transactions between the Debtors and Yuntian 4.            was the United States because: 1) Zetta USA's Part 135
Id. at 13. Instead, it provided Yuntian 4 financing to buy         Certificate, issued by the FAA and necessary to operate
Plane 12, through its owner trustee. Id. Other than executing      commercial charter flights in the United States, was critical
acknowledgements of collateral assigned by Yuntian 4 (or           to Plane 12's leveraged financing transaction; 2) the Plane
its owner trustee), the Debtors are neither a party to, nor        12 Master Lease required FAA registration; 3) the Plane
executed, any of the loan documents between EDC and                12 Master Lease required the aircraft to be immediately
Yuntian 4. Id. It argues that its transaction was independent      subleased to Zetta USA and operated under its Part 135
from the leasing agreements between Yuntian 4 and the              Certificate; 4) the Plane 12 Master Lease required Plane 12
Debtors. Id. It highlights that it: 1) did not have any            to be maintained at a U.S. base; 5) “rent” payments had to
negotiations or dealings with the Debtors; 2) none of the          be made in U.S. dollars, requiring all payments to be routed
negotiations between it and Yuntian 4 occurred in the United       through U.S. banks, either directly or through correspondent
States; and 3) the loan transaction agreements between it and      banks; and 6) the Debtors and Yuntian 4 used U.S. corporate
Yuntian 4 are governed by English law. Id.                         trusts and U.S. trustees to act as nominal owners and lessees



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and to register the aircraft in the U.S. with the FAA. Id. at    finding that it had no jurisdiction because the acts in the
9 (citing Complaint ¶¶ 49-50, 55, 108, 112, 124; Torborg         United States were “at most, a link in the chain of an alleged
3/23/20 Decl. ¶ 14, Ex. H 3 ).                                   overall securities fraud scheme that culminated abroad.” Id.
                                                                 The Second Circuit affirmed because “[t]he acts performed in
3                                                                the United States did not ‘compris[e] the heart of the alleged
       AP Docket #95.
                                                                 fraud.’ ” Id. at 253-54.
The Trustee argues that EDC was a secured lender, it obtained
a New York mortgage and registered the mortgage with the         The Supreme Court affirmed, although it noted that the
FAA, and it purposefully availed itself of U.S. law to perfect   extraterritorial reach of § 10(b) is a merits question, not
its security interest in Plane 12. Id. (citing Torborg 3/23/20   a subject matter jurisdiction question. Id. at 254. The
Decl. ¶ 14, Ex. H).                                              Court then indicated that it is a “longstanding principle of
                                                                 American law that legislation of Congress, unless a contrary
In the Reply, EDC incorporates by reference the arguments        intent appears, is meant to apply only within the territorial
raised in the Y3/Y4 MTD and contends that the transaction at     jurisdiction of the United States.” Id. at 255 (citations and
issue occurred overseas, and the Trustee highlights numerous     internal quotation marks omitted). After holding that the
irrelevant factors to create some United States nexus for the    Exchange Act contained no affirmative indication that §
Plane 12 Master Lease and the payments made under it. Reply      10(b) applied extraterritorially, the Supreme Court focused
at 14 (citing AP Docket #s 32, 44, 61, 93).                      on Owen's and the Silverlocks’ argument that Florida was
                                                                 where HomeSide and its executives engaged in the deceptive
The question of whether transactions are foreign or domestic     conduct and where HomeSide executives made misleading
depends “very heavily” on the facts of each case. In re          public statements. Id. at 265-66. The Supreme Court held
Arcapita Bank B.S.C.(c), 575 B.R. 229, 246 (Bankr. S.D.N.Y.      that these American contacts were insufficient to displace the
2017). Recent Supreme Court decisions have analyzed the          presumption against extraterritoriality because “it is a rare
“focus” of statutes to determine whether a case involves         case of extraterritorial application that lacks all contact with
domestic or foreign applications of statutes. RJR Nabisco,       the territory of the United States.” Id. at 266. (emphasis in
Inc. v. European Community, 136 S. Ct. 2090 (2016);              original). The Court continued that “the presumption against
Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247 (2010).      extraterritorial application would be a craven watchdog
                                                                 indeed if it retreated to its kennel whenever some domestic
 *7 Morrison involved National Australia Bank Limited            activity is involved in the case.” Id. (emphasis in original).
(National), whose “ordinary shares” were traded on the
Australian Stock Exchange Limited and on other foreign           The Supreme Court highlighted that the “focus” of the
securities exchanges, but not on any American exchange.          Exchange Act is the purchase and sale of securities in the
Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247, 251         United States, not where the deception occurred. Id. Because
(2010). In 1998, National bought Florida mortgage-servicing      National's ordinary shares were not listed on a domestic
company HomeSide Lending, Inc. (HomeSide) and until              exchange, and all aspects of the purchases occurred outside
2001, National touted the success of HomeSide's business.        the United States, the Supreme Court stated that the case
Id. at 251-52. After Australian citizens Russell Leslie Owen     should have been dismissed under 12(b)(6), based on failure
(Owen) and Brian and Geraldine Silverlock (Silverlocks)          to state a claim. Id. at 266, 273.
bought National shares, National announced that it was
writing down the value of HomeSide's assets by more than $2      According to the Supreme Court, the two tests that the Second
billion. Id. at 252. Owen and the Silverlocks sued National      Circuit had developed for determining whether conduct
and HomeSide in the District Court for the Southern District     was foreign or domestic in the context of § 10(b)—an
of New York for violations of §§ 10(b) and 20(a) of the          “effects test,” that was premised on an effect on American
Securities Exchange Act of 1934, and Rule 10b-5, seeking to      securities markets and a “conduct test,” that was premised on
represent a class of foreign purchasers of National's ordinary   wrongful conduct in the United States—were inappropriate.
shares. Id. at 252-53. National and HomeSide moved to            Id. at 257-61. The Supreme Court reasoned that the “results
dismiss for failure to state a claim under Rule 12(b)(6) and     of judicial-speculation-made law—divining what Congress
lack of subject matter jurisdiction under Rule 12(b)(1). Id.     would have wanted if it had thought of the situation before the
at 253. The district court dismissed under Rule 12(b)(1),        court—demonstrate the wisdom of the presumption against



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extraterritoriality” because instead of guessing “anew in each        their claims for domestic injuries, so the Court held that the
case,” the presumption can be applied in all cases, which             RICO claims had to be dismissed. Id. at 2111.
preserves a stable background against which Congress can
legislate with predictable effects. Id. at 261.                       Most recently, the Supreme Court expanded on the “focus” of
                                                                      a statute by indicating that it is the “object of its solicitude,”
In Nabisco, RJR Nabisco, Inc. (RJR) and other unspecified             which can include the conduct that it “seeks to regulate” and
parties allegedly participated in a global money-laundering           the parties and interests it “seeks to protect” or vindicate.
scheme involving the illegal sale of drugs and cigarettes             Western Geco LLC v. ION Geophysical Corp., 138 S. Ct.
in various countries. RJR Nabisco, Inc. v. European                   2129, 2137 (2018) (quoting Morrison, 561 U.S. at 267).
Community, 136 S. Ct. 2090, 2098 (2016). The European
Community and 26 of its member states sued RJR in the                 To determine the conduct that is relevant to the analysis,
Eastern District of New York for civil violations of the              the Court must consider the “focus” of the avoidance and
Racketeer Influenced and Corrupt Organizations Act (RICO),            recovery provisions (§§ 547, 548, and 550), which is “the
and RJR moved to dismiss the complaint, arguing that                  initial transfer that depletes the property that would have
RICO does not apply to racketeering activity occurring                become property of the estate.” In re CIL, 582 B.R. at 93;
outside U.S. territory or to foreign enterprises. Id. at              see also In re Ampal-Am. Israel Corp., 562 B.R. 601, 613
2098-99. The district court agreed with RJR and dismissed             (Bankr. S.D.N.Y. 2017) (same); In re Picard, ex rel. Bernard
the RICO claims as impermissibly extraterritorial, but the            L. Madoff Inv. Sec. LLC, 917 F.3d 85, 91, 93, 98 (2d Cir.
Second Circuit reinstated those claims, concluding that               2019), petition for cert. denied 2020 WL 2814770 (U.S. June
Congress had clearly communicated its intent that RICO                1, 2020) (No. 19-277) (“[I]n actions involving both [§ 548
applied to extraterritorial conduct. Id. at 2099. The Supreme         and § 550], § 550(a) regulates the debtor's initial transfer.”);
Court granted certiorari because the lower courts disagreed           In re Sherwood Investments Overseas Ltd., Inc., 2015 WL
regarding RICO's extraterritorial application. Id.                    4486470, at *19 (Bankr. M.D. Fla. July 22, 2015), aff'd 2016
                                                                      WL 5719450 (M.D. Fla. Sept. 30, 2016) (“Courts applying
 *8 The Supreme Court stated that to determine whether a              the extraterritoriality presumption to fraudulent transfers
case involves a domestic application of a statute, courts must        typically hold that the proper focus is the transfers sought to
look to the “focus” of the statute. Id. at 2101. According to the     be avoided, not the parties’ relationship or locus.” (emphasis
Court, “[i]f the conduct relevant to the statute's focus occurred     in original)).
in the United States, then the case involves a permissible
domestic application even if other conduct occurred abroad;           In several of the cases cited by the parties, the courts found
but if the conduct relevant to the focus occurred in a                that the relevant conduct was extraterritorial.
foreign country, then the case involves an impermissible
extraterritorial application regardless of any other conduct          In Maxwell I, Maxwell Communication Corporation plc
that occurred in U.S. territory.” Id.                                 (MCC) sold significant portions of its U.S. assets and used
                                                                      some of the proceeds to repay overdraft balances to Barclays
The Court noted that “when a statute provides for                     Bank plc (Barclays) (£2 million), National Westminster Bank
some extraterritorial application the presumption against             plc (NatWest) (£71.5 million), and Societe General (SocGen)
extraterritoriality operates to limit that provision to its terms.”   (£5.7 million). In re Maxwell Communication Corp. plc, 186
Id. at 2102 (quoting Morrison, 561 U.S. at 265). The                  B.R. 807, 813 (S.D.N.Y. 1995). After MCC filed bankruptcy
Court held that the complaint did not impermissibly allege            in the U.S. and England, MCC and examiner Richard A.
extraterritorial violations of the RICO Act because the pattern       Gitlin (Gitlin), who had been appointed to harmonize the two
of racketeering activity involved predicate offenses that were        bankruptcy proceedings, filed complaints against Barclays,
either committed in the United States or in a foreign country in      NatWest, and SocGen to avoid and recover the transfers. Id. at
violation of a predicate statute that applied extraterritorially.     812. MCC, Barclays, and NatWest were English companies,
Id. at 2105. Section 1964(c), however, required that a civil          and SocGen was a French company. Id at 812-13.
RICO plaintiff allege and prove a domestic injury, recovery
was not available for foreign injuries, and the European               *9 The bankruptcy court dismissed the complaints based in
Community and the member states had stipulated to waive               part on the presumption against extraterritoriality. Id. at 815.
                                                                      On appeal, MCC and Gitlin argued that the transfers were not



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extraterritorial because the money derived from the sale of
U.S. assets. Id. at 816.                                          The court held that the transfer was extraterritorial because:
                                                                  1) it was among foreign entities and allegedly harmed foreign
The district court affirmed, noting that a § 547 analysis         creditors; and 2) it was accomplished outside the United
requires courts to consider all events involving the transfers,   States by i) CIL, acting through its boards at meetings chaired
and viewing the transfers in this manner resulted in a            in London, consenting to CEVA Group's recapitalization and
finding that they occurred overseas. Id. at 816-17. The court     restructuring, and ii) CEVA Group issuing “New CEVA
considered that: 1) MCC, Barclays, NatWest, and SocGen            Shares” in accordance with U.K. law during a meeting of
were all foreign entities whose relationship was “centered in     shareholders in London, attended by a CIL representative who
England;” 2) the antecedent debts underlying the transfers        consented to the issuance. Id. at 93-94. LaMonica argued that
arose from MCC's overdrafts on accounts maintained with           the court had to consider all components of the transfers, and
banks in England and governed by English law; and 3) MCC          the “center of gravity” was the United States because the
repaid its debts by transferring funds to accounts in the U.K.    scheme to divest CIL of the CEVA Group equity was “planned
Id. at 817. The court noted that the transferred funds were       and hatched” in the United States. Id. at 94. The court rejected
proceeds from the sale of U.S. assets, which depleted the         this argument for several reasons: 1) CIL's professionals were
availability of MCC's assets to satisfy creditors’ claims. Id.    in the Cayman Islands and performed significant work there;
But, the court stated that the source of the funds was “at best   2) negotiating and documenting the transfer in the United
only one component” of the conduct proscribed by § 547,           States was not enough to make the transaction domestic;
and even assuming the transfers were initiated in the U.S.        3) it was questionable whether the “component parts test”
after U.S. asset sales, this conduct was more appropriately       advocated by LaMonica, remained relevant after the Supreme
described as a “preparatory step” to the transfers. Id. 4         Court's rejection in Morrison of the similar “conduct and
                                                                  effects test” used by the Second Circuit to determine where
4                                                                 conduct occurred; and 4) even under LaMonica's “center of
       MCC and Gitlin appealed, and the Second Circuit
                                                                  gravity” test, the issuance of the “New CEVA Shares” was not
       in Maxwell II affirmed but declined to decide
                                                                  a domestic transaction. Id. at 94-96.
       “whether, setting aside considerations of comity,
       the ‘presumption against extraterritoriality’ would
                                                                   *10 In Ampal-American, New York holding company
       compel a conclusion that the Bankruptcy Code does
                                                                  Ampal-American Israel Corp. (Ampal) instructed Bank
       not reach the pre-petition transfers at issue.” In
                                                                  Hapoalim in Tel Aviv to transfer 344,322.64 New Israeli
       re Maxwell Communication Corp. plc by Homan
                                                                  Shekels (NIS) from its account to a Bank Hapoalim account
       (Maxwell II), 93 F.3d 1036, 1055 (2d Cir. 1996).
                                                                  of its Israeli law firm, Goldfarb Seligman & Co. In re Ampal-
In CIL, CIL Limited (CIL), a Cayman Islands entity,               Am. Israel Corp., 562 B.R. 601, 603-04 (Bankr. S.D.N.Y.
transferred an equity interest in CEVA Group Plc (CEVA            2017). Within 90 days of the transfer, Ampal filed bankruptcy.
Group), a U.K. entity, to CEVA Holdings LLC (CEVA                 Id. at 604. Alex Spizz (Spizz), the chapter 7 trustee for
Holdings), a Marshall Islands entity. In re CIL Ltd., 582         Ampal, filed a §§ 547 and 550 complaint to avoid and recover
B.R. 46, 68 (Bankr. S.D.N.Y. 2018). CIL filed a petition          the NIS transfer. Id. at 603. The court determined that the
commencing provisional liquidation proceedings in the             presumption against extraterritoriality prevented Spizz from
Grand Court of the Cayman Islands, and shortly thereafter,        avoiding the transfer, because it occurred in Israel between
an involuntary chapter 7 petition was filed against it in the     a U.S. transferor headquartered in Israel and an Israeli
Bankruptcy Court for the Southern District of New York. Id.       transferee accomplished entirely through accounts at the same
at 56. Salvatore LaMonica (LaMonica), the chapter 7 trustee       Israeli bank. Id. The court acknowledged that Goldfarb's legal
for CIL, filed a complaint against CEVA Logistics Finance         services had some U.S. connections, including Ampal's shares
B.V. (CEVA Finance), CEVA Group, and CEVA Holdings                being traded on the NASDAQ, Goldfarb's services involving
(together with CEVA Finance and CEVA Group, CEVA                  legal work related to Ampal's SEC and NASDAQ filings,
Entities), to avoid and recover the transfer under §§ 544,        Goldfarb rendering opinions on Israeli law for inclusion
548, 550, and 551. Id. at 56, 68. The CEVA Entities moved         in Ampal's annual report, and a Goldfarb partner attending
to dismiss the avoidance claims based on the presumption          meetings in New York regarding the filing of Ampal's
against extraterritoriality, and LaMonica countered that the      bankruptcy case. Id. at 613 & n.14. But, the court highlighted
transfer was not extraterritorial. Id. at 82-83, 94.              that most of these services were performed in Israel, and even



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where claims “touch and concern” the United States, they            In FAH, Bayerische Moteren Werke Aktiengesellschaft
must do so with “sufficient force” to displace the presumption      (BMW) executed agreements with Fisker Automotive
against extraterritoriality. Id. at 613-14.                         Holdings, Inc. and Fisker Automotive, Inc. (together FAH
                                                                    Cos.), Delaware corporations headquartered in California,
In Sherwood, Royal Bank of Scotland N.V. (RBS), located             for the installation of BMW engines and parts into FAH-
in the Netherlands, financed complex derivatives trading for        made vehicles. In re FAH Liquidating Corp., 572 B.R. 117,
Sherwood Investments Overseas Limited, Inc. (Sherwood), a           121, 124 (Bankr. D. Del. 2017). FAH Cos. then transferred
BVI corporation. In re Sherwood Investments Overseas Ltd.,          approximately $32,579,799 to BMW, 5 but faced many
Inc., 2015 WL 4486470, at *1, 20 (Bankr. M.D. Fla. July 22,         difficulties, including battery pack safety recalls and the loss
2015), aff'd 2016 WL 5719450 (M.D. Fla. Sept. 30, 2016).            of their lending facility provided through the U.S. Department
Because Sherwood did not meet RBS's risk criteria, it was           of Energy (DOE). Id. at 121-22. FAH Cos. filed a voluntary
not a “formal” client of RBS. Id. at *4. But, they created          chapter 11 petition, and Emerald Capital Advisors Corp.
a “workaround:” Sherwood operated through an approved               (Emerald), in its capacity as trustee for the FAH Liquidating
counterparty, UBS, a Swiss bank. Id. When Sherwood and              Trust, filed a complaint against BMW, a German corporation
RBS wanted to execute a trade, RBS sent instructions to             with its principal place of business in Munich, to avoid and
Sherwood and, if approved, to UBS, who paid the required            recover the alleged constructively fraudulent transfers under
amount from funds in Sherwood's UBS accounts. Id.                   §§ 542, 544, 548, and 550. Id. at 120-22. BMW moved
                                                                    to dismiss the complaint, arguing that the transfers were
In September 2008, Sherwood transferred almost $1.3 million         foreign because: 1) they involved development work by a
to RBS. Id. at *18. It then filed bankruptcy and an avoidance       German company based on German contracts, which required
action against RBS, alleging that the $1.3 million transfer         application of German law; and 2) BMW was to perform
was avoidable and recoverable under §§ 548 and 550. Id.             the work in Germany in exchange for FAH Cos. paying in
RBS moved for summary judgment based on the presumption             Euros. Id. at 123, 124. Emerald countered that the transfers
against extraterritoriality, claiming that the transfers occurred   were not extraterritorial and highlighted that the transfers:
entirely abroad. Id. Sherwood countered that the “center of         1) originated from the United States; 2) were made by a
gravity” of its relationship with RBS was in the United States      Delaware corporation headquartered in California; and 3)
because: 1) its principal, Julian Benscher (Benscher), lived        were made using funds provided by a DOE loan program. Id.
in and directed trades from and initiated all of his contacts       at 124.
with RBS from the United States; 2) it kept all of its books
and records in the United States; and 3) it operated an orchid      5      FAH Cos. made the payments in Euros, and the
growing subsidiary, Sherwood Farms, from the United States.
                                                                           Court approximated the amount in dollars. Id. at
Id. at *19.
                                                                           122 n.5.
The court stated that the proper focus is the transfers              *11 The court focused on the “center of gravity” and held
sought to be avoided, not the parties’ relationship or locus.       that it was Germany because: 1) the agreements specified
Id. (emphasis in original). According to the court, the             milestones to be achieved at BMW's production facilities in
transfers were foreign because: 1) the transfers were made          Germany; 2) the agreements had provisions mandating the
from Sherwood's accounts at UBS in Switzerland to RBS's             forum for disputes as Munich; 3) German law applied; and
accounts in England; 2) Sherwood was a BVI corporation, and         4) payments were required in Euros. Id. at 124-25. Although
RBS was a Netherlands entity; and 3) all trading and creation       the court recognized that the transfers originated in the United
of the underlying securities purchased with the transfers was       States from a Delaware corporation, it concluded that these
performed in London. Id. at *20, 21. The court stated that the      facts were insufficient to overcome the “primarily foreign
“minimal contacts” with the United States—Benscher living           nature” of the agreements. Id. at 124.
in and initiating the transfers from Florida and RBS having
U.S. branches—did not displace the presumption against              In contrast to the cases mentioned immediately above, courts
extraterritoriality because even if claims “touch and concern”      in other cases have found that the transfers at issue were
the United States, they must do so with sufficient force to         domestic.
displace the presumption. Id. at *20.




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In Arcapita, Arcapita Bank B.S.C.(c) (Arcapita), a Bahraini        for the liquidation of Madoff Securities, filed avoidance
investment bank, made investments through Bahrain                  and recovery actions under §§ 548 and 550 against the
Islamic Bank (BisB), which was headquartered in Bahrain,           foreign feeder funds, which moved to dismiss. Id. at 91. The
and Tadhamon Capital B.S.C. (Tadhamon), a Bahraini                 bankruptcy court and district court held that the avoidance
corporation and a subsidiary of a Yemini bank, under               and recovery claims should be dismissed based on the
agreements that were negotiated and signed in Bahrain              presumption against extraterritoriality or international comity
and provided that Bahrain law governed. In re Arcapita             principals. Id. at 91, 94. Both courts reasoned that Picard
Bank B.S.C., 575 B.R. 229, 233-34 (Bankr. S.D.N.Y. 2017).          could not recover property that one foreign entity received
Arcapita transferred $10 million from its JP Morgan Chase          from another foreign entity. Id.
account in New York to a correspondent account at the
same New York bank maintained by BisB and BisB bought              6       A “feeder fund” is an entity that pools money
commodities for Arcapita through a London broker. Id. at
                                                                           from numerous investors and then places it into a
234. The next day, Arcapita made two $10 million transfers
                                                                           “master fund” on their behalf. Id. at 92. A “master
from its JP Morgan Chase account to an account at HSBC
                                                                           fund,” which is what Madoff Securities advertised
Bank in New York which was a correspondent bank account
                                                                           its funds to be, pools investments from multiple
maintained by Tadhamon's bank in Bahrain, and the funds
                                                                           feeder funds and then invests the money. Id.
were then immediately transferred to Tadhamon's account
at a bank in Bahrain. Id. Less than a month after the               *12 The Second Circuit reversed, noting that when a trustee
transfers, Arcapita filed a voluntary chapter 11 petition. Id.     seeks to avoid and recover subsequently transferred property
The committee of unsecured creditors (Committee) filed a §         under §§ 548(a) and 550(a), the relevant transfer that must
547 avoidance action against BisB and Tadhamon to avoid            be avoided is the initial transfer. Id. at 98. The Second
and recover the transfers. Id. at 233, 235, 243.                   Circuit rejected the lower courts’ test that considered the
                                                                   subsequent transfer, reasoning that the relevant conduct was
BisB and Tadhamon moved to dismiss the complaint,                  Madoff Securities's “fraudulent transfer of property, not the
arguing that the transfers in the United States by themselves      transferees’ receipt of property.” Id. at 100 (emphasis in
were not enough to overcome the presumption against                original). The court expressed no opinion regarding whether
extraterritoriality, and the focus should be on when the           a domestic debtor or a transfer of property from a U.S. bank
payment was completed. Id. at 244. The Committee countered         account would be sufficient to support a finding of a domestic
that the challenged conduct was domestic. Id. The court            transfer. Id. at 99 n.9. Because Madoff Securities was a
held that BisB's and Tadhamon's “receipt of the transferred        domestic entity, which transferred property from its U.S. bank
funds in New York correspondent bank accounts” was at the          account to the feeder funds, the court held that the transfers
“heart” of the § 547 cause of action. Id. at 239. The court        were domestic. Id.
rejected BisB's and Tadhamon's argument that the parties
expected Bahraini law to apply and the United States had no        Determining whether a transfer is extraterritorial is fact
interest in regulating transactions involving Bahraini parties     dependent and the Court will consider the transaction, the
for investments made outside of the U.S. Id. It held that the      FAA registration and Part 135 Certificate, the maintenance
link between the United States, as the regulating state, and       of the aircraft at a U.S. airbase and the security interests, the
the regulated activity in question was sufficiently strong given   nominal trustees, and the denomination of the payments.
that the transfers took place through use of U.S. correspondent
bank accounts. Id.
                                                                         i. The Transaction: Count IX – Avoidance and
In Picard, Bernard L. Madoff Investment Securities LLC                  Recovery of Preference Transfer, under 11 U.S.C.
(Madoff Securities), a U.S.-based entity transferred billions              §§ 547 and 550, against EDC and Yuntian 4
of dollars from its New York JP Morgan Chase account to
several foreign “feeder funds,” 6 which then transferred the       In Count IX, the Trustee seeks to avoid and recover a 7/26/17
money to foreign investors. In re Picard, ex rel. Bernard L.       $956,244.53 payment from Zetta Singapore to EDC for the
Madoff Inv. Sec. LLC, 917 F.3d 85, 91, 93 (2d Cir. 2019),          benefit of Yuntian 4. Complaint ¶ 271, 273, 278-79, Sch. C.
petition for cert. denied 2020 WL 2814770 (U.S. June 1,            The Complaint alleges: 1) Zetta Singapore made the $956,244
2020) (No. 19-277). Irving H. Picard (Picard), the trustee         “rent” payment from its Singapore account to EDC for the



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benefit of Yuntian 4, pursuant to the Plane 12 Master Lease         2017), whereas here Zetta Singapore made the transfer from
and Plane 12 Sublease, Complaint ¶ 85 (Zetta Singapore              its Singapore account. Complaint ¶¶ 85, 271.
had a Singapore account), ¶ 271 (Zetta Singapore made the
$956,244 transfer to EDC); and 2) the transfer benefited
Yuntian 4 and EDC by reducing the debt Yuntian 4 owed EDC
                                                                            ii. FAA Registration and Part 135 Certificate
for the financing of Plane 12. Complaint ¶¶ 271, 273-74.
                                                                    Regarding the Trustee's position that Zetta USA's FAA-
Although the Trustee contends that Zetta Singapore sent             issued Part 135 Certificate was critical to the leveraged
the $956,244 payment to EDC's New York bank account,                financing of Plane 12, and the Plane 12 Master Lease required
Opposition at 6 (citing Complaint ¶¶ 122-23, Schedule               Plane 12 to be registered with the FAA and immediately
C; AP Docket #88, Ex. C), the document on which the                 subleased to Zetta USA and operated under its Part 135
Trustee relies is not authenticated and cannot be considered        Certificate, Opposition at 9, the focus of the Bankruptcy
by the Court. Orr v. Bank of Am., NT & SA, 285 F.3d                 Code's avoidance and recovery provisions is the transfers, not
764, 773 (9th Cir. 2002) (stating that documents must be            other conditions in contracts or lease agreements. See RJR
authenticated before they can be admitted); Evans v. Bd. of         Nabisco, Inc. v. European Community, 136 S.Ct. 2090, 2101
Educ. Sw. City Sch. Dist., 2010 WL 1849273, at *3 (S.D.             (2016) (directing courts to look to the “focus” of a statute to
Ohio 2010) (indicating that “unauthenticated documents are          determine whether a case involves a domestic application of
inadmissible under the Federal Rules of Evidence”). Even if,        it); In re CIL Ltd., 582 B.R. 46, 93 (Bankr. S.D.N.Y. 2018)
however, there were admissible evidence that Zetta Singapore        (providing that the “focus” of the avoidance and recovery
transferred the $956,244 from its Singapore account to a            provisions is “the initial transfer that depletes the property that
New York EDC account, that U.S. connection would not                would have become property of the estate”).
make a difference because the focus of the Bankruptcy
Code's avoidance provisions is the “the initial transfer that
depletes the property that would have become property of
the estate.” In re CIL, 582 B.R. at 93; see also In re Ampal-           iii. Maintenance at a U.S. Base and Security Interests
Am. Israel Corp., 562 B.R. 601, 613 (Bankr. S.D.N.Y. 2017)
                                                                    The Trustee contends that under the Plane 12 Master
(same); In re Picard, ex rel. Bernard L. Madoff Inv. Sec.
                                                                    Lease, Plane 12 was required to be maintained at a U.S.
LLC, 917 F.3d 85, 98, 100 (2d Cir. 2019), petition for cert.
                                                                    base. Opposition at 9. He also alleges that EDC was a
denied 2020 WL 2814770 (U.S. June 1, 2020) (No. 19-277)
                                                                    secured lender, it obtained a New York mortgage, which was
(holding that in recovery actions where a trustee alleges a
                                                                    registered with the FAA, and it purposefully availed itself
debtor's transfers are avoidable as fraudulent under § 548(a)
                                                                    of U.S. law to perfect its security interest in Plane 12. Id.
(1)(A), 7 § 550(a) regulates the fraudulent transfer of property    (citations omitted). These facts, however, are irrelevant to the
depleting the estate, and indicating that the relevant conduct      analysis because they do not address the transfers themselves
was Madoff Securities's fraudulent transfer of property and         but instead involve other contract provisions or requirements.
not the transferees’ receipt of property (emphasis in original)).   See RJR Nabisco, Inc. v. European Community, 136 S.Ct.
                                                                    2090, 2101 (2016); In re CIL Ltd., 582 B.R. 46, 93 (Bankr.
7                                                                   S.D.N.Y. 2018).
        The cases that address extraterritoriality often do
        not distinguish between §§ 547 and 548 because
        the relevant language is the same in both statutes.
        In re Arcapita Bank B.S.C.(c), 575 B.R. 229, 244             iv. The Subleases to Zetta USA and the Nominal Trustees
        n.6 (Bankr. S.D.N.Y. 2017) (noting that both §§ 547
        and 548 allow a trustee “avoid any transfer of an           The Trustee highlights that the Debtors and Yuntian 4 used
        interest of the debtor in property”).                       U.S. corporate trusts and U.S. trustees to act as nominal
                                                                    owners and lessees and to register aircraft in the U.S. with the
 *13 The Trustee's citation to Arcapita is unpersuasive
                                                                    FAA. Opposition at 9. The Complaint alleges that: 1) Wells
because the transferor in that case sent money from its own
                                                                    Fargo has its principal place of business in Utah and, in its
account in New York to correspondent accounts in New York
                                                                    capacity as trustee, is a party to trust agreements with Yuntian
maintained by the transferees (or the transferees’ banks), In
                                                                    4 where it acted as the owner trustee of Plane 12; and 2)
re Arcapita Bank B.S.C., 575 B.R. 229, 234 (Bankr. S.D.N.Y.
                                                                    TVPX is a Wyoming corporation that, as trustee, acted as the


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registered owner of Plane 12 for Zetta Jet Challenger 650-1        States, even though the debtor-in-possession's principal and
                          8
Limited (Zetta Jet 650-1) in the transactions for that aircraft.   his normal RBS trader had “several conversations” in New
Complaint ¶¶ 49, 50, 124.                                          York).


8      Zetta Jet 650-1, one of the “Zetta BVI
       Subsidiaries,” was formed under BVI law, and                                 v. Denomination of Payments
       Zetta Singapore is its “ultimate parent.” Complaint
                                                                   The Trustee claims that all “rent” payments had to be
       ¶ 20.
                                                                   made in U.S. dollars, which required the payments to
As explained above, however, the focus of the Bankruptcy           be routed through U.S. banks, either directly or through
Code's avoidance and recovery provisions is the transfers          correspondent banks. Opposition at 9. Even assuming this
from Zetta Singapore, not FAA registration, and the                were true, the denomination of payments generally has no
Complaint stresses that the use of Wells Fargo and TVPX as         bearing on whether transactions are foreign or domestic.
nominal trustees related to FAA registration. Complaint ¶ 49       See Banco Safra S.A. – Cayman Islands Branch v. Samarco
(alleging that Wells Fargo acted as the owner-trustee of Plane     Mineração S.A., 2019 WL 2514056, at *5 (S.D.N.Y. June
12), ¶ 50 (indicating that TVPX acted as the registered owner      18, 2019) (holding, in an action for violation of Sections
of Plane 12, and in the aviation industry, it is commonplace for   10(b) and 20(a) of the Securities Exchange Act of 1934
non-citizen U.S. corporate trusts to be formed as an option for    and Rule 10b-5, consummating transactions for Brazilian
the registration of aircraft in the United States with the FAA     bonds with U.S. dollars was insufficient to plead a domestic
(emphasis added)), ¶ 124 (Yuntian 4, through Wells Fargo,          transaction because the currency used does not necessarily
leased Plane 12 to TVPX acting as trustee for Zetta BVI            have any bearing on whether a purchase or sale is domestic,
Subsidiary Zetta Jet 650-1, and TVPX, as trustee, subleased        and U.S. dollars can be used anywhere); see also In re
Plane 12 to Zetta USA, which was the entity that actually          Maxwell Communication Corp. plc, 186 B.R. 807 (S.D.N.Y.
operated Plane 12, and Wells Fargo and TVPX acted on behalf        1995) (concluding that the transfers were foreign despite the
of Yuntian 4 and Zetta Jet 650-1 “solely as trustees”).            payment in U.S. dollars).

 *14 Using American professionals in a transaction is not
enough to make the transaction domestic. CIL Ltd., 582
B.R. at 96 (stating that CIL retained professionals outside                      vi. Relevant Transaction Conclusion
the United States, but even if the relevant transfer had been
                                                                   For the reasons stated above, the Court finds that the
negotiated and documented by professionals in the United
                                                                   transaction at issue in Count IX involving EDC is
States, it would not have been enough to make the transfer
                                                                   extraterritorial. 9
a domestic transaction); Ampal, 562 B.R. at 613-14 (holding
that where legal services had some U.S. connections—a
                                                                   9
company's stock was traded on the NASDAQ, and an attorney                  As analyzed above, the Court concludes that Count
performed legal work regarding SEC and NASDAQ filings                      IX must be dismissed because §§ 547 and 550
—it did not result in the transactions being domestic); In re              do not apply extraterritorially and the relevant
Lyondell Chem. Co., 543 B.R. 127, 150-51 & n.91 (Bankr.                    transaction was foreign. Therefore, the Court need
S.D.N.Y. 2016) (acknowledging that the managers of BI                      not address the substantive arguments regarding
S.à.r.l. and Basell GP were probably in New York when they                 that count or the MTS.
approved the shareholder distributions at issue, but indicating
that under Morrison, the court must target its inquiry on the         d. Count XV
“focus” of congressional concern, and the connection to the        EDC argues that Count XV, which is brought against
United States was not sufficiently strong for the transfer to      Minsheng Financial, Minsheng Business, Yuntian 3, Yuntian
be considered domestic); In re Sherwood Invs. Overseas Ltd.,       4, UL, GA, and EDC, and seeks disallowance under § 502(d),
Inc., 2016 WL 5719450, at *11 (M.D. Fla. Sept. 30, 2016)           is defective because it did not file a proof of claim. Motion at
(finding that the debtor-in-possession failed to overcome the      30. EDC asserts that to allege a valid cause of action under §
presumption against extraterritoriality where its dealings with    502(d), a proof of claim must have actually been filed by the
RBS had, at most, a “tangential connection” with the United        creditor whose claim the debtors seek to disallow. Id. (citing



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45 John Lofts, LLC v. Meridian Capital Group LLC (In re            defendant has not filed a proof of claim. 45 John Lofts, LLC.,
45 John Lofts, LLC), 599 B.R. 730, 750 (Bankr. S.D.N.Y.            599 B.R. at 750.
2019); Hill v. LG Funding, LLC (In re Hill), 589 B.R. 614,
630 (Bankr. N.D. Ill. 2018)).                                      The Trustee does not attempt to distinguish 45 John Lofts, and
                                                                   his argument that Count XV should not be dismissed because
The Trustee responds that dismissal of Count XV against            Yuntian 4 filed proofs of claims regarding Plane 12, and EDC
EDC is premature. Opposition at 22. He argues that Yuntian         made a loan to Yuntian 4 and is the leveraged financier of
4 filed various proofs of claims regarding amounts allegedly       Plane 12, is unpersuasive. EDC has not filed a proof of claim
owed on Plane 12, and EDC made a loan to Yuntian 4 and             and the deadline in which to do so has long since passed. 10
is the leveraged financier of Plane 12. Id. (citing Complaint      Therefore, Count XV is dismissed.
¶ 45). According to the Trustee, the only logical inference is
that EDC holds a significant economic interest in the Yuntian      10     The bar date for filing general unsecured claims
4 proof of claim, and it has done nothing formally to disprove
                                                                          was 4/16/18. Zetta USA Docket #633.
that inference, which must be taken as true. Id. The Trustee
contends that if EDC confirmed that it does not have any
ownership interest in Yuntian 4's proof of claim, he would            e. Leave to Amend
dismiss Count XV against EDC. Id. at 22 n.21. According            In the Motion, EDC summarily argues that Counts IX and XV
to the Trustee, until EDC disclaims any economic interest in       should be dismissed without leave to amend. Motion at 2, 3,
Yuntian 4's proof of claim, he should be allowed to engage in      32. In the Opposition, the Trustee does not address leave to
discovery on the merits of Count XV against Yuntian 4 and          amend, but he asserts that the Court should deny the Motion.
EDC. Id.                                                           Opposition at 22. In the Reply, EDC summarily argues that
                                                                   the Complaint should be dismissed without leave to amend.
 *15 EDC replies that the Trustee cannot support Count XV          Reply at 16.
because it did not file a proof of claim. Reply at 15. EDC
asserts that it expressly and repeatedly represented to the        Federal Rule of Bankruptcy Procedure 7015 provides that
Trustee that it has not asserted any claims against the Debtors,   Rule 15 of the FRCP applies to supplemental and amended
and the Trustee's suppositions amount to frivolous allegations     pleadings in bankruptcy cases. Rule 15(a)(2) indicates that “a
that appear to be interposed solely to harass. Id. at 15-16.       party may amend its pleading only with the opposing party's
                                                                   written consent or the court's leave. The court should freely
Title 11 U.S.C. § 502(d) provides as follows:                      give leave when justice so requires.”

                                                                   Courts have the discretion to grant or deny leave to amend
                                                                   a complaint. Swanson v. U.S. Forest Serv., 87 F.3d 339,
             [T]he court shall disallow any claim
                                                                   343 (9th Cir. 1996). “In exercising this discretion, a court
             of any entity from which property
                                                                   must be guided by the underlying purpose of Rule 15 to
             is recoverable under section 542 [or]
                                                                   facilitate decision on the merits, rather than on the pleadings
             550 ... of this title or that is a transferee
                                                                   or technicalities.” United States v. Webb, 655 F.2d 977, 979
             of a transfer that is avoidable under
                                                                   (9th Cir. 1981). Consequently, the policy to grant leave to
             section ... 547 [or] 548 ... of this title. ...
                                                                   amend is applied with “extreme liberality.” Id.

                                                                   Parties seeking leave to amend have the initial burden to show
For a trustee to plead a § 502(d) claim for disallowance, “a       a legitimate reason for seeking amendment. See Foman v.
proof of claim must have actually been filed in the case by the    Davis, 371 U.S. 178, 182 (1962); Advanced Cardiovascular
creditor whose claim the debtor seeks to disallow.” 45 John        Sys., Inc. v. Scimed Life Sys., Inc., 989 F. Supp. 1237, 1241
Lofts, LLC v. Meridian Capital Group LLC (In re 45 John            (N.D. Cal. 1997). Assuming the movant meets that burden,
Lofts, LLC), 599 B.R. 730, 750 (Bankr. S.D.N.Y. 2019); see         the burden then shifts to the party opposing amendment
also Hill v. LG Funding, LLC (In re Hill), 589 B.R. 614, 630       to show that leave to amend is not warranted. Advanced
(Bankr. N.D. Ill. 2018) (stating that § 502(d) “presupposes        Cardiovascular Sys., Inc., 989 F. Supp. at 1241 (“Once a
that a transferee has filed a proof of claim in a debtor's         party seeking leave to amend has given a legitimate reason
bankruptcy case”). A disallowance claim is premature if a          for amendment, the burden shifts to the party opposing


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                                                                       845 (9th Cir. 1995). “For an amendment to be futile, it must
amendment to demonstrate why leave to amend should not
                                                                       appear on its face that it is not actionable.” Coble v. Derosia,
be granted.”) (citing Genentech, Inc. v. Abbott Labs., 127
                                                                       2011 WL 444961, at *4 (E.D. Cal. Feb. 8, 2011).
F.R.D. 529, 530-31 (N.D. Cal. 1989)). The party opposing
amendment must demonstrate that the following factors
                                                                       Because of the policy to grant leave to amend with
warrant denial of leave to amend:
                                                                       “extreme liberality,” and because there have been no previous
   *16 1. Bad faith;                                                   amendments, the Court finds that it is appropriate to grant the
                                                                       Trustee leave to amend Count IX and, if EDC files a proof
  2. Undue delay;                                                      of claim, leave to amend Count XV. See Banco Safra S.A.
                                                                       – Cayman Islands Branch v. Samarco Mineração S.A., 2019
  3. Prejudice to the opposing party; and
                                                                       WL 2514056, at *2-3 (S.D.N.Y. June 18, 2019) (indicating
  4. Futility of amendment.                                            that the defendants’ motion to dismiss a previous version
                                                                       of the complaint based “principally” on the presumption
Ditto v. McCurdy, 510 F.3d 1070, 1079 (9th Cir. 2007)                  against extraterritoriality was denied without prejudice, and
(internal citations omitted); Smith v. Chrysler Corp., 938 F.          the plaintiff was allowed to amend the complaint to add facts
Supp. 1406, 1412 (S.D. Ind. 1996) (“Defendants have the                that were submitted in support of the plaintiff's opposition to
burden of showing that the amendment is sought in bad faith,           the motion to dismiss; and dismissing the complaint at issue
that it is futile, or that it would cause substantial prejudice,       with prejudice because of the plaintiff's “repeated failures to
undue delay or injustice.”) (internal citations omitted); see          cure” and notice from the court that it would not have another
also Reed v. Dynamic Pet Prod., 2016 WL 4491597, at *1                 opportunity to sufficiently allege a domestic transaction).
(S.D. Cal. 2016).

Of the factors courts analyze when adjudicating motions for            IV. Conclusion
leave to amend, the potential for prejudice to the opposing            For the reasons stated above, Count IX is dismissed with leave
party “carries the greatest weight.” Id. The opposing party has        to amend, and Count XV is dismissed with leave to amend, if
the burden of establishing prejudice. DCD Programs, Ltd. v.            EDC files a proof of claim. Pursuant to LBR 9021-1(b)(1)(B),
Leighton, 833 F.2d 183, 187 (9th Cir.1987). Absent prejudice           EDC must serve and lodge a proposed order via LOU within
or a strong showing of any of the remaining factors, “there            7 days of the filing of this memorandum of decision.
exists a presumption under Rule 15(a) in favor of granting
leave to amend.” Eminence Capital, LLC v. Aspeon, Inc., 316
                                                                       All Citations
F.3d 1048, 1052 (9th Cir. 2003) (emphasis in original).
                                                                       Slip Copy, 2020 WL 7658490
“Futility of amendment can, by itself, justify the denial of a
motion for leave to amend.” Bonin v. Calderon, 59 F.3d 815,

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                                                                 A copy of the Court's Memorandum of Decision is attached
                                                                 hereto.
                  2020 WL 7682136
   Only the Westlaw citation is currently available.
                                                                 Before the Court is the “Motion to Dismiss Counts I, II, IV,
   United States Bankruptcy Court, C.D. California.
                                                                 V, VIII, XIII, XIV, & XV of Adversary Complaint” (Motion)
      IN RE: ZETTA JET USA, INC. Debtor(s).                      filed by Universal Leader Investment Limited (UL), Glove
            Jonathan D. King Plaintiff(s),                       Assets Investment Limited (GA), and Truly Great Global
                            v.                                   Limited (TG, and together with UL and GA, UL/GA/TG). AP
     Export Development Canada, Glove Assets                     Docket #45. 1 In support of the Motion, UL/GA/TG filed a
      Investment Limited, Minsheng Business                      “Declaration of Brian Condon” (Condon 12/20/19 Decl.). AP
                                                                 Docket #45.
    Aviation Limited, Minsheng Financial Leasing
     Co., Ltd., Li Qi, Truly Great Global Limited,
                                                                 1
    Universal Leader Investment Limited, Yuntian                        All references to “Zetta USA Docket” are to the
       3 Leasing Company Designated Activity                            docket in In re Zetta Jet USA, Inc., 17-bk-21386-
                                                                        SK. All references to “Zetta Singapore Docket”
       Company, Yuntian 4 Leasing Company
                                                                        are to the docket in In re Zetta Jet PTE Ltd., 17-
     Designated Activity Company Defendant(s).
                                                                        bk-21387-SK. All references to “AP Docket” are to
                Case No.: 2:17-bk-21386-SK                              the docket in Jonathan D. King v. Yuntian 3 Leasing
                              |                                         Company Designated Activity Company et al., 19-
                Adv No: 2:19-ap-01383-SK                                ap-01383-SK (AP).
                              |                                  On 1/31/20, Jonathan D. King (King), in his capacity as
                   Signed 07/29/2020                             chapter 7 trustee (Trustee) of Zetta Jet USA, Inc. (Zetta
                                                                 USA) and Zetta Jet PTE, Ltd. (Zetta Singapore), filed a
Attorneys and Law Firms
                                                                 “Combined Opposition to Motions to Dismiss Adversary
Ron Bender, John-Patrick M Fritz, Levene, Neale, Bender,         Complaint by Defendants Yuntian 3 Leasing Company
Yoo & Brill L.L.P, Robbin L. Itkin, Sklar Kirsh, Juliet Y. Oh,   Limited Designated Activity Company, Yuntian 4 Leasing
Los Angeles, CA, for Debtor(s).                                  Company Limited Designated Activity Company, Minsheng
                                                                 Business Aviation Limited, Universal Leader Investment
                                                                 Limited, Glove Assets Investment Limited, and Truly Great

     COURT'S MEMORANDUM OF DECISION                              Global Limited” (Opposition). 2 AP Docket #55. In support
     ON: “MOTION TO DISMISS COUNTS I, II,                        of the Opposition, the Trustee filed a “Declaration of John K.
    IV, V, VIII, XIII, XIV, & XV OF ADVERSARY                    Lyons” (Lyons 1/31/20 Decl.). AP Docket #55.
       COMPLAINT,” FILED BY UNIVERSAL
    LEADER INVESTMENT LIMITED, GLOVE                             2      The motions to dismiss filed by Yuntian 3 Leasing
   ASSETS INVESTMENT LIMITED, AND TRULY                                 Company Limited Designated Activity Company
     GREAT GLOBAL LIMITED, DOCKET #45                                   (Yuntian 3), Yuntian 4 Leasing Company Limited
                                                                        Designated Activity Company (Yuntian 4), and
Sandra R. Klein, United States Bankruptcy Judge
                                                                        Minsheng Business Aviation Limited (Minsheng
 *1 On 7/22/20, the Court heard the “Motion to Dismiss                  Business), are analyzed separately.
Counts I, II, IV, V, VIII, XIII, XIV, & XV of Adversary          On 2/21/20, UL/GA/TG filed: 1) a “Reply in Support of
Complaint” (Motion), Docket #45, filed by Universal Leader       Motion to Dismiss Counts I, II, IV, V, VIII, XIII, XIV, &
Investment Limited, Glove Assets Investment Limited, and         XV of Adversary Complaint” (Reply); 2) a “Supplemental
Truly Great Global Limited.                                      Declaration of Brian K. Condon” (Condon 2/21/20 Decl.); 3)
                                                                 a “Declaration of Harprabdeep Singh” (Singh 2/17/20 Decl.);
Appearances were as noted on the record. All parties were        and 4) a “Declaration of Daniel Chan” (Chan 2/21/20 Decl.).
given an opportunity to be heard. At the conclusion of the       AP Docket #64.
7/22/20 hearing, the Court took the Motion under submission.



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On 3/23/20, UL/GA/TG filed a “Request for Judicial                 unsustainable debt incurred by purchasing overpriced aircraft
Notice” (UL/GA/TG RJN), AP Docket #92. On 5/5/20, the              in a down market. AP Docket #1.
Trustee filed a “Limited Omnibus Objection to Requests
for Judicial Notice” (Objection to UL/GA/TG RJN), AP               3       Minsheng Financial was served on 6/4/20. AP
Docket #123, and a “Request for Judicial Notice in Support                 Docket #143.
of Trustee's Oppositions to Motions to Dismiss Filed by
Defendants” (Trustee RJN). AP Docket #122. On 5/29/20,             The Complaint contains the following counts, which are at
UL/GA/TG filed a “Reply to Objections to Request for               issue in this Motion:
Judicial Notice in Support of Defendants Universal Leader
                                                                       1) Avoidance and Recovery of Fraudulent Transfers (2015
Investment Limited, Glove Assets Investment Limited, and
                                                                          Acquisitions), under 11 U.S.C. §§ 548 and 550, against
Truly Great Global Limited's Motion to Dismiss Counts I, II,
                                                                          UL, GA, and Li Qi (Count I);
IV, V, VIII, XIII, XIV, & XV of Adversary Complaint” (UL/
GA/TG RJN Reply), AP Docket #137.                                      2) Avoidance and Recovery of Fraudulent Transfers (Plane
                                                                          6 and Plane 7), under 11 U.S.C. §§ 548 and 550, against
 *2 On 7/22/20, the Court held a hearing on the Motion                    Li Qi, UL, GA, Yuntian 3, Minsheng Financial, and
during which counsel for the Trustee and UL/GA/TG                         Minsheng Business (Count II);
appeared and were given an opportunity to be heard. At the
conclusion of the hearing, the Court took the Motion under             3) In the Alternative, Avoidance and Recovery of
submission. Based on the argument in the pleadings and                   Preference Transfers (Plane 6 Loan Transfers), under
argument of counsel during the hearing, and for the reasons              11 U.S.C. §§ 547 and 550, against Li Qi, UL, and GA
stated in the analysis below, the Court rules as follows: the            (Count IV);
Motion is granted regarding Counts I, II, IV, V, VIII, XIII, and
                                                                       4) In the Alternative, Avoidance and Recovery of
XV, with leave to amend, and is denied regarding Count XIV.
                                                                         Preference Transfer ($55 Million Transfer), under 11
This memorandum constitutes the Court's findings of facts
                                                                         U.S.C. §§ 547 and 550, against Li Qi and UL (Count V);
and conclusions of law regarding the legal sufficiency of the
counts at issue in the Motion.                                         5) Avoidance and Recovery of Preference Transfers
                                                                         (Interest Payment Transfers), under 11 U.S.C. §§ 547
                                                                         and 550, against UL and Li Qi (Count VIII);
I. Facts
                                                                       6) Recharacterization of the Third Investment as Equity
   a. Bankruptcy Cases
                                                                         Interest, under 11 U.S.C. § 105(a), against UL (Count
On 9/15/17, Zetta USA and Zetta Singapore filed chapter 11
                                                                         XIII);
petitions (collectively, Cases). Zetta USA Docket #1; Zetta
Singapore Docket #1. King was appointed as the chapter 11
                                                                       7) Violation of the Automatic Stay, under 11 U.S.C. § 362,
trustee, and after the Cases were converted, he was appointed             against TG and Li Qi (Count XIV); and
as the chapter 7 trustee. Zetta USA Docket #s 159, 452, 458.
                                                                       8) Disallowance of Claims, under 11 U.S.C. § 502(d),
                                                                         against Minsheng Financial, Minsheng Business,
  b. Adversary Proceeding                                                Yuntian 3, Yuntian 4, UL, GA, and EDC (Count XV).
On 9/13/19, the Trustee filed an adversary complaint
(Complaint) against: 1) Yuntian 3, 2) Yuntian 4, 3) Minsheng       Complaint ¶¶ 167-95, 210-37, 257-69, 308-21.
                                                          3
Financial Leasing Co., Ltd. (Minsheng Financial), 4)
Minsheng Business, 5) Export Development Canada (EDC),
                                                                   II. Legal Standards
6) UL, 7) GA, 8) TG, and 9) Li Qi (collectively, the
Defendants), which alleges that Zetta Singapore was formed            a. Motions to Dismiss Generally
and run by a con artist, Geoffrey Cassidy (Cassidy), who, over     Rule 12(b)(6) of the Federal Rules of Civil Procedure (FRCP
a two-year period, with the help of the Defendants, obtained       or Rules) applies in adversary proceedings and provides that
$10 million from kickbacks, bribes and embezzlement,               a party may assert the defense of “failure to state a claim upon
while saddling the Debtors with almost $500,000,000 in             which relief can be granted.” Fed. R. Bankr. P. 7012(b); In re
                                                                   Kvassay, 2014 WL 2446181, at *9 (B.A.P. 9th Cir. May 30,


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2014). A motion to dismiss under Rule 12(b)(6) challenges          as if depositions and other expensively obtained evidence
the sufficiency of the allegations in the complaint. Lee v. City   on summary judgment establishes the identical facts.”).
of L.A., 250 F.3d 668, 688 (9th Cir. 2001); Student Loan           Generally, when ruling on a Rule 12(b)(6) motion to dismiss,
Mktg. Ass'n v. Hanes, 181 F.R.D. 629, 634 (S.D. Cal. 1998).        courts cannot consider material outside the pleadings. Khoja
“A Rule 12(b)(6) dismissal may be based on either a ‘lack          v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir.
of a cognizable legal theory’ or ‘the absence of sufficient        2018); Lee v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001).
facts alleged under a cognizable legal theory.’ ” Johnson v.       If matters outside of the pleadings are “presented to and not
Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th         excluded by the court,” the motion to dismiss is converted to
Cir. 2008) (quoting Balistreri v. Pacifica Police Dep't, 901       a motion for summary judgment under Rule 56 and all parties
F.2d 696, 699 (9th Cir. 1990)).                                    must be given a “reasonable opportunity to present all the
                                                                   material that is pertinent to the motion.” Fed. R. Civ. P. 12(d).
 *3 In resolving a Rule 12(b)(6) motion, the Court must            There are, however, two exceptions to this rule: 1) matters
construe the complaint in the light most favorable to the          that the Court can take judicial notice of under Rule 201 of
plaintiff, and accept all well-plead factual allegations as        the Federal Rules of Evidence; and 2) the “incorporation-by-
true. Johnson, 534 F.3d at 1122; Knox v. Davis, 260 F.3d           reference doctrine, which treats certain documents as if they
1009, 1012 (9th Cir. 2001). The Court, however, is not             were “part of the complaint itself.” Khoja, 899 F.3d at 999,
bound by conclusory statements, statements of law, and             1002.
unwarranted inferences cast as factual allegations. Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555-57 (2007); Clegg v. Cult       The party seeking dismissal under Rule 12(b)(6) has the
Awareness Network, 18 F.3d 752, 754-55 (9th Cir. 1994).            burden of proof. In re Reed, 532 B.R. 82, 88 (Bankr. N.D. Ill.
                                                                   2015); In re Enron Corp., 316 B.R. 434, 449 (Bankr. S.D.N.Y.
“While a complaint attacked by a Rule 12(b)(6) motion              2004).
to dismiss does not need detailed factual allegations, ...
a plaintiff's obligation to provide the ‘grounds’ of his
‘entitle[ment] to relief’ requires more than labels and            III. Arguments and Analysis
conclusions, and a formulaic recitation of the elements of
                                                                      a. RJN
a cause of action will not do.” Twombly, 550 U.S. at 555
                                                                   In the UL/GA/TG RJN, UL/GA/TG request that the Court
(citations omitted). A complaint “must contain either direct
                                                                   take judicial notice of numerous documents filed in the Cases
or inferential allegations respecting all the material elements
                                                                   and in the related adversary proceedings. UL/GA/TG RJN at
necessary to sustain recovery under some viable legal theory.”
                                                                   3-5. The Trustee responds that UL/GA/TG do not adequately
Id. at 562 (emphasis in original) (quoting Car Carriers, Inc. v.
                                                                   identify what they seek to have judicially noticed, and many
Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir. 1984)).
                                                                   requests seek judicial notice of disputed facts or conclusions
                                                                   allegedly contained in or drawn from public documents,
In Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), the Supreme
                                                                   which is improper under Ninth Circuit law. Objection to UL/
Court elaborated on the Twombly standard:
                                                                   GA/TG RJN at 2, 4 (citing Baird v. BlackRock Inst. Tr. Co.
  To survive a motion to dismiss, a complaint must contain         NA, 403 F. Supp. 3d 765, 774 (N.D. Cal. 2019); Segura
  sufficient factual matter, accepted as true, to “state a claim   v. Felker, 2010 WL 5313770, at *2 n.1 (E.D. Cal Dec. 20,
  to relief that is plausible on its face.” ... A claim has        2010)). The Trustee objects to the requests to the extent that
  facial plausibility when the plaintiff pleads factual content    they do not merely seek judicial notice of the existence or
  that allows the court to draw the reasonable inference           filing of the documents themselves. Id. at 2. UL/GA/TG reply
  that the defendant is liable for the misconduct alleged. ...     that the Court should overrule each of the Trustee's objections
  Threadbare recitals of the elements of a cause of action,        because: 1) they sufficiently identified the facts to be noticed;
  supported by mere conclusory statements, do not suffice.         2) the documents will aid the Court in ruling on the Motion;
                                                                   3) the cited facts are not reasonably subject to dispute; and 4)
The allegations of a complaint, along with other materials         the Court may take judicial notice of its own docket. UL/GA/
properly before the court on a motion to dismiss, can establish    TG RJN Reply at 3-11.
an absolute bar to recovery. See Weisbuch v. Cty. of L.A.,
119 F.3d 778, 783 n.1 (9th Cir. 1997) (“If the pleadings            *4 Under Federal Rule of Evidence (FRE) 201, the Court
establish facts compelling a decision one way, that is as good     can take judicial notice of “a fact that is not subject to


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reasonable dispute because it: (1) is generally known within           v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir.
the trial court's territorial jurisdiction; or (2) can be accurately   2018). The incorporation by reference doctrine permits courts
and readily determined from sources whose accuracy cannot              “to take into account documents whose contents are alleged
reasonably be questioned.” In re James, 300 B.R. 890,                  in a complaint and whose authenticity no party questions,
894 (Bankr. W.D. Tex. 2003). The burden is on the party                but which are not physically attached to the [plaintiff's]
requesting judicial notice. Id. (ruling that the party requesting      pleading.” Knieval v. ESPN, 393 F.3d 1068, 1076 (9th Cir.
judicial notice has the burden of persuading the Court that the        2005) (citations and internal quotations omitted). A defendant
fact is “appropriate for judicial notice”).                            may offer such a document, and the court may treat it as part
                                                                       of the complaint, and may assume that its contents are true for
The Court can take judicial notice of the fact that undisputed         purposes of a 12(b)(6) motion to dismiss. U.S. v. Ritchie, 342
matters of public record were filed or recorded. Lee v. City           F.3d 903, 908 (9th Cir. 2003). The incorporation by reference
of L.A., 250 F.3d 668, 688-89 (9th Cir. 2001); C.B. v. Sonora          doctrine is designed to prevent “artful pleading by plaintiffs,”
Sch. Dist., 691 F. Supp.2d 1123, 1138 (E.D. Cal. 2009)                 who select only portions of documents that support their
(“The Court may take judicial notice of matters of public              claims and omit portions of those very documents that weaken
record, including duly recorded documents, and court records           —or “doom”—their claims. Khoja, 899 F.3d at 1002-03.
available to the public through the PACER system via the
internet.”). And, the Court may take judicial notice of its             *5 In support of their positions, both sides relied extensively
own docket. In re Tuma, 916 F.2d 488, 491 (9th Cir. 1990)              on documents that were not attached to the Complaint.
(“We may take judicial notice of bankruptcy records in the             The Court relies on the following exhibits attached to and
underlying proceeding.”).                                              authenticated by:
                                                                       1) The Condon 12/20/19 Decl.:
Of the documents that UL/GA/TG requested that the Court
take judicial notice of, the Court only considered UL's and
GA's proofs of claims. Proofs of Claims #s 94, 95; UL/GA/                a. ¶ 3 Ex. A (12/29/15 “Master Aircraft Finance Lease
TG RJN at 5. The Court can take judicial notice of the fact that            Agreement” for Plane 6 with Wells Fargo as trustee
these proofs of claims were filed, but the Trustee is correct,              and Lessor, Zetta Singapore as Lessee, and GA as
it cannot take judicial notice of any of the facts stated or                Beneficiary), 5
alleged in those documents. 4 In re Eckert, 485 B.R. 77, 81
                                                                         b. ¶ 4 Ex. B (12/29/15 “Supplemental No 1 Aircraft Finance
(Bankr. M.D. Penn. 2013) (“A bankruptcy judge may take
                                                                            Lease Purchase Option Agreement” for a plane with msn
judicial notice of his or her own docket. ... However, the
                                                                            9688 (Plane 6) with Wells Fargo as trustee and Lessor,
truth of the contents of those records is not inferred by a
judge taking judicial notice of the records.”); In re Harmony               Zetta Singapore as Lessee, and GA as Beneficiary), 6
Holdings, LLC, 393 B.R. 409, 413 (Bankr. D.S.C. 2008)
                                                                         c. ¶ 5 Ex. C (12/31/15 “Master Aircraft Finance Lease
(“[W]hile the Court may take judicial notice of the fact that
                                                                            Agreement” for Plane 7 with Wells Fargo as trustee
a document or pleading has been filed for certain purposes,
                                                                            and Lessor, Zetta Singapore as Lessee, and UL as
[citation], it does not necessarily take judicial notice of the
facts contained within the pleading. Admission into evidence                Beneficiary), 7
of facts contained within a pleading filed with a court must
                                                                         d. ¶ 6 Ex. D (12/31/15 “Supplemental No 1 Aircraft
also be evaluated using the remaining evidentiary rules ....”).
                                                                           Finance Lease Purchase Option Agreement” for a plane
                                                                           with msn 9606 (Plane 7) with Wells Fargo as trustee
4       Similarly, the Court can take judicial notice of                   and Lessor, Zetta Singapore as Lessee, and UL as
        the proofs of claims filed in the Cases that are                    Beneficiary), 8
        mentioned in the unopposed Trustee RJN 2-3. The
        Court, however, cannot take judicial notice of any               e. ¶ 7 Ex. E (9/20/16 “Sale and Leaseback Purchase
        facts stated or alleged in those documents.                         Agreement” for a plane with msn 9688 with Wells Fargo
                                                                            as trustee and Seller, GA as Beneficial Owner, Wells
  b. Incorporation by Reference                                             Fargo as trustee and Buyer, and TVPX as trustee and
The “incorporation-by-reference” doctrine treats certain                    Lessee), 9
documents as if they were “part of the complaint itself.” Khoja


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    f. ¶ 8 Ex. F (9/20/16 “Sale and Leaseback Purchase                    Complaint ¶ 108.
       Agreement” for a plane with msn 9606 with Wells Fargo       11     Complaint ¶ 311.
       as trustee and Seller, UL as Beneficial Owner, Wells
       Fargo as trustee and Buyer, and TVPX as trustee and         12     In the Opposition, the Trustee responds to the UL/
                 10                                                       GA/TG Motion as well as the Y3/Y4 Motion,
      Lessee),
                                                                          relies on many documents attached to the Torborg
    g. ¶ 9 Ex. G (2017 “Confirmatory Deed of Loan” between                12/9/19 Decl., which were submitted in support
      Zetta Singapore as Borrower and UL as Lender). 11                   of the Y3/Y4 Motion, and does not challenge
                                                                          the authenticity of any documents attached to
2) The Torborg 12/9/19 Decl. 12 :                                         the Torborg 12/9/19 Decl. Therefore, the Court
                                                                          believes that it is appropriate to incorporate
    a. ¶ 14 Ex. J (9/20/16 $40 million invoice for the sale of            by reference certain documents attached to the
       an aircraft with msn 9606, with Wells Fargo as trustee             Torborg 12/9/19 Decl., which are relevant to the
       for UL as Seller and Wells Fargo as trustee for Yuntian            analysis of the UL/GA/TG Motion.
      3 as Buyer), 13                                              13     Complaint ¶ 108.
    b. ¶ 15 Ex. K (9/20/16 $40 million invoice for the sale of     14
       an aircraft with msn 9688 with Wells Fargo as trustee for          Complaint ¶ 108.
       GA as Seller and Wells Fargo as trustee for Yuntian 3 as    15     Complaint ¶ 106.
                14
      Buyer),
                                                                   16     Complaint ¶ 106.
    c. ¶ 16 Ex. L (9/19/16 “Payment Instructions – MSN 9606”
                                                                   17
      addressed to IATS), 15                                              Complaint ¶ 106.
                                                                   18
    d. ¶ 17 Ex. M (9/19/16 “Payment Instructions – MSN 9688”              Complaint ¶ 106.

      addressed to IATS), 16                                        *6 In support of the Opposition, the Trustee submitted
                                                                   a number of documents attached to and authenticated by
    e. ¶ 20 Ex. P (9/19/16 “Outward Remittance Advice,”            the Lyons 1/31/20 Decl. The Trustee, however, presented
       showing a $40 million transfer from Minsheng Business       no authority—and the Court was unable to locate any—
      to IATS), 17                                                 indicating that it would be appropriate for the Court to
                                                                   consider documents submitted by the plaintiff when ruling on
    f. ¶ 21 Ex. Q (9/19/16 “Outward Remittance Advice,”            a motion to dismiss. Therefore, the Court will not consider
       showing a $40 million transfer from Minsheng Business       any documents attached to the Lyons 1/31/20 Decl. because
      to IATS). 18                                                 it believes that doing so would be an improper application of
                                                                   the incorporation by reference doctrine. See U.S. v. Ritchie,
The Complaint references and relies on each of these exhibits.     342 F.3d 903, 908 (9th Cir. 2003) (stating that defendants may
Therefore, consideration of this evidence is appropriate and       offer documents to be incorporated by reference) (emphasis
does not convert this motion into a motion for summary             added).
judgment.

5                                                                     c. The Extraterritorial Application of 11 U.S.C. §§ 105,
         Complaint ¶ 86.
                                                                      502, 547, 548, and 550
6                                                                  UL/GA/TG assert that the Bankruptcy Code provisions on
         Complaint ¶ 86.
                                                                   which the Trustee relies do not apply extraterritorially to
7        Complaint ¶ 82.                                           the transactions at issue in the Complaint. Motion at 12.
8                                                                  They argue that relevant conduct involved: 1) financing of
         Complaint ¶ 82.                                           Zetta Singapore, a Singapore company, by foreign entities
9                                                                  from China and the British Virgin Islands (BVI); 2) using
         Complaint ¶ 108.
                                                                   funds transferred from an account in Singapore to an



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account in Hong Kong; and 3) contracts governed by the             affirmative indication that it applies extraterritorially.” Id. at
laws of Singapore, the United Kingdom and Hong Kong.               2101. Second, courts examine a statute's “focus” to determine
Id. The Trustee responds that the presumption against              whether the case involves a domestic application. Id. If the
extraterritoriality does not require dismissal of the Complaint    relevant conduct occurred in the United States, then the
because: 1) the Bankruptcy Code's avoidance statutes apply         case involves a permissible domestic application even if
extraterritorially; 2) the presumption does not apply when         other conduct occurred abroad; but if the relevant conduct
the conduct occurs within the United States, and the parties       occurred in a foreign country, then the case involves an
here structured their aircraft transactions to “close through      impermissible extraterritorial application even though some
the United States” to obtain FAA registration and operate          conduct occurred in the United States. Id.
the planes under Zetta USA's Part 135 Certificate; and 3)
the underlying obligations that the Trustee seeks to avoid
were incurred in the United States: all payments were in U.S.
                                                                               2. The Language of the Statutes – 11
dollars and were made through U.S. correspondent banks.
                                                                               U.S.C. §§ 105, 502, 547, 548, and 550
Opposition at 23-24. The Trustee asserts UL and GA waived
the presumption against extraterritoriality by filing proofs of     *7 UL/GA/TG contend that “[w]hen a statute gives no
claim. Id. at 23.                                                  clear indication of an extraterritorial application, it has
                                                                   none.” Motion at 16 (quoting Morrison v. Nat'l Australia
UL/GA/TG reply that the avoidance and recharacterization           Bank Ltd., 561 U.S. 247, 255 (2010)). They assert that
claims cannot be applied to the foreign transactions at issue in   a statute applies extraterritorially only if Congress has
the Complaint. Reply at 12. They highlight “[w]hen a statute       provided “clear” and “affirmative” indications that it governs
gives no clear indication of an extraterritorial application,      foreign transactions. Id. (citing Morrison, 561 U.S. at 265).
it has none.” Id. (quoting Morrison v. Nat'l Australia Bank        According to UL/GA/TG, if one part of a statute expressly
Ltd., 561 U.S. 247, 255 (2010)). According to UL/GA/TG,            applies extraterritorially and another part is silent regarding
there is “no room” for the Trustee to disregard Morrison           its extraterritorial application, courts should not presume
by arguing “context” and offering his opinion regarding            that the latter provision's silence means that it applies
policy considerations or importing from different Bankruptcy       extraterritorially. Id.
Code provisions to extend his avoidance powers to foreign
transactions. Id. at 13.                                           UL/GA/TG note that the Trustee seeks to avoid and
                                                                   recharacterize foreign transactions under §§ 547, 548, 550,
                                                                   502 and 105. Id. at 16. They contend that §§ 547 and 548
              1. The Presumption Against the                       allow trustees to avoid transfers of “an interest of the debtor
         Extraterritorial Application of Federal Law               in property,” § 502 provides that courts can disallow claims
                                                                   that are avoidable under §§ 547 and 548, and § 550 allows a
“Absent clearly expressed congressional intent to the              trustee to recover transfers avoided under §§ 547 and 548. Id.
contrary, federal laws will be construed to have only domestic     But, UL/GA/TG assert that none of these sections reference
application.” RJR Nabisco, Inc. v. European Cmty., 136 S. Ct.      extraterritorial application. Id.
2090, 2100 (2016). The question is not whether a court thinks
“Congress would have wanted” a statute to apply to foreign         They contrast these sections of the Bankruptcy Code with
conduct “if it had thought of the situation before the court”      § 541, which expressly states that when a bankruptcy case
but whether Congress has “affirmatively and unmistakably           is filed, an estate is created that includes all of the debtor's
instructed that the statute will do so.” Id. “When a statute       property, “wherever located and by whomever held.” Id.
gives no clear indication of an extraterritorial application, it   at 16-17 (emphasis in original) (quoting 11 U.S.C. § 541).
has none.” Id. (quoting Morrison v. National Australia Bank        According to UL/GA/TG, courts have repeatedly held that
Ltd., 561 U.S. 247, 255 (2010)).                                   Congress’ silence in §§ 547, 548, 550, and 502 regarding
                                                                   extraterritoriality means that Congress did not intend them to
The Supreme Court has announced a two-step framework               apply abroad. Id. at 17 (citing In re CIL Ltd., 582 B.R. 46,
for analyzing extraterritoriality issues. First, courts analyze    92 (Bankr. S.D.N.Y.2018); In re Ampal-Am. Israel Corp., 562
whether “the presumption against extraterritoriality has been      B.R. 601, 612 (Bankr. S.D.N.Y. 2017); In re Bankr. Estate
rebutted—that is whether the statute provides a clear,             of Midland Euro Exch. Inc., 347 B.R. 708, 718 (Bankr. C.D.



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Cal. 2006); In re Maxwell Commc'n Corp. plc, 186 B.R. 807,          extraterritorial application of §§ 547, 548, and 550. Id. at 25
820-21 (S.D.N.Y. 1995)). They acknowledge that a minority           (citing Camreta v. Greene, 363 U.S. 692, 709 n.7 (2011)).
of courts, none of which are in the Ninth Circuit, have held        And, the Trustee claims that Midland Euro conflicts with
that property subject to avoidance under §§ 547 and 548 is          French and both Madoff I and Lyondell rejected Midland Euro
included in § 541’s definition of estate property. Id. But, they    and followed French. Id. The Trustee highlights that the court
indicate that In re Bankr. Estate of Midland Euro Exch. Inc.,       in Madoff I explained that Midland Euro “misunderstood
347 B.R. 708 (Bankr. C.D. Cal. 2006), rejected this position        French’s holding,” and § 548’s reference to § 541 shows
and courts in this Circuit have repeatedly held that property       Congress’ intent to grant the Trustee authority to avoid
subject to avoidance is not property of the estate when a case      and recover all transfers that would have been property
is filed. Id. at 17-18 (citing In re Huber, 2013 WL 6184986, at     of the estate—even if not currently property of the estate
*3 (Bankr. W.D. Wash. Nov. 25, 2013); In re Fehrs, 391 B.R.         —including “assets fraudulently transferred overseas.” Id.
53, 72 (Bankr. D. Idaho 2008)).                                     (citing Madoff I).

UL/GA/TG also argue that in Count XIII, the Trustee seeks           The Trustee argues that it is “hard to believe” that Congress
to recharacterize a loan from UL to Zetta Singapore as equity       intended the Bankruptcy Code to apply extraterritorially
under 11 U.S.C. § 105(a), but that section of the Bankruptcy        regarding property of the estate, but not regarding what would
Code contains no reference to extraterritoriality. Id. at 18.       have been property of the estate but for a fraudulent transfer.
They contend that Congress has not clearly indicated an             Id. (citing Lyondell, 543 B.R. at 154). The Trustee notes
intent to grant bankruptcy courts a “free-floating ability to       that Congress's failure to apply § 548 to transfers outside
recharacterize loans made anywhere in the world,” and the           of the United States creates a “loophole” for “unscrupulous
Court must presume that § 105(a) applies only domestically.         debtors” to transfer their assets to shell entities abroad and
Id.                                                                 avoid the Bankruptcy Code's reach. Id. (citing Midland
                                                                    Euro, 347 B.R. at 718). The Trustee questions why courts
The Trustee counters that there is no “clear statement rule” to     should “ascribe bad policy” to Congress and determine that
determine congressional intent, and context can be consulted.       United States avoidance laws do not apply when courts can
Opposition at 24 (citing Morrison v. Nat'l Australia Bank           apply United States laws “as Congress would wish.” Id. at
Ltd., 561 U.S. 247, 265 (2010); WesternGeco LLC v. ION              25-26 (citing Jay Lawrence Westbrook, Avoidance of Pre-
Geophysical Corp., 138 S. Ct. 2129, 2137 (2018); In re              Bankruptcy Transactions in Multinational Bankruptcy Cases,
French, 440 F.3d 145, 150 (4th Cir. 2006); In re Lyondell           42 Tex. Int'l L.J. 899, 910 (2007)).
Chem. Co., 543 B.R. 127, 151 (S.D.N.Y. 2016)). According to
the Trustee, Congress's intent to apply the Bankruptcy Code's       In the Reply, UL/GA/TG contend that Morrison v. Nat'l
avoidance sections extraterritorially is “evident” in its text      Australia Bank Ltd., 561 U.S. 247 (2010), altered how courts
and overall statutory scheme. Id. The Trustee highlights that       analyze whether a statute is intended to apply extraterritorially
§ 541(a) defines property of the estate as all “interests of        and whether the facts of a particular case result in an
the debtor in property ... wherever located and by whomever         extraterritorial application of a statute. Reply at 14. They
held,” which he argues demonstrates that a bankruptcy trustee       contend that Morrison requires courts to presume that a
is vested with title of the bankrupt in property which is located   statute does not apply extraterritorially unless it affirmatively
domestically and abroad. Id. (citing French, 440 F.3d at 151).      indicates that it does. Id. at 15. If a statute is silent about
The Trustee asserts that Congress intended § 548 to apply           extraterritorial application, courts should conclude that it does
to all property that, absent a prepetition transfer, would have     not apply extraterritorially. Id.
been property of the estate, wherever that property is located.
Id. at 24-25 (citing French, 440 F.3d at 151; Lyondell, 343         UL/GA/TG claim that the Trustee “misleadingly quotes”
B.R. at 151-55; Sec. Investor Protection Corp. v. Madoff Inv.       Morrison, but the Supreme Court did not hold that there
Sec. LLC, 480 B.R. 501, 527 (Bankr. S.D.N.Y. 2012) (Madoff          is “no clear statement rule” to determine Congress’ intent.
I); In re FAH Liquidating Corp., 572 B.R. 117, 124 (Bankr.          Id. Instead, they assert that Morrison stated that “we do not
D. Del. 2017)).                                                     say ... that the presumption against extraterritoriality is a
                                                                    ‘clear statement rule,’ if by that is meant a requirement that
 *8 The Trustee argues that Midland Euro is not binding             a statute say ‘this law applies abroad.’ ” Id. (emphasis in
authority, and the Ninth Circuit has not considered the             original) (citing Morrison, 561 U.S. at 265). They contend



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that apart from this “caveat,” the Supreme Court stated that       engaged in business or about to engage in business for which
the presumption against extraterritoriality means that “[w]hen     any property remaining was an unreasonably small capital;
a statute gives no clear indication of an extraterritorial         or iii) intended to incur or believed that it would incur debts
application, it has none.” Id.                                     beyond its ability to repay.

UL/GA/TG assert that the Trustee incorrectly argues that           Title 11 United States Code § 550 provides that if a transfer
the Court can consult “context” and “transmute” § 541(a)’s         is avoided under §§ 547 and 548, the trustee may recover for
extraterritorial application into a broader and unstated           the benefit of the estate the property transferred.
Congressional intent that other bankruptcy statutes also
apply extraterritorially. Id. at 15-16. But, they argue that       Neither the Supreme Court nor the Ninth Circuit has
these context arguments have been rejected by Morrison.            addressed whether §§ 547 or 548 apply extraterritorially
Id. According to UL/GA/TG, “the presumption against                and there is disagreement among the lower courts regarding
extraterritoriality must be applied separately” to each statute    the issue. 19 The majority of cases, which follow Midland
at issue. Id. at 16 (quoting RJR Nabisco Inc. v. European          Euro, hold that §§ 547 and 548 do not have extraterritorial
Cmty., 136 S. Ct. 2090, 2108 (2016). They contend that the         application. See In re Estate of Midland Euro Exch. Inc.,
Fourth Circuit's conflation of §§ 541 and 548 in French is         347 B.R. 708 (Bankr. C.D. Cal. 2006) (declining to apply §
“fatally undermined” by RJR Nabisco. Id. at 17. UL/GA/             548 extraterritorially); In re Sherwood Investments Overseas
TG argue that Congress’ failure to include “property subject       Ltd., Inc., 2016 WL 5719450 (M.D. Fla. Sept. 30, 2016)
to avoidance” in § 541 or to express clear intent to treat         (same); In re CIL Ltd., 582 B.R. 46 (Bankr. S.D.N.Y. 2018)
avoidance provisions as extraterritorial means that Congress       (same); Madoff II, 513 B.R. 222 (S.D.N.Y. 2014), rev'd
had “no such intent.” Id. They contend that In re Lyondell         on other grounds, 917 F.3d 85 (2d Cir. 2019), petition for
Chem. Co., 543 B.R. 127, 154 (Bankr. S.D.N.Y. 2016),               cert. denied 2020 WL 2814770 (U.S. June 1, 2020) (No.
improperly followed French and a law review article, which         19-277) (same); In re Maxwell Communication Corp. plc,
are contrary to Morrison. Id. at 17-18. UL/GA/TG highlight         186 B.R. 807 (S.D.N.Y. 1995) (predating Midland Euro and
that the Court should not try to discern what Congress “would      declining to apply § 547 extraterritorially); In re Ampal-
wish” because there is a paramount policy of preserving a          Am. Israel Corp., 562 B.R. 601 (Bankr. S.D.N.Y. 2017)
“stable background against which Congress can legislate,”          (declining to apply § 547 extraterritorially). A minority of
which requires courts to presume that Congress did not intent      courts, which follow French, hold that Congress intended §
to act extraterritorially. Id. at 18 (citing Morrison, 561 U.S.    548 to apply extraterritorially. See In re French, 440 F.3d
at 261). UL/GA/TG conclude that the Trustee did not attempt        145 (4th Cir. 2006) (applying § 548 extraterritorially); In re
to rebut their showing that Count XIII, the recharacterization     Lyondell Chem. Co., 543 B.R. 127 (Bankr. S.D.N.Y. 2016)
claim under § 105, applies extraterritorially. Id.                 (same); In re FAH Liquidating Corp., 572 B.R. 117 (Bankr. D.
                                                                   Del. 2017) (same); Sec. Investor Protection Corp. v. Madoff
 *9 Title 11 United States Code § 547(b) provides that a           Inv. Sec. LLC, 480 B.R. 501 (Bankr. S.D.N.Y. 2012) (same
trustee may avoid “any transfer of an interest of the debtor in    and accusing the Midland Euro court of “misunderstanding”
property” to or for the benefit of a creditor, for or on account   French).
of an antecedent debt, made on or within 90 days before
the petition date, while the debtor was insolvent, and which       19     The cases that address extraterritoriality often do
enables the creditor to receive more than it would if the case
                                                                          not distinguish between §§ 547 and 548 because
were a chapter 7, the transfer had not been made, and the
                                                                          the relevant language is the same in both statutes.
creditor received payment under the Bankruptcy Code.
                                                                          In re Arcapita Bank B.S.C.(c), 575 B.R. 229, 244
                                                                          n.6 (Bankr. S.D.N.Y. 2017) (noting that both §§ 547
Title 11 United States Code § 548(a)(1) provides that a
                                                                          and 548 allow a trustee “avoid any transfer of an
trustee may avoid any transfer of “an interest of the debtor
                                                                          interest of the debtor in property”).
in property” made or incurred by the debtor within two years
of the petition date if the debtor: A) acted with the intent to    In French, George W. Liebmann (Liebmann), the chapter 7
hinder, delay or defraud, or B) received less than reasonably      trustee for Betty Irene French's estate (BIF), filed a § 548(a)
equivalent value and: i) was insolvent on the date of the          (1)(B) avoidance action against BIF's children, Randy Lee
transfer or became insolvent because of the transfer; ii) was      French (RLF) and Donna Marie Shaka (DMS), to whom



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she had transferred a house in the Bahamas. In re French,          SFC moved to dismiss the complaint, arguing, among other
440 F.3d 145, 148 (4th Cir. 2006). BIF bought the house in         things, that based on the plain language of § 548, Congress
1976 and gifted it to RLF and DMS in Maryland in 1981,             did not intend for it to apply extraterritorially. Id. at 711,
but they did not record the deed until “mid-2000,” after           715. Barclay countered that Congress intended to apply §
BIF's financial problems began. Id. BIF's creditors filed an       548 extraterritorially, arguing that a decision otherwise would
involuntary chapter 7 petition against her in October 2000,        create a “loophole” in the Bankruptcy Code by allowing
and a few years later, Liebmann filed an avoidance action          unscrupulous debtors to hide their assets abroad and outside
against RLF and DMS, alleging that the transfer of the             the reach of the United States bankruptcy system. Id. at 711,
Bahamas house was a constructively fraudulent transfer. Id.        718.
RLF and DMS moved to dismiss, arguing among other things
that § 548 did not apply because of the presumption against        The court granted SFC's motion to dismiss, observing that
extraterritoriality. Id. at 149. The bankruptcy court rejected     nothing in § 548’s text demonstrated that Congress intended
this argument, the district court affirmed, and RLF and DMS        it to apply extraterritorially. Id. at 717, 720. The court then
appealed. Id.                                                      examined § 541 in conjunction with § 548, to determine
                                                                   whether it showed congressional intent to apply the latter
 *10 The Fourth Circuit found that “several indicia of             extraterritorially. Id. at 717-18. The court noted that there was
congressional intent” rebutted the presumption against             a split of authority regarding whether “property of the estate”
extraterritoriality: 1) § 541 defines “property of the estate”     defined in § 541 includes property that could be, but had not
broadly as all of the debtor's property “wherever located,”        yet been, recovered as a fraudulent transfer. Id. It held that
which includes foreign and domestic property; 2) § 548             allegedly fraudulent transfers do not become property of the
allows a trustee to avoid certain transfers of “interest[s] of     estate until they are avoided. Id. (citing In re Saunders, 101
the debtor in property;” and 3) Congress “incorporat[ed]”          B.R. 303, 304-05 (Bankr. N.D. Fla. 1989); FDIC v. Hirsch
the language of § 541 to define what property a trustee may        (In re Colonial Realty Co., 980 F.2d 125, 131 (2d Cir. 1992);
recover under his or her § 548 avoidance powers. Id. at            Dunes Hotel Assocs. v. Hyatt Corp., 245 B.R. 492, 504-05
151-52. According to the Fourth Circuit, Congress manifested       (D.S.C. 2000)).
its intent that § 548 apply to all property that, absent a
prepetition transfer, would have been “property of the estate,”    The court recognized that policy considerations favored
before the transfer in question, even if the property was not      extraterritorial application of § 548 because failing to extend
“property of the estate” now. Id. at 151 (emphasis in original).   § 548 to extraterritorial transfers creates a “loophole” for
                                                                   unscrupulous debtors to freely transfer their assets to shell
Midland Euro involved a § 548 and § 550 action filed by            entities abroad. Id. at 718. But, the court balanced this policy
Christopher Barclay (Barclay), the chapter 7 trustee for the       concern with the presumption against extraterritoriality's
consolidated estate of Midland Euro, Inc. (MEI), Midland           purpose to protect against unintended clashes between
Euro Exchange, Inc. (MEEI), Midland Group, Inc. (MGI),             American law and other nations’ laws, which could result in
and other related entities (collectively Midland Entities),        “international discord.” Id. And, it noted that in the Ninth
to set aside $897,000 they paid to the Swiss Financial             Circuit, policy concerns alone are insufficient to overcome the
Corporation, Ltd. (SFC), a foreign exchange brokerage. In          presumption against extraterritoriality. Id. (citing Subafilms,
re Estate of Midland Euro Exch. Inc., 347 B.R. 708, 710-11         Ltd. v. MGM-Pathe Communications Co., 24 F.3d 1088, 1096
(Bankr. C.D. Cal. 2006) (Mund, J.). MGI was a Barbados             (9th Cir. 1994) (en banc)).
corporation set up to hold proceeds of a Ponzi scheme, and it
opened a trading account with SCF, which was formed under           *11 The court in Midland Euro took issue with a “logical
English law and headquartered in London. Id. at 712. The           leap” made by the Fourth Circuit in French, that by
Midland Entities transferred $1 million from MEEI's Lloyd's        “incorporating” the language of “§ 541 to define what
Bank account in London to SFC's HSBC Bank account in               property a trustee may recover,” § 548 allows a trustee
New York. Id. at 713. Then, SFC transferred those funds to         to avoid any transfer of property that “would have been”
an unspecified bank account in England and took $897,000.          property of the estate before the transfer in question. Id.
Id. After involuntary bankruptcy petitions were filed against      at 718-19 (emphasis in original). The court stated that
the Midland Entities, Barclay sued SFC. Id.                        this reasoning “presumes” that the debtor retains a “legal
                                                                   or equitable” interest in the property that was transferred



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prepetition and ignores the language of §§ 541(a)(1) and (a)
(3) that the debtor must have an interest in the property “as of
the commencement of the case” and that property of the estate                   [W]e do not say, as the concurrence
includes “any interest in property that the trustee recovers                    seems to think, that the presumption
under” § 550. Id. at 719 (emphasis in original). According to                   against extraterritoriality is a “clear
the court in Midland Euro, the Bankruptcy Code is “very clear                   statement rule,” if by that is meant a
to any ordinary reader”: fraudulently transferred property                      requirement that a statute say “this law
only becomes property of the estate when the transfer has                       applies abroad.” Assuredly context can
been set aside. Id. The court described French’s methodology                    be consulted as well.
as “unclear and convoluted” and noted having a “great
deal of trouble” following it. Id. The court concluded by
suggesting that the “true reason” the Fourth Circuit extended      Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247, 265
extraterritorial application to § 548 was because it sought to     (2010) (internal citations omitted). According to the Supreme
uphold the “purposes” of the Bankruptcy Code's avoidance           Court, “when a statute provides for some extraterritorial
provisions to prevent debtors from illegitimately disposing of     application, the presumption against extraterritoriality
property that should be available to their creditors. Id. The      operates to limit that provision to its terms,” and “the
court reiterated, however, that in the Ninth Circuit, policy       presumption against extraterritoriality must be applied
considerations alone are not valid grounds for overcoming the      separately” to each statutory provision. Morrison, 561 U.S.
presumption against extraterritoriality. Id. (citing Subafilms,    at 265; RJR Nabisco, Inc. v. European Cmty., 136 S. Ct.
Ltd. v. MGM-Pathe Communications Co., 24 F.3d 1088, 1096           2090, 2108 (2016) (stating that “the presumption against
(9th Cir. 1994)).                                                  extraterritoriality must be applied separately to both RICO's
                                                                   substantive prohibitions and its private right of action”).
The Trustee urges the Court to adopt French’s holding that         Therefore, to the extent that the Trustee advocates that the
Congress intended to apply the Bankruptcy Code's avoidance         Court consider § 541(a)(1) to define the property that he can
provisions extraterritorially but the Court agrees with Judge      avoid under § 548, the Court declines to do so.
Mund that French’s reasoning is “convoluted” and hard to
follow. Midland Euro, 347 B.R. at 719. If Congress “clearly,”      Finally, the Trustee urges the Court to adopt French for
“affirmatively,” and “unmistakably” intended §§ 547 and 548        policy reasons, but there are a number of problems with
to apply extraterritorially, it would not have expressed its       this request. First, the question is not whether “Congress
intent in such an unclear way as the court in French thought,      would have wanted” a statute to apply to foreign conduct if
which has led to such disagreement among the courts.               it had thought of the situation before the court, but whether
                                                                   Congress “affirmatively and unmistakably” instructed that
According to the Trustee, “[t]here is no ‘clear statement rule’    the statute will do so. RJR Nabisco, Inc. v. European
to determine Congressional intent, rather, ‘context can be         Cmty., 136 S. Ct. 2090, 2100 (2016) (emphasis added).
consulted as well.’ ” Opposition at 24 (quoting Morrison           Second, in the Ninth Circuit, policy considerations alone
v. Nat'l Australia Bank Ltd., 561 U.S. 247, 265 (2010);            do not overcome the presumption against extraterritoriality.
citing WesternGeco LLC v. ION Geophysical Corp., 138               Subafilms, Ltd. v. MGM-Pathe Communications Co., 24 F.3d
S. Ct. 2129, 2137 (2018); French, 440 F.3d at 150; In re           1088, 1096 (9th Cir. 1994) (rejecting the argument that the
Lyondell Chem. Co., 543 B.R. 127, 151 (S.D.N.Y 2016)).             presumption against extraterritoriality can be overcome if
He argues that Congress's intent to apply the Bankruptcy           there would be “adverse effects within the United States” and
Code's avoidance and recovery provisions extraterritorially is     indicating that the “ultimate touchstone of extraterritoriality”
evident from its text and overall statutory scheme, citing §       is determining Congress’ intent); Midland Euro, 347 B.R. at
541(a)(1), which defines estate property as all “interests of      719 (stating that in the Ninth Circuit, policy considerations
the debtor in property ... wherever located and by whomever        alone are insufficient to overcome the presumption against
held.” Id. The Trustee, however, selectively quotes from           extraterritoriality). And finally, it is for Congress, and not
Morrison, which states:                                            the courts, to weigh good and bad policy regarding the
                                                                   extraterritorial application of §§ 547 and 548. See Midland
                                                                   Euro, 347 B.R. at 720 (indicating that “Congress is the
                                                                   ultimate arbiter of the laws it enacts and it has the power



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to alter the language of the statute to clearly manifest its              contend that the focus of §§ 547 and 548 is the fraudulent
intent”).   20                                                            transfer of property rather than any conduct occurring before
                                                                          or after the transfer. Id. at 19 (citing In re Picard, ex rel.
20                                                                        Bernard L. Madoff Inv. Sec. LLC, 917 F.3d 85, 99 (2d Cir.
        In a footnote, the Trustee contends that Midland
                                                                          2019), petition for cert. denied (U.S. June 1, 2020) (No.
        Euro did not consider § 541(a)(3). Id. at 26
                                                                          19-277); In re Fitness Holdings Int'l, Inc., 714 F.3d 1141, 1147
        n.13 (citing Jay Lawrence Westbrook, Avoidance
                                                                          (9th Cir. 2013); Ampal, 562 B.R. at 613).
        of Pre-Bankruptcy Transactions in Multinational
        Bankruptcy Cases, 42 Tex. Int'l L.J. 899, 908
                                                                          21
        (2007)). As discussed above, it did.                                     The analysis includes only the facts alleged in the
                                                                                 Complaint regarding UL, GA, and TG.
 *12 UL/GA/TG highlight that § 502, which is at issue in
Count XV, contains no extraterritorial language. Motion at 17,            UL/GA/TG argue that the following transactions alleged in
18. Section 502 provides that “the court shall disallow any               the following counts were foreign:
claim of any entity from which property is recoverable under
                                                                            1) Count I – 11 U.S.C. §§ 548 and 550 (Avoidance and
section ... 550 ... of this title or that is a transferee of a transfer
                                                                              Recovery of Fraudulent Transfers (2015 Acquisitions)):
avoidable under section ... 547 [or] 548 ... of this title, unless
                                                                              six transfers for Planes 6 and 7 between 1/28/16 and
such entity or transferee has paid the amount, or turned over
                                                                              7/7/16, totaling approximately $11.9 million, from Zetta
any such property, for which such entity or transferee is liable
                                                                              Singapore's Singapore account, to UL's Hong Kong
under section ... 550 ... of this title.” 11 U.S.C. § 502(d). The
                                                                              account, half of which were made for the benefit of GA.
Trustee does not provide any analysis or authority to show
                                                                              Complaint ¶¶ 85, 175-77, Sch. E; Condon 12/20/19 Decl.
that § 502 applies abroad.
                                                                              ¶¶ 4, 6 Exs. B § 3.26, D § 3.26.

Likewise, § 105(a), which is at issue in Count XIII, indicates              2) Count II – 11 U.S.C. §§ 548 and 550 (Avoidance and
that:                                                                         Recovery of Fraudulent Transfers (Plane 6 and Plane 7))

                                                                               a. A $55 million transfer ($55 Million Transfer) from
                 The court may issue any order,                                   Minsheng Business's Hong Kong account, through an
                 process, or judgment that is necessary                           IATS New York escrow account, to UL's Hong Kong
                 or appropriate to carry out the                                  HSBC account in September 2016. Complaint ¶ 106;
                 provisions of this title. No provision                           Motion at 23; Condon 12/20/19 Decl. ¶¶ 7, 8 Exs. E
                 of this title ... shall be construed                             at Sch. 2, F at Sch. 2; Torborg 12/9/19 Decl. ¶¶ 16-17,
                 to preclude the court from ...                                   20-21, Exs. L, M, P, Q.
                 making any determination necessary
                                                                               b. Thirteen transfers (Plane 6 Loan Transfers)
                 or appropriate to enforce or implement
                                                                                 between 8/1/16 and 7/31/17 totaling approximately
                 court orders or rules, or to prevent an
                                                                                 $10,148,723 from Zetta Singapore's Singapore
                 abuse of process.
                                                                                 account to UL's Hong Kong account, regarding the
                                                                                 loan for Plane 6. Complaint ¶¶ 85, 150, Sch. A;
                                                                                 Condon 12/20/19 Decl. ¶ 7, Ex. E at Sch. 2.
As UL/GA/TG note, § 105 contains no extraterritorial
reference, and the Trustee does not argue that § 105(a) has                 3) Count IV – 11 U.S.C. §§ 547 and 550 (Avoidance
extraterritorial application. Motion at 18.                                   and Recovery of Preference Transfers (Plane 6 Loan
                                                                              Transfers), in the alternative to Count II)

 3. Relevant Transactions                                                   4) Count V – 11 U.S.C. §§ 547 and 550 (Avoidance and
UL/GA/TG claim that each of the UL and GA transactions                         Recovery of Preference Transfer ($55 Million Transfer),
was extraterritorial. 21 Motion at 18. They argue that a trustee               in the alternative to Count II)
cannot establish domestic application of a statute merely by
                                                                            5) Count VIII – 11 U.S.C. §§ 547 and 550 (Avoidance
highlighting some U.S-based conduct. Id. at 18-19 (citing
                                                                              and Recovery of Preference Transfers (Interest Payment
Morrison, 561 U.S. at 266-67; CIL Ltd., 582 B.R. at 95). They



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      Transfers)): Twelve interest payments on the “First          that Wells Fargo was a party to the transaction, had any
                          22
      and Second Loans” totaling $2.3 million from Zetta           independent economic interest in it, received any funds, or
      Singapore's Singapore account to UL's Hong Kong              engaged in any other conduct that Congress sought to regulate
      account between 9/19/16 and 8/15/17. Complaint ¶¶ 85,        in §§ 547 and 548. Id. at 21 (citing Complaint ¶¶ 49-50;
      259, Sch. D; Condon 12/20/19 Decl. ¶ 7, Ex. E at Sch. 2.     Condon 12/20/19 Decl., ¶¶ 3, 5 Exs. A at Title Page, C at
                                                                   Title Page; CIL Ltd., 582 B.R. at 96; Ampal, 562 B.R. at 613;
     *13 6) Count XIII – 11 U.S.C. § 105(a)                        Lyondell, 543 B.R. at 150; In re Sherwood Invs. Overseas
      (Recharacterization of the Third Investment as Equity        Ltd., Inc., 2016 WL 5719450, at *11 (M.D. Fla. Sept. 30,
      Interest): a 6/27/17 $15 million transfer from UL's Hong     2016)). UL/GA/TG claim that even though a transaction
      Kong account to Zetta Singapore's Singapore account,         involves an asset that might be used in the United States,
      in exchange for 20% of Zetta Singapore's outstanding         among other places, that does not change a transfer of funds
      shares being transferred to TG. Complaint ¶¶ 85, 309-11;     between non-U.S. entities into a domestic transaction. Id. at
      Condon 12/20/19 Decl. ¶ 7, Ex. E at Sch. 2.                  21-22 (citing Lyondell, 543 B.R. at 132-34; Maxwell I, 186
                                                                   B.R. at 818).
UL/GA/TG assert that Count I involves Zetta Singapore's
acquisition of Planes 6 and 7 from UL and GA in December           UL/GA/TG          argue       that         the    “Minsheng
2015, which was an extraterritorial transaction because all                                              24
                                                                   Transaction” (Minsheng Refinancing) at issue in Counts II,
parties involved were foreign: Zetta Singapore is a Singapore
                                                                   IV, and V, involved “Minsheng” and Yuntian 3 buying Planes
corporation; UL and GA are BVI companies; and Li Qi is
                                                                   6 and 7 from them and leasing the planes to Zetta Singapore.
a citizen of China who resides in Hong Kong. Id. at 19-20
                                                                   Id. at 22-23. According to UL/GA/TG, this transaction was
(citing Complaint pg. 1 and ¶¶ 24, 26, 22). They indicate that
                                                                   foreign because: 1) the parties are all foreign entities from
Zetta Singapore sent funds from its alleged Singapore account
                                                                   China (Minsheng Financial and Minsheng Business), Hong
and that Plane 6's and Plane 7's Master Aircraft Finance
                                                                   Kong (Minsheng Business), Ireland (Yuntian 3), Singapore
Leases (Planes 6 and 7 MAFLs) 23 indicate that although            (Zetta Singapore), and the BVI (UL); 2) the Trustee does not
initially routed through New York, the funds were to be sent to    plead that the $55 Million Transfer from Minsheng to UL
their account in Hong Kong. Id. at 20 (citing Complaint ¶ 85,      at issue in Counts II and V originated from anywhere other
Condon 12/20/19 Decl. ¶¶ 4, 6, Exs. B § 3.26, D § 3.26). UL/       than Minsheng; 3) the payments were sent to UL's HSBC
GA/TG reiterate that the Court “must focus on the Debtor's         Hong Kong account; and 4) the agreements are governed by
transfers” and here, the relevant conduct occurred outside of      English law and require, with limited exception, all disputes
the United States. Id. (emphasis in original) (citing Morrison,    regarding the agreements to be heard in English courts. Id.
561 U.S. at 266; Midland, 347 B.R. at 715; Maxwell I, 186          at 22-23 & n.7-9 (citing Complaint ¶¶ 41-43, 97, 106, 112;
B.R. at 817 n.5).                                                  Condon 12/20/19 Decl. ¶¶ 7-8, Exs. E at Sch. 2 and §
                                                                   11.3(a), F at Sch. 2 and § 11.3(a)). UL/GA/TG acknowledge
22                                                                 that some tangential conduct surrounding the Minsheng
         Li Qi made a $10 million loan to Zetta Singapore
         through UL in February 2016 (First Loan) and              Refinancing touched the United States—using U.S.-based
         another $10 million loan to Zetta Singapore               nominal trustees and, “in separate, subsequent transactions,
         through UL on 7/19/16 (Second Loan). Complaint            leasing planes to U.S. entities”—but they contend that all
         ¶¶ 91, 117-18.                                            of the conduct that Congress sought to regulate in §§ 547
                                                                   and 548 (Zetta Singapore's prepetition transfer of funds)
23       The Planes 6 and 7 MAFLs include the Master               occurred outside of the United States by and for the benefit
         Aircraft Finance Lease Agreements for Planes 6            of Chinese, Singaporean, Hong Kong, and Irish entities. Id. at
         and 7, and the Supplemental No. 1 Aircraft Finance        23 (emphasis in original) (citing Complaint ¶ 112).
         Lease Purchase Option Agreements for Planes 6
         and 7. Complaint ¶¶ 82, 86; Condon 12/20/19 Decl.         24     According to the Complaint, the Minsheng
         ¶¶ 3-6, Exs. A, B, C, D.
                                                                          Refinancing was a June to September 2016
UL/GA/TG contend that although Count I alleges that Wells                 multi-step, multi-party transaction that involved
Fargo acted “as owner trustee” for the relevant parties, the use          “Minsheng” refinancing Planes 6 and 7. Complaint
of U.S.-based professional services is insufficient to convert a          ¶¶ 96-116. It is described in more detail below.
foreign transaction into a domestic one, there is no allegation


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 *14 UL/GA/TG note that the Complaint alleges that after the         to Zetta USA; 2) the Defendants and the Debtors ensured
Minsheng Refinancing: 1) GA and Zetta Singapore entered              that the disguised financing transactions closed in the United
into a “Clarification,” indicating that Zetta Singapore still        States; 3) the Defendants and the Debtors used U.S. corporate
had to repay its outstanding obligation on Plane 6; and              trustees to hold legal title to the planes and act as nominal
2) Counts II and IV seek to avoid $10 million that Zetta             owners, lessors, and lessees; 4) the Defendants and the
Singapore paid to UL and GA under the Clarification. Id.             Debtors used U.S. escrow agents with U.S. bank accounts
(citing Complaint ¶¶ 110, 150). But, they argue that these           who paid proceeds to the Defendants’, the Debtors’, and
transfers are extraterritorial. Id. (citing Complaint ¶¶ 110,        Bombardier's U.S. bank accounts; 5) the Defendants and the
150). UL/GA/TG assert at issue in Count VIII are interest            Debtors required that the planes be maintained at a U.S.
payments Zetta Singapore made on the First and Second                maintenance facility; 6) the security interests were filed in
Loans. Id. (citing Complaint ¶¶ 91, 110, 118, 259). They             the United States; and 7) the Defendants and the Debtors
contend that because the Trustee does not plausibly allege           required all payments be made in U.S. dollars, so that the
that payments Zetta Singapore made to UL in the Minsheng             transfers had to be made directly from U.S. banks or through
Refinancing or for the First and Second Loans were domestic          U.S. correspondent banks. Id. at 21-22, 29-30 (emphasis in
activity, he fails to state a claim for avoidance of any transfers   original) (citing Complaint ¶¶ 55, 112, 124; Lyons 1/31/20
to UL in Counts I, II, IV, V, and VIII as a matter of law. Id.       Decl. ¶¶ 9-11, Exs. C, D, & E; Torborg 12/9/19 Decl. ¶¶ 14-15,
                                                                     20-21, Exs. J, K, P, & Q).
Finally, UL/GA/TG contend that the “Third Loan”—a June
2017 $15 million loan from UL to Zetta Singapore at issue            The Trustee argues that the parties’ nationalities are irrelevant
in Count XIII, which the Trustee seeks to recharacterize             and the transactions at issue involved lending money to the
as equity—was extraterritorial because: 1) it was between            Debtors to buy and operate United States-based planes under
foreign entities, UL, a BVI company, and Zetta Singapore,            the FAA's regulatory scheme. Id. at 30. According to the
a Singapore company; 2) in return, TG, a BVI company,                Trustee, the fact that some of the parties were foreign does not
received additional shares of Zetta Singapore stock; 3) it is        change the “focus” of the transfers from the United States. Id.
governed by Hong Kong law; and 4) there is no allegation of          (citing In re Arcapita Bank B.S.C., 575 B.R. 229, 245 (Bankr.
U.S. transfers. Id. at 24. (citing Complaint ¶¶ 24, 126, 129,        S.D.N.Y. 2017)).
311; Condon 12/20/19 Decl. ¶ 9, Ex. G § 16).
                                                                      *15 Regarding choice-of-law provisions, the Trustee
The Trustee responds that the relevant conduct occurred in the       contends that: 1) they do not make transactions extraterritorial
United States. Opposition at 29. He contends that the test for       because the focus is on the parties’ conduct, not a contractual
whether the relevant conduct was extraterritorial is “flexible”      choice-of-law clause; and 2) a court can disregard a choice-
and allows courts to consider all components of the transfers,       of-law clause, which does not bind third parties, such as a
including whether the participants, acts, targets, and effects       bankruptcy trustee. Id. (citing In re Eagle Enters., Inc., 223
involved in the transactions are primarily foreign or primarily      B.R. 290 (Bankr. E.D. Pa. 1998)).
domestic. Id. (citing In re FAH Liquidating Corp., 572 B.R.
117, 124 (Bankr. D. Del. 2017)). The Trustee asserts that UL/        The Trustee argues that even though TVPX and Wells Fargo
GA/TG ignore the domestic focus of the transactions at issue:        were “nominal” players, they were also critical because U.S.
“three planes, financed through closings in the U.S., involving      corporate trusts were necessary for the planes to be registered
transfers into and through the U.S. bank accounts, using U.S.        with the FAA, and without FAA registration and Zetta USA's
corporate trusts to serve as fronting lessors/lessees, registered    Part 135 Certificate, the planes had no commercial value. Id.
with the FAA, operated by a domestic debtor, and generating          The Trustee claims that this situation is a “far cry” from the
the income for the transfers the Trustee seeks to avoid and          use of “professionals” in CIL. Id.
recover.” Id.
                                                                     Finally, the Trustee asserts that the transfers through U.S.
The Trustee claims that the Debtors and the “Defendants”             bank accounts were not “fleeting” but critical to maintain the
deliberately structured the planes’ acquisitions and the             U.S. focus of the transactions. Id. at 31. The Trustee contends
“disguised financing loans” to close in and flow through the         that all transfers made at the closing on the Minsheng
United States, highlighting that: 1) the Defendants required         Refinancing occurred in the United States because the
the planes to be registered with the FAA and to be subleased         transfers were made from a U.S. bank account by IATS, a U.S.



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escrow agent. Id. (citing Y3/Y4 Motion at 25). The Trustee         directed courts to assess the focus “of the statute,” not the
argues that the court in Arcapita found that the defendants’       parties’ conduct. Id. at 20 & n.11 (emphasis in original) (citing
use of a bank in New York “touched and concerned                   Morrison, 561 U.S. at 266). UL/GA/TG assert that FAA
the United States” and displaced the presumption against           certificates, nominal U.S. ownership of the planes, where the
extraterritoriality, and Arcapita distinguished Maxwell I and      planes were maintained, and the planes’ security interests
Loginovskaya as cases that involved a U.S. bank on only            are outside the focus of the Bankruptcy Code's avoidance
one side of the challenged transfer. Id. (citing Arcapita, 575     provisions, and these contacts do not make the transactions
B.R. at 245; Midland Euro, 347 B.R. 708). The Trustee              domestic. Id. at 20-21 (citing Maxwell I, 186 B.R. at 816).
contends that here, as in Arcapita, all parties to the Minsheng
Refinancing agreed to use a domestic escrow agent and its          UL/GA/TG claim that the use of intermediary U.S. banks to
domestic bank account to complete the transfers. Id. The           process transfers between foreign parties and their foreign
Trustee claims that this deliberate use of U.S. banking law by     bank accounts does not make the transfers domestic, and
the parties on both sides of the transfers provides sufficient     courts have uniformly refused to expand U.S. law to cover any
contact with the United States to make the $55 Million             dollar-denominated transaction involving a U.S. intermediary
Transfer to UL at issue in Counts II and V a domestic              bank. Id. at 21 (citing Sec. Inv. Prot. Corp. v. Bernard L.
transfer. Id. The Trustee asserts that using U.S. dollars as the   Madoff Inv. Sec. LLC, 513 B.R. 222, 228 n.1 (S.D.N.Y.
denomination of payment further supports this conclusion. Id.      2014); Maxwell I, 186 B.R. at 817 n.5). They contend that
at 31 n.18 (citing FAH Liquidating Corp., 572 B.R. at 124).        Arcapita found the relevant transaction was domestic because
                                                                   the initial transfer was from Arcapita's U.S. bank account and
UL/GA/TG reply that the parties and relevant conduct were          both sides of the transfer used a U.S. bank to complete the
outside the United States. Reply at 19. They contend that the      transfer. Id. (citing Arcapita, 575 B.R. at 246). They highlight
Trustee does not rely on or cite the controlling Morrison test     that the court in Arcapita cited with approval other cases
that looks to the conduct that is the “focus” of congressional     holding that using “U.S. intermediary banks to carry out the
concern, but instead relies on a pre-Morrison test that            transactions, but that were not the transactions themselves,
examined “all component events of the transfers,” which            does not render a transaction domestic.” Id. (emphasis in
did not survive Morrison. Id. at 19-20. They highlight that        original) (citing Arcapita, 575 B.R. at 246 n.10). UL/GA/TG
in E.E.O.C. v. Arabian Am. Oil Co., 499 U.S. 244, 247              argue that because the relevant transfers here were between
(1991) (Aramco), an employee unsuccessfully argued U.S.            foreign entities (Minsheng and themselves), with foreign
employment discrimination law applied to his job in Saudi          bank accounts, using U.S. intermediary banks to carry out the
Arabia because he was a U.S. citizen, hired by a Delaware          transfers does not establish a domestic transaction. Id.
company, originally as an engineer in Houston, and Morrison
explained that “neither the territorial event [of hiring in        UL/GA/TG assert that the Trustee tries to fit this case into
Houston] nor that relationship [of U.S. citizenship] was           Arcapita’s facts by arguing that the Minsheng Refinancing
the ‘focus’ of congressional concern ... but rather domestic       at issue in Counts II, IV, and V involved a transfer: 1)
employment.” Id. at 20 (citing Morrison, 561 U.S. at 266).         from Minsheng's foreign account, 2) to an escrow agent's
UL/GA/TG argue that “the Trustee's method of tallying up           U.S. account, 3) to the parties’ intermediary U.S. accounts,
domestic contacts of a transaction, regardless of whether          and 4) to the non-Minsheng parties’ foreign accounts. Id.
those aspects are the focus of the statute, improperly turns       According to UL/GA/TG, the Trustee improperly focuses on
the presumption against extraterritoriality into a ‘craven         intermediate steps 2 and 3 and ignores the actual transfer in
watchdog’ against overextension of U.S. law.” Id. (citing          steps 1 and 4. Id. UL/GA/TG claim that the Trustee cannot
Morrison, 561 U.S. at 266). And, UL/GA/TG argue that               rely on escrow transfers and agreements that are not alleged
courts give significant weight to the parties’ nationality and     in the Complaint but are instead mentioned for the first time
location. Id. at 20 n.10 (citing Maxwell I, 186 B.R. 807, 817      in the Opposition. Id. at 22 (citing In re Countrywide Fin.
(S.D.N.Y. 1995)).                                                  Corp. Mortg.-Backed Sec. Litig., 2013 WL 5614294, at *4
                                                                   (C.D. Cal. Sept. 30, 2013)). They argue that transfers to an
 *16 UL/GA/TG claim that the Trustee addresses                     escrow agent are irrelevant to the extraterritoriality analysis
“everything but the focus of Congressional concern,” and the       because intermediary escrow transfers are not the “focus”
Trustee's attempted “slight of hand” by arguing that the “focus    of the Code's avoidance provisions, which apply only to
of these transactions” is domestic violates Morrison, which        recipients who have “dominion” over the funds and not to



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mere “conduits” such as escrow agents. Id. (citing In re            company HomeSide Lending, Inc. (HomeSide) and until
Incomnet, Inc., 463 F.3d 1064, 1071 (9th Cir. 2006)). UL/           2001, National touted the success of HomeSide's business.
GA/TG highlight that putting aside the conduits, the transfers      Id. at 251-52. After Australian citizens Russell Leslie Owen
at issue were “from foreign parties and their foreign bank          (Owen) and Brian and Geraldine Silverlock (Silverlocks)
accounts to foreign parties and their foreign bank accounts.”       bought National shares, National announced that it was
Id. (emphasis in original).                                         writing down the value of HomeSide's assets by more than $2
                                                                    billion. Id. at 252. Owen and the Silverlocks sued National
UL/GA/TG note that except for the Minsheng Refinancing,             and HomeSide in the District Court for the Southern District
none of the transactions involving them are alleged to include      of New York for violations of §§ 10(b) and 20(a) of the
escrow transfers, and the Trustee has not identified any other      Securities Exchange Act of 1934, and Rule 10b-5, seeking to
basis to establish that the claims addressing the initial Plane     represent a class of foreign purchasers of National's ordinary
6 and 7 leases (Count I), the Clarification (Counts II and IV),     shares. Id. at 252-53. National and HomeSide moved to
or the Third Loan (Count XIII) were domestic transfers. Id.         dismiss for failure to state a claim under Rule 12(b)(6) and
(citing Complaint ¶¶ 79-88, 110, 126-31). According to UL/          lack of subject matter jurisdiction under Rule 12(b)(1). Id.
GA/TG, the Court may grant their Motion on these issues             at 253. The district court dismissed under Rule 12(b)(1),
based solely on the Trustee's failure to oppose. Id. (citing        finding that it had no jurisdiction because the acts in the
Minasyan v. Allen L. Adkins & Assocs., PC, 2012 WL                  United States were “at most, a link in the chain of an alleged
3848648, at *1 (C.D. Cal. Sept. 5, 2012)).                          overall securities fraud scheme that culminated abroad.” Id.
                                                                    The Second Circuit affirmed because “[t]he acts performed in
 *17 Finally, UL/GA/TG argue that the Trustee does not              the United States did not ‘compris[e] the heart of the alleged
identify the transactions that he considers to be “subsequent       fraud.’ ” Id. at 253-54.
transfers,” which he seeks to avoid, and the Complaint does
not identify those transfers. Id. at 22-23. They contend that to    The Supreme Court affirmed, although it noted that the
the extent the Trustee is limiting the “initial transfers” to the   extraterritorial reach of § 10(b) is a merits question, not
Minsheng Refinancing and payments under the Planes 6 and 7          a subject matter jurisdiction question. Id. at 254. The
MAFLs, all transfers involved in those transactions originated      Court then indicated that it is a “longstanding principle of
from and were received by foreign entities and their foreign        American law that legislation of Congress, unless a contrary
bank accounts. Id. at 23. They conclude that “if the relevant       intent appears, is meant to apply only within the territorial
conduct occurred in another country, then the case involves         jurisdiction of the United States.” Id. at 255 (citations and
an impermissible extraterritorial application regardless of any     internal quotation marks omitted). After holding that the
other conduct that occurred in U.S. territory.” Id. (citing         Exchange Act contained no affirmative indication that §
WesternGeo LLC v. ION Geophysical Corp., 138 S. Ct. 2129,           10(b) applied extraterritorially, the Supreme Court focused
2137 (2018)).                                                       on Owen's and the Silverlocks’ argument that Florida was
                                                                    where HomeSide and its executives engaged in the deceptive
The question of whether transactions are foreign or domestic        conduct and where HomeSide executives made misleading
depends “very heavily” on the facts of each case. In re             public statements. Id. at 265-66. The Supreme Court held
Arcapita Bank B.S.C.(c), 575 B.R. 229, 246 (Bankr. S.D.N.Y.         that these American contacts were insufficient to displace the
2017). Recent Supreme Court decisions have analyzed the             presumption against extraterritoriality because “it is a rare
“focus” of statutes to determine whether a case involves            case of extraterritorial application that lacks all contact with
domestic or foreign applications of statutes. RJR Nabisco,          the territory of the United States.” Id. at 266. (emphasis in
Inc. v. European Community, 136 S. Ct. 2090 (2016);                 original). The Court continued that “the presumption against
Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247 (2010).         extraterritorial application would be a craven watchdog
                                                                    indeed if it retreated to its kennel whenever some domestic
Morrison involved National Australia Bank Limited                   activity is involved in the case.” Id. (emphasis in original).
(National), whose “ordinary shares” were traded on the
Australian Stock Exchange Limited and on other foreign              *18 The Supreme Court highlighted that the “focus” of the
securities exchanges, but not on any American exchange.             Exchange Act is the purchase and sale of securities in the
Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247, 251            United States, not where the deception occurred. Id. Because
(2010). In 1998, National bought Florida mortgage-servicing         National's ordinary shares were not listed on a domestic



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exchange, and all aspects of the purchases occurred outside
the United States, the Supreme Court stated that the case           The Court noted that “when a statute provides for
should have been dismissed under 12(b)(6), based on failure         some extraterritorial application the presumption against
to state a claim. Id. at 266, 273.                                  extraterritoriality operates to limit that provision to its terms.”
                                                                    Id. at 2102 (quoting Morrison, 561 U.S. at 265). The
According to the Supreme Court, the two tests that the Second       Court held that the complaint did not impermissibly allege
Circuit had developed for determining whether conduct               extraterritorial violations of the RICO Act because the pattern
was foreign or domestic in the context of § 10(b)—an                of racketeering activity involved predicate offenses that were
“effects test,” that was premised on an effect on American          either committed in the United States or in a foreign country in
securities markets and a “conduct test,” that was premised on       violation of a predicate statute that applied extraterritorially.
wrongful conduct in the United States—were inappropriate.           Id. at 2105. Section 1964(c), however, required that a civil
Id. at 257-61. The Supreme Court reasoned that the “results         RICO plaintiff allege and prove a domestic injury, recovery
of judicial-speculation-made law—divining what Congress             was not available for foreign injuries, and the European
would have wanted if it had thought of the situation before the     Community and the member states had stipulated to waive
court—demonstrate the wisdom of the presumption against             their claims for domestic injuries, so the Court held that the
extraterritoriality” because instead of guessing “anew in each      RICO claims had to be dismissed. Id. at 2111.
case,” the presumption can be applied in all cases, which
preserves a stable background against which Congress can             *19 Most recently, the Supreme Court expanded on the
legislate with predictable effects. Id. at 261.                     “focus” of a statute by indicating that it is the “object of its
                                                                    solicitude,” which can include the conduct that it “seeks to
In Nabisco, RJR Nabisco, Inc. (RJR) and other unspecified           regulate” and the parties and interests it “seeks to protect” or
parties allegedly participated in a global money-laundering         vindicate. Western Geco LLC v. ION Geophysical Corp., 138
scheme involving the illegal sale of drugs and cigarettes           S. Ct. 2129, 2137 (2018) (quoting Morrison, 561 U.S. at 267).
in various countries. RJR Nabisco, Inc. v. European
Community, 136 S. Ct. 2090, 2098 (2016). The European               To determine the conduct that is relevant to the analysis,
Community and 26 of its member states sued RJR in the               the Court must consider the “focus” of the avoidance and
Eastern District of New York for civil violations of the            recovery provisions (§§ 547, 548, and 550), which is “the
Racketeer Influenced and Corrupt Organizations Act (RICO),          initial transfer that depletes the property that would have
and RJR moved to dismiss the complaint, arguing that                become property of the estate.” In re CIL, 582 B.R. at 93;
RICO does not apply to racketeering activity occurring              see also In re Ampal-Am. Israel Corp., 562 B.R. 601, 613
outside U.S. territory or to foreign enterprises. Id. at            (Bankr. S.D.N.Y. 2017) (same); In re Picard, ex rel. Bernard
2098-99. The district court agreed with RJR and dismissed           L. Madoff Inv. Sec. LLC, 917 F.3d 85, 91, 93, 98 (2d Cir.
the RICO claims as impermissibly extraterritorial, but the          2019), petition for cert. denied 2020 WL 2814770 (U.S. June
Second Circuit reinstated those claims, concluding that             1, 2020) (No. 19-277) (“[I]n actions involving both [§ 548
Congress had clearly communicated its intent that RICO              and § 550], § 550(a) regulates the debtor's initial transfer.”);
applied to extraterritorial conduct. Id. at 2099. The Supreme       In re Sherwood Investments Overseas Ltd., Inc., 2015 WL
Court granted certiorari because the lower courts disagreed         4486470, at *19 (Bankr. M.D. Fla. July 22, 2015), aff'd 2016
regarding RICO's extraterritorial application. Id.                  WL 5719450 (M.D. Fla. Sept. 30, 2016) (“Courts applying
                                                                    the extraterritoriality presumption to fraudulent transfers
The Supreme Court stated that to determine whether a case           typically hold that the proper focus is the transfers sought to
involves a domestic application of a statute, courts must look      be avoided, not the parties’ relationship or locus.” (emphasis
to the “focus” of the statute. Id. at 2101. According to the        in original)).
Court, “[i]f the conduct relevant to the statute's focus occurred
in the United States, then the case involves a permissible          In several of the cases cited by the parties, the courts found
domestic application even if other conduct occurred abroad;         that the relevant conduct was extraterritorial.
but if the conduct relevant to the focus occurred in a
foreign country, then the case involves an impermissible            In Maxwell I, Maxwell Communication Corporation plc
extraterritorial application regardless of any other conduct        (MCC) sold significant portions of its U.S. assets and used
that occurred in U.S. territory.” Id.                               some of the proceeds to repay overdraft balances to Barclays



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Bank plc (Barclays) (£2 million), National Westminster Bank       commencing provisional liquidation proceedings in the
plc (NatWest) (£71.5 million), and Societe General (SocGen)       Grand Court of the Cayman Islands, and shortly thereafter,
(£5.7 million). In re Maxwell Communication Corp. plc, 186        an involuntary chapter 7 petition was filed against it in the
B.R. 807, 813 (S.D.N.Y. 1995). After MCC filed bankruptcy         Bankruptcy Court for the Southern District of New York. Id.
in the U.S. and England, MCC and examiner Richard A.              at 56. Salvatore LaMonica (LaMonica), the chapter 7 trustee
Gitlin (Gitlin), who had been appointed to harmonize the two      for CIL, filed a complaint against CEVA Logistics Finance
bankruptcy proceedings, filed complaints against Barclays,        B.V. (CEVA Finance), CEVA Group, and CEVA Holdings
NatWest, and SocGen to avoid and recover the transfers. Id. at    (together with CEVA Finance and CEVA Group, CEVA
812. MCC, Barclays, and NatWest were English companies,           Entities), to avoid and recover the transfer under §§ 544,
and SocGen was a French company. Id at 812-13. The                548, 550, and 551. Id. at 56, 68. The CEVA Entities moved
bankruptcy court dismissed the complaints based in part on        to dismiss the avoidance claims based on the presumption
the presumption against extraterritoriality. Id. at 815. On       against extraterritoriality, and LaMonica countered that the
appeal, MCC and Gitlin argued that the transfers were not         transfer was not extraterritorial. Id. at 82-83, 94.
extraterritorial because the money derived from the sale of
U.S. assets. Id. at 816.                                          The court held that the transfer was extraterritorial because:
                                                                  1) it was among foreign entities and allegedly harmed foreign
The district court affirmed, noting that a § 547 analysis         creditors; and 2) it was accomplished outside the United
requires courts to consider all events involving the transfers,   States by i) CIL, acting through its boards at meetings chaired
and viewing the transfers in this manner resulted in a            in London, consenting to CEVA Group's recapitalization and
finding that they occurred overseas. Id. at 816-17. The court     restructuring, and ii) CEVA Group issuing “New CEVA
considered that: 1) MCC, Barclays, NatWest, and SocGen            Shares” in accordance with U.K. law during a meeting of
were all foreign entities whose relationship was “centered in     shareholders in London, attended by a CIL representative who
England;” 2) the antecedent debts underlying the transfers        consented to the issuance. Id. at 93-94. LaMonica argued that
arose from MCC's overdrafts on accounts maintained with           the court had to consider all components of the transfers, and
banks in England and governed by English law; and 3) MCC          the “center of gravity” was the United States because the
repaid its debts by transferring funds to accounts in the U.K.    scheme to divest CIL of the CEVA Group equity was “planned
Id. at 817. The court noted that the transferred funds were       and hatched” in the United States. Id. at 94. The court rejected
proceeds from the sale of U.S. assets, which depleted the         this argument for several reasons: 1) CIL's professionals were
availability of MCC's assets to satisfy creditors’ claims. Id.    in the Cayman Islands and performed significant work there;
But, the court stated that the source of the funds was “at best   2) negotiating and documenting the transfer in the United
only one component” of the conduct proscribed by § 547,           States was not enough to make the transaction domestic;
and even assuming the transfers were initiated in the U.S.        3) it was questionable whether the “component parts test”
after U.S. asset sales, this conduct was more appropriately       advocated by LaMonica, remained relevant after the Supreme
described as a “preparatory step” to the transfers. Id. 25        Court's rejection in Morrison of the similar “conduct and
                                                                  effects test” used by the Second Circuit to determine where
25                                                                conduct occurred; and 4) even under LaMonica's “center of
        MCC and Gitlin appealed, and the Second Circuit
                                                                  gravity” test, the issuance of the “New CEVA Shares” was not
        in Maxwell II affirmed but declined to decide
                                                                  a domestic transaction. Id. at 94-96.
        “whether, setting aside considerations of comity,
        the ‘presumption against extraterritoriality’ would
                                                                  In Ampal-American, New York holding company Ampal-
        compel a conclusion that the Bankruptcy Code does
                                                                  American Israel Corp. (Ampal) instructed Bank Hapoalim in
        not reach the pre-petition transfers at issue.” In
                                                                  Tel Aviv to transfer 344,322.64 New Israeli Shekels (NIS)
        re Maxwell Communication Corp. plc by Homan
                                                                  from its account to a Bank Hapoalim account of its Israeli
        (Maxwell II), 93 F.3d 1036, 1055 (2d Cir. 1996).
                                                                  law firm, Goldfarb Seligman & Co. In re Ampal-Am. Israel
 *20 In CIL, CIL Limited (CIL), a Cayman Islands entity,          Corp., 562 B.R. 601, 603-04 (Bankr. S.D.N.Y. 2017). Within
transferred an equity interest in CEVA Group Plc (CEVA            90 days of the transfer, Ampal filed bankruptcy. Id. at 604.
Group), a U.K. entity, to CEVA Holdings LLC (CEVA                 Alex Spizz (Spizz), the chapter 7 trustee for Ampal, filed a §§
Holdings), a Marshall Islands entity. In re CIL Ltd., 582         547 and 550 complaint to avoid and recover the NIS transfer.
B.R. 46, 68 (Bankr. S.D.N.Y. 2018). CIL filed a petition          Id. at 603. The court determined that the presumption against



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extraterritoriality prevented Spizz from avoiding the transfer,     Id. (emphasis in original). According to the court, the
because it occurred in Israel between a U.S. transferor             transfers were foreign because: 1) the transfers were made
headquartered in Israel and an Israeli transferee accomplished      from Sherwood's accounts at UBS in Switzerland to RBS's
entirely through accounts at the same Israeli bank. Id. The         accounts in England; 2) Sherwood was a BVI corporation, and
court acknowledged that Goldfarb's legal services had some          RBS was a Netherlands entity; and 3) all trading and creation
U.S. connections, including Ampal's shares being traded             of the underlying securities purchased with the transfers was
on the NASDAQ, Goldfarb's services involving legal work             performed in London. Id. at *20, 21. The court stated that the
related to Ampal's SEC and NASDAQ filings, Goldfarb                 “minimal contacts” with the United States—Benscher living
rendering opinions on Israeli law for inclusion in Ampal's          in and initiating the transfers from Florida and RBS having
annual report, and a Goldfarb partner attending meetings in         U.S. branches—did not displace the presumption against
New York regarding the filing of Ampal's bankruptcy case.           extraterritoriality because even if claims “touch and concern”
Id. at 613 & n.14. But, the court highlighted that most of          the United States, they must do so with sufficient force to
these services were performed in Israel, and even where             displace the presumption. Id. at *20.
claims “touch and concern” the United States, they must do
so with “sufficient force” to displace the presumption against      In FAH, Bayerische Moteren Werke Aktiengesellschaft
extraterritoriality. Id. at 613-14.                                 (BMW) executed agreements with Fisker Automotive
                                                                    Holdings, Inc. and Fisker Automotive, Inc. (together FAH
 *21 In Sherwood, Royal Bank of Scotland N.V. (RBS),                Cos.), Delaware corporations headquartered in California,
located in the Netherlands, financed complex derivatives            for the installation of BMW engines and parts into FAH-
trading for Sherwood Investments Overseas Limited, Inc.             made vehicles. In re FAH Liquidating Corp., 572 B.R. 117,
(Sherwood), a BVI corporation. In re Sherwood Investments           121, 124 (Bankr. D. Del. 2017). FAH Cos. then transferred
Overseas Ltd., Inc., 2015 WL 4486470, at *1, 20 (Bankr.             approximately $32,579,799 to BMW, 26 but faced many
M.D. Fla. July 22, 2015), aff'd 2016 WL 5719450 (M.D. Fla.          difficulties, including battery pack safety recalls and the loss
Sept. 30, 2016). Because Sherwood did not meet RBS's risk           of their lending facility provided through the U.S. Department
criteria, it was not a “formal” client of RBS. Id. at *4. But,      of Energy (DOE). Id. at 121-22. FAH Cos. filed a voluntary
they created a “workaround:” Sherwood operated through              chapter 11 petition, and Emerald Capital Advisors Corp.
an approved counterparty, UBS, a Swiss bank. Id. When               (Emerald), in its capacity as trustee for the FAH Liquidating
Sherwood and RBS wanted to execute a trade, RBS sent                Trust, filed a complaint against BMW, a German corporation
instructions to Sherwood and, if approved, to UBS, who paid         with its principal place of business in Munich, to avoid and
the required amount from funds in Sherwood's UBS accounts.          recover the alleged constructively fraudulent transfers under
Id.                                                                 §§ 542, 544, 548, and 550. Id. at 120-22. BMW moved
                                                                    to dismiss the complaint, arguing that the transfers were
In September 2008, Sherwood transferred almost $1.3 million         foreign because: 1) they involved development work by a
to RBS. Id. at *18. It then filed bankruptcy and an avoidance       German company based on German contracts, which required
action against RBS, alleging that the $1.3 million transfer         application of German law; and 2) BMW was to perform
was avoidable and recoverable under §§ 548 and 550. Id.             the work in Germany in exchange for FAH Cos. paying in
RBS moved for summary judgment based on the presumption             Euros. Id. at 123, 124. Emerald countered that the transfers
against extraterritoriality, claiming that the transfers occurred   were not extraterritorial and highlighted that the transfers:
entirely abroad. Id. Sherwood countered that the “center of         1) originated from the United States; 2) were made by a
gravity” of its relationship with RBS was in the United States      Delaware corporation headquartered in California; and 3)
because: 1) its principal, Julian Benscher (Benscher), lived        were made using funds provided by a DOE loan program. Id.
in and directed trades from and initiated all of his contacts       at 124.
with RBS from the United States; 2) it kept all of its books
and records in the United States; and 3) it operated an orchid      26     FAH Cos. made the payments in Euros, and the
growing subsidiary, Sherwood Farms, from the United States.
                                                                           Court approximated the amount in dollars. Id. at
Id. at *19.
                                                                           122 n.5.
The court stated that the proper focus is the transfers              *22 The court focused on the “center of gravity” and held
sought to be avoided, not the parties’ relationship or locus.       that it was Germany because: 1) the agreements specified



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milestones to be achieved at BMW's production facilities in        link between the United States, as the regulating state, and
Germany; 2) the agreements had provisions mandating the            the regulated activity in question was sufficiently strong given
forum for disputes as Munich; 3) German law applied; and           that the transfers took place through use of U.S. correspondent
4) payments were required in Euros. Id. at 124-25. Although        bank accounts. Id.
the court recognized that the transfers originated in the United
States from a Delaware corporation, it concluded that these        In Picard, Bernard L. Madoff Investment Securities LLC
facts were insufficient to overcome the “primarily foreign         (Madoff Securities), a U.S.- entity transferred billions of
nature” of the agreements. Id. at 124.                             dollars from its New York JP Morgan Chase account to
                                                                   several foreign “feeder funds,” 27 which then transferred the
In contrast to the cases mentioned immediately above, courts       money to foreign investors. In re Picard, ex rel. Bernard L.
in other cases have found that the transfers at issue were         Madoff Inv. Sec. LLC, 917 F.3d 85, 91, 93 (2d Cir. 2019),
domestic.                                                          petition for cert. denied 2020 WL 2814770 (U.S. June 1,
                                                                   2020) (No. 19-277). Irving H. Picard (Picard), the trustee
In Arcapita, Arcapita Bank B.S.C.(c) (Arcapita), a Bahraini        for the liquidation of Madoff Securities, filed avoidance
investment bank, made investments through Bahrain                  and recovery actions under §§ 548 and 550 against the
Islamic Bank (BisB), which was headquartered in Bahrain,           foreign feeder funds, which moved to dismiss. Id. at 91. The
and Tadhamon Capital B.S.C. (Tadhamon), a Bahraini                 bankruptcy court and district court held that the avoidance
corporation and a subsidiary of a Yemini bank, under               and recovery claims should be dismissed based on the
agreements that were negotiated and signed in Bahrain              presumption against extraterritoriality or international comity
and provided that Bahrain law governed. In re Arcapita             principals. Id. at 91, 94. Both courts reasoned that Picard
Bank B.S.C., 575 B.R. 229, 233-34 (Bankr. S.D.N.Y. 2017).          could not recover property that one foreign entity received
Arcapita transferred $10 million from its JP Morgan Chase          from another foreign entity. Id.
account in New York to a correspondent account at the
same New York bank maintained by BisB and BisB bought              27     A “feeder fund” is an entity that pools money
commodities for Arcapita through a London broker. Id. at
                                                                          from numerous investors and then places it into a
234. The next day, Arcapita made two $10 million transfers
                                                                          “master fund” on their behalf. Id. at 92. A “master
from its JP Morgan Chase account to an account at HSBC
                                                                          fund,” which is what Madoff Securities advertised
Bank in New York which was a correspondent bank account
                                                                          its funds to be, pools investments from multiple
maintained by Tadhamon's bank in Bahrain, and the funds
                                                                          feeder funds and then invests the money. Id.
were then immediately transferred to Tadhamon's account
at a bank in Bahrain. Id. Less than a month after the               *23 The Second Circuit reversed, noting that when a trustee
transfers, Arcapita filed a voluntary chapter 11 petition. Id.     seeks to avoid and recover subsequently transferred property
The committee of unsecured creditors (Committee) filed a §         under §§ 548(a) and 550(a), the relevant transfer that must
547 avoidance action against BisB and Tadhamon to avoid            be avoided is the initial transfer. Id. at 98. The Second
and recover the transfers. Id. at 233, 235, 243.                   Circuit rejected the lower courts’ test that considered the
                                                                   subsequent transfer, reasoning that the relevant conduct was
BisB and Tadhamon moved to dismiss the complaint,                  Madoff Securities's “fraudulent transfer of property, not the
arguing that the transfers in the United States by themselves      transferees’ receipt of property.” Id. at 100 (emphasis in
were not enough to overcome the presumption against                original). The court expressed no opinion regarding whether
extraterritoriality, and the focus should be on when the           a domestic debtor or a transfer of property from a U.S. bank
payment was completed. Id. at 244. The Committee countered         account would be sufficient to support a finding of a domestic
that the challenged conduct was domestic. Id. The court            transfer. Id. at 99 n.9. Because Madoff Securities was a
held that BisB's and Tadhamon's “receipt of the transferred        domestic entity, which transferred property from its U.S. bank
funds in New York correspondent bank accounts” was at the          account to the feeder funds, the court held that the transfers
“heart” of the § 547 cause of action. Id. at 239. The court        were domestic. Id.
rejected BisB's and Tadhamon's argument that the parties
expected Bahraini law to apply and the United States had no        Determining whether a transfer is extraterritorial is fact
interest in regulating transactions involving Bahraini parties     dependent and the Court will consider the parties, the
for investments made outside of the U.S. Id. It held that the      transactions, the choice of law provisions, the FAA



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                                                                  2017) (not mentioning the parties’ German and American
registration and Part 135 Certificate, the maintenance of the
                                                                  nationalities in its reasoning for concluding that the transfers
aircraft at a U.S. airbase, the location of the closings, the
                                                                  were foreign, but applying a “flexible” test that allows courts
nominal trustees, and the denomination of the payments.
                                                                  to consider all component events of the transfers, including
                                                                  “whether the participants, acts, targets, and effects involved
                                                                  in the transaction at issue are primarily foreign or primarily
                          i. Parties                              domestic”); In re Picard, ex rel. Bernard L. Madoff Inv. Sec.
                                                                  LLC, 917 F.3d 85, 97-99 (2d Cir. 2019), petition for cert.
Here, all of the parties involved in the relevant transactions
                                                                  denied 2020 WL 2814770 (U.S. June 1, 2020) (No. 19-277)
are foreign; they are from Singapore, BVI, China, Hong
                                                                  (noting that the focus of §§ 548 and 550 is the initial transfer,
Kong, Ireland, and Canada. Complaint ¶ 60 (Zetta PTE was
                                                                  and holding that a domestic debtor's transfer of property from
incorporated in Singapore), ¶ 24 (TG is incorporated under
                                                                  the United States was domestic).
BVI law), ¶ 26 (GA is incorporated under BVI law), ¶ 28 (UL
is incorporated under BVI law), ¶ 41 (Minsheng Financial
                                                                  28
is organized under Chinese law and has a principal place of               The Trustee's contention, that the nationality of the
business in Beijing), ¶ 42 (Minsheng Business is organized                parties is irrelevant, is surprising given that a page
under Chinese law and has a principal place of business in                earlier he advocates for a “flexible” approach that
Hong Kong), ¶ 22 (Li Qi, who was a director and insider of                allows courts to consider facts including “whether
Zetta Singapore and is the director of UL, TG, and GA, resides            the participants ... involved in the transaction at
in Hong Kong), ¶ 43 (Yuntian 3 is organized under Irish law               issue are primarily foreign or primarily domestic.”
and has a principal place of business in Dublin), ¶ 44 (Yuntian           Opposition at 29 (citing FAH Liquidation Corp.,
4 is a company organized under Irish law with a principal                 572 B.R. at 124).
place of business in Dublin), ¶ 45 (EDC is an agency wholly
owned by the Government of Canada, with a principal place
                                                                                          ii. Transactions
of business in Ottawa).

Although the Trustee claims that the nationality of the parties        A. Count I – Avoidance and Recovery of Fraudulent
             28                                                          Transfers (2015 Acquisitions), under 11 U.S.C.
is irrelevant,   the majority of cases addressing the issue
find that the parties’ nationalities is relevant. Compare In               §§ 548 and 550, against UL, GA, and Li Qi
re Maxwell Communication Corp. plc, 186 B.R. 807, 817
                                                                   *24 Section 548 allows a trustee to “avoid any transfer ...
(S.D.N.Y. 1995) (considering that MCC, NatWest, Barclays,
                                                                  of an interest of the debtor in property” under certain
and SocGen were all foreign entities); In re CIL Ltd., 582 B.R.
                                                                  circumstances, and § 550(a) provides that to the extent a
46, 93-94, 96 (Bankr. S.D.N.Y. 2018) (holding that a transfer
                                                                  transfer is avoided under §§ 547 or 548, the trustee may
was foreign in part because it was made among entities from
                                                                  recover the property transferred.
the U.K., the Cayman Islands, and the Marshall Islands); In re
Ampal-Am. Israel Corp., 562 B.R. 601, 613 (Bankr. S.D.N.Y.
                                                                  In Count I, the Trustee seeks to avoid and recover the
2017) (holding that a transfer was foreign in part because
                                                                  following six transfers for Planes 6 and 7 from Zetta
it was from an American transferor headquartered in Israel
                                                                  Singapore's Singapore HSBC account to UL's HSBC Hong
to an Israeli transferee); and In re Sherwood Investments
                                                                  Kong account. Complaint ¶¶ 175-77; see also Complaint ¶
Overseas Ltd., Inc., 2015 WL 4486470, at *20-21 (Bankr.
                                                                  85 (indicating that Zetta Singapore had a Singapore account);
M.D. Fla. July 22, 2015), aff'd 2016 WL 5719450 (M.D. Fla.
                                                                  Condon 12/20/19 Decl. ¶¶ 4, 6 Ex. B § 3.26 (“Supplemental
Sept. 30, 2016) (holding that transfers were foreign in part
                                                                  No 1 Aircraft Finance Lease Purchase Option Agreement”
because Sherwood was a BVI corporation and RBS was a
                                                                  to the Aircraft Finance Lease Purchase Option Agreement
Netherlands entity); with In re Arcapita Bank B.S.C., 575
                                                                  relating to a Bombardier Global 6000 with MSN 9688, which
B.R. 229, 243-244, 247 (Bankr. S.D.N.Y. 2017) (holding
                                                                  is Plane 6, directing “all payments” to UL's HSBC account in
that the transfers were domestic even though the parties
                                                                  Hong Kong with an account ending in “0002”), Ex. D § 3.26
were all from Bahrain, and rejecting the argument that the
                                                                  (same regarding a Bombardier Global 6000 with MSN 9606,
parties’ nationality should be considered); see also In re
                                                                  which is Plane 7).
FAH Liquidating Corp., 572 B.R. 117,124 (Bankr. D. Del.
                                       Date of Transfer                                            Amount of Transfer

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                                                  1/28/16                                                 $2,006,779.66

                                                  2/29/16                                                 $1,996,610.16

                                                  3/31/16                                                 $1,986,440.68

                                                  4/29/16                                                 $1,976,271.18

                                                    6/2/16                                                $1,996,101.70

                                                    7/7/16                                                $1,955,932.20

                                                  TOTAL                                                 $11,918,135.58


The Trustee seeks recovery of the value of these transfers                        I. The $55 Million Transfer
from UL as the “initial transferee,” and one-half of the
transfers from GA, the entity for whose benefit half of the       The $55 Million Transfer was part of the Minsheng
transfers were made. Complaint ¶ 176-177.                         Refinancing, which the Complaint describes as follows. In
                                                                  June 2016, Cassidy approached Li Qi about “Minsheng”
The six transfers at issue in Count I were foreign because they   refinancing Zetta Singapore's purchase of Planes 6 and
were sent from Zetta Singapore's Singapore account to UL's        7. Complaint ¶ 98. Cassidy proposed using the refinance
                                                                  proceeds from “Minsheng” to pay off the amount due and
Hong Kong account. 29
                                                                  owing on Plane 7, while leaving in place the obligations
                                                                  regarding Plane 6, with the remainder of the proceeds to
29      UL/GA/TG cite Minasyan v. Allen L. Adkins &               be disbursed to Zetta Singapore and Minsheng Business.
        Assocs., PC, 2012 WL 3848648, at *1 (C.D. Cal.            Complaint ¶ 99. The first step of the Minsheng Refinancing
        Sept. 5, 2012), in support of their argument that the     was an adjustment of the purchase prices of Planes 6 and
        Trustee's failure to allege a U.S.-based connection       7, where the new purchase prices were more than the
        regarding the initial Planes 6 and 7 leases, the          principal due on the aircraft. Complaint ¶¶ 104-05. The
        Clarification, or the “Third Loan,” means that            second step involved entering into new purchase agreements
        the Court may grant their Motion regarding these          with “Minsheng” and Yuntian 3 with Minsheng buying each
        transfers based on the Trustee's failure to oppose.       plane under a disguised financing structure. Complaint ¶ 106.
        Reply at 22. Although that is true, even if it            From the proceeds at closing, $55 million went to UL to pay
        were not, the Court finds that these were solely          off Plane 7, $12.4 million went to “Minsheng” to pay fees and
        foreign transactions for the reasons stated in this       down payments and deposits for four Bombardier Challenger
        memorandum.                                               aircraft, and an additional amount went to Zetta Singapore.
                                                                  Complaint ¶ 106. The Complaint alleges that the Debtors
                                                                  would repay the total amount “Minsheng” paid to refinance
     B. Count II – Avoidance and Recovery of Fraudulent
                                                                  the planes by making debt service payments disguised as
       Transfers (Plane 6 and Plane 7), under 11 U.S.C.
                                                                  “rent” payments under disguised finance leases entered into
       §§ 548 and 550, against Li Qi, UL, GA, Yuntian
                                                                  with “Minsheng's” affiliate, Yuntian 3. Complaint ¶ 107. On
        3, Minsheng Financial, and Minsheng Business
                                                                  9/20/16, Yuntian 3, by and through its trustee, Wells Fargo,
The Trustee seeks to avoid the following transfers from           entered into new purchase agreements for Planes 6 and 7.
Zetta Singapore to UL: 1) the $55 Million Transfer; and           Complaint ¶ 108. The final step of the Minsheng Refinancing
2) $10,148,723 of “Plane 6 Loan Transfers.” Complaint ¶¶          was the closing on 9/21/16. Complaint ¶ 111.
190-92; Sch. A.
                                                                  *25 The $55 Million Transfer was sent on 9/19/16 from
                                                                  Minsheng Business's Hong Kong account, through an IATS
                                                                  New York escrow account, to UL's Hong Kong HSBC


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                                                                 IATS did not have dominion over the $55 Million Transfer.
account. Complaint ¶ 106; Condon 12/20/19 Decl. ¶¶ 7-8,
                                                                 In re Incomnet, Inc., 463 F.3d 1064, 1070-71 (9th Cir. 2006)
Ex. E at Sch. 2 (showing “Payment Instructions” from Wells
                                                                 (stating that the Ninth Circuit has adopted the “dominion” test
Fargo as Trustee for Yuntian 3 directing IATS to transfer
                                                                 for whether a party is an “initial transferee” for purposes of
$27,500,000 to UL's HSBC account in Hong Kong with
                                                                 §§ 547 and 550, and under the dominion test, a transferee is
an account number ending in “-0002,” regarding Plane 6),
                                                                 one who has “dominion over the money or other asset, the
Ex. F at Sch. 2 (same regarding Plane 7); Torborg 12/9/19
                                                                 right to put the money to one's own purposes”). Finally, the
Decl. ¶¶ 16-17, 20-21 Ex. L (showing Minsheng Business's
                                                                 fact that the transfers were routed through an HSBC account
account was with China Minsheng Bank in Hong Kong, with
                                                                 in New York, Condon 12/20/19 Decl. ¶¶ 7-8, Ex. E at Sch. 2,
an account number ending in 2-214, and providing 9/19/16
                                                                 Ex. F at Sch. 2, does not affect the analysis because, as stated
“Payment Instructions” for Plane 7 directing $27,500,000 of
                                                                 above, the funds were transferred by Minsheng Business
$40,000,000 to be transferred to UL's account with HSBC in
                                                                 from its Hong Kong bank account for credit to UL's HSBC
Hong Kong with account number ending in -0002), Ex. M
                                                                 account in Hong Kong. See Maxwell I, 186 B.R. 807, 817 n.5
(same regarding Plane 6), Ex. P (showing that on 9/19/16,
                                                                 (S.D.N.Y. 1995) (holding that a transfer was foreign where
Minsheng Business transferred $40,000,000 to IATS's Bank
of America account in New York regarding Plane 7), Ex. Q         the transfer was made from an MCC Natwest account in
                                                                 London to Barclays's branch in New York, through which
(same regarding Plane 6).
                                                                 all payments made to Barclays in dollars were routed, and
Although the Trustee argues that the $55 Million Transfer was    the funds were then immediately credited to the outstanding
domestic because the parties “agreed to use a domestic escrow    balance on MCC's London overdraft account with Barclays
agent and its domestic account to complete the transfers,”       (emphasis added)).
Opposition at 31 (citing In re Arcapita Bank B.S.C., 575 B.R.
229, 233-34 (Bankr. S.D.N.Y. 2017), the Court disagrees.
Arcapita is distinguishable because the transferor in that                         II. Plane 6 Loan Transfers
case sent money from its own account in New York to
correspondent accounts in New York maintained by the             The Trustee alleges that after the Minsheng Refinancing,
transferees (or the transferees’ banks). In re Arcapita Bank     Plane 7 was paid off and GA received nothing at the closing.
B.S.C., 575 B.R. 229, 233-34 (Bankr. S.D.N.Y. 2017). In          Complaint ¶ 149. Instead, Li Qi and Cassidy agreed to leave
contrast, as discussed above, the $55 Million Transfer was       the amount owing on Plane 6 on Zetta Singapore's books, and
sent by Minsheng Business from its Hong Kong account             under a “Clarification,” Zetta Singapore was required to repay
through IATS's intermediary account in New York to UL's          the amount of principal allegedly due on Plane 6 to GA as an
Hong Kong account two days later. Complaint ¶ 231; Torborg       unsecured loan. Id. At issue are the following 13 payments
12/9/19 Decl. ¶¶ 20-21 Exs. P, Q. UL/GA/TG also provide          on the Plane 6 Loan, which Zetta Singapore made from its
authority that a party must have “dominion” over money to        Singapore account, to UL's Hong Kong account, rather than
be a transferee for purposes of § 550, and as an escrow agent,   to GA:
                                   Date of Transfer                                               Amount of Transfer

                                                  8/1/16                                                      $780,671.00

                                                8/30/16                                                       $780,671.00

                                                10/3/16                                                       $780,671.00

                                               10/31/16                                                       $780,671.00

                                               11/30/16                                                       $780,671.00

                                                  1/6/17                                                      $780,671.00

                                                  2/2/17                                                      $780,671.00

                                                  3/7/17                                                      $780,671.00


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                                                  4/11/17                                                     $780,671.00

                                                    5/2/17                                                    $780,671.00

                                                    6/2/17                                                    $780,671.00

                                                    7/3/17                                                    $780,671.00

                                                  7/31/17                                                     $780,671.00

                                                  TOTAL                                                     10,148,723.00

 *26 Complaint ¶¶ 150, 192; Sch. A; see also Complaint ¶ 85
(indicating that Zetta Singapore's account was in Singapore);       D. Count V – In the Alternative, Avoidance and Recovery
Condon 12/20/19 Decl. ¶ 7, Ex. E at Sch. 2 (showing                    of Preference Transfer ($55 Million Transfer), under
“Payment Instructions” for IATS to transfer funds to UL's                11 U.S.C. §§ 547 and 550, against Li Qi and UL
HSBC account in Hong Kong, with account number ending
in -0002, and to Zetta Singapore's HSBC Singapore account,         Count V is an alternative to Count II, and as discussed above,
with account number ending in 181). There are no allegations       the $55 Million Transfer from Minsheng Business's Hong
that these 13 payments had any U.S. nexus.                         Kong account, through IATS's New York escrow account,
                                                                   to UL's Hong Kong HSBC account, at issue in Count II, is
                                                                   foreign.

 C. Count IV – In the Alternative, Avoidance and Recovery
  of Preference Transfers (Plane 6 Loan Transfers), under
   11 U.S.C. §§ 547 and 550, against Li Qi, UL, and GA               E. Count VIII – Avoidance and Recovery of Preference
                                                                         Transfers (Interest Payment Transfers), under
Like § 548, § 547 allows a trustee to “avoid any transfer ...           11 U.S.C. §§ 547 and 550, against UL and Li Qi
of an interest of the debtor in property” in certain situations,
and § 550(a) states that the trustee may recover the property      In or around February 2016, Li Qi made the $10 million First
transferred to the extent a transfer is avoided under § 547.       Loan to Zetta Singapore through UL, and on 7/19/16, Li Qi
                                                                   made the $10 million Second Loan to Zetta Singapore through
Count IV is brought in the alternative to Count II, Complaint      UL. Complaint ¶¶ 91, 117-118.
¶ 211, and for the reasons stated above, the “Plane 6 Loan
Transfers” from Zetta Singapore's account in Singapore to          In Count VIII, the Trustee seeks to avoid and recover the
UL's account in Hong Kong at issue in Count II are foreign.        following twelve interest payments, totaling $2.3 million,
                                                                   which Zetta Singapore paid to UL on the First Loan and
                                                                   Second Loan:
                                    Date of Transfer                                               Amount of Transfer

                                                  9/19/16                                                       $83,333.00

                                                10/14/16                                                      $583,333.00

                                                11/15/16                                                        $83,333.00

                                                12/28/16                                                        $83,333.00

                                                  1/19/17                                                       $83,333.00

                                                  2/17/17                                                     $583,333.00



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                                                  3/16/17                                                       $83,333.00

                                                  4/20/17                                                       $83,333.00

                                                  5/19/17                                                     $166,666.00

                                                  6/16/17                                                     $166,666.00

                                                  7/17/17                                                     $166,666.00

                                                  8/15/17                                                     $166,666.00

                                                  TOTAL                                                     $2,333,328.00

                                                                   (2014) (“It is hornbook law that § 105(a) does not allow
Complaint ¶ 259, Sch. D. As stated above, Zetta Singapore's
                                                                   the bankruptcy court to override explicit mandates of other
account was with HSBC in Singapore and UL's account was
                                                                   sections of the Bankruptcy Code.” (internal quotation marks
with HSBC in Hong Kong, and as UL/GA/TG highlight, there
                                                                   omitted)); Jamo v. Katahdin Fed. Credit Union (In re Jamo),
are no facts alleged to show that the transfers ever entered the
                                                                   283 F.3d 392, 403 (1st Cir. 2002) (indicating that § 105(a)
United States. Motion at 23.
                                                                   “does not provide bankruptcy courts with a roving writ,
                                                                   much less a free hand” and it may be invoked only if an
                                                                   equitable remedy “is necessary to preserve an identifiable
F. Count XIII, Recharacterization of the “Third Investment”        right conferred elsewhere in the Bankruptcy Code”) (citing
  as Equity Interest, under 11 U.S.C. § 105(a), against UL         Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 969
                                                                   (1988)); see also In re Dairy Mart Convenience Stores,
According to the Complaint on 6/27/17, Li Qi made an equity
                                                                   Inc., 351 F.3d 86, 92 (2d Cir. 2003) (stating that § 105(a)
investment in Zetta Singapore, which UL disguised as a
                                                                   provides bankruptcy courts with the power to exercise equity
loan (6/27/17 Transfer). Complaint ¶¶ 308-09. The Complaint
                                                                   in carrying out provisions of the Bankruptcy Code, rather than
alleges that in exchange for $15 million from UL, Matthew
                                                                   to further the purposes of the Code generally, or otherwise
Walter 30 and James Seagrim 31 agreed to transfer 20% of           to do the right thing, and an exercise of § 105 power must
Zetta Singapore's outstanding shares to TG, which the Trustee      be tied to another Bankruptcy Code section and not merely
alleges was controlled and owned by Li Qi. Complaint ¶             to a general bankruptcy concept or objective (emphasis in
311. And, on 8/14/17, a “Confirmatory Deed of Loan” was            original)).
executed regarding the 6/27/17 Transfer. Complaint ¶ 311.
The Complaint seeks to recharacterize UL's claim against           The $15 million was sent by UL from its account in Hong
Zetta Singapore as equity under 11 U.S.C. § 105. Complaint         Kong to Zetta Singapore's account in Singapore, and in
¶ 312.                                                             exchange, TG received shares of stock in Zetta Singapore.
                                                                   Complaint ¶ 309 (alleging that the 6/27/17 Transfer was
30                                                                 made by UL in name and was an equity investment in Zetta
        Matthew Walter was the Debtors’ Director of Sales
        and a Director of both Zetta Singapore and Zetta           Singapore by Li Qi); see also Complaint ¶ 85 (indicating
        USA. Complaint ¶ 19.                                       that Zetta Singapore's account was in Singapore); Condon
                                                                   12/20/19 Decl. ¶ 7, Ex. E at Sch. 2 (showing that UL's HSBC
31      James Seagrim was the Debtors’ Director of                 account, with account number -0002, was in Hong Kong,
        Operations and a Director of both Zetta USA and            and Zetta Singapore's HSBC account, with account number
        Zetta Singapore. Complaint ¶ 18.                           181, was in Singapore). As UL/GA/TG highlight, there is no
 *27 Section 105 permits a bankruptcy court to “issue any          allegation of any U.S. involvement with the 6/27/17 Transfer.
order, process or judgment that is necessary or appropriate        Motion at 24. 32
to carry out the provisions of [the Bankruptcy Code].” 11
U.S.C. § 105(a); U.S. Energy Resources Co., Inc., 495 U.S.         32     Although the Trustee mentions that the Debtors’
545 (1990). The power granted to bankruptcy courts under
                                                                          initial purchase of Plane 6 was made using
§ 105 is not limitless. See Law v. Siegel, 571 U.S. 415, 421


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       Bombardier's U.S. bank account, the Trustee does           S.D.N.Y. 2018) (providing that the “focus” of the avoidance
       not seek to avoid this transfer and the use of             and recovery provisions is “the initial transfer that depletes
       Bombardier's U.S.-based account is irrelevant.             the property that would have become property of the estate”).
       Opposition at 21 (citing Complaint ¶ 85).


                                                                            v. Maintenance of Aircraft at a U.S. Base
                      iii. Choice of Law
                                                                   *28 The Trustee contends that there is a strong U.S. nexus
UL/GA/TG highlight that the agreements regarding: 1) the
                                                                  here because under the Planes 6 and 7 ALAs, the planes
$55 Million Transfer at issue in Counts II and V; and 2)
                                                                  had to be maintained at a U.S. base. Opposition at 22,
the 6/27/17 Transfer from UL to Zetta Singapore, at issue
                                                                  29 (citing Lyons 1/31/20 Decl. ¶¶ 9-11, Exs. C, D). The
in Count XIII, had choice-of-law provisions requiring the
                                                                  Trustee highlights that the Planes 6 and 7 ALAs provided
application of English law and Hong Kong law, respectively.
                                                                  that the lessee, TVPX as trustee for Zetta BVI Subsidiaries,
Condon 12/20/19 Decl. ¶¶ 7-9, Ex. E § 11.3(a) (“Sale and
                                                                  “shall ‘ensure that operational control over the Aircraft is
Leaseback Purchase Agreement” for Plane 6, at issue in
                                                                  maintained in the Aircraft Base,’ which is ‘the principal place
Counts II, IV, and V, indicated that it was “governed by and
                                                                  of business of the Operator in the United States of America.’
shall be construed in accordance with English law”), Ex. F §
                                                                  ” Opposition at 22 n.10 (quoting Lyons 1/31/20 Decl. ¶¶ 9-11,
11.3(a) (same regarding Plane 7), Ex. G § 16 (“Confirmatory
                                                                  Exs. C, D); see also Complaint ¶ 112 (indicating that TVPX
Deed of Loan” between Zetta Singapore and UL regarding
                                                                  acted as trustee for Zetta Jet Global 6000-3 Limited (Zetta
the 6/27/17 Transfer at issue in Count XIII, indicated that it
                                                                  Jet 6000-3) and Zetta Jet Global 6000-2 Limited (Zetta Jet
would be “governed by and construed in accordance with the
                                                                  6000-2) in the transactions for Planes 6 and 7, respectively).
laws of Hong Kong”).
                                                                  These facts, however, are irrelevant to the analysis because
                                                                  they do not address the transfers themselves but instead
The cases that have addressed this issue have not agreed
                                                                  involve other contract provisions or requirements. See RJR
on the relevance of choice of law provisions. Compare In
                                                                  Nabisco, Inc. v. European Community, 136 S.Ct. 2090, 2101
re Arcapita Bank B.S.C., 575 B.R. 229 (Bankr. S.D.N.Y.
                                                                  (2016); In re CIL Ltd., 582 B.R. 46, 93 (Bankr. S.D.N.Y.
2017) (ignoring the parties’ Bahrain choice of law clause
                                                                  2018).
and finding that transfers were domestic); with In re
FAH Liquidating Corp., 572 B.R. 117, 124-25 (Bankr. D.
Del. 2017) (finding that the transactions were German in
part because the agreements had provisions mandating the                         vi. The Closings, Subleases to
application of German law and the forum for disputes as                         Zetta USA, and Nominal Trustees
Munich).
                                                                  The Trustee claims that the aircraft were financed through
                                                                  closings in the United States but the exhibits he cites merely
                                                                  indicate that Wells Fargo, “not in its individual capacity but
        iv. FAA Registration and Part 135 Certificate             solely as owner trustee under” trust agreements with UL
                                                                  (Torborg 12/9/19 Decl. ¶ 14 Ex. J) and GA (Torborg 12/9/19
Regarding the Trustee's position that the transactions were
                                                                  Decl. ¶ 15 Ex. K), bought two Bombardier aircraft as trustee
domestic because the 9/20/16 Aircraft Lease Agreements for
                                                                  for Yuntian 3: Plane 6 (Torborg 12/9/19 Decl. ¶ 14 Ex. J),
Planes 6 and 7 (Planes 6 and 7 ALAs) required the planes to
                                                                  and Plane 7 (Torborg 12/9/19 Decl. ¶ 15 Ex. K). Opposition
be FAA registered and operated under Zetta USA's Part 135
                                                                  at 21-22, 29 (citing Torborg 12/9/19 Decl. ¶¶ 14-15, 20-21,
Certificate, and without FAA registration and Zetta USA's
                                                                  Exs. J, K, P, Q). None of the exhibits specify that a closing
Part 135 Certificate the planes would have “no commercial
                                                                  occurred (or was to occur) in the U.S. Even if they did,
value,” Opposition at 21, 29 (emphasis in original), the focus
                                                                  however, it would not make a difference because the focus of
of the Bankruptcy Code's avoidance and recovery provisions
                                                                  the Bankruptcy Code's avoidance and recovery provisions is
is the transfers, not other conditions in the lease agreements.
                                                                  the initial fraudulent transfer of property. Similarly, although
See RJR Nabisco, Inc. v. European Community, 136 S.Ct.
                                                                  the Trustee contends that the aircraft had to be subleased to
2090, 2101 (2016) (directing courts to look to the “focus”
                                                                  Zetta USA to operate, that fact does not concern the actual
of a statute to determine whether a case involves a domestic
                                                                  transfers he seeks to avoid and recover. Id. at 29.
application of it); In re CIL Ltd., 582 B.R. 46, 93 (Bankr.


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                                                                    Lyondell Chem. Co., 543 B.R. 127, 150-51 & n.91 (S.D.N.Y.
The Trustee highlights the parties’ use of U.S. corporate           2016) (acknowledging that the managers of BI S.à.r.l. and
trustees to hold legal title to the planes and act as nominal       Basell GP were probably in New York when they approved
owners, lessors, and lessees and argues that the use of the         the shareholder distributions at issue, but indicating that under
“nominal” trustees was critical for the planes to be registered     Morrison, the court must target its inquiry on the “focus”
with the FAA. Opposition at 21, 29, 30 (citing Complaint            of congressional concern, and the connection to the United
¶¶ 49-50, 108, 124). The Complaint alleges that: 1) Wells           States was not sufficiently strong for the transfer to be
Fargo has its principal place of business in Utah and, in its       considered domestic); In re Sherwood Invs. Overseas Ltd.,
capacity as trustee, is a party to trust agreements with Yuntian    Inc., 2016 WL 5719450, at *11 (M.D. Fla. Sept. 30, 2016)
3 where it acted as the owner trustee of Planes 6 and 7; 2)         (finding that the debtor-in-possession failed to overcome the
Wells Fargo, in its capacity as trustee, is also party to various   presumption against extraterritoriality where its dealings with
trust agreements with UL and GA, where it acted as the trustee      RBS had, at most, a “tangential connection” with the United
in the sale of Planes 6 and 7; and 3) TVPX is a Wyoming             States, even though the debtor-in-possession's principal and
corporation that, as trustee, acted as the registered owner         his normal RBS trader had “several conversations” in New
of Planes 6 and 7 for two “Zetta BVI Subsidiaries” in the           York).
transactions for those aircraft. Complaint ¶¶ 49, 50, 112, 124.

As explained above, however, the focus of the Bankruptcy
                                                                                   vii. Denomination of Payments
Code's avoidance and recovery provisions is the transfers, not
FAA registration, and the Complaint stresses that the use of        The Trustee claims that because all rent payments had to be
Wells Fargo and TVPX as nominal trustees related to FAA             made in U.S. dollars, any transfers had to be made either
registration. Complaint ¶ 49 (alleging that Wells Fargo acted       directly from U.S. banks or through U.S. correspondent
as the owner-trustee of Planes 6 and 7), ¶ 50 (indicating           banks, but he does not cite any allegations in the Complaint
that TVPX acted as the registered owner of Planes 6 and             to support this argument. Opposition at 30. Even assuming
7, and in the aviation industry, it is commonplace for non-         this were true, the denomination of payments generally has
citizen U.S. corporate trusts to be formed as an option for         no bearing on whether transactions are foreign or domestic.
the registration of aircraft in the United States with the FAA      See Banco Safra S.A. – Cayman Islands Branch v. Samarco
(emphasis added)), ¶ 108 (Yuntian 3, by and through Wells           Mineração S.A., 2019 WL 2514056, at *5 (S.D.N.Y. June 18,
Fargo, entered into purchase agreements for Planes 6 and 7          2019) (holding, in an action for violation of Sections 10(b)
with UL and TVPX as trustee for Zetta BVI subsidiaries,             and 20(a) of the Securities Exchange Act of 1934 and Rule
and Wells Fargo and TVPX acted on behalf of Yuntian 3               10b-5, consummating transactions for Brazilian bonds with
and the Zetta BVI Subsidiaries “solely as trustees”); see also      U.S. dollars was insufficient to plead a domestic transaction
Condon 12/20/19 Decl. ¶¶ 3, 5, Ex. A at Title Page (indicating      because the currency used does not necessarily have any
that Wells Fargo was involved in the Plane 6 MAFL “not in           bearing on whether a purchase or sale is domestic, and
its individual capacity but solely as owner trustee, except as      U.S. dollars can be used anywhere); see also In re Maxwell
otherwise expressly provided herein”), Ex. C at Title Page          Communication Corp. plc, 186 B.R. 807, 817-18 (S.D.N.Y.
(same regarding the Plane 7 MAFL).                                  1995) (concluding that the transfers were foreign despite the
                                                                    payment in U.S. dollars).
 *29 Using American professionals in a transaction is not
enough to make the transaction domestic. CIL Ltd., 582              For the reasons stated above, all transfers at issue in Counts
B.R. at 96 (stating that CIL retained professionals outside         I, II, IV, V, VIII, and XIII regarding UL/GA/TG are foreign.
the United States, but even if the relevant transfer had been
negotiated and documented by professionals in the United
States, it would not have been enough to make the transfer
                                                                                          4. Proofs of Claim
a domestic transaction); Ampal, 562 B.R. at 613-14 (holding
that where legal services had some U.S. connections—a               UL/GA/TG argue that a statute applies extraterritorially only
company's stock was traded on the NASDAQ, and an attorney           if Congress has clearly expressed its intent “to give a statute
performed legal work regarding SEC and NASDAQ filings               extraterritorial effect.” Motion at 22 (citing Morrison, 561
—it did not result in the transactions being domestic); In re       U.S. at 255). They argue that §§ 547, 548, and 550 cannot be



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expanded beyond what Congress intended by litigants filing        violating a court order; and 2) sanctions imposed against
proofs of claims. Id.                                             a party in U.S. litigation is not extraterritorial application
                                                                  of the Code. Id. They argue that here the issue is whether
The Trustee responds that the Defendants’ “deliberate and         the Court has the power to create “judge-made” waiver
voluntary decision” to file proofs of claims waives the           exceptions to “overcome the presumption that Congress did
presumption against extraterritoriality. Opposition at 26. He     not intend to regulate pre-bankruptcy financial transactions
contends that the law in this Circuit is clear, when a creditor   between businesses outside the United States.” Id. at 19.
files a proof of claim, “it forfeits any right to challenge the   They assert that under Morrison, “judge-made” exceptions
extraterritorial application of this Court's equitable power to   to extraterritoriality, regardless of whether they are labeled
adjudicate the debtors’ claims under the Bankruptcy Code.”        “waiver” or otherwise, are prohibited. Id. UL/GA/TG contend
Id. (emphasis in original) (quoting In re Simon, 153 F.3d at      that the Trustee's expansive reading of Simon—to create
997; citing Diaz-Barba v. Kismet Acquisition, LLC, 2010 WL        a blanket exception covering claims arising under any
2079738, at *7 (S.D. Cal. May 20, 2010); In re Interbulk,         Bankruptcy Code provision—is absurd. Id. Finally, they
Ltd., 240 B.R. 195, 199 (Bankr. S.D.N.Y. 1999)). The Trustee      argue that Simon predated Morrison, and where intervening
contends that because the Defendants filed proofs of claims       Supreme Court authority is clearly irreconcilable with earlier
totaling $286,696,238.84, they forfeited any challenges to the    Ninth Circuit authority, courts should consider themselves
Court's power to apply the Bankruptcy Code extraterritorially.    bound by the intervening higher authority. Id. (citing Miller
Id. at 26-27. According to the Trustee, Simon is “in line” with   v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003)).
Supreme Court precedent addressing a bankruptcy court's
equitable power to “adjudicate avoidance claims as part of the    In Simon, Hong Kong and Shanghai Banking Corporation
claims adjustment process.” Id. at 27 (citing Langenkamp v.       Ltd. (HSBC), which is incorporated in Hong Kong, has
Culp, 498 U.S. 42, 44 (1990); Katchen v. Landy, 382 U.S.          offices in the United States, and frequently does business
323, 333 (1996); Stern v. Marshall, 564 U.S. 462 (2011)).         here, lent $24 million to Odyssey International Holdings,
                                                                  Ltd. (Odyssey), which was incorporated in the British Virgin
 *30 The Trustee discounts the argument that Simon was            Islands and had offices in Hong Kong. Hong Kong and
wrongfully decided on “jurisdictional grounds” because a          Shanghai Banking Corp., Ltd. v. Simon (In re Simon), 153
bankruptcy court cannot overrule binding precedent based on       F.3d 991, 994 (9th Cir. 1998). William Neil Simon (Simon),
an argument that the precedent is wrong. Id. (citing Hart v.      Odyssey's major shareholder who lived in Hong Kong,
Massanari, 266 F.3d 1155, 1170 (9th Cir. 2001)). He asserts       guaranteed the loan. Id. Shortly thereafter, and facing $200
that the quote from Morrison that the Defendants highlight        million in debt, Simon traveled to the United States and filed
was not the Supreme Court's statement or holding, but rather      a personal chapter 7 bankruptcy case. Id. Simon listed the
the foreign defendant's assertion. Id. The Trustee contends       guarantee in his schedules and HSBC filed a $37 million proof
that In re Ampal-Am. Israel Corp., 562 B.R. 601 (S.D.N.Y.         of claim for its share in a $200 million syndicated bank loan.
2017), is inapposite because it is based on Maxwell II, 93 F.3d   Id. It did not file a proof of claim for Simon's guarantee of
1036 (2d Cir. 1996), which expressly declined to address the      the loan nor did it object to Simon's discharge. Id. Simon
presumption against extraterritoriality. Id. at 27-28 & n.14.     received a discharge, which prohibited creditors whose debts
                                                                  were discharged from “instituting or continuing any action
UL/GA/TG contend that only Congress, and not a party,             or employing any process or engaging in any act to collect”
may waive the presumption against extraterritoriality. Reply      debts as personal liabilities of Simon. Id. A week later, HSBC
at 18. They assert that the Trustee cites no Code section         filed an adversary proceeding, seeking declaratory judgment
suggesting that Congress intended avoidance statutes to           that: 1) the discharge did not enjoin HSBC from enforcing
extend extraterritorially if a defendant files a proof of         the guarantee in Hong Kong; 2) the discharge be modified
claim or that filing a claim waives the presumption against       to permit prosecution of the guarantee in Hong Kong; and
extraterritoriality. Id. They highlight that § 501, which         3) if HSBC chose to commence collection proceedings in
governs filing proofs of claims, does not hint that Congress      Hong Kong, it would not be subject to sanctions in the
intended to rebut the presumption. Id. They argue that            United States. Id. at 994-95. The bankruptcy court granted
Simon does not support the Trustee's position because it          Simon's 12(b)(6) motion to dismiss. Id. at 995. The district
held that: 1) a party invoking U.S. court jurisdiction forfeits   court affirmed, concluding that: 1) the Bankruptcy Code
an objection to the court's power to impose sanctions for         conferred in rem jurisdiction over all property of the estate,



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wherever located and enjoining actions to preserve the
court's in rem jurisdiction would not be an extraterritorial
application of the court's equitable powers; and 2) because                      When a creditor submits to bankruptcy
HSBC had “submitted to the jurisdiction of the bankruptcy                        court jurisdiction by filing a proof of
court by participating in the bankruptcy,” the court did not                     claim ... to collect all or a portion
act extraterritorially by issuing the discharge injunction. Id.                  of a debt, it assumes certain risks. ...
HSBC appealed, primarily arguing that the § 524 discharge                        By acceding to bankruptcy court
injunction constituted an improper extraterritorial application                  jurisdiction so that it might recover
of a statute. Id.                                                                a portion of the money it was owed
                                                                                 [HSBC] forfeited any right it had to
 *31 The Ninth Circuit began its analysis by noting that                         claim that the court lacked the power
Congress has the authority to enforce its laws beyond the                        to enjoin [it] from commencing a
United States’ borders and whether Congress has done so                          postbankruptcy collection proceeding
is a question of statutory construction. Id. According to                        against the debtor. Clearly, [HSBC]’s
the Ninth Circuit, “Congress clearly intended extraterritorial                   participation in the bankruptcy
application of the Bankruptcy Code” because filing a petition                    subjected it to the court's discharge
creates an estate and § 541(a) provides that a bankruptcy                        order pursuant to 11 U.S.C. § 524.
estate is comprised of a debtor's legal and equitable property                   A sanction for violating that order
“wherever located and by whomever held.” Id. at 996.                             is not an improper extraterritorial
The Ninth Circuit noted that the district court in which a                       application of United States laws.
bankruptcy case is filed has exclusive in rem jurisdiction over
all estate property. Id.
                                                                   Id. at 997.
It held that a bankruptcy court may exercise its in rem
jurisdiction to protect estate property wherever the property is   The Ninth Circuit's conclusion in Simon, is instructive
located when issuing a discharge injunction under § 524 and        regarding the current dispute: § 541 includes all of a debtor's
the district court properly determined that Simon's discharge      property regardless of location, a district court has exclusive
enjoined HSBC from beginning collection against any estate         in rem jurisdiction over all property of a bankruptcy estate,
property regardless of location. Id.                               and a bankruptcy court may exercise its in rem jurisdiction to
                                                                   protect estate property in issuing a discharge injunction under
The Ninth Circuit noted that the more difficult question was       § 524. Id. at 996. And, the discharge injunction was correctly
whether a bankruptcy court could enjoin a foreign collection       applied to HSBC because its participation in the bankruptcy
action against a debtor personally or regarding assets that        subjected it to the otherwise valid orders of the bankruptcy
were not part of the estate property, if the creditor was          court. Id. at 999.
not a party to the United States bankruptcy proceeding. Id.
at 996-97. According to the Ninth Circuit, it did not need         Contrary to the Trustee's urging, Simon does not mandate
to address that issue because HSBC “fully participated in          that the Court find that UL's and GA's filing proofs of
the Simon bankruptcy”, thus surrendering to United States          claims waived the presumption against extraterritoriality for
jurisdiction. Id. at 997. The Circuit noted that “allowing a       numerous reasons. Simon addressed the reach of § 541,
participating creditor to disregard bankruptcy court orders        which governs estate property “wherever located”, and the
would have ‘substantial effects within the United States,’ ”       § 524 discharge injunction. The Ninth Circuit indicated that
and it found that the presumption against extraterritoriality      “Congress intended the extraterritorial application of the
was inapplicable. Id.                                              Bankruptcy Code as it applies to property of the estate” and
                                                                   it was dealing with a domestic application of the Bankruptcy
HSBC argued that the fact that it filed a proof of claim           Code because district courts have in rem jurisdiction over all
was irrelevant, because it was unrelated to Simon's personal       estate property. Simon, 153 F.3d at 996. In contrast, none
guarantee of the loan to Odyssey. Id. The Ninth Circuit            of the statutes at issue, §§ 547, 548, or 550, contain such
disagreed, noting that:                                            expansive language as § 524. And, as analyzed above, the
                                                                   conduct at issue in the Complaint did not occur domestically



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and none of the statutes at issue apply to the extraterritorial     through his company, Asia Aviation Holdings Pte. Ltd. (Asia
conduct alleged in the Complaint. To the extent that Simon          Aviation), in the High Court of the Republic of Singapore
held that creditors, who file proofs of claims submit to            (Singapore Action), violated any of § 362(a)’s subsections
the “jurisdiction” of the bankruptcy court, id. at 997, that        because:
holding is contrary to Morrison, which unequivocally stated
that determining the extraterritorial reach of a statute is a         1) The Trustee does not allege the Singapore Action could
merits question rather than a jurisdictional one. Morrison,              have been commenced before the Petition Date or the
561 U.S. at 254. Further, only Congress, and not litigants,              Singapore Action was commenced to recover a claim
can determine the breadth of a statute. If the Court were                against Zetta Singapore in violation of § 362(a)(1); and
to accept the Trustee's position, it would effectively expand
                                                                      2) There are no allegations that the Singapore Action
the reach of §§ 547, 548 and 550, beyond what those
                                                                        sought to obtain or exercise control over Zetta
statutes provide, which Morrison indicated, courts should
                                                                        Singapore's property, or it had any effect on Zetta
not do. Morrison, 561 U.S. at 255 (indicating that a statute
                                                                        Singapore, in violation of § 362(a)(3). And, the
applies extraterritorially only if “the affirmative intention
                                                                        Complaint alleges that the injunction (Injunction) issued
of the Congress [is] clearly expressed to give a statute
                                                                        by the Republic of Singapore's High Court only had a
extraterritorial effect” (internal quotations omitted)).
                                                                         temporary impact on certain actions by the Trustee. 34
 *32 Because Simon is unpersuasive, so, too, is Diaz-Barba v.
                                                                    Motion at 45-46 & n.28 (citing Complaint ¶¶ 164, 316).
Kismet Acquisition, LLC, 2010 WL 2079738 (S.D. Cal. May
20, 2010), which, in dicta, cited Simon for the proposition
                                                                    34
that “when a party affirmatively invokes the jurisdiction of the           UL/GA/TG also argue that the Complaint does not
bankruptcy court, the presumption against extraterritoriality              allege that the Singapore Action sought to enforce
does not apply to that party,” and In re Interbulk, Ltd., 240              a prepetition judgment in violation of § 362(a)
B.R. 195 (Bankr. S.D.N.Y. 1999), is distinguishable because                (2); and there are no allegations that: a) any lien
the transactions at issue were domestic.                                   was created, perfected, or enforced against property
                                                                           of the Debtors or in furtherance of a prepetition
Finally, the Trustee's citation to Stern v. Marshall, 564 U.S.             claim in violation of §§ 362(a)(4) & (a)(5); b) TG
462, 498 (2011), Katchen v. Landy, 382 U.S. 323 (1996),                    was seeking to collect, assess, or recover a claim
and Langenkamp v. Culp, 498 U.S. 42 (1990), is unavailing.                 against the Debtors in violation of § 362(a)(6); c)
None of those cases addressed or involved extraterritorial                 TG sought to set off any debt owing to the Debtors
application of the Bankruptcy Code or provide support for the              in violation of § 362(a)(7); or d) the Singapore
Trustee's position that filing a proof of claim extends a statute          Action related to any proceeding before the U.S.
                                                                           Tax Court in violation of § 362(a)(8).
beyond its bounds. 33
                                                                    The Trustee responds that UL/GA/TG are wrong for three
33                                                                  reasons. Opposition at 58.
        As analyzed above, the Court concludes that
        Counts I, II, IV, V, VIII, and XIII must be
                                                                    First, the Trustee claims that this Court has already found
        dismissed because §§ 547, 548, and 550 do not
                                                                    that the Singapore Action “was obtained in violation of the
        apply extraterritorially, the relevant transactions
                                                                    stay and it is void,” which is the law of the case. Id. (citing
        were foreign, and filing proofs of claims does not
                                                                    Sept. 29, 2017 Hrg. Tr. 44:1-8, Zetta USA Docket #138; In
        waive the presumption against extraterritoriality.
                                                                    re Martinez, 610 B.R. 290, 296 (Bankr. N.D. Cal. 2019)).
        Therefore, the Court need not address the
                                                                    Second, according to the Trustee, § 362(a)(1) applied because
        substantive arguments regarding those counts.
                                                                    the Singapore Action involved not only the bankruptcy
                                                                    proceedings but also the board members’ prepetition conduct,
               d. Count XIV – Violation of the                      that “could have been commenced before the commencement
                Automatic Stay Under § 362                          of” the Debtors’ bankruptcy cases. Id. Finally, the Trustee
                                                                    contends that the Injunction violated § 362(a)(3) because it
UL/GA/TG argue that the Complaint fails to allege how an            prevented the Debtors and the Trustee from acting, including
action filed by Li Qi, through his company, TG, and Cassidy,        collecting the Debtors’ assets, and reduced money available



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for distribution to creditors. Id. (citing In re City of San       misappropriated, and the Trustee spent significant time and
Bernardino, 558 B.R. 321, 327-28 (C.D. Cal. 2016)).                resources vacating the Injunction; 6) the Trustee was required
                                                                   to retain local counsel in the Singapore Action, and although
 *33 UL/GA/TG reply that that Singapore Action did not             on 11/1/17, TG filed a “Notice of Discontinuance,” the
actually enjoin any acts by the Trustee. Reply at 45. They         damage was done because the Injunction had already been
claim that the Trustee was appointed as chapter 11 trustee         entered; 7) Cassidy, through Asia Aviation, maintained the
on 9/29/17, and on the same day, this Court determined             litigation; 8) through Singapore counsel, the Trustee was
that the Singapore Action “doesn't have any language that          required to submit and respond to multiple rounds of legal
appears to impact or address this Court's ability to continue      proceedings, including submitting affidavits, legal briefs,
adjudicating these matters, or any language that indicates that    and “voluminous exhibits,” and participate in numerous
the Singapore court was seeking to impact the Court's ability      status conferences and hearings; 9) the Injunction was not
to rule in these cases.” Id. (citing Condon Supp. Decl. ¶ 2, Ex.   lifted until 7/12/18 when the High Court of the Republic
A; Zetta USA Docket #120).                                         of Singapore discharged it by consent of the parties; 10)
                                                                   the litigation caused substantial delay and expense to Zetta
They argue that the Trustee's conclusory allegation, that          Singapore, and the Trustee expended considerable attorneys’
the Debtors’ estates “expended considerable attorneys’ fees        fees and expenses, to the detriment of Zetta Singapore's estate
and expenses defending [the Singapore Action] action,” is          and creditors; and 11) the Trustee is entitled to compensatory
inconsistent with the Court's determination that the Injunction    damages from TG and Li Qi personally in an amount to be
had no effect on the Debtors. Id. (citing Complaint ¶¶ 165,        proven at trial. Complaint ¶¶ 161-66, 314-17.
316). According to UL/GA/TG, the rest of the Trustee's
allegations are conclusory statements that the Singapore
Action prevented unspecified assets from being collected,
                                                                                  1. The Law of the Case Doctrine
which “Cassidy misappropriated from the Debtors.” Id. They
contend that the Injunction did not prevent the Trustee             *34 “The ‘law of the case’ doctrine provides that a court
from taking action to recover the Dragon Pearl and those           is generally precluded from reconsidering an issue that has
efforts began in U.S. District Court for the Central District      already been decided by the same court, or a higher court in
of California in September 2017, and the Trustee began             the identical case.” In re Martinez, 610 B.R. 290, 296 (Bankr.
proceedings in the Federal Court of Australia in October 2017      N.D. Cal. 2019) (internal quotations omitted). For it to apply,
unimpeded by the Injunction. Id. at 45-46 (citing King v.          the issue in question must have been decided either expressly
New Target Investments, Ltd. et. al., 18-ap-01340-AK Docket        or by necessary implication in a previous disposition. Id. In
#1 ¶¶ 4, 74). UL/GA/TG highlight that after the Injunction         the bankruptcy context, “case” refers to the bankruptcy case
was discharged in July 2018, the Complaint contains no             and all adversary proceedings that arise within it. Id.
allegations of thwarted efforts to recover other assets. Id. at
46.                                                                During the 9/29/17 hearing, the Court considered the
                                                                   “Debtors’ Emergency Motion to Approve Stipulation for
The Complaint alleges: 1) on 9/15/17, the Debtors filed            Appointment of a Chapter 11 Trustee Pursuant to 11 U.S.C. §
their bankruptcy petitions, and the automatic stay went into       1104 [Doc. No. 49],” Zetta USA Docket #51, and stated that:
effect; 2) on 9/18/17, at the direction of Li Qi, TG (and          1) the Injunction “doesn't have any language that appears to
Asia Aviation), filed the Singapore Action against Zetta           impact or address this Court's ability to continue adjudicating
Singapore, Walter and Seagrim, seeking to enjoin Zetta             these matters, or any language that indicates the Singapore
Singapore's bankruptcy case; 3) on 9/20/17, the High Court         court was seeking to impact the Court's ability to rule in these
of the Republic of Singapore issued the Injunction purporting      cases;” and 2) “Even if ... the injunction could be interpreted as
to enjoin Zetta Singapore from “carrying out any further           having been issued to try to impact this Court's ability to rule
steps in and relating to the purported bankruptcy filings;”        in these cases, it would not have that effect,” because “[a]s
4) commencing the Singapore Action, and obtaining the              the Debtors correctly argue, the purported injunction was
Injunction violated the automatic stay; 5) the Injunction          obtained after these cases were filed,” and “it was obtained in
“immediately and significantly” harmed the Debtors and             violation of the stay, and it is void.” Zetta USA Docket #138 at
their estates, because the Debtors and the Trustee were            46-47 (emphasis added). The Trustee quotes a statement made
prevented from taking action to collect assets that Cassidy        by the Court, in dicta, during a hearing on a motion to approve



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a stipulation for the appointment of a chapter 11 trustee, and    of the estate.” Although the automatic stay does not prevent
the issue of whether Li Qi and TG violated the stay has not       a claim from arising postpetition, § 362(a)(3) prevents the
been decided for purposes of the law of the case doctrine. See    enforcement of a postpetition claim against estate property.
In re Martinez, 610 B.R. 290, 296 (Bankr. N.D. Cal. 2019)         Matter of Growth Dev. Corp., 168 B.R. 1009, 1016 (Bankr.
(stating that for the law of the case doctrine to apply, the      N.D. Ga. 1994). “The language of [§ 362(a)(3)] is devoid of
issue in question must have been decided either expressly or      any distinction between prepetition and postpetition claims.
by necessary implication in a previous disposition (emphasis      So long as a creditor attempts to obtain property of the estate,
added)).                                                          the automatic stay remains in full force and effect.” Id.

                                                                   *35 The Complaint alleges that the Injunction prevented the
                                                                  Trustee and the Debtors from collecting assets that Cassidy
                     2. 11 U.S.C. § 362
                                                                  misappropriated. Complaint ¶ 316. Although the Complaint's
The Trustee contends that the Singapore Action violated §§        allegations are vague regarding what assets the Trustee was
362(a)(1) and (a)(3). Opposition at 58.                           prevented from collecting, the Court must view the Complaint
                                                                  in the light most favorable to the Trustee, Johnson v. Riverside
                                                                  Healthcare Sys., LP, 534 F.3d 1116, 1122 (9th Cir. 2008),
                                                                  Knox v. Davis, 260 F.3d 1009, 1012 (9th Cir. 2001), and
                     i. Section 362(a)(1)                         the Complaint pleads that the Singapore Action was filed to
                                                                  exercise control over property of the estate and prevented
Section 362(a)(1) provides that the filing of a petition
                                                                  the Debtors’ and the Trustee's collection efforts. UL/GA/
stays “the commencement or continuation ... of a judicial,
                                                                  TG's contention—that the Trustee/Debtors began collection
administrative, or other action or proceeding against the
                                                                  efforts regarding the Dragon Pearl in September 2017 and
debtor that was or could have been commenced before
                                                                  therefore, were not prevented from taking action—does not
the commencement of the case ... , or to recover a claim
                                                                  address the Complaint's allegations that the Trustee/Debtors
against the debtor that arose before the commencement of the
                                                                  were impeded by the Injunction.
case ...” (emphases added). If a “judicial, administrative, or
other action or proceeding” against a debtor is based on a
                                                                  The Complaint also details counsel's litigation efforts in the
postpetition claim, such action cannot violate the automatic
                                                                  High Court of the Republic of Singapore on behalf of the
stay under § 362(a)(1). In re Clower, 463 B.R. 573, 578
                                                                  Trustee, Complaint ¶¶ 161-66, and UL/GA/TG do not argue
(Bankr. N.D. Ga. 2011).
                                                                  that counsel did not engage in the conduct outlined by the
                                                                  Trustee.
Although the Trustee contends that the Singapore Action
involved “not only the bankruptcy proceedings but also
                                                                  UL/GA/TG are correct that on the same day the Trustee
board members’ prepetition conduct,” Opposition at 58, the
                                                                  was appointed (9/29/17), the Court stated that the Injunction
Complaint does not mention any board members’ prepetition
                                                                  “doesn't have any language that appears to impact or address
conduct being at issue in the Singapore Action. Further, the
                                                                  this Court's ability to continue adjudicating these matters, or
Complaint alleges that on 9/18/17, TG, at Li Qi's direction,
                                                                  any language that indicates the Singapore court was seeking
filed the Singapore Action against Zetta Singapore, Walter
                                                                  to impact the Court's ability to rule in these cases.” Zetta
and Seagrim to enjoin Zetta Singapore's bankruptcy case,
                                                                  USA Docket #138 at 46. But, that is irrelevant regarding
Complaint ¶ 315, after it had been filed on 9/15/17. Therefore,
                                                                  whether the Singapore Action interfered with the Debtors
there is no allegation that the Singapore Action could have
                                                                  and Trustee's collection efforts. The bulk of UL/GA/TG's
been commenced before the Petition Date and the Court finds
                                                                  argument addresses the amount of damages, not the adequacy
that § 362(a)(1) is inapplicable.
                                                                  of the Trustee's allegations. Because the Complaint pleads
                                                                  sufficient factual allegations that 11 U.S.C. § 362(a)(3) was
                                                                  violated, the Court denies the Motion regarding Count XIV.
                     ii. Section 362(a)(3)

Section 362(a)(3) provides that the filing of a petition stays       e. Count XV – Disallowance Under § 502
“any act to obtain possession of property of the estate or of     The Complaint alleges as follows: 1) § 502(d) provides that
property from the estate or to exercise control over property     the claim of any entity from which property is recoverable


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under 11 U.S.C. §§ 542 or 550, or that is a transferee of
a transfer avoidable under 11 U.S.C. §§ 547 or 548, shall
                                                                             *36 Here, because all of the avoidance
be disallowed unless the transferee has paid the amount for
                                                                            and recovery claims are dismissed, Count
which it is liable under 11 U.S.C. §§ 542 or 550; 2) the
                                                                            XV is dismissed.
Defendants are entities from which property is recoverable
under 11 U.S.C. §§ 542 or 550 or transferees of transfers
which are avoidable under 11 U.S.C. §§ 547 or 548; and 3)
pursuant to 11 U.S.C. § 502(d), any and all claims of the
Defendants against the Debtors must be disallowed until such
                                                                    f. Leave to Amend
time as the Defendants pay the Trustee the amounts required
                                                                  In the Motion, UL/GA/TG summarily argue that the
or turn over the property that is recoverable. Complaint ¶¶
                                                                  Complaint should be dismissed without leave to amend.
319-21.
                                                                  Motion at 2, 3.
UL/GA/TG argue that the § 502(d) remedy only applies
                                                                  The Trustee responds that in the event of dismissal, the Court
if the Trustee establishes an avoidable transfer or turnover
                                                                  should grant leave to amend, which should be granted unless
claim, and because none of his underlying counts against them
                                                                  the Court determines that the pleading could not possibly be
plead a plausible claim, Count XV should also be dismissed.
                                                                  cured by the allegation of other facts. Opposition at 59 (citing
Motion at 46. The Trustee counters that the Complaint states
                                                                  Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc);
numerous viable claims, and it states a claim for disallowance.
                                                                  Bly-Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001);
Opposition at 59. UL/GA/TG reply that the Complaint fails
                                                                  Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 983
to state viable preference and fraudulent transfer claims, and
                                                                  (9th Cir. 2000)).
Count XV should be dismissed. Reply at 46.

                                                                  UL/GA/TG reply that amending the Complaint would be
Title 11 U.S.C. § 502(d) provides as follows:
                                                                  futile. Reply at 46. They argue that the Trustee filed the
                                                                  Complaint on the eve of the statute of limitations expiring,
                                                                  after having possession of the Debtors’ records and a two-
            [T]he court shall disallow any claim
                                                                  year opportunity to investigate. Id. They claim that many of
            of any entity from which property
                                                                  the Complaint's allegations are contradicted by documents
            is recoverable under section 542 [or]
                                                                  incorporated into the Complaint and/or by other allegations
            550 ... of this title or that is a transferee
                                                                  in the Complaint. Id. They assert that the relevant documents
            of a transfer that is avoidable under
                                                                  are known and undisputed, and in the Trustee's possession.
            section ... 547 [or] 548 ... of this title. ...
                                                                  Id. They contend that the Trustee plead claims based on
                                                                  generic facts, conclusions, and allegations that contradict
                                                                  undisputed documents, and amendment would be futile. Id.
See also 4 Collier on Bankruptcy ¶ 502.05[1] (“Section 502(d)     (citing Bonin v. Calderon, 59 F.3d 815, 845 (9th Cir. 1995);
is generally operative: (1) when the trustee has secured an       Outdoor Sys. Inc. v. City of Mesa, 997 F.2d 604, 614 (9th Cir.
order to the claimant for a turnover of property under sections   1993)). They add that where the Trustee cannot not amend
542 and 543; [and] (2) when the trustee, having successfully      without contradicting allegations in the Complaint, or without
avoided transfers under the sections dealing with the trustee's   contradicting undisputed documents previously incorporated
avoidance powers (including sections 544, 547 and 548), may       in the Complaint, leave to amend may be denied. Id. (citing
recover under section 550.”); see generally In re Plastech        Reddy v. Litton Indus., Inc., 912 F.2d 291, 296-97 (9th Cir.
Engineered Products, Inc., 394 B.R. 147, 155 (Bankr. E.D.         1990)).
Mich. 2008) (stating that § 502(d) is designed to assure equal
distribution of a bankruptcy estate's assets and it does so       Federal Rule of Bankruptcy Procedure 7015 provides that
by restoring assets to the estate and delaying or prohibiting     Rule 15 of the FRCP applies to supplemental and amended
payments to creditors who have not repaid an avoidable            pleadings in bankruptcy cases. Rule 15(a)(2) indicates that “a
transfer or turned over estate property).                         party may amend its pleading only with the opposing party's
                                                                  written consent or the court's leave. The court should freely
                                                                  give leave when justice so requires.”


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                                                                       party “carries the greatest weight.” Id. The opposing party has
                                                                       the burden of establishing prejudice. DCD Programs, Ltd. v.
Courts have the discretion to grant or deny leave to amend
                                                                       Leighton, 833 F.2d 183, 187 (9th Cir.1987). Absent prejudice
a complaint. Swanson v. U.S. Forest Serv., 87 F.3d 339,
                                                                       or a strong showing of any of the remaining factors, “there
343 (9th Cir. 1996). “In exercising this discretion, a court
must be guided by the underlying purpose of Rule 15 to                 exists a presumption under Rule 15(a) in favor of granting
facilitate decision on the merits, rather than on the pleadings        leave to amend.” Eminence Capital, LLC v. Aspeon, Inc., 316
or technicalities.” United States v. Webb, 655 F.2d 977, 979           F.3d 1048, 1052 (9th Cir. 2003) (emphasis in original).
(9th Cir. 1981). Consequently, the policy to grant leave to
amend is applied with “extreme liberality.” Id.                        “Futility of amendment can, by itself, justify the denial of a
                                                                       motion for leave to amend.” Bonin v. Calderon, 59 F.3d 815,
Parties seeking leave to amend have the initial burden to show         845 (9th Cir. 1995). “For an amendment to be futile, it must
a legitimate reason for seeking amendment. See Foman v.                appear on its face that it is not actionable.” Coble v. Derosia,
Davis, 371 U.S. 178, 182 (1962); Advanced Cardiovascular               2011 WL 444961, at *4 (E.D. Cal. Feb. 8, 2011).
Sys., Inc. v. Scimed Life Sys., Inc., 989 F. Supp. 1237, 1241
(N.D. Cal. 1997). Assuming the movant meets that burden,               Because of the policy to grant leave to amend with
the burden then shifts to the party opposing amendment                 “extreme liberality,” and because there have been no previous
to show that leave to amend is not warranted. Advanced                 amendments, the Court finds that it is appropriate to grant
Cardiovascular Sys., Inc., 989 F. Supp. at 1241 (“Once a               the Trustee leave to amend Counts I, II, IV, V, VIII, XIII,
party seeking leave to amend has given a legitimate reason             and XV. See Banco Safra S.A. – Cayman Islands Branch
for amendment, the burden shifts to the party opposing                 v. Samarco Mineração S.A., 2019 WL 2514056, at *2-3
amendment to demonstrate why leave to amend should not                 (S.D.N.Y. June 18, 2019) (indicating that the defendants’
be granted.”) (citing Genentech, Inc. v. Abbott Labs., 127             motion to dismiss a previous version of the complaint based
F.R.D. 529, 530-31 (N.D. Cal. 1989)). The party opposing               “principally” on the presumption against extraterritoriality
amendment must demonstrate that the following factors                  was denied without prejudice, and the plaintiff was allowed
warrant denial of leave to amend:                                      to amend the complaint to add facts that were submitted in
                                                                       support of the plaintiff's opposition to the motion to dismiss;
   *37 . Bad faith;                                                    and dismissing the complaint at issue with prejudice because
                                                                       of the plaintiff's “repeated failures to cure” and notice from the
  2. Undue delay;                                                      court that it would not have another opportunity to sufficiently
                                                                       allege a domestic transaction).
  3. Prejudice to the opposing party; and

  4. Futility of amendment.
                                                                       IV. Conclusion
Ditto v. McCurdy, 510 F.3d 1070, 1079 (9th Cir. 2007)                  For the reasons stated above, the Motion is granted with leave
(internal citations omitted); Smith v. Chrysler Corp., 938 F.          to amend regarding Counts I, II, IV, V, VIII, XIII, and XV,
Supp. 1406, 1412 (S.D. Ind. 1996) (“Defendants have the                and the Motion is denied regarding Count XIV. Pursuant to
burden of showing that the amendment is sought in bad faith,           LBR 9021-1(b)(1)(B), UL/GA/TG must serve and lodge a
that it is futile, or that it would cause substantial prejudice,       proposed order via LOU within 7 days of the filing of this
undue delay or injustice.”) (internal citations omitted); see          memorandum of decision.
also Reed v. Dynamic Pet Prod., 2016 WL 4491597, at *1
(S.D. Cal. 2016).
                                                                       All Citations

Of the factors courts analyze when adjudicating motions for            Slip Copy, 2020 WL 7682136
leave to amend, the potential for prejudice to the opposing

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                                                            SERVICE OF PROCESS AND FAILURE TO STATE
                                                               A CLAIM,” DOCKET #239, FILED BY LI QI
                  2021 WL 3721477
   Only the Westlaw citation is currently available.    Sandra R. Klein, United States Bankruptcy Judge
   United States Bankruptcy Court, C.D. California,
                Los Angeles Division.                    *1 On 8/11/21 at 9:00 a.m., the Court heard a “Motion to
                                                        Dismiss Counts I, II, VI, VII, VIII, IX & X and Motion
        IN RE: ZETTA JET USA, INC. Debtor(s).           to Strike Counts VIII & I [sic] of Amended Adversary
              Jonathan D. King Plaintiff(s),            Complaint” (Motion), Docket #238, filed by Universal
                             v.                         Leader Investment Limited, Glove Assets Investment
      Export Development Canada, Glove Assets           Limited, and Truly Great Global Limited (collectively UL/
   Investment Limited, Minsheng Business Aviation       GA/TG). Appearances were as noted on the record. All parties
    Limited, Minsheng Financial Leasing Co., Ltd.,      were given an opportunity to be heard. At the conclusion
     Li Qi, Truly Great Global Limited, TVPX ARS,       of the 8/11/21 hearing, the Court took the Motion under
      Inc., in its capacity as trustee to Zetta MSN     submission.
       9688 Statutory Trust dated September 20,
                                                        Also on calendar for 8/11/21 at 9:00 a.m. was a “Motion to
      2016 (formed as Wyoming statutory trust),
                                                        Dismiss Counts I, II, VII, VIII, and IX of Amended Adversary
      Universal Leader Investment Limited, Wells
                                                        Complaint for Lack of Personal Jurisdiction, Insufficient
    Fargo Bank Northwest, N.A., in its capacity as      Service of Process and Failure to State a Claim” (Li Qi
      trustee to Yuntian 3 Trust dated September        Motion), Docket #239, filed by Li Qi. The Court noted that
     20, 2016 (formed and administered in Utah)         Li Qi is named as a defendant in five counts that are at issue
     and its capacity as trustee of Yuntian 4 Trust     in UL/GA/TG's Motion and continued the hearing on the Li
    dated Septembe, Yuntian 3 Leasing Company           Qi Motion to 8/18/21 at 9:00 a.m.
  Designated Activity Company, Yuntian 4 Leasing
 Company Designated Activity Company, Zetta MSN         A copy of the Court's Memorandum of Decision regarding the
   9606 Statutory Trust dated September 20, 2016        Motion and the Li Qi Motion is attached hereto.
 (formed as Wyoming statutory trust) Defendant(s).
                                                        I. Motions Before the Court
               Case No.: 2:17-bk-21386-SK
                             |                            a. UL/GA/TG Motion to Dismiss
               Adv No: 2:19-ap-01383-SK                 Before the Court is a “Motion to Dismiss Counts I, II, VI, VII,
                             |                          VIII, IX & X and Motion to Strike Counts VIII & I [sic] of
                    Date: 8/11/2021                     Amended Adversary Complaint” (Motion) filed by Universal
                             |                          Leader Investment Limited (UL), Glove Assets Investment
                 Signed August 17, 2021                 Limited (GA), and Truly Great Global Limited (TG, and
                                                        together with UL and GA, UL/GA/TG). AP Docket #238. 1 In
                                                        support of the Motion, UL/GA/TG and Li Qi filed a “Request
  COURT'S MEMORANDUM OF DECISION ON: 1)
                                                        for Judicial Notice ...” (UL/GA/TG/LQ RJN). 2 AP Docket
“MOTION TO DISMISS COUNTS I, II, VI, VII, VIII,
                                                        #240.
IX & X AND MOTION TO STRIKE COUNTS VIII &
I [SIC] OF AMENDED ADVERSARY COMPLAINT,”
                                                        1
  DOCKET #238, FILED BY UNIVERSAL LEADER                        All references to “Zetta USA Docket” are to the
     INVESTMENT LIMITED, GLOVE ASSETS                           docket in In re Zetta Jet USA, Inc., 17-bk-21386-
   INVESTMENT LIMITED, AND TRULY GREAT                          SK. All references to “Zetta Singapore Docket”
GLOBAL LIMITED; AND 2) “MOTION TO DISMISS                       are to the docket in In re Zetta Jet PTE Ltd., 17-
   COUNTS I, II, VII, VIII, AND IX OF AMENDED                   bk-21387-SK. All references to “AP Docket” are to
     ADVERSARY COMPLAINT FOR LACK OF                            the docket in King v. Yuntian 3 Leasing Company
    PERSONAL JURISDICTION, INSUFFICIENT



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       Designated Activity Company et al., 19-ap-1383-          to Supplemental Declaration of Harprabdeep Singh.” AP
       SK.                                                      Docket #309.
2      The UL/GA/TG/LQ RJN was filed in support of
       UL/GA/TG's Motion and the Li Qi Motion (defined             b. Li Qi Motion to Dismiss
       below). AP Docket #240.                                  Also before the Court is a “Motion to Dismiss Counts I,
                                                                II, VII, VIII, and IX of Adversary Complaint for Lack of
On 6/3/21, Jonathan D. King (King), in his capacity as
                                                                Personal Jurisdiction, Insufficient Service of Process and
chapter 7 trustee (Trustee) of Zetta Jet USA, Inc. (Zetta
                                                                Failure to State a Claim” filed by Li Qi (Li Qi Motion). AP
USA) and Zetta Jet PTE, Ltd. (Zetta Singapore, and
                                                                Docket #239. In support of the Li Qi Motion, Li Qi filed a
together with Zetta USA, Debtors), filed an “Opposition
                                                                “Declaration of Li Qi” and a “Declaration of Peter Ferrer.”
to Defendants Universal Leader Investment Limited, Glove
                                                                AP Docket #239.
Assets Investment Limited, and Truly Great Global Limited's
Motion to Dismiss Counts I, II, VI, VII, VIII, IX & X and
                                                                On 6/3/21, the Trustee filed: 1) a “Motion for Limited
Motion to Strike Counts VIII & IX of Amended Adversary
Complaint” (Opposition). AP Docket #259. In support of          Jurisdictional Discovery ...” (Discovery Motion); and 2) an
                                                                “Opposition to Defendant Li Qi's Motion to Dismiss Counts
the Opposition, the Trustee filed an “Opinion of Rosalind
                                                                I, II, VII, VIII, and IX of Amended Adversary Complaint.”
Phelps QC,” a “Limited Objection to Requests for Judicial
                                                                AP Docket #s 255, 257. In support of the Discovery Motion,
Notice” (Objection to UL/GA/TG/LQ RJN), an “Objection
                                                                the Trustee filed a “Declaration of Joseph A. Roselius.” AP
and Motion to Strike Declaration of Peter Ferrer in Support
                                                                Docket #255. In support of the Opposition to Li Qi Motion,
of Li Qi's Motion to Dismiss and Declaration of Harprabdeep
                                                                the Trustee filed a “Declaration of Joseph A. Roselius” and a
Singh,” 3 and a “Request for Judicial Notice” (Trustee RJN).
                                                                “Witness Statement of Nicholas Charles Burkill.” AP Docket
AP Docket #s 259, 260, 261, 262.
                                                                #257.

3      The “Declaration of Harprabdeep Singh” was filed         On 6/16/21, Li Qi filed an “Opposition to Trustee's Motion for
       on 2/21/20 in support of UL/GA/TG's reply in             Jurisdictional Discovery” and a “Supplemental Declaration of
       support of their motion to dismiss Counts 1, 2, 4, 5,    Peter Ferrer.” AP Docket #274.
       8, 13, 14, and 15 of the original complaint, which
       was filed on 9/13/19. AP Docket #62-2.                   On 6/23/21, the Trustee filed: 1) a “Reply in Support of
 *2 On 6/17/21, UL/GA/TG filed: 1) a “Reply in Support          Motion for Limited Jurisdictional Discovery ... ,” with a
of Motion to Dismiss ... and Motion to Strike ...” (Reply);     “Witness Statement of Nicholas Charles Burkill” and a
2) a “Supplemental Declaration of Harprabdeep Singh;”           “Second Witness Statement of Nicholas Charles Burkill,” AP
3) a “Declaration of John A. Kimbell QC;” and 4) a              Docket #288; 2) a “Request for Judicial Notice in Support
“Reply ... to Trustee's Limited Objection to Request for        of the Trustee's Reply in Support of Motion for Limited
Judicial Notice ...” (Reply to RJN Objection). AP Docket #s     Jurisdictional Discovery ... ,” AP Docket #289; and 3) an
281, 283.                                                       “Objection and Motion to Strike Supplemental Declaration
                                                                of Peter Ferrer in Support of Defendant Li Qi's Opposition
On 6/27/21, UL/GA/TG and Li Qi filed a “Response to             to Trustee's Motion for Jurisdictional Discovery,” AP Docket
Objection and Motion to Strike Declaration of Peter Ferrer      #290.
in Support of Li Qi's Motion to Dismiss and Declaration of
Harprabdeep Singh in Support of UL Defendants’ Motion           On 7/9/21, Li Qi filed a “Reply in Support of Motion to
to Dismiss.” AP Docket #294. That same day, they filed an       Dismiss Counts I, II, VII, VIII, and IX of Amended Adversary
“Objection[ ] to the ... Opinion of Rosalind Phelps QC ....”    Complaint for Lack of Personal Jurisdiction, Insufficient
AP Docket #295.                                                 Service of Process, and Failure to State a Claim.” AP Docket
                                                                #305.
On 8/4/21, the Trustee filed a “Reply in Support of Objection
and Motion to Strike Declarations of Peter Ferrer and           On 8/11/21, the Court held a hearing on the: 1) Motion
Harprabdeep Singh,” AP Docket #308, and an “Objection           and 2) the Li Qi Motion. During the hearing, counsel for
                                                                the Trustee and UL/GA/TG and Li Qi appeared and were
                                                                given an opportunity to be heard. At the conclusion of the


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hearing, the Court took the Motion and the Li Qi Motion
under submission. Based on the argument in the pleadings and
argument of counsel during the hearing, and for the reasons        Count      #    Type     of     Claim
stated in the analysis below, the Court rules as follows: the      Statute(s) I Avoidance and Recovery
Motion to dismiss Counts 1, 2, 6, 7, 8, 9, and 10 is granted       of Fraudulent Transfers (2015
without leave to amend. Because Li Qi is only named as a           Acquisitions) Defendant(s) 11 U.S.C.
defendant in Counts 1, 2, 7, 8, and 9, all of which are being      §§ 548, 550 Universal Leader; Glove
dismissed, the Court need not address the issues raised in the     Assets; Li Qi II Avoidance and
Li Qi Motion or the Discovery Motion.                              Recovery of Fraudulent Transfers
                                                                   (Plane 6 and Plane 7) Page # 11 U.S.C.
 *3 This memorandum constitutes the Court's findings of            §§ 548, 550 Li Qi; Universal Leader;
facts and conclusions of law regarding the legal sufficiency       Glove Assets; Yuntian 3; Minsheng
of the counts at issue in the Motion.                              Financial; and Minsheng Business III
                                                                   Avoidance and Recovery of Preference
                                                                   Transfer 30 11 U.S.C. §§ 547, 550
II. Facts
                                                                   In the Alternative – Against Yuntian
   a. Bankruptcy Cases                                             3 IV Avoidance and Recovery of
On 9/15/17, Zetta USA and Zetta Singapore filed chapter 11         Preference Transfers (Plane 6 Loan
petitions (collectively, Cases). Zetta USA Docket #1; Zetta        Transfers) 30 11 U.S.C. §§ 547,
Singapore Docket #1. King was appointed as the chapter 11          550 In the Alternative – Against
trustee, and after the Cases were converted, he was appointed      Li Qi, Universal Leader and Glove
as the chapter 7 trustee. Zetta USA Docket #s 159, 452, 458.       Assets V Avoidance and Recovery
                                                                   of Preference Transfer ($55 Million
                                                                   Transfer) 34 11 U.S.C. §§ 547, 550
   b. Adversary Proceeding                                         In the Alternative – Against Li Qi
On 9/13/19, the Trustee filed an adversary complaint               and Universal Leader VI Avoidance
(Original Complaint) against: 1) Yuntian 3 Leasing Company         and Recovery of Fraudulent Transfers
Designated Activity Company f/k/a Yuntian 3 Leasing                36 11 U.S.C. §§ 548, 550 In
Company Limited (Yuntian 3); 2) Yuntian 4 Leasing                  the Alternative - Against Minsheng
Company Designated Activity Company f/k/a Yuntian                  Business and Yuntian 4 VII Turnover
4 Leasing Company Limited (Yuntian 4); 3) Minsheng                 of Property of the Bankruptcy Estate
Financial Leasing Co., Ltd. (Minsheng Financial); 4)               37 11 U.S.C. § 542 VIII Avoidance
Minsheng Business Aviation Limited (Minsheng Business);            and Recovery of Preference Transfers
5) Export Development Canada (EDC); 6) UL; 7) GA;                  (Interest Payment Transfers) 39 In
8) TG; and 9) Li Qi (collectively, the Defendants), which          the Alternative – Against Yuntian 4,
alleged that Zetta Singapore was formed and run by a con           Minsheng Business, and Minsheng
artist, Geoffrey Cassidy (Cassidy), 4 who, over a two-year         Financial 11 U.S.C. §§ 547, 550
period, with the help of the Defendants, obtained $10 million      Universal Leader; Li Qi IX Avoidance
from kickbacks, bribes and embezzlement, while saddling            and Recovery of Preference Transfer
the Debtors with almost $500,000,000 in unsustainable debt         40 11 U.S.C. §§ 547, 550 EDC;
incurred by purchasing overpriced aircraft in a down market.       Yuntian 4 X Avoidance and Recovery
AP Docket #1.                                                      of Preference Transfer 41 11 U.S.C.
                                                                   §§ 547, 550 Yuntian 4 XI Turnover
4                                                                  of Property of the Bankruptcy
        Cassidy was the Debtors’ Managing Director and a
                                                                   Estate 42 11 U.S.C. § 542 XII
        Director of Zetta Singapore. FAC ¶ 29.
                                                                   Avoidance and Recovery of Preference
The Original Complaint contained the following counts              Transfers (Legal Fees Transfers)
against the following parties:                                     44 In the Alternative – Against
                                                                   Yuntian 4, Minsheng Financial, and



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            Minsheng Business 11 U.S.C. §§ 547,
            550 Minsheng Business; Minsheng
            Financial; Yuntian 3; Yuntian 4                                Count      #     Type    of    Claim
            XIII Recharacterization of the Third                           Statute(s) 1 Avoidance and Recovery
            Investment as Equity Interest 45 11                            of Fraudulent Transfer (2015
            U.S.C. § 105(a) Universal Leader XIV                           Acquisitions) 11 U.S.C. §§ 548;
            Violation of the Automatic Stay 46                             550 Defendants 2 Avoidance and
            11 U.S.C. § 362 XV Disallowance                                Recovery of Fraudulent Transfers
            of Claims 47 Truly Great; Li Qi 11                             (Plane 6 and Plane 7) 11 U.S.C. §§
            U.S.C. § 502(d) Minsheng Financial;                            548; 550 Li Qi, UL, GA, Yuntian
            Minsheng Business; Yuntian 3;                                  3, Minsheng Financial, and Minsheng
            Yuntian 4; Universal Leader; Glove                             Business UL, GA, and Li Qi 4 In the
            Assets; EDC 49 50                                              Alternative, Avoidance and Recovery
                                                                           of Preference Transfers (Plane 6
                                                                           Loan Transfers) 11 U.S.C. §§ 547;
*4 AP Docket #1.                                                           550 5 In the Alternative, Avoidance
                                                                           and Recovery of Preference Transfer
                                                                           ($55 Million Transfer) 11 U.S.C. §§
                                                                           547; 550 Li Qi, UL, and GA 8
       i. Yuntian and Minsheng Motions to Dismiss
                                                                           Avoidance and Recovery of Preference
The Court granted in part and denied in part a “Motion to                  Transfers (Interest Payment Transfers)
Dismiss Counts II, III, VI, VII, IX, X, XI, XII, and XV                    11 U.S.C. §§ 547; 550 Li Qi and
of Adversary Complaint” filed by Yuntian 3 and Yuntian 4                   UL 13 Recharacterization of the Third
(Yuntian MTD), and a “Motion to Dismiss Counts II, VI, VII,                Investment as Equity Interest 11
XI, XII, and XV of Adversary Complaint” filed by Minsheng                  U.S.C. § 105(a) UL and Li Qi 15
                                                                           Disallowance of Claims 11 U.S.C. §
Business (Minsheng MTD), 5 dismissing Counts 2, 3, 6, 9,
                                                                           502(d) Minsheng Financial, Minsheng
10, 11, and 12, with leave to amend those counts (Original
                                                                           Business, Yuntian 3, Yuntian 4, UL,
Yuntian/Minsheng Ruling). AP Docket #s 32, 44, 175, 186.
                                                                           GA, UL
5      In the Minsheng MTD, Minsheng Business, which
       is an affiliate of Yuntian 3 and Yuntian 4, indicated
                                                               AP Docket #s 45, 174, 188.
       that it was represented by the same counsel as
       Yuntian 3 and Yuntian 4 and that each substantive
       argument in the Yuntian MTD applied “with
       full force to the Trustee's claims asserted against                     iii. EDC Motion to Dismiss
       Minsheng,” and it incorporated by reference the
                                                               The Court granted a “Motion to Dismiss Counts IX and XV
       Yuntian MTD. Minsheng MTD at 7. Therefore,
                                                               of Adversary Complaint ...” filed by EDC, dismissing Count
       the Court analyzed the Yuntian MTD and the
                                                               9 with leave to amend, and dismissing Count 15 with leave to
       Minsheng MTD together. AP Docket #175 at 3 n.2.
                                                               amend if EDC filed a proof of claim. AP Docket #s 88, 173,
                                                               187.
             ii. UL/GA/TG Motion to Dismiss

The Court granted in part and denied in part a “Motion
                                                                              iv. First Amended Complaint
to Dismiss Counts I, II, IV, V, VIII, XIII, XIV, & XV of
Adversary Complaint” filed by UL/GA/TG (Original UL/           On 3/29/21, the Trustee filed a First Amended Complaint
GA/TG MTD), dismissing the following counts with leave to      (FAC) and approximately two months later, he filed a
amend those counts (Original UL/GA/TG MTD Ruling):             redlined FAC, which contain the following counts against the
                                                               following parties:


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                                                                     122 N/A 123 Yuntian 3; Yuntian 4;
                                                                     Universal Leader; Glove Assets 125
            Count # Type of Claim Avoidance
            and     Recovery     of     Fraudulent
            Obligations and Subsequent Transfers         *5 AP Docket #s 232, 253.
            Made on Account of Such Obligations
            (Plane 6 Statute(s) 1 Defendant(s)          The FAC alleges the following:
            and Plane 7 Finance Leases) Page
            # 2 Avoidance and Recovery of                  1) Cassidy was a con artist. FAC ¶¶ 74-78.
            Fraudulent Obligations and Transfers
                                                           2) On 7/15/15, Cassidy, James Seagrim (Seagrim)
            on Account of Such Obligations
            (Minsheng Refinancing) 11 U.S.C.                 and Matthew Walter (Walter) 6 incorporated Zetta
            §§ 548, 550 Li Universal Leader                  Singapore. Id. ¶¶ 79-84.
            Glove Assets Yuntian 3 Minsheng
                                                           3) Cassidy had actual and effective control of key functions
            Financial Minsheng Business 11
                                                              of Zetta Singapore and drove it into an immediate
            U.S.C. §§ 548, 550 Universal Leader;
                                                              financial crisis by purchasing high-priced aircraft that
            Glove Assets; Li 3 Avoidance and
                                                              saddled the company with almost half a billion dollars in
            Recovery of Fraudulent Transfers
                                                              insurmountable debt. Id. ¶¶ 85-90.
            99 4 Turnover of Property of the
            Bankruptcy Estate 11 U.S.C. §§ 548,            4) Cassidy funded a “lifestyle of the rich and famous” at
            550 In the Alternative - Against                  the Debtors’ expense by accepting bribes and kickbacks,
            Minsheng Business and Yuntian 4                   stealing funds, and operating the Debtors as a Ponzi-like
            103 5 Turnover of Property of the                 scheme. Id. ¶¶ 91-150.
            Bankruptcy Estate 11 U.S.C. § 542 111
            In the Alternative – Against Yuntian           5) The Debtors were insolvent almost from the inception
            4, Minsheng Business, and Minsheng                of Zetta Singapore in July 2015. Id. ¶¶ 151-65.
            Financial 6 Recharacterization of the
                                                           6) Cassidy knew or was substantially certain that his
            Third Investment as Equity Interest
                                                             actions would hinder, delay, or defraud the Debtors’
            11 U.S.C. § 542 113 Yuntian
                                                             creditors. Id. ¶¶ 166-73.
            4; Minsheng Financial; Minsheng
            Business 7 Violation of the Automatic          7) Li Qi, through UL, provided a $50 million loan to Zetta
            Stay 11 U.S.C. § 105(a), 502 Universal            Singapore to buy a Bombardier Global Express 6000
            Leader 117 8 Recharacterization of                with manufacturer serial number (MSN) 9688 (Plane
            2016 Plane 6 Lease Agreement 11                   6). The fair market value of Plane 6 was $39 million.
            U.S.C. § 362 120 Truly Great; Li 9                Zetta Singapore paid for Plane 6 with an 11/24/15 $2
            Recharacterization of Yuntian 3 (Plane
                                                             million transfer from UL to Bombardier, Inc. 7 and a
            7) 2016 Plane 7 Lease Agreement 11
                                                             12/6/15 $48 million transfer from UL to Zetta Singapore,
            U.S.C. § 105(a) In the Alternative –
                                                             and Zetta Singapore then paid Bombardier Aerospace
            Against Minsheng Business, Yuntian
                                                             Corporation $46.3 million on 12/15/15 and $1 million
            3, Li, Glove Assets, and Universal
                                                             12/28/15. Zetta Singapore and GA documented the
            Leader 120 10 Disallowance of Claims
                                                             $48 million loan via a 12/29/15 agreement for Zetta
            Under 11 U.S.C. § 502(d) and
                                                             Singapore to “lease” Plane 6 (2015 Plane 6 Lease). Id.
            Assertions of Counterclaims Under 28
                                                             ¶¶ 174-77, 180-83. Plane 6 was required to be registered
            U.S.C. § 157(b)(2)(C) 11 U.S.C. §
                                                             with the Federal Aviation Agency (FAA) and operated
            105(a) In the Alternative – Against
                                                             by Zetta USA. Id. ¶ 178.
            Minsheng Business, Yuntian 3, Li,
            Glove Assets, and Universal Leader             8) Li Qi also provided a $50 million loan to Zetta Singapore
                                                              to buy a Bombardier Global Express 6000 with MSN
                                                              9606 (Plane 7), which was owned by UL and was worth


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    $37.6 million as of November 2015. Id. ¶¶ 174-77, 204.      Minsheng Business and Minsheng Financial with $12.4
    On 12/31/15, Zetta Singapore entered into an agreement      million, some of which was used for down payments on
    with UL to “lease” Plane 7. Id. ¶¶ 176, 204-05. Plane 7     four aircraft, only one of which was ever delivered. Id.
    was required to be registered with the FAA and operated     ¶¶ 229-317.
    by Zetta USA. Id. ¶ 178.
                                                                a. The Minsheng Refinancing closed in the US. Id. ¶ 11.
  9) Li Qi used his companies, including UL, TG, and GA,
     interchangeably and as alter egos of one another and       b. All closing payments from the Minsheng Refinancing
     treated them as extensions of himself. Id. ¶¶ 54-64.          were made into and through US bank accounts to
                                                                   bolster FAA registration of Planes 6 and 7. Id. ¶¶
  10) The Debtors incurred obligations regarding Planes 6          11, 272-74. Additional payments under the Minsheng
    and 7 in the US. UL, GA, and the Debtors:                      Refinancing were “likely either made through banks
                                                                   that were subject to US laws or through US-based
    a. Ensured that the transactions for the 2015 Plane 6          intermediary correspondent banks.” Id. ¶ 11.
       Lease and 2015 Plane 7 Lease closed in the US to
       enable the Debtors to register Planes 6 and 7 with the   c. As part of the Minsheng Refinancing, Yuntian 3
       FAA and operate them under Zetta USA's Part 135             (through Wells Fargo as lessor) and the Debtors
       certificate, 8 id. ¶ 178;                                   (through TVPX ARS, Inc. (TVPX) as trustee and
                                                                   lessee) entered into: i) a 9/20/16 “Aircraft Lease
    b. Required that Zetta Singapore confirm that it “became       Agreement” for Plane 6 (Minsheng Plane 6 Lease),
       obliged” to GA under the 2015 Plane 6 Lease and UL          and ii) a 9/20/16 “Aircraft Lease Agreement” for
       under the 2015 Plane 7 Lease when it took delivery          Plane 7 (Minsheng Plane 7 Lease). Id. ¶¶ 258-59.
       of Planes 6 and 7 at Windsor Locks, Connecticut, id.        The Debtors and Yuntian 3 deliberately chose US-
       ¶ 178, 193;                                                 based corporate trustees to act as the principal contract
                                                                   parties under the Minsheng Plane 6 Lease and
    c. Wanted the transactions for Planes 6 and 7 to close         Minsheng Plane 7 Lease to meet FAA US citizenship
       in Connecticut because Connecticut law exempted             requirements. Id. ¶ 275.
       aircraft sales from sales and use tax, id. ¶ 178;
                                                                d. As a condition of closing under the Minsheng
    d. Used a US corporate trustee, Wells Fargo Bank              Plane 6 Lease and Minsheng Plane 7 Lease, TVPX
      Northwest, N.A. (Wells Fargo) to act as the principal       simultaneously sub-leased Planes 6 and 7 to Zetta
      “lessor” party and the “owner” to satisfy US                USA as sublessee and operator (Subleases). Id. ¶¶
      citizenship requirements for FAA registration, id.;         262-63.
     *6 e. Used a US law firm in Oklahoma to conduct the        e. To ensure that Zetta Singapore would be obligated
      closings and file closing documents with the FAA, id.;       to repay the amount due on Plane 6 after the
                                                                   Minsheng Refinancing, Wells Fargo, UL, GA,
    f. Required that Planes 6 and 7 be maintained at a US
                                                                   Zetta Singapore, and TVPX executed a 9/20/16
       maintenance facility, id.; and
                                                                   “Supplemental Agreement to the Sale and Purchase
    g. Required all payments to be made to “[UL]’s bank            Agreements and Sale and Leaseback Purchase
       account in New York” in US dollars, id. ¶¶ 178, 406.        Clarification” (Clarification). Id. ¶ 265.

  11) During the summer of 2016, Cassidy engineered a           f. Yuntian 3, Minsheng Financial, EDC, and Wells
    refinancing of the 2015 Plane 6 Lease and 2015 Plane           Fargo required that the Debtors execute a “Deed
    7 Lease by Minsheng Business and Minsheng Financial            of Guarantee and Indemnity Dated September 20,
    (Minsheng Refinancing). The Minsheng Refinancing               2016” (Guarantee), which provided that the Debtors,
    added over $10 million in incremental debt to the              Cassidy and Asia Aviation Company Pte. Ltd. (Asia
    Debtors’ balance sheet (not including $4.5 million that       Aviation), 9 guaranteed all of the obligations under the
    Cassidy took from the closing proceeds), duplicated debt      Minsheng Plane 6 Lease and Minsheng Plane 7 Lease.
    on Plane 6, paid UL $55 million for Plane 7 (which was        FAC ¶ 267.
    worth $35.7 million at most by this time), and provided


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      g. The Daugherty Fowler law firm was retained to              2) Avoidance and Recovery of Fraudulent Obligations and
        act as FAA counsel to: 1) gather signature pages               Transfers on Account of Such Obligations (Minsheng
        for the Minsheng Refinancing documents; 2) release             Refinancing), under 11 U.S.C. §§ 548 and 550 against
        signature pages in the closing room in Oklahoma City;          Li Qi, UL, GA, Yuntian 3, Minsheng Financial, and
        and 3) file and register documents with the FAA in             Minsheng Business (Count 2);
        Oklahoma City. Id. ¶¶ 270-71.
                                                                    3) Recharacterization of the 6/27/17 Transfer as Equity
    12) In the summer of 2017, in exchange for a 6/27/17 $15          Interest, under 11 U.S.C. §§ 105(a) and 502, against UL
      million transfer from UL to Zetta Singapore (6/27/17            (Count 6);
      Transfer), Seagrim and Walter transferred additional
      Zetta Singapore shares to TG. Id. ¶¶ 318-23.                  4) Violation of the Automatic Stay, under 11 U.S.C. § 362,
                                                                       against TG and Li Qi (Count 7);
    *7 13) The “scheme” fell apart in mid-2017, and on
     8/22/17, Cassidy and Miranda June Tang Kim Choo                5) Recharacterization of Minsheng Plane 6 Lease, under 11
     were removed from the board and their roles at the                U.S.C. § 105(a), against Minsheng Business, Yuntian 3,
     Debtors, and on 9/15/17, the Cases were filed. Id. ¶¶             Li Qi, GA, and UL (Count 8);
     324-31.
                                                                    6) Recharacterization of Minsheng Plane 7 Lease under 11
    14) Li Qi, via his alter egos, UL and GA, filed proofs of          U.S.C. § 105(a) against Minsheng Business, Yuntian 3,
      claims in the Cases. Id. ¶ 332.                                  Li Qi, GA, and UL (Count 9); and

                                                                    7) Disallowance of Claims under 11 U.S.C. § 502(d) and
6       Seagrim was the Debtors’ Director of Operations                Assertions of Counterclaims under 28 U.S.C. § 157(b)
        and a Director of both Zetta Singapore and Zetta               (2)(C), against Yuntian 3, Yuntian 4, UL, and GA (Count
        USA. FAC ¶ 31. Walter was the Debtors’ Director                10).
        of Sales and a Director of both Zetta Singapore and
        Zetta USA. Id. ¶ 32.
7                                                                                  v. Settlement Agreement
        The FAC does not mention repayment of this $2
        million transfer.
                                                                  On 6/8/21, the Court entered an order approving a
8                                                                 “Settlement Agreement” among the Trustee, Yuntian 3,
        A Part 135 certificate is an “Air Carrier and
        Operator Certificate” issued under 14 C.F.R. Part         Yuntian 4, Minsheng Business, Minsheng Financial, and EDC
        135 by the FAA, which is required to operate              (Settlement), which provided that:
        certain commercial charter flights in the US. Id. ¶
                                                                    1) Yuntian 3, Yuntian 4, Minsheng Financial, and Minsheng
        78.
                                                                       Business, would pay the Trustee $2,250,000 within 15
9                                                                      days after the entry of the Court order approving the
        Asia Aviation was owned by Cassidy and his then-
        wife, Miranda June Tang Kim Choo, and operated a               Settlement (Effective Date), and another $2,250,000 on
        single jet on behalf of the jet's owner until it merged        1/26/22.
        with Zetta Singapore. Id. ¶ 28.
                                                                    2) Within 15 days after the Effective Date, Yuntian 3,
                                                                      Yuntian 4, Minsheng Financial, and Minsheng Business
               1. UL/GA/TG Motion to Dismiss                          would withdraw their proofs of claims filed in the Cases
                                                                      with prejudice.
In the Motion, UL/GA/TG move to dismiss the following
counts:                                                             3) Within 15 days after the Effective Date, the Trustee
                                                                      would dismiss with prejudice the Trustee's complaints
    1) Avoidance and Recovery of Fraudulent Obligations and           and any amendments thereto against Yuntian 3, Yuntian
       Subsequent Transfers (2015 Plane 6 and 7 Leases), under        4, Minsheng Financial, Minsheng Business, and EDC,
       11 U.S.C. §§ 548 and 550, against UL, GA and Li Qi             and cease pursuing the litigation against them.
       (Count 1);


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                                                                     that allows the court to draw the reasonable inference
Zetta USA Docket #1469-2.                                            that the defendant is liable for the misconduct alleged. ...
                                                                     Threadbare recitals of the elements of a cause of action,
                                                                     supported by mere conclusory statements, do not suffice.
III. Legal Standards
Rule 12(b)(6) of the Federal Rules of Civil Procedure (FRCP)
                                                                   The allegations of a complaint, along with other materials
applies in adversary proceedings and provides that a party
                                                                   properly before the court on a motion to dismiss, can establish
may assert the defense of “failure to state a claim upon
                                                                   an absolute bar to recovery. See Weisbuch v. Cty. of L.A.,
which relief can be granted.” Fed. R. Bankr. P. 7012(b); In re
                                                                   119 F.3d 778, 783 n.1 (9th Cir. 1997) (“If the pleadings
Kvassay, 2014 WL 2446181, at *9 (B.A.P. 9th Cir. May 30,
                                                                   establish facts compelling a decision one way, that is as good
2014). A motion to dismiss under Rule 12(b)(6) challenges
                                                                   as if depositions and other expensively obtained evidence
the sufficiency of the allegations in the complaint. Lee v. City
                                                                   on summary judgment establishes the identical facts.”).
of L.A., 250 F.3d 668, 688 (9th Cir. 2001); Student Loan
                                                                   Generally, when ruling on a Rule 12(b)(6) motion to dismiss,
Mktg. Ass'n v. Hanes, 181 F.R.D. 629, 634 (S.D. Cal. 1998).
                                                                   courts cannot consider material outside the pleadings. Khoja
“A Rule 12(b)(6) dismissal may be based on either a ‘lack
                                                                   v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir.
of a cognizable legal theory’ or ‘the absence of sufficient
                                                                   2018); Lee v. City of L.A., 250 F.3d 668, 688 (9th Cir. 2001).
facts alleged under a cognizable legal theory.’ ” Johnson v.
                                                                   If matters outside of the pleadings are “presented to and not
Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th
                                                                   excluded by the court,” the motion to dismiss is converted to
Cir. 2008) (quoting Balistreri v. Pacifica Police Dep't, 901
                                                                   a motion for summary judgment under Rule 56 and all parties
F.2d 696, 699 (9th Cir. 1990)).
                                                                   must be given a “reasonable opportunity to present all the
                                                                   material that is pertinent to the motion.” Fed. R. Civ. P. 12(d).
 *8 In resolving a Rule 12(b)(6) motion, the Court must
                                                                   There are, however, two exceptions to this rule: 1) matters
construe the complaint in the light most favorable to the
                                                                   that the Court can take judicial notice of under Rule 201 of
plaintiff, and accept all well-plead factual allegations as
                                                                   the Federal Rules of Evidence; and 2) the incorporation-by-
true. Johnson, 534 F.3d at 1122; Knox v. Davis, 260 F.3d
                                                                   reference doctrine, which treats certain documents as if they
1009, 1012 (9th Cir. 2001). The Court, however, is not
                                                                   were “part of the complaint itself.” Khoja, 899 F.3d at 999,
bound by conclusory statements, statements of law, and
                                                                   1002.
unwarranted inferences cast as factual allegations. Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555-57 (2007); Clegg v. Cult
                                                                   The party seeking dismissal under Rule 12(b)(6) has the
Awareness Network, 18 F.3d 752, 754-55 (9th Cir. 1994).
                                                                   burden of proof. In re Reed, 532 B.R. 82, 88 (Bankr. N.D. Ill.
                                                                   2015); In re Enron Corp., 316 B.R. 434, 449 (Bankr. S.D.N.Y.
“While a complaint attacked by a Rule 12(b)(6) motion
                                                                   2004).
to dismiss does not need detailed factual allegations, ...
a plaintiff's obligation to provide the ‘grounds’ of his
‘entitle[ment] to relief’ requires more than labels and            IV. Arguments and Analysis
conclusions, and a formulaic recitation of the elements of
a cause of action will not do.” Twombly, 550 U.S. at 555             a. Requests for Judicial Notice
(citations omitted). A complaint “must contain either direct
or inferential allegations respecting all the material elements
                                                                                       i. UL/GA/TG/LQ RJN
necessary to sustain recovery under some viable legal theory.”
Id. at 562 (emphasis in original) (quoting Car Carriers, Inc. v.   In the UL/GA/TG/LQ RJN, UL/GA/TG and Li Qi request that
Ford Motor Co., 745 F.2d 1101, 1106 (7th Cir. 1984)).              the Court take judicial notice of various documents filed in
                                                                   the following cases:
In Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), the Supreme
Court elaborated on the Twombly standard:
                                                                                 *9 Case RJN # In re Zetta Jet USA,
  To survive a motion to dismiss, a complaint must contain
                                                                                Inc., 17-bk-21386-SK (Proof of Claim
  sufficient factual matter, accepted as true, to “state a claim
                                                                                # 95-1) 1 In re Zetta Jet USA, Inc.,
  to relief that is plausible on its face.” ... A claim has
                                                                                17-bk-21386-SK 2, 3, 4 , 5 King v.
  facial plausibility when the plaintiff pleads factual content



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             Bombardier, 19-ap-1147-SK 6, 7, 8                    Under Federal Rule of Evidence (FRE) 201, the Court can
             King v. Jetcraft, 19-ap-1382-SK 9 10,                take judicial notice of “a fact that is not subject to reasonable
             11, 12, 13, 14, 15, 16, King v. Yuntian,             dispute because it: (1) is generally known within the trial
             19-ap-1383-SK 17, 18, 19, 20, 21, 22,                court's territorial jurisdiction; or (2) can be accurately and
             23 Re Zetta Jet PTE Ltd. and others,                 readily determined from sources whose accuracy cannot
             in the High Court of the Republic                    reasonably be questioned.” The burden is on the party
             of Singapore, Originating Summons                    requesting judicial notice. In re James, 300 B.R. 890, 894
             No 1391 of 2017 24, 25 Truly Great                   (Bankr. W.D. Tex. 2003) (ruling that the party requesting
             Global Ltd. v. Seagrim, BC694919,                    judicial notice has the burden of persuading the Court that the
             California Superior Court 26, 27                     fact is “appropriate for judicial notice”).

                                                                  The Court can take judicial notice of Exhibits 1 through
                                                                  27, which are: 1) a proof of claim filed in the Zetta USA
UL/GA/TG/LQ RJN at 3-7. 10
                                                                  bankruptcy case; 2) documents filed in the Zetta USA
                                                                  bankruptcy case; 3) documents filed in King v. CAVIC
10      UL/GA/TG and Li Qi request that the Court take            Aviation Leasing (Ireland) 22 Co. Designated Activity
        judicial notice of Proof of Claim #95-1 filed in the      Company, 19-ap-1147-SK (CAVIC AP), King v. Jetcraft
        Zetta USA case, which they describe as the “Glove         Corp., 19-ap-1382-SK (Jetcraft AP), or this adversary
        Assets Investment Limited Proof of Claim.” UL/            proceeding; or 4) documents filed in Re: Zetta Jet Pte Ltd. and
        GA/TG/LQ RJN at 3. Proof of Claim #95-1 in the            others, in the High Court of the Republic of Singapore (High
        Zetta USA case, however, was filed by American            Court), or Truly Great Global Ltd. v. Seagrim, BC694919,
        Express Bank, FSB. In the Trustee RJN, addressed          in California Superior Court (LASC Action). The Court,
        below, the Trustee requests that the Court take           however, cannot take judicial notice of any facts or argument
        judicial notice of Proof of Claim #95-1 in the Zetta      contained in those documents. See Aceituno v. Vowell (In re
        Singapore case, filed by GA.                              Intelligent Direct Mktg.), 2015 WL 925565, at *1 (E.D. Cal.
They also request that the Court take judicial notice of a        Mar. 3, 2015) (granting a request for judicial notice of proofs
“Confirmatory Deed of Loan,” Ex. 12-B, and an “HSBC List          of claims filed in the underlying bankruptcy case because they
of Correspondent Banks” (HSBC List), Ex. 28. Id.                  were public records, and their authenticity was undisputed);
                                                                  Tuma v. Firstmark Leasing Corp. (In re Tuma), 916 F.2d
The Trustee objects to the UL/GA/TG/LQ RJN claiming that:         488, 491 (9th Cir. 1990) (indicating that when adjudicating
                                                                  issues in an adversary proceeding, judicial notice can be taken
  1) UL/GA/TG and Li Qi do not adequately identify what           of bankruptcy records in an underlying proceeding); In re
     they seek to have judicially noticed;                        Eckert, 485 B.R. 77, 81 (Bankr. M.D. Pa. 2013) (stating that
                                                                  a bankruptcy judge may take judicial notice of his or her
  2) Many requests improperly seek judicial notice of
                                                                  own docket, but the truth of the contents of those records is
    disputed facts or conclusions contained within or drawn
                                                                  not inferred by a judge taking judicial notice of documents);
    from public documents rather than of the existence or
                                                                  Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp.,
    filing of documents themselves;
                                                                  Inc., 99 F.Supp.3d 1110, 1125 (C.D. Cal. 2015) (noting that
  3) Several requests seek judicial notice of irrelevant, non-    courts may take judicial notice of public records, including
     adjudicative documents and facts;                            court records from another case, but cannot take judicial
                                                                  notice of the veracity of arguments or facts contained in
  4) UL/GA/TG and Li Qi have not properly authenticated           those documents); U.S. ex rel. Robinson Rancheria Citizens
     the HSBC List; and                                           Council v. Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992)
                                                                  (indicating that courts “may take notice of proceedings in
  5) It is unnecessary for the Court to take judicial notice of   other courts, both within and without the federal judicial
     every document cited in the pleadings.                       system”).

UL/GA/TG and Li Qi reply that the Court should overrule
                                                                  *10 Exhibit 12-B, a “Confirmatory Deed of Loan” between
each of the Trustee's objections. Reply to RJN Objection at 3.
                                                                  Zetta Singapore as borrower and UL as lender, is an exhibit to



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Proof of Claim #94-2 filed on 4/6/18 in the Zetta Singapore      were filed in the Zetta Singapore case. The Court cannot,
bankruptcy case, and the Court may take judicial notice of the   however, take judicial notice of facts contained in any of those
fact that Claim #94-2 was filed but not of any facts contained   documents.
within it. See Maxtor Corp. v. Read-Rite (Thai.) Co., 2003
WL 24902406, at *9 (N.D. Cal. Dec. 4, 2003).
                                                                   b. Opinion and Declarations
Finally, UL/GA/TG and Li Qi do not suggest that the HSBC         The Court notes that the parties submitted the following
List is publicly available but instead argue that it is “a       opinion and declarations in support of their respective briefs
document provided by HSBC for customers.” UL/GA/TG/              regarding UL/GA/TG's Motion:
LQ RJN at 8 (citing MAM Apparel & Textiles Ltd. v. NCL
Worldwide Logistics USA, Inc., 2020 WL 4336362, at *4 n.4
(E.D.N.Y. July 28, 2020)). MAM is distinguishable because                     Declaration/Opinion Opinion of
there, the court took judicial notice of a document that was                  Rosalind Phelps QC Docket #
publicly available on the SWIFT 11 website and not subject                    Filed by Supplemental Declaration
to dispute, whereas here, there is nothing before the Court                   of Harprabdeep Singh in Support
indicating that the HSBC List is available on the SWIFT                       of Defendants Universal Leader
website. Therefore, the Court finds that UL/GA/TG and Li Qi                   Investment Limited, Glove Assets
have not met their burden of showing that the HSBC List is                    Investment Limited, and 259 Trustee
subject to judicial notice.                                                   Truly Great Global Limited Motion
                                                                              to Dismiss Counts I, II, VI, VII,
11                                                                            IX & X and Motion to Strike
        SWIFT, or Society Worldwide Interbank Financial                       Counts VII & IX of Amended
        Telecommunication, provides an electronic                             Adversary Complaint Declaration of
        communication system by the same name for use                         John A. Kimbell QC in Support of
        in interbank correspondence. MAM, 2020 WL                             Reply Memorandum of Defendants
        4336362, at *2 n.3.                                                   Universal Leader Investment Limited,
                                                                              Glove Assets Investment Limited, 281
                                                                              UL/GA/TG and Truly Great Global
                       ii. Trustee RJN
                                                                              Limited in Support of Motion to
In the Trustee RJN, the Trustee requests that the Court take                  Dismiss Counts I, II, VI, VII, VIII,
judicial notice of documents filed in the following cases:                    IX & X and Motion to Strike Counts
                                                                              VIII & IX of Amended Adversary
                                                                              Complaint 281 UL/GA/TG
            Case RJN # In re Zetta Jet USA, Inc.,
            17-bk-21386-SK 1, 2, 3 Truly Great
            Global Ltd. v. Seagrim, BC694919,                    The fact that these documents were submitted by the parties
            California Superior Court 4, 5, 6 In re              does not mean that the Motion was converted into one for
            Zetta Jet PTE, Ltd., 17-bk-21387-SK                  summary judgment. “A motion to dismiss is not automatically
            (Proofs of Claim #s 94-2 and 95-1) N/                transformed into a motion for summary judgment simply
            A                                                    because matters outside the pleadings are filed with” the
                                                                 court. If the court ignores “the supplementary materials and
                                                                 determines the motion under the Rule 12(b)(6) standard, no
                                                                 conversion occurs.” Garita Hotel Ltd. P'ship v. Ponce Fed.
Trustee RJN at 3-5. UL/GA/TG did not object to the Trustee
                                                                 Bank, F.S.B., 958 F.2d 15, 18-19 (1st Cir. 1992); see also
RJN.
                                                                 Swedberg v. Marotzke, 339 F.3d 1139, 1146 (9th Cir. 2003)
                                                                 (stating that a Rule 12(b)(6) motion to dismiss supported by
As noted above, the Court can take judicial notice of the
                                                                 extraneous materials cannot be regarded as one for summary
fact that documents were filed in the Zetta USA case and in
                                                                 judgment until the district court acts to convert the motion by
the LASC Action, as well as the fact that proofs of claims
                                                                 indicating, preferably by an explicit ruling, that it considered



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those materials). Further, supplementary material, which is        FAC ¶¶ 252, 266, 270-71, 275). He highlights that Zetta
not considered by the Court when ruling on a Rule 12(b)(6)         Singapore was required to and did accept delivery of Planes
motion, does not become part of the record. Trans-Spec Truck       6 and 7 in Connecticut. Id. (citing UL/GA/TG FAC ¶ 193,
Service, Inc. v. Caterpillar Inc., 524 F.3d 315, 321 (1st Cir.     Exs. B-2, C, D). The Trustee contends that virtually “all of the
2008); see also Martinez v. Romero, 2011 WL 13277776, at           conditions to the effectiveness of the agreement [sic] occurred
*2 & n.3 (D.N.M. Dec. 29, 2011) (indicating that minutes           in the US,” which was by design of all parties. Id. at 20.
of a board meeting offered by the plaintiff in opposition to       According to the Trustee, the Court's Original UL/GA/TG
a motion to dismiss were not part of the record or evidence,       MTD Ruling only addressed transfers, not obligations, under
were not relied on by the court, and did not convert the motion    § 548. Id. at 19.
to dismiss into a motion for summary judgment).
                                                                   UL/GA/TG reply that the Court must examine the “focus” of
 *11 The Court did not consider the opinion, declarations          the avoidance statute to determine whether the FAC includes
or objections thereto, because they were not relevant to the       extraterritorial claims. Reply at 12. They assert that rather
Court's analysis below regarding Counts 1, 2, 6, 7, 8, 9, or       than applying that test, the Trustee directs attention to the
10. See Marconi v. United States, 2021 WL 1293889, at *2           location where the obligations were incurred, which the
(N.D. Ind. Apr. 7, 2021) (indicating that while the court could    Supreme Court has rejected. Id. at 12-13 (citing Morrison v.
consider a declaration filed in support of a motion to dismiss     Nat'l Austl. Bank, Ltd., 561 U.S. 247, 267 (2010)). They argue
and convert the motion to one for summary judgment, it need        that this case involves a Singaporean company incurring
not do so). 12                                                     obligations to transfer funds to a Hong Kong account for the
                                                                   benefit of BVI entities. Id. at 13. UL/GA/TG acknowledge
12                                                                 that transfers and obligations are not the same, but they assert
        Because the Court is not ruling on the substance
                                                                   that the relevant question is whether § 548 has a different
        of the Li Qi Motion, the Court need not consider
                                                                   focus when it regulates transfers, rather than obligations. Id.
        any declarations, statements, opinions or objections
                                                                   at 14. They contend that it does not. Id.
        thereto submitted regarding that motion to dismiss.
                                                                   The Court notes that the parties have diametrically opposing
   c. Presumption Against Extraterritoriality                      views of the allegations in the FAC. UL/GA/TG assert that the
UL/GA/TG contend that the Bankruptcy Code provisions on            statutes which are at issue in Counts 1, 2, 6, 8, 9, and 10—§§
which the Trustee relies—§§ 105, 502, 548 and 550—do not           105, 502, 548, and 550 of the Bankruptcy Code—do not apply
apply extraterritorially to the foreign transactions at issue in   extraterritorially, as the Court found in the Original UL/GA/
the Complaint, which are transfers from Zetta Singapore, a         TG MTD Ruling. Motion at 18. And, they contend that the
Singaporean company's Singapore account, to the Hong Kong          Trustee's focus in the FAC on the Debtors’ obligations, rather
account of UL/GA/TG, British Virgin Island (BVI) residents,        than their transfers of property does not change that fact. Id.
with Chinese ownership. Motion at 13, 21-22. They assert that      at 18. In contrast, the Trustee contends that the Court need
the relevant contracts are governed by the laws of Singapore,      not consider or analyze whether the FAC's allegations involve
the United Kingdom and Hong Kong. Id. at 13. UL/GA/TG              foreign transfers because he is only seeking to avoid domestic
argue that the Trustee's new “subterfuge,” seeking to avoid        obligations not transfers. Opposition at 19.
the obligations rather than the transfers, which the Court
found were extraterritorial, does not change the fact that the      *12 The Court need not spend much time on the
transactions at issue are foreign. Id.                             presumption against extraterritorial application of federal
                                                                   law, because that issue was addressed extensively in the
The Trustee responds that this adversary proceeding does           Original UL/GA/TG MTD Ruling. AP Docket #174 at 10.
not involve extraterritorial application of § 548. Opposition      Suffice it to say that unless there is clear congressional
at 18. According to the Trustee, UL/GA/TG ignore that the          intent to the contrary, “federal laws will be construed to
obligations were incurred in the United States, arguing that:      have only domestic application.” RJR Nabisco, Inc. v. Eur.
1) signature pages were sent to and released from closing          Cmty., 136 S. Ct. 2090, 2100 (2016). There is a two-step
rooms in the US; 2) US corporate trusts acted as principals        framework for analyzing whether the presumption against
under the operative documents; and 3) all closing funds for        extraterritoriality has been rebutted. First, courts consider
the Minsheng Refinancing were wired into a US bank account         whether the statute provides a clear, affirmative indication
and disbursed by a US closing agent to the parties. Id. (citing


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that it applies extraterritorially. Id. at 2101. Second, courts   Congress did not intend it to have extraterritorial effect. 14
examine a statute's “focus” to determine whether the case         AP Docket #174 at 13-16. Therefore, the Court's analysis
involves a domestic application. 13 Id.                           will address § 548’s “focus” to determine whether the FAC
                                                                  involves a domestic application.
13      During the 8/11/21 hearing, Trustee's counsel
        highlighted that because UL/GA/TG filed the               14
                                                                          Title 11 U.S.C. § 550 is a “secondary cause
        Motion, they have the burden of demonstrating                     of action” and is implicated only after a trustee
        that the counts at issue fail to “state a claim                   prevails under the avoidance sections of the
        upon which relief can be granted.” Although it                    Bankruptcy Code. In re Patts, 470 B.R. 234, 242
        is true that a defendant who moves for dismissal                  (Bankr. D. Mass. 2012) (internal citations omitted).
        under Rule 12(b)(6) has the burden of proof,              In the Original Complaint, the Trustee focused on various
        a plaintiff seeking to overcome the presumption           transfers of the Debtors’ property, which the Trustee sought
        against extraterritoriality has a “heavy burden” of       to avoid and the Court found were extraterritorial. AP Docket
        showing that: 1) a statute applies abroad; or 2)          #174 at 18-40. The Trustee's focus has shifted in the FAC
        the case involves domestic application of a statute.      from transfers to obligations that the Debtors incurred and
        See Doe v. Tapang, 2019 WL 3576995, at *7                 which the Trustee seeks to avoid. FAC ¶¶ 5, 8, 11-12, 19, 89,
        (N.D. Cal. Aug. 6, 2019) (granting a Rule 12(b)(6)        96, 138, 147, 149, 165, 171, 178-79, 185, 187-89, 191, 193,
        motion to dismiss RICO conspiracy claims because
                                                                  199, 201, 203, 206-08, 211, 213, 221, 248-49, 252, 256, 260,
        plaintiffs had not met their burden to overcome
                                                                  265, 267, 269, 271, 274, 279, 285, 287-91, 293, 304, 307,
        the presumption against extraterritoriality by
                                                                  309, 317, 335, 337, 345-46, 348, 353, 357, 364-66, 374-76,
        establishing a domestic injury); In re Arcapita Bank
                                                                  384-85, 394-95, 405, 407, 409, 417-18, 432-33, 435-36, 440,
        B.S.C.(c), 575 B.R. 229, 242 (Bankr. S.D.N.Y.
                                                                  445-52, 455, 457, 461-62, 465-66, 485, 490, 512, 520.
        2017) (indicating that when ruling on motions to
        dismiss, the party asserting that a statute applies        *13 UL/GA/TG contend that implicit in the Trustee's
        extraterritorially has the burden); In re Maxwell         position is that a transfer has a narrower focus than an
        Commc'n Corp. plc, 186 B.R. 807, 819, 820                 obligation, but the Trustee's position is “indefensible as a
        (S.D.N.Y. 1995) (indicating that the bankruptcy           matter of basic statutory construction.” Motion at 20. They
        court did not err in granting a Rule 12(b)(6) motion      highlight that in § 548, “ ‘obligation’ appears ... in the
        because plaintiffs had not met their “heavy burden”       same operative language in which ‘transfer’ appears,” and
        of showing that Congress unmistakably intended §          the Court's Original UL/GA/TG MTD Ruling forecloses the
        547 to apply abroad).                                     Trustee's claims based on obligations. Id. at 18. According to
                                                                  UL/GA/TG, if the Trustee's interpretation were correct, then
                                                                  every case that the Court relied on in finding that the transfers
  i. Avoidance and Recovery of Fraudulent Obligations
                                                                  at issue were extraterritorial would have been incorrectly
      and Subsequent Transfers Made on Account of
                                                                  decided because they each involved US obligations. Id. at
      Such Obligations (2015 Plane 6 and 7 Leases)
                                                                  20. They highlight that the Trustee's spotlight on obligations
      Under 11 U.S.C. §§ 548, and 550 (Count 1) and
                                                                  rather than transfers is not new: during the 7/22/20 hearing on
 Avoidance and Recovery of Fraudulent Obligations and
                                                                  the Original UL/GA/TG MTD, he repeatedly asserted that the
  Transfers on Account of Such Obligations (Minsheng
                                                                  Court should examine the Debtors’ obligations. Id. at 21. UL/
 Refinancing) Under 11 U.S.C. §§ 548, and 550 (Count 2)
                                                                  GA/TG conclude by arguing that the obligations on which the
                                                                  Trustee relies were ancillary and extraneous because they are
       1. Breadth of Obligations v. Transfers in § 548            not the focus of § 548 and avoiding them would accomplish
                                                                  nothing. Id. at 24.
When assessing extraterritoriality, courts must first determine
whether Congress intended the statutes at issue to apply          The Trustee responds that incurring an obligation precedes
extraterritorially. Here, Counts 1 and 2 are brought under §§     payment based on the obligation, obligations are determined
548 and 550 and in the Original UL/GA/TG MTD Ruling,              by the place where the obligation was incurred, and here, the
the Court exhaustively analyzed § 548 and determined that         Debtors’ obligations were “incurred in the US.” Opposition



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at 19. The Trustee also asserts that the Original UL/GA/TG
MTD Ruling focused on transfers, not obligations, and does           (a) The trustee may avoid any transfer ... of an interest of
not foreclose Counts 1 and 2. Id. He claims that the cases              the debtor in property, or any obligation ... incurred by
cited by UL/GA/TG are inapposite because none involved                  the debtor, that was made or incurred on or within 2 years
an attempt to avoid an obligation. Id. at 19-20. The Trustee            before the date of the filing of the petition, if the debtor
contends that all of the supposed “extraneous” closing steps            voluntarily or involuntarily—
were “conditions precedent” to the closings and made the
                                                                         *14 (A) made such transfer or incurred such obligation
agreements legally effective. Id. at 20. According to the
                                                                        with actual intent to hinder, delay, or defraud any entity
Trustee, the rationale of In re Picard ex rel. Bernard L. Madoff
                                                                        to which the debtor was or became, on or after the
Inv. Sec. LLC, 917 F.3d 85, 97 (2d Cir. 2019) applies here
                                                                        date that such transfer was made or such obligation was
because § 548 regulates the fraudulent transfer of property
                                                                        incurred, indebted; or
and the fraudulent incurrence of obligations, both of which
may be avoided. Id. at 21.                                              (B)(i) received less than a reasonably equivalent value
                                                                        in exchange for such transfer or obligation; and
In the Reply, UL/GA/TG highlight that the Court must look to
the “focus” of a statute to determine whether the FAC contains            (ii)(I) was insolvent on the date that such transfer
extraterritorial claims. Reply at 12. They argue that instead of          was made or such obligation was incurred, or become
applying that test, the Trustee asks the Court to examine the             insolvent as a result of such transfer or obligation;
location where obligations were incurred, which the Supreme
                                                                          (II) was engaged in business or a transaction, or
Court has repeatedly rejected. Id. UL/GA/TG contend that
                                                                          was about to engage in business or a transaction, for
§ 548 seeks to regulate the incurrence of obligations that
                                                                          which any property remaining with the debtor was an
“unfairly deplete the debtor's estate [because] the debtor does
                                                                          unreasonably small capital; [or]
not receive in exchange a consideration roughly equal in
value to the obligation incurred.” Id. at 13 (quoting Rubin v.            (III) intended to incur, or believed that the debtor
Mfrs. Hanover Tr. Co., 661 F.2d 979, 989 (2d Cir. 1981)).                 would incur, debts that would be beyond the debtor's
They assert that the claims at issue involved extraterritorial            ability to pay as such debts matured.
application of § 548 because the conduct that depleted the
estate was a Singaporean company's obligation to transfer          To address the parties’ opposing views of transfers and
funds to a Hong Kong account for the benefit of BVI entities.      obligations, the Court must begin by examining the language
Id.                                                                of § 548 itself. United States v. Ron Pair Enters., Inc., 489
                                                                   U.S. 235, 241 (1989) (noting that resolving a dispute over the
They note that although transfers and obligations are not          meaning of a statute begins with the statute's language); Am.
the same, the Trustee's argument that transfers are distinct       Tobacco Co. v. Patterson, 456 U.S. 63, 68 (1982) (indicating
from obligations is unavailing because the relevant question       that “our starting point must be the language employed by
is whether § 548 has a different focus when it regulates           Congress”). If Congress’ intent is clear, the Court must give
transfers rather than obligations. Id. at 14. They contend that    effect to the unambiguously expressed intent of Congress. In
the Trustee cites no authority supporting his position that        re Lewis, 401 B.R. 431, 438 (Bankr. C.D. Cal. 2009) (citing
§ 548 applies a different focus to avoidance of obligations        Chevron U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467
rather than transfers nor does he highlight any language           U.S. 837, 843-44 (1984)). Unless otherwise defined, words
that supports such a distinction. Id. UL/GA/TG conclude by         will be interpreted with their ordinary, common meaning. Id.
arguing that the Trustee improperly seeks to transform Zetta       And, courts are cautioned against ascribing to one word in
Singapore's extraterritorial obligations into domestic ones by     a statute “a meaning so broad that it is inconsistent with its
focusing on obligations of entities who were not parties to the    accompanying words, thus giving unintended breadth to the
obligations—Zetta USA, Crowe Dunlevy, Insured Aircraft             statute.” Nature v. United States, 250 F.Supp.3d 634, 640
Title Services, Inc. (IATS), Daugherty Fowler, as well as          (E.D. Cal. 2017) (citing Yates v. United States, 547 U.S. 528,
others. Id. at 15 & n.5.                                           543 (2015)) (internal quotation marks omitted).

Title 11 U.S.C. § 548(a) provides that:                            The Bankruptcy Code defines a “transfer” as “each mode,
                                                                   direct or indirect, absolute or conditional, voluntary or



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involuntary, of disposing of or parting with—(i) property;          110. TSIC responded that the relevant transfer was made
or (ii) an interest in property.” 11 U.S.C. § 101(54)(D).           or incurred within the two-year look-back period because
Although the Bankruptcy Code does not contain a definition          the parties executed a December 2006 settlement agreement
of “obligation,” it has been defined as “[a] formal binding         after Thalheimer was terminated, which provided that he
agreement or acknowledgement of a liability to pay a certain        would receive about $6 million. Id. The court noted that
amount or to do a certain thing ... a duty arising by contract.”    although Thalheimer did not actually receive the settlement
In re Asia Glob. Crossing, Ltd., 333 B.R. 199, 203 (Bankr.          payment until 2007—when he was no longer a member
S.D.N.Y. 2005); see also Obligation, Black's Law Dictionary         of the board of directors—§ 548 addresses when transfers
(11th ed. 2019) (defining “obligation” as a formal, binding         were made or incurred, not when they were received. Id.
agreement or acknowledgement of a liability to pay a certain        at 110-11. The court highlighted that the case presented the
amount or to do a certain thing for a particular person or set      “very situation that Congress intended to remedy” when
of persons; especially a duty arising by contract). Considering     it amended § 548 to address “excessive insider payments
the ordinary common meaning of obligation, it is essentially        under employment contracts that prejudice general unsecured
a contract or promise to perform some act or do something           creditors in light of the Enron and WorldCom bankruptcy
in the future. Here, the Court finds that Congress’ intent in       cases.” Id. at 110. According to the court, construing “the
referencing both a transfer and an obligation in § 548 is           statute to apply only when [TSIC] made the transfer would
clear: avoiding a transfer means that the property transferred      contradict the plain meaning of the statute and undermine
would not belong to the transferee and avoiding an obligation       legislative intent,” because “insiders could orchestrate the
would mean that the debtor is not bound by the agreement or         timing of the transfers, i.e., the payment of severance benefits,
contract. And, based on the canon of statutory construction         to occur after resignation when they are no longer insiders.”
that cautions against courts ascribing one word in a statute a      Id. at 111.
meaning that would give unintended breadth to the statute,
the Court finds that it would be illogical to attribute a broader   Similarly, in Tribune the issue confronting the court was
meaning to obligation than to transfer. To the extent that the      when an obligation in the employment context was incurred.
Trustee advocates that the breadth of obligations should be         After the Tribune Company (Tribune) suffered “deteriorating
different from and broader than the breadth of transfers in §       business,” private-equity investor Sam Zell (Zell) and Equity
548, the Court disagrees.                                           Group Investments negotiated a leveraged buyout (LBO),
                                                                    which the Tribune's board approved in April 2007. 15 In re
 *15 Although the Trustee cites In re TSIC, Inc., 428 B.R.          Tribune Co. Fraudulent Conv. Litig., 2018 WL 6329139,
103, 110-11 (Bankr. D. Del. 2010), and In re Tribune Co.            at *2-3 (Bankr. S.D.N.Y. Nov. 30, 2018). Within a year,
Fraudulent Conveyance Litigation, 2018 WL 6329139, at               some Tribune executives (Executives) were involuntarily
*14 (Bankr. S.D.N.Y. Nov. 30, 2018) his reliance on those           terminated and received severance payments under the
cases does not further his position. Neither case involved the      Tribune's “Transitional Compensation Plan for Executive
extraterritorial application of § 548. Instead, both addressed      Employees” (Compensation Plan), which was created in
a temporal issue that is not before this Court: when an             1985 and amended in July 2006. Id. at *12. The Tribune
obligation arises and specifically, when it arises in the context   continued experiencing financial difficulties and it, and many
of employment agreements.                                           of its subsidiaries, filed chapter 11 bankruptcies in December
                                                                    2008. Id. at *4. In 2010, the Tribune's Official Committee
In TSIC, TSIC, Inc., f/k/a Sharper Image Corporation (TSIC),        of Unsecured Creditors (Committee) filed numerous civil
filed a § 548 complaint seeking to avoid a $6+ million              actions against the Executives and others, seeking to claw
severance payment to Richard Thalheimer (Thalheimer), its           back funds transferred during the LBO. Id. at *4, 12. A
former director and CEO. In re TSIC, Inc., 428 B.R. 103, 106        few years later, the bankruptcy court confirmed the Tribune's
(Bankr. D. Del. 2010). The court noted it needed to resolve         reorganization plan and transferred the Committee's claims to
whether Thalheimer's entitlement to the severance payment           Marc Kirschner (Kirschner), litigation trustee for the Tribune
was “fixed on the date the transfer was made or when [TSIC]         Litigation Trust. Id. at *4.
incurred the obligation.” Id. at 109. Thalheimer argued that
the obligation was incurred in 2002, when he executed an            15      A “leveraged buyout” is the “purchase of a
employment agreement, which specified his base salary and
                                                                            publicly held corporation's outstanding stock by its
a severance package he would receive if terminated. Id. at
                                                                            management or outside investors, financed mainly


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       with funds borrowed from investment bankers or              businesses, including USN/UMO and had a controlling
       brokers and usu[ally] secured by the corporation's          interest in National Payroll Services Ltd. (National) and TWO
       assets.” Buyout, Black's Law Dictionary (11th ed.           Check Cashing Corp. (TWO), holding companies that owned
       2019).                                                      check cashing corporations. Id. at 982. The check cashers
                                                                   who were sales agents for USN/UMO continuously needed
 *16 The Executives moved to dismiss the actual and
                                                                   cash, and beginning in 1964, Trent/Skowron caused USN to
constructive fraudulent conveyance claims, asserting that
                                                                   arrange for its sales agents to receive lines of credit from
Kirschner could not avoid payments they received under
                                                                   MHT. Id. at 983. MHT obtained a series of guarantees and
the Compensation Plan because the Tribune's obligations
                                                                   cross-guarantees from various entities in the Trent/Skowron
were incurred at the latest in July 2006, which was more
                                                                   business network for the lines of credit (Guarantees). Id.
than two years before the Tribune filed bankruptcy. Id. at
                                                                   at 983-84. Eventually, the Trenton/Skowron entities became
*13. Kirschner responded that the Tribune did not become
                                                                   financially unstable, MHT stopped extending credit to UMO
liable to make any severance payments until the Executives
                                                                   check cashers, and UMO and USN filed bankruptcy. Id.
were terminated, which was within two years before the
                                                                   at 986. Under the Guarantees, MHT seized the remaining
bankruptcy filing. Id. at *12, 13. The court noted that the
Bankruptcy Code treats “debt” and “obligation” as equivalent       funds in USN's and UMO's checking accounts, sold securities
                                                                   pledged by UMO as collateral, and applied those sums toward
terms and a debt or an obligation is incurred when a contract
                                                                   repayment of National's and TWO's outstanding credit lines.
or agreement is formed, not when payment is due. Id. at
                                                                   Id. at 986-87.
*13. According to the court, the relevant contract was formed
with the Executives when they began participating in the
                                                                   Two years later, Herbert Rubin and Eliot Lumbard, USN's
Compensation Plan (generally on their hiring date) or the
                                                                   and UMO's bankruptcy trustees (collectively USN/UMO
date when it was last amended (July 2006), whichever was
                                                                   Trustees), filed an avoidance and recovery action against
later. Id. at *15. Because the latest known hiring date of
                                                                   Trent, Skowron, and MHT to recover the value of USN's/
any Executives was September 2006—more than two years
                                                                   UMO's assets that had been applied to National's and TWO's
before the petition date, the court held that Kirschner's claims
                                                                   debts under the Guarantees. Id. at 987. Although the district
seeking avoidance of the Tribune's obligations under the
                                                                   court dismissed the USN/UMO Trustees’ avoidance and
Compensation Plan failed. Id. at *16.
                                                                   recovery cause of action, the Second Circuit reversed and
                                                                   remanded, finding that the district court had incorrectly
In contrast to TSIC and Tribune, this case does not involve an
                                                                   applied § 67(d) of the Bankruptcy Act's consideration and
employment contract or address the date when an obligation
                                                                   insolvency requirements. Id. at 987-88, 996. The Second
might have been incurred. Instead, the issue before the Court
                                                                   Circuit also noted that there was a dispute regarding the
regarding Counts 1 and 2 is whether the obligations alleged
                                                                   date when the obligations were incurred. Id. at 989. The
in the FAC are extraterritorial or domestic.
                                                                   USN/UMO Trustees argued that USN and UMO incurred
                                                                   obligations as guarantors of National's and TWO's debt
UL/GA/TG cite Rubin v. Manufacturers Hanover Trust Co.,
                                                                   whenever they drew on their lines of credit. Id. at 989.
661 F.2d 979 (2d Cir. 1981), to support their position that the
                                                                   According to the USN/UMO Trustees, National and TWO
focus of § 548 is obligations that deplete the Debtors’ estate.
                                                                   drew on the lines of credit in September and December
Reply at 14. Although like the cases cited by the Trustee,
                                                                   1976, and USN/UMO filed bankruptcy in January 1977,
Rubin did not address the extraterritorial application of § 548,
it did involve a fundamental issue before the Court: what          within § 67(d)’s one-year look back period. 16 Id. at 989.
the focus of that statute is when a trustee seeks to avoid an      MHT responded that USN and UMO made the transfers
obligation.                                                        and incurred the obligations in 1972 and 1975, when they
                                                                   executed the Guarantees. Id. at 989-90.
In Rubin, bankruptcy trustees for U.S.N., Inc. and Universal
Money Order Co., Inc. (collectively USN/UMO), companies            16     Before enactment of the Bankruptcy Abuse
that issued money orders to persons without checking                      Prevention and Consumer Protection Act of 2005
accounts, sought to recover funds and securities from                     (BAPCPA), the avoidance period under 11 U.S.C.
Manufacturers Hanover Trust Co. (MHT). Rubin, 661 F.2d                    §§ 548(a)(1)(A) and (B) was one year. See In
at 980. MHT was the principal banker for John Trent and                   re TSIC, Inc., 428 B.R. 103, 109-10 (Bankr.
Eugene Skowron (Trent/Skowron), who owned numerous                        D. Del. 2010) (indicating that the enactment of


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        BAPCPA extended the one-year look-back period
        for fraudulent transfers to two years).                    UL/GA/TG contend that the obligations the Trustee seeks
                                                                   to avoid are obligations to make the same transfers that the
 *17 The Second Circuit agreed with the USN/UMO
                                                                   Court previously found were extraterritorial. Motion at 21
Trustees, noting that USN/UMO incurred obligations in 1976
                                                                   (citing Docket #174 at 24). UL/GA/TG highlight that the
when National and TWO last drew on their lines of credit.
                                                                   salient aspects of the transfers were that Zetta Singapore,
Id. at 990. According to the court, whenever National and
                                                                   a Singaporean entity, transferred funds from its Singapore
TWO borrowed under the lines of credit, they incurred
                                                                   account to UL/GA/TG, all BVI entities, into their Hong Kong
repayment obligations under their financing arrangements
                                                                   account. Id. at 21-22. They contend that because the act of
with MHT and Trent/Skowron became contingently liable
                                                                   transferring these funds was non-domestic, so too are the
to discharge the check cashers’ obligations upon default. Id.
                                                                   obligations/promises to make these transfers. Id. at 22. They
Likewise, in the event of a default, USN/UMO, as secondary
                                                                   argue that the Trustee's attempt to circumvent the Court's
guarantors, become contingently liable on those obligations.
                                                                   prior ruling by characterizing the transfers as involving US
Id. Therefore, the court held that USN/UMO incurred a
                                                                   banks is unavailing because the Court previously ruled that
contingent obligation of repayment whenever National and
TWO borrowed under the lines of credit, which they did             the use of intermediary banks does not transform a foreign
                                                                   transaction into a domestic one. Id. And, they assert that
within the one-year period. Id. In the analysis, the court noted
                                                                   to the extent the Trustee contends that the US banks were
that the focus of § 67 of the Bankruptcy Act, which was
                                                                   more than intermediaries, such an argument is belied by
at issue in Rubin, was obligations that “unfairly deplete the
                                                                   the payment instructions attached to the FAC, which are
debtor's estate if the debtor does not receive in exchange
                                                                   identical to the ones the Court relied on in the Original
a consideration roughly equal in value to the obligation
                                                                   UL/GA/TG MTD Ruling. Id. UL/GA/TG note that even
incurred.” Id. at 989. 17
                                                                   though the Trustee now focuses on obligations, he does not
                                                                   actually seek to avoid obligations, which were not incurred
17      Although Rubin was decided under § 67 of the               by Zetta Singapore, such as TVPX's obligation to maintain
        Bankruptcy Act, it is for “all intents and purposes        aircraft's FAA registration. Id. at 23. They highlight that “if
        indistinguishable from § 548(a)(1).” In re Adler,          the conduct relevant to the focus [of the statute] occurred in
        Coleman Clearing Corp., 218 B.R. 689, 706-07               a foreign country, then the case involves an impermissible
        (Bankr. S.D.N.Y. 1998); see also Roy v. Fed. Nat'l         extraterritorial application regardless of any other conduct
        Mortg. Ass'n, 76 B.R. 188, 190 (Bankr. N.D. Fla.           that occurred in U.S. territory.” Id. at 23-24 (citing RJR
        1987) (indicating that § 67(d) was the precursor of        Nabisco, Inc. v. Eur. Cmty., 136 S. Ct. 2090, 2101 (2016)).
        § 548 and they are indistinguishable).
Rubin is informative because it highlights that the focus of §     The Trustee does not directly address the “focus” of § 548,
67 of the Bankruptcy Act, which is indistinguishable from §        instead arguing that the obligations he seeks to avoid were
548, is obligations that “unfairly deplete the debtor's estate.”   incurred entirely in the US:
With Rubin in mind, the Court considers the focus of § 548
                                                                      *18 1) Zetta USA's Part 135 certificate, which was issued
as it applies to the facts of this case.
                                                                       by the FAA and required to operate commercial charter
                                                                       flights in the US, was critical to all of the financing deals.
                                                                       Opposition at 16 (citing FAC ¶¶ 8, 178).
                    a. The Focus of § 548
                                                                     2) The 2015 Plane 6 Lease and 2015 Plane 7 Lease required
To determine whether a case involves domestic or foreign                Planes 6 and 7 to be FAA registered and immediately
application of statutes, courts must analyze the “focus” of the         subleased to Zetta USA and operated under its Part 135
relevant statutes. RJR Nabisco, Inc. v. Eur. Cmty., 136 S. Ct.          certificate. Id. (citing FAC ¶¶ 178, 254, 269).
2090 (2016); Morrison v. Nat'l Austl. Bank Ltd., 561 U.S.
247 (2010). As the Court noted in the Original UL/GA/TG              3) UL/GA/TG prepared acknowledgement of delivery
MTD Ruling, the question whether transactions are foreign              certificates requiring Zetta Singapore to confirm that it
or domestic depends “very heavily” on the facts of each case.          “became obliged” under the 2015 Plane 6 Lease and
AP Docket #174 at 24 (citing In re Arcapita Bank B.S.C.(c),            2015 Plane 7 Lease when it took delivery of those
575 B.R. 229, 246 (Bankr. S.D.N.Y. 2017)).


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     aircraft in Windsor Locks, Connecticut. Id. at 16, 18, 20   as if the parties were present and signed the agreements there
     (citing FAC ¶¶ 178, 193, Exs. B-2, C, D).                   and virtually “all of the conditions to the effectiveness of the
                                                                 agreement [sic] occurred in the US,” which was “by design
  4) The 2015 Plane 6 Lease, 2015 Plane 7 Lease, and             of all of the parties to the agreements.” Id. He highlights that
    Minsheng Refinancing closed in the US. Id. at 16-17          the 2015 Plane 6 Lease and 2015 Plane 7 Lease required Zetta
    (citing FAC ¶ 11). UL, GA, and the Debtors wanted those      Singapore to confirm that it accepted delivery in Connecticut,
    closings to occur in Connecticut because Connecticut         at which point it was obligated to pay. Id. According to the
    law exempted aircraft sales from sales and use tax. Id. at   Trustee, this was not just an ancillary obligation, but rather
    16-17 (citing FAC ¶ 11).                                     an “unequivocal confirmation” required by UL/GA/TG that
                                                                 Zetta Singapore incur its payment obligations in the US. Id.
  5) Yuntian 3 and the Debtors chose US corporate trusts,
    Wells Fargo and TVPX, to act as principals under the
                                                                  *19 UL/GA/TG reply that the Trustee wants the Court
    Minsheng Plane 6 Lease and Minsheng Plane 7 Lease.
                                                                 to examine where the obligations were allegedly incurred,
    Id. at 18 (citing FAC ¶ 275).
                                                                 but the Supreme Court has repeatedly rejected attempts to
  6) All closing payments from the Minsheng Refinancing          substitute location-based tests for the focus test. Reply at
    were made into and through US bank accounts. Id. at 16,      12-13 (citations omitted). According to UL/GA/TG, § 548
    17, 18 (citing FAC ¶¶ 11, 272-74).                           regulates the incurrence of obligations that unfairly deplete
                                                                 the debtor's estate, which they assert were to make lease and
  7) Additional payments under the Minsheng Refinancing          loan payments, not any ancillary conduct the Trustee cites. Id.
     were “likely to be made through banks that were             at 14-15. Finally, UL/GA/TG highlight that the Trustee relies
     subject to US laws or through US-based intermediary         on obligations of non-parties to the transactions, such as Zetta
     correspondent banks.” Id. at 17 (citing FAC ¶ 11).          USA, which § 548 does not govern. Id. at 15-16.

  8) The parties to the Minsheng Refinancing—the Debtors,        To determine the conduct that is relevant to the analysis,
     UL, GA, Yuntian 3, Minsheng Financial, EDC, Cassidy,        the Court must consider the “focus” of the avoidance and
     and Asia Aviation, FAC ¶¶ 249-68—sent their signature       recovery provisions (§§ 548, and 550), which is the transfer
     pages to closing agents in the US and, upon satisfaction    or obligation that “depletes the property that would have
     of the closing conditions, including acceptance and         become property of the estate.” In re CIL Ltd., 582 B.R. 46,
     delivery of Planes 6 and 7 in the US, signature pages       93 (Bankr. S.D.N.Y. 2018); In re Ampal-Am. Isr. Corp., 562
     were released and documents were filed with the FAA         B.R. 601, 613 (Bankr. S.D.N.Y. 2017) (same); In re Sherwood
     in Oklahoma City. Id. at 17, 18, 20 (citing FAC ¶¶ 252,     Invs. Overseas Ltd., Inc., 2015 WL 4486470, at *19 (Bankr.
     266, 269-71, 276-77).                                       M.D. Fla. July 22, 2015), aff'd 2016 WL 5719450 (M.D.
                                                                 Fla. Sept. 30, 2016) (“Courts applying the extraterritoriality
  9) Zetta USA signed the Guarantee and the Subleases in
                                                                 presumption to fraudulent transfers typically hold that the
    the US when it signed and delivered its signatures to a
    US closing room. Id. at 17, 18-19 (citing FAC ¶¶ 262-63,     proper focus is the transfers sought to be avoided, not the
    266-68, 270-71).                                             parties’ relationship or locus.” (emphasis in original)); see
                                                                 also Rubin v. Mfrs. Hanover Tr. Co., 661 F.2d 979 (2d Cir.
  10) Planes 6 and 7 had to be maintained at a US base. Id.      1981) (noting that the focus of § 67 of the Bankruptcy Act
    at 17 (citing FAC ¶ 178).                                    was obligations that “unfairly deplete the debtor's estate”).

  11) UL/GA/TG required the Debtors to make payments in          The Trustee relies on the following to support his contention
    US dollars or to US bank accounts, which necessitated        that Counts 1 and 2 involve domestic application of § 548:
    the use of US intermediary or correspondent banks. Id.       FAA registration and operation of Planes 6 and 7 under
    at 17 (citing FAC ¶ 406).                                    Zetta USA's Part 135 certificate; US closings; use of US
                                                                 professionals in transactions; use of corporate trustees to
The Trustee challenges UL/GA/TG's contention that the            comply with FAA regulations; maintenance of the aircraft
closing steps were “ancillary” and avoiding them would           at a US base; payments being made in US dollars; and
accomplish nothing. Id. at 20. He asserts that the release of    funds for the 2015 Plane 6 Lease, 2015 Plane 7 Lease
signature pages in Oklahoma City had the same legal effect       and Minsheng Refinancing being routed through US banks.



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Opposition at 16-20; FAC ¶¶ 8, 11, 178, 191-92, 211-12, 254,     of funds from the Minsheng Refinancing between transferors
269-70, 272-75, 347-48, 351-53, 406. Unfortunately for the       and recipients).
Trustee, in the Original UL/GA/TG MTD Ruling, the Court
considered and rejected the Trustee's contention that each       18     In the FAC, the Trustee alleges that these six
of these US ties transmuted extraterritorial transactions into          transfers were sent to UL's “US bank account at
domestic ones.                                                          HSBC Bank in New York, USA.” FAC ¶¶ 195,
                                                                        215 (citing FAC Exs. B-2, D). The documents
The Trustee also mentions the following to support his                  on which the Trustee relies, however, contradict
position that the obligations at issue were US-based:                   the Trustee's allegations that UL had a US bank
  1) Zetta Singapore confirmed that it became “obliged” to              account. Exs. B-2 and D show that the transfers
     pay GA under the 2015 Plane 6 Lease and UL under                   under the 2015 Plane 6 Lease and 2015 Plane
     the 2015 Plane 7 Lease when it accepted delivery of the            7 Lease were sent from Zetta Singapore's HSBC
                                                                        account in Singapore, through an HSBC account
     aircraft in Connecticut. FAC ¶¶ 178, 192-93, 213, 350,
                                                                        in New York, for credit to UL's HSBC account
     355; Ex. B-2 at 10; Ex. C at 68; Ex. D at 6.
                                                                        in Hong Kong. FAC Ex. B-2 § 3.26; Ex. D
  2) UL, GA, and the Debtors wanted the 2015 Plane 6                    § 3.26. “[W]hen an exhibit to a complaint is
    Lease and the 2015 Plane 7 Lease to close in Connecticut            inconsistent with the complaint's allegations, the
    because Connecticut law exempted aircraft sales from                exhibit controls.” Nguyen v. Bank of Am., NA,
    sales and use tax. FAC ¶ 178.                                       563 Fed. Appx. 558, 558 (9th Cir. 2014). Further,
                                                                        the Court previously considered the documents on
  3) The Minsheng Refinancing closed in the US, and                     which the Trustee relies and held that the transfers
    additional payments under the Minsheng Refinancing                  were foreign. AP Docket #174 at 32. And, routing
    were “likely either made through banks that were                    transfers through an HSBC account in New York
    subject to US laws or through US-based intermediary                 does not affect the extraterritoriality analysis. See
    correspondent banks.” FAC ¶ 11.                                     In re Maxwell Commc'n Corp. plc, 186 B.R. 807,
                                                                        817 n.5 (S.D.N.Y. 1995) (holding that a transfer
  4) Signature pages for the 2015 Plane 6 Lease and 2015
                                                                        was foreign where the transfer was made from an
    Plane 7 Lease and for the Minsheng Refinancing—
                                                                        MCC Natwest account in London to Barclays's
    including for the Subleases, Clarification, and Guarantee
                                                                        branch in New York, through which all payments
    —were sent to closing agents in the US and, once the
                                                                        made to Barclays in dollars were routed, and the
    closing conditions were met, the signature pages were
                                                                        funds were then immediately credited to MCC's
    released and documents were filed with the FAA in
                                                                        London Barclays account).
    Oklahoma City. Id. ¶¶ 192, 194, 212, 214, 252, 262-63,
    266-71, 276-77, 349, 351, 354, 356.                          In Count 2, the obligations that allegedly depleted the estate
                                                                 were:
 *20 In Count 1, the obligations that allegedly depleted the
                                                                   1) Disbursing funds from the Minsheng Refinancing,
estate were Zetta Singapore's agreeing to make the $11.9
                                                                     including:
million of transfers outlined in FAC Schedule A for Planes
6 and 7, and the $55 million transfer ($55M Transfer) to              a. The $55M Transfer from Minsheng Business's Hong
UL from the proceeds of the Minsheng Refinancing. FAC ¶¶                 Kong account, through IATS's New York account, to
451-55. The Court previously addressed the: 1) six transfers             UL's Hong Kong account, FAC ¶ 466 & Sch. D; and
listed in Schedule A—from Zetta Singapore's account in
Singapore through an HSBC account in New York for credit              b. The $12.4 million transfer ($12.4M Transfer) from
to UL's account in Hong Kong; 18 and 2) $55M Transfer                    Minsheng Business's Hong Kong account, through
from Minsheng Business's Hong Kong account, through an                   IATS's New York account, to Minsheng Business's
IATS New York escrow account, to UL's account in Hong                    Hong Kong account, id. ¶ 466 & Sch. D;
Kong, and found them to be foreign. AP Docket #174 at
                                                                   2) Transferring $10,148,723 from Zetta Singapore's
32-34; see also FAC ¶¶ 272-73 & Sch. D (showing the flow
                                                                     Singapore account, through an HSBC New York
                                                                     account, to UL's Hong Kong account, which Zetta


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      Singapore was required to pay under the Clarification        bases; 2) Zetta Singapore confirm that it became “obliged”
      (Plane 6 Loan Transfers),   19
                                       id. ¶ 466 & Sch. B; and     to pay GA and UL under the 2015 Plane 6 Lease and 2015
                                                                   Plane 7 Lease, respectively, when it took delivery of the
  3) Making “rent” and goodwill transfers under the                aircraft in Windsor Locks, Connecticut; and 3) payments be
    Minsheng Plane 6 Lease, Minsheng Plane 7 Lease,                made in US dollars, did not deplete the estate. Likewise, the
    and the Subleases, totaling over $17.3 million, from           occurrence of closings in the US, the use of US professionals
    Zetta Singapore's Singapore account to either Minsheng         in the Minsheng Refinancing and of US corporate trustees to
    Business's Hong Kong account or Yuntian 3's Ireland            meet FAA citizenship requirements, the routing of payments
    account, id. ¶ 466 & Sch. C.                                   through US banks, and the signature pages from the Minsheng
                                                                   Refinancing being sent to and released from US closing
19                                                                 rooms and filed with the FAA in Oklahoma City, do not
        The Trustee alleges “on information and belief”
        that “a US Correspondent Bank was involved in”             pertain to the depletion of the estate. Finally, the FAC's
        the Plane 6 Loan Transfers. FAC Sch. B. Assuming           allegation that additional payments under the Minsheng
        that were true, as the Court must when ruling              Refinancing were “likely either made through banks that
        on a Rule 12(b)(6) motion to dismiss, the use              were subject to US laws or through US-based intermediary
        of a domestic intermediary bank account does               correspondent banks,” FAC ¶ 11, is vague and insufficient
        not make a foreign transfer domestic. See In re            to demonstrate that the obligations that the Trustee seeks to
        Maxwell Commc'n Corp. plc, 186 B.R. 807, 817               avoid were domestic.
        n.5 (S.D.N.Y. 1995).
The Court previously considered the $55M Transfer, the
$12.4M Transfer, the Plane 6 Loan Transfers, and the $17.3              2. The Avoidance and Recovery of Extraterritorial
million of rent and goodwill transfers in the Original UL/                  Transfers Based on Domestic Obligations
GA/TG MTD Ruling and the Yuntian/Minsheng MTD Ruling
                                                                   UL/GA/TG contend that even if the Court were to find that
and held that they were extraterritorial. AP Docket #s 174 at
                                                                   the obligations at issue were domestic, the foreign transfers
33-35; 175 at 32-34.
                                                                   are extraterritorial and not recoverable under 11 U.S.C. § 550.
                                                                   Motion at 24. UL/GA/TG highlight that under § 550, the
 *21 None of the activity that the Trustee highlights pertains
                                                                   Trustee can only recover property “to the extent a transfer is
to the focus of § 548, which is the transfer or obligation that
                                                                   avoided under ... § 548.” Id.
depletes the estate. As the Supreme Court has explained, the
mere existence of domestic conduct does not mean that a
                                                                   The Trustee responds by noting that a general purpose
statute is being applied domestically. See RJR Nabisco, Inc.
                                                                   of the Bankruptcy Code's avoidance provisions, including
v. Eur. Cmty., 136 S. Ct. 2090, 2101 (2016) (noting that if
                                                                   § 548, is to protect “a debtor's estate from depletion to
the relevant conduct occurred abroad, then the case involves
                                                                   the prejudice of the unsecured creditor.” Opposition at 21
an impermissible extraterritorial application regardless of any
                                                                   (quoting In re Picard, ex rel. Bernard L. Madoff Inv. Sec.
other conduct that occurred in the US); Morrison v. Nat'l
                                                                   LLC, 917 F.3d 85, 91, 93 (2d Cir. 2019), petition for cert.
Austl. Bank Ltd., 561 U.S. 247, 266 (2010) (stating that the
                                                                   denied 2020 WL 2814770 (U.S. June 1, 2020) (No. 19-277)).
presumption against extraterritoriality would be a “craven
                                                                   Although the Trustee recognizes that Picard did not involve
watchdog indeed if it retreated to its kennel” whenever some
                                                                   fraudulently incurred obligations—as are alleged in the FAC
domestic activity is involved).
                                                                   —he asserts that its rationale applies with equal force here.
                                                                   Id. The Trustee contends that by avoiding the obligations
The Trustee contends that § 548 focuses on the initial
                                                                   under the 2015 Plane 6 Lease, the 2015 Plane 7 Lease,
fraudulent conduct—either a fraudulent transfer of an asset
                                                                   and the Minsheng Refinancing, “which constituted the initial
or the fraudulent incurrence of an obligation—that “depletes”
                                                                   depletion of the estate, the counterpart provisions of [§] 548
the estate to the detriment of the unsecured creditors. But, the
                                                                   may be invoked to avoid transfers to pursue remedial relief on
problem for the Trustee, is the obligations on which he relies,
                                                                   account of this regulated conduct since any repayment of an
did not deplete the estate of anything. The requirements that:
                                                                   avoided obligation is unquestionably not made for reasonably
1) Planes 6 and 7 be: a) FAA registered and operated under
                                                                   equivalent value and may be set aside provided the other
Zetta USA's Part 135 certificate; b) delivered to Connecticut
                                                                   statutory requirements are met.” Id. at 21-22. The Trustee
for FAA registration and tax purposes; c) maintained at US


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concludes by arguing that he seeks to recover the “transfers       (Picard), the trustee for the liquidation of Madoff Securities,
made on account of the fraudulently incurred obligations           filed avoidance and recovery actions under §§ 548 and 550
under [§] 548 as a second step in the avoidance and recovery       against the foreign feeder funds, who moved to dismiss.
process.” Id. at 22.                                               Id. at 91. The bankruptcy and district courts held that the
                                                                   avoidance and recovery claims should be dismissed based
 *22 UL/GA/TG reply that avoiding an obligation does not           on the presumption against extraterritoriality or international
permit a trustee to recover property because § 550(a) only         comity principals. Id. at 91, 94. Both courts reasoned that
permits recovery to the extent a transfer is avoided. Id. at       Picard could not recover property that one foreign entity
16. They argue that Picard does not warrant disregarding the       received from another foreign entity. Id.
Bankruptcy Code. Id. at 16-17. According to UL/GA/TG,
if the Trustee could avoid transfers without showing they          20     A “feeder fund” is an entity that pools money
were domestic, the presumption of extraterritoriality would be
                                                                          from numerous investors and then places it into a
“toothless.” Id. at 17. They conclude that because avoidance
                                                                          “master fund” on their behalf. Id. at 92. A “master
of transfers is prerequisite to recovery of transfers and this
                                                                          fund,” which is what Madoff Securities advertised
Court has already ruled the transfers were foreign, the mere
                                                                          its funds to be, pools investments from multiple
avoidance of obligations would not permit recovery. Id.
                                                                          feeder funds and then invests the money. Id.

In the context of § 550, it is important to note the distinction   The Second Circuit reversed, noting that when a trustee
between avoiding a transfer and avoiding an obligation. If         seeks to avoid and recover subsequently transferred property
the Trustee were successful in avoiding a transfer, he could       under §§ 548(a) and 550(a), the relevant transfer that must
recover the property transferred or the value of that property     be avoided is the initial transfer. Id. at 98. The Second
under § 550. In re Asia Glob. Crossing, Ltd., 333 B.R. 199,        Circuit rejected the lower courts’ test that considered the
202 (Bankr. S.D.N.Y. 2005). In contrast, if the Trustee were       subsequent transfer, reasoning that the relevant conduct was
successful in avoiding an obligation, the obligation would         Madoff Securities's “fraudulent transfer of property, not the
be rendered unenforceable but there would be nothing to            transferees’ receipt of property.” Id. at 100 (emphasis in
return to the estate and § 550 would afford the Trustee no         original). The court expressed no opinion regarding whether
remedy. Id.; see also In re MacMenamin's Grill Ltd., 450 B.R.      a domestic debtor or a transfer of property from a US
414, 429 (Bankr. S.D.N.Y. 2011) (noting that if a transfer is      bank account would be sufficient to support a finding of a
avoided it is recoverable under § 550 but if an obligation         domestic transfer. Id. at 99 n.9. Because Madoff Securities
is avoided, it reduces “dollar for dollar the claims that the      was a domestic entity, which transferred property from its US
estate must pay” but there is nothing to preserve or bring back    account to the foreign feeder funds, the court held that the
into the estate); In re Lewis, 574 B.R. 536, 540 n.15 (Bankr.      transfers were domestic. Id.
E.D. Pa. 2017) (indicating that when a trustee successfully
avoids an obligation under § 548, the obligation is rendered        *23 Here, the Trustee attempts to analogize the conduct
unenforceable leaving no property or asset to return and if        that occurred in the US in Picard—the transfer of a US-
the trustee succeeded in his attempt to avoid an obligation on     based company's funds from that company's US account—
a loan, the obligation to repay the loan would be rendered         to Cassidy's fraudulent conduct. Opposition at 21-22. He
unenforceable but the transfer of the loan proceeds would not      highlights that the FAC alleges that Cassidy fraudulently
be avoided).                                                       incurred obligations in the US under the 2015 Plane 6 Lease,
                                                                   the 2015 Plane 7 Lease and the Minsheng Refinancing. Id.
Although the Trustee asserts that Picard’s rationale supports      at 21. Unfortunately for the Trustee, the obligations that he
his position, the Court disagrees. In Picard, Bernard L. Madoff    highlights as occurring in the US—documents sent to the US
Investment Securities LLC (Madoff Securities), a US-based          for signature, maintenance of Planes 6 and 7 at a US facility,
entity transferred billions of dollars from its New York JP        payment in US dollars, use of US professionals and corporate
                                                                   trustees, and delivery of Planes 6 and 7 in Connecticut—are
Morgan Chase account to several foreign “feeder funds,” 20
                                                                   not analogous to the initial transfers in Picard because those
which then transferred the money to foreign investors. In re
                                                                   obligations are not the focus of § 548 and did not deplete the
Picard, ex rel. Bernard L. Madoff Inv. Sec. LLC, 917 F.3d
                                                                   estate. See WesternGeco LLC v. ION Geophysical Corp., 138
85, 91, 93 (2d Cir. 2019), petition for cert. denied 2020 WL
                                                                   S. Ct. 2129, 2137 (2018) (explaining that the “focus” of a
2814770 (U.S. June 1, 2020) (No. 19-277). Irving Picard
                                                                   statute is the “object of its solicitude,” which can include the


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conduct that it “seeks to regulate” and the parties and interests   them to the Court's jurisdiction to adjudicate those claims but
it “seeks to protect” or vindicate). They were preliminary          does not transmute extraterritorial transactions into domestic
steps to the conduct that actually depleted the estate, which       ones. Reply at 17-19.
was the transfer of funds from:
                                                                    21
  1) Zetta Singapore's Singapore account through an HSBC                   The FAC alleges that Li Qi, via his alter egos, UL
                                                                           and GA, filed a $35,660,808.18 unsecured claim,
     New York account to UL's Hong Kong account;
                                                                           POC #94-2, and a $43,208,715.74 unsecured claim,
  2) Minsheng Business's Hong Kong account, through an                     POC #95-1.
    IATS New York escrow account, to UL's Hong Kong                 UL/GA/TG highlight that in the Original UL/GA/TG MTD
    account;                                                        Ruling, the Court held that filing a proof of claim does
                                                                    not render an extraterritorial transaction domestic because
  3) Minsheng Business's Hong Kong account, through an
                                                                    it would “effectively expand the reach of §§ 547, 548 and
    IATS New York account, back to Minsheng Business's
                                                                    550, beyond what those statutes provide.” Motion at 19
    Hong Kong account; and
                                                                    (citing AP Docket #174 at 42). The Trustee responds that
  4) Zetta Singapore's Singapore account to Minsheng                Li Qi, through UL and GA, filed POCs totaling more than
    Business's Hong Kong account or Yuntian 3's Ireland             $72 million regarding the same obligations that UL/GA/TG
    account.                                                        assert the Court lacks power to avoid under § 548 based
                                                                    on extraterritoriality. Opposition at 22-23. According to the
The Trustee also provides a brief analysis of In re                 Trustee, it would be unfair for UL/GA/TG to keep transfers
International Manufacturing Group, Inc., 2016 WL 7163588            made under the 2015 Planes 6 and 7 Leases and to take the
(Bankr. E.D. Cal. Dec. 6, 2016), in arguing that upon               lion's share of funds available through the claims process
avoidance of a fraudulently incurred obligation, which              without repaying $35.7 million to the estates. 22 Id. at 25-26
constituted the initial depletion of the estate, “the counterpart   (citing Off. Comm. of Unsecured Creditors v.
provisions of Section 548 may be invoked to avoid
transfers. ...” Opposition at 21-22. The Trustee's reliance on      22     According to the Trustee, UL/GA/TG fraudulently
this case is misplaced. It did not address whether obligations
                                                                           received approximately $35.7 million because
were extraterritorial or domestic or whether a domestic
                                                                           Zetta Singapore paid:
obligation to make a foreign transfer would be sufficient
                                                                                1) $6,305,382 more than fair market value
under § 548 to avoid a transfer based on that obligation.
                                                                                   on account of obligations for Planes 6
Further, it involved a trustee seeking to avoid obligations to
                                                                                   and 7: $3,065,043 more than fair market
invalidate security interests, which would render them void,
                                                                                   value for Plane 6, and $3,240,339 more
allowing her to recover payments made on those obligations
                                                                                   than fair market value for Plane 7, FAC ¶¶
from the collateral. In contrast, here, the FAC does not
                                                                                   199, 218. The Trustee's calculation of the
allege, nor does the Trustee suggest, that he seeks to avoid
                                                                                   amounts alleged in the FAC differs from
obligations to invalidate security interests.
                                                                                   the Court's by $1. The FAC indicates that
                                                                                   Zetta Singapore actually paid $5,944,068
                                                                                   on obligations under the 2015 Plane 6
                      ii. Proofs of Claims                                         Lease and the monthly financing cost for
                                                                                   comparable aircraft at fair market value
In addition to the issues addressed above, the primary area                        should have been $2,879,025, resulting in
of disagreement between the parties regarding Counts 1, 2,                         excess payments of $3,065,042. FAC ¶ 199.
as well as Counts 6, 8, 9, and 10 is the impact of UL/                             But, $5,944,068 - $2,879,025 = $3,065,043.
GA/TG's filing proofs of claims (POCs). 21 The Trustee                          2) $19.2 million more than fair market
contends that because UL/GA/TG filed the POCs, they                                value for Plane 7 under the Minsheng
submitted themselves to the Court's jurisdiction and waived                        Refinancing, FAC ¶ 286. According to the
any challenges that they had to the extraterritorial application                   FAC, the Minsheng Refinancing resulted in
of §§ 105(a), 502, 548 and 550. Opposition at 22-26. In                            UL receiving $55 million from the Debtors
contrast, UL/GA/TG contend that filing the POCs subjects                           for Plane 7, which was worth at most, $35.7



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             million. Id. ¶¶ 250, 273(a), 285-86. The              Trustee cites cases holding that bankruptcy courts have broad
             Court calculates that difference as $19.3             jurisdiction over the claims administration process but he
             million rather than $19.2 million.                    does not cite any case suggesting that a bankruptcy court
           3) $10,149,893 in duplicate financing for               can apply a statute to conduct outside its scope. Id. at 19.
             Plane 6, FAC Sch. B.                                  They discount the Trustee's fairness argument, noting that in
       Opposition at 24-25.                                        the Ninth Circuit, policy considerations alone are insufficient
                                                                   to overcome the presumption against extraterritoriality. Id.
 *24 Hancock Park Capital II, L.P., 714 F.3d 1141, 1148 (9th
                                                                   (citing AP Docket #174 at 16). According to UL/GA/TG, the
Cir. 2013)). The Trustee highlights that the 6/27/17 Transfer
                                                                   Trustee can pursue foreign fraudulent transfers but cannot do
and the Minsheng Plane 6 Lease and Minsheng Plane 7
                                                                   so under US law. Id. UL/GA/TG conclude by arguing that
Lease are property of the estate under § 541, which has no
                                                                   because the Court's “jurisdiction to resolve a dispute does
extraterritorial limitations. Id. at 26 (citing In re Simon, 153
                                                                   not include the power to expand a statute, the Court should
F.3d 991, 995 (9th Cir. 1998); Kismet Acquisition, LLC v.
Icenhower (In re Icenhower), 757 F.3d 1044 (9th Cir. 2014)).       exercise its jurisdiction and dismiss the Trustee's claims on
                                                                   the merits.” Id. (emphasis in original).
UL/GA/TG reply that the Court correctly held that
filing proofs of claims does not transmute extraterritorial        As an initial note, when ruling on the Original UL/TG/
transactions into domestic ones because “only Congress, not        GA MTD, this Court rejected the Trustee's argument—that
litigants, can determine the breadth of [a] statute,” and the      UL/GA/TG's “deliberate and voluntary decision” of filing
Trustee's position would effectively expand the reach of §§        the POCs waived the presumption against extraterritoriality.
548 and 550 “beyond what those statutes provide, which             AP Docket #174 at 40-44. The Trustee again cites Katchen
Morrison indicated, courts should not do.” Reply at 17-18          v. Landy, 382 U.S. 323, 329-30 (1966), and Langenkamp
(quoting AP Docket #174 at 43). UL/GA/TG contend that              v. Culp, 498 U.S. 42, 44-45 (1990), which are unavailing
the Trustee incorrectly conflates the Court's jurisdiction over    because neither case addressed or involved extraterritorial
a case with the merits of whether a statute regulates non-         application of the Bankruptcy Code or provide support for
domestic conduct, highlighting that:                               the Trustee's position that filing the POCs extends §§ 548
                                                                   and 550 to extraterritorial conduct. AP Docket #174 at 44.
                                                                   And, the Trustee's citations to Northern Pipeline Construction
                                                                   Co. v. Marathon Pipe Line Co., 458 U.S. 50, 54 (1982),
             to ask what conduct § 10(b) ...
                                                                   Pepper v. Litton, 308 U.S. 295, 304 n.11 (1939), and U.S.
             reaches is to ask what conduct §
                                                                   Fidelity & Guaranty Co. v. Bray, 225 U.S. 205, 216-17
             10(b) prohibits, which is a merits
                                                                   (1912), which did not involve extraterritoriality issues but
             question. Subject-matter jurisdiction,
                                                                   instead stand for the proposition that bankruptcy courts can
             by contrast, refers to a tribunal's power
                                                                   adjudicate claims as part of the claims allowance process or
             to hear a case. ... It presents an
                                                                   in the context of fraudulent transfer or preference actions, are
             issue quite separate from the question
                                                                   likewise unpersuasive.
             whether the allegations the plaintiff
             makes entitle him to relief.
                                                                    *25 According to the Supreme Court, a court's jurisdiction
                                                                   to adjudicate a matter is separate from whether a statute
                                                                   regulates extraterritorial conduct. See RJR Nabisco, Inc. v.
Id. at 18 (quoting Morrison v. Nat'l Austl. Bank Ltd., 561 U.S.    Eur. Cmty., 136 S.Ct. 2090, 2109 (2016) (differentiating
247, 254 (2010) (internal quotations and citations omitted)).      between whether a federal court has jurisdiction to adjudicate
According to UL/GA/TG, proofs of claims establish the              a claim and whether the court has authority to recognize
Court's jurisdiction to adjudicate controversies, including        a cause of action under US law); Morrison v. Nat'l Austl.
whether obligations are avoidable under § 548. Id. at 18.          Bank Ltd., 561 U.S. 247, 254 (2010) (indicating that to
But, they contend that the Trustee cannot prevail merely by        ask what conduct a statute reaches is a merits question,
establishing subject-matter jurisdiction, he must also establish   whereas subject-matter jurisdiction refers to a court's power
that a statute applies to his claim and the substantive elements   to hear a case, which is a separate issue from whether the
are met. Id. They contend that whether the obligations are         allegations entitle the plaintiff to relief). And, the Trustee's
domestic is a merits question, separate from the Court's           fairness argument does not further his position because in
jurisdiction to decide a dispute. Id. They assert that the


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the Ninth Circuit, policy considerations alone are insufficient
to overcome the presumption against extraterritoriality. In re      Icenhower is readily distinguishable. Here, Counts 1 and 2
Bankr. Est. of Midland Euro Exch. Inc., 347 B.R. 708, 719           seek avoidance and recovery under §§ 548 and 550, Count
(Bankr. C.D. Cal. 2006) (citing Subafilms, Ltd. v. MGM-             6 seeks recharacterization of the 6/27/17 Transfer as equity
Pathe Commc'ns Co., 24 F.3d 1088, 1096 (9th Cir. 1994)).            under §§ 105 and 502, Counts 8 and 9 seek recharacterization
                                                                    of the Minsheng Plane 6 Lease and Minsheng Plane 7 Lease
Although the Trustee cites In re Simon, 153 F.3d 991 (9th           as financings rather than true leases under § 105, and Count
Cir. 1998), and Kismet Acquisition, LLC v. Icenhower (In            10 seeks disallowance of claims under § 502. In contrast,
re Icenhower), 757 F.3d 1044 (9th Cir. 2014), to support            Kismet involved a § 549(a) action, which governs transfers
his position that the 6/27/17 Transfer and the Minsheng             and avoidance of “property of the estate.” 11 U.S.C. § 549(a).
Planes 6 and 7 Leases are property of the estate under §            None of the statutes at issue in Counts 1, 2, 6, 8, 9, or 10
541, his reliance on those cases is not persuasive. Opposition      address “property of the estate.”
at 26. In the Original UL/GA/TG MTD Ruling, the Court
extensively analyzed Simon, 153 F.3d 991 (9th Cir. 1998),            *26 Further, although the Trustee claims that this Court
explained why it was inapposite, and found that UL's and            has exclusive jurisdiction under § 541 to determine what
GA's filing the POCs did not waive the presumption against          is “property of the estate,” neither case the Trustee
extraterritoriality. AP Docket #174 at 41-43.                       cites—Official Committee of Unsecured Creditors v.
                                                                    Hancock Park Capital II, L.P. (In re Fitness Holdings
The Trustee's reference to Kismet Acquisition, LLC v.               International, Inc.), 714 F.3d 1141 (9th Cir. 2013), nor In
Icenhower (In re Icenhower), 757 F.3d 1044 (9th Cir.                re Ames Department Stores, Inc., 542 B.R. 121 (Bankr.
2014), is likewise unavailing. In Icenhower, Jerry and Donna        S.D.N.Y. 2015)—involved issues of extraterritoriality.
Icenhower (Icenhowers) bought a Mexican villa (Villa). Id.          Fitness Holdings addressed whether the debtor's “pre-
at 1047. A few years later, they bought a shell company,            bankruptcy transfer of funds to its sole shareholder, in
H&G, and transferred their interest in the Villa to H&G. Id.        repayment of a purported loan, may be a constructively
at 1048. Then, they filed bankruptcy. Id. About six months          fraudulent transfer under 11 U.S.C. § 548(a)(1)(B)” and
later, H&G sold its interest in the Villa to Alejandro Diaz-        Ames addressed whether the bankruptcy court or a state
Barba and Martha Barba de la Torre (Diazes). Id. The chapter        court had jurisdiction to adjudicate disputes regarding Ames
7 trustee, Gerald Davis (Davis), filed avoidance and recovery       Department Stores, Inc. and its affiliates. In re Fitness
actions, alleging that H&G was the Icenhowers’ alter ego and        Holdings, 714 F.3d at 1143; In re Ames Dep't Stores, 542 B.R.
the Villa's sale to the Diazes was an unauthorized postpetition     at 126-27. Therefore, the Court disagrees with the Trustee's
transfer. Id. Shortly thereafter, Kismet Acquisition, LLC           argument that UL/GA/TG's filing of POCs allows the Court to
(Kismet) bought the estate's assets and was substituted for         apply §§ 105(a), 502, 548 and 550 to extraterritorial conduct.
Davis in both avoidance actions. Id. at 1048-49.

After trial, the bankruptcy court held that the transfer of
                                                                      iii. Recharacterization of the 6/27/17 Transfer as Equity
H&G's interest in the Villa to the Diazes was an unauthorized
                                                                       Interest Under 11 U.S.C. §§ 105(a) and 502 (Count 6)
postpetition transfer avoidable under § 549(a) and Kismet
could recover the Villa or its value from the Diazes, as initial    UL/GA/TG argue that in Count 6—which is nearly identical
transferees. Id. at 1049. The district court affirmed. Id. On       to Count 13 of the Original Complaint—the Trustee seeks to
appeal, the Diazes argued that the bankruptcy court erred           recharacterize a loan from UL to Zetta Singapore as equity
by applying US law extraterritorially. Id. at 1047, 1050-51.        under 11 U.S.C. § 105(a). Motion at 26. They contend that
The Ninth Circuit disagreed, noting that “Congress intended         the Court ruled that Count 13 of the Original Complaint was
extraterritorial application of the Bankruptcy Code [§ 549] as      extraterritorial because the relevant transaction—a transfer
it applies to property of the estate.” Id. at 1051 (quoting In      from UL's Hong Kong account to Zetta Singapore's Singapore
re Simon, 153 F.3d 991, 996 (9th Cir. 1998)). Because the           account and the transfer of Zetta Singapore's stock to
bankruptcy court ruled that H&G was the Icenhowers’ alter           TG—had no US involvement and § 105 does not have
ego and substantively consolidated it with their bankruptcy         extraterritorial scope. Id. The Trustee responds by focusing on
estate, the Ninth Circuit held that the Villa was property of the   UL/GA/TG's filing the POCs. Opposition at 25. UL/GA/TG
estate as of the petition date. Id.                                 reply that the Trustee's claim for recharacterization in Count 6



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is an extraterritorial application of § 105(a), which the Court    based on the presumption against extraterritoriality and held
rejected. Reply at 12, 34 (citing AP Docket #174 at 18, 36-37,     that: 1) § 105 contains no extraterritorial reference; and 2)
50; Original Complaint ¶¶ 308-12).                                 there were no allegations of any US involvement with the
                                                                   6/27/17 Transfer. AP Docket #174 at 17-18, 36-37.
Title 11 U.S.C. § 105(a) provides that:
                                                                    *27 Although the Court granted the Trustee leave to amend
                                                                   Count 13, the substance of Count 6 of the FAC is virtually
             The court may issue any order,                        identical to that of Count 13. Compare Original Complaint
             process, or judgment that is necessary                ¶¶ 308-12 (Count 13), with FAC ¶¶ 499-503 (Count 6). The
             or appropriate to carry out the                       Court recognizes that the Trustee did add a reference to 11
             provisions of this title. No provision                U.S.C. § 502 in the caption of FAC Count 6. But, citing § 502
             of this title ... shall be construed                  does not alter the fact that Count 6's allegations are unchanged
             to preclude the court from ...                        from those in Count 13 of the Original Complaint or that UL/
             making any determination necessary                    GA/TG's filing the POCs does not expand § 105 to apply
             or appropriate to enforce or implement                extraterritorially.
             court orders or rules, or to prevent an
             abuse of process.
                                                                           iv. Recharacterization of Minsheng Plane 6
                                                                            Lease Under 11 U.S.C. § 105(a) (Count 8)
The power granted to bankruptcy courts under § 105 is                     and Recharacterization of the Minsheng Plane
not limitless. Section 105(a) “does not allow the bankruptcy               7 Lease Under 11 U.S.C. § 105(a) (Count 9)
court to override explicit mandates of other sections of the
Bankruptcy Code.” Law v. Siegel, 571 U.S. 415, 421 (2014)          UL/GA/TG contend that FAC Counts 8 and 9 are non-
(internal quotation marks omitted); see also Jamo v. Katahdin      domestic for the same reasons the § 548 claims in FAC
Fed. Credit Union (In re Jamo), 283 F.3d 392, 403 (1st Cir.        Counts 1 and 2 are non-domestic and highlight that: 1)
2002) (indicating that § 105(a) “does not provide bankruptcy       the Court previously decided that § 105(a) does not have
courts with a roving writ, much less a free hand” and it may be    extraterritorial scope; 2) courts must examine the “focus” of
invoked only if an equitable remedy “is necessary to preserve      § 105(a); and 3) the Trustee is asking the Court to “carry
an identifiable right conferred elsewhere in the Bankruptcy        out” § 548, to recharacterize and avoid transfers regarding the
Code”) (citing Norwest Bank Worthington v. Ahlers, 485 U.S.        Minsheng Plane 6 and 7 Leases. Motion at 26 (citing FAC
197, 969 (1988)); see also In re Dairy Mart Convenience            ¶ 257). The Trustee responds that UL/GA/TG's arguments
Stores, Inc., 351 F.3d 86, 92 (2d Cir. 2003) (stating that §       regarding his recharacterization claims are irrelevant because
105(a) provides bankruptcy courts with the power to exercise       by filing the POCs, they submitted themselves to the Court's
equity in carrying out provisions of the Bankruptcy Code,          jurisdiction. Opposition at 25-26. UL/GA/TG reply that the
rather than to further the purposes of the Code generally, or      Trustee conflates the Court's jurisdiction with the merits of
otherwise to do the right thing, and an exercise of § 105          his claims. Reply at 17-19.
power must be tied to another Bankruptcy Code section and
not merely to a general bankruptcy concept or objective)           Count 8, which seeks recharacterization of the Minsheng
(emphasis in original).                                            Plane 6 Lease under § 105(a), is brought against Minsheng
                                                                   Business, Yuntian 3, Li Qi, GA, and UL and alleges that:
Here, Count 13 of the Original Complaint sought to
                                                                     1) On 9/20/16, Zetta Singapore entered into the Minsheng
recharacterize the 6/27/17 Transfer under 11 U.S.C. § 105(a)
                                                                        Plane 6 Lease. FAC ¶ 510.
as an equity investment by Li Qi. Original Complaint ¶¶
309-10. It alleged that in exchange for $15 million from             2) The Minsheng Plane 6 Lease is not a true or operating
UL, Walter and Seagrim agreed to transfer 20% of Zetta                  lease, but a finance lease that created a security interest.
Singapore's outstanding shares to TG—which was also                     Id. ¶ 511.
controlled and owned by Li Qi—resulting in Li Qi receiving
additional equity in Zetta Singapore. Id. ¶ 311. In the Original     3) The Minsheng Plane 6 Lease was not subject to
UL/GA/TG MTD Ruling, the Court dismissed Count 13                      termination by TVPX (as trustee for the Debtors) after



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     Plane 6 was accepted for delivery. Once the Debtors had       Minsheng Refinancing the Trustee seeks to avoid and recover
     made all quarterly installments, they could exercise a $1     are foreign:
     option to buy Plane 6 (Plane 6 Option). Id. ¶ 513.
                                                                     1) The $55M Transfer, which was sent from Minsheng
  4) Given the Plane 6 Option, Yuntian 3 did not retain any            Business's Hong Kong account, through an IATS New
     entrepreneurial risk under the Minsheng Plane 6 Lease, it         York escrow account, to UL's Hong Kong account.
     did not expect to retain Plane 6, and its only expectation
     was to receive rent payments from the Debtors. The              2) The $12.4M Transfer, which was sent from Minsheng
     Debtors were at all times the actual economic owners of            Business's Hong Kong account, through an IATS New
     Plane 6, bearing the risks and benefits of ownership both          York escrow account, to Minsheng Business's Hong
     before and after the Minsheng Refinancing. Id. ¶ 514.              Kong account.

  5) The Debtors had the sole residual equity interest in Plane    In Counts 8 and 9, the Trustee seeks non-domestic application
     6 after they completed all rental payments under the          of § 105(a) for the purpose of avoiding and recovering
     Minsheng Plane 6 Lease. Id. ¶ 515.                            transfers alleged in Counts 1 and 2 under § 548, which,
                                                                   as analyzed above, are dismissed based on the presumption
  6) The Minsheng Plane 6 Lease should be recharacterized          against extraterritoriality.
     as a secured financing, not an operating lease. Id. ¶ 516.
                                                                   UL/TG/GA also contend that Counts 8 and 9 should be
Count 9, which seeks recharacterization of the Minsheng            dismissed or stricken because they exceed the scope of the
Plane 7 Lease under § 105(a), is brought against the same          Original UL/GA/TG MTD Ruling, in which the Court granted
parties and contains virtually identical allegations as Count 8.   leave to amend regarding “Counts I, II, IV, V, VIII, XIII
Id. ¶¶ 517-25.                                                     and XV.” Motion at 46 (citing UL/GA/TG/LQ RJN Ex. 23).
                                                                   They contend that where leave to amend is granted to cure
The Trustee does not dispute that the focus of § 105(a) is a       deficiencies in specified claims, new claims alleged for the
court's power “to issue any order, process, or judgment that is    first time in the amended pleading should be dismissed or
necessary or appropriate to carry out the provisions of [Title     stricken. Id. (citing Vahora v. Valley Diagnostics Lab'y, Inc.
11],” nor does he argue that UL/GA/TG are wrong to suggest         2017 WL 2572440, at *2 (E.D. Cal. June 14, 2017)).
that in Counts 8 and 9, he is seeking to “carry out” § 548. In
fact, the FAC pleads that:                                         The Trustee responds with three arguments. He highlights that
                                                                   the right to amend is broad, it encompasses the right to add
                                                                   new causes of actions or theories, and courts in this circuit
             [T]he [Minsheng Planes 6 and 7                        “generally allow plaintiffs to add new claims and/or parties
             Leases] constituted secured financings                to an amended complaint where a prior order of dismissal
             between Yuntian 3 and the Debtors                     granted leave to amend without limitation.” Opposition at 37
             and, to the extent the Debtors were                   (citing MAO-MSO Recovery II, LLC v. Mercury Gen., 2018
             not already vested with ownership                     WL 3357493, at *4 (C.D. Cal. May 23, 2018)). Second, he
             of Planes 6 and 7 ... vested the                      asserts that even if the amendments exceeded the scope of the
             Debtors with economic ownership                       Original UL/GA/TG MTD Ruling, Counts 8 and 9 should not
             of Plane 6 and Plane 7 and also                       be stricken, because courts have long disfavored Rule 12(f)
             an interest in financing proceeds                     motions, which are generally granted only when “necessary
             disbursed at closing [of the Minsheng                 to discourage parties from making completely tendentious or
             Refinancing] ... that is subject to                   spurious allegations” that could prejudice the opponent. Id.
             avoidance and recovery under Section                  (citing Sapiro v. Encompass Ins., 221 F.R.D. 513, 518 (N.D.
             548 of the Bankruptcy Code.                           Cal. 2004)). Finally, he argues that the Court may construe the
                                                                   FAC or the Opposition as a motion to amend. Id. at 38 (citing
                                                                   Popov v. Countrywide Fin. Corp., 2009 WL 5206679, at *2
 *28 FAC ¶ 257. As noted above, § 548 does not apply               (E.D. Cal. Dec. 18, 2009)).
extraterritoriality, and the following transfers from the




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UL/TG/GA reply that the Trustee's position is that any time
leave to amend is granted, regardless of what a court's order     Regarding striking Counts 8 and 9, under Rule 12(f), the
may provide, he can add any claims that he seeks, which is not    Court may strike from a pleading “any redundant, immaterial,
the law. Reply at 37 (citing Vahora v. Valley Diagnostics Lab'y   impertinent, or scandalous matter.” Motions to strike are
Inc., 2017 WL 2572440, at *2 (E.D. Cal. June 14, 2017)).          disfavored and infrequently granted. Bakersfield Pipe &
They allege that the Trustee “ignores Vahora, and the cases       Supply, Inc. v. Cornerstone Valve, LLC, 2015 WL 4496349,
cited by Vahora, which this Court relied on in the Bombardier     at *1 (E.D. Cal. July 23, 2015). The party moving to strike
matter to strike the Trustee's claims filed in violation of a     allegations under Rule 12(f) bears the burden of proof. Carney
similar order.” 23 Id.                                            v. Town of Weare, 2016 WL 320128, at *2 (D.N.H. Jan. 26,
                                                                  2016); Rees v. PNC Bank, N.A., 308 F.R.D. 266, 275 (N.D.
23                                                                Cal. 2015). Here, the Court finds that it is more appropriate
        UL/GA/TG do not specify when the Court struck
                                                                  to dismiss, rather than to strike, Counts 8 and 9, which are
        claims in any adversary proceeding relating to the
                                                                  beyond the scope of what the Court authorized in the Original
        Cases, nor do they specify in which “Bombardier
                                                                  UL/GA/TG MTD Ruling. As noted by the Ninth Circuit:
        matter” the Court struck claims. Although they
        cite “Dkt. 259 at 37-38,” there is no ruling at
        Docket #259 in this adversary proceeding or in
                                                                              Were we to read Rule 12(f) in a
        the two other larger adversary proceedings: the
                                                                              manner that allowed litigants to use
        Jetcraft AP and CAVIC AP. The Court interprets
                                                                              it as a means to dismiss some or all
        UL/GA/TG's reference to a “Bombardier matter”
                                                                              of a pleading ... we would be creating
        as the Trustee's “Motion to Consolidate Related
                                                                              redundancies within the Federal Rules
        Adversary Cases” (Consolidation Motion), which
                                                                              of Civil Procedure, because a Rule
        he filed concurrently in the Jetcraft AP and CAVIC
                                                                              12(b)(6) motion (or a motion for
        AP. Jetcraft AP Docket #153; CAVIC AP Docket
                                                                              summary judgment at a later stage in
        #184. The Court issued an oral ruling on the
                                                                              the proceedings) already serves such a
        Consolidation Motion, stating that:
                                                                              purpose.
           [W]here leave to amend is given to cure
           deficiencies in certain specified claims, new
           claims alleged for the first time in an amended
           pleading should be dismissed or stricken. That's       Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974
           Vahora v. Valley Diagnostic Laboratory, 2017           (9th Cir. 2010). Numerous courts have held that when an
           WL 2572440, Eastern District of California             amended pleading exceeds the scope of what was authorized,
           (2017).                                                additional counts should be dismissed. Doe v. Cal. Inst. of
        Jetcraft AP Docket #194 at 36 (transcript of the          Tech., 2020 WL 8463631, at *6 (C.D. Cal. Feb. 4, 2020)
        hearing on the Consolidation Motion). The Court,          (dismissing a new claim with prejudice because the plaintiff
        however, did not strike any claims when ruling on         was granted leave to amend certain claims but did not seek
        the Consolidation Motion.                                 leave to amend before adding the new claim); Villanueva v.
 *29 The Trustee's first argument requires little discussion.     Wells Fargo Bank, N.A., 2019 WL 1509183, at *3 (N.D. Cal.
He is correct that the right to amend is granted with extreme     Apr. 5, 2019) (dismissing new claims because the court did
liberality. But, the Original UL/GA/TG MTD Ruling made            not provide the plaintiff leave to amend without limitation,
clear which counts the Trustee was authorized to amend.           and the plaintiff's addition of new claims was improper);
AP Docket #174 at 50. The Trustee did not seek leave to           Ketab Corp. v. Mesriani & Assoc., 2015 WL 8022874, at
add counts to this action nor did the Court rule on any           *8 (C.D. Cal. Dec. 4, 2015) (dismissing new claims and
such request. Further, the Trustee's citation to MAO-MSO          denying leave to amend to add the new claims where the
Recovery II, LLC v. Mercury General, 2018 WL 3357493, at          previous order of dismissal only granted leave to amend to
*4 (C.D. Cal. May 23, 2018) is unavailing. There, leave to        cure deficiencies in certain specified claims); DeLeon v. Wells
amend without limitation was granted whereas here, the Court      Fargo Bank, N.A., 2010 WL 4285006, at *3, 5 (N.D. Cal. Oct.
explicitly stated which counts could be amended. AP Docket        22, 2010) (dismissing new claims brought for the first time
#174 at 50.                                                       in an amended complaint because the court had only granted




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leave to amend certain claims, and plaintiffs were required to    GA/TG are liable under §§ 548 and 550. In re PennySaver
seek leave of the court before adding new claims).                USA Publ'g, LLC, 587 B.R. 445, 468 (Bankr. D. Del. 2018)
                                                                  (noting that disallowance under § 502(d) requires a judicial
Finally, the Trustee did not file a Rule 15 motion and it would   determination that a claimant is liable). As noted above, the
be unfair for UL/GA/TG to have to oppose a motion that was        Court is dismissing Counts 1 and 2 because they improperly
never filed. Where a complaint is dismissed with leave to         seek extraterritorial application of § 548. Therefore, the Court
amend that is limited in scope, the plaintiff must seek leave     finds that the Trustee has not adequately plead a § 502(d)
of the court as required by Rule 15 before adding new claims      claim. Id.; see also In re El-Atari, 2012 WL 404947, at *6
or new parties. DeLeon, 2010 WL 4285006, at *3; Kennedy           (Bankr. E.D. Va. Feb. 8, 2012) (concluding that because the
v. Full Tilt Poker, 2010 WL 3984749, at *1 (C.D. Cal. Oct.        complaint's §§ 548 and 550 claims should be dismissed,
12, 2010).                                                        there was no basis for an objection to the defendant's claim
                                                                  under § 502(d) because § 502(d) is limited to a setoff of
                                                                  the Bankruptcy Code's turnover and avoidance claims); In re
                                                                  Labrum & Doak, LLP, 237 B.R. 275, 309 (Bankr. E.D. Pa.
       d. Objections to Claims and Disallowance of
                                                                  1999) (noting that by its terms, § 502(d) is limited in its effect
     Claims Under 11 U.S.C. § 502 and Assertions of
                                                                  to claimants subject to avoidance orders under § 548).
 Counterclaims under 28 U.S.C. § 157(b)(2)(C) (Count 10)

 *30 UL/GA/TG highlight that § 502, which is at issue in          Further, in Counts 1 and 2, the Trustee seeks to avoid
Count 10, contains no extraterritorial language. Motion at        obligations. FAC ¶¶ 444-72. Section 502(d), however, applies
18. They claim that § 502(d) applies to avoidable transfers       to avoidable transfers but does not apply to avoidable
but not to avoidable obligations. Id. at 47 (citing In re Asia    obligations. In re Asia Glob. Crossing, Ltd., 333 B.R.
Glob. Crossing, Ltd., 333 B.R. 199, 202 (Bankr. S.D.N.Y.          199, 202-03 (Bankr. S.D.N.Y. 2005) (noting that § 502
2005)). UL/GA/TG contend that the Trustee cannot state a          “disallows the claim of the transferee of an avoidable transfer,
claim under § 502(d) unless he first pleads a viable claim        but does not speak to the claim of an obligee under an
for avoidance and recovery, which he has not done. Id. The        avoidable obligation” because the avoided obligation is
Trustee responds that the FAC states numerous viable claims       rendered unenforceable, and the underlying claim is subject
and consequently a viable disallowance claim under § 502(d).      to disallowance without regard to § 502(d)). Finally, the
Opposition at 43. UL/GA/TG reply that § 502(d) does not           Trustee's reference to 28 U.S.C. § 157(b)(2)(C) in Count
apply to avoidable obligations and they highlight that the        10 is unavailing. Section 157(b)(2)(C) merely indicates that
Trustee does not argue that it does. Reply at 45.                 counterclaims brought by the estate against persons filing
                                                                  claims against the estate are “core” proceedings. It does not
Section 502(d) provides that:                                     provide that the Court can adjudicate extraterritorial claims,
                                                                  which are issue in Counts 1, 2, 6, 8, 9, and 10.


            [T]he court shall disallow any claim
            of any entity from which property is                                e. Violation of the Automatic Stay
            recoverable under section ... 550 ...                               Under 11 U.S.C. § 362 (Count 7)
            of this title or that is a transferee of
            a transfer avoidable under section ...                UL/GA/TG argue that Count 7 should be dismissed because
            548 ... of this title, unless such entity             § 362(k) only permits an “individual” to recover damages
            or transferee has paid the amount, or                 for violation of the automatic stay, and in the Ninth
            turned over any such property, for                    Circuit, neither a trustee nor a corporation is considered
            which such entity or transferee is liable             an “individual” under § 362(k). Motion at 45-46 (citations
            under section ... 550 ... of this title.              omitted). The Trustee responds that the Court previously
                                                                  determined that he pled sufficient facts to support a claim
                                                                  for violation of the automatic stay, and the law of the case
                                                                  doctrine bars a challenge to Count 7. Opposition at 42-43. UL/
For the Trustee to prevail on Count 10, which seeks
                                                                  GA/TG reply that the law of the case doctrine does not apply
disallowance of the POCs, the Court must first find that UL/
                                                                  because the Court has not entered a final judgment or been



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divested of jurisdiction. Reply at 44. They contend that by          final decree or judgment.” Askins v. U.S. Dep't of Homeland
failing to dispute that stay violation damages are unavailable       Sec., 899 F.3d 1035, 1042 (9th Cir. 2018). No judgment has
to a corporate debtor, the Trustee has waived any argument           been entered in this case. Further, and more importantly, the
to the contrary. Id. (citing Pers. Elec. Transps., Inc. v. Off. of   law of the case doctrine provides that a court is precluded
U.S. Tr., 313 Fed.Appx. 51, 52 (9th Cir. 2009)).                     from “reconsidering an issue that has already been decided
                                                                     by the same court, or a higher court in the identical case.”
 *31 In Count 7, the Trustee seeks compensatory damages              Thomas v. Bible, 983 F.2d 152, 154 (9th Cir. 1993). The
under 11 U.S.C. § 362(k)(1) against TG and Li Qi for                 law of the case doctrine applies if the issue in question was
violation of the automatic stay, alleging that a lawsuit             “decided either expressly or by necessary implication” in
they filed in Singapore (Singapore Action) 24 prevented the          a previous disposition. Id. (citations and internal quotation
Debtors and the Trustee from collecting assets that Cassidy          marks omitted).
misappropriated, and caused the Trustee to spend time and
resources seeking to vacate an injunction in the Singapore           In the Original UL/TG/GA MTD Ruling, the Court addressed
Action. FAC ¶¶ 507-08.                                               whether the Singapore Action violated §§ 362(a)(1) and
                                                                     (a)(3). AP Docket #174 at 46-48. The Court found that
24                                                                   the Original Complaint pled sufficient factual allegations to
        The FAC indicates that on 9/18/17, TG, at the
                                                                     withstand the Original UL/GA/TG MTD. Docket #174 at 48.
        direction of Li Qi (along with Asia Aviation), filed
                                                                     Neither party briefed or addressed the Trustee's standing to
        a lawsuit in the High Court, seeking to enjoin Zetta
                                                                     bring a § 362(k) claim on behalf of the estate nor did the Court
        Singapore's bankruptcy case. FAC ¶ 506. Two days
                                                                     decide that issue. Therefore, the law of the case doctrine is
        later, the High Court issued an injunction enjoining
                                                                     inapplicable here. And, the Court finds that Count 7 must be
        Zetta Singapore from “carrying out any further
                                                                     dismissed because the Trustee cannot bring a § 362(k) claim
        steps in and relating to the purported bankruptcy
        filings” before this Court. Id.                              for damages. 26

Title 11 U.S.C. § 362(k)(1) provides that “an individual             26     During the 8/11/21 hearing, the Trustee asserted
injured by any willful violation of a stay ... shall recover
                                                                            that in Count 7, which is brought against TG and
actual damages, including costs and attorneys’ fees, and, in
                                                                            Li Qi for “Violation of the Automatic Stay” under
appropriate circumstances, may recover punitive damages.”
                                                                            11 U.S.C. § 362, he is seeking contempt damages
For purposes of § 362(k)(1), “ ‘individual’ means an
                                                                            under § 105 rather than damages under § 362(k).
individual, and not a corporation or other artificial entity.”
                                                                            The Trustee's focus on § 105 is unpersuasive for
In re Goodman, 991 F.2d 613, 619 (9th Cir. 1993); see also
                                                                            a number of reasons. Count 7 mentions neither
Maritime Asbestosis Legal Clinic v. LTV Steel Co., Inc. (In
                                                                            § 105 nor contempt, and in the Opposition, the
re Chateaugay Corp.), 920 F.2d 183, 184-87 (2d Cir. 1990)
                                                                            Trustee did not reference § 105 nor contempt
(holding that a bankruptcy court may impose sanctions only
                                                                            regarding Count 7. See Deseret Tr. Co. v. Unique
for violating a stay as to debtors who are natural persons). 25
                                                                            Inv. Corp., 2018 WL 8110959, at *3-4 (D. Utah
A bankruptcy trustee is not an “individual” for these purposes
                                                                            July 3, 2018) (noting that federal district courts
“because any harm suffered in the form of costs and attorney's
                                                                            around the country reject arguments raised for the
fees is actually incurred by a thing, viz., the bankruptcy estate,
                                                                            first time at oral argument); Star Fabrics, Inc. v.
and not by the trustee as a natural person.” In re Pace, 67 F.3d
                                                                            Zappos Retail, Inc., 2013 WL 12124096, at *6 n.20
187, 193 (9th Cir. 1995).
                                                                            (C.D. Cal. July 19, 2013) (declining to consider an
                                                                            argument that was raised for the first time during
25      Both Goodman and Chateaugay analyzed §                              a hearing because the opposing party was deprived
        362(h). BAPCPA amended former § 362(h) and                          of a meaningful opportunity to respond). Counsel
        redesignated that provision as § 362(k). In re                      for the Trustee's referencing “notice pleading” and
        Glenn, 379 B.R. 760, 761 n.1 (N.D. Ill. 2007).                      highlighting FAC ¶ 22—which lists all of the
Although the Trustee contends that the law of the case                      statutes and rules at issue in the FAC—does not
doctrine applies here, that is incorrect. The law of the case               further his position. See Lee v. City of L.A., 250
doctrine only applies when the court has “previously entered a              F.3d 668, 679 (9th Cir. 2001) (noting that FRCP 8
                                                                            means what it says and requires a short and plain


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       statement that provides the defendant fair notice             “Contested Matters,” governs a motion for order
       of the claim and the grounds upon which it rests)             of contempt brought by a party); Fed. R. Bankr. P.
       (citing Leatherman v. Tarrant Cty. Narcotics Intel.           9014 (indicating that in a contested matter, relief
       and Coordination Unit, 507 U.S. 163, 168 (1993));             shall be requested by motion).
       see also Phomthevy v. WinCo Holdings, Inc., 2019
       WL 3067105, at *4-5 (E.D. Cal. July 12, 2019)
       (dismissing a count under Rule 8 where plaintiff's                          f. Leave to Amend
       opposition to a Rule 12(b)(6) motion identified Cal.
                                                              *32 UL/GA/TG do not address leave to amend in the
       Labor Code § 246.5 as the statute under which
                                                              Motion, nor does the Trustee address in the Opposition Rule
       the count was brought, but the complaint itself did
       not); Boyd v. Fed. Home Loan Mortg. Corp., 2011        15 or whether leave to amend should be granted. 27 UL/GA/
       WL 13228241, at *5 (D. Haw. Aug. 10, 2011)             TG summarily argue in the Reply that the FAC should be
       (dismissing UCC claims for failure to comply with      dismissed against them without leave to amend. Reply at 45.
       Rule 8 where the complaint did not provide notice
       to the defendants of what provision of the UCC, if     27     The Court recognizes that the Trustee, when
       any, they violated).                                          addressing Counts 8 and 9, contends that the
       Finally, a party seeking civil contempt sanctions             Court may “construe the [FAC] or this opposition
       under § 105 must do so by motion rather                       as a motion to amend.” Opposition at 38. The
       than by including a cause of action in an                     Court declines to do so. See Cozzarelli v. Inspire
       adversary proceeding. See In re Matthews, 2017                Pharms. Inc., 549 F.3d 618, 630-31 (4th Cir. 2008)
       WL 2821532, at *1 (Bankr. C.D. Cal. June 29,                  (affirming denial of a request to amend a complaint
       2017) (noting that Local Bankruptcy Rule 9020-1               because the request was made in response to
       governs contempt proceedings for violations of                a motion to dismiss and in an objection to a
       court orders or directives, such as the automatic             magistrate judge's recommendation); Long v. Satz,
       stay under 11 U.S.C. § 362 or the discharge                   181 F.3d 1275, 1279-80 (11th Cir. 1999) (holding
       injunction under 11 U.S.C. § 524); Loc. Bankr.                that the court did not abuse its discretion in denying
       R. 9020-1(a) (providing that unless otherwise                 leave to amend a complaint because the request
       ordered by the court, contempt proceedings are                was included in a memorandum filed in opposition
       initiated by filing a motion and a lodged order to            to a motion to dismiss rather than as a separate
       show cause); see also Barrientos v. Wells Fargo               motion to amend); Raiser v. City of Temecula, 2017
       Bank, N.A., 633 F.3d 1186, 1191 (9th Cir. 2011)               WL 10525953, at *4 (C.D. Cal. July 27, 2017)
       (holding that an order of contempt under § 105                (indicating that for the plaintiff to assert new claims
       to enforce a discharge injunction must be sought              or to assert claims against new defendants, he had
       via motion in the bankruptcy action, not via an               to do so in accordance with Rule 15(a), seeking
       adversary proceeding); Enodis Corp. v. Emps.                  leave in a noticed motion).
       Ins. of Wausau (In re Consol. Indus. Corp.), 360
                                                              Federal Rule of Bankruptcy Procedure 7015 provides that
       F.3d 712, 716 (7th Cir. 2004) (indicating that “an
                                                              Rule 15 of the FRCP applies to supplemental and amended
       adversary proceeding is not the proper vehicle
                                                              pleadings in bankruptcy cases. Rule 15(a)(2) indicates that “a
       to present a contempt claim, as civil contempt
                                                              party may amend its pleading only with the opposing party's
       is a method of enforcing a court order, not an
                                                              written consent or the court's leave. The court should freely
       independent cause of action”); In re Chionis, 2013
                                                              give leave when justice so requires.”
       WL 6840485, at *4 (B.A.P. 9th Cir. Dec. 27, 2013)
       (noting that generally, “civil contempt sanctions
                                                              Courts have the discretion to grant or deny leave to amend
       for violation of the discharge injunction must be
                                                              a complaint. Swanson v. U.S. Forest Serv., 87 F.3d 339, 343
       sought by contested matter rather than an adversary
                                                              (9th Cir. 1996). “In exercising this discretion, a court must
       proceeding” and bankruptcy courts may dismiss a
                                                              be guided by the underlying purpose of Rule 15 to facilitate
       complaint seeking contempt sanctions and require
                                                              decision on the merits, rather than on the pleadings or
       the party to proceed by way of motion); Fed.
                                                              technicalities.” United States v. Webb, 655 F.2d 977, 979 (9th
       R. Bankr. P. 9020 (indicating that Rule 9014,
                                                              Cir. 1981). Consequently, the policy to grant leave to amend is


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applied with “extreme liberality.” Id. Although, if a court has    “Futility of amendment can, by itself, justify the denial of a
previously granted leave to amend, the court's “discretion in      motion for leave to amend.” Bonin v. Calderon, 59 F.3d 815,
deciding subsequent motions to amend is ‘particularly broad.’      845 (9th Cir. 1995). “For an amendment to be futile, it must
” Chodos v. W. Publ'g Co., Inc., 292 F.3d 992, 1003 (9th Cir.      appear on its face that it is not actionable.” Coble v. Derosia,
2002) (citing Griggs v. Pace Am. Grp., Inc., 170 F.3d 877,         2011 WL 444961, at *4 (E.D. Cal. Feb. 8, 2011).
879 (9th Cir. 1999)).
                                                                   In the context of a very detailed ruling that specified the
Parties seeking leave to amend have the initial burden to show     deficiencies of the Original Complaint, the Court dismissed
a legitimate reason for seeking amendment. See Safeco Ins.         Counts 1, 2, 4, 5, 8, 13, and 15 of the Original Complaint,
Co. of Am. v. Sw. Eng'g, Inc., 2009 WL 10672414, at *2 (C.D.       and granted the Trustee leave to amend those counts. AP
Cal. Apr. 16, 2009); Advanced Cardiovascular Sys., Inc. v.         Docket #174 at 50. As analyzed above, the FAC suffers from
Scimed Life Sys., Inc., 989 F. Supp. 1237, 1241 (N.D. Cal.         the same deficiencies as the Original Complaint regarding
1997). Assuming the movant meets that burden, the burden           the avoidance and recovery claims in Counts 1 and 2 of the
then shifts to the party opposing amendment to show that           FAC and the recharacterization claim in Count 6 of the FAC,
leave to amend is not warranted based on:                          because despite the Trustee's focus on the obligations they are
                                                                   extraterritorial, rather than domestic, and not actionable under
  1) Bad faith;                                                    §§ 105 or 548. Counts 8 and 9, which were not contained in
                                                                   the Original Complaint are recharacterization claims brought
  2) Undue delay;
                                                                   for the purpose of avoiding and recovering transfers alleged
  3) Prejudice to the opposing party;                              in Counts 1 and 2 under § 548. And, Count 10's claim for
                                                                   disallowance depends on the Trustee avoiding the obligations
  4) Futility of amendment; or                                     in Counts 1 and 2. Finally, the Trustee lacks standing to assert
                                                                   Count 7, a damages claim for violation of the automatic stay,
  5) Whether the plaintiff has previously amended the              and a party seeking civil contempt sanctions under § 105 must
  complaint.                                                       do so by motion rather than by asserting a cause of action in
                                                                   an adversary proceeding.
In re W. States Wholesale Nat. Gas Antitrust Litig., 715
F.3d 716, 738 (9th Cir. 2013); see also Agua Caliente Band         Further, the Trustee, who has the burden of demonstrating a
of Cahuilla Indians v. Coachella Valley Water Dist., 2020          legitimate reason for amendment, did not set forth any reason
WL 5775174, at *2 (C.D. Cal. July 8, 2020) (indicating that        why amendment would be warranted here. Twice, the Trustee
the party opposing amendment bears the burden of showing           has attempted to assert extraterritorial claims as domestic ones
prejudice, unfair delay, bad faith, or futility of amendment).     but he has been unsuccessful both times. The Court finds
“The court has the discretion to determine whether the             that any further amendment would be futile and would be
presence of any of these elements justifies refusal of a request   prejudicial to UL/GA/TG, who have been required to respond
to amend the pleading.” Advanced Cardiovascular Sys., 989          to complaints that are based almost entirely on conduct that
F. Supp. at 1241.                                                  falls outside the purview of US bankruptcy laws. Therefore,
                                                                   the Court declines to grant leave to amend and Counts 1, 2,
 *33 Of the factors courts analyze when adjudicating motions       6, 7, 8, 9, and 10 are dismissed with prejudice. See e.g., Bui
for leave to amend, the potential for prejudice to the opposing    v. Nguyen, 712 Fed. Appx. 606, 610 (9th Cir. 2017) (noting
party “carries the greatest weight.” Reed v. Dynamic Pet           that courts have “particularly broad” discretion regarding
Prods., 2016 WL 4491597, at *1 (S.D. Cal. Jan. 5, 2016).           leave to amend where a plaintiff has been previously afforded
The opposing party has the burden of establishing prejudice.       an opportunity to amend but the court must still consider
DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187 (9th             undue delay, bad faith, prejudice to the opposing party or
Cir. 1987). Absent prejudice or a strong showing of any of         dilatory tactics); Gifford v. Hornbrook Cmty. Serv. Dist.,
the remaining factors, “there exists a presumption under Rule      690 Fed. Appx. 1001, 1001-02 (9th Cir. 2017) (finding no
15(a) in favor of granting leave to amend.” Eminence Capital,      abuse of discretion where the court dismissed a first amended
LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)           complaint without leave to amend because the plaintiff had
(emphasis in original).                                            been provided with an opportunity to amend and any further
                                                                   amendment would be futile); Doan v. Singh, 617 Fed. Appx.



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                                                                    which he seeks dismissal of Counts 1, 2, 7, 8, and 9, those
684, 686 (9th Cir. 2015) (holding the court did not abuse its
                                                                    counts are subsumed within the counts being dismissed and
discretion in denying leave to amend because the amended
                                                                    therefore, the Court need not rule on the substance of the Li
complaint suffered from the same deficiencies as the original
                                                                    Qi Motion (or the Discovery Motion, which relates to the
complaint); Krantz v. Prudential Invs. Fund Mgmt. LLC, 305
                                                                    substance of the Li Qi Motion).
F.3d 140, 144-45 (3d Cir. 2002) (finding the court did not
abuse its discretion in denying leave to amend when the
                                                                    Pursuant to LBR 9021-1(b), UL/GA/TG must lodge and serve
plaintiff was on notice of the complaint's deficiencies and
                                                                    a proposed order via LOU within seven days of the issuance
failed to rectify them with the first amended complaint).
                                                                    of this Memorandum of Decision.

V. Conclusion
                                                                    All Citations
 *34 For the reasons stated above, the Motion is granted, and
the Court dismisses Counts 1, 2, 6, 7, 8, 9, and 10 without         Slip Copy, 2021 WL 3721477
leave to amend. Although Li Qi filed a separate motion in

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                                                                   The Court incorporates the relevant factual background
                                                                   from its previous order granting Defendant's first Motion to
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                                                                   Dismiss. [Doc. # 23.] The Court shall address any material
    Only the Westlaw citation is currently available.
                                                                   factual changes from the FAC to the SAC as they arise.
     United States District Court, C.D. California.
                                                                   Having considered the parties' written submissions in support
                    Mignon JACKSON                                 of and in opposition to the MTD, the Court GRANTS
                           v.                                      Defendants' MTD.
                  LOEWS HOTELS, INC.

            Case No. ED CV 18-827-DMG (JCx)                                                       II.
                            |
                    Filed 07/24/2019
                                                                                       LEGAL STANDARD
Attorneys and Law Firms
                                                                   In its previous Order, the Court set forth the applicable legal
J. Paul Gignac, Foley Bezek Behle and Curtis, Santa Barbara,       standard for motions to dismiss based on lack of subject
CA, Justin F. Marquez, Babak Bobby Saadian, Thiago Merlini         matter jurisdiction and need not repeat it here. [Doc # 23 at
Coelho, Wilshire Law Firm, Los Angeles, CA, for Mignon             2-3.] That standard is incorporated herein by this reference.
Jackson.

Ann Marie Mortime, Jason Jonathan Kim, Hunton Andrews
Kurth LLP, Los Angeles, CA, for Loews Hotels, Inc.                                               III.


                                                                                           DISCUSSION
 Proceedings: IN CHAMBERS - ORDER GRANTING
     DEFENDANT'S MOTION TO DISMISS [25]                            A. Plaintiff Lacks Standing
                                                                   The Court granted Defendant's previous Motion to Dismiss
DOLLY M. GEE, UNITED STATES DISTRICT JUDGE                         because Plaintiff failed to sufficiently allege that she suffered
                                                                   an Article III injury that gave rise to standing to pursue
                                                                   her claims. While she has alleged some new facts in her
                               I.
                                                                   SAC and put forth a new legal theory to establish that she
                                                                   suffered a cognizable injury, her allegations still fall short of
                      BACKGROUND                                   demonstrating that she suffered an Article III injury.

 *1 This matter is before the Court on Defendant Loews
Hotels, Inc.'s second Motion to Dismiss (“MTD”). [Doc. #              1. Plaintiff's “Benefit of the Bargain” Theory Fails
25.] Plaintiff filed this action on April 20, 2018 [Doc. # 1]      Plaintiff first argues that she has standing to sue because she
and filed the operative Second Amended Complaint (“SAC”)           has suffered an economic injury under the “benefit of the
on January 25, 2019, after the Court granted Defendant's first     bargain” theory. She did not squarely raise this argument in
Motion to Dismiss. [Doc. ## 23, 24.] Plaintiff, individually       her opposition to Defendant's previous Motion to Dismiss.
and on behalf of a putative class of similarly situated            Under the “benefit of the bargain” theory, courts generally
individuals, alleges the following claims against Defendant:       recognize that plaintiffs have suffered a financial injury when
(1) violation of California Civil Code section 1798.81.5(b);       they purchase a product in reliance on a false representation
(2) violation of California Civil Code section 1798.81.5(c);       about the product's value, and allege that they would not have
(3) violation of California Civil Code section 1798.82; (4)        made the purchase, or would not have paid as much as they
breach of implied contract; (5) breach of the covenant of good     did, had they known the truth. See Kwikset Corp. v. Superior
faith and fair dealing; and (6) violation of California Business   Court, 51 Cal. 4th 310, 332 (2011). Plaintiff contends that, in
and Professions Code section 17200. FAC at ¶¶ 41-90.               this context, she would not have made a hotel reservation with
                                                                   Defendant if she had known that “her personal information
                                                                   [would be] stolen by hackers.” [Doc. # 26 (“Opp.”) at 26.]



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                                                                    harm because “implied in the price paid for such booking
In support, she cites to several decisions that apply the           by Plaintiff and the Class Members to Defendant was the
“benefit of the bargain” theory to data breach cases. See Opp.      promise that some amount of the booking charge would
at 4-7. But those cases involve a defendant who made a              be applied to the costs of implementing reasonable and
statement or representation about their data security practices     adequate safeguards and security measures that would protect
upon which the plaintiff relied before handing over his             customers' PII.” SAC at ¶ 32(e). Plaintiffs have identified
personal information. See, e.g., In re Adobe Sys., Inc. Privacy     no authority approving of a “benefit of the bargain” theory
Litig., 66 F. Supp. 3d 1197, 1224 (N.D. Cal. 2014) (“The            in a data breach case based on such conclusory allegations
Court finds plausible Plaintiffs['] ... allegations that they       of an implied promise to earmark a portion of the purchase
relied on Adobe's representations regarding security to their       price for ensuring data safety. Indeed, case law appears to
detriment.”); In re Anthem, Inc. Data Breach Litig., 162 F.         require more precise allegations and more explicit promises.
Supp. 3d 953, 967 (N.D. Cal. 2016) (“According to Plaintiffs,       See In re Zappos.com, Inc., 108 F. Supp. 3d 949, 962 n.5
both the Anthem and Non-Anthem Defendants promised their            (D. Nev. 2015) (plaintiffs' theory of standing failed in part
members that their PII would be protected.”); Grigsby v.            because they did not “allege facts showing how the price they
Valve Corp., 2013 WL 12310666, at *2 (W.D. Wash. Mar. 18,           paid for such goods incorporated some particular sum that
2013) (“[Plaintiff] also alleges that Valve assured Plaintiff and   was understood by both parties to be allocated towards the
Class Members that it would protect the personal information        protection of customer data”), rev'd on other grounds by In
and private financial information that users were required          re Zappos.com, Inc., 888 F.3d 1020, 1027–30 & n.15 (9th
to provide before purchasing content on Steam.”) (internal          Cir. 2018) (reversing the District Court's standing analysis in
quotations omitted); In re LinkedIn User Privacy Litig., 2014       connection with plaintiffs' alleged risk of future identity theft
WL 1323713, at *1 (N.D. Cal. Mar. 28, 2014) (“The Privacy           and declining to address other alleged bases for standing).
Policy contains a statement that ‘[a]ll information that you        While Paragraph 32(e) asserts conclusorily that a portion of
provide will be protected with industry standard protocols and      the price Plaintiff paid to reserve a room went to data security,
technology.’ ”). 1                                                  it does not allege “how” the price incorporated that amount or
                                                                    what gave rise to Defendant's “understanding” that the room
1                                                                   reservation price included funds for data security—it simply
        One case Plaintiff cites does not include an
                                                                    alleges that such funds were “implied in the price paid.” SAC
        express mention of a defendant's security-related
                                                                    at ¶ 32(e).
        misrepresentation to the plaintiff. But that case,
        Weinberg v. Advanced Data Processing, Inc., 147
                                                                    In her Opposition, Plaintiff also refers to the Loew's Hotels'
        F. Supp. 3d 1359, 1369 (S.D. Fla. 2015), comes
                                                                    Privacy Policy, available on Defendant's website, to argue
        from outside the Ninth Circuit, and relies on
                                                                    that Defendant did make affirmative representations about its
        Resnick v. AvMed, Inc., 693 F.3d 1317 (11th
                                                                    customers' data security. Opp. at 21. But these assertions do
        Cir. 2012), which does discuss the defendant's
                                                                    not appear in the SAC, and since Defendant has mounted
        misrepresentation. See Resnick, 693 F.3d at 1329.
                                                                    a facial attack to Plaintiff's standing, the Court's inquiry
        Moreover, Weinberg discussed the implications of
                                                                    focuses on the pleadings, not extrinsic documents. Wolfe v.
        personal information's disclosure in the context of
                                                                    Strankman, 392 F.3d 358, 362 (9th Cir. 2004).
        a claim for unjust enrichment under Florida law.
        Given that Weinberg is only minimally applicable
                                                                    Even if the Court could properly consider the Privacy
        to this case, and every other case Plaintiff cites
                                                                    Policy in resolving this motion, however, it would not
        involves a defendant's misrepresentation, Weinberg
                                                                    save Plaintiff's claims. The Privacy Policy states that “[t]he
        does not persuade the Court to diverge from the
                                                                    personal information collected from users online ... is stored
        cases cited above.
                                                                    by Loews ... on databases protected through a combination of
 *2 In contrast, Plaintiff does not identify any similar            physical and electronic access controls, firewall technology
misrepresentation about Defendant's data security practices in      and other reasonable security measures.” Loew's Hotels
her SAC. She argues that paragraph 29 contains a “promise[ ]        Privacy Policy, https://www.loewshotels.com/privacy-policy
that her PII would [be] kept safe when reserving a room             at “Protecting Personal Information” (last visited April
or using Loew's services,” but that paragraph describes no          18, 2019). It continues, however, to warn customers that
such promise. Paragraph 32(e) states that Plaintiff suffered        “[n]evertheless, such security measures cannot prevent all



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loss, misuse or alteration of personal information and Loews        compels a different result than the Court reached in ruling on
is not responsible for any damages or liabilities relating to any   that earlier Motion. 2 Opp. at 10-13.
such incidents to the fullest extent permitted by law.” Id. It
also states that “no security system or system of transmitting      2      Defendant contends that Plaintiff “essentially asks
data over the Internet can be guaranteed to be entirely secure.
                                                                           the Court to reconsider its previous finding that
Use of the Services and related applications and transmission
                                                                           Plaintiff failed to allege any ‘certainly impending
of data is at the user's own risk.” Id. Courts have held that
                                                                           future harm.’ ” Reply at 3. To the extent that
similar language is sufficient to put consumers on notice that
                                                                           Defendant asks the Court to dismiss Plaintiff's
a company's data security practices are not bulletproof. See
                                                                           claims on that basis, such a request, in and of
In re Sony Gaming Networks & Customer Data Sec. Breach
                                                                           itself, is not improper—though Defendant's failure
Litig., 903 F. Supp. 2d 942, 968 (S.D. Cal. 2012) (“Before
                                                                           to show that the Court misconstrued or ignored
registering ... all Plaintiffs had to agree to Sony's Privacy
                                                                           some relevant fact or law dooms the endeavor.
Policy, which states that ‘there is no such thing as perfect
                                                                           Askins v. U.S. Dep't of Homeland Sec., 899 F.3d
security ... we cannot ensure or warrant the security of any
                                                                           1035, 1042 (9th Cir. 2018) (reversing a district
information transmitted to us through the [system] ....’ Thus,
                                                                           court's decision that it was “’precluded’ from
in the presence of clear admonitory language that Sony's
                                                                           reconsidering its order dismissing the original ...
security was not ‘perfect,’ no reasonable consumer could have
                                                                           claims in adjudicating the motion to dismiss the
been deceived.”). Accordingly, Plaintiff has not established
                                                                           amended ... claims” because “[t]he law of the case
that she lost the benefit of any bargain sufficient to confer
                                                                           doctrine does not preclude a court from reassessing
Article III standing.
                                                                           its own legal rulings in the same case”). The
                                                                           Court therefore addresses the merits of Plaintiff's
   2. Plaintiff Fails to Show a Substantial Risk of Future                 arguments once more.
   Harm
In its Order granting Defendant's first Motion to Dismiss,
the Court reasoned that Plaintiff failed to demonstrate a                            i. Financial Information
risk of certainly impending future harm because: (1) she
                                                                     *3 Plaintiff's decision to remove her previous allegations
pled that she closed or modified her financial accounts,
                                                                    about closing or modifying her credit card or bank accounts
neutralizing any risk of future fraud arising from the theft
                                                                    does not simply erase those allegations from the case.
of her financial information, and (2) she did not establish
                                                                    Defendant asserts that plaintiffs “cannot selectively delete
that the non-financial information that the hackers stole gives
                                                                    allegations from a prior complaint to avoid dismissal of an
rise to a risk of a cognizable injury. [Doc. # 23 at 4-8].
                                                                    amended complaint.” MTD at 8 (citing three unpublished
See Clapper v. Amnesty Int'l USA, S. Ct. 1138, 1141 (2013)
                                                                    decisions standing for the proposition that courts need not
(threatened or future injury must be “certainly impending
                                                                    accept allegations that contradict allegations in a previous
to constitute injury in fact”) (internal quotations omitted).
                                                                    complaint). The reality of the case law in this circuit,
Having been given leave to amend her allegations to cure
                                                                    however, is more complicated. The Ninth Circuit has held
these deficiencies, Plaintiff has made three principal changes
                                                                    that, in the context of granting leave to amend an original
to her theory. First, she simply omits from her SAC any
                                                                    complaint, “leave to amend should be liberally granted,
allegations that she closed or modified her financial accounts
                                                                    [but] the amended complaint may only allege other facts
after the data breach. Compare FAC at ¶ 6 with SAC.
                                                                    consistent with the challenged pleading.” Reddy v. Litton
Second, she adds allegations that she now “continuously
                                                                    Indus., Inc., 912 F.2d 291, 296–97 (9th Cir. 1990). It later
receives unsolicited direct marketing efforts to her email and
                                                                    held, without overturning Reddy, that “there is nothing in
home” as a result of the breach. SAC at ¶ 9. Third, she has
                                                                    the Federal Rules of Civil Procedure to prevent a party
abandoned her argument that hackers may have stolen her
                                                                    from filing successive pleadings that make inconsistent or
Loew's account password. She has not alleged that hackers
                                                                    even contradictory allegations.” PAE Gov't Servs., Inc. v.
stole any additional information beyond what she described
                                                                    MPRI, Inc., 514 F.3d 856, 860 (9th Cir. 2007). The circuit
in the FAC. Compare SAC at ¶ 3 with FAC at ¶ 3. In her
                                                                    court has not resolved this apparent inconsistency, but it has
Opposition, Plaintiff argues that the same precedent she cited
                                                                    recognized (in non-binding opinions) that Reddy and PAE
in her Opposition to Defendant's first Motion to Dismiss
                                                                    may be irreconcilable. Compare Shirley v. Univ. of Idaho,



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Coll. of Law, 800 F.3d 1193, 1194 (9th Cir. 2015) (Kozinski,       impending future harm. Opp. at 10-13. As discussed in the
J., concurring) with id at 1194-95 (Canby, J. concurring).         Court's prior Order, however, those cases involved the theft of
                                                                   certain types of sensitive information not at issue here: social
The Court can ultimately avoid the intra-circuit confusion         security numbers, account numbers, and account passwords.
on this issue, however, because the SAC's allegations do           See In re Zappos.com, Inc., 888 F.3d 1020, 1023 (9th Cir.
not contradict the FAC's allegations—the SAC merely omits          2018), cert. denied sub nom. Zappos.com, Inc. v. Stevens, No.
previously-pled material information that harms Plaintiff's        18-225, 2019 WL 1318579 (U.S. Mar. 25, 2019); Krottner
case. These allegations are therefore more appropriately           v. Starbucks Corp., 628 F.3d 1139, 1140 (9th Cir. 2010).
characterized as judicial admissions that Plaintiff has not        Plaintiff's cited cases also include the theft of credit and
cured. See Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d           debit card information, but, as discussed above, Plaintiff's
224, 226 (9th Cir. 1988) (assertions in pleadings are judicial     admissions indicate that she has neutralized any future threat
admissions unless amended); see also Huey v. Honeywell,            of credit or debit card fraud by modifying or closing her
Inc., 82 F.3d 327, 333 (9th Cir. 1996) (admissions in original     accounts. In re Zappos.com, Inc., 888 F.3d at 1023; Remijas v.
complaints that have been “amended or withdrawn” are no            Neiman Marcus Grp., LLC, 794 F.3d 688, 689 (7th Cir. 2015).
longer conclusive, but are still admissions, and courts may
still consider them); Burgoon v. Narconon of N. California,         *4 The Zappos court held that the plaintiffs alleged an
125 F. Supp. 3d 974, 984 (N.D. Cal. 2015) (“The amendment          Article III injury based on “the sensitivity of the personal
of a pleading does not make it any the less an admission of        information, combined with its theft.” In re Zappos.com, Inc.,
the party”) (citing Andrews v. Metro N. Commuter R. Co., 882       888 F.3d at 1027 (emphasis added). Here, Plaintiff has once
F.2d 705, 707 (2d Cir. 1989)).                                     again failed to demonstrate that her name, phone number,
                                                                   email address (but not her email password), and mailing
Plaintiff asserts in her Opposition that her “accounts were not    address are sensitive enough pieces of information to give
closed, but it was modified in a minor way that does not affect    rise to a certainly impending risk of future identity theft or
the risk of fraud.” But this assertion does not appear in the      fraud. Her claim that she has received mass mailing materials
SAC, and a plaintiff's “statements in [her] opposition brief       does not help her because receiving spam or mass mail does
cannot amend the Complaint.” Fabbrini v. City of Dunsmuir,         not constitute an injury. See, e.g., Peters v. St. Joseph Servs.
544 F. Supp. 2d 1044, 1050 (E.D. Cal. 2008) (citing Carriers,      Corp., 74 F. Supp. 3d 847, 857 (S.D. Tex. 2015) (no injury
Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984)        despite plaintiff receiving “target[ed]” physical, electronic,
(“axiomatic that the complaint may not be amended by the           and telephonic “solicitations”); Cherny v. Emigrant Bank,
briefs in opposition to a motion to dismiss.”)).                   604 F. Supp. 2d 605, 609 (S.D.N.Y. 2009) (“The receipt
                                                                   of spam by itself, however, does not constitute a sufficient
Since Plaintiff has not overcome her prior admission that she      injury entitling [plaintiff] to compensable relief.”). 3 Plaintiff
closed or modified her accounts to mitigate the impact of the      argues that the theft of non-financial information, and the
data breach, she has not established a certainly impending         resulting spam mailing, can “further support [her] contention
future injury sufficient to confer standing. Nor has she alleged   that the hackers accessed information that could be used to
any additional facts in her SAC describing any past harm           help commit identity fraud or identity theft.” Opp. at 13
or substantial risk of future harm related to her financial        (quoting In re Zappos.com, Inc., 888 F.3d at 1028). That
information. Plaintiff therefore lacks standing to sue with        language from Zappos taken in context, however, reflects the
respect any financial information exposed in the data breach.      Ninth Circuit's reasoning that certain plaintiffs' allegations
                                                                   that hackers “took over their [email] accounts and sent
                                                                   advertisements” to others suggested that they, and other
               ii. Non-Financial Information                       plaintiffs, might be at risk of identity theft or fraud. In re
                                                                   Zappos.com, Inc., 888 F.3d at 1027-28. That reasoning makes
With respect to the alleged theft of Plaintiff's other, non-       sense. Allegations that hackers used the information they stole
financial information—her name, email address, phone               —namely, account passwords—to actually access accounts
number, and mailing address—Plaintiff mostly resurrects the        and take nefarious action strongly suggests that hackers could
arguments she made in response to Defendant's previous             use the information they stole to do harm to other plaintiffs,
Motion to Dismiss by relying on cases holding that hackers'        even if every plaintiff's account had not yet been breached and
theft of sensitive information creates a risk of certainly         even if the harm was not necessarily financial. But Plaintiff



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has not alleged that any such account takeovers have taken          4      Plaintiff cites two cases holding that plaintiffs who
place. Nor do her allegations suggest that hackers obtained                successfully asserted a “benefit of the bargain”
any information that would allow them to assume Plaintiff's                claim in the data breach context had standing
identity or access any of her accounts.                                    to pursue UCL claims because those plaintiffs'
                                                                           payment of more than they bargained for was
3       At least one district court in this circuit has held that          enough of an economic loss to qualify as lost
        being forced to spend significant money fighting                   money. Opp. at 4-5 (citing In re Adobe Sys., Inc.
        spam advertisements in order to protect a business                 Privacy Litig., 66 F. Supp. 3d at 1223-24; In re
        is a cognizable Article III injury. Asis Internet                  Anthem, Inc. Data Breach Litig., 162 F. Supp. 3d at
        Servs. v. Consumerbargaingiveaways, LLC, 622 F.                    985). But, as explained above, Plaintiff's “benefit
        Supp. 2d 935, 939 (N.D. Cal. 2009) (plaintiffs                     of the bargain” theory is deficient.
        allege that they needed to spend $4,200 per month
                                                                     *5 The Court therefore GRANTS Defendant's MTD as to
        to combat spam). But Plaintiff has made no
                                                                    Plaintiff's individual claims for lack of standing.
        allegations that she has incurred financial injury as
        a result of the spam mail.
Plaintiff has thus failed to show that the alleged theft of the     B. Lack of Class Action Standing
information she provided to Defendant can result in a risk of       Since Plaintiff has not met her burden to establish standing,
certainly impending future harm.                                    her class action allegations fail as well. In a class action,
                                                                    named plaintiffs representing a class “must allege and show
                                                                    that they personally have been injured, not that injury has
   3. Plaintiff Fails to Establish Standing Under                   been suffered by other, unidentified members of the class
   California's Unfair Competition Law                              to which they belong and which they purport to represent.”
Plaintiff argues that, separate from her federal standing to seek   Gratz v. Bollinger, 539 U.S. 244, 289 (2003). When the
monetary damages, she has standing to seek an injunction            named plaintiff has not established standing, she may not
under California's Unfair Competition Law (“UCL”). Opp.             “seek relief on behalf of [her]self or any other member of
at 9. She bases this contention primarily on her argument           the class.” O'Shea v. Littleton, 414 U.S. 488, 494 (1974);
that “the theft of Plaintiff's PII creates a substantial risk of    Lierboe v. State Farm Mutual Automobile Ins. Co., 350 F.3d
future harm.” Id. As discussed above, however, she has not          1018, 1022–23 (9th Cir. 2003) (holding class action must be
sufficiently pled that such a harm exists. To the extent that,      dismissed where named plaintiff lacks standing). The Court
as a matter of law, she may have UCL standing despite that          therefore GRANTS Defendant's MTD as to Plaintiff's class
shortcoming—a doubtful proposition in light of the fact that        action allegations.
the “UCL's standing requirements appear to be more stringent
than the federal standing requirements”—her arguments are
unavailing. Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th
                                                                                                  IV.
1305, 1348 n.31 (2009).

Plaintiffs asserting a UCL claim must “have suffered injury                                CONCLUSION
in fact and ... lost money or property as a result of the unfair
competition.” Rubio v. Capital One Bank, 613 F.3d 1195,             In light of the foregoing, the Court GRANTS without
1203 (9th Cir. 2010) (internal quotations omitted). Courts in       prejudice the MTD under Rule 12(b)(1) for lack of subject
this circuit have held that “theft” or “unauthorized release        matter jurisdiction, DENIES as moot the MTD under Rule
of personal information” does not qualify as lost money or          12(b)(6) for failure to state a claim, and DENIES as moot the
property for purposes of determining standing under the UCL.        MTD under Rule 12(b)(3) for lack of personal jurisdiction.
                                                                    Notwithstanding having filed three complaints, Plaintiff has
Ruiz v. Gap, Inc., 540 F. Supp. 2d 1121, 1127 (N.D. Cal.
                                                                    failed to allege facts sufficient to survive the pleading stage.
2008), aff'd, 380 F. App'x 689 (9th Cir. 2010); In re Sony
                                                                    Amendment would thus be futile, and the Court DENIES any
Gaming Networks & Customer Data Sec. Breach Litig., 903 F.
                                                                    further leave to amend.
Supp. 2d at 966. 4 Since Plaintiff has not alleged that she lost
money or property, she has failed to establish UCL standing.



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IT IS SO ORDERED.                                       All Citations

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                                                                 the following reasons, the court submits to the district court
                                                                 the following findings of fact and conclusions of law, pursuant
                  2018 WL 773497
                                                                 to 28 U.S.C. § 157(c)(1), with the recommendation that the
   United States Bankruptcy Court, E.D. California.
                                                                 motion be granted. 1
              IN RE: INTERNATIONAL
      MANUFACTURING GROUP, INC., Debtor.                         1
                                                                        In June of 2016, the Bank moved to withdraw
       Beverly N. McFarland, Trustee, Plaintiff,                        the reference of this adversary proceeding; the
                          v.                                            district court denied the motion without prejudice.
         Battle Creek State Bank, Defendant.                            The adversary proceeding is now much farther
                                                                        along, the parties do not dispute that the Bank
                 Case No. 14–25820–D–11                                 is entitled to a jury trial, and resolution of this
                             |                                          motion may well be dispositive of the adversary
                 Adv. Pro. No. 16–2082–D                                proceeding. For these reasons, and as the Bank has
                             |                                          not consented to entry of final orders or judgment
                    Signed 02/07/2018                                   by this court, the court finds it appropriate to make
                                                                        a recommendation to the district court despite that
Attorneys and Law Firms
                                                                        court’s suggestion that pre-trial motions might be
Christopher Daniel Sullivan, Matthew S. Sepuya, Diamond                 resolved by this court.
McCarthy LLP, San Francisco, CA, for Beverly N.                  Summary judgment is appropriate when there exists “no
McFarland, Trustee.                                              genuine dispute as to any material fact and the movant
                                                                 is entitled to judgment as a matter of law.” Fed. R. Civ.
Matthew Bryan Learned, Melissa Robbins Coutts, McCarthy
                                                                 P. 56(a). The Supreme Court discussed the standards for
and Holthus LLP, San Diego, CA, for Battle Creek State
                                                                 summary judgment in a trilogy of cases: Celotex Corp. v.
Bank.
                                                                 Catrett, 477 U.S. 317 (1986); Anderson v. Liberty Lobby,
Wings Insurance, Inc., Eden Prairie, MN, pro se.                 Inc., 477 U.S. 242 (1986); and Matsushita Elec. Indus. Co.
                                                                 v. Zenith Radio Corp., 475 U.S. 574 (1986). In a motion for
Marc A. Caraska, Marc A. Caraska, A Law Corporation,             summary judgment, the moving party bears the initial burden
Sacramento, CA, for International Manufacturing Group, Inc.      of persuasion in demonstrating that no issues of material fact
                                                                 exist. Anderson, 477 U.S. at 255. A genuine issue of material
                                                                 fact exists when the trier of fact could reasonably find for
FINDINGS OF FACT AND CONCLUSIONS OF LAW                          the non-moving party. Id. at 248. The court may consider
                                                                 pleadings, depositions, answers to interrogatories, and any
Robert S. Bardwil, United States Bankruptcy Court, Judge         affidavits. Celotex at 323. To demonstrate the presence or
                                                                 absence of a genuine dispute, a party must cite to specific
 *1 On November 20, 2017, defendant Battle Creek State
                                                                 materials in the record, or submit an affidavit or declaration
Bank (the “Bank”) filed a motion for summary judgment
                                                                 by a competent witness based on personal knowledge. See
against the plaintiff, International Manufacturing Group,
                                                                 Fed. R. Civ. P. 56(c)(1), (4). Where the movant bears the
Inc., a liquidating debtor (“IMG”), by and through its
                                                                 burden of persuasion as to the claim, it must point to evidence
plan administrator, The Beverly Group, Inc. (the “plan
                                                                 in the record that satisfies its claim. Anderson, 477 U.S. at
administrator”), pursuant to Fed. R. Civ. P. 56, made
                                                                 252. Once the moving party has met its initial burden, the
applicable in this proceeding by Fed. R. Bankr. P. 7056,
                                                                 non-moving party must show specific facts demonstrating the
or in the alternative, for summary adjudication of certain
                                                                 existence of genuine issues of fact for trial. Id. at 256.
facts. The plan administrator filed opposition, the Bank filed
a reply, and the court issued a tentative ruling in advance
                                                                  *2 By its complaint, the plan administrator seeks to avoid
of the initial hearing. Pursuant to that ruling, the hearing
                                                                 and recover, pursuant to California law, as permitted by §
was continued and the parties filed supplemental briefs on
                                                                 544(b) of the Bankruptcy Code, certain pre-petition payments
the issue of whether the alleged illegality of a particular
                                                                 made by IMG to the Bank as actual and/or constructive
agreement necessarily means IMG did not receive reasonably
                                                                 fraudulent transfers. The Bank’s motion is based on “good
equivalent value in exchange for the challenged transfers. For


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faith” and “for value” defenses. That is, as to the actual        to Carter under the IMG/Carter promissory note. In other
fraudulent transfer claims, the Bank contends it took the         words, they were payments on an antecedent debt, which
payments in good faith and for a reasonably equivalent            generally fall within the definition of “value” under California
value given to IMG, and therefore, that the payments are          fraudulent transfer law. “Value is given for a transfer or
not avoidable. See Cal. Civ. Code § 3439.08(a). As to the         an obligation if, in exchange for the transfer or obligation,
constructive fraudulent transfer claims, the Bank contends its    property is transferred or an antecedent debt is secured
evidence demonstrates the plan administrator will be unable       or satisfied....” Cal. Civ. Code § 3439.03. Although the
to make a prima facie case that the payments were made            antecedent debt owing by IMG was to someone—Larry
without IMG receiving a reasonably equivalent value for           Carter—other than the recipient of the monthly payments—
them, and therefore, that they are not avoidable. See Cal. Civ.   the Bank, the payments resulted in an indirect benefit to IMG
Code § 3439.04(a)(2).                                             in the form of the partial satisfaction of its debt to Carter
                                                                  —in amounts corresponding to the amounts of the monthly
In September of 2008, five and a half years before IMG’s          payments IMG made to the Bank.
bankruptcy case was filed, the Bank made a $1,200,000 loan
to an individual named Larry Carter and an LLC of which           “It is well settled that ‘reasonably equivalent value can come
he was the manager, N9FX, LLC (“N9FX”). The loan was              from one other than the recipient of the payments, a rule which
secured by a security interest in an airplane owned by Carter     has become known as the indirect benefit rule.’ ” Frontier
or N9FX. Carter testifies in support of the motion that he and    Bank v. Brown (In re Northern Merch., Inc.), 371 F.3d 1056,
IMG’s principal, Deepal Wannakuwatte, agreed that Carter          1058 (9th Cir. 2004) (citation omitted). Thus, for example,
would loan IMG the $1,200,000 Carter was borrowing from           the shareholders of a company that already owed money to
the Bank and IMG would make the monthly payments on the           a bank signed a promissory note to the bank for a second
airplane loan directly to the Bank. Wannakuwatte executed, as     loan, the proceeds of which were paid directly to the company
president and CEO of IMG, a promissory note for $1,200,000        which, in turn, granted the bank a security interest in its
in favor of Carter, which stated, “Monthly payments in the        assets to secure the second loan. Later, when the company’s
amount of $9,486.59 will be made to the airplane loan.”           bankruptcy trustee sought to avoid the security interest as a
Declaration of Larry Carter, DN 127, Ex. 3. That was the exact    fraudulent transfer, the Ninth Circuit held:
amount of the monthly payment Carter was to make on the
Bank loan. The Bank’s Loan Transaction History Summary
Inquiry shows IMG made the payments regularly and on time                       *3 Although Debtor was not a party
                                                    2                          to the October loan, it clearly received
and the plan administrator does not dispute that.
                                                                               a benefit from that loan. In fact,
2                                                                              [the bank] deposited the $ 150,000
       The Bank loan, by its terms, would have been all
                                                                               proceeds of the October Loan directly
       due and payable on September 2, 2013. In 2011, an
                                                                               into Debtor’s checking account.
       individual named Jerry Nelson purchased Carter’s
                                                                               Because Debtor benefitted from the
       sole member interest in N9FX (and therefore in
                                                                               October Loan in the amount of $
       the airplane), and the balance due on the Bank
                                                                               150,000, its grant of a security interest
       loan, $1,147,325, was paid off with the sale
                                                                               to [the bank] to secure Shareholder[s’]
       proceeds. See Declaration of Gerald C. “Jerry”
                                                                               indebtedness on that loan, which
       Nelson, filed April 12, 2017, in connection with the
                                                                               totaled $ 150,000, resulted in no net
       motion designated DC No. BJ–1. By this adversary
                                                                               loss to Debtor’s estate nor the funds
       proceeding, the plan administrator seeks to avoid
                                                                               available to the unsecured creditors.
       and recover the monthly payments IMG paid the
                                                                               To hold otherwise would result in
       Bank, a total of $246,650. As it was not made by
                                                                               an unintended $ 150,000 wind-fall to
       IMG, the balloon payment is not in issue.
                                                                               Debtor’s estate. Accordingly, Debtor
As to both the actual and constructive fraudulent transfer                     received reasonably equivalent value
claims, the Bank contends IMG received reasonably                              in exchange for the security interest it
equivalent value for its monthly payments to the Bank                          granted to [the bank].
because those payments reduced the amount due from IMG



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                                                                                without conducting any underwriting
Id. at 1059.                                                                    regarding the payor, and without
                                                                                examining the underlying transaction.
The plan administrator contends, however, that because IMG                      Allowing Battle Creek to retain
was actually the front for a sizeable Ponzi scheme, and                         the payments made by IMG here
because the plan administrator claims to have established or                    effectively insulates the contract
to be able to establish that Carter was deeply involved in                      between IMG and Carter despite the
that scheme, the agreement between them—the IMG/Carter                          disputed facts raised in the opposition
promissory note—was an illegal contract, and therefore, void                    as to Carter’s right to enforce the
and unenforceable as between Carter and IMG. Therefore,                         illegal contract or recover based on
Carter could not have enforced the note as against IMG and                      rescission. IMG received no genuine,
when IMG made the monthly payments to the Bank pursuant                         legitimate, tangible value from paying
to the note, IMG was not satisfying a valid antecedent                          money to Battle Creek. It only
debt owed to Carter. Accordingly, IMG received nothing of                       deepened the problems and losses to
value in exchange, notwithstanding that IMG, not Carter,                        creditors from facilitating the Ponzi
received the consideration for the payments—the $1.2 million                    scheme.
proceeds of the Bank loan. The argument is based on the
doctrine that the courts will not enforce an illegal contract. 3
                                                                   Plan Administrator’s Supplemental Memorandum, filed
3                                                                  January 17, 2018, at 4:10–20. The court does not agree.
        “It is well established that no recovery can be
        had by either party to a contract having for its
        object the violation of law. The courts refuse to aid      First, the determination of reasonably equivalent value “must
        either party, not out of regard for his adversary but      be made as of the time of the transfer” (Greenspan v. Orrick,
        because of public policy. Where it appears that a          Herrington & Sutcliffe LLP (In re Brobeck, Phleger &
        contract has for its object the violation of law, the      Harrison LLP), 408 B.R. 318, 341 (Bankr. N.D. Cal. 2009),
        court should sua sponte deny any relief to either          citing BFP v. Resolution Trust Corp., 511 U.S. 531, 546
        party.” Smith v. California Thorn Cordage, Inc.,           (1994)), whereas the plan administrator has not focused its
        129 Cal. App. 93, 99–100 (1933) (citation omitted).        analysis on the time period in which IMG made the monthly
                                                                   payments. In fact, most of the documents filed by the plan
The plan administrator frames the issue as follows:
                                                                   administrator as exhibits in support of its Ponzi scheme
                                                                   argument are dated after April of 2011, when the Bank loan
                                                                   was paid off in full.
               Here, Battle Creek is attempting
               to retain the benefits of fraudulent                 *4 Second, the plan administrator has cited no authority
               transfers made by IMG in furtherance                for the proposition that the doctrine of unenforceability of
               of its illegal enterprise and pursuant              illegal contracts is or should be applied against one who was
               to a contract that is illegal under                 not a party to the illegal contract and who committed no
               Ninth Circuit law [later citing Donell
                                                                   wrongdoing himself. 4 In other words, the plan administrator
               v. Kowell, 533 F.3d 762 (no pin
                                                                   has cited no case applying the doctrine of unenforceability of
               cite) (9th Cir. 2008) ]. The contract
                                                                   illegal contracts to defeat a “for value” defense to a fraudulent
               between IMG and Carter is the
                                                                   transfer action, and in fact, cases involving Ponzi schemes
               “groundwork” for Battle Creek’s
                                                                   have rejected the plan administrator’s position.
               claim that the payments were made
               for reasonably equivalent value.
                                                                   4
               Battle Creek elected to rely on                             As indicated above, the plan administrator has
               the validity of whatever transaction                        attempted to inject alleged wrongdoing on the
               existed between IMG and Carter                              part of the Bank into the analysis. As quoted
               when it accepted payments from                              above, the plan administrator maintains that “Battle
               IMG without evaluating the payor,                           Creek elected to rely on the validity of whatever



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        transaction existed between IMG and Carter when                          the statutory time period. This does
        it accepted payments from IMG without evaluating                         not comport with the relevant statutory
        the payor, without conducting any underwriting                           language, nor the cases within this
        regarding the payor, and without examining the                           circuit, which intimate that transfers
        underlying transaction.” This argument is more                           made by Ponzi scheme debtors may
        appropriately considered on the issue of the Bank’s                      confer reasonably equivalent value.
        good faith, discussed below. For present purposes,
        it is enough to say there was no wrongdoing on
        the part of the Bank in the formation or execution
                                                                     Image Masters, Inc., 489 B.R. at 390. 5 , 6
        of the allegedly illegal contract—the IMG/Carter
        promissory note.
                                                                     5      Simply because a debtor conducts its business
In Image Masters, Inc. v. Chase Home Fin., 489 B.R. 375
                                                                            fraudulently does not make every single payment
(E.D. Pa. 2013), the debtor, operating what turned out to be
                                                                            by the debtor subject to avoidance. If so, every
a $65 million Ponzi scheme, sold wrap-around mortgages to
                                                                            vendor supplying goods to the debtor would
homeowners, who then made their total monthly mortgage
                                                                            receive an avoidable fraudulent transfer when the
payments to the debtor, who, in turn, contractually promised
                                                                            debtor paid the vendor’s invoice. Every employee,
to make the monthly payments on the underlying first
                                                                            even lower-level custodial and clerical employees,
mortgages. When the scheme collapsed, the trustee sued
                                                                            would be required to return their wages, regardless
the holders of the first mortgages to recover the monthly
                                                                            of the work they performed. Landlords would have
payments that had been made by the debtor on behalf of
                                                                            to return rent payments, even if the debtor actually
the homeowners. The bankruptcy court granted the mortgage
                                                                            occupied the leased premises. No one conducting
holders’ Rule 12(b)(6) motion, holding the trustee had failed
                                                                            business with a debtor operating a Ponzi scheme
to plausibly state a claim that the transfers were made
                                                                            could prevent the avoidance of payments they
without reasonably equivalent value to the debtor. In re Image
                                                                            received from the debtor, regardless of the extent
Masters, Inc., 421 B.R. 164, 177–80 (Bankr. E.D. Pa. 2009).
                                                                            of the transferee’s knowledge or culpability or the
                                                                            actual services provided. The law does not require
The district court affirmed, holding that each monthly
                                                                            this result.
payment made by the debtor to a first mortgage holder
                                                                            Cuthill v. Greenmark, LLC (In re World Entm’t,
resulted in a dollar-for-dollar reduction in the debtor’s
                                                                            Inc.), 275 B.R. 641, 658 (Bankr. M.D. Fla. 2002).
liability to the homeowner. Image Masters, Inc., 489 B.R. at
389. “Thus, there was no depletion to Image Masters’ estate as       6      The Ninth Circuit has also held that transfers
a result of this transaction because the payment to the lender              by Ponzi scheme debtors to their investors may
was matched by an equivalent reduction in Image Masters’                    confer reasonably equivalent value, in the form of
obligation to the homeowner. From the perspective of estate                 satisfaction of the investors’ restitution claims. See
preservation, the transaction was a wash.” Id. at 390. The                  In re United Energy Corp., 944 F.2d 589, 595 (9th
fact that the debtor was a Ponzi scheme did not change the                  Cir. 1991).
analysis. Id. “The proper focus of the reasonably equivalent
                                                                      *5 The trustee in Balaber–Strauss v. Sixty–Five Brokers
value inquiry is the specific transaction sought to be avoided,
                                                                     (In re Churchill Mortg. Inv. Corp.), 256 B.R. 664 (Bankr.
not the transfer’s collateral effects on the welfare of a debtor’s
                                                                     S.D.N.Y. 2000), aff’d Balaber–Strauss v. Lawrence, 264
business.” Id. Finally, the court found that
                                                                     B.R. 303, 308 (S.D.N.Y. 2001), made an argument very
                                                                     similar to the plan administrator’s argument in the present
                                                                     case. She brought 61 adversary proceedings to avoid and
             the practical implications of the                       recover commissions paid by the debtors to the brokers
             Trustee’s approach—that is, focusing                    who originated mortgages and solicited investments in the
             on the overall effect on a                              debtors’ businesses, which turned out to be a Ponzi scheme.
             debtor’s business rather than the                       The trustee did not assert the brokers had any knowledge
             specific transaction—would render                       of the Ponzi scheme or that they had themselves acted
             constructively fraudulent all transfers                 wrongfully in any way. Rather, she claimed the Ponzi scheme
             made by a Ponzi scheme debtor within


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“was fueled and perpetuated by the Brokers’ activities in          The court cited Merrill v. Allen (In re Universal Clearing
soliciting investors. In providing a substantial portion of        House Company), 60 B.R. 985 (D. Utah 1986), in which
Churchill’s actual revenues and in fostering the appearance        the court rejected the trustee’s position that “because the
of legitimate business operations, the Debtors’ mortgage           [brokers’] services deepened the debtors’ insolvency and
origination activities played an essential role in the Ponzi       furthered a fraudulent [Ponzi] scheme, the services were
scheme.” 256 B.R. at 667. Thus, the trustee’s position was that    ‘without legally cognizable value.’ ” Churchill, 256 B.R. at
the commissions paid by the debtors to the brokers, “although      679, quoting Universal Clearing House, 60 B.R. at 998. The
reasonably equivalent in value to the services provided in         Universal Clearing House court, as in Churchill, held that
a marketplace sense, were constructively fraudulent simply         the reasonably equivalent value analysis “should focus on
because the commissions were paid by an entity engaged in a        the value of the goods and services provided rather than on
Ponzi scheme.” Id. at 674. 7 The court phrased the issue this      the impact that the goods and services had on the bankrupt
way:                                                               enterprise.” 60 B.R. at 1000. Thus, the court held the services
                                                                   of the debtors’ sales agents constituted value for the payments
                                                                   they received. Id.
             May the Brokers be held liable to
             repay commissions, which they earned
             in good faith and in fair exchange                                The fatal legal flaw in [the trustee’s
             for services actually rendered, merely                            position], as a matter of fraudulent
             because the Debtors’ management was                               conveyance analysis, is that it focuses
             independently engaged in a fraudulent                             not on a comparison of the values
             enterprise? Stated differently, may the                           of the mutual consideration actually
             Brokers’ services, as a matter of law,                            exchanged in the transaction between
             be deemed of no value to the Debtors                              the Broker and the Debtor, but
             because the Debtors’ operation as                                 on the value, or more accurately
             a Ponzi scheme was facilitated or                                 stated, the supposed significance or
             prolonged by the funds received by the                            consequence of the Broker–Debtor
             Debtors through those services?                                   transaction in the context of the
                                                                               Debtors’ whole Ponzi scheme. But
                                                                               the statutes and case law do not call
                                                                               for the court to assess the impact
Id. at 675. The court’s answer was no.
                                                                               of an alleged fraudulent transfer in a
                                                                               debtor’s overall business. The statutes
7      Although the trustee apparently did not use the term                    require an evaluation of the specific
       “illegal” contract, her argument was the same as the                    consideration exchanged by the debtor
       plan administrator’s here.                                              and the transferee in the specific
The court concluded, “The statutes are quite clear. The focus                  transaction which the trustee seeks to
of the inquiry in both [state and federal law] is the specific                 avoid, and if the transfer is equivalent
transaction the trustee seeks to avoid, i.e., the quid pro quo                 in value, it is not subject to avoidance
exchange between the debtor and transferee, rather than an                     under the law.
analysis of the transaction’s overall value to a debtor as it
relates to the welfare of the debtor’s business.” 256 B.R.
at 678. Emphasizing the purpose of the fraudulent transfer          *6 Churchill, 256 B.R. at 680. Thus, the Churchill court
statutes—“to preserve the assets of the estate” (id.), the court   held:
concluded that “the analysis which must be used to determine
value is a commercial equation which looks to the actual
transaction between the debtor and the transferee, and the                     Fraudulent conveyance law is
Court must measure ‘what was given and received’ in that                       grounded in equity and is designed
transaction.” Id. at 679.                                                      to enable a trustee or creditors to
                                                                               avoid a transfer in a transaction where


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             the transferee received more from                             having been induced to make the loan to Carter
             the debtor than the debtor received                           by IMG’s promise, through Carter, to make the
             from the transferee. The remedy of                            monthly payments, would have had a direct claim
             avoidance seeks to rectify the disparity                      against IMG for restitution if IMG had not made
             between that which the transferee gave                        the payments. Thus, when IMG made the payments
             and that which the transferee got in                          to the Bank, it was arguably reducing its own
             the transaction. It is this disparity                         obligation to the Bank for restitution.
             that makes it equitable to require the                 “The [doctrine] is grounded on two premises: first, that courts
             transferee to repay the excess in value                should not lend their good offices to mediating disputes
             of what he received over what he                       among wrongdoers; [fn] and second, that denying judicial
             gave up in the transaction. [¶] In this                relief to an admitted wrongdoer is an effective means of
             case there was no disparity between                    deterring illegality.” Bateman Eichler, Hill Richards, Inc. v.
             the commissions and the value of the                   Berner, 472 U.S. 299, 306 (1985). Here, the court is not
             Brokers’ services. Equity, and the law,                resolving a dispute between two wrongdoers; in fact, as
             would be ill–served by granting relief                 discussed below, the court finds the Bank has made a showing
             on these complaints.                                   it acted in good faith and the plan administrator has not
                                                                    demonstrated there is a disputed issue of material fact on
                                                                    that point. Thus, the court, in granting the Bank’s motion,
Churchill, 256 B.R. at 682.                                         would not be granting relief to an admitted wrongdoer. And
                                                                    granting this motion would not deter illegality in that neither
In the present case, the Bank gave consideration, in the            party to the allegedly illegal agreement—neither Carter nor
form of a $1.2 million loan, the proceeds of which were             IMG, when they arranged for IMG to make the payments,
immediately received by IMG, and IMG gave consideration             considered the impact on the Bank as the possible recipient
in the form of the monthly payments on the loan. Thus, as a         of fraudulent transfers years after the monthly payments were
matter of economic reality, and as a matter of the net worth        made. Nor are parties to future contracts likely to consider
of IMG’s estate, IMG received reasonably equivalent value in        such matters.
exchange for the payments. The plan administrator has cited
no authority for the proposition that the injection of Carter        *7 In short, the plan administrator’s argument is a stretch
into the transaction as, in essence, an intermediary for the $1.2   too far. Application of the illegal contract doctrine would
million, should change the outcome. 8 Further, viewing the          punish an innocent party for the alleged illegality of two
IMG/Carter promissory note as an arguably illegal contract          other parties by depriving it of an otherwise valid “for value”
for the purpose of negating the value of the $1.2 million IMG       defense as to the monthly payments IMG made on the $1.2
received would not serve the policies underlying the illegal        million it received. Concomitantly, applying the rule here
contract doctrine.                                                  would result in a windfall to the estate in that IMG received
                                                                    and retained the $1.2 million and the estate would also recover
8                                                                   the monthly payments IMG made in exchange for the use
        Under the plan administrator’s theory, Carter’s
                                                                    of those monies. The court concludes the Bank has met its
        presence as a party to the IMG/Carter promissory
                                                                    initial burden of persuasion in demonstrating that there are
        note makes all the difference. That is, the plan
                                                                    no triable issues of material fact as to whether IMG received
        administrator argues that if the note was an illegal
                                                                    reasonably equivalent value in exchange for the monthly
        contract, Carter would have had against IMG not
                                                                    payments it made to the Bank; that is, the Bank has made a
        only no breach of contract claim but also no
                                                                    showing sufficient for summary judgment IMG did receive
        claim for restitution. The Bank’s exhibits reveal,
                                                                    such value. Despite the opportunity for further briefing, the
        however, that IMG knew in advance that Carter
                                                                    plan administrator has not shown specific facts demonstrating
        would be borrowing the $1.2 million and would
                                                                    the existence of genuine issues of fact for trial.
        then turn around and loan it to IMG. “Deepal,
        Here is the loan offer on the airplane and I think
                                                                    As for the good faith issue, the court finds the Bank has
        it looks as good as any other....Shall I take the
                                                                    satisfied its initial burden of persuasion in demonstrating that
        loan? Larry.” Bank’s Ex. 4. Arguably, the Bank,
                                                                    no genuine issues of material fact exist. The person who has



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been the Bank’s president since 1993 testifies the Bank knew                   parties and transactions between them,
nothing about IMG or Wannakuwatte at the time it made the                      the party making the payments is
loan; that the Bank does not unilaterally decide where to send                 somehow receiving reasonable value
account statements; that in this case, at Carter’s request, the                in exchange for the transfers, or (b)
statements were addressed to N9FX and Carter and sent in                       an investigation into the financial
care of JTS Communities, Inc; that between October of 2008                     status of the payor shows that entity,
and April of 2011, the Bank received the monthly payments                      IMG, was fully solvent and could
and was paid off in April of 2011; that at no time between                     legitimately donate its assets for the
those dates did the Bank know of IMG’s and Wannakuwatte’s                      benefit of Carter.
fraud, or have knowledge of any facts that would suggest
the payments the Bank was receiving from IMG were made
with the intent to defraud its creditors, or have knowledge       Plaintiff’s Opp., DN 132, at 18:21–19:6.
of any facts that would have suggested IMG was insolvent
at the time it made the payments, or receive any information      The plan administrator has cited a single case for this
suggesting there was any suspicious activity on the part of       proposition. In that case, Development Specialists, Inc. v.
IMG. The Bank’s president concludes: “There was nothing           Hamilton Bank, N.A. (In re Model Imperial, Inc.), 250 B.R.
unusual about the way Battle Creek received the payments on       776 (Bankr. S.D. Fla. 2000), the bank made a loan to a
the fully secured Loan with Carter. In my experience, there       company it knew had no assets and it knew the company the
are numerous situations where a payment from a third party        money was actually going to was maxed out on its line of
is entirely acceptable. Having received no calls from anyone,     credit with and subject to borrowing restrictions by a group
no documentary evidence indicating that there was an issue,       of other banks. The bank’s senior vice president knew the
we did not suspect that any issues existed as to the payments     real borrower’s inability to incur additional debt was the only
received from IMG.” Declaration of Roger Brestel, DN 128,         reason the “paper company” was used as the bank’s nominal
¶ 15.                                                             borrower. In other words, there was a lot more in the nature of
                                                                  red flags than a bank receiving payments from someone other
The plan administrator’s only argument in opposition is that      than its named borrower.
the single fact that the loan payments were made by someone
(IMG) other than the Bank’s obligor (Carter/N9FX) was              *8 In short, the court is not persuaded that the mere receipt
enough of a red flag to put the Bank on inquiry notice that       of regular and timely monthly payments from someone other
something suspicious, and possibly fraudulent, was going on.      than a bank’s borrower is, in and of itself, sufficient to put the
Thus, the plan administrator states, “Battle Creek’s files are    bank on inquiry notice of something irregular going on with
devoid of any information regarding why it was receiving          the payor. Further, the plan administrator has not suggested
payments on its note from a third party not obligated on the      there are additional facts it might present showing there were
debt” and                                                         any other red flags that should have put the Bank on inquiry
                                                                  notice. 9 Thus, in response to the Bank’s prima facie case
                                                                  as to its good faith defense, the plan administrator has failed
            the mere receipt by a financial                       to show specific facts demonstrating that there are genuine
            institution of payments on a loan                     issues of fact for trial.
            from a third party not obligated on
            the debt is a red flag warranting                     9       The discovery bar date and the deadline to disclose
            inquiry by the bank, since on its
                                                                          experts have passed.
            face, without any information or
            investigation into the basis for the                  For the reasons stated, the court submits these findings of
            third party to be making the payments,                fact and conclusions of law to the district court with the
            the payments appear to be gifts by                    recommendation that the Bank’s motion be granted and that
            the payor that would be subject                       judgment be entered in favor of the Bank and against the plan
            to avoidance as fraudulent transfers                  administrator.
            unless (a) based on an investigation
            into the underlying relationship of the



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                                                                    the Bankruptcy Code. Defendant moves to dismiss Trustee's
                                                                    Complaint for failure to state a plausible claim. Defendant
     KeyCite Yellow Flag - Negative Treatment                       argues Trustee failed to state a plausible claim under the
Declined to Extend by In re Southern Home and Ranch Supply, Inc.,
                                                                    standards of Ashcroft v. Iqbal, ––– U.S. ––––, 129 S.Ct. 1937
Bankr.N.D.Ga., December 20, 2013
                                                                    (2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544
                  2011 WL 4621741                                   (2007).
    Only the Westlaw citation is currently available.
           United States Bankruptcy Court,                          After reviewing the record and hearing the parties' arguments,
                     N.D. Iowa.                                     the Court finds Trustee has failed to plead a plausible case.
                                                                    The Court, however, exercises its discretion to allow Trustee
        In re AGRIPROCESSORS, INC., Debtor.                         to amend his pleading instead of dismissing the case.
           Joseph E. Sarachek, in his capacity
             as Chapter 7 Trustee, Plaintiff,
                           v.                                           PLEADINGS AND FACTUAL ALLEGATIONS
            The Right Place Inc., Defendant.
                                                                    Debtor owned and operated one of the nation's largest kosher
                  Bankruptcy No. 08–2751.                           meatpacking and food-processing facilities in Postville, Iowa.
                             |                                      On November 4, 2008, Debtor filed a Chapter 11 petition in
                  Adversary No. 10–09123.                           the Bankruptcy Court for the Eastern District of New York.
                             |                                      Debtor's bankruptcy petition and accompanying documents
                      Sept. 30, 2011.                               recited that its financial difficulties resulted from a raid
                                                                    conducted by U.S. Immigration and Customs Enforcement.
Attorneys and Law Firms                                             A total of 389 workers at the Postville facility were arrested.
                                                                    The raid led to numerous federal criminal charges, including
Dan Childers, Desiree A. Withers, Elderkin & Pirnie, PLC,
                                                                    a high-profile case against Debtor's President, Sholom
Paula L. Roby, Cedar Rapids, IA, for Plaintiff.
                                                                    Rubashkin. Debtor's Petition also stated it had over 200
Christopher C. Fry, O'Connor & Thomas, P.C., Dubuque, IA,           creditors and assets and liabilities in excess of $50,000,000.
Kurt F. Gwynne, Wilmington, DE, for Defendant.
                                                                    The court eventually approved the appointment of Joseph
                                                                    E. Sarachek as the Chapter 11 trustee. The court concluded
                                                                    that appointing a trustee was necessary in part “for
  ORDER RE: MOTION TO DISMISS COMPLAINT
                                                                    cause, including fraud, dishonesty, incompetence, or gross
THAD J. COLLINS, U.S. Chief Bankruptcy Judge.                       mismanagement of the affairs of the debtor by current
                                                                    management” under § 1104(a)(1). After hearings in a later
 *1 This matter came before the Court in a telephonic hearing       proceeding, the court transferred the case to this Court on
on the Motion to Dismiss of Defendant The Right Place Inc.          December 15, 2008. This Court eventually converted the case
Defendant was represented by Christopher C. Fry, Kurt F.            to a Chapter 7 bankruptcy. The U.S. Trustee for this region
Gwynne, and Timothy Reiley. Trustee was represented by              retained Mr. Sarachek as the Chapter 7 trustee.
Dan Childers. The Court requested post-hearing briefing and
took the matter under advisement. This is a core proceeding         Trustee filed approximately 150 adversary proceedings in the
under 28 U.S.C. § 157(b)(2)(F) and (H).                             bankruptcy case. In numerous hearings and filings with the
                                                                    Court, Trustee has noted the many challenges and difficulties
                                                                    investigating the claims, most resulting from the raid and
               STATEMENT OF THE CASE                                subsequent proceedings. Key people were incarcerated and/
                                                                    or were unwilling to talk. Documents were difficult to locate
Trustee discovered several payments Debtor made to                  and to understand without the availability and cooperation of
Defendant within two years of Debtor's petition filing date.        many key plant employees.
Trustee filed the Complaint to avoid the respective payments
as fraudulent transfers, or alternatively, preferences under



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 *2 One of the adversaries Trustee filed was the two-count
Complaint here. Trustee seeks transfers made by Debtor to
                                                                                   CONCLUSIONS OF LAW
Defendant from May 18, 2007 through April 30, 2008. The
transfers totaled $256,884.00. Trustee seeks recovery of all
the payments as fraudulent conveyances under § 548 (Count                       A. Motion to Dismiss Standard
I), or alternatively, recovery of some of the payments as
                                                                  The Bankruptcy Rules follow the standards of the Federal
preferential transfers to an insider under § 547(b) (Count
                                                                  Rules of Civil Procedure on grounds for dismissal and
II). With regard to the preference claim in Count II, Trustee
                                                                  requirements for pleading. Bankruptcy Rule 7012 specifically
alleged that Defendant was an insider at the time each transfer
                                                                  notes: “Rule 12(b)-(i) F.R.Civ.P. applies in adversary
was made “because [Defendant] is a related entity of the
                                                                  proceedings.” Defendant moves for dismissal under Federal
Debtor.”
                                                                  Rule of Civil Procedure 12(b)(6) for “failure to state a claim
                                                                  upon which relief can be granted.”
Defendant moves to dismiss the Complaint. Under Iqbal
and Twombly, Defendant alleges Trustee failed to state any
                                                                  In order to determine whether a complaint states a “claim
plausible factual allegations in Count I that indicate Debtor
                                                                  upon which relief can be granted,” courts first look to what
received less than a reasonably equivalent value for the
                                                                  a party is required to plead. Twombly, 550 U.S. at 554–55.
payments as required by § 548(a)(1)(B)(i). Defendant also
                                                                  Again, Bankruptcy Rule 7008(a) provides: “Rule 8 F.R.Civ.P.
argues that Trustee failed to adequately plead Debtor was
                                                                  applies in adversary proceedings.” Under Federal Rule of
insolvent during the periods prescribed by § 548(a)(1)(B)(ii)
                                                                  Civil Procedure 8(a)(2), a pleading must contain a “short
(I).
                                                                  and plain statement of the claim showing that the pleader
                                                                  is entitled to relief.” For many years, the settled standard
Defendant argues Count II should be dismissed because
                                                                  for evaluating motions to dismiss was provided in Conley v.
Trustee failed to allege a plausible factual basis for his
preference claims under § 547(b). In particular, Defendant        Gibson, 355 U.S. 41 (1957). In Conley, the Supreme Court
argues that Trustee makes only conclusory statements              stated that a case should be dismissed for failure to state a
insufficient to plead Defendant was an “insider” under §          claim only if it “appears beyond doubt that the plaintiff can
547(b)(4)(B). Defendant also again argues that Trustee makes      prove no set of facts in support of his claim which would
only conclusory statements insufficient to establish Debtor's     entitle him to relief.” Id. at 45–46 (citations omitted).
insolvency at the time of the transfers—a prerequisite to
recover under § 547(b)(3).                                         *3 The standard for ruling on a motion to dismiss under the
                                                                  Federal Rules has received new attention from the Supreme
Trustee resists Defendant's Motion to Dismiss. Trustee argues     Court in recent terms. “To survive a motion to dismiss, a
that the claims in both Counts meet the pleading standards        complaint must contain sufficient factual matter, accepted
of Twombly and Iqbal. Trustee also argues Defendant               as true, to ‘state a claim to relief that is plausible on
misunderstood the facts and context of the claims made in the     its face.’ “ Iqbal, 129 S.Ct. at 1949 (quoting Twombly, 550
Complaint. Trustee emphasizes his long-term involvement           U.S. at 555) (emphasis added). “Because the Supreme Court's
with this case and his understanding of its factual context.      decisions were based on interpretation of Rule 8, they govern
Trustee also points to his unanswered inquiries to the            pleadings ‘in all civil actions and proceedings in the United
Defendant regarding value it provided in exchange for the         States District Courts.’ “ Bensinger, Bill D. Context is King—
alleged transfers. Trustee essentially argues Defendant had       Twombly, Iqbal and the Art of Pleading in Bankruptcy, 19 J.
those facts and chose not to share them with Trustee. Trustee     Bankr.L. & Prac. 669 (2010) (citing Iqbal, 129 S.Ct. at 1953).
argues these factors should be taken into account when
reviewing the Defendant's arguments about deficiencies in the     The Supreme Court now applies a two-pronged approach in
Complaint. Trustee also asks this Court to grant him leave        evaluating a motion to dismiss. First, the Court identifies
to amend, in the event this Court finds Trustee's claims were     “pleadings that, because they are no more than conclusions,
not adequately pleaded. Defendant resists Trustee's request       are not entitled to the assumption of truth.” Iqbal. 129 S.Ct. at
for leave to amend the Complaint.                                 1950. Second, to the extent that the complaint contains factual
                                                                  allegations, the Court assumes the truth of those facts and
                                                                  determines whether they plausibly give rise to an entitlement
                                                                  to relief. Id.


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                                                                      *4 In the above cases, the court analyzed actual fraudulent
By establishing this plausibility standard, the Supreme Court        transfer pleadings under the heightened standards of Rule 9.
sought to reduce the potential for discovery abuse that could        While this is not an actual fraud case that falls under Rule 9,
follow an insufficient pleading. Twombly, 550 U.S. at 559.           the principles in those cases do have some application here.
The Court was concerned in part that “the threat of discovery        Iqbal and Twombly require more factual detail in Rule 8 notice
expense will push cost-conscious defendants to settle even           pleading; thus, the trustee now must plead in greater detail
anemic cases before reaching those proceedings.” Id. The             while still, in many cases, being forced to rely on secondhand
Court emphasized that Rule 8 notice pleading does not                information. As a result, when considering the Motion to
“unlock the doors of discovery for a plaintiff armed with            Dismiss, Trustee's status is a necessary part of the context
nothing more than conclusions.” Iqbal, 129 S.Ct. at 1950. The        in which this Court evaluates the facial plausibility of the
Court thus rejected the “careful case management” argument           Complaint.
that an insufficient pleading would simply be weeded out
early in the discovery process. Iqbal, 129 S.Ct. at 1953.
Nevertheless, the Court noted that “[d]etermining whether
                                                                                  C. Factual Allegations Required
a complaint states a plausible claim is context-specific,
                                                                                    to Establish Pleaded Claims
requiring the reviewing court to draw on its experience and
common sense.” Iqbal, 129 S.Ct. at 1940 (citing Twombly,             In order to determine whether the Complaint satisfies
550 U.S. at 556).                                                    the Twombly and Iqbal requirements, this Court must
                                                                     evaluate whether the factual assertions in Trustee's Complaint
                                                                     “plausibly” establish an entitlement to relief. To do so, the
              B. Pleading Standards Where                            Court must first identify the legal standards Trustee must meet
            Bankruptcy Trustee is the Plaintiff                      in alleging facts to support a plausible claim, while giving due
                                                                     consideration to context.
In cases decided both before and after Iqbal and Twombly,
courts have given more leeway in pleading where the
bankruptcy trustee is the plaintiff. “For claims brought by             1. Fraudulent Conveyances
a bankruptcy trustee, courts take a more liberal view when           Count I of Trustee's Complaint seeks to recover fraudulent
examining allegations of actual fraud ... in the context             transfers under § 548(a)(1), which provides:
of a fraudulent conveyance, since a trustee is an outsider
                                                                       The trustee may avoid any transfer (including any transfer
to the transaction who must plead fraud from second-
                                                                       to or for the benefit of an insider under an employment
hand knowledge.” In re Dreier LLP, No. 09–15051(SMB),
                                                                       contract) of an interest of the debtor in property, or any
2011 WL 2412581, at *10 (Bankr.S.D.N.Y. June 16, 2011)
                                                                       obligation (including any obligation to or for the benefit
(citations omitted), but see In re NE 40 Partners, Ltd. P'ship,
                                                                       of an insider under an employment contract) incurred by
440 B.R. 124, 128 (Bankr.N.D.Tex.2010) (noting that the
                                                                       the debtor, that was made or incurred on or within 2 years
Fifth Circuit does not give bankruptcy trustees such leeway
                                                                       before the date of the filing of the petition, if the debtor
in alleging actual fraud). “In a bankruptcy case where the
                                                                       voluntarily or involuntarily—
trustee or a third party outsider to the fraudulent transaction
is pleading the fraud on secondhand knowledge for the                  (A) made such transfer or incurred such obligation with
benefit of the estate and all of its creditors, greater liberality     actual intent to hinder, delay, or defraud any entity to
is generally afforded in the pleading of fraud than in a               which the debtor was or became, on or after the date that
civil suit.” In re Ahead by a Length, Inc., 100 B.R. 157,              such transfer was made or such obligation was incurred,
166 (Bankr.S.D.N.Y.1989) (citations omitted). Courts have              indebted; or
allowed a trustee to allege fraud based on information and
belief if the facts are “peculiarly within the opposing party's        (B)(i) received less than a reasonably equivalent value
knowledge.” In re Dreier at *11 (citing Schlick v. Penn–Dixie          in exchange for such transfer or obligation; and
Cement Corp., 507 F.2d 374, 379 (2d Cir.1974) (quotations
                                                                          (ii)(I) was insolvent on the date that such transfer
omitted).
                                                                          was made or such obligation was incurred, or became
                                                                          insolvent as a result of such transfer or obligation; ...



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                                                                  fraudulent transfers, not Rule 9(b)'s heightened pleading
11 U.S.C. § 548(a)(1) (emphasis added).                           standard)). Accordingly, this Court reviews the constructively
                                                                  fraudulent transfers under Rule 8(a) and the standards for
Section 548(a) of the Bankruptcy Code allows a trustee to         minimum pleading in Iqbal and Twombly. In re Caremerica,
avoid transfers that are incurred by either actual fraud (§       Inc., 409 B.R. 737, 755 (Bankr.E.D.N.C. July 28, 2009).
548(a)(1)(A)) or constructive fraud (§ 548(a)(1)(B)). Under
§ 548(a)(1)(A), a trustee may avoid any transfer made within      Under Iqbal and Twombly, Trustee's claim for constructively
two years before the petition filing date if the debtor made      fraudulent transfers must allege sufficient facts that plausibly
the transfer with “actual intent to hinder, delay, or defraud”    show: (i) a transfer within the applicable time period, (ii) a
the creditor. Under § 548(a)(1)(B), a trustee may avoid any       lack of reasonably equivalent value (or fair consideration),
transfer made within two years before the petition filing date    and (iii) debtor's insolvency during the relevant time
if debtor received “less than a reasonably equivalent value       period. In re Charys Holding Co., 443 B.R. 628, 636
in exchange for the transfer,” and debtor was, or became,         (Bankr .D.Del.2010). A mere recitation of the three legal
insolvent at the time of the transfer. Trustee alleges only       elements is inadequate to establish a plausible factual basis.
constructive fraud, asserting Debtor's payments “were in          Caremerica, 409 B.R. at 745. Defendant here claims Trustee
exchange for less than a reasonably equivalent value” and at      failed to sufficiently plead all three elements.
the time of the transfers debtor was insolvent under § 548(a)
(1)(B)(ii)(I). Complaint at ¶ 9 and ¶ 10.
                                                                     a. Element One—Transfer Made Within Two–Year
 *5 When a plaintiff alleges actual fraud, Fed.R.Civ.P.              Period
9(b) requires that plaintiff “must state with particularity       The first element Trustee must sufficiently plead is the debtor
the circumstances constituting fraud or mistake. Malice,          made a transfer to defendant within two years before the
intent, knowledge, and other conditions of a person's mind        petition filing date. 11 U.S.C. § 548(a)(1)(B). To adequately
may be alleged generally.” Most courts conclude, however,         plead this element Trustee needs to recite sufficient factual
that Rule 9(b) is inapplicable to pleading constructively         information, including the date of the transfer, the amount of
fraudulent transfers under § 548(a)(1)(B) because intent or       the transfer, the name of the transferor, and the name of the
deceit is not an element of constructive fraud. See, e.g.,        transferee. Charys, 443 B.R. at 636 (finding the complaint
Picard v. Cohmad Securities Corp. (In re Bernard L. Madoff        adequate because it listed transaction dates and amounts
Inv. Secs. LLC), No. 09–1305, 2011 WL 3274077, at *10             between the debtor and transferee that took place within the
(Bankr.S.D.N.Y. Aug. 1, 2011) (finding “courts consistently       two years preceding the petition date).
hold that claims of constructive fraud do not need to meet
the heightened pleading requirements of Fed.R.Civ.P. 9(b)”)
(citation omitted); SB Liquidation Trust v. Preferred Bank           b. Element Two—Reasonably Equivalent Value
(In re Syntax–Brillian Corp.), No. 10–51389, 2011 WL               *6 On the second element of his constructive fraud case,
3101809, at * 7 (Bankr.D.Del. July 25, 2011) (“Constructive       a trustee must allege facts that plausibly show the debtor
fraudulent transfer claims are specifically governed by           received “less than a reasonably equivalent value in exchange
Federal Rule of Civil Procedure 8 rather than by the              for such transfer[s].” 11 U.S.C. § 548(a)(1)(B)(i). The
heightened Rule 9(b) pleading standard”); In re Anderson,         term “reasonably equivalent value” is not defined in the
No. 10–50757, 2010 WL 4959948, at *4 (Bankr.E.D.Tenn.             Bankruptcy Code. Accordingly, “reasonably equivalent value
Dec. 1, 2010) (citing Gold v. Winget (In re NM Holdings           is a fact intensive determination that typically requires testing
Co.), 407 B.R. 232, 259 (Bankr.E.D.Mich.2009)) (“When             through the discovery process.” Charys, 443 B.R. at 638.
‘fraud’ is alleged solely because a debtor transferred property   A complaint, however, must do more than just summarily
while it was insolvent, the transferee is not accused of          state there was “less than a reasonably equivalent value in
an act of fraud or deception ....”) (citation omitted); State     exchange.” See id. The trustee must describe the consideration
Bank & Trust Co. v. Spaeth (In re Motorwerks, Inc.),              and why the value of such consideration was less than the
371 B.R. 281, 295 (Bankr.S.D.Ohio 2007) (indicating               amount transferred. Caremerica, 409 B.R. at 756.
the more stringent requirements of Rule 9(b) do not
apply); Astro Liquidating Trust v. Xantrex Tech., Inc., 335       Where, as here, the allegation is that there was no
B.R. 309, 333 (Bankr.D.Del.2005) (finding Rule 8(a)(2)'s          consideration, courts are split on whether a simple recitation
notice pleading standard governs claims for constructively        of that allegation is sufficient. Compare In re Image Masters,


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Inc., 421 B.R. 164, 179 (Bankr.E.D.Pa.2009) (finding the
complaint to contain only a “bald legal conclusion” when               (1) debtor transferred an interest of the debtor in property,
stating, “[Defendant] received no value whatsoever in
                                                                       (2) to or for the benefit of a creditor, (3) for or on the
exchange for the Transfers alleged in this case let alone
                                                                       account of an antecedent debt, (4) made while the debtor
reasonably equivalent value ....”) with In re Innovative
                                                                       was insolvent, (5) made within 90 days, or within one year
Commc'n Corp., No. 09–3007, 2010 WL 3069489, at *3 n.
                                                                       if the creditor was an insider, (6) that enabled the creditor
4 (Bankr.D.V.I. June 18, 2010) (finding plaintiff's complaint
                                                                       to receive more than it would under Chapter 7.
adequate when it stated, “The Defendant did not provide any
consideration to [Plaintiff] in exchange for the Transfers.”)        11 U.S.C. § 547(b) (emphasis added); Sarachek v. Chitrik,
(emphasis added).                                                    No. 10–09058 slip op. at 3–4 (Bankr.N.D.Iowa July 22,
                                                                     2011); Caremerica, 2009 WL 2253225, at *2–5; In re
                                                                     AmerLink, Ltd., No. 09–01055–8–JRL, 2011 WL 864953, at
   c. Element Three—Insolvency
                                                                     *2 (Bankr.E.D.N.C. Mar. 11, 2011). Defendant argues that
To satisfy the third element of a constructively fraudulent
                                                                     Trustee failed to allege sufficient plausible facts to show
transfer, a trustee must allege facts that plausibly show that at
                                                                     Debtor was insolvent or Defendant was an insider.
the time of the transfers, Debtor was insolvent. 11 U.S.C. §
548(a)(1)(B)(ii)(I). The Bankruptcy Code specifically defines
insolvency. As it pertains to an “entity other than a partnership       a. Insolvency at the Time of the Alleged Preferential
and a municipality,” that entity is insolvent when “the sum of          Transfers
such entity's debts is greater than all of such entity's property,   The Bankruptcy Code presumes a debtor was insolvent at
at a fair valuation, exclusive of—(i) property transferred,          the time it allegedly made preferential transfers within the
concealed, or removed with intent to hinder, delay, or defraud       90–day prepetition window. 11 U.S.C. § 547(f). However,
such entity's creditors; and (ii) property that may be exempted      the Bankruptcy Code does not provide an insolvency
from property of the estate under section 522 of this title.” 11     presumption for alleged preferential transfers to insiders—
U.S.C. § 101(32)(A).                                                 those occurring between 90 days and one year before filing.
                                                                     See generally 11 U.S.C. § 547. The trustee must therefore
Again, a trustee's complaint cannot merely make a conclusory         plead facts to support a plausible claim that the debtor was
statement that a debtor was insolvent. In re Gluth Bros.             insolvent when the transfer was allegedly made to the insider.
Const., Inc., 424 B.R. 368 (Bankr.N.D.Ill.2009). A complaint         Caremerica, 409 B.R. at 752. The trustee bears the burden
must contain enough factual information to plausibly show            of proving the debtor was insolvent at the time of the alleged
the debtor's liabilities exceeded assets at the time of the          preferential transfers. 11 U.S.C. § 547(g). Again, to raise a
transfers. In re Saba Enters., Inc., 421 B.R. 626, 646               plausible basis for the claim, Trustee must allege more than
(Bankr.S.D.N.Y.2009); Anderson 2010 WL 4959948, at *3                simply the legal element that Debtor was insolvent at the
(citing Joseph v. Frank (In re Troll Commc'ns, LLC), 385             relevant time. Trustee must provide the factual basis for the
B.R. 110, 123–24 (Bankr.D.Del.2008) (finding insolvency              allegation described above.
adequately pleaded where the complaint alleged facts
showing that debtor's liabilities exceeded their assets as of
the date of the transfer)); See also Charys, 443 B.R. at                b. Transfers to an Insider
636 (providing balance sheet information that did not reflect        The Trustee may avoid an interest of the debtor in property
insolvency, but further alleged that the intangible goodwill         “between ninety days and one year before the date of the filing
entry was rendered valueless by independent contractors and          of the petition, if such creditor at the time of such transfer was
that the tangible net assets were overvalued at the time of the      an insider.” 11 U.S.C. § 547(b)(4)(B) (emphasis added). The
transfers).                                                          term “insider” is defined in § 101(31). When the debtor is a
                                                                     corporation, an “insider” includes:

   2. Preferential Transfers                                           (i) director of the debtor;
 *7 Count II of Trustee's Complaint alleges that to the extent
                                                                       (ii) officer of the debtor;
the payments occurred within one year of the date of filing,
they were preferential transfers to an “insider” under § 547(b).       (iii) person in control of the debtor;
The elements of a preferential transfer are:


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                                                                       The decision on a request to amend is left to the discretion
    (iv) partnership in which the debtor is a general partner;         of the trial court. Wisdom v. First Midwest Bank of Poplar
                                                                       Bluff, 167 F.3d 402, 409 (8th Cir.1999). “A court abuses its
    (v) general partner of the debtor; or
                                                                       discretion when it denies a motion to amend a complaint
    (vi) relative of a general partner, director, officer, or person   unless there exists undue delay, bad faith, repeated failure to
                                                                       cure deficiencies by amendments previously allowed, undue
      in control of the debtor. 1
                                                                       prejudice to the non-moving party, or futility of amendment.”
                                                                       Popoalii v. Correctional Med. Servs., 512 F.3d 488, 497 (8th
1        “The term ‘relative’ means individual related by              Cir.2008). Courts “generally prefer to decide claims on their
         affinity or consanguinity within the third degree as          merits instead of on their pleadings.” Wisdom, 167 F.3d at 409
         determined by the common law, or individual in                (citations omitted). “[P]arties should usually be given at least
         a step or adoptive relationship within such third             one chance to amend their complaint.” Id. (citation omitted).
         degree.” 11 U.S.C. § 101(45).
11 U.S.C. § 101(31)(B). The definition is not limiting because         Federal Rule of Civil Procedure 15(c), applicable in
Congress used the word “includes.” In re Enter. Acquisition            bankruptcy adversary proceedings under Fed. R. Bankr.P.
Partners, Inc., 319 B.R. 626, 631 (B.A.P. 9th Cir.2004). Thus,         7015, allows relation back of a claim or defense asserted in
in addition to those insiders listed in the statutory definition—      an amended pleading if the claim or defense “arose out of
known as per se insiders—there are also “insiders” that have a         the conduct, transaction, or occurrence set forth or attempted
“sufficiently close relationship with the debtor that ... conduct      to be set forth in the original pleading.” Fed.R.Civ.P. 15(c).
is made subject to closer scrutiny than those dealing at arm's         “Rule 15(c) is based on the concept that a party who is notified
length with the debtor.” Id. (citation omitted).                       of litigation concerning a given transaction or occurrence has
                                                                       been given all the notice that statutes of limitation are intended
 *8 To satisfy the definition of per se insider or other               to afford.” Plubell v. Merck & Co., Inc., 434 F.3d 1070, 1072
insiders, the trustee must provide enough factual details in the       (8th Cir.2006). “The determination of whether an amended
complaint to show that the alleged relationship is plausibly           pleading should be allowed and whether it relates back to
that of an “insider .” AmerLink, 2011 WL 864953, at *2                 the date of the original pleading are matters within the sound
(finding the complaint adequate because it stated that “the            discretion of the trial court.” Shea v. Esensten, 208 F.3d 712,
companies are owned and/or controlled by Spoor, who is                 720 (8th Cir.2000) (citing Zenith Radio Corp. v. Hazeltine
an insider of the debtor himself, as he chaired the Board of           Research, Inc., 401 U.S. 321, 330 (1971)).
Directors of the debtor.”); Caremerica, 409 B.R. at 752–53;
Angell v. Day (In re Caremerica, Inc.), 415 B.R. 200, 205
(Bankr.E.D.N.C.2009). Again, a complaint's allegation that                                       ANALYSIS
the defendants “are insiders as the term is defined in § 101(31)
and used in § 547(b)” is conclusory and insufficient without
supporting facts. Caremerica, 415 B.R. at 205.                                      A. Count I: Fraudulent Transfers

                                                                        *9 Defendant argues Trustee's Complaint fails to plead all
                                                                       three elements of a constructively fraudulent transfer claim
                       D. Leave to Amend                               under § 548(a)(1)(B). The Court holds that, with respect to
                                                                       the third element, Trustee has failed to allege sufficient facts
Trustee has requested leave to amend his Complaint if the              to support a plausible claim that Debtor was insolvent at the
Court finds the Complaint deficient. Under Bankruptcy Rule             time of the alleged transfers.
7015, amendments should be freely allowed when justice
so requires. Fed. R. Bankr.P. 7015(a)(2); see also Olsen v.            In Exhibit A attached to the Complaint, Trustee attempted
Paulsen (In re Paulsen), No. 08–30044, 2008 WL 4442520                 to satisfy the first element by providing wire transfer dates
at *2 (Bankr.N.D.Iowa 2008). Courts should liberally grant             and amounts. The Complaint alleges that all transactions were
leave to amend a pleading unless a compelling reason, such as          made by Debtor to Defendant. Thus, Trustee has alleged
prejudice to an opposing party, exists. See Forman v. Davis,           sufficient facts to plausibly show that transfers were made
371 U.S. 178, 182 (1962).                                              within the two years prior to the petition filing date. Charys,
                                                                       443 B.R. at 636.


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                                                                     11 U.S.C. § 547(b)(3). The insolvency presumption does
On the second element, Trustee alleged in his Complaint              not apply outside of the 90–day prepetition window. See
that “Trustee is not aware of any value provided to the              generally 11 U.S.C. § 547. As noted on Count I, Trustee
Debtor from the Defendant in exchange for the payments, and          has failed to plead facts that plausibly show that Debtor was
therefore, the Trustee reasonably concludes that the transfers       insolvent at the time Debtor allegedly made the preferential
were in exchange for less than a reasonably equivalent               transfers.
value.” Complaint at ¶ 9. This Court agrees with other courts
which have concluded that a trustee's allegation that debtor         The Trustee pleads Defendant is an “insider” and that the
received nothing in exchange for the alleged transfers is            transactions that occurred between 90 days and one year
sufficient factual support for this element. See Anderson,           before filing could be avoided. 11 U.S.C. § 547(b). In the
2010 WL 4959948, at *3; see also In re Life Fund 5.1                 Complaint, Trustee stated only that Defendant is “an insider
LLC, 2010 WL 2650024, at *6 (Bankr.N.D. Ill. June 30,                because it is a related entity of the Debtor.” Complaint ¶
2010) (“Because the complaint alleges no value, it necessarily       14. This statement is conclusory and insufficient without
alleges the absence of reasonably equivalent value.”). The           supporting facts. In re Caremerica, 409 B.R. at 756; In re
Court draws an inference that Trustee cannot find any money          NetBank, Inc., 424 B.R. 568, 571–72 (Bankr.M.D.Fla.2010).
or other consideration that the Debtor received in exchange          Trustee must plead facts that support a plausible claim that
for making the alleged transfers. In other words, when               Defendant either is a statutory insider as defined in § 101(31)
Trustee alleges Debtor received nothing from the defendant           (B), or that Defendant is a non-statutory insider. See Amerlink,
in exchange for an alleged fraudulent transfer, it is entirely       2011 WL 864953, at *4 (“This court has found it sufficient to
plausible that Debtor received less than reasonably equivalent       allege that transferees were insiders as a result of their control
value in exchange for that alleged transfer. Anderson, 2010          of the debtor or status as ‘managing agents' of the debtor.”)
WL 4959948, at *3. Trustee's factual allegation of no value          (citing Caremerica, 409 B .R. at 753). To adequately plead
is sufficient to support a plausible claim that Debtor received      that a party is a non-statutory insider, “[i]t is not necessary
“less than reasonably equivalent value” in exchange for the          that a non-statutory insider have actual control; rather, the
alleged fraudulent transfers. As such, this allegation meets the     question ‘is whether there is a close relationship [between
minimum pleading requirements of Iqbal and Twombly.                  the debtor and creditor] and ... anything other than closeness
                                                                     to suggest that any transactions were not conducted at arm's
On the third element, the Complaint alleges: “Debtor was             length.’ “ In re KCMVNO, Inc., No. 10–50730(BLS), 2010
insolvent at all times during the two-year period before the         WL 4064832, at *4 (Bankr.D.Del. Oct. 15, 2010) (quoting
Petition Date.” This allegation is a mere recitation of the          Schubert v. Lucent Techs. (In re Winstar Comm'ns., Inc.),
statutory element and insufficient under the law. Trustee            554 F .3d 382, 396–97 (3d Cir.2009)). Trustee failed to
“simply alleges insolvency, without any factual support              plead such facts. Even applying a deferential standard to
for this conclusion that would demonstrate plausibility.”            bankruptcy trustee pleading, and reviewing this Complaint
Anderson, 2010 WL 4959948, at *3. In Anderson, the court             in context of the difficult environment Trustee has faced,
went on to cite the definition of insolvency in § 102(32)            the Court concludes Trustee thus failed to adequately plead
(A) and compare it with a case finding that insolvency had           both constructive fraud under § 548 and preferential transfers
been adequately pleaded where the complaint “alleged facts           under § 547(b).
showing that debtors' liabilities exceeded their assets as of the
date of the transfer.” Id. (citing In re Troll Commc'ns, 385
B.R. at 123–24). The absence of plausible facts to support
                                                                                          C. Leave to Amend
insolvency at the relevant time fails the standards of Iqbal and
Twombly.                                                             Trustee has asked the Court to exercise its discretion and
                                                                     grant Trustee's request to amend the Complaint. The Court
                                                                     concludes the Trustee should be allowed to amend. Defendant
            B. Count II: Preferential Transfers                      will not be unfairly prejudiced, Trustee has acted in good faith
                                                                     in filing the original Complaint, and it does not appear that
 *10 As with Trustee's allegation of fraudulent transfers,           Trustee's request to amend the Complaint would be futile.
Trustee failed to sufficiently plead that the alleged preferential   The Court thus finds no compelling reason to deny Trustee's
transfers “were made while the debtor was insolvent.”                request to amend. Instead, the Court follows well-established



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                                                                        *11 For these reasons, the Trustee is given leave to amend
precedent noting: “Parties should usually be given at least one
                                                                       his Complaint.
chance to amend their complaint.” Wisdom, 167 F.3d at 409.

                                                                       WHEREFORE, Defendant's Motion to Dismiss Complaint
Defendant argues that amendment should be denied where
                                                                       to Avoid Fraudulent Conveyances and Preferential Transfers
Trustee failed to attach an amended pleading or specifically
                                                                       is DENIED.
explain what amendments would be made. In support of that
assertion, Defendant cites two cases affirming the district
                                                                       FURTHER, this Court grants Trustee's request to amend
court's decision finding no abuse of discretion. Ginsburg
                                                                       his claims against the Defendant according to the pleading
v. InBev NV/SA, 623 F.3d 1229, 1236 (8th Cir.2010); Pet
                                                                       standards adopted by the Court in this order.
Quarters, Inc. v. Depository Trust and Clearing Corp., 559
F.3d 772,782 (8th Cir.2009). These cases do not, however,
                                                                       FURTHER, Trustee shall have 30 days from the date of this
establish a hard and fast rule requiring denial of amendment.
                                                                       order in which to file an amended complaint. Once Trustee
The Eighth Circuit has, to the contrary, held that a plaintiff's
                                                                       has filed his amended complaint, the Defendant will have 21
failure to file a formal motion with proper attachments
                                                                       days in which to answer.
describing the amendment to be made “is not necessarily fatal
as long as they show a willingness to amend the complaint.”
Wisdom, 167 F.3d at 409 (cited case omitted). Plaintiff has            All Citations
shown sufficient willingness to amend here.
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                  2006 WL 214206                                                         BACKGROUND
    Only the Westlaw citation is currently available.
      United States District Court, D. Delaware.                  On March 1, 2004, Sea Star filed a Complaint against
                                                                  Defendant, Emerald Equipment Leasing, Inc. (“Emerald”),
           SEA STAR LINE, LLC, a limited                          in the United States District Court for the Middle District of
              liability company, Plaintiff,                       Florida seeking declaratory judgment as to the parties' rights
                           v.                                     and liabilities under an Equipment Rental Agreement dated
          EMERALD EQUIPMENT LEASING,                              September 28, 2002 (the “Equipment Rental Agreement”).
            INC., a corporation, Defendant.                       Sea Star also asserted claims for breach of other maritime
                                                                  contracts and for money owed as a result of goods delivered
                   No. Civ.A.05–245–JJF.                          and services provided to Emerald.
                              |
                       Jan. 26, 2006.                             Emerald is a debtor-in-possession in a pending Chapter 11
                                                                  case in the United States Bankruptcy Court for the District of
Attorneys and Law Firms                                           Delaware. Unaware of the action Sea Star filed in the Middle
                                                                  District of Florida, Emerald filed an adversary proceeding
Kathleen M. Miller, of Smith, Katzenstein & Furlow, LLP,
                                                                  against Sea Star in the United States Bankruptcy Court for
Wilmington, Delaware, Charles C. Robinson, of Garvey
                                                                  the District of Delaware on March 17, 2004. In the adversary
Schubert Barer, Seattle, Washington, Timothy J. Armstrong,
                                                                  proceeding, Emerald asserted claims against Sea Star based
of Armstrong & Mejer, P.A ., Coral Gables, Florida, for
                                                                  on the Equipment Rental Agreement for (1) post-petition
Plaintiff, of counsel.
                                                                  account receivable/breach of lease, (2) post-petition quantum
Bradford J. Sandler, and Jonathan M. Stemerman,                   meruit, (3) turnover/conversion, and (4) accounting. Sea Star
of Adelman Lavine Gold and Levin, A Professional                  moved to dismiss, stay or abate the adversary proceeding.
Corporation, Wilmington, Delaware, Gary M. Schildhorn,
and Alan I. Moldoff, of Adelman Lavine Gold and Levin,            The Bankruptcy Court held a hearing on May 27, 2004, and
A Professional Corporation, Philadelphia, Pennsylvania, for       concluded that Emerald's adversary proceeding was a non-
Defendant, of counsel.                                            core proceeding and that the Bankruptcy Court had “related
                                                                  to” jurisdiction over the action. D.I. 59 at All. However,
                                                                  the Bankruptcy Court acknowledged that under 28 U.S.C. §
                                                                  959, concomitant jurisdiction existed with the federal district
                MEMORANDUM OPINION
                                                                  court, because a party doing business with a debtor-in-
FARNAN, J.                                                        possession has the right to file suit regarding that dispute
                                                                  in any jurisdiction. Id. For purposes of its decision, the
 *1 Pending before the Court is a Motion To Dismiss Emerald       Bankruptcy Court assumed that the Florida District Court
Equipment Leasing, Inc.'s Counterclaim (D.I.56) filed by          had jurisdiction, and the Bankruptcy Court applied the “first
Plaintiff, Sea Star Line, LLC (“Sea Star”). For the reasons       filed rule” to conclude that the adversary proceeding should
discussed, Sea Star's Motion To Dismiss will be granted with      be dismissed. Id. at A12. However, the Bankruptcy Court's
respect to Count I of the Counterclaim to the extent it alleges   dismissal was without prejudice so that “if the Florida Court
a breach of the E–Mail Agreement, Count II pertaining to          determines that it doesn't have jurisdiction or its action should
quantum meruit, Count III alleging turnover to the extent that    be dismissed, the debtor is free to file here.” Id. at A13.
rent is sought, and Counts V through VIII alleging tort claims
for failure to plead in accordance with the requirements of       In the meantime, in the Florida action, Emerald had moved
Federal Rule of Civil Procedure 9(b). The Motion To Dismiss       to dismiss the Complaint, to transfer venue or to abstain.
will be denied in all other respects. Emerald Equipment           Emerald disputed the Florida District Court's jurisdiction on
Leasing, Inc. will be granted leave to file an Amended            the grounds that a declaratory judgment was inappropriately
Counterclaim.                                                     sought by Sea Star because the Equipment Rental Agreement
                                                                  had been terminated. The Florida District Court concluded
                                                                  that this case should be transferred to Delaware, primarily



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because Sea Star's Complaint references proceedings that             court must accept as true all allegations in the counterclaim
took place in the Delaware Bankruptcy Court, the Delaware            and must draw all reasonable factual inferences in the light
Bankruptcy Court was familiar with the parties, and Emerald          most favorable to the non-moving party. Neitzke v. Williams,
is a debtor undergoing reorganization in the Delaware                490 U.S. 319, 326 (1989); Piecknick v. Pennsylvania, 36 F.3d
Bankruptcy Court. D.I. 59 at A18–19.                                 1250, 1255 (3d Cir.1994). The Court is “not required to accept
                                                                     legal conclusions either alleged or inferred from the pleaded
 *2 On April 25, 2005, Emerald filed an Answer, Affirmative          facts.” Kost, 1 F.3d at 183. Dismissal is only appropriate
Defenses and Counterclaim in this action. D.I. 53. Emerald           when it appears beyond doubt that the movant can prove
admits jurisdiction under 28 U.S.C. § 1333 (admiralty                no set of facts in support of its claims entitling it to relief.
jurisdiction), but denies federal jurisdiction under 28 U.S.C.       Conley v. Gibson, 355 U.S. 41, 45 (1957). The burden of
§§ 1337 (commerce and antitrust regulations) and 1367                demonstrating that the counterclaim fails to state a claim upon
(supplemental jurisdiction). Emerald asserts a Counterclaim          which relief may be granted rests on the movant. Young v.
against Sea Star alleging eight causes of action: (1) post-          West Coast Industrial Relations Assoc., Inc., 763 F.Supp. 64,
petition account receivable/breach of lease, (2) post-petition       67 (D.Del.1991) (citations omitted).
quantum meruit, (3) turnover, (4) accounting, (5) fraud,
(6) constructive fraud, (7) fraudulent concealment, and              As a general matter, a court may not consider matters
(8) negligent misrepresentation/breach of fiduciary duty.            outside the pleadings when adjudicating a motion to dismiss.
Emerald contends that the Court has jurisdiction over its            However, a court may consider “document [s] integral to or
counterclaims pursuant to 28 U.S.C. §§ 1334 (original                explicitly relied upon” in the pleadings without converting a
jurisdiction of bankruptcy cases in the district court) and 157      motion to dismiss to a motion for summary judgment. In re
(referral to bankruptcy court of cases arising under or related      Rockefeller Center Properties, Inc. Securities Litigation, 184
to a case under Title 11) and 11 U .S.C. § 542 (turnover of          F.3d 280, 287 (3d Cir.1999).
property to the estate). Emerald also contends that this action
is a “core” proceeding that should be heard and determined
by the Bankruptcy Court under 28 U.S.C. § 157(b)(2)(A),(C),
                                                                                             DISCUSSION
(E) and (O). 1 D.I. 53, Counterclaim at ¶ 1.
                                                                     As a threshold matter, Emerald appears to raise a
1                                                                    jurisdictional issue. Specifically, Emerald contends that this
        Core proceedings include, but are not limited to:
                                                                     case implicates the “core” jurisdiction of the Bankruptcy
            (A) matters concerning the administration of
                                                                     Court and that this case should be referred to the Bankruptcy
            the estate;
                                                                     Court under the Bankruptcy Court's “related to” jurisdiction
            (C) counterclaims by the estate against
                                                                     under 28 U.S.C. § 1334. D.I. 66 at X (discussing core
            persons filing claims against the estate;
                                                                     jurisdiction) & n. 6 (requesting referral to the Bankruptcy
            (E) orders to turn over property of the estate;
                                                                     Court). Emerald contends that its counterclaim is a “core”
            (O) other proceedings affecting the liquidation
                                                                     matter, because it is a “counterclaim by the estate against
            of the assets of the estate or the adjustment
                                                                     persons filing claims against the estate” under 28 U.S.C. §
            of the debtor-creditor or the equity security
                                                                     157(b)(2)(C).
            holder relationship, except personal injury tort
            or wrongful death claims....
                                                                      *3 In response, Sea Star contends that the Court should
        28 U.S.C. § 157(b)(2)(A), (C), (E) and (O).
                                                                     not refer this case to the Bankruptcy Court under its
                                                                     “related to” jurisdiction because Sea Star did not consent
                  STANDARD OF REVIEW                                 to that jurisdiction. In addition, Sea Star contends that
                                                                     the Bankruptcy Court already concluded that this matter
Federal Rule of Civil Procedure 12(b)(6) governs Sea Star's          was “non-core” when it dismissed Emerald's adversary
Motion To Dismiss Emerald's Counterclaim. The purpose of a           proceeding, and in any event, Sea Star has not filed a proof of
motion to dismiss is to test the sufficiency of a complaint, or in   claim against Emerald, and therefore, core jurisdiction under
this case, a counterclaim, and not to resolve disputed facts or      28 U.S.C. § 157(b)(2)(C) is not implicated.
decide the merits of the case. Kost v. Kozakiewicz, 1 F.3d 176,
183 (3d Cir.1993). When considering a motion to dismiss, a



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A proceeding is a core proceeding, if it invokes a substantive               reviewing de novo those matters to which any
right provided by Title 11 or is a proceeding, which by                      party has timely and specifically objected.
its nature, could only arise in the context of a bankruptcy                  (2) Notwithstanding the provisions of paragraph
case. Halper v. Halper, 164 F.3d 830, 836 (3d Cir.1999).                     (1) of this subsection, the district court, with the
The Bankruptcy Court has already concluded that similar                      consent of all the parties to the proceeding, may
claims alleged by Emerald in the context of its adversary                    refer a proceeding related to a case under title
proceeding were “non-core.” However, Emerald contends                        11 to a bankruptcy judge to hear and determine
that the Bankruptcy Court's decision should not be considered                and to enter appropriate orders and judgments,
the law of the case, because that decision was made in a                     subject to review under section 158 of this title.
different procedural context. Specifically, Emerald contends                 (d) The district court may withdraw, in whole
that the Bankruptcy Court was only dealing with claims                       or in part, any case or proceeding referred
made by Emerald against Sea Star based on post-petition                      under this section, on its own motion or on
activities when it addressed Emerald's adversary proceeding.                 timely motion of any party, for cause shown.
In contrast, Emerald contends that this case now involves                    The district court shall, on timely motion of
claims asserted by Sea Star against the Emerald estate, and                  a party, so withdraw a proceeding if the court
therefore, the proceeding is core under Section 157(b)(2)(C).                determines that resolution of the proceeding
However, Emerald has not advanced any case law supporting                    requires consideration of both title 11 and
its assertion that its Counterclaim is core.                                 other laws of the United States regulating
                                                                             organizations or activities affecting interstate
In considering the question of core jurisdiction under Section               commerce.
157(b)(2)(C), it appears to the Court that the case law involves
situations in which the debtor has filed a counterclaim in         I. Whether Emerald's Counterclaims Based On Contract
response to a proof of claim filed by a creditor. Sea Star has     Law State A Claim Upon Which Relief May Be Granted
not filed a proof of claim against Emerald in the Bankruptcy
Court, and therefore, the Court is not persuaded that Section         A. Emerald's Counterclaim for Breach of Contract
157(b)(2)(C) is applicable here. In addition, the Court notes      In Count I of its Counterclaim, Emerald alleges that Sea Star
that the exercise of “related to” jurisdiction is not mandated     breached its obligations under two agreements: (1) the E–
in this case, particularly where, as here, Sea Star has not        Mail Agreement, and (2) the Equipment Rental Agreement.
                                                                   Emerald contends that Sea Start failed to pay Emerald
consented to such jurisdiction. 28 U.S.C. § 157(c)(2), (d). 2
                                                                   rent due for the use of the equipment and for the loss
However, the Court does have subject matter jurisdiction over
                                                                   incurred as a result of damage, theft, destruction or other loss
this action, because it arises in connection with a maritime
                                                                   of the equipment. Emerald contends that its Counterclaim
contract over which this Court has admiralty jurisdiction.
                                                                   appropriately refers to breach of the E–Mail Agreement,
Indeed, the parties agree that the exercise of the Court's
                                                                   because the parties operated under the E–Mail Agreement
jurisdiction is appropriate under 28 U.S.C. § 1333. D.I.
                                                                   for more than five months while the formal Equipment
53, Counterclaim at ¶ 1; D.I. 57 at 1, 6. Accordingly, the
                                                                   Rental Agreement was being finalized. To the extent Sea
Court declines to refer this case to the Bankruptcy Court as
                                                                   Star seeks dismissal of its Counterclaim based on the E–
requested by Emerald in Footnote 6 of its Answering Brief.
                                                                   Mail Agreement, Emerald contends that such a claim is
                                                                   premature, because there has been no factual development
2      In pertinent part, 28 U.S.C. § 157(c)(2) and (d)            regarding whether the parties intended the Equipment Rental
       provides:                                                   Agreement to supersede and cancel the E–Mail Agreement.
         (c)(1) A bankruptcy judge may hear a
         proceeding that is not a core proceeding but               *4 Sea Star contends that dismissal of Emerald's
         that is otherwise related to a case under title 11.       Counterclaim as it applies to the E–Mail Agreement is
         In such proceeding, the bankruptcy judge shall            appropriate in light of the Integration Clause contained in
         submit proposed findings of fact and conclusions          the Equipment Rental Agreement. Although executed on July
         of law to the district court, and any final order         31, 2002, the Equipment Rental Agreement indicates that
         or judgment shall be entered by the district              it “cover[s] equipment in use at various times commencing
         judge after considering the bankruptcy judge's            April 29, 2002.” A40. The E–Mail Agreement did not
         proposed findings and conclusions and after


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commence until May 2, 2002, and thus, Sea Star contends
that the Equipment Rental Agreement supersedes the E–Mail           Reviewing Emerald's allegations in light of the terms of
Agreement. Sea Star also contends that extrinsic evidence           the Equipment Rental Agreement which is attached to the
is not required to determine the parties' intent, because the       pleadings, the Court concludes that Emerald has failed to
Equipment Rental Agreement is clear, and therefore, parol           state a claim for breach of the E–Mail Agreement. The
evidence is inadmissible.                                           Equipment Rental Agreement “cover[s] equipment in use at
                                                                    various times commencing April 29, 2002.” D.I. 53, Exh.
The parties appear to agree that Maryland law governs the           B at introductory paragraph. It also contains an Integration
contracts at issue. D.I. 57 at 8; D.I. 66 at n. 7. In determining   Clause which states that “[t]his Agreement contains the entire
whether a contract is ambiguous, Maryland law uses an               agreement between the parties and subject to the provisions of
“objective interpretation of contracts.” Calomiris v. Woods,        section 1, may not be amended, altered, or modified, except
727 A.2d 358, 363 (Md.1999). Under this view, a written             by a writing signed by the party to be bound.” Id., Exh. B at
contract is ambiguous if it is susceptible to more than one         ¶ 15(a). Based on this language, the Court concludes that a
meaning when it is read by a reasonably prudent person. Id.         reasonable person reading the Equipment Rental Agreement
The determination of whether language is susceptible to more        would not find any ambiguity in its terms. The Equipment
than one meaning includes a consideration of “ ‘the character       Rental Agreement covers the period for which the E–Mail
of the contract, its purpose and the fact and circumstances of      Agreement had applied, and as Emerald acknowledges, the
the parties at the time of execution.” ’ Id. (citations omitted).   Equipment Rental Agreement constituted the parties more
The test for whether the contract is plain and unambiguous          formal documentation of the earlier E–Mail Agreement. Id.
is “not what the parties to the contract intended it to mean,       at ¶ 11.
but what a reasonable person in the position of the parties
would have thought it meant.” Id. (citations omitted). Prior         *5 Emerald contends that extrinsic evidence is required to
evidence of the parties' intentions and negotiations is not         determine the parties' intent as to whether the Equipment
admissible; however, the court may consider the context of the      Rental Agreement was meant to supersede the E–Mail
transaction or the custom of the trade in determining whether       Agreement, because the Equipment Rental Agreement does
an ambiguity exists. Id.                                            not expressly reference the E–Mail Agreement. Relying on
                                                                    Bradney v. Sakelson, 473 A.2d 189, 199 (Pa.Super.1984) and
In its Counterclaim, Emerald makes the following allegations        Franz Tractor Co. v. J.I. Case Co., 566 So.2d 524 (Fla.App.
regarding the E–Mail Agreement:                                     2 Dist.1990), Emerald contends that factual discovery is
                                                                    needed because the doctrine of integration turns on the parties'
  9.... [O]n or about May 1, 2002, Sea Star and Emerald             intentions. In the Court's view, however, both Bradney and
  entered into an agreement (the “E–Mail Agreement”                 Franz are distinguishable from the circumstances in this case.
  attached hereto as Exhibit “A”), whereby Sea Star agreed          As the court in Bradney noted, the termination agreement at
  to lease Emerald equipment previously leased by Emerald           issue did not contain an integration clause, did not encompass
  to NPR.                                                           the same obligations and did not involve the same parties that
                                                                    were bound by the oral agreement. 473 A.2d at 192. In light
  10. The E–Mail Agreement was effective as of May 1,
                                                                    of these circumstances, the Bradney court concluded that they
  2002 and was applicable to any cargo worthy Emerald
                                                                    could not discern any intention by the parties that the oral
  equipment, which Sea Star dispatched out of any port
                                                                    contract be merged into the termination agreement. Id.
  terminal or inland depot for customer use at agreed upon
  per diems (the “Emerald Equipment”).
                                                                    Similarly, in Franz Tractor Co., the court concluded that a
  11. Sea Star used the Emerald Equipment pursuant to the           modification contract was not merged into the dealer contract,
  E–Mail Agreement for a number of months, before the               because references in the modification to the dealer contract
  leasing arrangement was more formally documented in a             demonstrated that the parties intended the two agreements
  written agreement executed by Sea Star and Emerald in             to remain separate. In addition, the modification expressly
  the later part of September, 2002 (the “Equipment Rental          provided that it was to “supplement” the dealer contract. 566
  Agreement” attached hereto as Exhibit “B”).                       So.2d at 526.

D.I. 53, Counterclaim at ¶ 9–11 (emphasis added).



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In this case, the Court concludes that extrinsic evidence is    *6 In Count II of its Counterclaim, Emerald alleges a claim
not required to illuminate the meaning of the Equipment        for post-petition quantum meruit. Emerald alleges that Sea
Rental Agreement because it is not ambiguous when viewed       Star has used Emerald's property and has failed to compensate
from the standpoint of a reasonable person. Unlike the         Emerald for that use resulting in harm to Emerald and actual
circumstances in Bradney and Franz, the Equipment Rental       material gain to the benefit of Sea Star. Emerald seeks
Agreement here covers the same subject matter as the E–        damages under the theory of quantum meruit, to the extent
Mail Agreement for the same time period that the E–Mail        that Sea Star's use of Emerald's equipment occurred during
Agreement had been in effect. As Emerald acknowledges          any period not covered by the written lease agreement. Thus,
in its Counterclaim, the Equipment Rental Agreement was        Emerald contends that its quantum meruit claim is properly
the parties' formal documentation of the leasing arrangement   pled in the alternative to its contract claim.
that had existed previously under the E–Mail Agreement.
Further, the Equipment Rental Agreement has an Integration     Sea Star contends that dismissal of Emerald's quantum meruit
Clause expressing the parties' intent that the Equipment       claim is warranted. Sea Star contends that Count II is not
Rental Agreement be “the entire agreement between the          properly pled in the alternative to Count I, because it expressly
parties.” See e.g., ARB (American Research Bureau), Inc.       “incorporates” the paragraphs of Count I, “as fully as if set
v. E–Systems, Inc., 663 F.2d 189 (D.C.Cir.1980) (applying      forth herein in their entirety.” D.I. 53, Counterclaim at ¶ 22.
Maryland law and concluding that written contract was          Sea Star further contends that quantum meruit does not apply
intended to be exclusive statement of the parties' agreement   for matters covered by a written contract, and Emerald has
based primarily on presence of an integration clause). In      failed to allege any time period for which the Equipment
these circumstances, the Court concludes that extrinsic        Rental Agreement would not have applied.
evidence is not required to determine the meaning of the
Equipment Rental Agreement, and Emerald cannot maintain        Under Maryland law, quantum meruit is not available “when
its Counterclaim to the extent that it alleges a breach of     there is an express contract dealing specifically with the
the E–Mail Agreement because the E–Mail Agreement was          services rendered.” See e.g., First Nat'l Bank v. Burton,
subsumed by the Equipment Rental Agreement entered into        Parsons & Co., 470 A.2d 822, 829 (Md.Ct.Spec.App.1984).
by the parties. Calomiris, 727 A.2d at 361–362 (recognizing    Emerald contends that an action for quantum meruit may
that “[u]nder the parol evidence rule, a written agreement     appropriately lie if Sea Star contends that it is not liable
‘discharges prior agreements' thereby rendering legally        to Emerald for compensation under the written agreement.
inoperative communications and negotiations leading up to      However, Maryland courts have rejected the use of quantum
the written contract.”) (quoting Restatement (Second) of       meruit in such circumstances. As the Court in Mass Transit
Contracts § 213 (1979)). Accordingly, the Court will grant     Admin. v. Granite Constr. Co., 471 A.2d 1121, 1126
Sea Star's motion to the extent that it seeks dismissal of     (Md.Ct.Spec.App.1984) stated:
Emerald's claim alleging breach of the E–Mail Agreement. 3

3                                                                           The general rule is that no quasi-
        Emerald also directs the Court to two Delaware
                                                                            contractual claim can arise when a
        cases for the proposition that “a new contract
                                                                            contract exists between the parties
        relating to the subject matter of a former agreement
                                                                            concerning the same subject matter
        does not destroy the obligations of the former
                                                                            on which the quasi-contractual claim
        agreement, except as it is inconsistent therewith,
                                                                            rests. The reason for this rule is not
        unless it is shown that the parties intend that the
                                                                            difficult to discern. When parties enter
        new contract supersede the old contract entirely.”
                                                                            into a contract they assume certain
        D.I. 66 at 2 (citing Lee Builders, Inc. v.. Wells,
                                                                            risks with an expectation of a return.
        92 A.2d 710, 715 (Del. Ch.1952); Jefferson Island
                                                                            Sometimes, their expectations are not
        Salt Min. Co. v. Empire Box Corp., 23 A.2d 106
                                                                            realized, but they discover that under
        (Del.Super.1941)). However, Delaware law does
                                                                            the contract they have assumed the risk
        not govern the contract at issue here.
                                                                            of having those expectations defeated.
                                                                            As a result, they have no remedy
    B. Emerald's Counterclaim For Quantum Meruit
                                                                            under the contract for restoring their



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             expectations. In desperation, they turn                   shall deliver to the trustee, and account for, such property
             to quasi-contract for recovery. This the                  or the value of such property, unless such property is of
             law will not allow.                                       inconsequential value or benefit to the estate.

                                                                       (b) Except as provided in subsection (c) or (d) of this
                                                                       section, an entity that owes a debt that is property of the
(emphasis added).
                                                                       estate and that is matured, payable on demand, or payable
                                                                       on order, shall pay such debts to, or on the order of the
In this case, Emerald has pled the existence of a written
                                                                       trustee, except to the extent that such debt may be offset
contract governing its claims, and the contract contains an
                                                                       under section 553 of this title against a claim against the
integration clause. County Comm'rs of Caroline County v.
                                                                       debtor.
J. Roland Dashiell & Sons, Inc., 747 A.2d 600, 607–608
(Md.2000); see also Wal–Mart Stores, Inc. v. AIG Life Ins.           (emphasis added).
Co., 872 A.2d 611, 620 (Del. Ch.2005) (recognizing that
dismissal of quantum meruit claim is appropriate where it            To the extent Emerald seeks rent in its claim for turnover,
is clear from face of complaint that written contract exists         the Court concludes that Emerald fails to state a claim for
and controls). Accordingly, the Court will dismiss Count II of       turnover. Under Section 542(b), turnover is required for
the Complaint alleging recovery under the theory of quantum          amounts that are “matured, payable on demand, or payable
meruit.                                                              on order.” Active disputes over the amount owed take an
                                                                     action outside the realm of a turnover action. See J.T. Moran
                                                                     Fin. Corp. v. American Consol. Fin. Corp., 124 B.R. 931,
   C. Emerald's Counterclaim For Turnover
                                                                     938 (S.D.N.Y.1991) (“Where as here, the court must resolve
 *7 In Count III of its Counterclaim, Emerald alleges a
                                                                     whether or not the debt claimed is due, the action to collect the
claim for turnover pursuant to 11 U.S.C. § 342. In its
                                                                     disputed funds cannot be regarded as a turnover proceeding
briefing, Emerald alleges that its reference to Section 342 is a
                                                                     under the core jurisdiction of the bankruptcy court.”); In re
typographical error, and that the appropriate reference should
                                                                     Teligent, Inc., 325 B.R. 134, 137–138 (Bankr.S .D.N.Y.2005)
be to 11 U.S.C. § 542. Emerald contends that Section 542
                                                                     (recognizing that turnover provisions cannot be used to
permits it to seek the return of the equipment or the value of
                                                                     liquidate contract disputes or demand assets whose title is in
the equipment, and therefore, it has appropriately alleged a
                                                                     dispute and collecting cases). Rather, the action is simply a
claim for turnover.
                                                                     claim for breach of contract. In re National Audit Defense
                                                                     Network, 332 B.R. 896 (Bankr.D.Nev.2005) (“Settled and
Sea Star contends that dismissal of Count III is warranted,
                                                                     controlling law holds that the presence of an active dispute
because Count III alleging turnover is essentially a rephrasing
                                                                     over the amount owed takes the action out of the turnover
of Count I's breach of contract allegations. Specifically, Sea
                                                                     area; one cannot shortcut a breach of contract action with
Star contends that Emerald does not demand turnover of the
                                                                     a turnover demand.”). In this case, it appears to the Court
equipment, but only “damages equaling unpaid rent, and the
                                                                     that the rental amount is in dispute, and therefore, the Court
value of the equipment together with interest and costs of
                                                                     concludes that a turnover action is not properly sustained as
suit.”
                                                                     to the rental amounts.

In its Counterclaim, Emerald does not specify under which
                                                                      *8 However, Emerald also alleges that Sea Star has failed
paragraph of Section 542 it is seeking relief. However, in its
                                                                     to return numerous chassis, gen sets and containers under
briefing it asserts Section 542(a). It appears to the Court, that
                                                                     the Equipment Rental Agreement. The Equipment Rental
two paragraphs of Section 542 may be applicable, paragraph
                                                                     Agreement does not give Sea Star any title, ownership or
(a) and paragraph (b). In full, 11 U.S.C. § 542(a) and (b)
                                                                     property rights in this equipment, and pursuant to paragraph
provides:
                                                                     10 of the Equipment Rental Agreement, Sea Star is required
  (a) Except as provided in subsection (c) or (d) of this            to redeliver the equipment to certain locations identified
  section, an entity, other than a custodian, in possession,         in the contract or agreed to by the parties. The Court
  custody, or control, during the case, of property that the         understands Sea Star to base its motion to dismiss this
  trustee may use, sell, or lease under section 363 of this title,   claim on the sole fact that Emerald seeks the value of the
  or that the debtor may exempt under section 522 of this title,     Equipment rather than the return of the Equipment itself.


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However, the Equipment Rental Agreement provides that if             accounting may also be appropriate when there are allegations
the equipment is not returned within 60 days, Emerald may            of fraud. Id.
elect to treat the Equipment at a loss and seek the value
of the equipment, together with all accrued rental charges.           *9 At this juncture, Emerald has alleged that Sea Star had
Further, it appears that Section 542(a) permits Sea Star to          an obligation to produce self-billing reports which created
seek the value of the equipment, and not just the return of          an independent fiduciary relationship. Emerald has also
the equipment, in a turnover action. In light of the express         alleged that Sea Star has used over 5,000 pieces of Emerald
language of both the applicable contract and Section 542(a),         equipment and that the information regarding Sea Star's use
Sea Star has not explained why dismissal of this Count is            of this equipment is only within the knowledge of Sea Star.
warranted. Accordingly, the Court concludes at this juncture,        Given the complexities alleged by Emerald as a result of Sea
that Emerald has pled a claim for turnover to the extent that        Star's self-billing, the apparent need for discovery, and the
it seeks the value of certain property belonging to Emerald          allegations of fraud and a fiduciary relationship, all of which
which Sea Star is alleged to have failed to return.                  must be taken as true at this juncture, the Court declines to
                                                                     dismiss Emerald's claim for an accounting.

   D. Emerald's Counterclaim For An Accounting
In Count IV of its Counterclaim, Emerald seeks an accounting         II. Whether Emerald's Counterclaims Based On Tort Law
of all Sea Star's usage of Emerald's equipment. Emerald              State A Claim Upon Which Relief May Be Granted
contends that an accounting is a proper remedy regardless            In Counts V through VIII of its Counterclaim, Emerald
of whether this action is an action at law or equity, because        alleges fraud (Count V), 4 constructive fraud (Count
the accounts are complex and Sea Star had a fiduciary                VI), fraudulent concealment (Count VII), and negligent
relationship with Emerald as a result of Sea Star's obligation       misrepresentation/breach of fiduciary duty (Count VIII). Sea
to produce self-billing reports.                                     Star contends that these claims should be dismissed, because
                                                                     Emerald's tort claims do not exist independently, but instead
Sea Star seeks dismissal of this claim contending that the           are woven into the contract. Sea Star contends that the
equitable relief of an accounting is not appropriate because         economic loss doctrine prohibits Emerald from recovering
there is an adequate remedy at law for Emerald, namely the           in tort, because its economic losses flow only from Sea
recovery of money damages. Because Emerald's counterclaim            Star's alleged breaches of a contract. Sea Star also contends
seeks damages for breach of contract, and such damages are           that, even if Emerald's tort claims withstand dismissal under
an adequate remedy at law, Sea Star contends that the Court          the economic loss doctrine, the allegations of fraud are not
lacks equity jurisdiction to award an accounting.                    pled with particularity as required by Federal Rule of Civil
                                                                     Procedure 9(b), and therefore, dismissal of Emerald's tort
“The necessary prerequisite to the right to maintain a suit for      claims is warranted.
an equitable accounting, like all other equitable remedies, is ...
the absence of an adequate remedy at law.” Dairy Queen,              4      The Counterclaim refers to the fraud count as Count
Inc. v. Wood, 369 U.S. 469, 478 (1962). Whether equitable
                                                                            IV, but this appears to be an error. Given the
jurisdiction should be exercised is a decision committed to
                                                                            sequence of the other counts asserted, the fraud
the sound discretion of the Court. 1 Am.Jur.2d, Accounts and
                                                                            count should be labeled Count V.
Accounting § 54 (1994 & Supp.2002).
                                                                     In response, Emerald contends that the Equipment Rental
Actions for an accounting are not available when the amount          Agreement is silent as to Sea Star's obligations to create
in question is readily ascertainable; however, such an action        self-billing reports. Emerald further contends that it was not
may be maintained when the facts create a reasonable doubt           notified when Sea Star began using a piece of Emerald
as to whether an adequate remedy at law may be obtained. Id.         Equipment and no receipt or document was required to be
Equitable jurisdiction for an accounting is typically invoked        executed in order for Sea Star to begin using that equipment.
in three circumstances: “(1) there is a fiduciary relationship       Because Emerald was relying on Sea Star's honesty to
between the parties, accompanied by a duty on the part of the        report its usage of equipment, Emerald contends that the
defendant to render an account; (2) there are mutual accounts,       circumstances were rife with the opportunity for fraud.
or, if the account is all on one side, the account is complicated;   Emerald contends that Sea Star took advantage of this self-
and (3) there is a need for discovery.” Id. An action for an         billing to under-report its usage of Emerald's equipment.


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Emerald also contends that this self-billing arrangement          of the economic loss doctrine). It appears to the Court that the
resulted in a fiduciary relationship between the parties          formulation of the economic loss doctrine varies depending
created based on the “relationship of inequality” between         on which state law applies. For example, under Delaware
the parties. Specifically, Emerald contends that it placed        law, the economic loss doctrine “ ‘prohibits recovery in tort
particular reliance and confidence in Sea Star to report its      where a product has damaged only itself (i.e., has not caused
usage accurately.                                                 personal injury or damage to other property) and, the only
                                                                  losses suffered are economic in nature.” ’ Pinkert v. Olivieri,
As for Sea Star's arguments under Rule 9(b), Emerald              2001 WL 641737, *5 n. 6 (D.Del. May 24, 2001) (quoting
contends that its counterclaim is properly pled. However,         Danforth v. Acorn Structures, Inc., 608 A.2d 1194, 1195
Emerald contends that, to the extent the Court concludes          (Del.1992)). However, Delaware courts have also recognized
that further particularity is required, Emerald should have the   that “where an action is based entirely on a breach of the
opportunity to amend its Counterclaim. 5                          terms of a contract between the parties and not on a violation
                                                                  of an independent duty imposed by law, a plaintiff must
5                                                                 sue in contract and not in tort.” Id. at *5 (dismissing fraud
       As a threshold matter, the parties have not
                                                                  claims where plaintiff alleged that defendants knowingly
       specifically alleged which state's substantive law
                                                                  misrepresented the nature of their work each time they
       applies to Emerald's tort claims. Sea Star alleges
                                                                  submitted an application and certification for payment where
       that the claims are non-maritime, and therefore,
                                                                  duty to submit these periodic payment applications existed
       Delaware's conflict of law rules apply to determine
                                                                  solely by reason of construction contract and defendant
       which state's substantive law applies. Although Sea
                                                                  had not violated any common law duty independent of the
       Star identifies the “most significant relationship
                                                                  construction contract).
       test” as the appropriate test, it is unclear which
       state Sea Star alleges has the most significant
                                                                   *10 Exceptions to the economic loss doctrine have also been
       relationship to the occurrences and the parties. In a
                                                                  recognized where the claim arises independently from the
       footnote, Emerald alleges that federal common law
                                                                  contract. See e.g., HTP, Ltd. v. Lineas Aereas Constarricenses,
       should apply, because courts sitting in admiralty
                                                                  S.A., 685 So.2d 1238, 1239 (Fla.1996). Further, in the case of
       strive for uniformity. In the alternative, Emerald
                                                                  allegations of fraud resulting from circumstances involving
       identifies Delaware choice of law rules and
                                                                  self-billing type reports, courts in other jurisdictions have
       contends that the law of the place of injury would
                                                                  permitted such claims to proceed in tort. See e.g., Insteel
       apply, because this is a diversity action. However,
                                                                  Indus., Inc. v. Costanza Contracting Co., Inc., 276 F.Supp.2d
       it is also unclear which state Emerald alleges as the
                                                                  479, 484–486 (E.D.Va.2003) (allowing claim based on false
       specific place of injury.
                                                                  invoices to proceed in tort as a fraud claim where duty to
       In the Court's view, the choice of law issue is
                                                                  submit invoice stemmed from contract, but contract did not
       not sufficiently briefed for the Court to make
                                                                  require sworn and truthful statements in the invoices); F/V
       a final decision as to which law applies to the
                                                                  Robins Nest, Inc. v. Atlantic Marine Diesel, Inc., 1994 WL
       tort claims in this case. The parties cite case law
                                                                  594592, *10 (D.N.J. Oct. 24, 1994) (allowing fraud claim
       from Florida, Virginia, Iowa, Georgia, Delaware
                                                                  to proceed where vessel owner had to rely on integrity of
       and New Jersey. Accordingly, at this juncture, the
                                                                  shipyard to honestly report parts and labor used and work
       Court will work within the confines of the law
                                                                  actually performed, contract had no specific price term, and
       that has been presented in the briefing to make a
                                                                  shipyard had wide latitude in carrying out repairs).
       determination as to whether Emerald's claims can
       withstand a motion to dismiss.
                                                                  Reviewing the circumstances alleged in this case in light
                                                                  of the case law cited by the parties, the Court concludes
   A. Whether Emerald Has Pled Torts Existing                     that dismissal of Emerald's fraud claims is not appropriate at
   Independently From The Contract                                this juncture. As Emerald points out, the Equipment Rental
Stated generally, the economic loss doctrine prohibits a party    Agreement makes no provisions for self-billing. Rather, under
from recovering in tort economic losses, the entitlement of       the Equipment Rental Agreement, the lease term begins on
which, flows only from a contract. Werwinski v. Ford Motor        the date when the equipment is delivered to the Lessee and
Company, 286 F.3d 661, 671 (3d Cir.2002) (predicting how          ends when the equipment is returned pursuant to section
the Pennsylvania Supreme Court would rule on the viability


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                                                                         alleges it conducted in its Counterclaim, Emerald has not
10. Emerald has alleged, however, that the equipment was
                                                                         disclosed which invoices were defective or which pieces of
already in place at the time Sea Star purchased the assets of
                                                                         equipment were implicated. In these circumstances, the Court
NPR, Inc. Emerald has further alleged that Sea Star's usage
                                                                         concludes that additional facts are required to establish the
was determined by self-billing and that Emerald relied on
                                                                         pleading requirements of Rule 9(b), if those facts are within
Sea Star to accurately report its usage. Emerald has also
                                                                         Emerald's knowledge. To the extent that some or all of this
alleged that Sea Star intentionally under-reported its usage of
                                                                         information is within Sea Star's exclusive control, Emerald
Emerald's equipment. At this juncture, the Court concludes
                                                                         should reflect that allegation in any amended pleadings it
that Emerald has pled sufficient facts to establish distinct torts
                                                                         submits. Accordingly, the Court will dismiss Emerald's fraud
arising independently of the contractual obligations such that
                                                                         claims, Counts V through VIII, with leave to amend to more
the claims are not definitively barred by the economic loss
                                                                         particularly state the allegations relevant to Emerald's fraud
doctrine. Accordingly, the Court will deny Sea Star's Motion
                                                                         claims.
To Dismiss Emerald's tort claims on this ground.


   B. Whether Emerald Has Satisfied The Pleading                                                CONCLUSION
   Requirements Under Rule 9(b)
Sea Star contends that Emerald has failed to plead its                    *11 For the reasons discussed, Emerald's Motion To Dismiss
fraud charges with particularity as required by Rule 9(b).               will be granted as it pertains to (1) Count I, to the extent
With respect to the self-billing allegations which form the              Count I alleges a breach of the E–Mail Agreement, (2) Count
basis of its fraud claim, Emerald has pled that (1) in order             II alleging quantum meruit, (3) Count III alleging turnover
to ascertain rental payments due for equipment, Sea Star                 to the extent that rent is sought, and (4) Counts V through
provided Emerald with monthly self-billing reports; and (2)              VIII alleging tort claims for failure to satisfy the pleading
“upon later investigation, Emerald discovered that the ‘self-            requirements under Rule 9(b). In all other respects, the
billing reports' prepared by Sea Star were grossly understated,          Motion To Dismiss will be denied. Emerald will be granted
failing, inter alia, to account for numerous pieces of Emerald           leave to file an Amended Counterclaim.
Equipment which Sea Star has been using without paying
rental charges to Emerald and failing to pay the appropriate             An appropriate Order will be entered.
amounts for usage of equipment contained in the ‘self-billing
reports.” ’ D.I. 53, Counterclaim at ¶ 14, 15. Emerald has
not pled any specific dates of the alleged fraud and to the              All Citations
extent Emerald is aware from the further investigation it
                                                                         Not Reported in F.Supp.2d, 2006 WL 214206

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                                                                  *       This disposition is not appropriate for publication.
                                                                          Although it may be cited for whatever persuasive
     KeyCite Red Flag - Severe Negative Treatment
Reversed by In re Blue Earth, Inc., 9th Cir., December 21, 2020           value it may have, see Fed. R. App. P. 32.1, it has no
                                                                          precedential value, see 9th Cir. BAP Rule 8024-1.
                  2019 WL 4929933
    Only the Westlaw citation is currently available.
             NOT FOR PUBLICATION                                                        INTRODUCTION
          United States Bankruptcy Appellate
                                                                  *1 Bradley D. Sharp appeals (1) an order granting appellees'
              Panel of the Ninth Circuit.
                                                                  motions to dismiss his first amended complaint to avoid
          IN RE: BLUE EARTH, INC., Debtor.                        and recover alleged constructive fraudulent transfers 1 to
              Bradley D. Sharp, Chapter 11                        appellees, and (2) an order denying reconsideration of that
             Liquidation Trustee, Appellant,                      decision. Although we agree that Sharp's first amended
                                                                  complaint failed to plead plausible claims against appellees,
                           v.
                                                                  we believe that the bankruptcy court should have granted him
            Intracoastal Capital, LLC; Anson
                                                                  leave to amend. Accordingly, we AFFIRM in part, REVERSE
        Investments Master Fund LLP, Appellees.
                                                                  in part, and REMAND.
                  BAP No. NC-18-1232-BSTa
                                                                  1
                               |                                          Sharp also alleged claims for actual fraudulent
                  Bk. No. 3:16-bk-30296-DM                                transfer, which the bankruptcy court also
                               |                                          dismissed. He does not appeal that ruling.
                 Adv. No. 3:17-ap-03063-DM
                               |
               Argued and Submitted on June                                     I. FACTUAL BACKGROUND
              20, 2019 at Sacramento, California                               AND PROCEDURAL HISTORY
                               |
                                                                  A. Background of the parties and the alleged fraudulent
                   Filed – October 2, 2019
                                                                  transfers
Appeal from the United States Bankruptcy Court for the            Blue Earth, Inc. (“BEI”) was a provider of alternative and
Northern District of California, Honorable Dennis Montali,        renewable energy solutions for small and medium-sized
Bankruptcy Judge, Presiding                                       commercial facilities. BEI filed a chapter 11 2 bankruptcy
                                                                  case on March 21, 2016. Sharp (“Trustee”) is the trustee
Attorneys and Law Firms
                                                                  of the litigation trust that was established to investigate and
Howard Troy Romero of Romero Park P.S. argued for                 prosecute causes of action for the benefit of the litigation trust
appellant Bradley D. Sharp, Chapter 11 Liquidation Trustee;       beneficiaries.

Michael Benz of Chapman and Cutler LLP argued for                 2       Unless specified otherwise, all chapter and section
Appellee Anson Investments Master Fund, LLP;                              references are to the Bankruptcy Code, 11 U.S.C.
                                                                          §§ 101-1532, all “Rule” references are to the
Scott Mendeloff of Greenberg Traurig, LLP argued for
                                                                          Federal Rules of Bankruptcy Procedure, and all
Appellee Intracoastal Capital, LLC.
                                                                          “Civil Rule” references are to the Federal Rules of
Before: BRAND, SPRAKER and TAYLOR, Bankruptcy                             Civil Procedure.
Judges.                                                           The following facts are as alleged by Trustee. During an
                                                                  expansion period for BEI, the company was in constant need
                                                                  of cash infusions to fund its operations and the operations
                      MEMORANDUM *                                of its subsidiaries until the entities could develop projects
                                                                  and become profitable. BEI raised the necessary capital
                                                                  through a combination of equity sales and loans. By October



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2015, BEI's financial outlook was bleak. The company was           recover $2,210,000 from Intracoastal and $2,003,419 from
borrowing funds from its officers and directors to meet basic      Anson, the amounts Defendants received from BEI under the
obligations, such as payroll.                                      Exchange Agreements, plus pre- and post-judgment interest.

To raise capital to avoid a default on a secured loan that         Defendants moved to dismiss Trustee's original complaint,
could have precipitated BEI's bankruptcy, BEI turned to one        arguing that Trustee's insolvency allegations were conclusory
of its shareholders, Intracoastal Capital, LLC (“Intracoastal”),   and contradicted public information and BEI's own
and a new investor, Anson Investments Master Fund, LLP             statements concerning its solvency at the time of the
(“Anson”). On October 16, 2015, BEI entered into Securities        Exchange Agreements. Specifically, BEI had represented in
Purchase Agreements with Intracoastal and Anson (the               the Exchange Agreements that it was financially healthy,
“SPAs”). In exchange for $2,000,000 from each investor,            and BEI's Form 10-Q dated September 30, 2015, just
each investor would receive 4,000,000 shares of BEI common         weeks before the Exchange Agreements, reflected that
stock, 6-month warrants to purchase an additional 4,000,000        BEI had nearly $80,000,000 in assets over liabilities (e.g.,
common stock shares for $0.50 per share, and five-and-a-half       assets of nearly $100,000,000 versus liabilities of just
year warrants to purchase an additional 4,000,000 common           over $21,000,000). Lastly, Defendants argued that Trustee
stock shares for $0.83 per share. Intracoastal's and Anson's       conceded BEI was solvent at the time, because he alleged that
respective $2,000,000 investments closed on October 20,            BEI was able to secure a loan from JIG for the purpose of
2015.                                                              funding the transfers.

Just days after the SPAs closed, BEI, Intracoastal and             In opposition, Trustee argued that even if he could not
Anson agreed to undo the transactions. On October 27,              establish insolvency under § 548(a)(1)(B)(ii)(I), he could still
2015, Intracoastal and Anson each executed an “Exchange            prevail on his claim if BEI was (a) engaged in business or
Agreement” with BEI, which effectively reversed the                a transaction for which any property remaining with it was
SPAs. In exchange for the return of the 4,000,000 shares           unreasonably small, or (b) if BEI intended to incur or believed
and warrants Intracoastal received, BEI paid Intracoastal          that it would incur debts beyond its ability to pay as they
$2,000,000, plus an additional $200,000, $10,000 in legal          matured. § 548(a)(1)(B)(ii)(II), (III). Trustee requested leave
fees, and a five-year warrant to purchase 1,500,000 shares         to amend the complaint if additional facts were necessary.
at $0.55 per share. In exchange for the return of the shares
(less a small amount it had already sold) and warrants             The bankruptcy court held two hearings on the motions to
Anson received, BEI paid Anson $2,003,419, plus a five-            dismiss the original complaint. At the first hearing, the court
year warrant to purchase 1,500,000 shares at $0.55 per             indicated that Trustee had sufficiently pled BEI's insolvency.
share. These “Exchange Agreement” transfers are the basis of       By the second hearing, the court had reconsidered and
Trustee's claims against Intracoastal and Anson.                   told him that ¶¶ 41-43 of the complaint were insufficient
                                                                   for pleading the three alternative grounds for establishing
 *2 By the time of the Exchange Agreements, BEI had                insolvency under § 548(a)(1)(B)(ii)(I)-(III); they simply
already spent the $4,000,000 it raised through the SPAs on         parroted the statutory language. Ultimately, the court granted
existing debts. Thus, to finance the stock repurchase, BEI had     the motions to dismiss with leave to amend:
to borrow $4,900,000 from Jackson Investment Group, LLC
(“JIG”), one of BEI's largest shareholders and a senior lender.
The loan was evidenced by a 9% Senior Secured Note due in                       THE COURT: Mr. Powell, I'm going to
two months on December 23, 2015. BEI filed for bankruptcy                       stick with that [ruling]. I think with my
five months after the Exchange Agreements.                                      thinking that insolvent, do you mean
                                                                                balance sheet insolvent? Do you mean
                                                                                cash flow insolvency? You know, were
B. Trustee's original complaint and the motions to
                                                                                they -- were their revenues such that
dismiss
                                                                                they couldn't pay their debts as they
In his original complaint against Intracoastal and Anson
                                                                                become due and, again, just state it.
(together, “Defendants”), Trustee alleged that the Exchange
                                                                                You can't just restate the definition. I
Agreements constituted constructive fraudulent transfers
                                                                                do think for you to file the complaint
under § 548(a)(1)(B). He sought to avoid the transfers and


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             and state that BEI was insolvent, you                   longer had the ability to pay debts as they came due and the
             have to have some basis, and I don't                    value of its liabilities exceeded its actual assets;
             think it's a high bar here.....
                                                                     ¶ 54. The Transfers also left BEI with an unreasonably
                                                                     small amount of capital with which to engage in its
                                                                     business. It had to turn to its existing shareholders and
Hr'g Tr. (Mar. 26, 2018) 8:1-9.
                                                                     creditors for funds to keep the company on life support.
                                                                     After a few unsuccessful months without capital needed to
C. Trustee's first amended complaint and the motions to              engage in business BEI filed for bankruptcy;
dismiss
                                                                     ¶ 55. At the time of the Transfers, BEI was engaged in
Trustee then filed his first amended complaint (“FAC”). To
                                                                     business or was about to engage in business for which
bolster his allegation that BEI was insolvent at the time of the
                                                                     any property remaining with BEI was an unreasonably
Exchange Agreements, Trustee added the following:
                                                                     small amount of capital. Indeed, one of its primary
  ¶ 38. At the time of the Transfers, BEI suffered from              investment models was to fund capital-intensive renewable
  unmanageable indebtedness. But for the funds it received           energy systems. Such projects required significant sources
  pursuant to the October 16 SPAs, it would have defaulted           of construction and project financing, and BEI had an
  on a secured loan that would have necessitated it                  unreasonably small amount of property to engage in its
  immediately filing for bankruptcy protection;                      business;

   *3 ¶ 39. BEI did not have sufficient funds to continue            ¶ 56. At the time of the Transfers, BEI intended to incur, or
  developing its works in progress. Such projects were               believed it would incur, debts that would be beyond BEI's
  needed to finally generate income streams for the company;         ability to pay as such debts matured. After all, it transferred
                                                                     nearly all its cash assets to Anson and Intracoastal pursuant
  ¶ 40. On October 15, the day before the SPAs were                  to the Exchange Agreements while knowing that it would
  finalized, BEI had a monthly 'burn rate' of $900,000, an           continue incurring debts in operation of its business that
  amount that had to be raised monthly to meet its debts. This       would [be] beyond its ability to pay.
  was a 50% increase in the 'burn rate' since September;
                                                                   Defendants moved to dismiss the FAC, arguing that it
  ¶ 42. As a result of the Transfers, BEI was left without         too failed to state plausible constructive fraudulent transfer
  meaningful cash reserves to pay its debts as they became         claims. Defendants argued that Trustee's allegations of BEI's
  due, and the Exchange Agreements ultimately contributed          cash-poor condition were conclusory and did not differentiate
  significantly to BEI declaring bankruptcy;                       BEI's circumstances and cash position at the time of the
                                                                   Exchange Agreements from any other point in time in its
  ¶ 43. Apart from being cash-flow insolvent, BEI was
                                                                   existence. Further, they argued that the FAC contained no
  also balance sheet insolvent at the time of the Transfers
                                                                   facts to support the allegation that BEI had no access to cash
  or became insolvent as a result thereof. Despite the
                                                                   at the time of the Exchange Agreements. To the contrary,
  company's disclosures during the relevant timeframe, its
                                                                   Defendants maintained that BEI's ability to obtain cash was
  financial statements contained various accounting errors
                                                                   demonstrated by a subsequent loan from JIG in December
  that resulted in a grossly overstated value of the company's
                                                                   2015 — BEI obtained $2,000,000 in additional financing, got
  assets. For example, BEI accounted for non-binding letters
                                                                   an extension on the $4,900,000 million loan to repurchase the
  of intent on unfunded renewable energy projects as assets
                                                                   stock from Defendants, and paid JIG a 3% transaction fee.
  worth millions of dollars;
                                                                   BEI also continued to make timely interest payments on the
  ¶ 44. BEI proceeded with the Exchange Agreements with            JIG loans until late February 2016.
  knowledge of the company's serious financial problems
  and of the prejudice to creditors caused by trading $4            *4 Next, Defendants argued that the FAC was silent as to
  million in cash for over $5 million in debt;                     BEI's assets and liabilities; there was no factual allegation
                                                                   that BEI's liabilities exceeded its assets or any allegation as
  ¶ 53. As noted above, BEI was insolvent at the time of           to BEI's assets other than cash. In addition, Trustee failed to
  the Transfers or became insolvent as a result thereof. It no     allege any facts to support his conclusory allegation that BEI's



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financial statements contained “accounting errors” which            amount of capital, and that it intended to incur or believed it
inflated the value of its assets; he cited vaguely to only the      would incur debts beyond its ability to repay.
alleged improper inclusion of non-binding letters of intent
involving “millions of dollars” among the company's assets.         Lastly, Trustee argued that dismissing the FAC without leave
Defendants opposed any further leave to amend.                      to amend was a manifest error of law and amounted to a
                                                                    finding that BEI was solvent. If given the opportunity to
In opposition, Trustee maintained that he had sufficiently          amend, Trustee contended that he could “plead a long list
pleaded insolvency, which he argued the court said was a            of additional allegations in support of the claim,” such as:
“low bar” for pleading purposes. Trustee argued that BEI            “specific facts regarding BEI's balance sheet insolvency (e.g.,
was both balance sheet and cash flow insolvent at the time          financial data) and lack of access to capital; more specific
of the transfers. He further argued that BEI's access to            allegations regarding its actual existing assets; and more
credit after executing the Exchange Agreements was a factual        specific allegations regarding BEI's overstatement of the
determination that could not be made on a Civil Rule 12(b)          company's value on its disclosures due to accounting errors
(6) motion. Trustee requested leave to amend should the             and likely fraudulent filings, the facts of which are still being
court determine that any additional factual allegations were        investigated.”
required.
                                                                    In opposition, Defendants argued that the court properly
The bankruptcy court orally granted the motions to dismiss.         concluded that the self-contradictory allegations in the FAC
The court opined that Trustee's allegation of “accounting           foreclosed a plausible theory of insolvency on a cash flow
errors” that resulted in an alleged overstatement of assets was     basis, and that the FAC contained too few factual allegations
insufficient for pleading “balance sheet insolvency”. It also       to support the conclusory assertion that BEI was balance sheet
found that Trustee failed to plead “cash flow insolvency”           insolvent.
because the FAC conceded the point; he acknowledged
that BEI remained in business for several months after the           *5 After a hearing, the bankruptcy court entered an order
Exchange Agreements. The court denied leave to amend on             denying the Motion to Reconsider. Because Trustee had not
futility grounds.                                                   explained to the court why the FAC did not reference the
                                                                    sham balance sheet and sham audit he was now asserting, it
                                                                    concluded that “no matter how one approaches it,” Trustee's
D. Trustee's motion to reconsider                                   allegations of insolvency were “simply not plausible.” The
Trustee moved to alter or amend the orders dismissing the           court opined that to grant yet another amendment of the
FAC (“Motion to Reconsider”). He argued that the bankruptcy         complaint would unfairly burden Defendants who twice had
court erred by improperly inferring that BEI was not or             to challenge the sufficiency of the complaints. This timely
could not have been insolvent at the time of the Exchange           appeal followed.
Agreements based on public filings and that BEI did not
file for bankruptcy until a few months after the Exchange
Agreements.
                                                                                         II. JURISDICTION
Trustee argued that the court also erred by determining that
                                                                    The bankruptcy court had jurisdiction under 28 U.S.C. §§
the FAC failed to state a plausible claim for balance sheet
                                                                    1334 and 157(b)(2)(H). We have jurisdiction under 28 U.S.C.
insolvency under § 548(a)(1)(B)(ii)(I). However, even if it
                                                                    § 158.
did, Trustee argued that it was error to dismiss his claim under
the alternative grounds for insolvency in subparts (II) and (III)
without determining if he stated a plausible claim. Trustee
argued that the FAC's allegations regarding BEI's struggles to                               III. ISSUES
pay its debt, lack of funding to continue developing works in
progress, lack of income streams, and generally dire financial      1. Did the bankruptcy court err when it granted Defendants'
situation around the time of the Exchange Agreements were           motions to dismiss the FAC?
sufficient to plausibly show it engaged in a business for which
any of its remaining property was an unreasonably small             2. Did the bankruptcy court abuse its discretion when it denied
                                                                    Trustee leave to amend?



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                                                                     Ringrose, 788 F.2d 638, 643 n.2 (9th Cir. 1986) (a court need
3. Did the bankruptcy court abuse its discretion in denying the      not assume the truth of legal conclusions cast in the form of
Motion to Reconsider?                                                factual allegations). While Civil Rule 8(a) does not require
                                                                     detailed factual allegations, “a pleading that offers 'labels
                                                                     and conclusions' or 'a formulaic recitation of the elements
                                                                     of a cause of action will not do.'” Iqbal, 556 U.S. at 678
              IV. STANDARDS OF REVIEW
                                                                     (quoting Twombly, 550 U.S. at 555). “Nor does a complaint
We review de novo the bankruptcy court's dismissal for failure       suffice if it tenders 'naked assertion[s]' devoid of 'further
to state a claim under Civil Rule 12(b)(6), and we review the        factual enhancement.'” Id. (quoting Twombly, 550 U.S. at
denial of leave to amend a complaint for abuse of discretion.        557). Moreover, it is inappropriate to assume that the plaintiff
See Curry v. Yelp Inc., 875 F.3d 1219, 1224 (9th Cir. 2017).         can prove facts that it has not alleged or that the defendants
                                                                     have violated the laws in ways that have not been alleged.
Denial of a motion to amend or alter judgment under Civil            Associated Gen. Contractors of Cal., Inc. v. Cal. St. Council
Rule 59(e) is reviewed for an abuse of discretion. Dixon             of Carpenters, 459 U.S. 519, 526 (1983).
v. Wallowa Cty., 336 F.3d 1013, 1022 (9th Cir. 2003). A
bankruptcy court abuses its discretion if it applies the wrong
                                                                     B. The bankruptcy court did not err in granting the
legal standard, or misapplies the correct legal standard, or
                                                                     motions to dismiss the FAC.
if its factual findings are clearly erroneous. United States v.
Hinkson, 585 F.3d 1247, 1262-63 (9th Cir. 2009) (en banc)).             1. Section 548 and insolvency
                                                                      *6 To plead plausible constructive fraudulent transfers
                                                                     claims against Defendants, Trustee had to allege facts to
                       V. DISCUSSION                                 support the following four elements: (1) a transfer of BEI's
                                                                     interest in property; (2) the transfer was made or incurred
A. Civil Rules 8 and 12                                              within two years before the date of the bankruptcy petition;
Civil Rule 8(a) (applicable here by Rule 7008) requires that         (3) BEI received less than reasonably equivalent value in
a pleading contain “a short and plain statement of the claim         exchange for the transfer; and (4) one of three alternatives:
showing that the pleader is entitled to relief.” See Ashcroft v.
Iqbal, 556 U.S. 662, 678-79 (2009). Under notice pleading              (I) that BEI was insolvent on the date the transfer was made
in federal court, the complaint must “give the defendant fair          or became insolvent as a result of the transfer;
notice of what the claim ... is and the grounds upon which it
                                                                       (ii) that BEI was engaged in business for which any
rests.” Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007) (internal
                                                                       property remaining was an unreasonably small capital; or
quotations omitted).
                                                                       (iii) that BEI intended to incur or believed it would incur
A motion to dismiss for failure to state a claim under Civil           debts beyond its ability to pay as such debts matured.
Rule 12(b)(6) (applicable here by Rule 7012) tests the legal
sufficiency of a complaint. Navarro v. Block, 250 F.3d 729,          § 548(a)(1)(B)(i)(ii)(I)-(III). The bankruptcy court dismissed
732 (9th Cir. 2001). “To survive a motion to dismiss, a              the FAC on the grounds that Trustee failed to plausibly allege
complaint must contain sufficient factual matter, accepted as        insolvency.
true, to 'state a claim to relief that is plausible on its face.'”
Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A
claim has facial plausibility when the plaintiff pleads factual
                                                                                         a. Balance Sheet Test
content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Id.        A debtor is insolvent when its debts exceed its assets —
(citing Twombly, 550 U.S. at 556).                                   the “traditional bankruptcy balance sheet test.” Akers v.
                                                                     Koubourlis (In re Koubourlis), 869 F.2d 1319, 1321 (9th Cir.
Although we must accept as true all well-pleaded facts, we do        1989). This test is codified at § 101(32)(A), which defines
not need to accept as true conclusory statements, statements         insolvency as a “financial condition such that the sum of
of law, and unwarranted inferences cast as factual allegations.      such entity's debts is greater than all of such entity's property,
Twombly, 550 U.S. at 555-57; United States ex rel. Chunie v.         at fair valuation[.]” Thus, for purposes of § 548(a)(1)(B)(ii)


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(I), insolvency is determined using a “balance sheet test.” In      allegation that at the time of the transfers BEI was engaged
re Koubourlis, 869 F.2d at 1321. A trustee's constructively-        in or about to engage in business that would leave it with
fraudulent transfer complaint must contain enough factual           an unreasonably small capital. § 548(a)(1)(B)(ii)(II). This
information to plausibly show the debtor's liabilities exceeded     test denotes a financial condition short of equitable or “cash
assets at the time of the transfers. Spradlin v. Monday Coal,       flow” insolvency. Moody v. Sec. Pac. Bus. Credit, Inc.,
LLC (In re Licking River Mining, LLC), 571 B.R. 241, 244            971 F.2d 1056, 1070 (3d Cir. 1992); AWTR Liquidation Tr.
(Bankr. E.D. Ky. 2017).                                             v. 2100 Grand LLC (In re AWTR Liquidation Inc.), 548
                                                                    B.R. 300, 312-13 (Bankr. C.D. Cal. 2016); Tese-Milner v.
Trustee contends that he pleaded sufficient facts in the FAC        Edidin & Assocs. (In re Operations NY LLC), 490 B.R.
to establish BEI's balance sheet insolvency, and that the           84, 98 (Bankr. S.D.N.Y. 2013); Murphy v. Meritor Sav.
bankruptcy court should have accepted these allegations as          Bank (In re O'Day Corp.),126 B.R. 370, 407 (Bankr. D.
true, drawn all inferences in his favor, and denied the motions     Mass. 1991) (unreasonably small capitalization encompasses
to dismiss. Instead, he argues, the court found that it was         financial difficulties which are short of equitable insolvency
implausible that BEI was insolvent even with knowledge of           or bankruptcy insolvency but are likely to lead to some type of
fabricated financial statements. By denying leave to amend,         insolvency eventually). It is “aimed at transferees that leave
argues Trustee, the court ruled as a matter of law that BEI         the transferor technically solvent but doomed to fail.” MFS/
could not plausibly have been insolvent at the time of the          Sun Life Tr.-High Yield Series v. Van Dusen Airport Servs. Co.,
Exchange Agreements regardless of what additional facts he          910 F. Supp. 913, 944 (S.D.N.Y. 1995) (citing Moody, 971
could plead regarding the fraudulent financials.                    F.2d at 1070 & n.22).

Contrary to Trustee's contention, the bankruptcy court did not      In determining unreasonably small capital, courts generally
“find” that BEI was solvent despite the alleged fabricated          examine cash flow to determine whether it was “reasonably
financial statements; the court simply determined that the          foreseeable” that the transfer at issue would lead to the
FAC failed to make a plausible case for balance sheet               debtor's “inability to generate enough cash flow to sustain
insolvency. In reviewing the relevant paragraphs in the             operations.” Moody, 971 F.2d at 1070; 5 COLLIER ON
FAC, the first sentence of ¶ 43 and all of ¶ 53 are either          BANKRUPTCY ¶ 548.05[3][b] (Alan N. Resnick & Henry
recitations of the statutory elements under § 548(a)(1)(B)          J. Sommer, eds., 16th ed. 2012) (plaintiff must show debtor's
(ii)(I) or conclusory statements regarding BEI's insolvency         inability to generate enough cash to sustain operations). In
that the Supreme Court has instructed “will not do.” Iqbal,         a business setting, the aggregate amount of capital “should
556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). While           include ... all reasonably anticipated sources of operating
the remaining portion of ¶ 43 is more specific, the FAC did         funds, which may include new equity infusions, cash from
not identify which non-binding letters of intent on which           operations, or cash from secured or unsecured loans over
energy projects were overstated in BEI's September 30, 2015         the relevant time period.” Moody, 971 F.2d at 1072 n.24
Form 10-Q (balance sheet), or the amount of the alleged             (quoting Bruce A. Markell, Toward True and Plain Dealing:
overstatement. We see no error here. The FAC failed to              A Theory of Fraudulent Transfers Involving Unreasonably
articulate any amounts for BEI's assets and liabilities or allege   Small Capital, 21 Ind. L. Rev. 469, 496 (1988) (citing cases)).
that the overstated assets caused BEI's liabilities to exceed its
assets. See Harlan Cty. Mining, LLC v. Wrigley's 7–711, Inc.        Before the bankruptcy court, Trustee equated cash flow
(In re Licking River Mining, LLC), 572 B.R. 830, 844 (Bankr.        insolvency with a showing under both subparts (II) and (III)
E.D. Ky. 2017) (while complaint alleged financial difficulties      of § 548(a)(1)(B)(ii). He did the same in his opening brief
and identified prepetition debts, it failed to “comparably          on appeal. In his reply, Trustee argues that the bankruptcy
allege the value of Debtors' assets to demonstrate Debtors'         court considered only subpart (I) in its ruling. 3 Trustee's
insolvency.”).                                                      argument is confusing, but he appears to argue that the
                                                                    court failed to consider all his allegations supporting a claim
                                                                    under subparts (II) and (III) before dismissing the FAC. The
                  b. Adequate Capital Test                          court's finding that the FAC failed to establish cash flow
                                                                    insolvency appears to be directed at both subparts (II) and
 *7 Under this test, also known as the “unreasonably small          (III), although this is not entirely clear; the court said nothing
capital” test, Trustee had to plead facts supporting the            about unreasonably small capital. While this confusion may



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be a basis for granting leave to amend, we conclude that the               that is not the pleading standard. Plausibility “asks
FAC did not adequately plead that the Exchange Agreements                  for more than a sheer possibility that a defendant
left BEI with an unreasonably small capital.                               has acted unlawfully.” Iqbal, 556 U.S. at 678 (citing
                                                                           Twombly, 550 U.S. at 556).
3        This is part of the reason why Intracoastal filed          BEI's ability to obtain cash through either cash infusions from
         a motion to strike Trustee's reply brief and               officers or by loans from creditors were allegations that the
         alternatively requested leave to file a sur-reply. We      court could consider. Moody, 971 F.2d at 1072 n.24 (capital
         DENY the motion to strike and GRANT leave to               includes new equity infusions and cash from secured loans).
         file the sur-reply.                                        “The ability to borrow money has considerable value in the
Trustee alleged ¶¶ 39, 54, and 55 to establish unreasonably         commercial world.” Id. at 1072-73. And, contrary to Trustee's
small capital. However, he also alleged:                            argument, the court could also consider the allegation that
                                                                    BEI remained in business for five months after the Exchange
    ¶ 18. Nevertheless, BEI found two investors to provide the      Agreements. “Generally, 'courts will not find that a company
    desperately needed cash influx to keep the company afloat       had unreasonably low capital if the company survives for
    for the immediate future;                                       an extended period after the subject transaction[.]'” Burtch
                                                                    v. Opus LLC (In re Opus East LLC), 698 F. App'x. 711,
     *8 ¶ 29. Therefore, in order to finance BEI's repurchase of    715 (3d Cir. 2017) (quoting Daley v. Chang (In re Joy
    its BBLU shares and other securities under the Exchange         Recovery Tech. Corp.), 286 B.R. 54, 76 (Bankr. N.D. Ill.
    Agreements, BEI had to borrow $4.9 million from [JIG],          2002)) (citing Moody, 971 F.2d at 1074) (no unreasonably
    one of BEI's largest shareholders and a senior lender.          small capital where creditors were paid for twelve months
                                                                    after transaction); In re Operations NY LLC, 490 B.R. at 98
The bankruptcy court considered that BEI was able to obtain         (dismissing claims for inadequate capital insolvency where
cash after the Exchange Agreements by infusions from its            transferor had assets and continued operations for ten months
officers and by financing from JIG. Trustee argues that             after the challenged transactions); MFS/Sun Life Tr.–High,
it was improper for the court to “speculate” about JIG's            910 F. Supp. at 944 (company was viable for eight months
“hypothetical” willingness to continue to loan BEI money            after LBO); Ohio Corrugating Co. v. DPAC, Inc. (In re Ohio
and that BEI allegedly made some interest payments to JIG           Corrugating Co.), 91 B.R. 430, 440 (Bankr. N.D. Ohio 1988)
for some of its existing debts. The bankruptcy court never          (creditors paid for ten months); Credit Managers Ass'n of S.
said that it considered in its ruling BEI's interest payments       Cal. v. Fed. Co., 629 F. Supp. 175, 184 (C.D. Cal. 1985)
made to JIG on the $4,900,000 million loan which funded             (twelve months).
the Exchange Agreements. What it did rely on, however, and
rightfully so, was Trustee's contradictory statements in the         *9 In addition, the FAC failed to allege anything about BEI's
FAC that, after the Exchange Agreements, BEI was able “to           financial projections at the time of the transfers or allege
turn to its existing shareholders and creditors for funds to keep   that they were unreasonable. Central to a determination of
the company on life support.” Thus, the court did not need to       whether a transaction leaves a company with unreasonably
speculate about JIG's willingness to loan BEI funds after the       small capital is “whether the parties' projections” used in
Exchange Agreements or consider any extrinsic evidence as           facilitating the transaction were “reasonable.” Moody, 971
Trustee contends it did; the FAC admitted that BEI had access       F.2d at 1073. Finally, and something the FAC actually
to capital as of, and after, October 27, 2015. 4                    concedes, BEI was still attracting sophisticated investors such
                                                                    as Defendants at the time of the transfers, which contradicts
4                                                                   a claim of unreasonably small capital. See Weisfelner v.
         While the court could consider Trustee's
                                                                    Blavatnik (In re Lyondell Chem. Co.), 567 B.R. 55, 111
         contradictory allegations in dismissing the FAC,
                                                                    (Bankr. S.D.N.Y. 2017), aff'd, 585 B.R. 41 (S.D.N.Y. 2018)
         we note that the October 2015 loan was a short term
                                                                    (in addition to looking at management's projections, courts
         loan from JIG —one of BEI's largest shareholders
                                                                    also look to views of the sophisticated investors involved
         and senior lender. One can imagine a scenario
                                                                    in the transaction); Davidoff v. Farina, No. 04 Civ. 7617,
         where it is possible that the loan was not indicative
                                                                    2005 WL 2030501, at *11 & n.19 (S.D.N.Y. Aug. 22,
         of BEI's ability to obtain funds to remain in
                                                                    2005) (finding it significant that “sophisticated investors
         business. However, it is just that, a possibility, and
                                                                    with the most intimate knowledge of [the debtor's] business


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plan and capitalization had confidence in the company's
future and certainly did not think that the company was               ¶ 28. At the time the Exchange Agreements were executed,
'undercapitalized'” because it makes “no economic sense for           the funds gained by BEI pursuant to the October 16 SPAs
defendants to invest literally billions of dollars in a venture       had been expended in order to avoid a default on a secured
that they knew would fail”).                                          debt owed by BEI that could have precipitated BEI's
                                                                      bankruptcy.

                                                                    First, the FAC failed to allege any “facts” relating to BEI's
                      c. Cash Flow Test                             intent to incur debt that it believed it would be unable to
                                                                    pay. Paragraph 56 is essentially a recitation of the statutory
Under the “cash flow” or “equitable” insolvency test, Trustee
                                                                    elements under § 548(a)(1)(B)(ii)(III). And ¶ 44 is simply
had to plead facts supporting the allegation that at the time of
                                                                    incorrect, as the bankruptcy court pointed out. BEI did not
the transfers BEI intended to incur or believed that it would
                                                                    “trade” $4,000,000 in cash for over $5,000,000 in debt. As
incur debts beyond its ability to pay as they came due. §
                                                                    Trustee also asserted in FAC, the $4,000,000 BEI raised
548(a)(1)(B)(ii)(III). “This part of the statute protects future
                                                                    from the SPAs had already been spent. In the Exchange
creditors from a debtor who transfers assets with the intent to
                                                                    Agreements, BEI took on debt to purchase equity.
hide them or impair the debtor's ability to pay debts as they
arise or with the belief that inability to pay debts would likely
                                                                     *10 Second, the FAC's allegations regarding BEI's ability to
result.” WRT Creditors Liquidation Tr. v. WRT Bankr. Litig.
                                                                    pay its future debts is deficient for the same reason that the
Master File Defendants (In re WRT Energy Corp.), 282 B.R.
                                                                    allegations of unreasonably small capital failed. Paragraphs
343, 414-15 (Bankr. W.D. La. 2001).
                                                                    16 and 28 of the FAC concede the point that BEI was able to
                                                                    pay its debts as they became due with cash infusions from its
This prong is satisfied “if it can be shown that the debtor made
                                                                    officers, by selling equity to investors, and by obtaining loans
the transfer or incurred an obligation contemporaneous with
                                                                    from creditors.
an intent or belief that subsequent creditors likely would not
be paid as their claims matured.” Id. at 415; see EBC I., Inc.
v. Am. Online, Inc. (In re EBC I, Inc.), 380 B.R. 348, 359             2. Conclusion
(Bankr. D. Del. 2008), aff'd, 400 B.R. 13 (D. Del. 2009), aff'd,    Accordingly, because the FAC failed to plead plausible claims
382 F. App'x 135 (3d Cir. 2010) (same). “While the statute          for constructive fraudulent transfer against Defendants, the
suggests a standard based on subjective intent, the courts have     bankruptcy court did not err in granting the motions to dismiss
held that the intent requirement can be inferred where the          and dismissing the FAC. However, as we discuss below, the
facts and circumstances surrounding the transaction show that       bankruptcy court abused its discretion in denying leave to
the debtor could not have reasonably believed that it would         amend.
be able to pay its debts as they matured.” 5 COLLIER ON
BANKRUPTCY at ¶ 548.05[3][c] (citing cases).
                                                                    C. The bankruptcy court abused its discretion when it
Arguably, if Trustee failed to adequately plead unreasonably        denied Trustee leave to amend.
small capital, then he also failed to plead cash flow/equitable     Civil Rule 15(a), applicable here by Rule 7015, provides that
insolvency. In addition to what he alleged for unreasonably         leave to amend should be “freely” granted “when justice so
small capital, Trustee alleged ¶¶ 41, 44, and 56 to establish       requires.” We consider five factors to assess whether the trial
cash flow insolvency. However, he also alleged:                     court properly granted or denied leave to amend pleadings:
                                                                    (1) bad faith; (2) undue delay; (3) prejudice to the opposing
  ¶ 15. During its expansion period, BEI was in constant            party; (4) futility of amendment; and (5) whether the plaintiff
  need of cash infusions to fund its own operations and
                                                                    has previously amended the complaint. 5 Johnson v. Buckley,
  the operations of its subsidiaries until the entities could
                                                                    356 F.3d 1067, 1077 (9th Cir. 2004). The Ninth Circuit has
  develop projects and become profitable;
                                                                    consistently held that a trial court abuses its discretion in
  ¶ 16. BEI raised capital to fund its expansion and operations     denying leave to amend unless the court “'determines that
  through a combination of equity sales and loans;                  the pleading could not possibly be cured by the allegation of
                                                                    other facts,'” Bly-Magee v. Cal., 236 F.3d 1014, 1019 (9th
                                                                    Cir. 2001) (quoting Lopez v. Smith, 203 F.3d 1122, 1127


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                                                                       amended his complaint once does not amount to “several
(9th Cir. 2000) (en banc)), or “if the plaintiff had several
                                                                       opportunities to amend [his] complaint” and “repeated[ ]
opportunities to amend its complaint and repeatedly failed
                                                                       fail[ure] to cure deficiencies.” See Telesaurus VPC, LLC, 623
to cure deficiencies,” Telesaurus VPC, LLC v. Power, 623
                                                                       F.3d at 1003.
F.3d 998, 1003 (9th Cir. 2010). An amendment is futile when
it is clear that amendment would not have remedied the
                                                                        *11 Accordingly, we conclude that the bankruptcy court
complaint's factual deficiencies. See Intri-Plex Techs., Inc. v.
                                                                       did not appropriately exercise its discretion by denying
Crest Grp., Inc., 499 F.3d 1048, 1056 (9th Cir. 2007).
                                                                       Trustee leave to amend; his allegations were not frivolous,
                                                                       he endeavored to comply with the court's instruction for
5      Bad faith and undue delay are not at issue here.                amending, and, most importantly, it appears that he had a
Although the bankruptcy court expressed its reluctance to              reasonable chance of successfully stating a claim against
deny Trustee leave to amend given the extremely lenient                Defendants if given another opportunity.
standard, it ultimately concluded that amendment would
be futile. It later noted in its ruling on the Motion to
                                                                       D. Trustee waived his appeal of the reconsideration
Reconsider that another amendment would “unfairly burden”
                                                                       order.
Defendants. Assuming we even need to consider this later
                                                                       Under Civil Rule 59(e), applicable here by Rule 9023,
ruling, we interpret the court's “unfairly burden” finding
                                                                       the bankruptcy court may reconsider a previous order or
as a finding of prejudice. While “the consideration of
                                                                       judgment, but only if: (1) it is presented with newly
prejudice to the opposing party carries the greatest weight,”
                                                                       discovered evidence that was not available at the time of
Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052
                                                                       the original hearing; (2) it committed clear error or made an
(9th Cir. 2003), not any prejudice will do; the prejudice
                                                                       initial decision that was manifestly unjust; or (3) there is an
must be “undue,” Foman v. Davis, 371 U.S. 178, 182
                                                                       intervening change in controlling law. Fadel v. DCB United
(1962). The party opposing leave to amend bears the burden
                                                                       LLC (In re Fadel), 492 B.R. 1, 18 (9th Cir. BAP 2013).
of establishing undue prejudice. DCD Programs, Ltd. v.
Leighton, 833 F.2d 183, 187 (9th Cir. 1987).
                                                                       Even though Trustee appealed the order denying his Motion
                                                                       to Reconsider, he did not provide any argument on the issue
We agree with the bankruptcy court's assessment that the
                                                                       in his opening brief. He did argue the issue in his reply brief.
FAC was deficient. Nevertheless, the record suggests that,
                                                                       Nonetheless, an appellate court in this circuit “will not review
if given leave to amend, Trustee could plausibly allege that
                                                                       issues which are not argued specifically and distinctly in a
BEI's financial condition was not as represented at the time of
                                                                       party's opening brief.” City of Emeryville v. Robinson, 621
the Exchange Agreements given the allegation of fraudulent
                                                                       F.3d 1251, 1261 (9th Cir. 2010). As a result, any argument on
financial statements, and that the Exchange Agreements left
                                                                       this issue has been waived.
BEI with unreasonably small capital given the allegation
that BEI had to then turn to shareholders and creditors to
keep the company on life support. Amendment is especially
appropriate in this case, because the bankruptcy court and                                  VI. CONCLUSION
the parties mixed the concepts of the three distinct grounds
upon which a plaintiff can establish insolvency under § 548(a)         For the reasons stated above, we AFFIRM in part, REVERSE
(1)(B)(ii)(I)-(III), reducing them to only “balance sheet”             in part, and REMAND to allow Trustee an opportunity to
and “cash flow” insolvency. The court's “prejudice” finding            amend his complaint.
appears to be based solely on its belief that amendment would
be futile, a finding which we reject. In any case, Defendants
                                                                       All Citations
did not meet their burden to establish “undue” prejudice and
we do not perceive such. Finally, that Trustee has already             Slip Copy, 2019 WL 4929933

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                                                                 plaintiff's claims not previously disposed of. See Order of
                                                                 January 22, 2013 (“Show Cause Order”) (docket entry 647).
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                                                                 Upon consideration of the briefing and motions submitted in
    Only the Westlaw citation is currently available.
                                                                 response to that order, the court concludes, for the reasons
             United States District Court,
                                                                 stated below, that judgment for the defendants should be
             N.D. Texas, Dallas Division.
                                                                 entered on all of the plaintiff's remaining claims 1 in this case.
        U.S. BANK NATIONAL ASSOCIATION,                          In addition, the plaintiff's motion for entry of judgment on
            Litigation Trustee of the Idearc                     admissions and stipulated facts (docket entry 649) is denied.
          Inc. et al. Litigation Trust, Plaintiff,
                              v.                                 1       A complete and accurate list of these claims may
           VERIZON COMMUNICATIONS                                        be found in the court's show cause order. See Show
                INC., et al., Defendants.                                Cause Order at 2.

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                          |                                                               I. RULE 52(c)
                  Signed 06/18/2013
                                                                 “[When] a party has been fully heard on an issue during a
Attorneys and Law Firms                                          nonjury trial and the court finds against the party on that
                                                                 issue,” FED. R. CIV. P. 52(c) authorizes the court to enter
Patrick D. Keating, Keating PLLC, David R. Taubenfeld,           judgment “on a claim ... that, under the controlling law, can
Philip McCall Bridwell, Robin E. Phelan, Werner A. Powers,       be maintained ... only with a favorable finding on that issue.”
Micah Ethan Skidmore, Haynes & Boone LLP, Douglas J.             FED. R. CIV. P. 52(c). The plaintiff has been fully heard on
Buncher, John D. Gaither, Seymour Roberts, Jr., Neligan          the issues of Idearc's value and solvency. The court has found
Foley LLP, Nicholas A. Foley, Dallas, TX, Charles M.             against the plaintiff on those issues. See Decision at 2, 22. For
Gearing, Hanshaw Kennedy, LLP, Frisco, TX, for Plaintiff.        the reasons set forth below, none of the plaintiff's claims can
                                                                 be maintained without a favorable finding on Idearc's value
T. Ray Guy, Weil Gotshal & Manges LLP, Paige Holden
                                                                 and solvency. Entry of judgment against the plaintiff on all
Montgomery, Sidley Austin LLP, J. Robert Arnett, II, E. Leon
Carter, Carter Scholer Arnett Hamada & Mockler, PLLC,            remaining claims is therefore appropriate. 2
Dallas, TX, Alfredo Perez, Weil Gotshal & Manges LLP,
John B. Strasburger, Winston & Strawn LLP, Houston, TX,          2       For a brief introduction to the nature of this action,
David Lawrence Schwarz, Joseph S. Hall, Reid M. Figel,                   the parties, and the relevant facts, see Decision at
Scott H. Angstreich, Steven F. Benz, Kellogg Huber Hansen                2-6.
Todd Evans & Figel PLLC, Washington, DC, Philip D. Anker,
Wilmer Cutler Pickering Hale and Dorr LLP, New York, NY,
for Defendants.                                                                 II. FRAUDULENT TRANSFER


                                                                              A. Constructive Fraudulent Transfer
                CONCLUSIONS OF LAW
                                                                 Because the plaintiff did not address the viability of its
A. JOE FISH, Senior United States District Judge                 constructive fraudulent transfer claims in its response to the
                                                                 court's order to show cause, it has effectively conceded that
 *1 On January 22, 2013, the court found, based on extensive
                                                                 these claims fail. See generally Plaintiff's Brief Pursuant
evidence presented at a bench trial, that the value of Idearc,
                                                                 to Order to Show Cause (“Brief”) (docket entry 648) and
Inc. (“Idearc”) on November 17, 2006 was at least $12
                                                                 Plaintiff's Reply in Support of its Response to Order to Show
billion and that it was therefore solvent. See Memorandum of
                                                                 Cause (“Reply”) (docket entry 656).
Decision (“Decision”) of January 22, 2013 at 2, 22 (docket
entry 646). On the same date the court ordered the plaintiff
in this case to show cause why, in light of this finding,        The constructive fraudulent transfer claims 3 obviously fail
judgment for the defendants should not be entered on the         on the merits, however, in light of the court's findings as



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to Idearc's value and solvency. This is because those claims       analysis and the reasonably equivalent value analysis. See
require the plaintiff to prove that Idearc was insolvent on        Memorandum Opinion and Order of September 14, 2012 (“SJ
the date of the spinoff and that it did not receive reasonably     Opinion”) at 15 n.3 (docket entry 523), citing VFB LLC v.
equivalent value for the cash and debt it transferred to Verizon   Campbell Soup Company, 482 F.3d 624, 636 (3d Cir. 2007).
in connection with the spinoff. See TEX. BUS. & COM.               Because Idearc had a total enterprise value of at least $12
CODE § 24.005(a)(2) 4 and 24.006. 5                                billion on the date of the spinoff, it was both solvent 6 and
                                                                   received reasonably equivalent value 7 for the $9.1 billion in
3                                                                  cash and debt it transferred to Verizon.
       In Counts 5 and 6 of its amended complaint,
       the plaintiff singles out as fraudulent transfers
       specific transactions associated with the overall           6      “A debtor is insolvent if the sum of the debtor's
       spinoff. See Plaintiff's Amended Complaint and                     debts is greater than all of the debtor's assets at
       Jury Demand (“Complaint”) ¶¶ 49-68 (docket                         a fair valuation.” TEX. BUS. & COM. CODE
       entry 216); see also Memorandum Opinion and                        § 24.003(a). It is undisputed that Idearc's debts
       Order of September 14, 2012 at 30-32 (docket                       totaled approximately $9.1 billion on November
       entry 523). The court sees no reason to consider                   17, 2006, the date of the spinoff. See, e.g., SJ
       these transactions separately from the entire spinoff              Opinion at 15. Given the court's finding that
       taken as a whole. However, even if the counts and                  Idearc's total enterprise value was at least $12
       the transactions at issue in them were considered                  billion on November 17, 2006, Idearc clearly met
       separately, they would fail for the same reasons                   Texas law's test for solvency at that time.
       that Counts 1 and 2 fail. The court's valuation
                                                                   7
       finding implies that the entities at issue (Idearc                 “[A] party receives reasonably equivalent value for
       Media Corp. and Idearc Information Services) were                  what it gives up if it gets ‘roughly the value it gave.’
       solvent and received reasonably equivalent value                   ” See VFB, 482 F.3d at 631, quoting In re Fruehauf
       (for purposes of constructive fraudulent transfer),                Trailer Corporation, 444 F.3d 203, 213 (3d Cir.
       and there are not sufficient badges of fraud as                    2006).
       would indicate the transfers were made with “actual         Judgment will therefore be entered for the defendants on the
       intent to hinder, delay, or defraud” (for purposes of       plaintiff's remaining constructive fraudulent transfer claims.
       actual fraudulent transfer).
4      “A transfer made or obligation incurred by a debtor
       is fraudulent as to a creditor, whether the creditor's                     B. Actual Fraudulent Transfer
       claim arose before or within a reasonable time
       after the transfer was made or the obligation was           To sustain its claim that the transfers Verizon caused
       incurred, if the debtor made the transfer or incurred       Idearc to make in connection with the spinoff were actual
       the obligation ... without receiving a reasonably           fraudulent transfers, the plaintiff must show that Verizon
       equivalent value in exchange for the transfer or            Communications Inc., GTE Corporation, Verizon Financial
       obligation.”                                                Services LLC (“Verizon”) or John Diercksen (“Diercksen”)
                                                                   (collectively, the “defendants”) caused those transfers to be
5      “A transfer made or obligation incurred by a debtor         made “with actual intent to hinder, delay, or defraud any
       is fraudulent as to a creditor whose claim arose            creditor” of Idearc. TEX. BUS. & COM. CODE § 24.005(a)
       before the transfer was made or the obligation              (1).
       was incurred if the debtor made the transfer
       or incurred the obligation without receiving a              The plaintiff argues that Idearc's value and solvency are
       reasonably equivalent value in exchange for the             immaterial to a determination of Verizon or Diercksen's intent
       transfer or obligation and the debtor was insolvent         in connection with the transactions consummating the spinoff.
       at that time or the debtor became insolvent as a            See Brief at 16. It cites a number of decisions that have held
       result of the transfer or obligation.”                      a solvency finding immaterial to particular actual fraudulent
 *2 In the context of a spinoff, the court has already noted       transfer claims. Id. at 17-18. There are two problems for
that there is no effective difference between the insolvency       the plaintiff, however. First, it has not presented specific



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direct evidence of the defendants' fraudulent intent, nor has        with actual intent to hinder, delay, or defraud its creditors.
it pointed to any such evidence that it may yet present. See,        This is because these two “badges” are features of every
e.g., id. at 17-18. Second, the weight of any circumstantial         spinoff transaction that involves debt. Moreover, case law
evidence of the defendants' intent the plaintiff has presented,      suggests that the presence of so few badges, in such a context,
or has noted remains to be presented, is negated by virtue of        is insufficient as a matter of law to support a finding of actual
the court's valuation finding.                                       intent to hinder, delay, or defraud. See, e.g., Texas Custom
                                                                     Pools, Inc., 293 S.W.3d at 313-14; MFS/Sun Life-Trust High
Direct evidence of fraudulent intent is, of course, always           Yield Series v. Van Dusen Airport Services Company, 910 F.
difficult to obtain. See, e.g., Texas Custom Pools, Inc.             Supp. 913, 935 (S.D. N.Y. 1995). The court concludes that
v. Clayton, 293 S.W.3d 299, 312 (Tex. App.—El Paso                   the presence of these two badges alone (transfer to an insider
2009, mandamus denied). Other than general allegations, the          and transfer shortly after a substantial debt was incurred),
plaintiff has pointed to no such specific evidence in the many       in the context of a spinoff transaction such as this one, is
briefs it has submitted in this case. Neither has the plaintiff in   insufficient as a matter of law to support a conclusion that
the briefing presently before the court pointed to any specific      the defendants actually intended to hinder, delay, or defraud
direct evidence (e.g., testimony, communications that reveal         Idearc's creditors.
the state of mind of Verizon officers, etc.) of the defendants'
fraudulent intent with regard to the spinoff transactions. 8 The     For these reasons, the court's valuation findings are
plaintiff is therefore left to rely on circumstantial evidence of    dispositive with respect to the plaintiff's actual fraudulent
the defendants' fraudulent intent, i.e., the so-called “badges of    transfer claims, and the court concludes that judgment is
fraud.” See TEX. BUS. & COM. CODE § 24.005(b)(1)-(11).               properly entered for the defendants on those claims.


8       The court will not consider at this late stage of
        the litigation the plaintiff's generic assertions that                  III. BREACH OF FIDUCIARY DUTY
        Idearc “acted with intent” to hinder, delay, or
        defraud. See, e.g., Brief at 18. If the plaintiff cannot             A. Breach of Fiduciary Duty: John Diercksen
        now, after voluminous discovery, point to specific
        examples of direct evidence of the defendants'               The court has already found, in connection with its
        fraudulent intent which remain to be presented,              consideration of the motions for summary judgment, that
        the court has no confidence that the plaintiff will          Idearc was Verizon's wholly-owned subsidiary. See SJ
        uncover any at some indeterminate time in the                Opinion at 26-27. The court declines to reconsider that ruling
        future.                                                      at this stage of the case, especially in view of the fact that
 *3 The plaintiff has elsewhere argued that it has evidence          the plaintiff has never requested such reconsideration. The
of five of the eleven badges of fraud. See Brief in Support          court agrees with the defendants that this prior finding puts
of Plaintiff's Omnibus Response in Opposition to Defendants'         this case squarely within the rule, articulated in Anadarko
Motions for Summary Judgment (“Summary Judgment                      Petroleum Corporation v. Panhandle Eastern Corporation,
Response”) at 77 (docket entry 430). The finding that Idearc         545 A.2d 1171, 1174 (Del. 1988), that a corporate parent owes
was worth at least $12 billion, though, negates two of               its wholly-owned subsidiary no fiduciary duties, other than
those badges, reasonably equivalent value and solvency. See          a duty not to take actions that cause it to be unable to meet
above at 4 n.6-7; see also TEX. BUS. & COM. CODE §                   its legal obligations. In addition, the director of a wholly-
24.005(b)(8)-(9). A third, concealment, is negated by virtue         owned subsidiary (here, Diercksen) owes the subsidiary only
of the court's findings that a plethora of material information      the duty to manage it in the best interests of the corporate
relating to the spinoff was actually disclosed to the market.        parent, so long as this does not “render the subsidiary
See Decision at 41-58; see also TEX. BUS. & COM. CODE                unable to meet its legal obligations.” See Trenwick America
§ 24.005(b)(3). The only two badges of fraud that remain,            Litigation Trust v. Ernst & Young, L.L.P., 906 A.2d 168,
transfer to an insider and transfer shortly before a substantial     200-01, 203 (Del. Ch. 2006), aff'd, 931 A.2d 438 (Del. 2007)
debt was incurred, see TEX. BUS. & COM. CODE §                       (table); see also Defendants' Joint Consolidated Response to
24.005(b)(1) and (10), are plainly insufficient, standing alone,     Plaintiff's Response to Order to Show Cause (“Response”)
to support a finding that the defendants acted in the spinoff        at 6-7 (docket entry 651). Since Idearc was solvent on
                                                                     the date of the spinoff, it cannot be argued plausibly that


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Verizon or Diercksen caused it to be unable to meet its legal        an amount) in light of the court's valuation and solvency
             9
obligations. While the plaintiff has pointed to a number             findings. Whatever corporate procedural missteps may
of titillating allegations concerning Verizon and Diercksen's        have occurred preceding the spinoff, and whatever alleged
conduct in connection with the spinoff, see, e.g., Brief at          “scheming” accompanied these missteps, the fact remains that
14-16 and Reply at 3-9, none of these allegations can be said        as of November 17, 2006, Idearc's creditors were left with an
to have caused Idearc to be unable to meet legal obligations.        entity that had assets worth well in excess of what would be
See also SJ Opinion at 25. Therefore, neither Diercksen nor          required to protect their interests.
Verizon owed Idearc any other fiduciary duties. For this
reason alone, the plaintiff cannot prevail on its breach of
fiduciary duty claim against Diercksen.                               B. Aiding and Abetting Breach of Fiduciary Duty: Verizon

9                                                                    In light of the fact that Diercksen is entitled to judgment on the
        It is clear that the Trenwick court focused
                                                                     plaintiff's claim against him for breach of fiduciary duty, there
        exclusively on solvency, when considering whether
                                                                     is no breach of duty remaining in this case for Verizon to have
        a corporate subsidiary was rendered “unable to
                                                                     “aided and abetted.” Thus, the Verizon defendants are also
        meet its legal obligations” by the transaction at
                                                                     entitled to judgment on the plaintiff's claim against them for
        issue in the case (the corporate parent causing its
                                                                     aiding and abetting Diercksen's alleged breaches of fiduciary
        subsidiary to take on more debt). See Trenwick, 906
                                                                     duty.
        A.2d at 203-04.
That is not the only reason this claim fails, however. It is
elementary that a plaintiff seeking compensatory damages
must show damage “logically and reasonably related to the                            IV. UNLAWFUL DIVIDEND
harm” for which compensation is sought. See, e.g., In re J.P.
                                                                     In its summary judgment opinion of September 14, 2012, the
Morgan Chase & Company Shareholder Litigation, 906 A.2d
                                                                     court observed that the plaintiff's “unlawful dividend claim
766, 774 (Del. 2006). The problem for the plaintiff in this case
                                                                     will fail” if “Idearc had sufficient surplus 10 at the time of
is that, despite making numerous references to Diercksen's
allegedly unsavory conduct in connection with the spinoff,           the spin-off to declare the dividend.” 11 See SJ Opinion at 48.
see above at 8-9, the plaintiff has not demonstrated to this         The plaintiff attempts to resist the force of this observation
court that it has a coherent notion of how these unsavory            by focusing the court's attention on a number of alleged
actions are, in light of the solvency finding, logically or          formal missteps associated with the dividend's declaration
reasonably related to the $9 billion damage award it seeks.          and payment. 12 See Brief at 3-10. What is unclear to the
                                                                     court, upon review of this briefing, is how the plaintiff arrives
 *4 In its post-trial briefing, the only references the plaintiff    at the conclusion that these missteps warrant any remedy,
makes to damage to Idearc connected to the Counts 3 and 4            let alone the outsized remedy it seeks in connection with
breach of fiduciary claims are found on pages 14-16 of its           them. See Plaintiff's Amended Complaint (“Complaint”) ¶ 78
response to the show cause order. See Brief at 14-16. There,         (docket entry 216) (“Verizon is likewise liable to the Trust for
the plaintiff recites the basic elements of breach of fiduciary      the full amount of the unlawful dividends.”)
duty claims, before it asserts that “Diercksen breached his
duties of care and loyalty by ... acting unilaterally to authorize   10      Surplus is, as the court noted in that context,
the Spin-off and declare the dividend paid to Verizon” and
                                                                             “the excess of net assets over the par value of
“Verizon ... had knowledge that Idearc's board was not fully
                                                                             the corporation's issued stock.” Klang v. Smith's
constituted, that Diercksen's purported board actions were
                                                                             Food and Drug Centers, Inc., 702 A.2d 150,
ineffective, and that, as a result, the Spin-off and related
                                                                             153 (Del. 1997); see also 8 DEL. C. § 154.
transfers were never properly authorized, damaging Idearc in
                                                                             “Net assets means the amount by which total
at least the amount of the unauthorized transfers.” Id. at 14.
                                                                             assets exceed total liabilities.” Id. § 154. In this
                                                                             case, the par value of each share of Idearc stock
What the plaintiff does not say is how Diercksen's alleged
                                                                             was one cent. Brief in Support of Defendants'
breaches or Verizon's supposed knowledge could possibly
                                                                             Response to Plaintiff's Motion for Partial Summary
have damaged Idearc's creditors (particularly in so great
                                                                             Judgment (“Defendants' Response to Plaintiff's


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        First Motion”) at 14 (docket entry 363). Because                profits.” The plaintiff also relies on a statement in Vogtman
        Idearc issued more than 146 million shares, the                 v. Merchants' Mortgage and Credit Company, 178 A. 99, 20
        total par value of Idearc's stock was approximately             Del. Ch. 364 (1935), that “[in] deciding whether a dividend
        $1.46 million.                                                  was rightfully made, the transaction must be viewed as of the
11                                                                      time when it was declared.” Id. at 370.
        The court has found that Idearc's total enterprise
        value on the date of the spinoff was at least $12               The plaintiff's rigid interpretation of the statute is undermined
        billion. Decision at 2. This finding implies that               by a careful reading of Vogtman, by the lack of further case
        Idearc plainly had assets in excess of its total                law supporting it, and by common sense. The defendants
        liabilities, which totaled $9.1 billion, at the time of         rightly argue that the Vogtman case does not come close
        the spinoff. Idearc therefore had sufficient surplus            to standing for the proposition that the plaintiff cites it for.
        to pay a dividend.                                              See Response at 18. The defendants point out that the court
12                                                                      “focused on whether the dividend had been paid out of
        The only transaction that remains a part of the
                                                                        surplus,” noting accurately that “the Vogtman court repeatedly
        plaintiff's unlawful dividend claim is Idearc's
                                                                        discussed the date the dividend was paid ... and did not
        issuance of $7.1 billion in debt to Verizon. See SJ
                                                                        even note the date on which the dividend was declared.” Id.
        Opinion at 41.
                                                                        Multiple times the Vogtman court relied on evidence of the
 *5 The plaintiff first argues that the dividend was illegal,           corporation's net assets on December 31, 1932, the day prior
because a duly constituted board never declared it. Brief               to the dividend's payment. Vogtman, 20 Del. Ch at 370-72.
at 3-5. As authority for this proposition the plaintiff cites           Nowhere did it discuss the value of the corporation's net assets
a Southern District of New York case that neither cites                 on the date the dividend was declared. The plaintiff has thus
any Delaware case law nor is square with the facts of this              cited no relevant authority for the rigid view that a corporation
case. Id. at 3-4. In Pereira v. Cogan, 294 B.R. 449 (S.D.               must have the requisite surplus on the date the dividend is
N.Y. 2003), vacated and remanded, 413 F.3d 330 (2d Cir.                 declared. Moreover, the plaintiff's strained interpretation of
2005), cert. denied, 547 U.S. 1147 (2006), the court found              the statute would lead to absurd results; that interpretation
a dividend illegal on two grounds. The first was that the               would make it exceedingly difficult for any corporation to
corporation issuing the dividend was insolvent at the time of           accomplish a spinoff without running afoul of the statutory
the transaction, contrary to the situation here. Pereira, 294           scheme.
B.R. at 540. The second reason the court gave was that the
dividends were not declared by the Board in accord with                 The plaintiff's third argument is that the dividend was illegal
section 170 of title 8 of the Delaware Code. Id.; see also 8 Del.       because Idearc's board never acted to determine if a surplus
C. § 170. The Pereira court gives no indication whether this            existed. Brief at 6-8. The plaintiff's argument is undermined
second reason would have supported a finding of an “illegal”            by case law and policy considerations. In its summary
dividend, if the corporation had been solvent. Nor does it              judgment opinion, the court quoted the statements in Klang
indicate what remedy it would have considered appropriate in            v. Smith's Food and Drug Centers, Inc., 702 A.2d 150, 152,
such an instance. Nor finally does that court speculate on who          156 (Del. 1997), that “perfection in [the] process [of revaluing
might have standing to press such a claim. In fact, this court          assets] is not required,” and that “[a] mistake in documenting
has been unable to find any case in which a court found, in             [a] surplus will not negate the substance of the action, which
favor of creditors, that a solvent corporation's dividend was           complies with the statutory scheme.” See SJ Opinion at 48.
illegal solely because of a technical violation of § 170.               The plaintiff correctly notes that the “statutory scheme” at
                                                                        issue in Klang was the Delaware Code's section 160 scheme
The plaintiff next argues that the dividend was illegal, because        for redemption of stock, which does not explicitly require
it was “declared” on October 31, 2006, before the transfers             board participation. Brief at 7-8; see also 8 Del. C. § 160.
in connection with the spinoff were effected, and thus before           It argues that sections 170-173 set up a different statutory
Idearc actually had any surplus with which to declare a                 scheme, which does require such participation. Id. at 8; see
dividend. Brief at 5-6. In support of its argument, the plaintiff       also 8 Del. C. § 170-173.
cites 8 Del. C. § 170’s statement that “the directors of every
corporation ... may declare and pay dividends upon the shares            *6 The plaintiff, however, conveniently ignores the Klang
of its capital stock ... out of its surplus ... or ... out of its net   court's policy discussion, which was the key to its holding



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that “perfection” in the asset revaluation process was not         13      Indeed, a holding in accord with what the plaintiff
required to validly accomplish the stock redemption at issue               seeks could have such grave consequences even if
in that case. The Klang court observed that “[i]t is helpful               a bankruptcy were not in view.
to recall the purpose behind Section 160. The General
Assembly enacted the statute to prevent boards from draining       Because the court has found that Idearc had adequate surplus
corporations of assets to the detriment of creditors and the       on the date of the spinoff with which to pay a dividend, the
long-term health of the corporation.” Klang, 702 A.2d at 154.      defendants are entitled to judgment on the plaintiff's unlawful
While the Klang court was discussing section 160, there can        dividend claim.
be no doubt that the purpose (at least as to a corporation's
creditors) driving the section 170 and 173 statutory scheme
governing payment of dividends is the same. See SJ Opinion                          V. PROMOTER LIABILITY
at 37. The dividend here did not so “drain” Idearc of assets
that its creditors were inadequately protected. Indeed, in the     The court has previously ruled that no reasonable fact finder
absence of a showing that there was inadequate surplus (or no      could conclude that Idearc was not Verizon's wholly owned
net profits) with which to declare a dividend, this court doubts   subsidiary. See SJ Opinion at 26-27. The effect of this ruling
whether the trustee of a litigation trust representing creditors   is to place this case squarely within the holdings articulated
of a bankrupt corporation has standing to complain of other        in both Anadarko, see above at 8, and Westlake Vinyls, Inc.
imperfections in the process of such dividend's payment.           v. Goodrich Corporation, 518 F. Supp. 2d 918, 939 (W.D.
                                                                   Ky. 2007) (“The weight of authority holds that a parent
Moreover, an overly rigid reading of the statutory scheme          corporation owes no fiduciary duties to its wholly-owned
seems inappropriate in the spinoff context. The court              subsidiary.”). Since the court has found that Idearc was
has already accepted the plaintiff's argument that such            solvent, Verizon and Diercksen owed it no fiduciary duties
an approach to the definition of the term “dividend” is            that would give rise to a claim of promoter liability. For this
inappropriate. See SJ Opinion at 39-40. In this court's opinion,   reason alone, judgment should be entered for the defendants
what is crucial is that Verizon's management team (even if         on the plaintiff's promoter liability claim.
they themselves did not consider the spinoff transactions a
technical “dividend”) made reasonable efforts to ascertain         In conjunction with its response to the court's show cause
what Idearc's value would be on the date of the spinoff.           order of January 22, 2013, the plaintiff filed an unsolicited
The court has documented some of these efforts in its              motion for judgment, citing Rule 52(c) as the primary
Memorandum of Decision. See Decision at 34-41 and 58-61.           authority for this motion. See generally Motion and Brief
The result of these estimations would have revealed, had           for Entry of Judgment (“Motion”) (docket entry 649). This
management considered the question, that Idearc would have         motion attempts to bolster the plaintiff's promoter liability
sufficient surplus with which to declare a “dividend” on           claim. Id. at 7, 12. Rule 52(c) permits judgment on partial
the date of the spinoff. In light of the court's valuation         findings against a party only where the court “finds against
finding, Verizon's pre-spin valuation estimations were not         the party” on a dispositive issue. FED. R. CIV. P. 52(c).
only reasonably performed but were reasonably accurate as          The court did not find against the Verizon defendants
well.                                                              on any dispositive issue in its Memorandum of Decision.
                                                                   See generally Decision. More specifically, the court most
In any case, the ruling the plaintiff seeks here could             certainly did not find against the Verizon defendants on the
have potentially breathtaking consequences, in that it could       issue of Idearc's value, see Decision at 1, despite the plaintiff's
theoretically allow creditors in cases of bankruptcies that are    absurd philosophical waxing on the indeterminate nature of
not even plausibly connected to (or caused by) a prior spinoff     the court's valuation finding. See Motion at 2. The plaintiff's
to recover the full amount of any debt or cash transferred         motion for judgment is therefore denied. 14
in that spinoff, because of any minor noncompliance with
Section 170 or 173’s requirements. 13 This court refuses to        14      The plaintiff attempts to rescue the motion by
sanction such a sweeping elevation of form over substance.                 requesting that the court consider it a summary
                                                                           judgment motion. See Motion at 2. The court
                                                                           declines this invitation, since the plaintiff has
                                                                           already filed two summary judgment motions, see


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        docket entries 332 and 378. In the absence of leave         against Diercksen, is that the plaintiff cannot show, in light of
        to file multiple motions, the local rules permit only       the court's solvency finding, how Idearc or its creditors were
        one summary judgment motion, see LR 56.2(b).                damaged by the specific actions the plaintiff names in the
        The plaintiff has not requested leave to file a third       complaint, the motions for summary judgment, the responses
        summary judgment motion.                                    to the motions for summary judgment, the proposed findings
                                                                    of fact and conclusions of law, and the joint pretrial order.
 *7 Moreover, the plaintiff attempts to incorporate the
substance of this motion for judgment into its response to
                                                                    This is precisely why the promoter liability claim the plaintiff
the court's show-cause order and its reply in support of this
                                                                    presses in its post-trial briefing relies on an entirely different
response. See Brief at 11 and Reply at 9. This amounts to
                                                                    theory, and refers to a different set of facts, than what appeared
an attempt on the part of the plaintiff to file oversized briefs
                                                                    in the complaint. The plaintiff's promoter liability claim has,
without first obtaining leave from the court. Incredibly, the
                                                                    at least until the post-trial briefing, been quite specifically a
plaintiff has the audacity to complain about the Northern
District of Texas's general briefing page limits without ever       claim for breach of fiduciary duty, see Complaint ¶ 111. 15
having requested leave from the court to file briefs exceeding      The core allegations of the plaintiff's promoter liability
those limits. See Reply at 3. The court has shown itself            claim, as set forth in the amended complaint, have been that
perfectly willing in this case to allow the parties both to         Diercksen and Verizon schemed in the “promotion” of Idearc
supplement the record and to submit argument in excess of           to accomplish an (allegedly fraudulent) tax-free, debt-for-
what the local rules typically permit. See generally 3:10-          debt exchange, which would relieve Verizon of a significant
CV-1842-G docket sheet. Where a party does not first seek           debt burden and load Idearc with debt it was unable to support.
leave, however, the court will not permit blatant violations of     Id. ¶¶ 82-90. As a result, the plaintiff claimed, Diercksen and
its local rules. For this reason, the court declines to consider    Verizon are liable for the allegedly unsustainable debt with
any argument the plaintiff attempts to incorporate from the         which they saddled Idearc. Id. ¶¶ 113-14.
motion for judgment or the reply supporting the motion for
judgment (docket entries 649 and 655) into the response and         15      In this claim the plaintiff seeks to recover
reply to the show cause order.                                              compensatory damages, which, as outlined above
                                                                            in section III. A., would require a showing of
With respect to promoter liability, the plaintiff continues to              damage logically related to the alleged breach of
press the notion that, as of the date of the spinoff, Idearc                duty.
was not Verizon's wholly-owned subsidiary. See Brief at
                                                                    The fatal flaw in this theory, in light of the court's finding
11-15 and Reply at 6-7. The court agrees with the defendants
                                                                    about Idearc's solvency, is that, in fact, the late-2006,
that this exercise is, in substance, a request for the court to
                                                                    post-spinoff Idearc was not “saddled” with unsupportable
reconsider its holding in its summary judgment opinion of
                                                                    debt. Subsequent events —including the Great Recession
September 14, 2012. See Response at 12-15. All the evidence
                                                                    —intervened, and Idearc later became unable to support
the plaintiff attempts to put on in support of this (re)argument,
                                                                    its debt. However, in light of the court's solvency finding,
see, e.g., Motion at 15, is evidence that was available to the
                                                                    these intervening events do not implicate Verizon and
plaintiff on the multiple motions to dismiss and for summary
                                                                    Diercksen, and they sever any causal link between Verizon
judgment. The plaintiff has cited no intervening change in
                                                                    and Diercksen's actions and Idearc's bankruptcy. The plaintiff
the law binding on this court governing promoter liability,
                                                                    has not even attempted to show, with any degree of specificity
or ownership of subsidiaries, since the various motions to
                                                                    or detail, how —in light of Idearc's solvency —there could
dismiss and for summary judgment were filed. The court
                                                                    be any damage to Idearc's creditors that is logically and
therefore declines to reconsider its earlier holding that no
                                                                    reasonably related to the specific breaches of fiduciary duty
reasonable fact finder could conclude that Idearc was not
                                                                    (i.e., the actions in furtherance of the “tax scheme,” see
Verizon's wholly-owned subsidiary. SJ Opinion at 26-27.
                                                                    Complaint ¶ 83) that have, from the time of the amended
Even if the court were to reconsider this holding, however,         complaint, formed the core of the promoter liability claim. 16
the court would still conclude that entry of judgment for
the defendants on the plaintiff's promoter liability claim is       16      As already noted, it is obvious that the theory
appropriate at this time. The problem for the plaintiff with                underlying the plaintiff's promoter liability claim
respect to this claim, as with its breach of fiduciary duty claim           has undergone a metamorphosis in the plaintiff's


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      response to the court's show cause order. Now for                    General Motors Corporation, 2006 WL 1094427
      the first time the plaintiff includes, specifically in               (N.D. Tex. Apr. 25, 2006) (Fish, C.J.) (refusing
      relation to this claim, bare allegations that Verizon:               to consider legal theories raised for the first time
      (1) caused Idearc to enter illegal contracts; (2)                    in a plaintiff's response to a motion for summary
      caused Idearc to falsify record documents; (3)                       judgment), rev'd in part on other grounds, 508 F.3d
      failed to stop Idearc from incurring debt; and (4)                   753 (5th Cir. 2007).
      filed for bankruptcy protection, among others. See            *8 For all the foregoing reasons, the defendants are entitled
      Brief at 12. As far as the court has been able to            to judgment on the plaintiff's promoter liability claim.
      determine, these allegations were never connected
      to the promoter liability claim in (1) the joint
      pretrial order filed by the parties (docket entry
                                                                                         VI. ALTER EGO
      572); (2) the plaintiff's proposed findings of fact
      and conclusions of law (which were addressed not             Because the court has concluded that the plaintiff cannot
      simply to Phase I of the trial but to all issues             prevail on its other claims in this case, judgment for the
      remaining to be tried in the case) (docket entry             defendants will also be entered on the plaintiff's alter ego
      543); (3) the plaintiff's two summary judgment               “claim.” See SJ Opinion at 51 and Show Cause Order at 2 n.*.
      motions (docket entries 332 and 378); or (4) the
      plaintiff's responses to the defendant's motions
      for summary judgment and motions to dismiss
      (especially docket entry 430). The court does not                                 VII. CONCLUSION
      consider itself bound to allow the plaintiff to
                                                                   For the reasons stated above, the plaintiff's motion for entry
      continue expending huge volumes of energy, time
                                                                   of judgment (docket entry 649) is DENIED. Judgment will
      and money in pursuit of a claim that, after nearly
                                                                   be entered for the defendants in accordance with these
      three years of litigation, still does not appear to
                                                                   conclusions.
      have a coherent theory underlying it. Nor is the
      court required to consider a novel theory raised
                                                                   SO ORDERED.
      this late in the litigation. See Cutrera v. Board of
      Supervisors of Louisiana State University, 429 F.3d
      108, 113 (5th Cir. 2005) (“A claim which is not              All Citations
      raised in the complaint but, rather, is raised only
      in response to a motion for summary judgment is              Not Reported in Fed. Supp., 2013 WL 12124306
      not properly before the court.”); see also O'Hara v.

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